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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION
                            ____________

                            No. 3:21-CV-01585-S
                               ____________

          IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                           Debtors.

         THE CHARITABLE DAF FUND, L.P. AND CLO HOLDCO, LTD.,
                                                       Appellants,

                                     v.

                  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                               Appellee.
                                ____________

               APPENDIX IN SUPPORT OF APPELLANTS’
                MOTION TO STAY OR ABATE APPEAL
                            ____________

  APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE
      NORTHERN DISTRICT OF TEXAS, CASE NO. 19-34054-sgj11

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                                      1
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 Exhibit                    Description                         App. Pages
   1       Fifth Circuit Order granting motion for leave       App. 1 – App. 3
           to appeal (May 4, 2021)
    2      Petition for Direct Appeal Under 28 U.S.C.         App. 4 – App. 269
           § 158(d) (Apr. 14, 2021)
    3      Petition for Permission to Appeal (Direct        App. 270 – App. 518
           Appeal from Bankruptcy Court, 28 U.S.C.
           § 158(d)) (Mar. 31, 2021)




Dated: September 22, 2021.

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                         CERTIFICATE OF SERVICE

      I certify that on September 22, 2021, I caused a copy of the foregoing

document to be served by Electronic Case Filing System for the United States

District Court for the Northern District of Texas.

                                                /s/ Mazin A. Sbaiti
                                                Mazin A. Sbaiti




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                      EXHIBIT 1




                                                                              App. 1
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           United States Court of Appeals
                for the Fifth Circuit                   United States Court of Appeals
                                                                 Fifth Circuit
                             ___________
                                                               FILED
                                                            May 4, 2021
                              No. 21-90011
                             ___________                  Lyle W. Cayce
                                                               Clerk
    In re: Highland Capital Management, L.P.,

                                                                  Debtor,

    NexPoint Advisors, L.P.; Highland Capital Management
    Fund Advisors, L.P.; Highland Income Fund; NexPoint
    Strategic Opportunities Fund; Highland Global
    Allocation Fund; NexPoint Capital, Incorporated;
    James Dondero; The Dugaboy Investment Trust; Get
    Good Trust,

                                                             Petitioners,

                                  versus

    Highland Capital Management, L.P.,

                                                            Respondent.
                 ______________________________

                        Motion for Leave to Appeal
                     Pursuant to 28 U.S.C. § 158(d)
                 _______________________________

    Before Dennis, Southwick, and Engelhardt, Circuit Judges.
    Per Curiam:




                                                                                         App. 2
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                                   No. 21-90011


          IT IS ORDERED that the motion of NexPoint Advisors, L.P. and
    Highland Capital Management Fund Advisors, L.P. for leave to appeal under
    28 U.S.C. § 158(d) is GRANTED.




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                      EXHIBIT 2




                                                                              App. 4
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                          No. __________________
                                          IN THE
      United States Court of Appeals for the Fifth Circuit
                        _________________________

             In Re: HIGHLAND CAPITAL MANAGEMENT, L.P.

 Proposed Appeal of Highland Income Fund, NexPoint Strategic Opportunities
      Fund, Highland Global Allocation Fund and NexPoint Capital, Inc.
                    _________________________

             On petition for direct appeal from the United States Bankruptcy Court
    for the Northern District of Texas at No. 19-34054; Appeal pending in the United States
            District Court for the Northern District of Texas at No. 3:21-cv-00539-N
                        _________________________

     PETITION FOR DIRECT APPEAL UNDER 28 U.S.C. § 158(d)
                _________________________


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               CERTIFICATE OF INTERESTED PERSONS

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Highland Income Fund; NexPoint Strategic Opportunities Fund; Highland Global
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2.   Get Good Trust
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       would materially advance the progress of the case. ...................................... 13

       B. The Bankruptcy Court’s Confirmation Order involves questions of law on
       which lower courts have differed such that this Court’s resolution is
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       in a particular chapter 11 case that perform similar roles to a creditors’
       committee and its members” raises a question of law as to which there is no
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                                 INTRODUCTION

      Section 158(d)(2) allows a direct appeal from a bankruptcy court to the court

of appeals if at least one of four conditions is met. See 28 U.S.C. § 158(d). The

bankruptcy court order at issue here, which confirmed a complex plan and included

a number of contested provisions, independently meets three of Section 158(d)(2)’s

provisions.

      First, as the Bankruptcy Court held when it certified its confirmation order for

direct appeal, a direct appeal “may materially advance the progress of the case”

because (1) the interests at stake guarantee that the case will ultimately be appealed

to this Court, (2) the parties have significant interests in obtaining this Court’s

prompt review so that they can order their affairs accordingly in light of certain future

actions Highland Capital Management, L.P. (the “Debtor”), proposes to take and

(3) the parties will collectively spend hundreds of thousands of dollars in district-

court proceedings that will almost certainly be unnecessary in light of this Court’s

ultimate review. See 28 U.S.C. § 158(d)(2)(A)(iii).

      Second, the confirmed plan includes broad exculpation and injunction

provisions the Funds believe Bank of N.Y. Trust Co., N.A. v. Official Unsecured

Creditors’ Comm. (In re Pacific Lumber Co.), 584 F.3d 229 (5th Cir. 2009), plainly




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prohibits.1 A number of district courts and bankruptcy courts in this Circuit read

Pacific Lumber as the Funds do, but the Bankruptcy Court read the case more

narrowly. Accordingly, there is a conflict among the “lower” courts on a question of

law that requires this Court’s resolution. See 28 U.S.C. § 158(d)(2)(A)(ii).

      Third, the Bankruptcy Court held that the protections the Bankruptcy Code

affords to creditors’ committees and their members may be extended to “other

parties in a particular chapter 11 case that perform similar roles to a creditors’

committee and its members.” Neither this Court nor the Supreme Court has

addressed or approved such a protection-by-analogy holding, and, so, there is no

controlling authority on that legal question. See 28 U.S.C. § 158(d)(2)(A)(i).

      The Confirmation Order meets the requirements of Section 158(d)(2) in three

independent ways, and the Funds request that the Court allow a direct appeal. 2




1
 The Funds, who are the petitioners, include Highland Income Fund, NexPoint
Strategic Opportunities Fund, Highland Global Allocation Fund and NexPoint
Capital, Inc.
2
 As other aggrieved parties have noted in their separate petition for permission, there
are issues for review beyond the exculpation and injunction issues. Because of space
constraints, the Funds focus here on those issues that most plainly demonstrate that
the confirmation order should be directly appealed; the Funds reserve the right to
raise additional issues should the Court accept the direct appeal.

                                          2

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                     FACTUAL AND PROCEDURAL HISTORY

          The Bankruptcy Court fairly noted that this is not a garden-variety bankruptcy

case. However, while the facts and procedural history are complex, the Funds believe

the Court needs only a summary to understand this petition.

          James Dondero co-founded Highland Capital Management L.P. (the

“Debtor”) in 1993. 3 The Debtor provided services to and support for an extensive

network of investment entities, trusts, other ventures and investment advisers. 4 The

Debtor invested and managed billions of dollars on behalf of itself, its subsidiaries

and affiliates and other unaffiliated entities. 5 The Debtor provided such services to

collateralized loan obligation vehicles (“CLOs”). 6 The CLOs own assets, generally

securities at this stage, and the Debtor manages them pursuant to a series of

portfolio-management agreements between itself and the CLOs. 7




3
 Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland
Capital Management, L.P. (as Modified) and (II) Granting Related Relief (the
“Confirmation Order”) at ¶ 4 (attached at Tab “A”).
4
    Confirmation Order at ¶ 6.
5
    Id.
6
    Id.
7
 Debtor’s Fifth Amended Plan of Reorganization of Highland Capital Management,
L.P. (as Modified) (the “Plan”) at Exh. B (attached at Tab “B”).

                                             3

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           The Debtor filed for Chapter-11 bankruptcy protection in Delaware in October

2019. 8

           The Debtor and the Official Unsecured Creditors’ Committee (the

“Committee”) had a difficult relationship from the start. 9 First, the Committee

moved for a change of venue to the Northern District of Texas (which was granted). 10

Second, the Committee and, ultimately, the bankruptcy trustee pushed for

appointment of a Chapter-11 trustee. 11

           On January 9, 2020, the Debtor, the Committee and Mr. Dondero entered into

a stipulation and consent order (the “January 9 Order”).12 The January 9 Order

provided, among other things, for the removal of Mr. Dondero from the management

of the Debtor, replaced him with a board of independent directors (the “Independent

Directors) and prohibited Mr. Dondero from causing “Related Entities” to terminate

contracts with the Debtor. 13




8
     Id. at ¶ 4.
9
     Id. at ¶ 11.
10
     Id.
11
     Id.
12
     Id. at ¶ 12.
13
  Id. The Independent Directors include James P. Seery, Jr.; John S. Dubel and
retired bankruptcy judge Russell Nelms. Id.

                                             4

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      Among other things, Mr. Dondero beneficially owns two investment advisers,

Highland Capital Management Fund Advisors, L.P., and NexPoint Advisors, L.P.

(the “Advisors”), because he owns their general partners. 14

      Petitioners are several retail investment funds (the “Funds”). The Funds

invest more than $1 billion for the benefit of thousands of investors/shareholders. In

doing so, the Funds receive advice and services from the Advisors. The Advisors and

the Funds are subject to the regulatory regime established pursuant to the Investment

Company Act of 1940 and the Investment Advisers Act of 1940. Among other

investments, the Funds hold interests in a number of the CLOs described above.

      Because Mr. Dondero is a beneficial owner, the Advisors are “Related

Entities” under the January 9 Order. At the time of the January 9 Order, each of the

Advisors was a party to a shared-services agreement with the Debtor. Under the

respective shared-services agreements, the Debtor was required to provide a wide

range of services and support to the Advisors (and by extension, to the Funds),

including accounting, legal, clerical, valuation and other “back-office” services, as

well as office space, in exchange for a fee. The Advisors’ compliance with their




14
   The Advisors have filed a separate appeal from the Confirmation Order and have
filed a separate petition seeking permission to appeal directly to this Court. That
petition is docketed at No. 21-90011.

                                          5

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regulatory and fiduciary obligations to the Funds was facilitated by their access to

shared services provided by the Debtor.

      While the January 9 Order limited Mr. Dondero’s ability to cause the Advisors

to terminate agreements, the Debtor was not so limited. Thus, the Debtor notified

the Advisors on November 30, 2020, that the shared-services agreements would be

terminated effective January 31, 2021 (as extended, through February 28). In

December 2020, the Advisors advised—and the Funds agreed—that the Advisors

should seek limited relief from the Bankruptcy Court with respect to the Debtor’s

role as portfolio manager of the CLOs. Specifically, the Advisors and the Funds

requested that the Bankruptcy Court prohibit the Debtor from trading or disposing

of CLO assets pending the confirmation hearing on the Debtor’s plan. 15 After the

Bankruptcy Court denied the motion, the Advisors and the Funds requested that the

Debtor not trade in CLO assets on a voluntary basis. The Debtor denied that request.

      Outside of the bankruptcy context, the Funds collectively hold the majority of

preference shares in three CLOs for which the respective portfolio-management

agreements allow them to remove the Debtor as portfolio manager “for cause.”

While the Debtor remained in bankruptcy and before confirmation of the Plan, the



 The CLO assets are not property of the bankruptcy estate; they are, instead, assets
15

under the Debtor’s management and for which the Debtor is paid a management fee.

                                          6

                                                                                   App. 15
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Bankruptcy Court would have had to approve any such removal in the form of relief

from the automatic stay. After confirmation, the general rule is that contracts may be

terminated according to their terms, if those contracts have been assumed.

      Over objections from the Funds and others, the Bankruptcy Court confirmed

the Plan on February 22, 2021. The Debtor’s representatives presented the Plan as

an “asset-maximization plan.” Under the confirmed Plan, the reorganized Debtor

intends to liquidate its assets over the course of an approximate two-year period. In

addition to liquidating its assets, the Debtor, having assumed the portfolio-

management agreements, continues to manage the assets of others, including the

CLOs. It similarly intends to liquidate the assets of others within the same period.

      As noted, the Debtor assumed the portfolio-management agreements.

However, the Plan goes further than merely assuming and reinstating those

agreements and binding the parties to their written terms.


      The Plan, as approved over objections by the Funds and others, includes a
number of disputed provisions. Article IX includes both exculpation and injunction

provisions:

      C. Exculpation
      Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
      extent permitted by applicable law, no Exculpated Party will have or
      incur, and each Exculpated Party is hereby exculpated from, any claim,
      obligation, suit, judgment, damage, demand, debt, right, Cause of
      Action, remedy, loss, and liability for conduct occurring on or after the

                                          7

                                                                                       App. 16
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          Petition Date in connection with or arising out of (i) the filing and
          administration of the Chapter 11 Case; (ii) the negotiation and pursuit
          of the Disclosure Statement, the Plan, or the solicitation of votes for, or
          confirmation of, the Plan; (iii) the funding or consummation of the Plan
          (including the Plan Supplement) or any related agreements,
          instruments, or other documents, the solicitation of votes on the Plan,
          the offer, issuance, and Plan Distribution of any securities issued or to
          be issued pursuant to the Plan, including the Claimant Trust Interests,
          whether or not such Plan Distributions occur following the Effective
          Date; (iv) the implementation of the Plan; and (v) any negotiations,
          transactions, and documentation in connection with the foregoing
          clauses (i)-(iv); provided, however, the foregoing will not apply to (a) any
          acts or omissions of an Exculpated Party arising out of or related to acts
          or omissions that constitute bad faith, fraud, gross negligence, criminal
          misconduct, or willful misconduct or (b) Strand or any Employee other
          than with respect to actions taken by such Entities from the date of
          appointment of the Independent Directors through the Effective Date.
          This exculpation shall be in addition to, and not in limitation of, all other
          releases, indemnities, exculpations, any other applicable law or rules, or
          any other provisions of this Plan, including ARTICLE IV.C.2,
          protecting such Exculpated Parties from liability. 16

Article I.B of the Plan defines “Exculpated Parties” broadly:

          “Exculpated Parties” means, collectively, (i) the Debtor and its
          successors and assigns, (ii) the Employees, (iii) Strand, (iv) the
          Independent Directors, (v) the Committee, (vi) the members of the
          Committee (in their official capacities), (vii) the Professionals retained
          by the Debtor and the Committee in the Chapter 11 Case, (viii) the
          CEO/CRO; and (ix) the Related Persons of each of the parties listed in
          (iv) through (viii) ...17




16
     See Plan at IX.C.
17
     Id. at I.B.

                                               8

                                                                                          App. 17
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          Thus, the approved Plan exculpates not only the Debtor but also the

Independent Directors, employees of the Debtor, officers and directors of the Debtor

and professionals retained by the Debtor—among others. That exculpation extends

not only to creditors’ direct claims but to the negotiation, administration and

implementation of the Plan as well as to ordinary business matters and post-

confirmation matters related to plan implementation. 18

          The accompanying Plan injunction is broad as well. It provides, among other

things, that “all Enjoined Parties are and shall be permanently enjoined, on and after

the Effective Date, from taking any actions to interfere with the implementation or

consummation of the Plan.”19 (“Enjoined Parties” is defined broadly to include,

among others, all entities that “have held, hold, or may hold claims against the

Debtor’s equity interests and any entity “that has appeared and/or filed any motion,

objection, or other pleading” in the Chapter-11 case.20) The Confirmation Order bars

any Enjoined Party from commencing or pursuing a claim or cause of action against


18
  To be clear, the exculpation is not a full release but imposition of a particularly high
burden of proof on anyone seeking to assert a claim against an Exculpated Party.
Essentially, an Exculpated Party is released unless its acts or omissions “constitute
bad faith, fraud, gross negligence, criminal misconduct, or willful misconduct ...”
Plan at IX.C. That heightened burden is material in that, among other things, it
releases that large group of persons and entities from claims for negligence.
19
     Plan at IX.F.
20
     Id. at I.B.

                                            9

                                                                                         App. 18
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any “Protected Party” unless the Bankruptcy Court first determines that the claim

or cause of action is “colorable.”21 (“Protected Parties” is defined broadly to

include, among others, the Debtor, the Debtor’s employees, the Committee and its

members and professionals retained by the Debtor and the Committee in the

Chapter-11 case.22)

          The Funds believe that the exculpation and gatekeeper/channeling-injunction

provisions exceed the scope of what this Court has previously permitted. The Funds

contend that these provisions restrict their ability to act quickly and appropriately in

fulfillment of their investment objectives and impair their ability to protect their retail

investors. The issue is of critical and practical importance to the Funds because they

invest in a number of illiquid assets with a long-term investment horizon. On the

other hand, the Debtor’s liquidation plan anticipates a short, two-year window for

the Debtor to liquidate its assets as well as those assets it manages. Thus, the

Debtor’s short-term liquidation goal conflicts with the Funds’ plan to hold the assets

for a longer term. Were the Debtor to sell the CLO assets as planned, it would act

against the Fund’s wishes, and the Funds believe the challenged Plan terms




21
     Plan at IX.F.
22
     Id. at I.B.

                                            10

                                                                                          App. 19
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improperly interfere with the Funds’ right and ability to remove the manager in such

a situation.


                            QUESTIONS PRESENTED

       1.      Whether the Court should accept direct review of the Bankruptcy

Court’s Confirmation Order because an immediate appeal may materially advance

the progress of the case, see 28 U.S.C. § 158(d)(2)(A)(iii), since—

               a.    all parties concur that the interests at stake in this bankruptcy

matter are such that, if the appeals are heard in the District Court, it is all but certain

that the non-prevailing party or parties will then take an appeal or appeals to this

Court;

               b.   all parties concur that, in light of the inevitability of this Court’s

review, requiring the parties to pursue appeals first in the District Court would delay

finality of the Plan for the Debtor, creditors and other interested parties by a year or

more; and

               c.    all parties concur that, in light of the inevitability of this Court’s

review, requiring the parties to pursue appeals first in the District Court would cause

the parties collectively to incur hundreds of thousands of dollars in attorneys’ fees

for ultimately unnecessary proceedings in the District Court.


                                            11

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      2.     Whether the Court should accept direct review of the Bankruptcy

Court’s Confirmation Order because that order involves a question of law requiring

resolution of conflicting decisions since a number of cases in this Circuit have

interpreted Pacific Lumber to prohibit inclusion in a bankruptcy plan of broad

exculpation and injunction provisions such as those the Bankruptcy Court approved

in this case. See 28 U.S.C. § 158(d)(2)(A)(ii).

      3.     Whether the Court should accept direct review of the Confirmation

Order because the Bankruptcy Court’s holding that the protections the Bankruptcy

Code affords to creditors’ committees and their members may be extended to “other

parties in a particular chapter 11 case that perform similar roles to a creditors’

committee and its members” is a question of law as to which there is no controlling

decision of this Court or the Supreme Court. See 28 U.S.C. § 158(d)(2)(A)(i).


        REASONS FOR THE COURT TO GRANT THIS PETITION

      Section 158(d)(2) of Title 28 of the U.S. Code provides that a bankruptcy court

may certify an order for direct appeal to the court of appeals when the order (1)

involves a controlling issue of law as to which there is no controlling decision of the

court of appeals or the Supreme Court, (2) the order involves a question of law

requiring resolution of conflicting decisions or (3) an immediate appeal from the

order may materially advance the progress of the case or proceeding in which the

                                          12

                                                                                      App. 21
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appeal is taken. See 28 U.S.C. § 158(d)(2)(A)(i)-(iii); In re OCA, Inc., 552 F.3d 413,

418 (5th Cir. 2008). If the bankruptcy court certifies the order, the would-be

appellant must then file a petition with the court of appeals seeking permission to

appeal under the same standard. Id.

          The parties jointly asked the Bankruptcy Court to certify its confirmation

order for direct appeal to this Court, and the Bankruptcy Court did so. 23

A.        The Bankruptcy Court correctly determined that an immediate appeal would
          materially advance the progress of the case.

          In granting the parties’ joint motion for certification, the Bankruptcy Court

agreed that “a direct appeal may materially advance the progress of the case or

proceeding in which the appeal is taken.” 24 The Funds agree.

          In In re MPF Holding U.S. LLC, 444 B.R. 719 (Bankr. S.D. Tex. 2011), a

bankruptcy court held that a direct appeal would be appropriate because the stakes

were sufficiently high that it was particularly likely that any decision by the district

court would ultimately be appealed to this Court such that requiring the parties first

to appeal to the district court would unnecessarily delay a final resolution of the




23
  See Order Certifying Appeals of the Confirmation Order for Direct Appeal to the
United States Court of Appeals for the Fifth Circuit (the “Certification Order”)
(Tab “C”).
24
     Id. at 2.

                                            13

                                                                                       App. 22
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bankruptcy. Id. at 727. This Court accepted and decided the appeal. See 701 F.3d 449

(5th Cir. 2012).

      Moreover, as the parties informed the Bankruptcy Court in requesting its

certification for direct appeal, the parties, creditors and others would benefit from a

direct appeal in that they would have this Court’s decision that much sooner and the

bankruptcy case could be fully administered and closed. Among other things, as

noted above the Debtor intends to take certain steps in the next two years—steps the

Funds believe may impair their interests and those of the CLOs—and the Funds

believe the Plan as confirmed leaves them with an insufficient remedy. When it

reviews the Plan, this Court will of course either reject or allow the challenged

provisions, but the progression of events and the Debtor’s plans make it important

for the parties to have that resolution sooner rather than later.

      Thus, the case meets the requirements of Section 158(d)(2)(A)(iii), and the

Funds request that the Court grant permission for a direct appeal from the

Bankruptcy Court’s Confirmation Order.

B.    The Bankruptcy Court’s Confirmation Order involves questions of law on
      which lower courts have differed such that this Court’s resolution is
      necessary.

      On at least one of the principal issues on which the Funds seek permission to

appeal, the Bankruptcy Court’s interpretation of the law conflicts with that of other

                                           14

                                                                                      App. 23
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courts. While the Funds believe the Bankruptcy Court erred in not following Pacific

Lumber such that its Confirmation Order should be reversed, they will focus here on

detailing the conflict rather than arguing the ultimate merits because the conflict is

the focus under § 158(d)(2)(A)(ii).

      In this Circuit, Pacific Lumber is important—and, in the Funds view,

controlling—authority regarding the permissible scope of exculpation provisions and

related injunctions. The procedural background of Pacific Lumber is lengthy and

complex, but the facts relevant here are neither. The bankruptcy court approved a

plan that included an exculpation provision that protected not just the debtor but a

number of other persons and entities, including the debtor’s personnel, the current

owners of the reorganized debtor (MRC and Marathon) and two entities created by

the plan (Newco and Townco) into which certain of the debtor’s assets were

transferred as well as the personnel of those parties. On direct appeal from the

bankruptcy court, this Court rejected the exculpation of non-debtor parties:

      The plan releases MRC, Marathon, Newco, Townco, and the
      Unsecured Creditors’ Committee (and their personnel) from
      liability—other than for willfulness and gross negligence—related to
      proposing, implementing, and administering the plan. The law states,
      however, that “discharge of a debt of the debtor does not affect the
      liability of any other entity on such debt.” 11 U.S.C. § 524(e).
                                          ***
      We see little equitable about protecting the released non-debtors from
      negligence suits arising out of the reorganization. In a variety of
      contexts, this court has held that Section 524(e) only releases the
                                         15

                                                                                     App. 24
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      debtor, not co-liable third parties. See, e.g., In re Coho Resources, Inc., 345
      F.3d 338, 342 (5th Cir. 2003);ௗHall v. National Gypsum Co., 105 F.3d
      225, 229 (5th Cir. 1997); Matter of Edgeworth, 993 F.2d 51, 53-54 (5th
      Cir. 1993); Feld v. Zale Corporation, 62 F.3d 746 (5th Cir. 1995). These
      cases seem broadly to foreclose non-consensual non-debtor releases
      and permanent injunctions.
                                           ***
      There are no allegations in this record that either MRC/Marathon or
      their or the Debtors’ officers or directors were jointly liable for any of
      Palco’s or Scopac’s pre-petition debt. They are not guarantors or
      sureties, nor are they insurers. Instead, the essential function of the
      exculpation clause proposed here is to absolve the released parties from
      any negligent conduct that occurred during the course of the
      bankruptcy. The fresh start § 524(e) provides to debtors is not
      intended to serve this purpose.

584 F.3d at 251-52 (footnotes omitted). A number of courts have interpreted Pacific

Lumber broadly to reject exculpation provisions that reach beyond the debtor itself

and the creditors’ committee. For example, in In re Patriot Place, Ltd., 486 B.R. 773

(Bankr. W.D. Tex. 2013), the court wrote that this Court “takes a very restrictive

approach to non-debtor releases in bankruptcy cases” and cited Pacific Lumber for

the proposition that “[t]he Fifth Circuit cases seem Bbroadly to foreclose non-

consensual non-debtor releases and permanent injunctions.’” 486 B.R. at 882. In

Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), No. 3:17-CV-1958-G, 2018 WL 5113124

(N.D. Tex. Oct. 19, 2018), the district court rejected an exculpation clause much like

the one in the Plan in this case and offered the following analysis:



                                            16

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      In In re The Pacific Lumber Company, the plan in question released the
      debtor and its personnel from liability, other than for willfulness and
      gross negligence, “related to proposing, implementing, and
      administering the plan.” In re The Pacific Lumber Company, 584 F.3d at
      251. There, the Fifth Circuit determined that the broad exculpation
      provision contained in the plan was designed “to absolve the released
      parties from any negligent conduct that occurred during the course of
      the bankruptcy” which the fresh start provision in Bankruptcy Code
      section 524(e)[14] was not intended to do. Id. at 252. Here, Thru’s plan
      releases Thru, its officers, directors, and various other personnel from
      liability, except for acts or omissions made in bad faith, “in connection
      with or related to formulating, negotiating, implementing, confirming,
      or consummating” the plan, disclosure statement, or any plan
      document. Modified Chapter 11 Plan at 25, ¶ 9.7 (emphasis added).
      The appellees’ attempts to distinguish their plan’s exculpation
      language from that of the language used in In re The Pacific Lumber
      Company are unpersuasive.


Id. at *22-*23. The court also rejected an injunction provision that was “broad

enough to cover non-debtor third parties ...” because the court read Pacific Lumber to

preclude such an injunction. Id. at *21 (citing Pacific Lumber, 584 F.3d at 252 (Fifth

Circuit authority “seems broadly to foreclose non-consensual non-debtor releases

and permanent injunction.”).

      A judge in the same bankruptcy court from which this matter arises

understood Pacific Lumber to preclude non-consensual third-party exculpation:

      The plan in Pacific Lumber provided numerous third parties with
      protection from liability for their negligent conduct during the course of
      the chapter 11 case including liability related to proposing,
      implementing, and administering the plan. The third-party protections
      in Pacific Lumber applied to the debtors’ officers and directors as well as

                                          17

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      the companies that proposed the plan and that ultimately acquired
      majority ownership of the reorganized debtors. Although a third-party
      exculpation provision arguably might be defended as justified by the
      bankruptcy court’s equitable powers given by Code § 105, Chief Judge
      of the Fifth Circuit Court of Appeals Edith Jones struck the exculpatory
      provisions because the Court saw “little equitable about protecting the
      released non-debtors from negligence suits arising out of the
      reorganization.” Id. at 252.
                                         ***
      Debtors and the Equity Committee argue that the ruling in Pacific
      Lumber is limited to the facts of that case. The court disagrees. Chief
      Judge Jones wrote that “non-debtor releases are most appropriate as a
      method to channel mass claims toward a specific pool of assets.” Id. at
      252. Chief Judge Jones also cited to several prior Fifth Circuit decisions
      ... stating that, “these cases seem broadly to foreclose non-consensual
      non-debtor releases and permanent injunctions.” Id. These statements
      persuade the court that the ruling in Pacific Lumber is not limited to its
      facts. Indeed, there is nothing in the Pacific Lumber opinion which, in
      the court’s view, can reasonably be read to limit its ruling to the facts of
      that case.

In re Pilgrim’s Pride Corp., 08-45664-DML-11, 2010 WL 200000 at *4-*5 (Bankr.

N.D. Tex. Jan. 14, 2010).

      The Bankruptcy Court in this matter understood Pacific Lumber differently.25

The court held that Pacific Lumber focused on 11 U.S.C. § 524(e) but that the case



25
  The Bankruptcy Court wrote that certain earlier orders in the case, including the
January 9 Order described in the statement of the case, above, and a July 16, 2020,
order had already exculpated the Independent Directors and Mr. Seery and were due
res judicata effect. See Confirmation Order at ¶ 73. When the merits are before this
Court, the Funds will demonstrate that the Bankruptcy Court was mistaken in that
determination, and in any event those orders would not shield the exculpation and
injunction provisions from appellate review.

                                          18

                                                                                     App. 27
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         does not prohibit all exculpations under the Bankruptcy Code and the
         court in such case specifically approved the exculpations of a creditor’s
         committee and its members on the grounds that “11 U.S.C. § 1103(c),
         which lists the creditors’ committee’s powers, implies committee
         members have qualified immunity for actions within the scope of their
         duties. ... [I]f members of the committee can be sued by persons
         unhappy with the committee’s performance during the case or unhappy
         with the outcome of the case, it will be extremely difficult to find
         members to serve on the committee. Pacific Lumber’s rationale for
         permitted exculpation of creditors’ committees and their members
         (which was clearly policy based and based on creditors’ committee
         qualified immunity flowing from their duties under section 1103(c) of
         the Bankruptcy Code and their disinterestedness and importance in
         chapter 11 cases) does not preclude exculpation to other parties in a
         particular chapter 11 case that perform similar roles to a creditors’
         committee and its members. 26

Thus, the Bankruptcy Court read Pacific Lumber as rejecting only third-party

exculpations in the Section-524(e) context but not in others. That holding is plainly

in conflict with cases like Patriot Place, 486 B.R. at 882 (“[t]he Fifth Circuit cases

seem Bbroadly to foreclose non-consensual non-debtor releases and permanent

injunctions.’”), and In re Thru, 2018 WL 5113124 at *22.

         The Bankruptcy Court also overruled the Funds’ objection that the Plan’s

channeling injunction is foreclosed by Pacific Lumber because it extends

impermissibly to protect third parties. 27 As noted, In re Thru understood Pacific




26
     Confirmation Order at ¶ 74(a).
27
     Id. at ¶¶ 75-76.

                                            19

                                                                                     App. 28
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Lumber to prohibit non-consensual, permanent injunctions in favor of non-debtors.

See In re Thru, 2018 WL 5113124 at *21.

          While the Funds believe this Court will confirm that Pacific Lumber should be

read more broadly than the Bankruptcy Court did, the Court need not decide that

issue now. It is enough for the Court to decide that there are conflicting decisions in

need of this Court’s resolution. See § 158(d)(2)(A)(ii). There are.

C.        The Bankruptcy Court’s determination that certain protections afforded to
          a creditors’ committee and its members should be extended to “other parties
          in a particular chapter 11 case that perform similar roles to a creditors’
          committee and its members” raises a question of law as to which there is no
          controlling authority .

          As noted in the previous section, in its discussion of Pacific Lumber, the

Bankruptcy court held that

          Pacific Lumber’s rationale for permitted exculpation of creditors’
          committees and their members (which was clearly policy based and
          based on creditors’ committee qualified immunity flowing from their
          duties under section 1103(c) of the Bankruptcy Code and their
          disinterestedness and importance in chapter 11 cases) does not preclude
          exculpation to other parties in a particular chapter 11 case that perform
          similar roles to a creditors’ committee and its members. 28

The Funds believe that protection-by-analogy holding is wrong under both Pacific

Lumber and Section 1103(c), but for present purposes it is sufficient to say that the




28
     Id. at ¶ 74(a).

                                             20

                                                                                        App. 29
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Bankruptcy Court appears to be the first court to reach that holding and that neither

this Court nor the Supreme Court has addressed it.

      Section 158(d)(2)(A)(i) permits a direct appeal when the bankruptcy court’s

order “involves a question of law as to which there is no controlling decision of the

court of appeals for the circuit or of the Supreme Court of the United States ...” The

legal question of whether parties “that perform similar roles to a creditors’

committee and its members” should be entitled to the same protections as creditors’

committees and their members is such a question.




                                         21

                                                                                     App. 30
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                                 CONCLUSION

      Accordingly, the Funds respectfully request that the Court grant this petition

and allow a direct appeal to this Court from the Bankruptcy Court’s Confirmation

Order.

                                                   Respectfully submitted,
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                        CERTIFICATE OF COMPLIANCE

       Pursuant to Federal Rule of Appellate Procedure 32(g), the undersigned

counsel certifies that this brief:

       (i)    complies with the type-volume limitation of Federal Rule of Appellate

Procedure 5(C)(1) because it contains 4,912 words, including footnotes and

excluding the cover, certificate of interested persons, table of contents, table of

authorities, certificate of compliance and certificate of service.

       (ii)   complies with the typeface requirements of Rule 32(a)(5) and the type-

style requirements of Rule 32(a)(6) because it has been prepared using Microsoft

Office Word 2010 and is set in Equity font in a size equivalent to 14 points or larger.



                                             /s/ David R. Fine




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                         CERTIFICATE OF SERVICE
      I certify that, on April 13, 2021, I filed the attached document with the Court’s

CM/ECF system and that I also e-mailed a copy with exhibits to the following:

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                                              /s/ David R. Fine




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               Tab “A”




                                                                             App. 34
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 22, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                                       )
         In re:                                                        )   Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                       )
                                          Debtor.                      )

                    ORDER (I) CONFIRMING THE FIFTH AMENDED
                  PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
           MANAGEMENT, L.P. (AS MODIFIED) AND (II) GRANTING RELATED RELIEF


                  The Bankruptcy Court 2 having:
                  a.     entered, on November 24, 2020, the Order (A) Approving the Adequacy of the
                         Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                         Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                         Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                         Solicitation Procedures, and (E) Approving Form and Manner of Notice [Docket
                         No. 1476] (the “Disclosure Statement Order”), pursuant to which the Bankruptcy
                         Court approved the adequacy of the Disclosure Statement Relating to the Fifth

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below). The rules of interpretation set forth in Article I of the Plan apply to this Confirmation Order.



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                                                                                                                         App. 35
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                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1473] (the “Disclosure Statement”) under section 1125 of the Bankruptcy Code
                    and authorized solicitation of the Disclosure Statement;

           b.       set January 5, 2021, at 5:00 p.m. prevailing Central Time (the “Objection
                    Deadline”), as the deadline for filing objections to confirmation of the Fifth
                    Amended Plan of Reorganization of Highland Capital Management, L.P. (As
                    Modified) [Docket No. 1808] (as amended, supplemented or modified, the “Plan”);

           c.       set January 5, 2021, at 5:00 p.m. prevailing Central Time, as the deadline for voting
                    on the Plan (the “Voting Deadline”) in accordance with the Disclosure Statement
                    Order;

           d.       initially set January 13, 2021, at 9:30 a.m. prevailing Central Time, as the date and
                    time to commence the hearing to consider confirmation of the Plan pursuant to
                    Bankruptcy Rules 3017 and 3018, sections 1126, 1128, and 1129 of the Bankruptcy
                    Code, and the Disclosure Statement Order, which hearing was continued to January
                    26, 2021, at 9:30 a.m. prevailing Central Time and further continued to February 2,
                    2021;

           e.       reviewed: (i) the Plan; (ii) the Disclosure Statement; and (iii) Notice of (I) Entry of
                    Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                    Important Dates (the “Confirmation Hearing Notice”), the form of which is
                    attached as Exhibit 1-B to the Disclosure Statement Order;

           f.       reviewed: (i) the Debtor’s Notice of Filing of Plan Supplement for the Third
                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1389] filed November 13, 2020; (ii) Debtor’s Notice of Filing of Plan
                    Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                    Management, L.P. [Docket No. 1606] filed on December 18, 2020; (iii) the
                    Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1656] filed on
                    January 4, 2021; (iv) Notice of Filing Plan Supplement to the Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. (with Technical
                    Modifications)t dated January 22, 2021 [Docket No. 1811]; and (v) Debtor’s Notice
                    of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                    Highland of Highland Capital Management, L.P. (As Modified) on February 1,
                    2021 [Docket No. 1875]; (collectively, the documents listed in (i) through (v) of
                    this paragraph, the “Plan Supplements”);

           g.       reviewed: (i) the Notice of (I) Executory Contracts and Unexpired Leases to be
                    Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                    Any, and (III) Related Procedures in Connection Therewith filed on December 30,
                    2020 [Docket No. 1648]; (ii) the Second Notice of (I) Executory Contracts and

                                                      2
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                                                                                                          App. 36
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                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                    Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                    Therewith filed on January 11, 2021 [Docket No.1719]; (iii) the Third Notice of
                    (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                    Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                    Procedures in Connection Therewith filed on January 15, 2021 [Docket No. 1749];
                    (iv) the Notice of Withdrawal of Certain Executory Contracts and Unexpired
                    Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                    the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791]; (v) the Fourth
                    Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                    Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                    Released Procedures in Connection Therewith filed on January 27, 2021 [Docket
                    No. 1847]; (vi) the Notice of Hearing on Agreed Motion to (I) Assume
                    Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                    Confirmation of Plan and (II) Extend Assumption Deadline filed on January 28,
                    2021 [Docket No. 1857]; and (vii) the Fifth Notice of (I) Executory Contracts and
                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                    (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                    filed on February 1, 2021 [Docket No. 1873] (collectively, the documents referred
                    to in (i) to (vii) are referred to as “List of Assumed Contracts”);

           h.       reviewed: (i) the Debtor’s Memorandum of Law in Support of Confirmation of the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1814] (the “Confirmation Brief”); (ii) the Debtor’s Omnibus Reply to
                    Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                    Reorganization of Highland Capital Management; [Docket No. 1807]; and (iii) the
                    Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1772] and Supplemental Certification of Patrick M. Leathem With
                    Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1887] filed on February 3, 2021
                    (together, the “Voting Certifications”).

           i.       reviewed: (i) the Notice of Affidavit of Publication dated December 3, 2020 [Docket
                    No. 1505]; (ii) the Certificate of Service dated December 23, 2020 [Docket No.
                    1630]; (iii) the Supplemental Certificate of Service dated December 24, 2020
                    [Docket No. 1637]; (iv) the Second Supplemental Certificate of Service dated
                    December 31, 2020 [Docket No. 1653]; (v) the Certificate of Service dated
                    December 23, 2020 [Docket No. 1627]; (vi) the Certificate of Service dated January
                    6, 2021 [Docket No. 1696]; (vii) the Certificate of Service dated January 7, 2021
                    [Docket No. 1699]; (viii) the Certificate of Service dated January 7, 2021 [Docket
                    No 1700]; (ix) the Certificate of Service dated January 15, 2021 [Docket No. 1761];
                    (x) the Certificate of Service dated January 19, 2021 [Docket No. 1775]; (xi) the


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                    Certificate of Service dated January 20, 2021 [Docket No. 1787]; (xii) the
                    Certificate of Service dated January 26, 2021[Docket No. 1844]; (xiii) the
                    Certificate of Service dated January 27, 2021 [Docket No. 1854]; (xiv) the
                    Certificate of Service dated February 1, 2021 [Docket No. 1879]; (xv) the
                    Certificates of Service dated February 3, 2021 [Docket No. 1891 and 1893]; and
                    (xvi) the Certificates of Service dated February 5, 2021 [Docket Nos. 1906, 1907,
                    1908 and 1909] (collectively, the “Affidavits of Service and Publication”);

           j.       reviewed all filed 3 pleadings, exhibits, statements, and comments regarding
                    approval of the Disclosure Statement and confirmation of the Plan, including all
                    objections, statements, and reservations of rights;

           k.       conducted a hearing to consider confirmation of the Plan, which commenced on
                    February 2, 2021, at 9:30 a.m. prevailing Central Time and concluded on February
                    3, 2021, and issued its oral ruling on February 8, 2021 (collectively, the
                    “Confirmation Hearing);

           l.       heard the statements and arguments made by counsel in respect of confirmation of
                    the Plan and having considered the record of this Chapter 11 Case and taken judicial
                    notice of all papers and pleadings filed in this Chapter 11 Case; and

           m.       considered all oral representations, testimony, documents, filings, and other
                    evidence regarding confirmation of the Plan, including (a) all of the exhibits
                    admitted into evidence; 4 (b) the sworn testimony of (i) James P. Seery, Jr., the
                    Debtor’s Chief Executive Officer and Chief Restructuring Officer and a member of
                    the Board of Directors of Strand Advisors, Inc. (“Strand”), the Debtor’s general
                    partner; (ii) John S. Dubel, a member of the Board of Strand; (iii) Marc Tauber, a
                    Vice President at Aon Financial Services; and (iv) Robert Jason Post, the Chief
                    Compliance Officer of NexPoint Advisors, LP (collectively, the “Witnesses”); (c)
                    the credibility of the Witnesses; and (d) the Voting Certifications.

           NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

  the Bankruptcy Court hereby makes and issues the following findings of fact and conclusions of

  law:



  3
   Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document filed
  on the docket in this Chapter 11 Case, as applicable.
  4
    The Court admitted the following exhibits into evidence: (a) all of the Debtor’s exhibits lodged at Docket No. 1822
  (except TTTTT, which was withdrawn by the Debtor); (b) all of the Debtor’s exhibits lodged at Docket No. 1866; (c)
  all of the Debtor’s exhibits lodged at Docket No. 1877; (d) all of the Debtor’s exhibits lodged at Docket No. 1895;
  and (e) Exhibits 6-12 and 15-17 offered by Mr. James Dondero and lodged at Docket No. 1874.


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                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

                    1.          Findings of Fact and Conclusions of Law. The findings and conclusions

  set forth herein, together with the findings of fact and conclusions of law set forth in the record

  during the Confirmation Hearing, constitute the Bankruptcy Court’s findings of fact and

  conclusions of law pursuant to Federal Rule of Civil Procedure 52, made applicable to this

  proceeding pursuant to Bankruptcy Rules 7052 and 9014. To the extent any of the following

  findings of fact constitute conclusions of law, they are adopted as such. To the extent that any of

  the following conclusions of law constitute findings of fact, they are adopted as such.

                    2.          Introduction and Summary of the Plan. Prior to addressing the specific

  requirements under the Bankruptcy Code and Bankruptcy Rules with respect to the confirmation

  of the Plan, the Bankruptcy Court believes it would be useful to first provide the following

  background of the Debtor’s Chapter 11 Case, the parties involved therewith, and some of the major

  events that have transpired culminating in the filing and solicitation of the Plan of this very unusual

  case. Before the Bankruptcy Court is the Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.P., filed on November 24, 2020, as modified on January 22,

  2021 and again on February 1, 2021. The parties have repeatedly referred to the Plan as an “asset

  monetization plan” because it involves the orderly wind-down of the Debtor’s estate, including the

  sale of assets and certain of its funds over time, with the Reorganized Debtor continuing to manage

  certain other funds, subject to the oversight of the Claimant Trust Oversight Board. The Plan

  provides for a Claimant Trust to, among other things, manage and monetize the Claimant Trust

  Assets for the benefit of the Debtor’s economic stakeholders. The Claimant Trustee is responsible



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  for this process, among other duties specified in the Plan’s Claimant Trust Agreement. There is

  also anticipated to be a Litigation Sub-trust established for the purpose of pursuing certain

  avoidance or other causes of action for the benefit of the Debtor’s economic constituents.

                    3.          Confirmation Requirements Satisfied. The Plan is supported by the

  Committee and all claimants with Convenience Claims (i.e., general unsecured claims under $1

  million) who voted in Class 7. Claimants with Class 8 General Unsecured Claims, however, voted

  to reject the Plan because, although the Plan was accepted by 99.8% of the amount of Claims in

  that class, only 17 claimants voted to accept the Plan while 27 claimants voted to reject the Plan.

  As a result of such votes, and because Mr. Dondero and the Dondero Related Entities (as defined

  below) objected to the Plan on a variety of grounds primarily relating to the Plan’s release,

  exculpation and injunction provisions, the Bankruptcy Court heard two full days of evidence on

  February 2 and 3, 2021, and considered testimony from five witnesses and thousands of pages of

  documentary evidence in determining whether the Plan satisfies the confirmation standards

  required under the Bankruptcy Code. The Bankruptcy Court finds and concludes that the Plan

  meets all of the relevant requirements of sections 1123, 1124, and 1129, and other applicable

  provisions of the Bankruptcy Code, as more fully set forth below with respect to each of the

  applicable confirmation requirements.

                    4.          Not Your Garden Variety Debtor. The Debtor’s case is not a garden

  variety chapter 11 case. The Debtor is a multibillion-dollar global investment adviser registered

  with the SEC, pursuant to the Investment Advisers Act of 1940. It was founded in 1993 by James

  Dondero and Mark Okada. Mark Okada resigned from his role with Highland prior to the



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  bankruptcy case being filed on October 16, 2019 (the “Petition Date”). Mr. Dondero controlled

  the Debtor as of the Petition Date but agreed to relinquish control of it on or about January 9, 2020,

  pursuant to an agreement reached with the Committee, as described below. Although Mr. Dondero

  remained with the Debtor as an unpaid employee/portfolio manager after January 9, 2020, his

  employment with the Debtor terminated on October 9, 2020. Mr. Dondero continues to work for

  and/or control numerous non-debtor entities in the complex Highland enterprise.

                    5.          The Debtor. The Debtor is headquartered in Dallas, Texas. As of the

  Petition Date, the Debtor employed approximately 76 employees. The Debtor is privately-owned:

  (a) 99.5% by the Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy Investment

  Trust, a trust created to manage the assets of Mr. Dondero and his family; (c) 0.0627% by Mark

  Okada, personally and through family trusts; and (d) 0.25% by Strand, the Debtor’s general

  partner.

                    6.          The Highland Enterprise. Pursuant to various contractual arrangements,

  the Debtor provides money management and advisory services for billions of dollars of assets,

  including collateralized loan obligation vehicles (“CLOs”), and other investments. Some of these

  assets are managed by the Debtor pursuant to shared services agreements with certain affiliated

  entities, including other affiliated registered investment advisors. In fact, there are approximately

  2,000 entities in the byzantine complex of entities under the Highland umbrella. None of these

  affiliated entities filed for chapter 11 protection. Most, but not all, of these entities are not

  subsidiaries (direct or indirect) of the Debtor. Many of the Debtor’s affiliated companies are




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  offshore entities, organized in jurisdictions such as the Cayman Islands and Guernsey. See

  Disclosure Statement, at 17-18.

                    7.          Debtor’s Operational History. The Debtor’s primary means of generating

  revenue has historically been from fees collected for the management and advisory services

  provided to funds that it manages, plus fees generated for services provided to its affiliates. For

  additional liquidity, the Debtor, prior to the Petition Date, would sell liquid securities in the

  ordinary course, primarily through a brokerage account at Jefferies, LLC. The Debtor would also,

  from time to time, sell assets at non-Debtor subsidiaries and cause those proceeds to be distributed

  to the Debtor in the ordinary course of business. The Debtor’s current Chief Executive Officer,

  James P. Seery, Jr., credibly testified at the Confirmation Hearing that the Debtor was “run at a

  deficit for a long time and then would sell assets or defer employee compensation to cover its

  deficits.” The Bankruptcy Court cannot help but wonder if that was necessitated because of

  enormous litigation fees and expenses incurred by the Debtor due to its culture of litigation—as

  further addressed below.

                    8.          Not Your Garden Variety Creditor’s Committee. The Debtor and this

  chapter 11 case are not garden variety for so many reasons. One of the most obvious standouts in

  this case is the creditor constituency. The Debtor did not file for bankruptcy because of any of the

  typical reasons that large companies file chapter 11. For example, the Debtor did not have a large,

  asset-based secured lender with whom it was in default; it only had relatively insignificant secured

  indebtedness owing to Jeffries, with whom it had a brokerage account, and one other entity,

  Frontier State Bank. The Debtor also did not have problems with its trade vendors or landlords.



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  The Debtor also did not suffer any type of catastrophic business calamity. In fact, the Debtor filed

  for Chapter 11 protection six months before the onset of the COVID-19 pandemic. Rather, the

  Debtor filed for Chapter 11 protection due to a myriad of massive, unrelated, business litigation

  claims that it faced—many of which had finally become liquidated (or were about to become

  liquidated) after a decade or more of contentious litigation in multiple forums all over the world.

  The Committee in this case has referred to the Debtor—under its former chief executive, Mr.

  Dondero—as a “serial litigator.” The Bankruptcy Court agrees with that description. By way of

  example, the members of the Committee (and their history of litigation with the Debtor and others

  in the Highland complex) are as follows:

           a.       The Redeemer Committee of the Highland Crusader Fund (the “Redeemer
                    Committee”). This Committee member obtained an arbitration award against the
                    Debtor in the amount of $190,824,557, inclusive of interest, approximately five
                    months before the Petition Date, from a panel of the American Arbitration
                    Association. It was on the verge of having that award confirmed by the Delaware
                    Chancery Court immediately prior to the Petition Date, after years of disputes that
                    started in late 2008 (and included legal proceedings in Bermuda). This creditor’s
                    claim was settled during this Chapter 11 Case in the amount of approximately
                    $137,696,610 (subject to other adjustments and details not relevant for this
                    purpose).

           b.       Acis Capital Management, L.P., and Acis Capital Management GP, LLC
                    (“Acis”). Acis was formerly in the Highland complex of companies, but was not
                    affiliated with Highland as of the Petition Date. This Committee member and its
                    now-owner, Joshua Terry, were involved in litigation with the Debtor dating back
                    to 2016. Acis was forced by Mr. Terry (who was a former Highland portfolio
                    manager) into an involuntary chapter 11 bankruptcy in the Bankruptcy Court for
                    the Northern District of Texas, Dallas Division before the Bankruptcy Court in
                    2018, after Mr. Terry obtained an approximately $8 million arbitration award and
                    judgment against Acis. Mr. Terry ultimately was awarded the equity ownership of
                    Acis by the Bankruptcy Court in the Acis bankruptcy case. Acis subsequently
                    asserted a multi-million dollar claim against Highland in the Bankruptcy Court for
                    Highland’s alleged denuding of Acis to defraud its creditors—primarily Mr. Terry.
                    The litigation involving Acis and Mr. Terry dates back to mid-2016 and has


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                    continued on with numerous appeals of Bankruptcy Court orders, including one
                    appeal still pending at the Fifth Circuit Court of Appeals. There was also litigation
                    involving Mr. Terry and Acis in the Royal Court of the Island of Guernsey and in
                    a state court in New York. The Acis claim was settled during this Chapter 11 Case,
                    in Bankruptcy Court-ordered mediation, for approximately $23 million (subject to
                    other details not relevant for this purpose), and is the subject of an appeal being
                    pursued by Mr. Dondero.

           c.       UBS Securities LLC and UBS AG London Branch (“UBS”). UBS is a
                    Committee member that filed a proof of claim in the amount of $1,039,957,799.40
                    in this Chapter 11 Case. The UBS Claim was based on a judgment that UBS
                    received from a New York state court in 2020. The underlying decision was issued
                    in November 2019, after a multi-week bench trial (which had occurred many
                    months earlier) on a breach of contract claim against non-Debtor entities in the
                    Highland complex. The UBS litigation related to activities that occurred in 2008
                    and 2009. The litigation involving UBS and Highland and affiliates was pending
                    for more than a decade (there having been numerous interlocutory appeals during
                    its history). The Debtor and UBS recently announced an agreement in principle for
                    a settlement of the UBS claim (which came a few months after Bankruptcy Court-
                    ordered mediation) which will be subject to a 9019 motion to be filed with the
                    Bankruptcy Court on a future date.

           d.       Meta-E Discovery (“Meta-E”). Meta-E is a Committee member that is a vendor
                    who happened to supply litigation and discovery-related services to the Debtor over
                    the years. It had unpaid invoices on the Petition Date of more than $779,000.

  It is fair to say that the members of the Committee in this case all have wills of steel. They fought

  hard before and during this Chapter 11 Case. The members of the Committee, all of whom have

  volunteered to serve on the Claimant Trust Oversight Board post-confirmation, are highly

  sophisticated and have had highly sophisticated professionals representing them. They have

  represented their constituency in this case as fiduciaries extremely well.

                    9.          Other Key Creditor Constituents. In addition to the Committee members

  who were all embroiled in years of litigation with Debtor and its affiliates in various ways, the

  Debtor has been in litigation with Patrick Daugherty, a former limited partner and employee of the

  Debtor, for many years in both Delaware and Texas state courts. Mr. Daugherty filed an amended


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  proof of claim in this Chapter 11 Case for $40,710,819.42 relating to alleged breaches of

  employment-related agreements and for defamation arising from a 2017 press release posted by

  the Debtor. The Debtor and Mr. Daugherty recently announced a settlement of Mr. Daugherty’s

  claim pursuant to which he will receive $750,000 in cash on the Effective Date of the Plan, an

  $8.25 million general unsecured claim, and a $2.75 million subordinated claim (subject to other

  details not relevant for this purpose). Additionally, entities collectively known as “HarbourVest”

  invested more than $70 million with an entity in the Highland complex and asserted a $300 million

  proof of claim against the Debtor in this case, alleging, among other things, fraud and RICO

  violations. HarbourVest’s claim was settled during the bankruptcy case for a $45 million general

  unsecured claim and a $35 million subordinated claim, and that settlement is also being appealed

  by a Dondero Entity.

                    10.         Other Claims Asserted. Other than the Claims just described, most of the

  other Claims in this Chapter 11 Case are Claims asserted against the Debtor by: (a) entities in the

  Highland complex—most of which entities the Bankruptcy Court finds to be controlled by Mr.

  Dondero; (b) employees who contend that are entitled to large bonuses or other types of deferred

  compensation; and (c) numerous law firms that worked for the Debtor prior to the Petition Date

  and had outstanding amounts due for their prepetition services.

                    11.         Not Your Garden Variety Post-Petition Corporate Governance

  Structure. Yet another reason this is not your garden variety chapter 11 case is its post-petition

  corporate governance structure. Immediately from its appointment, the Committee’s relationship

  with the Debtor was contentious at best. First, the Committee moved for a change of venue from



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  Delaware to Dallas. Second, the Committee (and later, the United States Trustee) expressed its

  then-desire for the appointment of a chapter 11 trustee due to its concerns over and distrust of Mr.

  Dondero, his numerous conflicts of interest, and his history of alleged mismanagement (and

  perhaps worse).

                    12.         Post-Petition Corporate Governance Settlement with Committee. After

  spending many weeks under the threat of the potential appointment of a trustee, the Debtor and

  Committee engaged in substantial and lengthy negotiations resulting in a corporate governance

  settlement approved by the Bankruptcy Court on January 9, 2020. 5 As a result of this settlement,

  among other things, Mr. Dondero relinquished control of the Debtor and resigned his positions as

  an officer or director of the Debtor and its general partner, Strand. As noted above, Mr. Dondero

  agreed to this settlement pursuant a stipulation he executed, 6 and he also agreed not to cause any

  Related Entity (as defined in the Settlement Motion) to terminate any agreements with the Debtor.

  The January 9 Order also (a) required that the Bankruptcy Court serve as “gatekeeper” prior to the

  commencement of any litigation against the three independent board members appointed to

  oversee and lead the Debtor’s restructuring in lieu of Mr. Dondero and (b) provided for the

  exculpation of those board members by limiting claims subject to the “gatekeeper” provision to

  those alleging willful misconduct and gross negligence.



  5
   This order is hereinafter referred to as the “January 9 Order” and was entered by the Court on January 9, 2020
  [Docket No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of Unsecured
  Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course [Docket
  No. 281] (the “Settlement Motion”).
  6
    See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
  [Docket No. 338] (the “Stipulation”).


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                    13.         Appointment of Independent Directors. As part of the Bankruptcy

  Court-approved settlement, three eminently qualified independent directors were chosen to lead

  Highland through its Chapter 11 Case. They are: James P. Seery, Jr., John S. Dubel (each chosen

  by the Committee), and Retired Bankruptcy Judge Russell Nelms. These three individuals are

  each technically independent directors of Strand (Mr. Dondero had previously been the sole

  director of Strand and, thus, the sole person in ultimate control of the Debtor). The three

  independent board members’ resumes are in evidence. The Bankruptcy Court later approved Mr.

  Seery’s appointment as the Debtor’s Chief Executive Officer, Chief Restructuring Officer, and

  Foreign Representative.          Suffice it to say that this settlement and the appointment of the

  independent directors changed the entire trajectory of the case and saved the Debtor from the

  appointment of a trustee. The Bankruptcy Court and the Committee each trusted the independent

  directors. They were the right solution at the right time. Because of the unique character of the

  Debtor’s business, the Bankruptcy Court believed the appointment of three qualified independent

  directors was a far better outcome for creditors than the appointment of a conventional chapter 11

  trustee. Each of the independent directors brought unique qualities to the table. Mr. Seery, in

  particular, knew and had vast experience at prominent firms with high-yield and distressed

  investing similar to the Debtor’s business. Mr. Dubel had 40 years of experience restructuring

  large complex businesses and serving on boards in this context. And Retired Judge Nelms had not

  only vast bankruptcy experience but seemed particularly well-suited to help the Debtor maneuver

  through conflicts and ethical quandaries. By way of comparison, in the chapter 11 case of Acis,

  the former affiliate of Highland that the Bankruptcy Court presided over and which company was



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  much smaller in size and scope than Highland (managing only 5-6 CLOs), the creditors elected a

  chapter 11 trustee who was not on the normal trustee rotation panel in this district but, rather, was

  a nationally known bankruptcy attorney with more than 45 years of large chapter 11 experience.

  While the Acis chapter 11 trustee performed valiantly, he was sued by entities in the Highland

  complex shortly after he was appointed (which the Bankruptcy Court had to address). The Acis

  trustee was also unable to persuade the Debtor and its affiliates to agree to any actions taken in the

  case, and he finally obtained confirmation of Acis’ chapter 11 plan over the objections of the

  Debtor and its affiliates on his fourth attempt (which confirmation was promptly appealed).

                    14.         Conditions Required by Independent Directors. Given the experiences

  in Acis and the Debtor’s culture of constant litigation, it was not as easy to get such highly qualified

  persons to serve as independent board members and, later, as the Debtor’s Chief Executive Officer,

  as it would be in an ordinary chapter 11 case. The independent board members were stepping into

  a morass of problems. Naturally, they were worried about getting sued no matter how defensible

  their efforts—given the litigation culture that enveloped Highland historically. Based on the

  record of this Case and the proceedings in the Acis chapter 11 case, it seemed as though everything

  always ended in litigation at Highland. The Bankruptcy Court heard credible testimony that none

  of the independent directors would have taken on the role of independent director without (1) an

  adequate directors and officers’ (“D&O”) insurance policy protecting them; (2) indemnification

  from Strand that would be guaranteed by the Debtor; (3) exculpation for mere negligence claims;

  and (4) a gatekeeper provision prohibiting the commencement of litigation against the independent

  directors without the Bankruptcy Court’s prior authority. This gatekeeper provision was also



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  included in the Bankruptcy Court’s order authorizing the appointment of Mr. Seery as the Debtor’s

  Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative entered on

  July 16, 2020. 7 The gatekeeper provisions in both the January 9 Order and July 16 Order are

  precisely analogous to what bankruptcy trustees have pursuant to the so-called “Barton Doctrine”

  (first articulated in an old Supreme Court case captioned Barton v. Barbour, 104 U.S. 126 (1881)).

  The Bankruptcy Court approved all of these protections in the January 9 Order and the July 16

  Order, and no one appealed either of those orders. As noted above, Mr. Dondero signed the

  Stipulation that led to the settlement that was approved by the January 9 Order. The Bankruptcy

  Court finds that, like the Committee, the independent board members have been resilient and

  unwavering in their efforts to get the enormous problems in this case solved. They seem to have

  at all times negotiated hard and in good faith, which culminated in the proposal of the Plan

  currently before the Bankruptcy Court. As noted previously, they completely changed the

  trajectory of this case.

                    15.         Not Your Garden Variety Mediators. And still another reason why this

  was not your garden variety case was the mediation effort. In the summer of 2020, roughly nine

  months into the chapter 11 case, the Bankruptcy Court ordered mediation among the Debtor, Acis,

  UBS, the Redeemer Committee, and Mr. Dondero. The Bankruptcy Court selected co-mediators

  because mediation among these parties seemed like such a Herculean task—especially during

  COVID-19 where people could not all be in the same room. Those co-mediators were: Retired



  7
   See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
  Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
  Nunc Pro Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 (the “July 16 Order”)


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  Bankruptcy Judge Alan Gropper from the Southern District of New York, who had a distinguished

  career presiding over complex chapter 11 cases, and Ms. Sylvia Mayer, who likewise has had a

  distinguished career, first as a partner at a preeminent law firm working on complex chapter 11

  cases, and subsequently as a mediator and arbitrator in Houston, Texas. As noted earlier, the

  Redeemer Committee and Acis claims were settled during the mediation—which seemed nothing

  short of a miracle to the Bankruptcy Court—and the UBS claim was settled several months later

  and the Bankruptcy Court believes the ground work for that ultimate settlement was laid, or at

  least helped, through the mediation. And, as earlier noted, other significant claims have been

  settled during this case, including those of HarbourVest (who asserted a $300 million claim) and

  Patrick Daugherty (who asserted a $40 million claim). The Bankruptcy Court cannot stress

  strongly enough that the resolution of these enormous claims—and the acceptance by all of these

  creditors of the Plan that is now before the Bankruptcy Court—seems nothing short of a miracle.

  It was more than a year in the making.

                    16.         Not Your Garden Variety Plan Objectors (That Is, Those That

  Remain). Finally, a word about the current, remaining objectors to the Plan before the Bankruptcy

  Court. Once again, the Bankruptcy Court will use the phrase “not your garden variety”, which

  phrase applies to this case for many reasons. Originally, there were over a dozen objections filed

  to the Plan. The Debtor then made certain amendments or modifications to the Plan to address

  some of these objections, none of which require further solicitation of the Plan for reasons set forth

  in more detail below. The only objectors to the Plan left at the time of the Confirmation Hearing




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  were Mr. Dondero [Docket No. 1661] and entities that the Bankruptcy Court finds are owned

  and/or controlled by him and that filed the following objections:

           a.       Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    (filed by Get Good Trust and The Dugaboy Investment Trust) [Docket No. 1667];

           b.       Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                    L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                    Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                    Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                    Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                    Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                    Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                    Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No.
                    1670];

           c.       A Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                    NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                    Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                    Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                    L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                    L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                    L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                    L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                    foregoing [Docket No. 1677];

           d.       NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) [Docket No. 1673]; and

           e.       NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) [Docket No. 1676]. The entities referred to in (i) through (v) of this
                    paragraph are hereinafter referred to as the “Dondero Related Entities”).

                    17.         Questionability of Good Faith as to Outstanding Confirmation

  Objections. Mr. Dondero and the Dondero Related Entities technically have standing to object to

  the Plan, but the remoteness of their economic interests is noteworthy, and the Bankruptcy Court



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  questions the good faith of Mr. Dondero’s and the Dondero Related Entities’ objections. In fact,

  the Bankruptcy Court has good reason to believe that these parties are not objecting to protect

  economic interests they have in the Debtor but to be disruptors. Mr. Dondero wants his company

  back. This is understandable, but it is not a good faith basis to lob objections to the Plan. As

  detailed below, the Bankruptcy Court has slowed down plan confirmation multiple times and urged

  the parties to talk to Mr. Dondero in an attempt to arrive at what the parties have repeatedly referred

  to as a “grand bargain,” the ultimate goal to resolve the Debtor’s restructuring. The Debtor and

  the Committee represent that they have communicated with Mr. Dondero regarding a grand

  bargain settlement, and the Bankruptcy Court believes that they have.

                    18.         Remote Interest of Outstanding Confirmation Objectors. To be specific

  about the remoteness of Mr. Dondero’s and the Dondero Related Entities’ interests, the Bankruptcy

  Court will address them each separately. First, Mr. Dondero has a pending objection to the Plan.

  Mr. Dondero’s only economic interest with regard to the Debtor is an unliquidated indemnification

  claim (and, based on everything the Bankruptcy Court has heard, his indemnification claims would

  be highly questionable at this juncture). Mr. Dondero owns no equity in the Debtor directly. Mr.

  Dondero owns the Debtor’s general partner, Strand, which in turn owns a quarter percent of the

  total equity in the Debtor. Second, a joint objection has been filed by The Dugaboy Trust

  (“Dugaboy”) and the Get Good Trust (“Get Good”). The Dugaboy Trust was created to manage

  the assets of Mr. Dondero and his family and owns a 0.1866% limited partnership interest in the

  Debtor. See Disclosure Statement at 7, n.3. The Bankruptcy Court is not clear what economic

  interest the Get Good Trust has, but it likewise seems to be related to Mr. Dondero. Get Good



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  filed three proofs of claim relating to a pending federal tax audit of the Debtor’s 2008 return, which

  the Debtor believes arise from Get Good’s equity security interests and are subject to subordination

  as set forth in its Confirmation Brief. Dugaboy filed three claims against the Debtor: (a) an

  administrative claim relating to the Debtor’s alleged postpetition management of Multi-Strat

  Credit Fund, L.P., (b) a prepetition claim against a subsidiary of the Debtor for which it seeks to

  pierce the corporate veil, each of which the Debtor maintains are frivolous in the Confirmation

  Brief, and (c) a claim arising from its equity security interest in the Debtor, which the Debtor

  asserts should be subordinated. Another group of objectors that has joined together in one

  objection is what the Bankruptcy Court will refer to as the “Highland Advisors and Funds.” See

  Docket No. 1863. The Bankruptcy Court understands they assert disputed administrative expense

  claims against the estate that were filed shortly before the Confirmation Hearing on January 23,

  2021 [Docket No. 1826], and during the Confirmation Hearing on February 3, 2021 [Docket No.

  1888]. At the Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and

  Funds that the Funds have independent board members that run the Funds, but the Bankruptcy

  Court was not convinced of their independence from Mr. Dondero because none of the so-called

  independent board members have ever testified before the Bankruptcy Court and all have been

  engaged with the Highland complex for many years. Notably, the Court questions Mr. Post’s

  credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in

  October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request,

  and he is currently employed by Mr. Dondero. Moreover, Dustin Norris, a witness in a prior

  proceeding (whose testimony was made part of the record at the Confirmation Hearing), recently



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  testified on behalf of the Highland Advisors and Funds in another proceeding that Mr. Dondero

  owned and/or controlled these entities. Finally, various NexBank entities objected to the Plan.

  The Bankruptcy Court does not believe they have liquidated claims against the Debtor. Mr.

  Dondero appears to be in control of these entities as well.

                    19.         Background Regarding Dondero Objecting Parties. To be clear, the

  Bankruptcy Court has allowed all these objectors to fully present arguments and evidence in

  opposition to confirmation, even though their economic interests in the Debtor appear to be

  extremely remote and the Bankruptcy Court questions their good faith.              Specifically, the

  Bankruptcy Court considers them all to be marching pursuant to the orders of Mr. Dondero. In

  the recent past, Mr. Dondero has been subject to a temporary restraining order and preliminary

  injunction by the Bankruptcy Court for interfering with Mr. Seery’s management of the Debtor in

  specific ways that were supported by evidence. Around the time that this all came to light and the

  Bankruptcy Court began setting hearings on the alleged interference, Mr. Dondero’s company

  phone, which he had been asked to turn in to Highland, mysteriously went missing. The

  Bankruptcy Court merely mentions this in this context as one of many reasons that the Bankruptcy

  Court has to question the good faith of Mr. Dondero and his affiliates in raising objections to

  confirmation of the Plan.

                    20.         Other Confirmation Objections. Other than the objections filed by Mr.

  Dondero and the Dondero Related Entities, the only other pending objection to the Plan is the

  United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

  Reorganization [Docket No. 1671], which objected to the Plan’s exculpation, injunction, and



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  Debtor release provisions. In juxtaposition, to these pending objections, the Bankruptcy Court

  notes that the Debtor resolved the following objections to the Plan:

           a.       CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation [Docket No. 1675]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    VV of the Confirmation Order;

           b.       Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1662]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    QQ of the Confirmation Order;

           c.       Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) [Docket No. 1669]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraph 82 and paragraphs
                    RR and SS of the Confirmation Order;

           d.       Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1666] and the
                    amended joinder filed by Davis Deadman, Paul Kauffman and Todd Travers
                    [Docket No. 1679]. This Objection and the amended joinder were resolved by
                    agreement of the parties pursuant to modifications to the Plan filed by the Debtor;

           e.       United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization [Docket No. 1668]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraphs TT and UU of the
                    Confirmation Order; and

           f.       Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization [Docket No. 1678]. This objection was resolved by the parties
                    pursuant to the settlement of Mr. Daugherty’s claim announced on the record of the
                    Confirmation Hearing.

                    21.         Capitalized Terms. Capitalized terms used herein, but not defined herein,

  shall have the respective meanings attributed to such terms in the Plan and the Disclosure

  Statement, as applicable.


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                    22.         Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

  Debtor’s Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

  pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding and this Chapter 11 Case is proper

  in this district and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    23.         Chapter 11 Petition. On the Petition Date, the Debtor commenced a

  voluntary case under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

  for the District of Delaware, which case was transferred to the Bankruptcy Court on December 19,

  2019. The Debtor continues to operate its business and manage its property as debtor in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

  appointed in this Chapter 11 Case. The Office of the United States Trustee appointed the

  Committee on October 29, 2019.

                    24.         Judicial Notice. The Bankruptcy Court takes judicial notice of the docket

  in this Chapter 11 Case maintained by the clerk of the Bankruptcy Court and the court-appointed

  claims agent, Kurtzman Carson Consultants LLC (“KCC”), including, without limitation, all

  pleadings, notices, and other documents filed, all orders entered, and all evidence and arguments

  made, proffered or adduced at the hearings held before the Bankruptcy Court during this Chapter

  11 Case, including, without limitation, the hearing to consider the adequacy of the Disclosure

  Statement and the Confirmation Hearing, as well as all pleadings, notices, and other documents

  filed, all orders entered, and all evidence and arguments made, proffered, or adduced at hearings

  held before the Bankruptcy Court or the District Court for the Northern District of Texas in




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  connection with an adversary proceeding or appellate proceeding, respectively, related to this

  Chapter 11 Case.

                    25.         Plan Supplement Documents. Prior to the Confirmation Hearing, the

  Debtor filed each of the Plan Supplements.           The Plan Supplements contain, among other

  documents, the Retained Causes of Action, the Claimant Trust Agreement, the Litigation Sub-

  Trust Agreement, the Senior Employee Stipulation, the Related Entity List, the Schedule of

  Employees, the Reorganized Limited Partnership Agreement, supplements to the Liquidation

  Analysis/Financial Projections, the Schedule of Contracts and Leases to be Assumed, and the other

  Plan Documents set forth therein (collectively, the “Plan Supplement Documents”).

                    26.         Retained Causes of Action Adequately Preserved. The Bankruptcy

  Court finds that the list of Retained Causes of Action included in the Plan Supplements sufficiently

  describes all potential Retained Causes of Action, provides all persons with adequate notice of any

  Causes of Action regardless of whether any specific claim to be brought in the future is listed

  therein or whether any specific potential defendant or other party is listed therein, and satisfies

  applicable law in all respects to preserve all of the Retained Causes of Action. The definition of

  the Causes of Action and Schedule of Retained Causes of Action, and their inclusion in the Plan,

  specifically and unequivocally preserve the Causes of Action for the benefit of the Reorganized

  Debtor, the Claimant Trust, or the Litigation Sub-Trust, as applicable.

                    27.         Plan Modifications Are Non-Material.        In addition to the Plan

  Supplements, the Debtor made certain non-material modifications to the Plan, which are reflected

  in (i) the Redline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



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  (as Modified) filed on January 22, 2021 [Docket No. 1809], and (ii) Exhibit B to the Debtor’s

  Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

  Management, L.P. (as Modified) filed on February 1, 2021 [Docket No. 1875] (collectively, the

  “Plan Modifications”). Section 1127(a) of the Bankruptcy Code provides that a plan proponent

  may modify its plan at any time before confirmation so long as such modified plan meets the

  requirements of sections 1122 and 1123 of the Bankruptcy Code. None of the modifications set

  forth in the Plan Supplements or the Plan Modifications require any further solicitation pursuant

  to sections 1125, 1126, or 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, because,

  among other things, they do not materially adversely change the treatment of the claims of any

  creditors or interest holders who have not accepted, in writing, such supplements and

  modifications. Among other things, there were changes to the projections that the Debtor filed

  shortly before the Confirmation Hearing (which included projected distributions to creditors and

  a comparison of projected distributions under the Plan to potential distributions under a

  hypothetical chapter 7 liquidation). The Plan Supplements and Plan Modifications did not mislead

  or prejudice any creditors or interest holders nor do they require that Holders of Claims or Equity

  Interests be afforded an opportunity to change previously cast votes to accept or reject the Plan.

  Specifically, the Amended Liquidation Analysis/Financial Projections filed on February 1, 2021

  [Docket No. 1875] do not constitute any material adverse change to the treatment of any creditors

  or interest holders but, rather, simply update the estimated distributions based on Claims that were

  settled in the interim and provide updated financial data. The filing and notice of the Plan

  Supplements and Plan Modifications were appropriate and complied with the requirements of



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  section 1127(a) of the Bankruptcy Code and the Bankruptcy Rules, and no other solicitation or

  disclosure or further notice is or shall be required. The Plan Supplements and Plan Modifications

  each became part of the Plan pursuant section 1127(a) of the Bankruptcy Code. The Debtor or

  Reorganized Debtor, as applicable, is authorized to modify the Plan or Plan Supplement

  Documents following entry of this Confirmation Order in a manner consistent with section 1127(b)

  of the Bankruptcy Code, the Plan, and, if applicable, the terms of the applicable Plan Supplement

  Document.

                    28.         Notice of Transmittal, Mailing and Publication of Materials. As is

  evidenced by the Voting Certifications and the Affidavits of Service and Publication, the

  transmittal and service of the Plan, the Disclosure Statement, Ballots, and Confirmation Hearing

  Notice were adequate and sufficient under the circumstances, and all parties required to be given

  notice of the Confirmation Hearing (including the deadline for filing and serving objections to the

  confirmation of the Plan) have been given due, proper, timely, and adequate notice in accordance

  with the Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy

  Rules, the Local Rules, and applicable non-bankruptcy law, and such parties have had an

  opportunity to appear and be heard with respect thereto. No other or further notice is required.

  The publication of the Confirmation Hearing Notice, as set forth in the Notice of Affidavit of

  Publication dated December 3, 2020 [Docket No. 1505], complied with the Disclosure Statement

  Order.

                    29.         Voting. The Bankruptcy Court has reviewed and considered the Voting

  Certifications. The procedures by which the Ballots for acceptance or rejection of the Plan were



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  distributed and tabulated, including the tabulation as subsequently amended to reflect the

  settlement of certain Claims to be Allowed in Class 7, were fairly and properly conducted and

  complied with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and

  the Local Rules.

                    30.         Bankruptcy Rule 3016(a). In accordance with Bankruptcy Rule 3016(a),

  the Plan is dated and identifies the Debtor as the proponent of the Plan.

                    31.         Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As

  set forth below, the Plan complies with all of the applicable provisions of the Bankruptcy Code,

  thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                    32.         Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). Section 1122 of

  the Bankruptcy Code provides that a plan may place a claim or interest in a particular class only if

  such claim or interest is substantially similar to the other claims or interest of such class. The

  Claims and Equity Interests placed in each Class are substantially similar to other Claims and

  Equity Interests, as the case may be, in each such Class. Valid business, factual, and legal reasons

  exist for separately classifying the various Classes of Claims and Equity Interests created under

  the Plan, and such Classes do not unfairly discriminate between Holders of Claims and Equity

  Interests.

                    33.         Classification of Secured Claims. Class 1 (Jefferies Secured Claim) and

  Class 2 (Frontier Secured Claim) each constitute separate secured claims held by Jefferies LLC

  and Frontier State Bank, respectively, and it is proper and consistent with section 1122 of the

  Bankruptcy Code to separately classify the claims of these secured creditors. Class 3 (Other



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  Secured Claims) consists of other secured claims (to the extent any exist) against the Debtor, are

  not substantially similar to the Secured Claims in Class 1 or Class 2, and are also properly

  separately classified.

                    34.         Classification of Priority Claims. Class 4 (Priority Non-Tax Claims)

  consists of Claims entitled to priority under section 507(a), other than Priority Tax Claims, and are

  properly separately classified from non-priority unsecured claims. Class 5 (Retained Employee

  Claims) consists of the potential claims of employees who may be retained by the Debtor on the

  Effective Date, which claims will be Reinstated under the Plan, are not substantially similar to

  other Claims against the Debtor, and are properly classified.

                    35.         Classification of Unsecured Claims. Class 6 (PTO Claims) consists solely

  of the claims of the Debtor’s employees for unpaid paid time off in excess of the $13,650 statutory

  cap amount under sections 507(a)(4) and (a)(5) of the Bankruptcy Code and are dissimilar from

  other unsecured claims in Class 7 and Class 8. Class 7 (Convenience Claims) allows holders of

  eligible and liquidated Claims (below a certain threshold dollar amount) to receive a cash payout

  of the lesser of 85% of the Allowed amount of the creditor’s Claim or such holder’s pro rata share

  of the Convenience Claims Cash Pool. Class 7 (Convenience Claims) are provided for

  administrative convenience purposes in order to allow creditors, most of whom are either trade

  creditors or holders of professional claims, to receive treatment provided under Class 7 in lieu of

  the treatment of Class 8 (General Unsecured Claims). The Plan also provides for reciprocal “opt

  out” mechanisms to allow holders of Class 7 Claims to elect to receive the treatment for Class 8

  Claims. Class 8 creditors primarily constitute the litigation claims of the Debtor. Class 8 Creditors



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  will receive Claimant Trust Interests which will be satisfied pursuant to the terms of the Plan.

  Class 8 also contains an “opt out” mechanism to allow holders of liquidated Class 8 Claims at or

  below a $1 million threshold to elect to receive the treatment of Class 7 Convenience Claims. The

  Claims in Class 7 (primarily trade and professional Claims against the Debtor) are not substantially

  similar to the Claims in Class 8 (primarily the litigation Claims against the Debtor), and are

  appropriately separately classified. Valid business reasons also exist to classify creditors in Class

  7 separately from creditors in Class 8. Class 7 creditors largely consist of liquidated trade or

  service providers to the Debtor. In addition, the Claims of Class 7 creditors are small relative to

  the large litigation claims in Class 8. Furthermore, the Class 8 Claims were overwhelmingly

  unliquidated when the Plan was filed. The nature of the Class 7 Claims as being largely liquidated

  created an expectation of expedited payment relative to the largely unliquidated Claims in Class

  8, which consists in large part of parties who have been engaged in years, and in some cases over

  a decade of litigation with the Debtor. Separate classification of Class 7 and Class 8 creditors was

  the subject of substantial arm’s-length negotiations between the Debtor and the Committee to

  appropriately reflect these relative differences.

                    36.         Classification of Equity Interests. The Plan properly separately classifies

  the Equity Interests in Class 10 (Class B/C Limited Partnership Interests) from the Equity Interests

  in Class 11 (Class A Limited Partnership Interests) because they represent different types of equity

  security interests in the Debtor and different payment priorities.

                    37.         Elimination of Vacant Classes. Section III.C of the Plan provides for the

  elimination of Classes that do not have at least one holder of a Claim or Equity Interest that is



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  Allowed in an amount greater than zero for purposes of voting to accept or reject the Plan, and are

  disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the

  Bankruptcy Code with respect to such Class. The purpose of this provision is to provide that a

  Class that does not have voting members shall not be included in the tabulation of whether that

  Class has accepted or rejected the Plan. Pursuant to the Voting Certifications, the only voting

  Class of Claims or Equity Interests that did not have any members is Class 5 (Retained

  Employees). As noted above, Class 5 does not have any voting members because any potential

  Claims in Class 5 would not arise, except on account of any current employees of the Debtor who

  may be employed as of the Effective Date, which is currently unknown. Thus, the elimination of

  vacant Classes provided in Article III.C of the Plan does not violate section 1122 of the Bankruptcy

  Code. Class 5 is properly disregarded for purposes of determining whether or not the Plan has

  been accepted under Bankruptcy Code section 1129(a)(8) because there are no members in that

  Class. However, the Plan properly provides for the treatment of any Claims that may potentially

  become members of Class 5 as of the Effective Date in accordance with the terms of the Plan. The

  Plan therefore satisfies section 1122 of the Bankruptcy Code.

                    38.         Classification of Claims and Designation of Non-Classified Claims (11

  U.S.C. §§ 1122, 1123(a)(1)). Section 1123(a)(1) of the Bankruptcy Code requires that the Plan

  specify the classification of claims and equity security interests pursuant to section 1122 of the

  Bankruptcy Code, other than claims specified in sections 507(a)(2), 507(a)(3), or 507(a)(8) of the

  Bankruptcy Code. In addition to Administrative Claims, Professional Fee Claims, and Priority

  Tax Claims, each of which need not be classified pursuant to section 1123(a)(1) of the Bankruptcy



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  Code, the Plan designates eleven (11) Classes of Claims and Equity Interests. The Plan satisfies

  sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                    39.         Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III

  of the Plan specifies that each of Class 1 (Jefferies Secured Claim), Class 3 (Other Secured

  Claims), Class 4 (Priority Non-Tax Claims), Class 5 (Retained Employee Claims), and Class 6

  (PTO Claims) are Unimpaired under the Plan. Thus, the requirement of section 1123(a)(2) of the

  Bankruptcy Code is satisfied.

                    40.         Specification of Treatment of Impaired Classes (11 U.S.C. §

  1123(a)(3)). Article III of the Plan designates each of Class 2 (Frontier Secured Claim), Class 7

  (Convenience Claims), Class 8 (General Unsecured Claims), Class 9 (Subordinated Claims), Class

  10 (Class B/C Limited Partnership Interests), and Class 11 (Class A Limited Partnership Interests)

  as Impaired and specifies the treatment of Claims and Equity Interests in such Classes. Thus, the

  requirement of section 1123(a)(3) of the Bankruptcy Code is satisfied.

                    41.         No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

  same treatment by the Plan proponent for each Claim or Equity Interest in each respective Class

  unless the Holder of a particular Claim or Equity Interest has agreed to a less favorable treatment

  of such Claim or Equity Interest. The Plan satisfies this requirement because Holders of Allowed

  Claims or Equity Interests in each Class will receive the same rights and treatment as other Holders

  of Allowed Claims or Equity Interests within such holder’s respective class, subject only to the

  voluntary “opt out” options afforded to members of Class 7 and Class 8 in accordance with the

  terms of the Plan. Thus, the requirement of section 1123(a)(4) of the Bankruptcy Code is satisfied.



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                    42.         Implementation of the Plan (11 U.S.C. § 1123(a)(5)). Article IV of the

  Plan sets forth the means for implementation of the Plan which includes, but is not limited to, the

  establishment of: (i) the Claimant Trust; (ii) the Litigation Sub-Trust; (iii) the Reorganized Debtor;

  and (iv) New GP LLC, in the manner set forth in the Plan Documents, the forms of which are

  included in the Plan Supplements.

           a.       The Claimant Trust. The Claimant Trust Agreement provides for the
                    management of the Claimant Trust, as well as the Reorganized Debtor with the
                    Claimant Trust serving as the managing member of New GP LLC (a wholly-owned
                    subsidiary of the Claimant Trust that will manage the Reorganized Debtor as its
                    general partner). The Claimant Trust, the Claimant Trustee, the management and
                    monetization of the Claimant Trust Assets, and the management of the Reorganized
                    Debtor (through the Claimant Trust’s role as managing member of New GP LLC)
                    and the Litigation Sub-Trust will all be managed and overseen by the Claimant
                    Trust Oversight Committee. Additionally, the Plan provides for the transfer to the
                    Claimant Trust of all of the Debtor’s rights, title, and interest in and to all of the
                    Claimant Trust Assets in accordance with section 1141 of the Bankruptcy Code and
                    for the Claimant Trust Assets to automatically vest in the Claimant Trust free and
                    clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
                    Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant
                    Trust Agreement. The Claimant Trust will administer the Claimant Trust Assets as
                    provided under the Plan and the Claimant Trust Agreement contained in the Plan
                    Supplements.

           b.       The Litigation Sub-Trust. The Plan and the Litigation Sub-Trust Agreement
                    provide for the transfer to the Litigation Sub-Trust all of the Claimant Trust’s rights,
                    title, and interest in and to all of the Estate Claims (as transferred to the Claimant
                    Trust by the Debtor) in accordance with section 1141 of the Bankruptcy Code and
                    for the Estate Claims to automatically vest in the Litigation Sub-Trust free and clear
                    of all Claims, Liens, encumbrances, or interests subject only to the Litigation Sub-
                    Trust Interests and the Litigation Sub-Trust Expenses, as provided for in the
                    Litigation Sub-Trust Agreement. The Litigation Trustee is charged with
                    investigating, pursuing, and otherwise resolving any Estate Claims (including those
                    with respect to which the Committee has standing to pursue prior to the Effective
                    Date pursuant to the January 9 Order) pursuant to the terms of the Litigation Sub-
                    Trust Agreement and the Plan, regardless of whether any litigation with respect to
                    any Estate Claim was commenced by the Debtor or the Committee prior to the
                    Effective Date.


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           c.       The Reorganized Debtor. The Reorganized Debtor will administer the
                    Reorganized Debtor Assets, which includes managing the wind down of the
                    Managed Funds.

  The precise terms governing the execution of these restructuring transactions are set forth in greater

  detail in the applicable definitive documents included in the Plan Supplements, including the

  Claimant Trust Agreement, the Litigation Sub-Trust Agreement, and the Schedule of Retained

  Causes of Action. The Plan, together with the documents and forms of agreement included in the

  Plan Supplements, provides a detailed blueprint for the transactions contemplated by the Plan. The

  Plan’s various mechanisms provide for the Debtor’s continued management of its business as it

  seeks to liquidate the Debtor’s assets, wind down its affairs, and pay the Claims of the Debtor’s

  creditors. Upon full payment of Allowed Claims, plus interest as provided in the Plan, any residual

  value would then flow to the holders of Class 10 (Class B/C Limited Partnership Interests), and

  Class 11 (Class A Limited Partnership Interests). Finally, Mr. Seery testified that the Debtor

  engaged in substantial and arm’s length negotiations with the Committee regarding the Debtor’s

  post-Effective Date corporate governance, as reflected in the Plan. Mr. Seery testified that he

  believes the selection of the Claimant Trustee, Litigation Trustee, and members of the Claimant

  Trust Oversight Board are in the best interests of the Debtor’s economic constituents. Thus, the

  requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

                    43.         Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The Debtor is

  not a corporation and the charter documents filed in the Plan Supplements otherwise comply with

  section 1123(a)(6) of the Bankruptcy Code. Therefore, the requirement of section 1123(a)(6) of

  the Bankruptcy Code is satisfied.




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                    44.         Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)). Article IV

  of the Plan provides for the Claimant Trust to be governed and administered by the Claimant

  Trustee. The Claimant Trust, the management of the Reorganized Debtor, and the management

  and monetization of the Claimant Trust Assets and the Litigation Sub-Trust will be managed by

  the Claimant Trust Oversight Board. The Claimant Trust Oversight Board will consist of: (1) Eric

  Felton, as representative of the Redeemer Committee; (2) Joshua Terry, as representative of Acis;

  (3) Elizabeth Kozlowski, as representative of UBS; (4) Paul McVoy, as representative of Meta-E

  Discovery; and (5) David Pauker.             Four of the members of the Claimant Trust Oversight

  Committee are the holders of several of the largest Claims against the Debtor and/or are current

  members of the Committee. Each of these creditors has actively participated in the Debtor’s case,

  both through their fiduciary roles as Committee members and in their individual capacities as

  creditors. They are therefore intimately familiar with the Debtor, its business, and assets. The

  fifth member of the Claimant Trustee Oversight Board, David Pauker, is a disinterested

  restructuring advisor and turnaround manager with more than 25 years of experience advising

  public and private companies and their investors, and he has substantial experience overseeing,

  advising or investigating troubled companies in the financial services industry and has advised or

  managed such companies on behalf of boards or directors, court-appointed trustees, examiners and

  special masters, government agencies, and private investor parties. The members of the Claimant

  Trust Oversight Board will serve without compensation, except for Mr. Pauker, who will receive

  payment of $250,000 for his first year of service, and $150,000 for subsequent years.




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                    45.         Selection of Trustees. The Plan Supplements disclose that Mr. Seery will

  serve as the Claimant Trustee and Marc Kirschner will serve as the Litigation Trustee. As noted

  above, Mr. Seery has served as an Independent Board member since January 2020, and as the

  Chief Executive Officer and Chief Restructuring Officer since July 2020, and he has extensive

  management and restructuring experience, as evidenced from his curriculum vitae which is part of

  the record.      The evidence shows that Mr. Seery is intimately familiar with the Debtor’s

  organizational structure, business, and assets, as well as how Claims will be treated under the Plan.

  Accordingly, it is reasonable and in the Estate’s best interests to continue Mr. Seery’s employment

  post-emergence as the Claimant Trustee. Mr. Seery, upon consultation with the Committee,

  testified that he intends to employ approximately 10 of the Debtor’s employees to enable him to

  manage the Debtor’s business until the Claimant Trust effectively monetizes its remaining assets,

  instead of hiring a sub-servicer to accomplish those tasks. Mr. Seery testified that he believes that

  the Debtor’s post-confirmation business can most efficiently and cost-effectively be supported by

  a sub-set of the Debtor’s current employees, who will be managed internally. Mr. Seery shall

  initially be paid $150,000 per month for services rendered after the Effective Date as Claimant

  Trustee; however, Mr. Seery’s long-term salary as Claimant Trustee and the terms of any bonuses

  and severance are subject to further negotiation by Mr. Seery and the Claimant Trust Oversight

  Board within forty-five (45) days after the Effective Date. The Bankruptcy Court has also

  reviewed Mr. Kirschner’s curriculum vitae. Mr. Kirschner has been practicing law since 1967 and

  has substantial experience in bankruptcy litigation matters, particularly with respect to his prior

  experience as a litigation trustee for several litigation trusts, as set forth on the record of the



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  Confirmation Hearing and in the Confirmation Brief. Mr. Kirschner shall be paid $40,000 per

  month for the first three months and $20,000 per month thereafter, plus a success fee related to

  litigation recoveries. The Committee and the Debtor had arm’s lengths negotiations regarding the

  post-Effective Date corporate governance structure of the Reorganized Debtor and believe that the

  selection of the Claimant Trustee, the Litigation Trustee, and the Claimant Trust Oversight

  Committee are in the best interests of the Debtor’s economic stakeholders. Section 1123(a)(7) of

  the Bankruptcy Code is satisfied.

                    46.         Debtor’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

  Pursuant to section 1129(a)(2) of the Bankruptcy Code, the Debtor has complied with the

  applicable provisions of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, and

  1126 of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement Order

  governing notice, disclosure, and solicitation in connection with the Plan, the Disclosure

  Statement, the Plan Supplements, and all other matters considered by the Bankruptcy Court in

  connection with this Chapter 11 Case.

                    47.         Debtor’s Solicitation Complied with Bankruptcy Code and Disclosure

  Statement Order. Before the Debtor solicited votes on the Plan, the Bankruptcy Court entered

  the Disclosure Statement Order. In accordance with the Disclosure Statement Order and evidenced

  by the Affidavits of Service and Publication, the Debtor appropriately served (i) the Solicitation

  Packages (as defined in the Disclosure Statement Order) on the Holders of Claims in Classes 2, 7,

  8 and 9 and Holders of Equity Interests in Classes 10 and 11 who were entitled to vote on the Plan;

  and (ii) the Notice of Nonvoting Status (as defined in the Disclosure Statement Order) and the



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  Confirmation Hearing Notice to the Holders of Claims in Classes 1, 3, 4, 5 and 6, who were not

  entitled to vote on the Plan pursuant to the Disclosure Statement Order. The Disclosure Statement

  Order approved the contents of the Solicitation Packages provided to Holders of Claims and Equity

  Interests entitled to vote on the Plan, the notices provided to parties not entitled to vote on the Plan,

  and the deadlines for voting on and objecting to the Plan. The Debtor and KCC each complied

  with the content and delivery requirements of the Disclosure Statement Order, thereby satisfying

  sections 1125(a) and (b) of the Bankruptcy Code, as evidenced by the Affidavits of Service and

  Publication. The Debtor also satisfied section 1125(c) of the Bankruptcy Code, which provides

  that the same disclosure statement must be transmitted to each holder of a claim or interest in a

  particular class. The Debtor caused the same Disclosure Statement to be transmitted to all holders

  of Claims and Equity Interests entitled to vote on the Plan. The Debtor has complied in all respects

  with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

  Statement Order. The Bankruptcy Court rejects the arguments of the Mr. Dondero and certain

  Dondero Related Entities that the changes made to certain assumptions and projections from the

  Liquidation Analysis annexed as Exhibit C to the Disclosure Statement (the “Liquidation

  Analysis”) to the Amended Liquidation Analysis/Financial Projections require resolicitation of the

  Plan. The Bankruptcy Court heard credible testimony from Mr. Seery regarding the changes to

  the Liquidation Analysis as reflected in the Amended Liquidation Analysis/Financial Projections.

  Based on the record, including the testimony of Mr. Seery, the Bankruptcy Court finds that the

  changes between the Liquidation Analysis and the Amended Liquidation Analysis/Financial

  Projections do not constitute materially adverse change to the treatment of Claims or Equity



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  Interests. Instead, the changes served to update the projected distributions based on Claims that

  were settled after the approval of the Disclosure Statement and to otherwise incorporate more

  recent financial data.          Such changes were entirely foreseeable given the large amount of

  unliquidated Claims at the time the Disclosure Statement was approved and the nature of the

  Debtor’s assets. The Bankruptcy Court therefore finds that holders of Claims and Equity Interests

  were not misled or prejudiced by the Amended Liquidation Analysis/Financial Projections and the

  Plan does not need to be resolicited.

                    48.         Plan Proposed in Good Faith and Not by Means Forbidden by Law (11

  U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

  forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining

  that the Plan has been proposed in good faith, the Bankruptcy Court has examined the totality of

  the circumstances surrounding the filing of this Chapter 11 Case, the Plan itself, and the extensive,

  unrebutted testimony of Mr. Seery in which he described the process leading to Plan’s formulation.

  Based on the totality of the circumstances and Mr. Seery’s testimony, the Bankruptcy Court finds

  that the Plan is the result of extensive arm’s-length negotiations among the Debtor, the Committee,

  and key stakeholders, and promotes the objectives and purposes of the Bankruptcy Code.

  Specifically, the Debtor’s good faith in proposing the Plan is supported by the following facts

  adduced by Mr. Seery:

           a.       The Independent Board determined that it should consider all potential
                    restructuring alternatives, including pursuit of a traditional restructuring and the
                    continuation of the Debtor’s business, a potential sale of the Debtor’s assets in one
                    or more transactions, an asset monetization plan similar to that described in the
                    Plan, and a so-called “grand bargain” plan that would involve Mr. Dondero’s
                    sponsorship of a plan with a substantial equity infusion.

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           b.       The Debtor subsequently engaged in arm’s-length, good faith negotiations with the
                    Committee over an asset monetization Plan commencing in June 2020, which
                    negotiations occurred over the next several months.

           c.       Negotiations between the Debtor and the Committee were often contentious over
                    disputes, including, but not limited to, the post-confirmation corporate governance
                    structure and the scope of releases contemplated by the Plan.

           d.       While negotiations with the Committee progressed, the Independent Board engaged
                    in discussions with Mr. Dondero regarding a potential “grand bargain” plan which
                    contemplated a significant equity infusion by Mr. Dondero, and which Mr. Seery
                    personally spent hundreds of hours pursuing over many months.

           e.       On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation
                    [Docket No. 912] pursuant to which the Bankruptcy Court ordered the Debtor, the
                    Committee, UBS, Acis, the Redeemer Committee, and Mr. Dondero into
                    mediation. As a result of this mediation, the Debtor negotiated the settlement of
                    the claims of Acis and Mr. Terry, which the Bankruptcy Court approved on October
                    28, 2020 [Docket No. 1302].

           f.       On August 12, 2020, the Debtor filed its Chapter 11 Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 944] (the “Initial Plan”) and
                    related disclosure statement (the “Initial Disclosure Statement”) which were not
                    supported by either the Committee or Mr. Dondero. The Independent Board filed
                    the Initial Plan and Initial Disclosure Statement in order to act as a catalyst for
                    continued discussions with the Committee while it simultaneously worked with Mr.
                    Dondero on the “grand bargain” plan.

           g.       The Bankruptcy Court conducted a contested hearing on the Initial Disclosure
                    Statement on October 27, 2020. The Committee and other parties objected to
                    approval of the Disclosure Statement at the Initial Disclosure Statement hearing,
                    which was eventually continued to November 23, 2020.

           h.       Following the Initial Disclosure Statement hearing, the Debtor continued to
                    negotiate with the Committee and ultimately resolved the remaining material
                    disputes and led to the Bankruptcy Court’s approval of the Disclosure Statement on
                    November 23, 2020.

           i.       Even after obtaining the Bankruptcy Court’s approval of the Disclosure Statement,
                    the Debtor and the Committee continued to negotiate with Mr. Dondero and the
                    Committee over a potential “pot plan” as an alternative to the Plan on file with the
                    Bankruptcy Court, but such efforts were unsuccessful. This history conclusively
                    demonstrates that the Plan is being proposed in good faith within the meaning of
                    section 1129(a)(3).


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                    49.         Payments for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

  Article II.B of the Plan provides that Professionals will file all final requests for payment of

  Professional Fee Claims no later than 60 days after the Effective Date, thereby providing an

  adequate period of time for interested parties to review such claims. The procedures set forth in

  the Plan for the Bankruptcy Court’s approval of the fees, costs, and expenses to be paid in

  connection with this chapter 11 Case, or in connection with the Plan and incident to this Chapter

  11 Case, satisfy the objectives of and are in compliance with section 1129(a)(4) of the Bankruptcy

  Code.

                    50.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). Article IV.B

  of the Plan provides for the appointment of the Claimant Trustee, Litigation Trustee, and the

  Claimant Trust Oversight Committee and the members thereto. For the reasons more fully

  explained in paragraphs 44-45 of this Confirmation Order with respect to the requirement of

  section 1123(a)(7) of the Bankruptcy Code, the Debtor has disclosed the nature of compensation

  of any insider to be employed or retained by the Reorganized Debtor, if applicable, and

  compensation for any such insider. The appointment of such individuals is consistent with the

  interests of Claims and Equity Interests and with public policy. Thus, the Plan satisfies section

  1129(a)(5) of the Bankruptcy Code.

                    51.         No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for

  any rate change that requires regulatory approval. Section 1129(a)(6) of the Bankruptcy Code is

  thus not applicable.




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                    52.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The “best interests”

  test is satisfied as to all Impaired Classes under the Plan, as each Holder of a Claim or Equity

  Interest in such Impaired Classes will receive or retain property of a value, as of the Effective Date

  of the Plan, that is not less than the amount that such Holder would so receive or retain if the

  Debtor were liquidated under chapter 7 of the Bankruptcy Code. On October 15, 2020, the Debtor

  filed the Liquidation Analysis [Docket 1173], as prepared by the Debtor with the assistance of its

  advisors and which was attached as Exhibit C to the Disclosure Statement. On January 29, 2021,

  in advance of Mr. Seery’s deposition in connection with confirmation of the Plan, the Debtor

  provided an updated version of the Liquidation Analysis to the then-objectors of the Plan,

  including Mr. Dondero and the Dondero Related Entities. On February 1, 2021, the Debtor filed

  the Amended Liquidation Analysis/Financial Projections.                   The Amended Liquidation

  Analysis/Financial Projections included updates to the Debtor’s projected asset values, revenues,

  and expenses to reflect: (1) the acquisition of an interest in an entity known as “HCLOF” that the

  Debtor will acquire as part of its court-approved settlement with HarbourVest and that was valued

  at $22.5 million; (2) an increase in the value of certain of the Debtor’s assets due to changes in

  market conditions and other factors; (3) expected revenues and expenses arising in connection with

  the Debtor’s continued management of the CLOs pursuant to management agreements that the

  Debtor decided to retain; (4) increases in projected expenses for headcount (in addition to adding

  two or three employees to assist in the management of the CLOs, the Debtor also increased

  modestly the projected headcount as a result of its decision not to engage a Sub-Servicer) and

  professional fees; and (5) an increase in projected recoveries on notes resulting from the



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  acceleration of term notes owed to the Debtor by the following Dondero Related Entities:

  NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.; and HCRE Partners, LLC

  (n/k/a NexPoint Real Estate Partners, LLC). Under the Plan, as of the Confirmation Date, (a) Class

  7 General Unsecured Creditors are projected to receive 85% on account of their claims; and (b)

  Class 8 General Unsecured Creditors are projected to receive at least approximately 71% on

  account of their Claims. Under a hypothetical chapter 7 liquidation, all general unsecured creditors

  are projected to receive approximately 55% on account of their Claims. The Bankruptcy Court

  finds that the distributions that Class 7 and 8 General Unsecured Creditors are projected to receive

  under the Plan substantially exceeds that which they would receive under a chapter 7 liquidation

  based on Mr. Seery’s testimony, including the following credible reasons he posited, among

  others:

            a.      The nature of the Debtor’s assets is complex. Certain assets relate to complicated
                    real estate structures and private equity investments in operating businesses. Mr.
                    Seery’s extensive experience with the Debtor during the thirteen months since his
                    appointment as an Independent Director and later Chief Executive Officer and
                    Chief Restructuring Officer, provides him with a substantial learning curve in
                    connection with the disposition of the Debtor’s assets and are reasonably expected
                    to result in him being able to realize tens of millions of dollars more value than
                    would a chapter 7 trustee.

            b.      Assuming that a hypothetical chapter 7 trustee could even operate the Debtor’s
                    business under chapter 7 of the Bankruptcy Code and hire the necessary personnel
                    with the relevant knowledge and experience to assist him or her in selling the
                    Debtor’s assets, a chapter 7 trustee would likely seek to dispose of the Debtor’s
                    assets in a forced sale liquidation which would generate substantially less value for
                    the Debtor’s creditors than the asset monetization plan contemplated by the Plan.

            c.      A chapter 7 trustee would be unlikely to retain the Debtor’s existing professionals
                    to assist in its efforts to monetize assets, resulting in delays, increased expenses,
                    and reduced asset yields for the chapter 7 estate.



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           d.       The chapter 7 estate would be unlikely to maximize value as compared to the asset
                    monetization process contemplated by the Plan because potential buyers are likely
                    to perceive a chapter 7 trustee as engaging in a quick, forced “fire sale” of assets;
                    and

           e.       The Debtor’s employees, who are vital to its efforts to maximum value and
                    recoveries for stakeholders, may be unwilling to provide services to a chapter 7
                    trustee.

  Finally, there is no evidence to support the objectors’ argument that the Claimant Trust

  Agreement’s disclaimed liability for ordinary negligence by the Claimant Trustee compared to a

  chapter 7 trustee’s liability has any relevance to creditor recoveries in a hypothetical chapter 7

  liquidation. Thus, section 1129(a)(7) of the Bankruptcy Code is satisfied.

                    53.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Classes 1, 3, 4,

  5 and 6 are Unimpaired under the Plan. Class 2 (Frontier Secured Claim), Class 7 (Convenience

  Claims), and Class 9 (Subordinated Claims) have each voted to accept the Plan in accordance with

  the Bankruptcy Code, thereby satisfying section 1129(a)(8) as to those Classes. However, Class

  8 (General Unsecured Claims), Class 10 (Class B/C Limited Partnership Interests), and Class 11

  (Class A Limited Partnership Interests) have not accepted the Plan.              Accordingly, section

  1129(a)(8) of the Bankruptcy Code has not been satisfied. The Plan, however, is still confirmable

  because it satisfies the nonconsensual confirmation provisions of section 1129(b), as set forth

  below.

                    54.         Treatment of Administrative, Priority, Priority Tax Claims, and

  Professional Fee Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims,

  Priority Claims, and Professional Fee Claims pursuant to Article III of the Plan, and as set forth

  below with respect to the resolution of the objections filed by the Internal Revenue Service and



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  certain Texas taxing authorities satisfies the requirements of sections 1129(a)(9) of the Bankruptcy

  Code.

                    55.         Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)).           Class 2

  (Frontier Secured Claims) and Class 7 (Convenience Claims) are each Impaired Classes of Claims

  that voted to accept the Plan, determined without including any acceptance of the Plan by any

  insider. Therefore, the requirement of section 1129(a)(10) of the Bankruptcy Code is satisfied.

                    56.         Feasibility (11 U.S.C. § 1129(a)(11)). Article IV of the Plan provides for

  the implementation of the Plan through the Claimant Trust, the Litigation Sub-Trust, and the

  Reorganized Debtor. The Plan provides that the Claimant Trust, among other things, will monetize

  and distribute the Debtor’s remaining assets. The Disclosure Statement, the Amended Liquidation

  Analysis/Financial Projections, and the other evidence presented at the Confirmation Hearing

  provide a reasonable probability of success that the Debtor will be able to effectuate the provisions

  of the Plan. The Plan contemplates the establishment of the Claimant Trust upon the Effective

  Date, which will monetize the Estate’s assets for the benefit of creditors. Mr. Seery testified that

  the Class 2 Frontier Secured Claim will be paid over time pursuant to the terms of the New Frontier

  Note and the Reorganized Debtor will have sufficient assets to satisfy its obligations under this

  note. The Claims of the Holders of Class 7 Claims (as well as those Class 8 creditors who validly

  opted to receive the treatment of Class 7 Claims) are expected to be satisfied shortly after the

  Effective Date. Holders of Class 8 Claims (including any holders of Class 7 Claims who opted to

  receive the treatment provided to Class 8 Claims) are not guaranteed any recovery and will




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  periodically receive pro rata distributions as assets are monetized pursuant to the Plan and the

  Claimant Trust Agreement. Thus, section 1129(a)(11) of the Bankruptcy Code is satisfied.

                    57.         Payment of Fees (11 U.S.C. § 1129(a)(12)). All fees payable under 28

  U.S.C. § 1930 have been paid or will be paid on or before the Effective Date pursuant to Article

  XII.A of the Plan, thus satisfying the requirement of section 1129(a)(12) of the Bankruptcy Code.

  The Debtor has agreed that the Reorganized Debtor, the Claimant Trust, and the Litigation Sub-

  Trust shall be jointly and severally liable for payment of quarterly fees to the Office of the United

  States Trustee pursuant to 28 U.S.C. § 1930 through the entry of the Final Decree for the Debtor

  or the dismissal or conversion of the Chapter 11 Case.

                    58.         Retiree Benefits. The Plan provides for the assumption of the Pension Plan

  (to the extent such Pension Plan provides “retiree benefits” and is governed by section 1114 of the

  Bankruptcy Code). Thus, the Plan complies with section 1129(a)(13) of the Bankruptcy Code, to

  the extent applicable.

                    59.         Miscellaneous Provisions (11 U.S.C. §§ 1129(a)(14)-(16)).        Sections

  1129(a)(14)-(16) of the Bankruptcy Code are inapplicable as the Debtor (i) has no domestic

  support obligations (section 1129(a)(14)), (ii) is not an individual (section 1129(a)(15)), and (iii)

  is not a nonprofit corporation (section 1129(a)(16)).

                    60.         No Unfair Discrimination; Fair and Equitable Treatment (11 U.S.C. §

  1129(b)). The classification and treatment of Claims and Equity Interests in Classes 8, 10 and 11,

  which have not accepted the Plan, is proper pursuant to section 1122 of the Bankruptcy Code, does




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  not discriminate unfairly, and is fair and equitable pursuant to section 1129(b)(1) of the Bankruptcy

  Code.

            a.      Class 8. The Plan is fair and equitable with respect to Class 8 General Unsecured
                    Claims. While Equity Interests in Class 10 and Class 11 will receive a contingent
                    interest in the Claimant Trust under the Plan (the “Contingent Interests”), the
                    Contingent Interests will not vest unless and until holders of Class 8 General
                    Unsecured Claims and Class 9 Subordinated Claims receive distributions equal to
                    100% of the amount of their Allowed Claims plus interest as provided under the
                    Plan and Claimant Trust Agreement. Accordingly, as the holders of Equity
                    Interests that are junior to the Claims in Class 8 and Class 9 will not receive or
                    retain under the Plan on account of such junior claim interest any property unless
                    and until the Claims in Class 8 and Class 9 are paid in full plus applicable interest,
                    the Plan is fair and equitable with respect to holders of Class 8 General Unsecured
                    Claims pursuant to section 1129(b)(2)(B) of the Bankruptcy Code and the reasoning
                    of In re Introgen Therapuetics 429 B.R 570 (Bankr. W.D. Tex. 2010).

            b.      Class 10 and Class 11. There are no Claims or Equity Interests junior to the Equity
                    Interests in Class 10 and Class 11. Equity Interests in Class 10 and 11 will neither
                    receive nor retain any property under the Plan unless Allowed Claims in Class 8
                    and Class 9 are paid in full plus applicable interest pursuant to the terms of the Plan
                    and Claimant Trust Agreement. Thus, the Plan does not violate the absolute priority
                    rule with respect to Classes 10 and 11 pursuant to Bankruptcy Code section
                    1129(b)(2)(C). The Plan does not discriminate unfairly as to Equity Interests. As
                    noted above, separate classification of the Class B/C Partnership Interests from the
                    Class A Partnerships Interests is appropriate because they constitute different
                    classes of equity security interests in the Debtor, and each are appropriately
                    separately classified and treated.


  Accordingly, the Plan does not violate the absolute priority rule, does not discriminate unfairly,

  and is fair and equitable with respect to each Class that has rejected the Plan. Thus, the Plan

  satisfies the requirements of section 1129(b) of the Bankruptcy Code with respect to Classes 8, 10,

  and 11.




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                    61.         Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only chapter 11 plan

  confirmed in this Chapter 11 Case, and the requirements of section 1129(c) of the Bankruptcy

  Code are therefore satisfied.

                    62.         Principal Purpose (11 U.S.C. § 1129(d)). Mr. Seery testified that the

  principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of the application

  of section 5 of the Securities Act of 1933, and no governmental unit has objected to the

  confirmation of the Plan on any such grounds. Accordingly, section 1129(d) of the Bankruptcy

  Code is inapplicable.

                    63.         Satisfaction of Confirmation Requirements. Based upon the foregoing,

  the Plan satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy

  Code and should be confirmed.

                    64.         Good Faith Solicitation (11 U.S.C. § 1125(e)).         The Debtor, the

  Independent Directors, and the Debtor’s employees, advisors, Professionals, and agents have acted

  in good faith within the meaning of section 1125(e) of the Bankruptcy Code and in compliance

  with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

  all of their respective activities relating to the solicitation of acceptances of the Plan and their

  participation in the activities described in section 1125 of the Bankruptcy Code, and they are

  entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

                    65.         Discharge (11 U.S.C. § 1141(d)(3)). The Debtor is entitled to a discharge

  of debts pursuant to section 1141(d)(3)(B) of the Bankruptcy Code. Under the Plan, the Claimant

  Trust or Reorganized Debtor, as applicable, will continue to manage funds and conduct business



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  in the same manner as the Debtor did prior to Plan confirmation, which includes the management

  of the CLOs, Multi-Strat, Restoration Capital, the Select Fund and the Korea Fund. Although the

  Plan projects that it will take approximately two years to monetize the Debtor’s assets for fair

  value, Mr. Seery testified that while the Reorganized Debtor and Claimant Trust will be

  monetizing their assets, there is no specified time frame by which this process must conclude. Mr.

  Seery’s credible testimony demonstrates that the Debtor will continue to engage in business after

  consummation of the Plan, within the meaning of Section 1141(d)(3)(b) and that the Debtor is

  entitled to a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code.

                    66.         Retention of Jurisdiction. The Bankruptcy Court may properly retain

  jurisdiction over the matters set forth in Article XI of the Plan and/or section 1142 of the

  Bankruptcy Code to the maximum extent under applicable law.

                    67.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions

  are appropriate, in the best interests of the Debtor and its Estate, and consistent with the applicable

  provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                    68.         Executory Contracts and Unexpired Leases (11 U.S.C. § 1123(b)(2)).

  The Debtor has exercised reasonable business judgment with respect to the rejection of the

  Executory Contracts and Unexpired Leases pursuant the terms of the Plan and this Confirmation

  Order, and such rejections are justified and appropriate in this Chapter 11 Case. The Debtor also

  filed the List of Assumed Contracts, which contain notices to the applicable counterparties to the

  contracts set forth on Exhibit “FF” to Plan Supplement filed on February 1, 2021 [Docket No.

  1875] and which exhibit sets forth the list of executory contracts and unexpired leases to be



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  assumed by the Debtor pursuant to the Plan (collectively, the “Assumed Contracts”). With respect

  to the Assumed Contracts, only one party objected to the assumption of any of the Assumed

  Contracts, but that objection was withdrawn. 8 Any modifications, amendments, supplements, and

  restatements to the Assumed Contracts that may have been executed by the Debtor during the

  Chapter 11 Case shall not be deemed to alter the prepetition nature of the Assumed Contracts or

  the validity, priority, or amount of any Claims that may arise in connection therewith. Assumption

  of any Assumed Contract pursuant to the Plan and full payment of any applicable Cure pursuant

  to the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition or other bankruptcy-related defaults, arising under any assumed

  Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.

                    69.         Compromises and Settlements Under and in Connection with the Plan

  (11 U.S.C. § 1123(b)(3)). All of the settlements and compromises pursuant to and in connection

  with the Plan, comply with the requirements of section 1123(b)(3) of the Bankruptcy Code and

  Bankruptcy Rule 9019.

                    70.         Debtor Release, Exculpation and Injunctions (11 U.S.C. § 1123(b)). The

  Debtor Release, Exculpation, and Injunction provisions provided in the Plan (i) are within the

  jurisdiction of the Bankruptcy Court under 28 U.S.C. § 1334; (ii) are integral elements of the

  transactions incorporated into the Plan, and inextricably bound with the other provisions of the

  Plan; (iii) confer material benefit on, and are in the best interests of, the Debtor, its Estate, and its

  8
    See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
  Amounts Proposed in Connection Therewith [Docket No. 1876]


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  creditors; (iv) are fair, equitable, and reasonable; (v) are given and made after due notice and

  opportunity for hearing; (vi) satisfy the requirements of Bankruptcy Rule 9019; and (vii) are

  consistent with the Bankruptcy Code and other applicable law, and as set forth below.

                    71.         Debtor Release. Section IX.D of the Plan provides for the Debtor’s release

  of the Debtor’s and Estate’s claims against the Released Parties. Releases by a debtor are

  discretionary and can be provided by a debtor to persons who have provided consideration to the

  Debtor and its estate pursuant to section 1123(b)(3)(A) of the Bankruptcy Code. Contrary to the

  objections raised by Mr. Dondero and certain of the Dondero Related Entities, the Debtor Release

  is appropriately limited to release claims held by the Debtor and does not purport to release the

  claims held by the Claimant Trust, Litigation Sub-Trust, or other third parties. The Plan does not

  purport to release any claims held by third parties and the Bankruptcy Court finds that the Debtor

  Release is not a “disguised” release of any third party claims as asserted by certain objecting

  parties. The limited scope of the Debtor Release in the Plan was extensively negotiated with the

  Committee, particularly with the respect to the Debtor’s conditional release of claims against

  employees, as identified in the Plan, and the Plan’s conditions and terms of such releases. The

  Plan does not release (i) any obligations of any party under the Plan or any document, instrument,

  or agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under

  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual



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  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction. The Debtor Release also contains

  conditions to such releases as set forth in Article X.D of the Plan with respect to employees (the

  “Release Conditions”). Until the an employee satisfies the Release Conditions or the Release

  Conditions otherwise terminate, any claims against such employee will be tolled so that if the

  Release Conditions are not met the Litigation Trustee may pursue claims against an employee at a

  later date. The evidence before the Bankruptcy Court, including, but not limited to Mr. Seery’s

  testimony, demonstrates that the Debtor is not aware of any claims against any of the Released

  Parties, that the Released Parties have been instrumental in assisting the Debtor’s efforts toward

  confirmation of the Plan and that, therefore, the releases are a quid pro quo for the Released

  Parties’ significant contributions to a highly complex and contentious restructuring.           The

  Committee, whose members hold approximately $200 million in claims against the Estate, is

  highly sophisticated and is represented by highly sophisticated professionals, and has actively and

  vigorously negotiated the terms of the Debtor Release, which was the subject of significant

  controversy at the Initial Disclosure Statement hearing held by the Bankruptcy Court on October

  27, 2020.

                    72.         Exculpation. Section IX.C of the Plan provides for the exculpation of

  certain Exculpated Parties to the extent provided therein (the “Exculpation Provision”). As

  explained below, the Exculpation Provision is appropriate under the unique circumstances of this

  litigious Chapter 11 Case and consistent with applicable Fifth Circuit precedent. First, with respect

  to the Independent Directors, their agents, and their advisors, including any employees acting at



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  their direction, the Bankruptcy Court finds and concludes that it has already exculpated these

  parties for acts other than willful misconduct and gross negligence pursuant to the January 9 Order.

  The January 9 Order was specifically agreed to by Mr. Dondero, who was in control of the Debtor

  up until entry of the January 9 Order. The January 9 Order was not appealed. In addition to the

  appointment of the Independent Directors in an already contentious and litigious case, the January

  9 Order set the standard of care for the Independent Directors and specifically exculpated them for

  negligence. Mr. Seery and Mr. Dubel each testified that they had input into the contents of the

  January 9 Order and would not have agreed to their appointment as Independent Directors if the

  January 9 Order did not include the protections set forth in paragraph 10 of the January 9 Order.

  Paragraph 10 of the January 9 Order (1) requires that parties wishing to sue the Independent

  Directors or their agents and advisors must first seek approval from the Bankruptcy Court before

  doing so; (2) sets the standard of care for the Independent Directors during the Chapter 11 Case

  and exculpated the Independent Directors for acts other than willful misconduct or gross

  negligence; (3) only permits suits against the Independent Directors to proceed for colorable claims

  of willful misconduct and gross negligence upon order of the Bankruptcy Court; and (4) does not

  expire by its terms.

                    73.         Existing Exculpation of Independent Directors. The Bankruptcy Court

  also finds and concludes that it has already exculpated Mr. Seery acting in the capacity as Chief

  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order. The Bankruptcy

  Court concludes its previous approval of the exculpation of the Independent Directors, their agents,

  advisors and employees working at their direction pursuant to the January 9 Order, and the Chief



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  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order constitutes the

  law of this case and are res judicata pursuant to In re Republic Supply Co. v. Shoaf,
                                                                                     f 815 F.2d 1046

  (5th Cir.1987). The January 9 Order and July 16 Order cannot be collaterally attacked based on

  the objectors’ objection to the exculpation of the Independent Directors, their agents, and advisors,

  including any employees acting at their direction, as well as the Chief Executive Officer and Chief

  Restructuring Officer, that the Bankruptcy Court already approved pursuant to the January 9 Order

  and the July 16 Order.

                    74.         The Exculpation Provision Complies with Applicable Law. Separate

  and apart from the res judicata effect of the January 9 Order and the July 16 Order, the Bankruptcy

  Court also finds and concludes that the Exculpation Provision is consistent with applicable law,

  including In re Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), for several reasons:

           a.       First, the statutoryy basis for Pacific  f Lumber’s denial of exculpation
                                                                                            p      for certain
                    p
                    parties  other than a creditors’ committee and its members is that section 524(e) of
                    the Bankruptcy Code “only releases the debtor, not co-liable third pparties.” Pacific   f
                    Lumber, 253 F.3d. at 253. However, Pacific             f Lumberr does not pprohibit all
                    exculpations
                           p        under the Bankruptcy p y Code and the court in such case specifically
                                                                                                   p          y
                    approved
                      pp        the exculpations
                                           p         of a creditors’ committee and its members on the
                    ggrounds that “11 U.S.C. § 1103(c),   ( ) which lists the creditors’ committee’s powers,
                                                                                                       p
                     implies
                        p     committee members have qualified immunity for actions within the scope
                     of their duties….
                              duties… [I]f members of the committee can be sued by persons unhappy
                                             p
                     with the committee’s performance        duringg the case or unhappy
                                                                                     ppy with the outcome of
                     the case, it will be extremely difficult to find members to serve on an official
                     committee.” Pacific Lumber, 253 F.3d at 253 (quoting Lawrence P. King, et al,
                     Collier on Bankruptcy, ¶ 1103.05[4][b] (15th Ed. 2008]). Pacific Lumber’s       Lumber’
                     rationale for permitted exculpation of creditors’ committees and their members
                     (which was clearly policy-based and based on a creditors’ committee qualified
                     immunity flowing from their duties under section 1103(c) of the Bankruptcy     p y Code
                     and their disinterestedness and importance
                                                             p         in chapter
                                                                             p 11 cases)) does not preclude
                                                                                                      p
                     exculpation
                           p      to other pparties in a pparticular chapter
                                                                         p 11 case that pperform similar roles
                     to a creditors’ committee and its members. The Independent    p        Directors, and by y
                     extension the Chief Executive Officer and Chief Restructuring Officer, were not

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                    p of the Debtor’s enterprise
                    part                        p     pprior to their appointment
                                                                       pp          byy the Bankruptcy
                                                                                                  p y Court
                    under the Januaryy 9 Order. The Bankruptcy      p y Court appointed
                                                                                 pp         the Independent
                                                                                                    p
                    Directors in lieu of a chapter
                                                 p 11 trustee to address what the Bankruptcy     p y Court
                    pperceived as serious conflicts of interest and fiduciaryy dutyy concerns with the then-
                     existing management prior to January 9, 2020, as identified by the Committee. In
                     addition, the Bankruptcy Court finds that the Independent Directors expected to be
                     exculpated from claims of negligence, and would likely have been unwilling to
                     serve in contentious cases absent exculpation. The uncontroverted testimony of
                     Mr. Seery and Mr. Dubel demonstrates that the Independent Directors would not
                     have agreed to accept their roles without the exculpation and gatekeeper provision
                     in the January 9 Order. Mr. Dubel also testified as to the increasing important role
                     that independent directors are playing in complex chapter 11 restructurings and that
                     unless independent directors could be assured of exculpation for simple negligence
                     in contentious bankruptcy cases they would be reluctant to accept appointment in
                     chapter 11 cases which would adversely affect the chapter 11 restructuring process.
                     The Bankruptcy Court concludes that the Independent Directors were appointed
                     under the January 9 Order in order to avoid the appointment of a chapter 11 trustee
                     and are analogous to a creditors’ committee rather than an incumbent board of
                     directors. The Bankruptcy Court also concludes that if independent directors
                     cannot be assured of exculpation for simple negligence in contentious bankruptcy
                     cases, they may not be willing to serve in that capacity. Based upon the foregoing,
                     the Bankruptcy Court concludes that Pacific Lumber’s policy of exculpating
                     creditors’ committees and their members from “being sued by persons unhappy
                     with the committee’s performance during the case or unhappy with the outcome of
                     the case” is applicable to the Independent Directors in this Chapter 11 Case.  e. 9

           b.       Second, the Bankruptcy p y Court also concludes that Pacific     f Lumber does not
                    preclude
                    p          the exculpation
                                         p       of pparties if there is a showing g that “costs [that] the
                    released pparties might
                                        g incur defendingg against
                                                                g      such suits alleging
                                                                                      g g such negligence
                                                                                                  g
                    are likely to swamp either the Exculpated Parties or the reorganization.” Pacific
                    Lumber, 584 F.3d at 252. If ever there was a risk of that happening in a chapter 11
                    reorganization, it is this one. Mr. Seery credibly testified that Mr. Dondero stated
                    outside the courtroom that if Mr. Dondero’s pot plan does not get approved, that
                    Mr. Dondero will “burn the place down.” The Bankruptcy Court can easily expect
                    that the proposed Exculpated Parties might expect to incur costs that could swamp
                    them and the reorganization based on the prior litigious conduct of Mr. Dondero
                    and his controlled entities that justify their inclusion in the Exculpation Provision.




  9
    The same reasoning g applies
                          pp     to the inclusion of Strand in the Exculpation
                                                                        p      Provision because Strand is the general
  partner of the Debtor through which each of the Independent Board members act.


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                    75.         Injunction. Section IX.D of the Plan provides for a Plan inunction to

  implement and enforce the Plan’s release, discharge and release provisions (the “Injunction

  Provision”). The Injunction Provision is necessary to implement the provisions in the Plan. Mr.

  Seery testified that the Claimant Trustee will monetize the Debtor’s assets in order to maximize

  their value. In order to accomplish this goal, the Claimant Trustee needs to be able to pursue this

  objective without the interference and harassment of Mr. Dondero and his related entities,

  including the Dondero Related Entities. Mr. Seery also testified that if the Claimant Trust was

  subject to interference by Mr. Dondero, it would take additional time to monetize the Debtor’s

  assets and those assets could be monetized for less money to the detriment of the Debtor’s

  creditors. The Bankruptcy Court finds and concludes that the Injunction Provision is consistent

  with and permissible under Bankruptcy Code sections 1123(a), 1123(a)(6), 1141(a) and (c), and

  1142. The Bankruptcy Court rejects assertions by certain objecting parties that the Injunction

  Provision constitutes a “third-party release.” The Injunction Provision is appropriate under the

  circumstances of this Chapter 11 Case and complies with applicable bankruptcy law. The

  Bankruptcy Court also concludes that the terms “implementation” and “consummation” are neither

  vague nor ambiguous

                    76.         Gatekeeper Provision. Section IX.F of the Plan contains a provision

  contained in paragraph AA of this Confirmation Order and which the Debtor has referred to as a

  gatekeeper provision (the “Gatekeeper Provision”). The Gatekeeper Provision requires that

  Enjoined Parties first seek approval of the Bankruptcy Court before they may commence an action

  against Protected Parties. Thereafter, if the Bankruptcy Court determines that the action is



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  colorable, the Bankruptcy Court may, if it has jurisdiction, adjudicate the action. The Bankruptcy

  Court finds that the inclusion of the Gatekeeper Provision is critical to the effective and efficient

  administration, implementation, and consummation of the Plan
                                                          Plan. The Bankruptcy Court also

  concludes that the Bankruptcy Court has the statutory authority as set forth below to approve the

  Gatekeeper Provision.

                    77.         Factual Support for Gatekeeper Provision. The facts supporting the need

  for the Gatekeeper Provision are as follows. As discussed earlier in this Confirmation Order, prior

  to the commencement of the Debtor’s bankruptcy case, and while under the direction of Mr.

  Dondero, the Debtor had been involved in a myriad of litigation, some of which had gone on for

  years and, in some cases, over a decade. Substantially all of the creditors in this case are either

  parties who were engaged in litigation with the Debtor, parties who represented the Debtor in

  connection with such litigation and had not been paid, or trade creditors who provided litigation-

  related services to the Debtor. During the last several months, Mr. Dondero and the Dondero

  Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

  time-consuming litigation for the Debtor. Such litigation includes: (i) entry of a temporary

  restraining order and preliminary injunction against Mr. Dondero [Adv. Proc. No. 20-03190

  Docket No. 10 and 59] because of, among other things, his harassment of Mr. Seery and employees

  and interference with the Debtor’s business operations; (ii) a contempt motion against Mr.

  Dondero for violation of the temporary restraining order, which motion is still pending before the

  Bankruptcy Court [Adv. Proc. No. 20-03190 Docket No. 48]; (iii) a motion by Mr. Dondero’s

  controlled investors in certain CLOs managed by the Debtor that the Bankruptcy Court referred to



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  as frivolous and a waste of the Bankruptcy Court’s time [Docket No. 1528] which was denied by

  the Court [Docket No. 1605]; (iv) multiple plan confirmation objections focused on ensuring the

  Dondero Related Entities be able to continue their litigation against the Debtor and its successors

  post-confirmation [Docket Nos. 1661, 1667, 1670, 1673, 1676, 1677 and 1868]; (v) objections to

  the approval of the Debtor’s settlements with Acis and HarbourVest and subsequent appeals of the

  Bankruptcy Court’s order approving each of those settlements [Docket Nos. 1347 and 1870]; and

  (vi) a complaint and injunction sought against Mr. Dondero’s affiliated entities to prevent them

  from violating the January 9 Order and entry of a restraining order against those entities [Adv Proc.

  No. 21-03000 Docket No 1] (collectively, the “Dondero Post-Petition Litigation”).

                    78.         Findings Regarding Dondero Post-Petition Litigation. The Bankruptcy

  Court finds that the Dondero Post-Petition Litigation was a result of Mr. Dondero failing to obtain

  creditor support for his plan proposal and consistent with his comments, as set forth in Mr. Seery’s

  credible testimony, that if Mr. Dondero’s plan proposal was not accepted, he would “burn down

  the place.” The Bankruptcy Court concludes that without appropriate protections in place, in the

  form of the Gatekeeper Provision, Mr. Dondero and his related entities will likely commence

  litigation against the Protected Parties after the Effective Date and do so in jurisdictions other than

  the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero perceives will be more

  hospitable to his claims. The Bankruptcy Court also finds, based upon Mr. Seery’s testimony, that

  the threat of continued litigation by Mr, Dondero and his related entities after the Effective Date

  will impede efforts by the Claimant Trust to monetize assets for the benefit of creditors and result




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  in lower distributions to creditors because of costs and distraction such litigation or the threats of

  such litigation would cause.

                    79.         Necessity of Gatekeeper Provision. The Bankruptcy Court further finds

  that unless the Bankruptcy Court approves the Gatekeeper Provision,, the Claimant Trustee and the

  Claimant Trust Oversight Board will not be able to obtain D&O insurance, the absence of which

  will present unacceptable risks to parties currently willing to serve in such roles. The Bankruptcy

  Court heard testimony from Mark Tauber, a Vice President with AON Financial Services, the

  Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O insurance. Mr. Tauber

  credibly testified that of all the insurance carriers that AON approached to provide D&O insurance

  coverage after the Effective Date, the only one willing to do so without an exclusion for claims

  asserted by Mr. Dondero and his affiliates otherwise requires that this Order approve the

  Gatekeeper Provision. Based on the foregoing, the Bankruptcy Court finds that the Gatekeeper

  Provision is necessary and appropriate in light of the history of the continued litigiousness of Mr.

  Dondero and his related entities in this Chapter 11 Case and necessary to the effective and efficient

  administration, implementation and consummation of the Plan and is appropriate pursuant to

  Carroll v. Abide (In re Carroll) 850 F.3d 811 (5th Cir. 2017). Approval of the Gatekeeper

  Provision will prevent baseless litigation designed merely to harass the post-confirmation entities

  charged with monetizing the Debtor’s assets for the benefit of its economic constituents, will avoid

  abuse of the court system and preempt the use of judicial time that properly could be used to

  consider the meritorious claims of other litigants. Any suit against a Protected Party would

  effectively be a suit against the Debtor, and the Debtor may be required to indemnify the Protected



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  Parties under the Limited Partnership Agreement, which will remain in effect through the Effective

  Date, or those certain Indemnification and Guaranty Agreements, dated January 9, 2020, between

  Strand, the Debtor, and each Independent Director, following the Confirmation Date as each such

  agreement will be assumed pursuant to 11 U.S.C. § 365 pursuant to the Plan.

                    80.         Statutory Authority to Approve Gatekeeper Provision.                The

  Bankruptcy Court finds it has the statutory authority to approve the Gatekeeper Provision under

  sections 1123(a)(5), 1123(b)(6), 1141, 1142(b), and 105(a). The Gatekeeper Provision is also

  within the spirit of the Supreme Court’s “Barton Doctrine.” Barton v. Barbour, 104 U.S. 126

  (1881). The Gatekeeper Provision is also consistent with the notion of a prefiling injunction to

  deter vexatious litigants, that has been approved by the Fifth Circuit in such cases as Baum v. Blue

  Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811 (5th Cir.

  2017).
  2017)

                    81.         Jurisdiction to Implement Gatekeeper Provision. The Bankruptcy Court

  finds that it will have jurisdiction after the Effective Date to implement the Gatekeeper Provision

  as post-confirmation bankruptcy court jurisdiction has been interpreted by the Fifth Circuit under

  United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d

  296 (5th Cir. 2002) and EOP-Colonnade of Dallas Ltd. P’Ship v. Faulkner (In re Stonebridge

  Techs., Inc.), 430 F.3d 260 (5th Cir. 2005). Based upon the rationale of thee Fifth Circuit in Villegas

  v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015), the Bankruptcy Court’s jurisdiction to act as a

  gatekeeper does not violate Stern v. Marshall. The Bankruptcy Court’s determination of whether




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  a claim is colorable, which the Bankruptcy Court has jurisdiction to determine, is distinct from

  whether the Bankruptcy Court would have jurisdiction to adjudicate any claim it finds colorable.

                    82.         Resolution of Objections of Scott Ellington and Isaac Leventon. Each

  of Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”) (each, a “Senior

  Employee Claimant”) has asserted certain claims for liquidated but unpaid bonus amounts for the

  following periods: 2016, 2017, and 2018, as set forth in Exhibit A to that certain Senior Employees’

  Limited Objection to Debtor’s Fifth Amended Plan of Reorganization [Docket No. 1669] (the

  “Senior Employees’ Objection”) (for each of Mr. Ellington and Mr. Leventon, the “Liquidated

  Bonus Claims”).

           a.       Mr. Ellington has asserted Liquidated Bonus Claims in the aggregate amount of
                    $1,367,197.00, and Mr. Leventon has asserted Liquidated Bonus Claims in the
                    aggregate amount of $598,198.00. Mr. Ellington received two Ballots 10 – a Ballot
                    for Class 7 of the Plan and a Ballot for Class 8 of the Plan. Mr. Ellington completed
                    and timely returned both of such Ballots, voted to reject the Plan, and elected to
                    have his Class 8 Liquidated Bonus Claims treated under Class 7 of the Plan, subject
                    to the objections and reservations of rights set forth in the Senior Employees’
                    Objection. If Mr. Ellington is permitted to elect Class 7 treatment for his Liquidated
                    Bonus Claims, then the maximum amount of his Liquidated Bonus Claims will be
                    $1,000,000.

           b.       Mr. Leventon received two Ballots—a Ballot for Class 7 of the Plan and a Ballot
                    for Class 8 of the Plan. Mr. Leventon completed and timely returned both of such
                    Ballots and voted each such Ballots to rejected the Plan.

           c.       The Senior Employees’ Objection, among other things, objects to the Plan on the
                    grounds that the Debtor improperly disputes the right of Mr. Ellington to elect Class
                    7 treatment for his Liquidated Bonus Claims and Mr. Leventon’s entitlement to
                    receive Class 7 Convenience Class treatment for his Liquidated Bonus Claims. The
                    Debtor contended that neither Mr. Ellington or Mr. Leventon were entitled to elect
                    to receive Class 7 Convenience Class treatment on account of their Liquidated


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    As defined in the Plan, “Ballot” means the forms(s) distributed to holders of Impaired Claims or Equity Interests
  entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.


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                    Bonus Claims under the terms of the Plan, the Disclosure Statement Order or
                    applicable law.

           d.       The Debtor and Mr. Ellington and Mr. Leventon negotiated at arms’ length in an
                    effort to resolve all issues raised in the Senior Employee’s Objection, including
                    whether or not Mr. Ellington and Mr. Leventon were entitled to Class 7
                    Convenience Class treatment of their Liquidated Bonus Claims. As a result of such
                    negotiation, the Debtor, Mr. Ellington, and Mr. Leventon have agreed to the
                    settlement described in paragraphs 82(e) through 82(k) below and approved and
                    effectuated pursuant to decretal paragraphs RR through SS (the “Senior Employees'
                    Settlement”).

           e.       Under the terms of the Senior Employees' Settlement, the Debtor has the right to
                    elect one of two treatments of the Liquidated Bonus Claims for a Senior Employee
                    Claimant. Under the first treatment option (“Option A”), the Liquidated Bonus
                    Claims will be entitled to be treated in Class 7 of the Plan, and the Liquidated Bonus
                    Claims will be entitled to receive payment in an amount equal to 70.125% of the
                    Class 7 amount of the Liquidated Bonus Claims, subject to the Liquidated Bonus
                    Claims becoming Allowed Claims under the terms of the Plan. Under this
                    calculation, Mr. Ellington would be entitled to receive $701,250.00 on account of
                    his Class 7 Convenience Class Claim when and as Allowed under the Plan, and Mr.
                    Leventon would be entitled to receive $413,175.10 on account of his Class 7
                    Convenience Class Claim when and as Allowed under the Plan. If, however, any
                    party in interest objects to the allowance of the Senior Employee Claimant's
                    Liquidated Bonus Claims and does not prevail in such objection, then such Senior
                    Employee Claimant will be entitled to a payment in an amount equal to 85% of his
                    Allowed Liquidated Bonus Claims (subject, in the case of Mr. Ellington, to the cap
                    imposed on Class 7 Claims). In addition, under Option A, each of Mr. Ellington
                    and Mr. Leventon would retain their respective rights to assert that the Liquidated
                    Bonus Claims are entitled to be treated as Administrative Expense Claims, as
                    defined in Article I.B.2. of the Plan, in which case the holder of such Liquidated
                    Bonus Claims would be entitled to payment in full of the Allowed Liquidated
                    Bonus Claims. Under Option A, parties in interest would retain the right to object
                    to any motion seeking payment of the Liquidated Bonus Amounts as
                    Administrative Expenses.

           f.       Under the second treatment option (“Option B”), the Debtor would agree that the
                    Senior Employee Claimant has Allowed Liquidated Bonus Claims, no longer
                    subject to objection by any party in interest, in the amounts of the Liquidated Bonus
                    Claims (subject, in the case of Mr. Ellington, to the cap imposed by Class 7). If the
                    Debtor elects Option B as to a Senior Employee Claimant, then such Senior
                    Employee Claimant would be entitled to a payment on account of his Allowed
                    Liquidated Bonus Claims in an amount equal to 60% of the amount of the


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                    Liquidated Bonus Claims (which, in Mr. Ellington’s case, would be $600,000 and
                    in Mr. Leventon’s case, would be $358,918.80), and such payment would be the
                    sole recovery on account of such Allowed Liquidated Bonus Claims.

           g.       The Debtor may, with the consent of the Committee, elect Option B with respect to
                    a Senior Employee Claimant at any time prior to the occurrence of the Effective
                    Date. If the Debtor does not make an election, then Option A will apply.

           h.       Under either Option A or Option B, Mr. Ellington and Mr. Leventon will retain all
                    their rights with respect to all Claims other than the Liquidated Bonus Amounts,
                    including, but not limited to, their Class 6 PTO Claims, other claims asserted as
                    Class 8 General Unsecured Claims, the Senior Employees’ claims for
                    indemnification against the Debtor, and any other claims that they may assert
                    constitute Administrative Expense Claims, and any other such Claims are subject
                    to the rights of any party in interest to object to such Claims, and the Debtor reserves
                    any all of its rights and defenses in connection therewith.

           i.       Subject to entry of this Confirmation Order and as set forth and announced on the
                    record at the hearing on confirmation of the Plan and no party objecting thereto,
                    Mr. Ellington and Mr. Leventon agreed to change the votes in their respective
                    Ballots from rejection to acceptance of the Plan and to withdraw the Senior
                    Employees’ Objection.

           j.       The Senior Employees’ Settlement represents a valid exercise of the Debtor’s
                    business judgment and satisfies the requirements for a compromise under
                    Bankruptcy Rule 9019(a).

           k.       For the avoidance of doubt, neither Mr. Leventon nor Mr. Ellington shall be a
                    Released Party under the Plan regardless of how the Senior Employee Claimants’
                    Claims are to be treated hereunder.

           Based upon the foregoing findings, and upon the record made before the Bankruptcy Court

  at the Confirmation Hearing, and good and sufficient cause appearing therefor, it is hereby

  ORDERED, ADJUDGED AND DECREED THAT:

                    A.          Confirmation of the Plan. The Plan is approved in its entirety and

  CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




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  Plan Supplements and Plan Modifications, are incorporated by reference into and are an integral

  part of this Confirmation Order. 11

                      B.        Findings of Fact and Conclusions of Law. The findings of fact and the

  conclusions of law set forth in this Confirmation Order and on the record of the Confirmation

  Hearing constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule

  7052, made applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and

  conclusion of law announced by the Bankruptcy Court at the Confirmation Hearing in relation to

  confirmation of the Plan are hereby incorporated into this Confirmation Order. To the extent that

  any of the following constitutes findings of fact or conclusions of law, they are adopted as such.

  To the extent any findings of fact or conclusions of law set forth in this Confirmation Order

  (including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

  Confirmation Hearing and incorporated herein) constitutes an order of the Bankruptcy Court, and

  is adopted as such.

                      C.        Objections. Any resolution or disposition of objections to confirmation of

  the Plan or otherwise ruled upon by the Bankruptcy Court on the record of the Confirmation

  Hearing is hereby incorporated by reference.               All objections and all reservations of rights

  pertaining to confirmation of the Plan that have not been withdrawn, waived or settled are

  overruled on the merits, except as otherwise specifically provided in this Confirmation Order.

                      D.        Plan Supplements and Plan Modifications.             The filing with the

  Bankruptcy Court of the Plan Supplements and the Plan Modifications constitutes due and


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       The Plan is attached hereto as Exhibit A.


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  sufficient notice thereof. Accordingly, pursuant to section 1127(a) of the Bankruptcy Code and

  Bankruptcy Rule 3019, the Plan Modifications and the Plan Supplements do not require additional

  disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes under section 1126

  of the Bankruptcy Code, nor do they require that Holders of Claims or Equity Interests be afforded

  an opportunity to change previously cast acceptances or rejections of the Plan.         The Plan

  Modifications and the Plan Supplements constitute the Plan pursuant to section 1127(a) of the

  Bankruptcy Code. Accordingly, the Plan, as modified, is properly before the Bankruptcy Court

  and all votes cast with respect to the Plan prior to such modification shall be binding and shall

  apply with respect to the Plan.

                    E.          Deemed Acceptance of Plan. In accordance with section 1127 of the

  Bankruptcy Code and Bankruptcy Rule 3019, all Holders of Claims and Equity Interests who voted

  to accept the Plan (or whom are conclusively presumed to accept the Plan) are deemed to have

  accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be permitted

  to change its vote as a consequence of the Plan Modifications.

                    F.          Vesting of Assets in the Reorganized Debtor.   Except as otherwise

  provided in the Plan or this Confirmation Order, on or after the Effective Date, all Reorganized

  Debtor Assets will vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges or

  other encumbrances pursuant to section 1141(c) of the Bankruptcy Code, except with respect to

  such Liens, Claims, charges, and other encumbrances that are specifically preserved under the Plan

  upon the Effective Date. The Reorganized Debtor shall be the exclusive trustee of the Reorganized

  Debtor Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the



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  representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code

  with respect to the Reorganized Debtor Assets.

                    G.          Effectiveness of All Actions.   All actions contemplated by the Plan,

  including all actions in connection with the Claimant Trust Agreement, the Senior Employee

  Stipulation, the New GP LLC Documents, the New Frontier Note, the Reorganized Limited

  Partnership Agreement, the Litigation Sub-Trust Agreement, and the other Plan Documents, are

  authorized to be taken on, prior to, or after the Effective Date, as applicable, under this

  Confirmation Order, without further application to or order of the Bankruptcy Court, or further

  action by the directors, managers, officers or partners of the Debtor or the Reorganized Debtor and

  with the effect that such actions had been taken by unanimous action of such parties.

                    H.          Restructuring Transactions.     The Debtor or Reorganized Debtor, as

  applicable, are authorized to enter into and effectuate the Restructuring provided under the Plan,

  including, without limitation, the entry into and consummation of the transactions contemplated

  by the Claimant Trust Agreement, the Senior Employee Stipulation, the New GP LLC Documents,

  the New Frontier Note, the Reorganized Limited Partnership Agreement, the Litigation Sub-Trust

  Agreement, and the other Plan Documents, and may take any actions as may be necessary or

  appropriate to effect a corporate restructuring of its business or a corporate restructuring of the

  overall corporate structure of the Reorganized Debtor, as and to the extent provided in the Plan.

  Any transfers of assets or equity interests effected or any obligations incurred through the

  Restructuring pursuant to the Plan are hereby approved and shall not constitute fraudulent

  conveyances or fraudulent transfers or otherwise be subject to avoidance.



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                    I.          Preservation of Causes of Action. Unless a Cause of Action against a

  Holder of a Claim or an Equity Interest or other Entity is expressly waived, relinquished, released,

  compromised or settled in the Plan or any Final Order (including, without limitation, this

  Confirmation Order), such Cause of Action is expressly reserved for later adjudication by the

  Reorganized Debtor, the Litigation Sub-Trust, or the Claimant Trust, as applicable (including,

  without limitation, Causes of Action not specifically identified or of which the Debtor may

  presently be unaware or that may arise or exist by reason of additional facts or circumstances

  unknown to the Debtor at this time or facts or circumstances that may change or be different from

  those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without

  limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

  waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as

  a consequence of the confirmation, effectiveness, or consummation of the Plan based on the

  Disclosure Statement, the Plan, or this Confirmation Order, except where such Causes of Action

  have been expressly released in the Plan or any other Final Order (including, without limitation,

  this Confirmation Order). In addition, the right of the Reorganized Debtor, the Claimant Trust, or

  the Litigation Sub-Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor

  is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the

  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

                    J.          Independent Board of Directors of Strand. The terms of the current

  Independent Directors shall expire on the Effective Date without the need for any further or other

  action by any of the Independent Directors. For avoidance of doubt, the Assumed Contracts



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  include the Indemnification and Guaranty Agreement between Highland Capital Management,

  Strand Advisors, Inc. and James Seery; the Indemnification and Guaranty Agreement between

  Highland Capital Management, Strand Advisors, Inc. and John Dubel and Indemnification and

  Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

  Nelms and shall each remain in full force and effect notwithstanding the expiration of the terms of

  any Independent Directors.

                    K.          Cancellation of Equity Interests and Issuance of New Partnership

  Interests. On the Effective Date, all Class A Limited Partnership Interests, including the Class A

  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited

  Partnerships in the Debtor will be deemed cancelled, and all obligations or debts owed by, or

  Claims against, the Debtor on account of, or based upon, such Class A Limited Partnership

  Interests and Class B/C Limited Partnership Interests shall be deemed as cancelled, released, and

  discharged, including all obligations or duties by the Debtor relating to the Equity Interests in any

  of the Debtor’s formation documents, including the Limited Partnership Agreement. As of the

  Effective Date and pursuant to the Plan, new Class A Limited Partnership Interests in the

  Reorganized Debtor will be issued to the Claimant Trust and New GP LLC. The Claimant Trust,

  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized

  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized

  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as

  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited

  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current Limited



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  Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be managed

  consistent with the terms of the Reorganized Limited Partnership Agreement by New GP LLC.

  The sole managing member of New GP LLC will be the Claimant Trust, and the Claimant Trustee

  will be the sole officer of New GP LLC on the Effective Date.

                    L.          Transfer of Assets to Claimant Trust. On or prior to the Effective Date,

  the Debtor shall irrevocably transfer and shall be deemed to have irrevocably transferred to the

  Claimant Trust all of its rights, title, and interest in and to all of the Claimant Trust Assets, and in

  accordance with section 1141 of the Bankruptcy Code, the Claimant Trust Assets shall

  automatically vest in the Claimant Trust free and clear of all Claims, Liens, encumbrances, or

  interests subject only to the Claimant Trust Interests and the Claimant Trust Expenses, as provided

  for in the Claimant Trust Agreement, and such transfer shall be exempt from any stamp, real estate

  transfer, mortgage from any stamp, transfer, reporting, sales, use, or other similar tax. Following

  the Effective Date, the Claimant Trust will administer the Claimant Trust Assets pursuant to the

  Plan and the Claimant Trust Agreement.

                    M.          Transfer of Estate Claims to Litigation Sub-Trust. On or prior to the

  Effective Date, the Claimant Trust shall irrevocably transfer and shall be deemed to have

  irrevocably transferred to the Litigation Sub-Trust all of the Claimant Trust’s rights, title, and

  interest in and to all of the Estate Claims as successor in interest to the Debtor, and in accordance

  with section 1141 of the Bankruptcy Code, the Estate Claims shall automatically vest in the

  Litigation Sub-Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to

  the Litigation Sub-Trust Interests and Litigation Sub-Trust Expenses. The Litigation Trustee will



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  be authorized to investigate, pursue, and otherwise resolve the Estate Claims pursuant to the terms

  of the Litigation Sub-Trust Agreement and the Plan, including as successor in interest to the Debtor

  or Committee, as applicable, in any litigation commenced prior to the Effective Date in which

  Estate Claims are asserted.

                    N.          Compromise of Controversies. In consideration for the distributions and

  other benefits, including releases, provided under the Plan, the provisions of the Plan constitute a

  good faith compromise and settlement of all Claims, Equity Interests, and controversies resolved

  under the Plan and the entry of this Confirmation Order constitutes approval of such compromise

  and settlement under Bankruptcy Rule 9019.

                    O.          Objections to Claims. The Claims Objection Deadline shall be the date

  that is 180 days after the Effective Date, provided, however, that the Claims Objection Deadline

  may be extended by the Bankruptcy Court upon a motion by the Claimant Trustee and as otherwise

  provided under the Plan.

                    P.          Assumption of Contracts and Leases. Effective as of the date of this

  Confirmation Order, each of the Assumed Contacts shall be assumed by the Debtor without the

  need for any further notice to or action, order, or approval of the Bankruptcy Court, under section

  365 of the Bankruptcy Code and the payment of Cures, if any, shall be paid in accordance with the

  Plan.    Each Assumed Contract shall include all modifications, amendments, supplements,

  restatements, or other agreements related thereto, and all rights related thereto, if any, including

  all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

  any other interests. Modifications, amendments, supplements, and restatements to any of the



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  Assumed Contracts that have been executed by the Debtor during the Chapter 11 Case shall not

  be deemed to alter the prepetition nature of such Assumed Contracts or the validity, priority, or

  amount of any Claims that may arise in connection therewith. Assumption of the Assumed

  Contracts pursuant to Article V.A of the Plan and full payment of any applicable Cure pursuant to

  the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition, or other bankruptcy-related defaults, arising under any Assumed

  Contracts.

                    Q.          Rejection of Contracts and Leases. Unless previously assumed during the

  pendency of the Chapter 11 Case or pursuant to the Plan, all other Executory Contracts and

  Unexpired Leases are rejected as of the date of the entry of this Confirmation Order and pursuant

  to the terms of the Plan. To the extent that any party asserts any damages resulting from the

  rejection of any Executory Contract or Unexpired Lease, such claim must be filed within thirty

  (30) days following entry of this Confirmation Order, or such claim will be forever barred and

  disallowed against the Reorganized Debtor.

                    R.          Assumption of Issuer Executory Contracts. On the Confirmation Date,

  the Debtor will assume the agreements set forth on Exhibit B hereto (collectively, the “Issuer

  Executory Contracts”) pursuant to section 365 of the Bankruptcy Code and Article V of the Plan.

  In full and complete satisfaction of its obligation to cure outstanding defaults under section

  365(b)(1) of the Bankruptcy Code, the Debtor or, as applicable, any successor manager under the




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  Issuer Executory Contracts (collectively, the “Portfolio Manager”) will pay to the Issuers 12 a

  cumulative amount of $525,000 (the “Cure Amount”) as follows:

           a.       $200,000 in cash on the date that is five business days from the Effective Date, with
                    such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the amount of
                    $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95, and Maples
                    Group (“Maples” and collectively with SRZ and JW, the “Issuers’ Counsel”) in the
                    amount of $41,904.76 as reimbursement for the attorney’s fees and other legal
                    expenses incurred by the Issuers in connection with the Debtor’s bankruptcy case;
                    and

           b.       $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                    which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the amount
                    of $29,404.76, and Maples in the amount of $17,023.81 as additional
                    reimbursement for the attorney’s fees and other legal expenses incurred by the
                    Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                    fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                    (the “Management Fees”), and (ii) on the date(s) Management Fees are required to
                    be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                    obligation shall be considered an irrevocable direction from the Debtor and the
                    Bankruptcy Court to the relevant CLO Trustee to pay, on each Payment Date, the
                    Payment to Issuers’ Counsel, allocated in the proportion set forth in such
                    agreement; provided, however, that (x) if the Management Fees are insufficient to
                    make any Payment in full on a Payment Date, such shortfall, in addition to any
                    other amounts due hereunder, shall be paid out of the Management Fees owed on
                    the following Payment Date, and (y) nothing herein shall limit either Debtor’s
                    liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                    Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

                    S.          Release of Issuer Claims. Effective as of the Confirmation Date, and to

  the maximum extent permitted by law, each Issuer on behalf of itself and each of its current and

  former advisors, trustees, directors, officers, managers, members, partners, employees,

  beneficiaries, shareholders, agents, participants, subsidiaries, parents, successors, designees, and

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    The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
  Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
  LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
  Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
  Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.


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  assigns hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,

  remises, and exonerates, and covenants never to sue, (i) the Debtor and (ii) the Professionals

  retained by the Debtor and the Committee in the Chapter 11 Case, the Independent Directors, the

  CEO/CRO, and with respect to the Persons listed in this subsection (ii), such Person’s Related

  Persons (collectively, the “Debtor Released Parties”), for and from any and all claims, debts,

  liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs and expenses

  (including, without limitation, attorney’s fees and related costs), damages, injuries, suits, actions,

  and causes of action of whatever kind or nature, whether known or unknown, suspected or

  unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in

  equity, statutory or otherwise, including, without limitation, any claims, defenses, and affirmative

  defenses, whether known or unknown, including, without limitation, those which were or could

  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively, the

  “Issuer Released Claims”).

                    T.          Release of Debtor Claims against Issuer Released Parties. Upon entry

  of this Order, and to the maximum extent permitted by law, the Debtor hereby forever, finally,

  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and

  covenants never to sue [(i) each Issuer and (ii) Wendy Ebanks, (iii) Yun Zheng, (iv) Laura

  Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren (viii) Scott Dakers, (ix) Samit

  Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean, (xiii) Betsy Mortel, (xiv) David

  Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii) Otelia Scott, (xviii) Martin Couch,

  (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii) Christina McLean, (xxiii) Karen Ellerbe,



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  (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef, (xxvii) Evan Charles Burtton (collectively,

  the “Issuer Released Parties”),] for and from any and all claims, debts, liabilities, demands,

  obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without

  limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of action

  of whatever kind or nature, whether known or unknown, suspected or unsuspected, matured or

  unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity, statutory or

  otherwise, including, without limitation, any claims, defenses, and affirmative defenses, whether

  known or unknown, which were or could have been asserted in, in connection with, or with respect

  to the Bankruptcy Case (collectively, the “Debtor Released Claims”); provided, however, that

  notwithstanding anything herein to the contrary, the release contained herein will apply to the

  Issuer Released Parties set forth in subsection (ii) above only with respect to Debtor Released

  Claims arising from or relating to the Issuer Executory Contracts. Notwithstanding anything in

  this Order to the contrary, the releases set forth in paragraphs S and T hereof will not apply with

  respect to the duties, rights, or obligations of the Debtor or any Issuer hereunder.

                    U.          Authorization to Consummate. The Debtor is authorized to consummate

  the Plan after the entry of this Confirmation Order subject to satisfaction or waiver of the

  conditions precedent to the Effective Date of the Plan set forth in Article VIII.A of the Plan. The

  Plan shall not become effective unless and until the conditions set forth in Article VIII.A of the

  Plan have been satisfied, or otherwise waived pursuant to Article VIII.B of the Plan.

                    V.          Professional Compensation. All requests for payment of Professional Fee

  Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date



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  must be filed no later than sixty (60) days after the Effective Date. The Bankruptcy Court shall

  determine the Allowed amounts of such Professional Fee Claims after notice and an opportunity

  for hearing in accordance with the procedures established by the Bankruptcy Code and the

  Bankruptcy Court. The Debtor shall fund the Professional Fee Reserve as provided under the Plan.

  The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amounts the Bankruptcy

  Court allows. The Debtor is authorized to pay the pre-Effective Date fees and expenses of all

  ordinary course professionals in the ordinary course of business without the need for further

  Bankruptcy Court order or approval. From and after the Effective Date, any requirement that

  Professionals comply with sections 327 through 331 and 1103 (if applicable) of the Bankruptcy

  Code in seeking retention or compensation for services rendered after such date shall terminate,

  and the Reorganized Debtor or Claimant Trustee, as applicable, may employ and pay any

  Professional or Entity employed in the ordinary course of the Debtor’s business without any further

  notice to or action, order, or approval of the Bankruptcy Court.

                    W.          Release, Exculpation, Discharge, and Injunction Provisions.        The

  following release, exculpation, discharge, and injunction provisions set forth in the Plan are

  approved and authorized in their entirety, and such provisions are effective and binding on

  all parties and Entities to the extent provided therein.

                    X.          Discharge of Claims and Termination of Interests. To the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code,

  except as otherwise expressly provided by the Plan or this Confirmation Order, all consideration

  distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,



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  discharge, and release of, all Claims and Equity Interests of any kind or nature whatsoever against

  the Debtor or any of its Assets or properties, and regardless of whether any property will have been

  distributed or retained pursuant to the Plan on account of such Claims or Equity Interests. Except

  as otherwise expressly provided by the Plan or this Confirmation Order, upon the Effective Date,

  the Debtor and its Estate will be deemed discharged and released under and to the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code

  from any and all Claims and Equity Interests of any kind or nature whatsoever, including, but not

  limited to, demands and liabilities that arose before the Confirmation Date, and all debts of the

  kind specified in section 502(g), 502(h), or 502(i) of the Bankruptcy Code.

                    Y.          Exculpation. Subject in all respects to Article XII.D of the Plan, to the

  maximum extent permitted by applicable law, no Exculpated Party will have or incur, and each

  Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment, damage,

  demand, debt, right, Cause of Action, remedy, loss, and liability forr conduct occurring on or after

  the Petition Date in
                    i connection with or arising out of (i) the filing and administration of the Chapter

  11 Case; (ii) the negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation

  of votes for, or confirmation of, the Plan; (iii) thee funding or consummation of the Plan (including

  the Plan Supplement) or any related agreements, instruments, or other documents, the solicitation

  of votes on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be

  issued pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan

  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any

  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);



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  provided, however,, the foregoing will not apply to (a
                                                      (a) any acts or omissions of an Exculpated Party

  arising out of or related to acts or omissions that constitute bad faith, fraud, gross negligence,

  criminal misconduct, or willful misconduct or (b) Strand or any Employee other than with respect

  to actions taken by such Entities from the date of appointment of the Independent Directors through

  the Effective Date. The Plan’s exculpation shall be in addition to, and not in limitation of, all other

  releases, indemnities, exculpations, any other applicable law or rules, or any other provisions of

  the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated Parties from liability.

                    Z.          Releases by the Debtor. On and after the Effective Date, each Released

  Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

  released and discharged by the Debtor and the Estate, in each case on behalf of themselves and

  their respective successors, assigns, and representatives, including, but not limited to, the Claimant

  Trust and the Litigation Sub-Trust from any and all Causes of Action, including any derivative

  claims, asserted on behalf of the Debtor, whether known or unknown, foreseen or unforeseen,

  matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise, that

  the Debtor or the Estate would have been legally entitled to assert in their own right (whether

  individually or collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor

  or other Person. Notwithstanding anything contained herein to the contrary, the foregoing release

  does not release: (i) any obligations of any party under the Plan or any document, instrument, or

  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under



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  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual

  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction.

                    AA.         Injunction.   Upon entry of this Confirmation Order, all Enjoined

  Parties are and shall be permanently enjoined, on and after the Effective Date, from taking

  any actions to interfere with the implementation or consummation of the Plan. Except as

  expressly provided in the Plan, this Confirmation Order, or a separate order of the

  Bankruptcy Court, all Enjoined Parties are and shall bee permanently enjoined, on and after

  the Effective Date, with respect to any Claims and Equity Interests, from directly or

  indirectly (i) commencing, conducting, or continuing in any manner, any suit, action, or

  other proceeding of any kind (including any proceeding in a judicial, arbitral, administrative

  or other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,

  levying, attaching (including any prejudgment attachment), collecting, or otherwise

  recovering, enforcing, or attempting to recover or enforce, by any manner or means, any

  judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)

  creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or

  encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any

  right of setoff, directly or indirectly, against any obligation due to the Debtor or against

  property or interests in property of the Debtor, except to the limited extent permitted under

  Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,



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  in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

  The injunctions set forth in the Plan and this Confirmation Order shall extend to, and apply

  to any act of the type set forth in any of clauses (i)-(v) of the immediately preceding

  paragraph against any successors of the Debtor, including, but not limited to, the

  Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective

  property and interests in property. Subject in all respects to Article XII.D of the Plan, no

  Enjoined Party may commence or pursue a claim or cause of action of any kind against any

  Protected Party that arose or arises from or is related to the Chapter 11 Case, the negotiation

  of the Plan, the administration of the Plan or property to be distributed under the Plan, the

  wind down of the business of the Debtor or Reorganized Debtor, the administration of the

  Claimant Trust or the Litigation Sub-Trust, or the transactions in furtherance of the

  foregoing without the Bankruptcy Court (i) first determining, after notice and a hearing,

  that such claim or cause of action represents a colorable claim of any kind, including, but

  not limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross

  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party to

  bring such claim or cause of action against any such Protected Party; provided, however, the

  foregoing will not apply to a claim or cause of action against Strand or against any Employee

  other than with respect to actions taken, respectively, by Strand or by such Employee from

  the date of appointment of the Independent Directors through the Effective Date. The

  Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a claim or

  cause of action is colorable and, only to the extent legally permissible and as provided for in



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  Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable claim or

  cause of action.

                    BB.         Duration of Injunction and Stays. Unless otherwise provided in the

  Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, (i) all

  injunctions and stays entered during the Chapter 11 Case and in existence on the

  Confirmation Date, shall remain in full force and effect in accordance with their terms; and

  (ii) the automatic stay arising under section 362 of the Bankruptcy Code shall remain in full

  force and effect subject to Section 362(c) of the Bankruptcy Code, and to the extent necessary

  if the Debtor does not receive a discharge, the Bankruptcy Court will enter an equivalent

  order under Section 105.

                    CC.         Continuance of January 9 Order and July 16 Order. Unless otherwise

  provided in the Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, each

  of the Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

  Bankruptcy Court on January 9, 2020 [Docket No. 339] and Order Approving the Debtor’s Motion

  Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

  as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

  Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 shall remain in full force and

  effect from the Confirmation Date and following the Effective Date.

                    DD.         No Governmental Releases. Nothing in this Confirmation Order or the

  Plan shall effect a release of any claim by the United States Government or any of its agencies or



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  any state and local authority whatsoever, including without limitation any claim arising under the

  Internal Revenue Code, the environmental laws or any criminal laws of the United States or any

  state and local authority against any party or person, nor shall anything in this Confirmation Order

  or the Plan enjoin the United States or any state or local authority from bringing any claim, suit,

  action, or other proceedings against any party or person for any liability of such persons whatever,

  including without limitation any claim, suit, or action arising under the Internal Revenue Code,

  the environmental laws or any criminal laws of the United States or any state and local authority

  against such persons, nor shall anything in this Confirmation Order or the Plan exculpate any party

  or person from any liability to the United States Government or any of its agencies or any state

  and local authority whatsoever, including any liabilities arising under the Internal Revenue Code,

  the environmental laws, or any criminal laws of the United States or any state and local authority

  against any party or person.

                    EE.         Exemption from Transfer Taxes. Pursuant to section 1146(a) of the

  Bankruptcy Code, any transfers (whether from the Debtor to the Reorganized Debtor or to any

  other Person) of property under the Plan or pursuant to: (a) the issuance, distribution, transfer, or

  exchange of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor;

  (b) the Restructuring transactions pursuant to the Plan; (c) the creation, modification,

  consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

  security interest, or the securing of additional indebtedness by such or other means; (d) the making,

  assignment, or recording of any lease or sublease; or (e) the making, delivery, or recording of any

  deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,



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  including any deeds, bills of sale, assignments, or other instrument of transfer executed in

  connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

  shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

  similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial

  Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental

  assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy Code, and upon

  entry of this Confirmation Order, the appropriate state or local governmental officials or agents

  shall forego the collection of any such tax or governmental assessment and accept for filing and

  recordation of any of the foregoing instruments or other documents without the payment of any

  such tax, recordation fee, or governmental assessment.

                    FF.         Cancellation of Notes, Certificates and Instruments. Except for the

  purpose of evidencing a right to a distribution under the Plan and except as otherwise set forth in

  the Plan or as otherwise provided in this Confirmation Order, on the Effective Date, all agreements,

  instruments, Securities and other documents evidencing any prepetition Claim or Equity Interest

  and any rights of any Holder in respect thereof shall be deemed cancelled, discharged, and of no

  force or effect. The holders of or parties to such cancelled instruments, Securities, and other

  documentation will have no rights arising from or related to such instruments, Securities, or other

  documentation or the cancellation thereof, except the rights provided for pursuant to the Plan, and

  the obligations of the Debtor thereunder or in any way related thereto will be fully released,

  terminated, extinguished and discharged, in each case without further notice to or order of the




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  Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement

  of further action, vote or other approval or authorization by any Person.

                    GG.         Documents, Mortgages, and Instruments.            Each federal, state,

  commonwealth, local, foreign, or other governmental agency is authorized to accept any and all

  documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or

  consummate the Plan, including the Restructuring transactions contemplated under the Plan, and

  this Confirmation Order.

                    HH.         Post-Confirmation Modifications.     Subject section 1127(b) of the

  Bankruptcy Code and the Plan, the Debtor and the Reorganized Debtor expressly reserve their

  rights to revoke or withdraw, or to alter, amend, or modify materially the Plan, one or more times

  after Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

  to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

  inconsistencies in the Plan or this Confirmation Order, in such manner as may be necessary to

  carry out the purposes and intent of the Plan. Any such modification or supplement shall be

  considered a modification of the Plan and shall be made in accordance with Article XII.B of the

  Plan.

                    II.         Applicable Nonbankruptcy Law. The provisions of this Confirmation

  Order, the Plan and related documents, or any amendments or modifications thereto, shall apply

  and be enforceable notwithstanding any otherwise applicable nonbankruptcy law.

                    JJ.         Governmental Approvals Not Required. This Confirmation Order shall

  constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,



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  federal, or other governmental authority with respect to the dissemination, implementation, or

  consummation of the Plan and the Disclosure Statement, any certifications, documents,

  instruments or agreements, and any amendments or modifications thereto, and any other acts

  referred to in, or contemplated by, the Plan and the Disclosure Statement.

                    KK.         Notice of Effective Date. As soon as reasonably practicable after the

  Effective Date, the Reorganized Debtor shall file notice of the Effective Date and shall serve a

  copy of the same on all Holders of Claims and Equity Interests, and all parties who have filed with

  the Bankruptcy Court requests to receive notices in accordance with Bankruptcy Rules 2002 and

  3020(c). Notwithstanding the above, no notice of Confirmation or Consummation or service of

  any kind shall be required to be mailed or made upon any Entity to whom the Debtor mailed notice

  of the Confirmation Hearing, but received such notice returned marked “undeliverable as

  addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

  unless the Debtor has been informed in writing by such Entity, or is otherwise aware, of that

  Entity’s new address. The above-referenced notices are adequate under the particular

  circumstances of this Chapter 11 Case and no other or further notice is necessary.

                    LL.         Substantial Consummation. On the Effective Date, the Plan shall be

  deemed to be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

                    MM. Waiver of Stay. For good cause shown, the stay of this Confirmation Order

  provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

  enforceable immediately upon its entry by the Bankruptcy Court.




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                    NN.         References to and Omissions of Plan Provisions. References to articles,

  sections, and provisions of the Plan are inserted for convenience of reference only and are not

  intended to be a part of or to affect the interpretation of the Plan. The failure to specifically include

  or to refer to any particular article, section, or provision of the Plan in this Confirmation Order

  shall not diminish or impair the effectiveness of such article, section, or provision, it being the

  intent of the Bankruptcy Court that the Plan be confirmed in its entirety, except as expressly

  modified herein, and incorporated herein by this reference.

                    OO.         Headings. Headings utilized herein are for convenience and reference only,

  and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                    PP.         Effect of Conflict. This Confirmation Order supersedes any Bankruptcy

  Court order issued prior to the Confirmation Date that may be inconsistent with this Confirmation

  Order.    If there is any inconsistency between the terms of the Plan and the terms of this

  Confirmation Order, the terms of this Confirmation Order govern and control. If there is any

  inconsistency between the terms of this Confirmation Order and the terms of a final, executed Plan

  Supplement Document, the terms of the final, executed Plan Supplement Document will govern

  and control.

                    QQ.         Resolution of Objection of Texas Taxing Authorities. Dallas County,

  Kaufman County, City of Allen, Allen ISD and City of Richardson (collectively, the “Tax

  Authorities”) assert that they are the holders of prepetition and administrative expense claims for

  2019, 2020 and 2021 ad valorem real and business personal property taxes. The ad valorem

  property taxes for tax year 2020 shall be paid in accordance with and to the extent required under



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  applicable nonbankruptcy law. In the event the 2020 taxes are paid after February 1, 2021, the

  Tax Authorities may assert any rights and amounts they claim are owed with respect to penalties

  and interest that have accrued through the date of payment and the Debtor and Reorganized Debtor

  reserve any all rights and defenses in connection therewith.

           a.       The Debtor/Reorganized Debtor shall pay all amounts owed to the Tax Authorities
                    for tax year 2021 in accordance with and to the extent required under applicable
                    nonbankruptcy law. The Tax Authorities shall not be required to file and serve an
                    administrative expense claim and request for payment as a condition of allowance
                    of their administrative expense claims pursuant to 11 U.S.C. Section 503(b)(1)(D).
                    With regard to year 2019 ad valorem property taxes, the Tax Authorities will
                    receive payment of their prepetition claims within 30 days of the Effective Date of
                    the Plan. The payment will include interest from the Petition Date through the
                    Effective Date and from the Effective Date through payment in full at the state
                    statutory rate pursuant to 11 U.S.C. Sections 506(b), 511, and 1129, if applicable,
                    subject to all of the Debtor’s and Reorganized Debtor’s rights and defenses in
                    connection therewith. Notwithstanding any other provision in the Plan, the Tax
                    Authorities shall (i) retain the liens that secure all prepetition and postpetition
                    amounts ultimately owed to them, if any, as well as (ii) the state law priority of
                    those liens until the claims are paid in full.

           b.       The Tax Authorities’ prepetition claims and their administrative expense claims
                    shall not be discharged until such time as the amounts owed are paid in full. In the
                    event of a default asserted by the Taxing Authorities, the Tax Authorities shall
                    provide notice Debtor or Reorganized Debtor, as applicable, and may demand cure
                    of any such asserted default. Subject to all of its rights and defenses, the Debtor or
                    Reorganized Debtor shall have fifteen (15) days from the date of the notice to cure
                    the default. If the alleged default is not cured, the Tax Authorities may exercise
                    any of their respective rights under applicable law and pursue collection of all
                    amounts owed pursuant to state law outside of the Bankruptcy Court, subject in all
                    respects to the Debtor’s and Reorganized Debtor’s applicable rights and defenses.
                    The Debtor/Reorganized Debtor shall be entitled to any notices of default required
                    under applicable nonbankruptcy law and each of the Taxing Authorities, the Debtor
                    and the Reorganized Debtor reserve any and all of their respective rights and
                    defenses in connection therewith. The Debtor’s and Reorganized Debtor’s rights
                    and defenses under Texas Law and the Bankruptcy Code with respect to this
                    provision of the Confirmation Order, including their right to dispute or object to the
                    Tax Authorities’ Claims and liens, are fully preserved.



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                    RR.         Resolution of Objections of Scott Ellington and Isaac Leventon.

  Pursuant to Bankruptcy Rule 9019(a), the Senior Employees’ Settlement is approved in all

  respects. The Debtor may, only with the consent of the Committee, elect Option B for a Senior

  Employee Claimant by written notice to such Senior Employee Claimant on or before the

  occurrence of the Effective Date. If the Debtor does not elect Option B, then Option A will govern

  the treatment of the Liquidated Bonus Claims.

           a.       Notwithstanding any language in the Plan, the Disclosure Statement, or this
                    Confirmation Order to the contrary, if Option A applies to the Liquidated Bonus
                    Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims of such
                    Senior Employee Claimant will receive the treatment described in paragraph 82(e)
                    hereof, and if the Debtor timely elects Option B with respect to the Liquidated
                    Bonus Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims
                    of such Senior Employee will receive the treatment described in paragraph 82(f)
                    hereof.

           b.       The Senior Employees’ Settlement is hereby approved, without prejudice to the
                    respective rights of Mr. Ellington and Mr. Leventon to assert all their remaining
                    Claims against the Debtor’s estate, including, but not limited to, their Class 6 PTO
                    Claims, their remaining Class 8 General Unsecured Claims, any indemnification
                    claims, and any Administrative Expense Claims that they may assert and is without
                    prejudice to the rights of any party in interest to object to any such Claims.

           c.       Pursuant to Bankruptcy Rule 3018(a), Mr. Ellington and Mr. Leventon were
                    permitted to change their votes on the Plan. Accordingly, Mr. Ellington’s votes on
                    his Ballots in Class 7 and Class 8 of the Plan were changed from a rejection of the
                    Plan to acceptance of the Plan, and Mr. Leventon’s votes on his Ballots in Class 7
                    and Class 8 of the Plan were, changed from rejections of the Plan to acceptances of
                    the Plan.

           d.       The Senior Employees’ Objection is deemed withdrawn.

                    SS.         No Release of Claims Against Senior Employee Claimants. For the

  avoidance of doubt, the Senior Employees’ Settlement, as approved herein, shall not, and shall not

  be deemed to, release any Claims or Causes of Action held by the Debtor against either Senior


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  Employee Claimant nor shall either Senior Employee Claimant be, or be deemed to be, a “Released

  Party” under the Plan.

                    TT.         Resolution of Objection of Internal Revenue Service. Notwithstanding

  any other provision or term of the Plan or Confirmation Order, the following Default Provision

  shall control as to the United States of America, Internal Revenue Service (“IRS”) and all of its

  claims, including any administrative claim (the “IRS Claim”):

           (a) Notwithstanding any other provision in the Plan, if the Debtor, the Reorganized Debtor,
           or any successor in interest fails to pay when due any payment required to be made on
           federal taxes, the IRS Claim, or other payment required to be made to the IRS under the
           terms and provisions of this Plan, the Confirmation Order, or the Internal Revenue Code
           (26 U.S.C.), or fails to timely file any required federal tax return, or if any other event of
           default as set forth in the Plan occurs, the IRS shall be entitled to give the Debtor, the
           Reorganized Debtor and/or any successor in interest and their counsel of record, by United
           States Certified Mail, written notice of the failure and/or default with demand that it be
           cured, and if the failure and/or default is not cured within 14 days of the date of said notice
           and demand, then the following shall apply to the IRS:

                        (1) The administrative collection powers and the rights of the IRS shall
                    be reinstated as they existed prior to the filing of the bankruptcy petition,
                    including, but not limited to, the assessment of taxes, the filing of a notice
                    of Federal tax lien and the powers of levy, seizure, and collection as
                    provided under the Internal Revenue Code;

                        (2) The automatic stay of 11 U.S.C. § 362 and any injunction of the
                    Plan or in the Confirmation Order shall, with regard to the IRS only, lift or
                    terminate without further notice or hearing by the Bankruptcy Court, and
                    the entire prepetition liability owed to the IRS, together with any unpaid
                    postpetition tax liabilities, may become due and payable immediately; and

                        (3) The IRS shall have the right to proceed to collect from the Debtor,
                    the Reorganized Debtor or any successor in interest any of the prepetition
                    tax liabilities and related penalties and interest through administrative or
                    judicial collection procedures available under the United States Code as if
                    no bankruptcy petition had been filed and as if no plan had been confirmed.

           (b) If the IRS declares the Debtor, the Reorganized Debtor, or any successor-in-interest to
           be in default of the Debtor’s, the Reorganized Debtor’s and/ or any successor- in-interest’s
           obligations under the Plan, then entire prepetition liability of an IRS’ Allowed Claim,
           together with any unpaid postpetition tax liabilities shall become due and payable

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           immediately upon written demand to the Debtor, Reorganized Debtor and/or any
           successor-in-interest. Failure of the IRS to declare a failure and/or default does not
           constitute a waiver by the United States or its agency the IRS of the right to declare that
           the Debtor, Reorganized Debtor, and/or any successor in interest is in default.

           (c) The IRS shall only be required to send two notices of failure and/or default, and upon
           the third event of a failure and/or default, the IRS shall be entitled to proceed as set out in
           paragraphs (1), (2), and/or (3) herein above without further notice to the Debtor, the
           Reorganized Debtor, or any successor in interest, or its counsel. The collection statute
           expiration date for all unpaid federal tax liabilities shall be extended pursuant to non-
           bankruptcy law.

           (d) The Internal Revenue Service shall not be bound by any release provisions in the Plan
           that would release any liability of the responsible persons of the Debtor, the Reorganized
           Debtor, and/or any successor in interest to the IRS. The Internal Revenue Service may
           take such actions as it deems necessary to assess any liability that may be due and owing
           by the responsible persons of the Debtor, the Reorganized Debtor and/or any successor in
           interest to the Internal Revenue Service.

           (e) Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
           or relinquishment of any rights, claims, causes of action, rights of setoff or recoupment,
           rights to appeal tax assessments, or other legal or equitable defenses that the Debtor or
           Reorganized Debtor have under non-bankruptcy law in connection with any claim, liability
           or cause of action of the United States and its agency the Internal Revenue Service.

           (f) The term “any payment required to be made on federal taxes,” as used herein above, is
           defined as: any payment or deposit required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full. The term “any required tax return,” as used herein above, is
           defined as: any tax return or report required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full.

                    UU.         IRS Proof of Claim. Notwithstanding anything in the Plan or in this

  Confirmation Order, until all required tax returns are filed with and processed by the IRS, the IRS’s

  proof of claim will not be deemed fixed for purposes of Section 502 of the Bankruptcy Code and

  may be amended in order to reflect the IRS’ assessment of the Debtor’s unpaid priority and general

  unsecured taxes, penalties and interest.




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                    VV.         CLO Holdco, Ltd. Settlement        Notwithstanding anything contained

  herein to the contrary, nothing in this Order is or is intended to supersede the rights and obligations

  of either the Debtor or CLO Holdco contained in that certain Settlement Agreement between CLO

  Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021 [Docket No. 1838-

  1] (the “CLOH Settlement Agreement”). In the event of any conflict between the terms of this

  Order and the terms of the CLOH Settlement Agreement, the terms of the CLOH Settlement

  Agreement will govern.

                    WW. Retention of Jurisdiction. The Bankruptcy Court may properly, and upon

  the Effective Date shall, to the maximum extent permitted under applicable law, retain jurisdiction

  over all matters arising out of, and related to, this Chapter 11 Case, including the matters set forth

  in Article XI of the Plan and section 1142 of the Bankruptcy Code.

                    XX.         Payment of Statutory Fees; Filing of Quarterly Reports.         All fees

  payable pursuant to 28 U.S.C. § 1930 shall be paid on or before the Effective Date. The

  Reorganized Debtor, the Claimant Trust, and the Litigation Sub-Trust shall be jointly and severally

  liable for payment of quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C.

  § 1930 through the entry of the Final Decree for the Debtor or the dismissal or conversion of the

  Chapter 11 Case. Notwithstanding anything to the contrary in the Plan, the U.S. Trustee shall not

  be required to file any proofs of claim with respect to quarterly fees payable pursuant to 28 U.S.C.

  § 1930.

                    YY.         Dissolution of the Committee. On the Effective Date, the Committee will

  dissolve, and the members of the Committee and the Committee’s Professionals will cease to have



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  any role arising from or relating to the Chapter 11 Case, except in connection with final fee

  applications of Professionals for services rendered prior to the Effective Date (including the right

  to object thereto). Notwithstanding the foregoing, any Committee member or Professional may

  serve following the Effective Date with respect to the Claimant Trust Oversight Board or Litigation

  Sub-Trust. The Professionals retained by the Committee and the members thereof will not be

  entitled to assert any fee claims for any services rendered to the Committee or expenses incurred

  in the service of the Committee after the Effective Date, except for reasonable fees for services

  rendered, and actual and necessary costs incurred, in connection with any applications for

  allowance of Professional Fees pending on the Effective Date or filed and served after the Effective

  Date pursuant to the Plan. Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or

  Committee’s Professionals to represent either of the Trustees or to be compensated or reimbursed

  per the Plan, the Claimant Trust Agreement, and/or Litigation Sub-Trust in connection with such

  representation.

                    ZZ.         Miscellaneous.   After the Effective Date, the Debtor or Reorganized

  Debtor, as applicable, shall have no obligation to file with the Bankruptcy Court or serve on any

  parties reports that the Debtor or Reorganized Debtor, as applicable, were obligated to file under

  the Bankruptcy Code or a court order, including monthly operating reports (even for those periods

  for which a monthly operating report was not filed before the Effective Date), ordinary course

  professional reports, reports to any parties otherwise required under the “first” and “second” day

  orders entered in this Chapter 11 Case (including any cash collateral financing orders entered in

  this Chapter 11 Case) and monthly or quarterly reports for Professionals; provided, however, that



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  the Debtor or Reorganized Debtor, as applicable, will comply with the U.S. Trustee’s post

  confirmation reporting requirements.

                                   ###END OF ORDER###




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                                           Exhibit A

                                Fifth Amended Plan (as Modified)




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                     )
                                       Debtor.                       )
                                                                     )

               FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                      CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

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                               Counsel for the Debtor and Debtor-in-Possession




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.




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                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
  above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
  “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
  Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
  meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
  meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
  of operations, historical financial information, projections and assets, and for a summary and
  analysis of this Plan and the treatment provided for herein. There also are other agreements and
  documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
  Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
  incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
  provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
  Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
  revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

  A.     Rules of Interpretation, Computation of Time and Governing Law

           For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
  (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
  document being in a particular form or on particular terms and conditions means that the referenced
  document, as previously amended, modified or supplemented, if applicable, shall be substantially
  in that form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
  otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
  Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
  (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
  Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
  or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set




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  forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
  herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
  Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
  Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
  States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
  period of time prescribed or allowed herein.

  B.     Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2.      “Administrative Expense Claim” means any Claim for costs and expenses
  of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
  against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
  States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
  Professional Fee Claim.

                 3.      “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4.      “Administrative Expense Claims Objection Deadline” means, with respect
  to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                   5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
  either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
  “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
  through one or more intermediaries, controls, is controlled by, or is under common control with,
  such Person. For the purposes of this definition, the term “control” (including, without limitation,
  the terms “controlled by” and “under common control with”) means the possession, directly or
  indirectly, of the power to direct or cause the direction in any respect of the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                  6.     “Allowed” means, with respect to any Claim, except as otherwise provided
  in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


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 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




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                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




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               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

               25.     “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



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 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

                31.     “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




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                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


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 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                 56.     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




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                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




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                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                  77.   “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




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                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

               82.    “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,


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 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.



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                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



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 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


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                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



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                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on


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 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.     Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


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 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




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 C.     Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                x       Classification: Class 1 consists of the Jefferies Secured Claim.

                x       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



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                    full and final payment of such Allowed Class 1 Claim is made as provided
                    herein.

             x      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       2.    Class 2 – Frontier Secured Claim

             x      Classification: Class 2 consists of the Frontier Secured Claim.

             x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Allowed
                    Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                    interest on the Frontier Claim through and including the Effective Date and
                    (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                    retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                    until full and final payment of such Allowed Class 2 Claim is made as
                    provided herein.

             x      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

             x      Classification: Class 3 consists of the Other Secured Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                    Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                    following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                    as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                    collateral securing its Allowed Other Secured Claim, plus postpetition
                    interest to the extent required under Bankruptcy Code Section 506(b), or
                    (iii) such other treatment rendering such Claim Unimpaired.

             x      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.



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       4.    Class 4 – Priority Non-Tax Claims

             x      Classification: Class 4 consists of the Priority Non-Tax Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                    Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                    Allowed Class 4 Claim.

             x      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

             x      Classification: Class 5 consists of the Retained Employee Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    Effective Date, each Allowed Class 5 Claim will be Reinstated.

             x      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

             x      Classification: Class 6 consists of the PTO Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                    Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                    Allowed Class 6 Claim.

             x      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




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                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       7.    Class 7 – Convenience Claims

             x      Classification: Class 7 consists of the Convenience Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                    Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                    Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                    Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                    the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                    or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

             x      Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

             x      Classification: Class 8 consists of the General Unsecured Claims.

             x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                    favorable treatment as to which such Holder and the Claimant Trustee shall
                    have agreed upon in writing, or (iii) the treatment provided to Allowed
                    Holders of Class 7 Convenience Claims if the Holder of such Class 8
                    General Unsecured Claim is eligible and makes a valid Convenience Class
                    Election.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any General Unsecured Claim, except with
                    respect to any General Unsecured Claim Allowed by Final Order of the
                    Bankruptcy Court.

             x      Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                    Claims are entitled to vote to accept or reject this Plan.




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       9.    Class 9 – Subordinated Claims

             x      Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On the Effective Date, Holders of Subordinated Claims shall
                    receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                    Interests or, (ii) such other less favorable treatment as to which such Holder
                    and the Claimant Trustee may agree upon in writing.


                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Subordinated Claim, except with respect to
                    any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

             x      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

             x      Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

             x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                    other less favorable treatment as to which such Holder and the Claimant
                    Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Class B/C Limited Partnership Interest
                    Claim, except with respect to any Class B/C Limited Partnership Interest
                    Claim Allowed by Final Order of the Bankruptcy Court.

             x      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.

       11.   Class 11 – Class A Limited Partnership Interests

             x      Classification:   Class 11 consists of the Class A Limited Partnership
                    Interests.



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                x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                x      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


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 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust 2

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


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  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



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 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.      Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




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         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.      Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.      Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

        5.      Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:


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            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




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            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

        6.      Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.      Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

        8.      United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer


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 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

        9.      Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.     Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




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        11.     Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.     Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

        13.     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

        14.     Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



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 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.      Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.      Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

        3.      Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


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        4.      Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

        5.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

        6.      Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,


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 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.      Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




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 E.     Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




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 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



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                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



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 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



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                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

         Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




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        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.



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 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.



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         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




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 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



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 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


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 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                     ARTICLE VIII.
                                EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

        x   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
            Reorganized Limited Partnership Agreement, and all schedules, documents,
            supplements and exhibits to this Plan shall have been Filed in form and substance
            reasonably acceptable to the Debtor and the Committee.

        x   The Confirmation Order shall have become a Final Order and shall be in form and
            substance reasonably acceptable to the Debtor and the Committee. The Confirmation
            Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
            the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
            necessary or appropriate to effectuate and consummate this Plan, including, without
            limitation, (a) entering into, implementing, effectuating, and consummating the
            contracts, instruments, releases, and other agreements or documents created in
            connection with or described in this Plan, (b) assuming the Executory Contracts and
            Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
            issuances as required under this Plan; and (d) entering into any transactions as set forth
            in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
            nonseverable and mutually dependent; (iii) the implementation of this Plan in
            accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
            Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
            or in connection with this Plan, including any deeds, bills of sale, or assignments
            executed in connection with any disposition or transfer of Assets contemplated under
            this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
            Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
            Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
            claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
            of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
            encumbrances that are specifically preserved under this Plan upon the Effective Date.

        x   All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



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            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
            all Entities party thereto and shall be in full force and effect. All conditions precedent
            to such documents and agreements shall have been satisfied or waived pursuant to the
            terms of such documents or agreements.

        x   All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this Plan,
            including, without limitation, the Reorganized Limited Partnership Agreement, the
            Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

        x   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
            that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
            Committee, the Claimant Trustee and the Litigation Trustee.

        x   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



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 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



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 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

        x   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




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             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

        x    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

        x    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
             in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
             monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
             or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
             the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


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 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.     Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



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 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.     Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.     Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




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                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

        x   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or priority
            of any Claim or Equity Interest;

        x   grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
            for any work performed after the Effective Date subject to the terms of this Plan and
            the Confirmation Order, and such payment shall not be subject to the approval of the
            Bankruptcy Court;

        x   resolve any matters related to the assumption, assignment or rejection of any Executory
            Contract or Unexpired Lease to which the Debtor is party or with respect to which the
            Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
            necessary, liquidate, any Claims arising therefrom, including, without limitation, any
            dispute regarding whether a contract or lease is or was executory or expired;

        x   make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

        x   resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
            of the foregoing;

        x   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
            Assets or Claimant Trust Assets, including any break-up compensation or expense
            reimbursement that may be requested by a purchaser thereof; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
            authority or approval from the Bankruptcy Court unless otherwise specifically required
            by this Plan or the Confirmation Order;




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       x   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
           authority or approval from the Bankruptcy Court unless otherwise specifically required
           by this Plan or the Confirmation Order;

       x   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       x   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

       x   decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

       x   enter such orders as may be necessary or appropriate to implement, effectuate, or
           consummate the provisions of this Plan, the Plan Documents, and all other contracts,
           instruments, releases, and other agreements or documents adopted in connection with
           this Plan, the Plan Documents, or the Disclosure Statement;

       x   resolve any cases, controversies, suits or disputes that may arise in connection with the
           implementation, effectiveness, consummation, interpretation, or enforcement of this
           Plan or any Entity’s obligations incurred in connection with this Plan;

       x   issue injunctions and enforce them, enter and implement other orders or take such other
           actions as may be necessary or appropriate to restrain interference by any Entity with
           implementation, effectiveness, consummation, or enforcement of this Plan, except as
           otherwise provided in this Plan;

       x   enforce the terms and conditions of this Plan and the Confirmation Order;

       x   resolve any cases, controversies, suits or disputes with respect to the release,
           exculpation, indemnification, and other provisions contained herein and enter such
           orders or take such others actions as may be necessary or appropriate to implement or
           enforce all such releases, injunctions and other provisions;

       x   enter and implement such orders or take such others actions as may be necessary or
           appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
           vacated;



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        x   resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

        x   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




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 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.     Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




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 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700


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                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



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 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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                                     Exhibit B
     Schedule of CLO Management Agreements and Related Contracts to Be Assumed




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           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



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 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


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 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                     )
                                       Debtor.                       )
                                                                     )

               FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                      CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

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                               Counsel for the Debtor and Debtor-in-Possession




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.




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                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
  above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
  “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
  Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
  meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
  meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
  of operations, historical financial information, projections and assets, and for a summary and
  analysis of this Plan and the treatment provided for herein. There also are other agreements and
  documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
  Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
  incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
  provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
  Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
  revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

  A.     Rules of Interpretation, Computation of Time and Governing Law

           For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
  (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
  document being in a particular form or on particular terms and conditions means that the referenced
  document, as previously amended, modified or supplemented, if applicable, shall be substantially
  in that form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
  otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
  Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
  (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
  Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
  or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set




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  forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
  herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
  Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
  Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
  States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
  period of time prescribed or allowed herein.

  B.     Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2.      “Administrative Expense Claim” means any Claim for costs and expenses
  of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
  against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
  States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
  Professional Fee Claim.

                 3.      “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4.      “Administrative Expense Claims Objection Deadline” means, with respect
  to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                   5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
  either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
  “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
  through one or more intermediaries, controls, is controlled by, or is under common control with,
  such Person. For the purposes of this definition, the term “control” (including, without limitation,
  the terms “controlled by” and “under common control with”) means the possession, directly or
  indirectly, of the power to direct or cause the direction in any respect of the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                  6.     “Allowed” means, with respect to any Claim, except as otherwise provided
  in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


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 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




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                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




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               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

               25.     “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



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 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

                31.     “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




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                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


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 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                 56.     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




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                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




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                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                  77.   “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




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                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

               82.    “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,


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 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.



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                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



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 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


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                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



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                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on


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 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.     Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


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 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




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 C.     Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                x       Classification: Class 1 consists of the Jefferies Secured Claim.

                x       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



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                    full and final payment of such Allowed Class 1 Claim is made as provided
                    herein.

             x      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       2.    Class 2 – Frontier Secured Claim

             x      Classification: Class 2 consists of the Frontier Secured Claim.

             x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Allowed
                    Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                    interest on the Frontier Claim through and including the Effective Date and
                    (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                    retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                    until full and final payment of such Allowed Class 2 Claim is made as
                    provided herein.

             x      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

             x      Classification: Class 3 consists of the Other Secured Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                    Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                    following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                    as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                    collateral securing its Allowed Other Secured Claim, plus postpetition
                    interest to the extent required under Bankruptcy Code Section 506(b), or
                    (iii) such other treatment rendering such Claim Unimpaired.

             x      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.



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       4.    Class 4 – Priority Non-Tax Claims

             x      Classification: Class 4 consists of the Priority Non-Tax Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                    Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                    Allowed Class 4 Claim.

             x      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

             x      Classification: Class 5 consists of the Retained Employee Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    Effective Date, each Allowed Class 5 Claim will be Reinstated.

             x      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

             x      Classification: Class 6 consists of the PTO Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                    Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                    Allowed Class 6 Claim.

             x      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




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                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       7.    Class 7 – Convenience Claims

             x      Classification: Class 7 consists of the Convenience Claims.

             x      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                    Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                    Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                    Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                    the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                    or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

             x      Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

             x      Classification: Class 8 consists of the General Unsecured Claims.

             x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                    favorable treatment as to which such Holder and the Claimant Trustee shall
                    have agreed upon in writing, or (iii) the treatment provided to Allowed
                    Holders of Class 7 Convenience Claims if the Holder of such Class 8
                    General Unsecured Claim is eligible and makes a valid Convenience Class
                    Election.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any General Unsecured Claim, except with
                    respect to any General Unsecured Claim Allowed by Final Order of the
                    Bankruptcy Court.

             x      Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                    Claims are entitled to vote to accept or reject this Plan.




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       9.    Class 9 – Subordinated Claims

             x      Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On the Effective Date, Holders of Subordinated Claims shall
                    receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                    Interests or, (ii) such other less favorable treatment as to which such Holder
                    and the Claimant Trustee may agree upon in writing.


                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Subordinated Claim, except with respect to
                    any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

             x      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

             x      Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

             x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                    other less favorable treatment as to which such Holder and the Claimant
                    Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Class B/C Limited Partnership Interest
                    Claim, except with respect to any Class B/C Limited Partnership Interest
                    Claim Allowed by Final Order of the Bankruptcy Court.

             x      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.

       11.   Class 11 – Class A Limited Partnership Interests

             x      Classification:   Class 11 consists of the Class A Limited Partnership
                    Interests.



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                x      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                x      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


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 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust 2

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


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  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



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 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.      Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




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         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.      Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.      Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

        5.      Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:


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            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




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            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

        6.      Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.      Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

        8.      United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer


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 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

        9.      Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.     Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




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        11.     Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.     Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

        13.     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

        14.     Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



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 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.      Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.      Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

        3.      Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


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        4.      Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

        5.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

        6.      Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,


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 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.      Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




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 E.     Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




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 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



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                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



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 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



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                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

         Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




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        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.



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 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.



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         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




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 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



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 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


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 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                     ARTICLE VIII.
                                EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

        x   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
            Reorganized Limited Partnership Agreement, and all schedules, documents,
            supplements and exhibits to this Plan shall have been Filed in form and substance
            reasonably acceptable to the Debtor and the Committee.

        x   The Confirmation Order shall have become a Final Order and shall be in form and
            substance reasonably acceptable to the Debtor and the Committee. The Confirmation
            Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
            the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
            necessary or appropriate to effectuate and consummate this Plan, including, without
            limitation, (a) entering into, implementing, effectuating, and consummating the
            contracts, instruments, releases, and other agreements or documents created in
            connection with or described in this Plan, (b) assuming the Executory Contracts and
            Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
            issuances as required under this Plan; and (d) entering into any transactions as set forth
            in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
            nonseverable and mutually dependent; (iii) the implementation of this Plan in
            accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
            Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
            or in connection with this Plan, including any deeds, bills of sale, or assignments
            executed in connection with any disposition or transfer of Assets contemplated under
            this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
            Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
            Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
            claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
            of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
            encumbrances that are specifically preserved under this Plan upon the Effective Date.

        x   All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



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            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
            all Entities party thereto and shall be in full force and effect. All conditions precedent
            to such documents and agreements shall have been satisfied or waived pursuant to the
            terms of such documents or agreements.

        x   All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this Plan,
            including, without limitation, the Reorganized Limited Partnership Agreement, the
            Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

        x   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
            that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
            Committee, the Claimant Trustee and the Litigation Trustee.

        x   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



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 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



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 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

        x   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




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             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

        x    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

        x    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
             in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
             monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
             or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
             the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


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 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.     Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



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 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.     Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.     Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




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                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

        x   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or priority
            of any Claim or Equity Interest;

        x   grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
            for any work performed after the Effective Date subject to the terms of this Plan and
            the Confirmation Order, and such payment shall not be subject to the approval of the
            Bankruptcy Court;

        x   resolve any matters related to the assumption, assignment or rejection of any Executory
            Contract or Unexpired Lease to which the Debtor is party or with respect to which the
            Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
            necessary, liquidate, any Claims arising therefrom, including, without limitation, any
            dispute regarding whether a contract or lease is or was executory or expired;

        x   make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

        x   resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
            of the foregoing;

        x   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
            Assets or Claimant Trust Assets, including any break-up compensation or expense
            reimbursement that may be requested by a purchaser thereof; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
            authority or approval from the Bankruptcy Court unless otherwise specifically required
            by this Plan or the Confirmation Order;




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       x   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
           authority or approval from the Bankruptcy Court unless otherwise specifically required
           by this Plan or the Confirmation Order;

       x   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       x   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

       x   decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

       x   enter such orders as may be necessary or appropriate to implement, effectuate, or
           consummate the provisions of this Plan, the Plan Documents, and all other contracts,
           instruments, releases, and other agreements or documents adopted in connection with
           this Plan, the Plan Documents, or the Disclosure Statement;

       x   resolve any cases, controversies, suits or disputes that may arise in connection with the
           implementation, effectiveness, consummation, interpretation, or enforcement of this
           Plan or any Entity’s obligations incurred in connection with this Plan;

       x   issue injunctions and enforce them, enter and implement other orders or take such other
           actions as may be necessary or appropriate to restrain interference by any Entity with
           implementation, effectiveness, consummation, or enforcement of this Plan, except as
           otherwise provided in this Plan;

       x   enforce the terms and conditions of this Plan and the Confirmation Order;

       x   resolve any cases, controversies, suits or disputes with respect to the release,
           exculpation, indemnification, and other provisions contained herein and enter such
           orders or take such others actions as may be necessary or appropriate to implement or
           enforce all such releases, injunctions and other provisions;

       x   enter and implement such orders or take such others actions as may be necessary or
           appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
           vacated;



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        x   resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

        x   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




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 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.     Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




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 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700


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                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



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 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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                                     Exhibit B
     Schedule of CLO Management Agreements and Related Contracts to Be Assumed




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           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



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 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


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 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
         Capital Management, L.P. and Brentwood CLO, Ltd.; Investors Bank & Trust Company




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                Tab “C”




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                                                              Date          Page 1 of 2
                                                                   Filed: 04/14/2021
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 16, 2021
______________________________________________________________________




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     Confirmation Order for Direct Appeal to the Fifth Circuit WKH³0RWLRQ´ ILOHGMRLQWO\E\+LJKODQG

     &DSLWDO 0DQDJHPHQW /3 +LJKODQG &DSLWDO 0DQDJHPHQW )XQG $GYLVRUV /3 1H[3RLQW

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     1H[3RLQW 6WUDWHJLF 2SSRUWXQLWLHV )XQG -DPHV 'RQGHUR *HW *RRG 7UXVW DQG 7KH 'XJDER\

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     81,7('67$7(6&28572)$33($/6)257+(),)7+&,5&8,7²3DJH
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&LUFXLWRIWKHIROORZLQJDSSHDOV FROOHFWLYHO\WKH³$SSHDOV´ RIWKH&RXUW¶VOrder (i) Confirming

the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified)

and (ii) Granting Related Relief>GRFNHWQR@ WKH³&RQILUPDWLRQ2UGHU´ 

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                   )XQG1H[3RLQW&DSLWDO,QFDQG1H[3RLQW6WUDWHJLF2SSRUWXQLWLHV)XQGRQ0DUFK

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                   DQG

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         +DYLQJ FRQVLGHUHG WKH0RWLRQ FRQFOXGLQJWKDW WKH &RXUW KDV FRUHMXULVGLFWLRQ RYHU WKH

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                       EXHIBIT 3




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Order (i) Confirming the Fifth Amended Plan of Reorganization of Highland

Capital Management, L.P. (as Modified); and (ii) Granting Related Relief WKH

³&RQILUPDWLRQ 2UGHU´  E\ ZKLFK WKH %DQNUXSWF\ &RXUW FRQILUPHG WKH Debtor’s

Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as

Modified) >GRFNHW QR @ DV IXUWKHU PRGLILHG WKH ³3ODQ´  ILOHG E\ +LJKODQG

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,QYHVWPHQW $GYLVHUV $FW RI   7KH 'HEWRU LV D PXOWLELOOLRQ GROODU JOREDO

LQYHVWPHQWDGYLVRUDQGPDQDJHURIYDULRXVIXQGVSee &RQILUPDWLRQ2UGHUDWS

$PRQJ RWKHU DVVHWV WKDW WKH 'HEWRU PDQDJHV LV PRUH WKDQ  ELOOLRQ LQYHVWHG E\

WKLUGSDUWLHVLQFROODWHUDOORDQREOLJDWLRQLQYHVWPHQWYHKLFOHV WKH³&/2V´ See id

       7KH &/2V RZQ WKH XQGHUO\LQJ DVVHWV XVXDOO\ VHFXULWLHV DQG WKH 'HEWRU

PDQDJHVWKRVHDVVHWVIRUWKH&/2VLQFOXGLQJE\PDNLQJGHFLVLRQVDVWRZKHQWR

VHOO&/2DVVHWVSXUVXDQWWRDVHULHVRISRUWIROLRPDQDJHPHQWDJUHHPHQWVEHWZHHQ

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       7KH 3ODQ ODEHOHG D ³UHRUJDQL]DWLRQ´ SODQ LV DFWXDOO\ D ZLQG GRZQ DQG

OLTXLGDWLRQ SODQ  7KH 3ODQ ELIXUFDWHV WKH (VWDWH LQWR WZR HQWLWLHV L  D FODLPDQW
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WUXVWLVFUHDWHGIRUWKHEHQHILWRIFUHGLWRUV DQGDVGLVFXVVHGEHORZSRWHQWLDOO\IRU

WKHEHQHILWRIHTXLW\LQWHUHVWKROGHUV ZKLFKWUXVWLVYHVWHGZLWKPRVWDVVHWVRIWKH

(VWDWH LQFOXGLQJ FDXVHV RI DFWLRQ see id DW SS  DQG LL  WKH 'HEWRU LV

UHRUJDQL]HGDQGUHWDLQVYDULRXVEXVLQHVVDVVHWVLQFOXGLQJLWVPDQDJHPHQWULJKWVRI

WKH &/2V  See id  7KH FODLPDQW WUXVW ZLOO RZQ WKH UHRUJDQL]HG 'HEWRU  See id

7KHUHRUJDQL]HG 'HEWRUZLOOOLTXLGDWHDQGZLQGGRZQLWVDVVHWVLQDSSUR[LPDWHO\

WZR  \HDUVSee idDWS

       7KH$SSHOODQWVKDYHVHYHUDOLQWHUHVWVGLUHFWO\LPSOLFDWHGE\WKH3ODQ)LUVW

WKH $SSHOODQWV WKHPVHOYHV DUH UHJLVWHUHG DGYLVRUV ZKR DGYLVH PDQ\ SXEOLFO\

WUDGHGIXQGVDQGRWKHULQYHVWPHQWYHKLFOHVVRPHRIZKLFKIXQGVRZQLQWHUHVWVLQ

WKH &/2V RU RWKHUZLVH KDYH WKHLU DVVHWV PDQDJHG E\ WKH 'HEWRU  $V GLVFXVVHG

EHORZ WKH 3ODQ HQMRLQV WKH $SSHOODQWV IURP DGYLVLQJ RU FDXVLQJ WKHLU FOLHQWV WR

WHUPLQDWH WKH 'HEWRU¶V &/2 0DQDJHPHQW $JUHHPHQWV RU WR RWKHUZLVH LPSHGH RU

LQWHUIHUHZLWKWKH'HEWRU¶VUHRUJDQL]DWLRQ7KH3ODQVXEMHFWVWKH$SSHOODQWVWRWKH

³JDWHNHHSHU LQMXQFWLRQ´ UHTXLULQJ WKDW WKH\ ILUVW REWDLQ DQ RUGHU IURP WKH

%DQNUXSWF\ &RXUW EHIRUH WDNLQJ YDULRXV DFWLRQV DJDLQVW WKH UHRUJDQL]HG 'HWERU

ILQGLQJWKDWDQ\FODLPRUFDXVHRIDFWLRQWKH\PD\ZLVKWRSXUVXHLV³FRORUDEOH´

LQFOXGLQJDQ\VXFKFODLPRUFDXVHRIDFWLRQWKDWDULVHVSRVWFRQILUPDWLRQ$QGDV

WKH KROGHU RI YDULRXV &ODVV  XQVHFXUHG FODLPV E\ ZD\ RI WUDQVIHU IURP WKH

'HEWRU¶VIRUPHUHPSOR\HHV RQFHWKH$SSHOODQWVKLUHGWKRVHHPSOR\HHV DQGODUJH
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    DSSUR[LPDWHO\PLOOLRQ DGPLQLVWUDWLYHFODLPVWKH3ODQREYLRXVO\LPSDFWVWKH

$SSHOODQWV¶HFRQRPLFLQWHUHVWV7RSURWHFWWKHVHOHJLWLPDWHLQWHUHVWVDQGWRDYRLG

EHLQJERXQGE\SHUPDQHQWLQMXQFWLRQVWKH$SSHOODQWVDPRQJRWKHUVREMHFWHGWR

WKH3ODQZKLFKREMHFWLRQVWKH%DQNUXSWF\&RXUWRYHUUXOHG

          &UHGLWRUVYRWHRQD&KDSWHUSODQE\FODVVSee 86& F 7R

FDUU\DFODVVDPDMRULW\RIFUHGLWRUVLQWKDWFODVVZKRYRWHPXVWYRWHIRUWKHSODQ

DQGWKH\PXVWKROGDVXSHUPDMRULW\RIWKHFODLPVLQWKDWFODVVSee id,PSRUWDQWO\

&ODVVDFODVVRIXQVHFXUHGFUHGLWRUVUHMHFWHGWKH3ODQSee &RQILUPDWLRQ2UGHU

DWS7KH3ODQGRHVQRWSD\&ODVVLQIXOORYHUWLPHEXWLQVWHDGDSURMHFWHG

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&ODVVUHMHFWHGWKH 3ODQDQGLVQRWSDLGLQIXOOWKHKROGHUVRILQWHUHVWVLQMXQLRU

FODVVHV KHUHHTXLW\LQWHUHVWV FDQQRW³UHFHLYHRUUHWDLQXQGHUWKHSODQRQDFFRXQW

RIVXFKMXQLRUFODLPRULQWHUHVWDQ\SURSHUW\´86& E  % LL 

          7KH $SSHOODQWV DUJXHG WKDW WKH 3ODQ YLRODWHG WKH $EVROXWH 3ULRULW\ 5XOH

EHFDXVH WKH 3ODQ JDYH KROGHUV RI HTXLW\ LQWHUHVWV FRQWLQJHQW LQWHUHVWV LQ WKH


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             7KH 'HEWRU FRQWHVWV ERWK WKH &ODVV  XQVHFXUHG FODLPV DQG WKH DGPLQLVWUDWLYH
FODLPV DQG PDLQWDLQVWKDWWKH$SSHOODQWV KDYHQR VWDQGLQJWRFRQWHVWWKH3ODQRU&RQILUPDWLRQ
2UGHU7KHDOORZDQFHRIWKRVHFODLPVKDVQRWEHHQGHWHUPLQHGDVRIWKLVILOLQJDQGLVXQOLNHO\WR
EH GHWHUPLQHG SULRU WR WKLV &RXUW¶V DGMXGLFDWLRQ RI WKLV 3HWLWLRQ  7KH %DQNUXSWF\ &RXUW KDV
FRQILUPHGWKH$SSHOODQWV¶VWDQGLQJWRFRQWHVWWKH3ODQDQG&RQILUPDWLRQ2UGHUSee ([KLELW³%´
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&UHGLWRUV 7UXVW WR EH SDLG RQO\ LI XQVHFXUHG FUHGLWRUV DUH ILUVW SDLG LQ IXOO  7KH

$SSHOODQWVDUJXHGWKDWWKHVHFRQWLQJHQWLQWHUHVWVZHUH³SURSHUW\´EHLQJ³UHFHLYH>G@

RUUHWDLQ>HG@´XQGHUWKH3ODQLQGLUHFWYLRODWLRQRIWKH$EVROXWH3ULRULW\5XOH7KH

%DQNUXSWF\ &RXUW UHMHFWHG WKLV DUJXPHQW UHO\LQJ RQ D EDQNUXSWF\ FRXUW RSLQLRQ

KROGLQJ WKDW WKH $EVROXWH 3ULRULW\ 5XOH LV QRW YLRODWHG ZKHQ WKH KROGHU RI WKH

FRQWLQJHQW LQWHUHVW XQGHU WKH 3ODQ GRHV QRW UHFHLYH DQ\ UHFRYHU\ XQOHVV DQG XQWLO

KLJKHU SULRULW\ FUHGLWRUV DUH SDLG LQ IXOO ILUVW  See &RQILUPDWLRQ 2UGHU DW S 

7KLV&RXUWKDVQRWDGGUHVVHGWKLVLVVXHLQDQ\SULRURSLQLRQ

      7KHRWKHULPSRUWDQWDVSHFWRIWKH3ODQIRUDSSHOODWHSXUSRVHVLVLWVYDULRXV

SURYLVLRQV H[FXOSDWLQJ YDULRXV SHUVRQV DQG LWV SHUPDQHQW LQMXQFWLRQV  7KH 3ODQ

FRQWDLQVDEURDGH[FXOSDWLRQSURYLVLRQH[FXOSDWLQJWKH'HEWRULWVSURIHVVLRQDOVLWV

JHQHUDOSDUWQHUDQGWKDWSDUWQHU¶VERDUGPHPEHUVDPRQJRWKHUVIURPDQ\FODLPV

IRUQHJOLJHQFHSee ([KLELW³$´DW3ODQSS7KLVH[FXOSDWLRQH[WHQGVQRW

RQO\WRFDVHDGPLQLVWUDWLRQPDWWHUVEXWDOVRWRRUGLQDU\EXVLQHVVPDWWHUVDQGDOVR

WR SRVWFRQILUPDWLRQ PDWWHUV UHODWHG WR WKH LPSOHPHQWDWLRQ RI WKH 3ODQ  See id

6HSDUDWHO\ WKH 3ODQ FRQWDLQV EURDG SHUPDQHQW LQMXQFWLRQV SURKLELWLQJ WKH

$SSHOODQWV IURP DPRQJ RWKHU WKLQJV ³WDNLQJ DQ\ DFWLRQV WR LQWHUIHUH ZLWK WKH

LPSOHPHQWDWLRQRUFRQVXPPDWLRQRIWKH3ODQ´See idDWS7KH3ODQFRQWDLQV

DSHUPDQHQW³JDWHNHHSHULQMXQFWLRQ´SURKLELWLQJWKH$SSHOODQWVIURPFRPPHQFLQJ

RUSXUVXLQJDQ\FODLPRUFDXVHRIDFWLRQDJDLQVWYDULRXVSURWHFWHGSHUVRQVXQOHVV
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WKH%DQNUXSWF\&RXUWILUVWGHWHUPLQHVDIWHUQRWLFHDQGDKHDULQJWKDWVXFKFODLP

RUFDXVHRIDFWLRQLV³FRORUDEOH´See idDWSS

       7KH $SSHOODQWV REMHFWHG WR WKH H[FXOSDWLRQ SURYLVLRQV RI WKH 3ODQ EHFDXVH

WKRVH SURYLVLRQV HIIHFWXDWH SURKLELWHG WKLUG UHOHDVHV i.e. FODLPV E\ D QRQGHEWRU

DJDLQVWDQRQGHEWRU LQYLRODWLRQRIWKLV&RXUW¶VSUHFHGHQWLQIn re Pacific Lumber

Co.)G WK&LU Pacific LumberSHUPLWWHGWKHH[FXOSDWLRQ

RIWKHPHPEHUVRIDFUHGLWRU¶VFRPPLWWHHIRUDFWLRQVWDNHQLQWKHEDQNUXSWF\FDVH

EXWLWSURKLELWHGWKHH[FXOSDWLRQRIRWKHUSHUVRQVRUSURIHVVLRQDOVSee idDW

+HUHWKH3ODQH[FXOSDWHVWKH'HEWRUDQGLWVSURIHVVLRQDOVDVZHOODVWKH'HEWRU¶V

JHQHUDOSDUWQHUDQGLWVERDUGPHPEHUVPHDQLQJWKDWLIWKH$SSHOODQWVKDYHFODLPV

DJDLQVWDQ\RIWKHH[FXOSDWHGSDUWLHVWKRVHFODLPVDUHMXGLFLDOO\H[WLQJXLVKHG7KH

3ODQ H[WHQGV H[FXOSDWLRQ QRW MXVW WR FDVH DGPLQLVWUDWLRQ GHFLVLRQV EXW DOVR WR

RUGLQDU\ EXVLQHVV DFWLRQV DQG GHFLVLRQV  0RVW XQSUHFHGHQWHGO\ WKH 3ODQ DOVR

H[WHQGV H[FXOSDWLRQ IRU SRVWFRQILUPDWLRQ PDWWHUV ZKHQ WKH 'HEWRU LV RXW RI

EDQNUXSWF\ DQG WKHUH LV QR PRUH (VWDWH  7KH %DQNUXSWF\ &RXUW FRQFOXGHG WKDW

Pacific Lumber GLG QRW IRUHFORVH WKHVH H[FXOSDWLRQV DQG WKDW WKLV &RXUW ZRXOG

UHYLVLWPacific LumberSee &RQILUPDWLRQ2UGHUDWSS

       :LWK UHVSHFW WR WKH JDWHNHHSHU LQMXQFWLRQ WKH $SSHOODQWV REMHFWHG WR DQ\

VXFK LQMXQFWLRQ IRU SRVWFRQILUPDWLRQ PDWWHUV EHFDXVH WKH %DQNUXSWF\ &RXUW ZLOO

KDYH QR SRVWFRQILUPDWLRQ MXULVGLFWLRQ WR GHWHUPLQH ZKHWKHU D FODLP RU FDXVH RI
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DFWLRQLV³FRORUDEOH´DQGEHFDXVHWKHLPSRVLWLRQRIDQ\JDWHNHHSHULQMXQFWLRQIRU

SRVWFRQILUPDWLRQPDWWHUVLVQRWDXWKRUL]HGE\WKH%DQNUXSWF\&RGHRUDQ\RWKHU

ODZ  7KH (VWDWH FHDVHV WR H[LVW XSRQ FRQILUPDWLRQ DQG WKH %DQNUXSWF\ &RXUW¶V

MXULVGLFWLRQ IRU SRVWFRQILUPDWLRQ PDWWHUV LV VWULFWO\ OLPLWHG  See In re Craig’s

Stores of Tex. Inc.)G WK&LU 6KRXOGWKH$SSHOODQWVZLVK

WRSXUVXHDQDFWLRQDULVLQJDIWHUFRQILUPDWLRQDQGWKH%DQNUXSWF\&RXUWILQGVWKDW

WKHFODLPLVQRW³FRORUDEOH´WKDWPHDQVWKDWDFRXUWZLWKRXWMXULVGLFWLRQZLOOKDYH

IRUHYHUGHFLGHGDQGSURKLELWHGWKHEULQLQJRIWKHFODLP:LWKUHVSHFWWRH[HUFLVLQJ

ULJKWV XQGHU WKH 0DQDJHPHQW $JUHHPHQWV DIWHU FRQILUPDWLRQ WKH $SSHOODQWV

DUJXHGWKDWRQFHWKH'HEWRUDVVXPHGWKRVHDJUHHPHQWVWKH'HEWRUPXVWFRPSO\

ZLWKDOOWHUPVRIWKHDJUHHPHQWVVXFKDVWKHDELOLW\RIWKHFRQWUDFWFRXQWHUSDUW\WR

UHPRYHWKH'HEWRUDVPDQDJHUXQGHUWKRVHDJUHHPHQWV

       7KH%DQNUXSWF\&RXUWUHMHFWHGWKHVHDUJXPHQWVILQGLQJWKDWWKH'HEWRUDQG

RWKHUV QHHGHG VSHFLDO SURWHFWLRQV IURP DOOHJHG YH[DWLRXV OLWLJDWLRQ LQ WKH IRUP RI

WKH ³JDWHNHHSHU´ LQMXQFWLRQ DQG RWKHU 3ODQ LQMXQFWLRQ SURYLVLRQV ZLWKRXW ZKLFK

WKH 'HEWRU ZRXOG QRW EH DEOH WR REWDLQ SRVWFRQILUPDWLRQ ' 2 LQVXUDQFH  See

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      7KH$GYLVRUVWLPHO\ILOHGWKHLUQRWLFHRIDSSHDORIWKH&RQILUPDWLRQ2UGHUWR

WKH 8QLWHG 6WDWHV 'LVWULFW &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI 7H[DV WKH ³'LVWULFW
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&RXUW´ ZKHUHWKHLUDSSHDOLV SHQGLQJDV&LYLO$FWLRQ1RFY1 WKH

³$SSHDO´ $WUXHDQGFRUUHFWFRS\RIWKHLU1RWLFHRI$SSHDOLVDWWDFKHGKHUHWRDV

([KLELW³&´DQGDWUXHDQGFRUUHFWFRS\RIWKHLU6WDWHPHQWRI,VVXHVRQ$SSHDOLV

DWWDFKHGKHUHWRDV([KLELW³'´

      7KH'HEWRUGLGQRWWLPHO\ILOHDFURVVDSSHDO

      7KH $SSHOODQWV UHTXHVWHG D GLVFUHWLRQDU\ VWD\ SHQGLQJ DSSHDO RI WKH

&RQILUPDWLRQ 2UGHU IURP WKH %DQNUXSWF\ &RXUW ZKLFK PRWLRQ WKH %DQNUXSWF\

&RXUWGHQLHG7KH$SSHOODQWVDUHLQWKHSURFHVVRIVHHNLQJDVWD\SHQGLQJDSSHDO

RIWKH&RQILUPDWLRQ2UGHUIURPWKH'LVWULFW&RXUW

       7RDSSULVHWKH&RXUWRIYHU\VLPLODULIQRWLGHQWLFDOLVVXHVDQGSURFHHGLQJV

WKHIROORZLQJDSSHOODQWV FROOHFWLYHO\WKH³2WKHU$SSHOODQWV´ ILOHGWKHLUVHSDUDWH

QRWLFHV RI DSSHDO WKHUHE\ LQLWLDWLQJ WKH IROORZLQJ DSSHDOV FROOHFWLYHO\ ZLWK WKH

$SSHDOWKH³$SSHDOV´ EHIRUHWKH'LVWULFW&RXUW

        L     +LJKODQG *OREDO $OORFDWLRQ )XQG +LJKODQG ,QFRPH )XQG 1H[3RLQW

               &DSLWDO,QFDQG1H[3RLQW6WUDWHJLF2SSRUWXQLWLHV)XQG&LYLO$FWLRQ

               1RFY1

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        LLL  *HW*RRG7UXVWDQG7KH'XJDER\,QYHVWPHQW7UXVW&LYLO$FWLRQ1R

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       7KH $SSHOODQWV DQG WKH 2WKHU $SSHOODQWV KDYH FRQVLGHUHG ILOLQJ D MRLQW

SHWLWLRQIRUGLUHFWUHYLHZEXWEHFDXVHWKH$SSHDOVKDYHQRWEHHQFRQVROLGDWHG\HW

DQG GXH WR WKH SURFHGXUDO XQFHUWDLQW\ RI VXFK D FRXUVH WKH $SSHOODQWV KDYH

GHWHUPLQHG LQVWHDG WR ILOH WKLV VHSDUDWH 3HWLWLRQ DQG DSSULVH WKH &RXUW RI WKHVH

LVVXHVVXFKWKDWWKH&RXUWPD\WDNHZKDWHYHUDFWLRQLWILQGVPRVWDSSURSULDWHDQG

HIILFLHQW

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      7KH LVVXHV WKDW WKH $SSHOODQWV KDYH UDLVHG RQ WKHLU $SSHDO ZKLFK PD\ RU

PD\ QRW EH WKH VDPH DV WKH LVVXHV RI WKH 2WKHU $SSHOODQWV  DUH JHQHUDOO\ WKH

IROORZLQJ

           :KHWKHUWKH%DQNUXSWF\&RXUWHUUHGDVDPDWWHURIODZLQFRQILUPLQJ

              WKH 3ODQ DQG HQWHULQJ WKH &RQILUPDWLRQ 2UGHU XQGHU WKH $EVROXWH

              3ULRULW\ 5XOH FRGLILHG E\  86&   E  % LL  EHFDXVH WKH

              3ODQ SURYLGHV WKDW WKH KROGHUV RI HTXLW\ LQWHUHVWV LQ WKH IRUP RI

              OLPLWHG SDUWQHUVKLS LQWHUHVWV LQ WKH 'HEWRU UHWDLQ RU UHFHLYH DQ\

              SURSHUW\XQGHUWKH3ODQHYHQWKRXJK&ODVVXQGHUWKH3ODQDFODVVRI

              XQVHFXUHGFUHGLWRUVQRWSDLGLQIXOOXQGHUWKH3ODQUHMHFWHGWKH3ODQ"

           :KHWKHUWKH%DQNUXSWF\&RXUWHUUHGDVDPDWWHURIODZLQFRQILUPLQJ

              WKH3ODQDQGHQWHULQJWKH&RQILUPDWLRQ2UGHUEHFDXVHWKHH[FXOSDWLRQ

              SURYLVLRQVRIWKH3ODQFRQWDLQHGLQ$UWLFOH,;RIWKH3ODQHIIHFWXDWHG
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           WKLUG SDUW\ UHOHDVHV i.e. UHOHDVLQJ D FODLP RI D QRQGHEWRU DJDLQVW D

           QRQGHEWRU  SURKLELWHG E\ WKH %DQNUXSWF\ &RXUW DQG RYHU ZKLFK WKH

           %DQNUXSWF\ &RXUW KDG QR MXULVGLFWLRQ LQ GLUHFW YLRODWLRQ RI WKLV

           &RXUW¶VSUHFHGHQW see, e.g., In re Pacific Lumber Co.)G

            WK&LU DQGLQYLRODWLRQRIGXHSURFHVVULJKWV

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           WKH3ODQDQGHQWHULQJWKH&RQILUPDWLRQ2UGHUEHFDXVHWKHSHUPDQHQW

           LQMXQFWLRQFRQWDLQHGLQ$UWLFOH,;RIWKH3ODQZKLFKSURKLELWV³WDNLQJ

           DQ\DFWLRQVWRLQWHUIHUHZLWKWKHLPSOHPHQWDWLRQRUFRQVXPPDWLRQRI

           WKH3ODQ´LVRYHUO\EURDGDQGLPSHUPLVVLEO\YDJXHDQGEHFDXVHWKH

           LQMXQFWLRQ SURKLELWV WKH $SSHOODQWV IURP DGYLVLQJ YDULRXV IXQGV WKDW

           WKH\DGYLVHDQGPDQDJHRUFDXVLQJVDLGIXQGVWRUHPRYHWKH'HEWRU

           DV &/2 SRUWIROLR PDQDJHU RYHU YDULRXV &/2V WKDW WKH 'HEWRU

           PDQDJHV SXUVXDQW WR H[HFXWRU\ FRQWUDFWV DVVXPHG E\ WKH 3ODQ HYHQ

           WKRXJKWKHDVVXPSWLRQRIDQH[HFXWRU\FRQWUDFWVXEMHFWVWKH'HEWRUWR

           DOOSURYLVLRQVRIWKHFRQWUDFWRQDJRIRUZDUGEDVLVDVDPDWWHURIODZ

        :KHWKHUWKH%DQNUXSWF\&RXUWHUUHGDVDPDWWHURIODZLQFRQILUPLQJ

           WKH 3ODQ DQG HQWHULQJ WKH &RQILUPDWLRQ 2UGHU EHFDXVH WKH

           ³JDWHNHHSHU´ LQMXQFWLRQ FRQWDLQHG LQ $UWLFOH ,; RI WKH 3ODQ ZKLFK

           UHTXLUHV OHDYH RI WKH %DQNUXSWF\ &RXUW XSRQ D VKRZLQJ RI D
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            ³FRORUDEOH´ FODLP RU FDXVH RI DFWLRQ LV QRW SHUPLWWHG E\ WKH

            %DQNUXSWF\ &RGH DQG HIIHFWLYHO\ HIIHFWXDWHV SURKLELWHG WKLUG SDUW\

            UHOHDVHV LV VRPHWKLQJ WKDW WKH %DQNUXSWF\ &RXUW ZLOO KDYH QR

            SRVWFRQILUPDWLRQMXULVGLFWLRQWRGRDQGDVVRPHWKLQJWKDWYLRODWHVGXH

            SURFHVV  6HFRQGDULO\ ZLWK UHVSHFW WR DQ\ MXVWLILFDWLRQ RI WKH

            LQMXQFWLRQ EDVHG RQ DQ DOOHJDWLRQ WKDW WKH $SSHOODQWV RU WKH 2WKHU

            $SSHOODQWVDUHYH[DWLRXVOLWLJDQWVZKHWKHUWKHUHZDVDQ\RUVXIILFLHQW

            HYLGHQFHLQWKHUHFRUGWRMXVWLI\DQ\VXFKH[WUDRUGLQDU\LQMXQFWLRQ

         :KHWKHUWKH%DQNUXSWF\&RXUWHUUHGDVDPDWWHURIODZLQFRQILUPLQJ

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            IDLOHGWRVDWLVI\WKH86& D  HOHPHQWIRUFRQILUPDWLRQ

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            RI WKH %DQNUXSWF\ &RGH ZKLFK WKH 'HEWRU DGPLWWHGO\ IDLOHG WR GR

            EHFDXVHLWXWWHUO\IDLOHGWRFRPSO\ZLWK%DQNUXSWF\5XOH

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Order Certifying Appeals of the Confirmation Order for Direct Appeal to the



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United States Court of Appeals for the Fifth Circuit WKH³&HUWLILFDWLRQ2UGHU´ D

WUXHDQGFRUUHFWFRS\RIZKLFKLVDWWDFKHGKHUHWRDV([KLELW³(´

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GLUHFWDSSHDO³EHFDXVHDGLUHFWDSSHDOPD\PDWHULDOO\DGYDQFHWKHSURJUHVVRIWKH

FDVHRUSURFHHGLQJLQZKLFKWKHDSSHDOLVWDNHQZLWKLQWKHPHDQLQJDQGRSHUDWLRQ

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       7KH$SSHOODQWVH[SHFWWKH2WKHU$SSHOODQWVWRILOHVLPLODUSHWLWLRQVIRUGLUHFW

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SHWLWLRQV WKH $SSHOODQWV H[SHFW WKDW WKH $SSHDOV ZLOO EH FRQVROLGDWHG EHIRUH WKLV

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       7KH $SSHOODQWV UHVSHFWIXOO\ SHWLWLRQ WKLV &RXUW WR JUDQW SHUPLVVLRQ IRU WKH

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       MXGJPHQWV RUGHUV RU GHFUHHV E\ WKH DSSOLFDEOH FRXUW RI DSSHDOV LQ
       FDVHVZKHUHWKHEDQNUXSWF\FRXUWRUWKHGLVWULFWFRXUWFHUWLI\WKDWWKHUH
       LVQRFRQWUROOLQJGHFLVLRQIURPWKH6XSUHPH&RXUWRUFLUFXLWFRXUWWKH
       FDVH LQYROYHV D PDWWHU RI SXEOLF LPSRUWDQFH WKHUH DUH FRQIOLFWLQJ
       SUHFHGHQWV RU DQ LPPHGLDWH DSSHDO PD\ PDWHULDOO\ DGYDQFH WKH
       SURJUHVVRIWKHEDQNUXSWF\SURFHHGLQJ

In re OCA, Inc.  )G   WK &LU   FLWLQJ  86&

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         ³7KHWZRSULPDU\JRDOVEHKLQGWKLVSURYLVLRQDUH L WRSURYLGHTXLFNHUDQG

OHVV FRVWO\ PHDQV RI UHVROYLQJ VLJQLILFDQW LVVXHV WKDW DUH LQHYLWDEO\ ERXQG IRU WKH

FRXUWRIDSSHDOVDQG LL WRIDFLOLWDWHWKHGHYHORSPHQWRIPRUHELQGLQJSUHFHGHQWV

LQ EDQNUXSWF\ ODZ´  In re Qimonda AG,  %5   ('9D  

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LPPHGLDWH DSSHDO PD\ PDWHULDOO\ DGYDQFH WKH SURJUHVV RI WKH FDVH RU WKH

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$EVROXWH3ULRULW\5XOHDQGWKLV&RXUW¶VPacific LumberSUHFHGHQW

         7KHJRYHUQLQJVWDWXWHSURYLGHVDVIROORZV

         7KH DSSURSULDWH FRXUW RI DSSHDOV VKDOO KDYH MXULVGLFWLRQ RI DSSHDOV
         GHVFULEHG LQ WKH ILUVW VHQWHQFH RI VXEVHFWLRQ D  LI WKH EDQNUXSWF\
         FRXUW WKH GLVWULFW FRXUW RU WKH EDQNUXSWF\ DSSHOODWH SDQHO LQYROYHG

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      DFWLQJRQLWVRZQPRWLRQRURQWKHUHTXHVWRIDSDUW\WRWKHMXGJPHQW
      RUGHURUGHFUHHGHVFULEHGLQVXFKILUVWVHQWHQFHRUDOOWKHDSSHOODQWV
      DQGDSSHOOHHV LIDQ\ DFWLQJMRLQWO\FHUWLI\WKDW²
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               L WKHMXGJPHQWRUGHURUGHFUHHLQYROYHVDTXHVWLRQRIODZDV
             WRZKLFKWKHUHLVQRFRQWUROOLQJGHFLVLRQRIWKHFRXUWRIDSSHDOV
             IRUWKHFLUFXLWRURIWKH6XSUHPH&RXUWRIWKH8QLWHG6WDWHVRU
             LQYROYHVDPDWWHURISXEOLFLPSRUWDQFH
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               LL  WKH MXGJPHQW RUGHU RU GHFUHH LQYROYHV D TXHVWLRQ RI ODZ
             UHTXLULQJUHVROXWLRQRIFRQIOLFWLQJGHFLVLRQVRU
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               LLL  DQ LPPHGLDWH DSSHDO IURP WKH MXGJPHQW RUGHU RU GHFUHH
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            :LWK UHVSHFW WR PDWHULDOO\ DGYDQFLQJ WKH SURJUHVV RI WKH FDVH DOO SDUWLHV

KDYHVWDWHGWKDWWKH\LQWHQGWRDSSHDODQ\UXOLQJRIWKH'LVWULFW&RXUWWKXVHQVXULQJ

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            7KLV TXHVWLRQ LV DOVR RQH RI ³SXEOLF LPSRUWDQFH´  ,I WKH $EVROXWH 3ULRULW\

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WKHUHIRUH RQH RI WKH PDLQ SURWHFWLRQV WKH %DQNUXSWF\ &RGH DIIRUGV XQVHFXUHG

FUHGLWRUVZKLOHGHEWRUVZLOODUJXHWKDWHTXLWDEOHPRRWQHVVZLOOSUHYHQWVXEVHTXHQW

DSSHOODWHUHYLHZRIFRQILUPHGDQGLPSOHPHQWHGSODQV$PRUHSURPSWUHYLHZE\

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KHUHWR WR EH VHUYHG E\ HPDLO RQ WKH IROORZLQJ SDUWLHV WKURXJK WKHLU UHVSHFWLYH
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        $SSHOOHH
            +LJKODQG&DSLWDO0DQDJHPHQW/3
                 -HIIUH\3RPHUDQW] MSRPHUDQW]#SV]MODZFRP 
                 -RKQ$0RUULV MPRUULV#SV]MODZFRP 

        2WKHU$SSHOOHHV
             -LP'RQGHUR
                  -RKQ%RQGV MRKQ#ERQGVHOOLVFRP 
                  &OD\7D\ORU FOD\WD\ORU#ERQGVHOOLVFRP 
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                 +LJKODQG,QFRPH)XQG
                   1H[3RLQW6WUDWHJLF2SSRUWXQLWLHV)XQG
                   +LJKODQG*OREDO$OORFDWLRQ)XQG
                   1H[3RLQW&DSLWDO,QF
                        $/HH+RJHZRRG,,, $/HH+RJHZRRG,,,#NOJDWHVFRP 
                   
                   *HW*RRG7UXVW
                   7KH'XJDER\,QYHVWPHQW7UXVW
                        'RXJODV'UDSHU GGUDSHU#KHOOHUGUDSHUFRP 
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                                                  V'DYRU5XNDYLQD     
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EHFDXVHLWFRQWDLQVZRUGVH[FHSWLQJWKRVHSRUWLRQVWKDWPD\EHH[FHSWHG

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7KHIROORZLQJFRQVWLWXWHVWKHUXOLQJRIWKHFRXUWDQGKDVWKHIRUFHDQGHIIHFWWKHUHLQGHVFULEHG
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6LJQHG)HEUXDU\                                        

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                             'HEWRU                                       

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                 3/$12)5(25*$1,=$7,212)+,*+/$1'&$3,7$/
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              7KH%DQNUXSWF\&RXUW KDYLQJ
              D   HQWHUHG RQ 1RYHPEHU   WKH Order (A) Approving the Adequacy of the
                    Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                    Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                    Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                    Solicitation Procedures, and (E) Approving Form and Manner of Notice>'RFNHW
                    1R@ WKH³'LVFORVXUH6WDWHPHQW2UGHU´ SXUVXDQWWRZKLFKWKH%DQNUXSWF\
                    &RXUW DSSURYHG WKH DGHTXDF\ RI WKH Disclosure Statement Relating to the Fifth
                                         
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      7KH'HEWRU¶VODVWIRXUGLJLWVRILWVWD[SD\HULGHQWLILFDWLRQQXPEHUDUH  7KHKHDGTXDUWHUVDQGVHUYLFHDGGUHVV
     IRUWKHDERYHFDSWLRQHG'HEWRULV&UHVFHQW&RXUW6XLWH'DOODV7;
     
      &DSLWDOL]HGWHUPVXVHGEXWQRWRWKHUZLVHGHILQHGKHUHLQKDYHWKHPHDQLQJVJLYHQWRWKHPLQWKH3ODQ DVGHILQHG
     EHORZ 7KHUXOHVRILQWHUSUHWDWLRQVHWIRUWKLQ$UWLFOH,RIWKH3ODQDSSO\WRWKLV&RQILUPDWLRQ2UGHU



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                    Amended Plan of Reorganization of Highland Capital Management, L.P.>'RFNHW
                    1R@ WKH³'LVFORVXUH6WDWHPHQW´ XQGHUVHFWLRQRIWKH%DQNUXSWF\&RGH
                    DQGDXWKRUL]HGVROLFLWDWLRQRIWKH'LVFORVXUH6WDWHPHQW

           E      VHW -DQXDU\   DW  SP SUHYDLOLQJ &HQWUDO 7LPH WKH ³2EMHFWLRQ
                    'HDGOLQH´  DV WKH GHDGOLQH IRU ILOLQJ REMHFWLRQV WR FRQILUPDWLRQ RI WKH Fifth
                    Amended Plan of Reorganization of Highland Capital Management, L.P. As
                    Modified >'RFNHW1R@ DVDPHQGHGVXSSOHPHQWHGRUPRGLILHGWKH³3ODQ´ 

           F      VHW-DQXDU\DWSPSUHYDLOLQJ&HQWUDO7LPHDVWKHGHDGOLQHIRUYRWLQJ
                    RQWKH3ODQ WKH³9RWLQJ'HDGOLQH´ LQDFFRUGDQFHZLWKWKH'LVFORVXUH6WDWHPHQW
                    2UGHU

           G      LQLWLDOO\VHW-DQXDU\DWDPSUHYDLOLQJ&HQWUDO7LPHDVWKHGDWHDQG
                    WLPH WR FRPPHQFH WKH KHDULQJ WR FRQVLGHU FRQILUPDWLRQ RI WKH 3ODQ SXUVXDQW WR
                    %DQNUXSWF\5XOHVDQGVHFWLRQVDQGRIWKH%DQNUXSWF\
                    &RGHDQGWKH'LVFORVXUH6WDWHPHQW2UGHUZKLFKKHDULQJZDVFRQWLQXHGWR-DQXDU\
                    DWDPSUHYDLOLQJ&HQWUDO7LPHDQGIXUWKHUFRQWLQXHGWR)HEUXDU\
                    

           H      UHYLHZHG L WKH3ODQ LL WKH'LVFORVXUH6WDWHPHQWDQG LLL Notice of (I) Entry of
                    Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                    Important Dates WKH ³&RQILUPDWLRQ +HDULQJ 1RWLFH´  WKH IRUP RI ZKLFK LV
                    DWWDFKHGDV([KLELW%WRWKH'LVFORVXUH6WDWHPHQW2UGHU

           I      UHYLHZHG L  WKH Debtor’s Notice of Filing of Plan Supplement for the Third
                    Amended Plan of Reorganization of Highland Capital Management, L.P.>'RFNHW
                    1R @ ILOHG 1RYHPEHU   LL  Debtor’s Notice of Filing of Plan
                    Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                    Management, L.P. >'RFNHW 1R @ ILOHG RQ 'HFHPEHU   LLL  WKH
                    Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P.>'RFNHW1R@ILOHGRQ
                    -DQXDU\ LY Notice of Filing Plan Supplement to the Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. (with Technical
                    Modifications)tGDWHG-DQXDU\>'RFNHW1R@DQG Y Debtor’s Notice
                    of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                    Highland of Highland Capital Management, L.P. (As Modified) RQ )HEUXDU\ 
                    >'RFNHW1R@ FROOHFWLYHO\WKHGRFXPHQWVOLVWHGLQ L WKURXJK Y RI
                    WKLVSDUDJUDSKWKH³3ODQ6XSSOHPHQWV´ 

           J      UHYLHZHG L  WKH Notice of (I) Executory Contracts and Unexpired Leases to be
                    Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                    Any, and (III) Related Procedures in Connection TherewithILOHGRQ'HFHPEHU
                     >'RFNHW 1R @ LL  WKH Second Notice of (I) Executory Contracts and

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  '2&6B6)

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                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                    Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                    TherewithILOHGRQ-DQXDU\>'RFNHW1R@ LLL WKHThird Notice of
                    (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                    Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                    Procedures in Connection TherewithILOHGRQ-DQXDU\>'RFNHW1R@
                     LY  WKH Notice of Withdrawal of Certain Executory Contracts and Unexpired
                    Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                    the Debtor Pursuant to the Fifth Amended Plan>'RFNHW1R@ Y WKHFourth
                    Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                    Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                    Released Procedures in Connection TherewithILOHGRQ-DQXDU\>'RFNHW
                    1R @ YL  WKH Notice of Hearing on Agreed Motion to (I) Assume
                    Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                    Confirmation of Plan and (II) Extend Assumption Deadline ILOHG RQ -DQXDU\ 
                    >'RFNHW1R@DQG YLL WKHFifth Notice of (I) Executory Contracts and
                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                    (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                    ILOHGRQ)HEUXDU\>'RFNHW1R@ FROOHFWLYHO\WKHGRFXPHQWVUHIHUUHG
                    WRLQ L WR YLL DUHUHIHUUHGWRDV³/LVWRI$VVXPHG&RQWUDFWV´ 

           K      UHYLHZHG L WKHDebtor’s Memorandum of Law in Support of Confirmation of the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    >'RFNHW1R@ WKH³&RQILUPDWLRQ%ULHI´  LL WKHDebtor’s Omnibus Reply to
                    Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                    Reorganization of Highland Capital Management>'RFNHW1R@DQG LLL WKH
                    Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    >'RFNHW 1R @ DQG Supplemental Certification of Patrick M. Leathem With
                    Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P.>'RFNHW1R@ILOHGRQ)HEUXDU\
                     WRJHWKHUWKH³9RWLQJ&HUWLILFDWLRQV´ 

           L      UHYLHZHG L WKHNotice of Affidavit of PublicationGDWHG'HFHPEHU>'RFNHW
                    1R@ LL WKHCertificate of ServiceGDWHG 'HFHPEHU >'RFNHW1R
                    @ LLL  WKH Supplemental Certificate of Service GDWHG 'HFHPEHU  
                    >'RFNHW 1R @ LY  WKH Second Supplemental Certificate of Service GDWHG
                    'HFHPEHU   >'RFNHW 1R @ Y  WKH Certificate of Service GDWHG
                    'HFHPEHU>'RFNHW1R@ YL WKHCertificate of ServiceGDWHG-DQXDU\
                    >'RFNHW1R@ YLL WKHCertificate of ServiceGDWHG-DQXDU\
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                    1R@ L[ WKHCertificate of ServiceGDWHG-DQXDU\>'RFNHW1R@
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                    Certificate of Service GDWHG -DQXDU\   >'RFNHW 1R @ [LL  WKH
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                    Certificates of ServiceGDWHG)HEUXDU\>'RFNHW1RDQG@DQG
                     [YL WKHCertificates of ServiceGDWHG)HEUXDU\>'RFNHW1RV
                    DQG@ FROOHFWLYHO\WKH³$IILGDYLWVRI6HUYLFHDQG3XEOLFDWLRQ´ 

           M      UHYLHZHG DOO ILOHG  SOHDGLQJV H[KLELWV VWDWHPHQWV DQG FRPPHQWV UHJDUGLQJ
                    DSSURYDORIWKH'LVFORVXUH6WDWHPHQWDQGFRQILUPDWLRQRIWKH3ODQLQFOXGLQJDOO
                    REMHFWLRQVVWDWHPHQWVDQGUHVHUYDWLRQVRIULJKWV

           N      FRQGXFWHGDKHDULQJWRFRQVLGHUFRQILUPDWLRQRI WKH3ODQZKLFKFRPPHQFHGRQ
                    )HEUXDU\DWDPSUHYDLOLQJ&HQWUDO7LPHDQGFRQFOXGHGRQ)HEUXDU\
                      DQG LVVXHG LWV RUDO UXOLQJ RQ )HEUXDU\   FROOHFWLYHO\ WKH
                    ³&RQILUPDWLRQ+HDULQJ 

           O      KHDUGWKHVWDWHPHQWVDQGDUJXPHQWVPDGHE\FRXQVHOLQUHVSHFWRIFRQILUPDWLRQRI
                    WKH3ODQDQGKDYLQJFRQVLGHUHGWKHUHFRUGRIWKLV&KDSWHU&DVHDQGWDNHQMXGLFLDO
                    QRWLFHRIDOOSDSHUVDQGSOHDGLQJVILOHGLQWKLV&KDSWHU&DVHDQG

           P      FRQVLGHUHG DOO RUDO UHSUHVHQWDWLRQV WHVWLPRQ\ GRFXPHQWV ILOLQJV DQG RWKHU
                    HYLGHQFH UHJDUGLQJ FRQILUPDWLRQ RI WKH 3ODQ LQFOXGLQJ D  DOO RI WKH H[KLELWV
                    DGPLWWHG LQWR HYLGHQFH  E  WKH VZRUQ WHVWLPRQ\ RI L  -DPHV 3 6HHU\ -U WKH
                    'HEWRU¶V&KLHI([HFXWLYH2IILFHUDQG&KLHI5HVWUXFWXULQJ2IILFHUDQGDPHPEHURI
                    WKH %RDUG RI 'LUHFWRUVRI6WUDQG$GYLVRUV ,QF ³6WUDQG´ WKH'HEWRU¶V JHQHUDO
                    SDUWQHU LL -RKQ6'XEHODPHPEHURIWKH%RDUGRI6WUDQG LLL 0DUF7DXEHUD
                    9LFH 3UHVLGHQW DW $RQ )LQDQFLDO 6HUYLFHV DQG LY  5REHUW -DVRQ 3RVW WKH &KLHI
                    &RPSOLDQFH2IILFHURI1H[3RLQW$GYLVRUV/3 FROOHFWLYHO\WKH³:LWQHVVHV´  F 
                    WKHFUHGLELOLW\RIWKH:LWQHVVHVDQG G WKH9RWLQJ&HUWLILFDWLRQV

           12:7+(5()25(DIWHUGXHGHOLEHUDWLRQWKHUHRQDQGJRRGFDXVHDSSHDULQJWKHUHIRU

  WKH%DQNUXSWF\&RXUWKHUHE\PDNHVDQGLVVXHVWKHIROORZLQJILQGLQJVRIIDFWDQGFRQFOXVLRQVRI

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  RQWKHGRFNHWLQWKLV&KDSWHU&DVHDVDSSOLFDEOH
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   H[FHSW77777ZKLFKZDVZLWKGUDZQE\WKH'HEWRU  E DOORIWKH'HEWRU¶VH[KLELWVORGJHGDW'RFNHW1R F 
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  DQG H ([KLELWVDQGRIIHUHGE\0U-DPHV'RQGHURDQGORGJHGDW'RFNHW1R


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  VHWIRUWKKHUHLQWRJHWKHUZLWKWKHILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZVHWIRUWKLQWKHUHFRUG

  GXULQJ WKH &RQILUPDWLRQ +HDULQJ FRQVWLWXWH WKH %DQNUXSWF\ &RXUW¶V ILQGLQJV RI IDFW DQG

  FRQFOXVLRQV RI ODZ SXUVXDQW WR )HGHUDO 5XOH RI &LYLO 3URFHGXUH  PDGH DSSOLFDEOH WR WKLV

  SURFHHGLQJ SXUVXDQW WR %DQNUXSWF\ 5XOHV  DQG   7R WKH H[WHQW DQ\ RI WKH IROORZLQJ

  ILQGLQJVRIIDFWFRQVWLWXWHFRQFOXVLRQVRIODZWKH\DUHDGRSWHGDVVXFK7RWKHH[WHQWWKDWDQ\RI

  WKHIROORZLQJFRQFOXVLRQVRIODZFRQVWLWXWHILQGLQJVRIIDFWWKH\DUHDGRSWHGDVVXFK

                          ,QWURGXFWLRQDQG6XPPDU\RIWKH3ODQ3ULRUWRDGGUHVVLQJWKHVSHFLILF

  UHTXLUHPHQWVXQGHUWKH%DQNUXSWF\&RGHDQG%DQNUXSWF\5XOHVZLWKUHVSHFWWRWKHFRQILUPDWLRQ

  RI WKH 3ODQ WKH %DQNUXSWF\ &RXUW EHOLHYHV LW ZRXOG EH XVHIXO WR ILUVW SURYLGH WKH IROORZLQJ

  EDFNJURXQGRIWKH'HEWRU¶V&KDSWHU&DVHWKHSDUWLHVLQYROYHGWKHUHZLWKDQGVRPHRIWKHPDMRU

  HYHQWVWKDWKDYHWUDQVSLUHGFXOPLQDWLQJLQWKHILOLQJDQGVROLFLWDWLRQRIWKH3ODQRIWKLVYHU\XQXVXDO

  FDVH  %HIRUH WKH %DQNUXSWF\ &RXUW LV WKH Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.PILOHGRQ1RYHPEHU DVPRGLILHGRQ-DQXDU\

  DQGDJDLQRQ)HEUXDU\7KHSDUWLHVKDYHUHSHDWHGO\UHIHUUHGWRWKH3ODQDVDQ³DVVHW

  PRQHWL]DWLRQSODQ´EHFDXVHLWLQYROYHVWKHRUGHUO\ZLQGGRZQRIWKH'HEWRU¶VHVWDWHLQFOXGLQJWKH

  VDOHRIDVVHWVDQGFHUWDLQRILWVIXQGVRYHUWLPHZLWKWKH5HRUJDQL]HG'HEWRUFRQWLQXLQJWRPDQDJH

  FHUWDLQ RWKHU IXQGV VXEMHFW WR WKH RYHUVLJKW RI WKH &ODLPDQW 7UXVW 2YHUVLJKW %RDUG  7KH 3ODQ

  SURYLGHVIRUD&ODLPDQW7UXVWWRDPRQJRWKHUWKLQJVPDQDJHDQGPRQHWL]HWKH&ODLPDQW7UXVW

  $VVHWVIRUWKHEHQHILWRIWKH'HEWRU¶VHFRQRPLFVWDNHKROGHUV7KH&ODLPDQW7UXVWHHLVUHVSRQVLEOH



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  IRUWKLVSURFHVVDPRQJRWKHUGXWLHVVSHFLILHGLQWKH3ODQ¶V&ODLPDQW7UXVW$JUHHPHQW7KHUHLV

  DOVR DQWLFLSDWHG WR EH D /LWLJDWLRQ 6XEWUXVW HVWDEOLVKHG IRU WKH SXUSRVH RI SXUVXLQJ FHUWDLQ

  DYRLGDQFHRURWKHUFDXVHVRIDFWLRQIRUWKHEHQHILWRIWKH'HEWRU¶VHFRQRPLFFRQVWLWXHQWV

                          &RQILUPDWLRQ 5HTXLUHPHQWV 6DWLVILHG  7KH 3ODQ LV VXSSRUWHG E\ WKH

  &RPPLWWHHDQGDOOFODLPDQWVZLWK&RQYHQLHQFH&ODLPV i.eJHQHUDOXQVHFXUHGFODLPVXQGHU

  PLOOLRQ ZKRYRWHGLQ&ODVV&ODLPDQWVZLWK&ODVV*HQHUDO8QVHFXUHG&ODLPVKRZHYHUYRWHG

  WRUHMHFWWKH3ODQEHFDXVHDOWKRXJKWKH3ODQZDVDFFHSWHGE\RIWKHDPRXQWRI&ODLPVLQ

  WKDWFODVVRQO\FODLPDQWVYRWHGWRDFFHSWWKH3ODQZKLOHFODLPDQWVYRWHGWRUHMHFWWKH3ODQ

  $VDUHVXOWRIVXFKYRWHVDQGEHFDXVH0U'RQGHURDQGWKH'RQGHUR5HODWHG(QWLWLHV DVGHILQHG

  EHORZ  REMHFWHG WR WKH 3ODQ RQ D YDULHW\ RI JURXQGV SULPDULO\ UHODWLQJ WR WKH 3ODQ¶V UHOHDVH

  H[FXOSDWLRQDQGLQMXQFWLRQSURYLVLRQVWKH%DQNUXSWF\&RXUWKHDUGWZRIXOOGD\VRIHYLGHQFHRQ

  )HEUXDU\DQGDQGFRQVLGHUHGWHVWLPRQ\IURPILYHZLWQHVVHVDQGWKRXVDQGVRISDJHVRI

  GRFXPHQWDU\ HYLGHQFH LQ GHWHUPLQLQJ ZKHWKHU WKH 3ODQ VDWLVILHV WKH FRQILUPDWLRQ VWDQGDUGV

  UHTXLUHGXQGHUWKH%DQNUXSWF\&RGH7KH%DQNUXSWF\&RXUWILQGVDQGFRQFOXGHVWKDWWKH3ODQ

  PHHWV DOO RI WKH UHOHYDQW UHTXLUHPHQWV RI VHFWLRQV   DQG  DQG RWKHU DSSOLFDEOH

  SURYLVLRQV RI WKH %DQNUXSWF\ &RGH DV PRUH IXOO\ VHW IRUWK EHORZ ZLWK UHVSHFW WR HDFK RI WKH

  DSSOLFDEOHFRQILUPDWLRQUHTXLUHPHQWV

                          1RW <RXU *DUGHQ 9DULHW\ 'HEWRU  7KH 'HEWRU¶V FDVH LV QRW D JDUGHQ

  YDULHW\FKDSWHUFDVH7KH'HEWRULVDPXOWLELOOLRQGROODUJOREDOLQYHVWPHQWDGYLVHUUHJLVWHUHG

  ZLWKWKH6(&SXUVXDQWWRWKH,QYHVWPHQW$GYLVHUV$FWRI,WZDVIRXQGHGLQE\-DPHV

  'RQGHUR DQG 0DUN 2NDGD  0DUN 2NDGD UHVLJQHG IURP KLV UROH ZLWK +LJKODQG SULRU WR WKH



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  EDQNUXSWF\FDVHEHLQJILOHGRQ2FWREHU WKH³3HWLWLRQ'DWH´ 0U'RQGHURFRQWUROOHG

  WKH'HEWRUDVRIWKH3HWLWLRQ'DWHEXWDJUHHGWRUHOLQTXLVKFRQWURORILWRQRUDERXW-DQXDU\

  SXUVXDQWWRDQDJUHHPHQWUHDFKHGZLWKWKH&RPPLWWHHDVGHVFULEHGEHORZ$OWKRXJK0U'RQGHUR

  UHPDLQHG ZLWK WKH 'HEWRU DV DQ XQSDLG HPSOR\HHSRUWIROLR PDQDJHU DIWHU -DQXDU\   KLV

  HPSOR\PHQWZLWKWKH'HEWRUWHUPLQDWHGRQ2FWREHU0U'RQGHURFRQWLQXHVWRZRUNIRU

  DQGRUFRQWUROQXPHURXVQRQGHEWRUHQWLWLHVLQWKHFRPSOH[+LJKODQGHQWHUSULVH

                          7KH 'HEWRU  7KH 'HEWRU LV KHDGTXDUWHUHG LQ 'DOODV 7H[DV  $V RI WKH

  3HWLWLRQ'DWHWKH'HEWRUHPSOR\HGDSSUR[LPDWHO\HPSOR\HHV7KH'HEWRULVSULYDWHO\RZQHG

      D E\WKH+XQWHU0RXQWDLQ,QYHVWPHQW7UXVW E E\7KH'XJDER\,QYHVWPHQW

  7UXVWDWUXVWFUHDWHGWRPDQDJHWKHDVVHWVRI0U'RQGHURDQGKLVIDPLO\ F E\0DUN

  2NDGD SHUVRQDOO\ DQG WKURXJK IDPLO\ WUXVWV DQG G   E\ 6WUDQG WKH 'HEWRU¶V JHQHUDO

  SDUWQHU

                          7KH+LJKODQG(QWHUSULVH3XUVXDQWWRYDULRXVFRQWUDFWXDODUUDQJHPHQWV

  WKH'HEWRUSURYLGHVPRQH\PDQDJHPHQWDQGDGYLVRU\VHUYLFHVIRUELOOLRQVRIGROODUVRIDVVHWV

  LQFOXGLQJFROODWHUDOL]HGORDQREOLJDWLRQYHKLFOHV ³&/2V´ DQGRWKHULQYHVWPHQWV6RPHRIWKHVH

  DVVHWVDUHPDQDJHGE\WKH'HEWRUSXUVXDQWWRVKDUHGVHUYLFHVDJUHHPHQWVZLWKFHUWDLQDIILOLDWHG

  HQWLWLHVLQFOXGLQJRWKHUDIILOLDWHGUHJLVWHUHGLQYHVWPHQWDGYLVRUV,QIDFWWKHUHDUHDSSUR[LPDWHO\

  HQWLWLHVLQWKHE\]DQWLQHFRPSOH[RIHQWLWLHVXQGHUWKH+LJKODQGXPEUHOOD1RQHRIWKHVH

  DIILOLDWHG HQWLWLHV ILOHG IRU FKDSWHU  SURWHFWLRQ  0RVW EXW QRW DOO RI WKHVH HQWLWLHV DUH QRW

  VXEVLGLDULHV GLUHFW RU LQGLUHFW  RI WKH 'HEWRU  0DQ\ RI WKH 'HEWRU¶V DIILOLDWHG FRPSDQLHV DUH




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  RIIVKRUH HQWLWLHV RUJDQL]HG LQ MXULVGLFWLRQV VXFK DV WKH &D\PDQ ,VODQGV DQG *XHUQVH\ See

  'LVFORVXUH6WDWHPHQWDW

                          'HEWRU¶V2SHUDWLRQDO+LVWRU\7KH'HEWRU¶VSULPDU\PHDQVRIJHQHUDWLQJ

  UHYHQXH KDV KLVWRULFDOO\ EHHQ IURP IHHV FROOHFWHG IRU WKH PDQDJHPHQW DQG DGYLVRU\ VHUYLFHV

  SURYLGHGWRIXQGVWKDWLWPDQDJHVSOXVIHHVJHQHUDWHGIRUVHUYLFHVSURYLGHGWRLWVDIILOLDWHV)RU

  DGGLWLRQDO OLTXLGLW\ WKH 'HEWRU SULRU WR WKH 3HWLWLRQ 'DWH ZRXOG VHOO OLTXLG VHFXULWLHV LQ WKH

  RUGLQDU\FRXUVHSULPDULO\WKURXJKDEURNHUDJHDFFRXQWDW-HIIHULHV//&7KH'HEWRUZRXOGDOVR

  IURPWLPHWRWLPHVHOODVVHWVDWQRQ'HEWRUVXEVLGLDULHVDQGFDXVHWKRVHSURFHHGVWREHGLVWULEXWHG

  WRWKH'HEWRULQWKHRUGLQDU\FRXUVHRIEXVLQHVV7KH'HEWRU¶VFXUUHQW&KLHI([HFXWLYH2IILFHU

  -DPHV36HHU\-UFUHGLEO\WHVWLILHGDWWKH&RQILUPDWLRQ+HDULQJWKDWWKH'HEWRUZDV³UXQDWD

  GHILFLW IRU DORQJWLPHDQGWKHQZRXOG VHOODVVHWVRU GHIHU HPSOR\HHFRPSHQVDWLRQWRFRYHU LWV

  GHILFLWV´  7KH %DQNUXSWF\ &RXUW FDQQRW KHOS EXW ZRQGHU LI WKDW ZDV QHFHVVLWDWHG EHFDXVH RI

  HQRUPRXVOLWLJDWLRQIHHVDQGH[SHQVHVLQFXUUHGE\WKH'HEWRUGXHWRLWVFXOWXUHRIOLWLJDWLRQ²DV

  IXUWKHUDGGUHVVHGEHORZ

                          1RW<RXU*DUGHQ9DULHW\&UHGLWRU¶V&RPPLWWHH7KH'HEWRUDQGWKLV

  FKDSWHUFDVHDUHQRWJDUGHQYDULHW\IRUVRPDQ\UHDVRQV2QHRIWKHPRVWREYLRXVVWDQGRXWVLQ

  WKLVFDVHLVWKHFUHGLWRUFRQVWLWXHQF\7KH'HEWRUGLGQRWILOHIRUEDQNUXSWF\EHFDXVHRIDQ\RIWKH

  W\SLFDOUHDVRQVWKDWODUJHFRPSDQLHVILOHFKDSWHU)RUH[DPSOHWKH'HEWRUGLGQRWKDYHDODUJH

  DVVHWEDVHGVHFXUHGOHQGHUZLWKZKRPLWZDVLQGHIDXOWLWRQO\KDGUHODWLYHO\LQVLJQLILFDQWVHFXUHG

  LQGHEWHGQHVV RZLQJ WR -HIIULHV ZLWK ZKRP LW KDG D EURNHUDJH DFFRXQW DQG RQH RWKHU HQWLW\

  )URQWLHU6WDWH%DQN7KH'HEWRUDOVRGLGQRWKDYHSUREOHPVZLWKLWVWUDGHYHQGRUVRUODQGORUGV



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  7KH'HEWRUDOVRGLGQRWVXIIHUDQ\W\SHRIFDWDVWURSKLFEXVLQHVVFDODPLW\,QIDFWWKH'HEWRUILOHG

  IRU&KDSWHUSURWHFWLRQVL[PRQWKVEHIRUHWKHRQVHWRIWKH&29,'SDQGHPLF5DWKHUWKH

  'HEWRUILOHGIRU&KDSWHUSURWHFWLRQGXHWRDP\ULDGRIPDVVLYHXQUHODWHGEXVLQHVVOLWLJDWLRQ

  FODLPV WKDW LW IDFHG²PDQ\ RI ZKLFK KDG ILQDOO\ EHFRPH OLTXLGDWHG RU ZHUH DERXW WR EHFRPH

  OLTXLGDWHG DIWHUDGHFDGHRUPRUHRIFRQWHQWLRXVOLWLJDWLRQLQPXOWLSOHIRUXPVDOORYHUWKHZRUOG

  7KH &RPPLWWHH LQ WKLV FDVH KDV UHIHUUHG WR WKH 'HEWRU²XQGHU LWV IRUPHU FKLHI H[HFXWLYH 0U

  'RQGHUR²DVD³VHULDOOLWLJDWRU´7KH%DQNUXSWF\&RXUWDJUHHVZLWKWKDWGHVFULSWLRQ%\ZD\RI

  H[DPSOHWKHPHPEHUVRIWKH&RPPLWWHH DQGWKHLUKLVWRU\RIOLWLJDWLRQZLWKWKH'HEWRUDQGRWKHUV

  LQWKH+LJKODQGFRPSOH[ DUHDVIROORZV

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                    &RPPLWWHH´ 7KLV&RPPLWWHHPHPEHUREWDLQHGDQDUELWUDWLRQDZDUGDJDLQVWWKH
                    'HEWRU LQ WKH DPRXQW RI  LQFOXVLYH RI LQWHUHVW DSSUR[LPDWHO\ ILYH
                    PRQWKV EHIRUH WKH 3HWLWLRQ 'DWH IURP D SDQHO RI WKH $PHULFDQ $UELWUDWLRQ
                    $VVRFLDWLRQ,WZDVRQWKHYHUJHRIKDYLQJWKDWDZDUGFRQILUPHGE\WKH'HODZDUH
                    &KDQFHU\&RXUWLPPHGLDWHO\SULRUWRWKH3HWLWLRQ'DWHDIWHU\HDUVRIGLVSXWHVWKDW
                    VWDUWHGLQODWH DQGLQFOXGHGOHJDOSURFHHGLQJVLQ%HUPXGD 7KLVFUHGLWRU¶V
                    FODLP ZDV VHWWOHG GXULQJ WKLV &KDSWHU  &DVH LQ WKH DPRXQW RI DSSUR[LPDWHO\
                     VXEMHFW WR RWKHU DGMXVWPHQWV DQG GHWDLOV QRW UHOHYDQW IRU WKLV
                    SXUSRVH 

           E      $FLV &DSLWDO 0DQDJHPHQW /3 DQG $FLV &DSLWDO 0DQDJHPHQW *3 //&
                     ³$FLV´ $FLVZDVIRUPHUO\LQWKH+LJKODQGFRPSOH[RIFRPSDQLHVEXWZDVQRW
                    DIILOLDWHGZLWK+LJKODQGDVRIWKH3HWLWLRQ'DWH7KLV&RPPLWWHHPHPEHUDQGLWV
                    QRZRZQHU-RVKXD7HUU\ZHUHLQYROYHGLQOLWLJDWLRQZLWKWKH'HEWRUGDWLQJEDFN
                    WR   $FLV ZDV IRUFHG E\ 0U 7HUU\ ZKR ZDV D IRUPHU +LJKODQG SRUWIROLR
                    PDQDJHU LQWRDQLQYROXQWDU\FKDSWHUEDQNUXSWF\LQWKH%DQNUXSWF\&RXUWIRU
                    WKH 1RUWKHUQ 'LVWULFW RI 7H[DV 'DOODV 'LYLVLRQ EHIRUH WKH %DQNUXSWF\ &RXUW LQ
                    DIWHU0U7HUU\REWDLQHGDQDSSUR[LPDWHO\PLOOLRQDUELWUDWLRQDZDUGDQG
                    MXGJPHQWDJDLQVW$FLV0U7HUU\XOWLPDWHO\ZDVDZDUGHGWKHHTXLW\RZQHUVKLSRI
                    $FLV E\ WKH %DQNUXSWF\ &RXUW LQ WKH $FLV EDQNUXSWF\ FDVH  $FLV VXEVHTXHQWO\
                    DVVHUWHGDPXOWLPLOOLRQGROODUFODLPDJDLQVW+LJKODQGLQWKH%DQNUXSWF\&RXUWIRU
                    +LJKODQG¶VDOOHJHGGHQXGLQJRI$FLVWRGHIUDXGLWVFUHGLWRUV²SULPDULO\0U7HUU\
                    7KH OLWLJDWLRQ LQYROYLQJ $FLV DQG 0U 7HUU\ GDWHV EDFN WR PLG DQG KDV


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                    FRQWLQXHG RQ ZLWK QXPHURXV DSSHDOV RI %DQNUXSWF\ &RXUW RUGHUV LQFOXGLQJ RQH
                    DSSHDOVWLOOSHQGLQJDWWKH)LIWK&LUFXLW&RXUWRI$SSHDOV7KHUHZDVDOVROLWLJDWLRQ
                    LQYROYLQJ0U7HUU\DQG$FLVLQWKH5R\DO&RXUWRIWKH,VODQGRI*XHUQVH\DQGLQ
                    DVWDWHFRXUWLQ1HZ<RUN7KH$FLVFODLPZDVVHWWOHGGXULQJWKLV&KDSWHU&DVH
                    LQ%DQNUXSWF\&RXUWRUGHUHGPHGLDWLRQIRUDSSUR[LPDWHO\PLOOLRQ VXEMHFWWR
                    RWKHUGHWDLOVQRWUHOHYDQWIRUWKLVSXUSRVH DQGLVWKHVXEMHFWRIDQDSSHDOEHLQJ
                    SXUVXHGE\0U'RQGHUR

           F      8%6 6HFXULWLHV //& DQG 8%6 $* /RQGRQ %UDQFK ³8%6´   8%6 LV D
                    &RPPLWWHHPHPEHUWKDWILOHGDSURRIRIFODLPLQWKHDPRXQWRI
                    LQ WKLV &KDSWHU  &DVH  7KH 8%6 &ODLP ZDV EDVHG RQ D MXGJPHQW WKDW 8%6
                    UHFHLYHGIURPD1HZ<RUNVWDWHFRXUWLQ7KHXQGHUO\LQJGHFLVLRQZDVLVVXHG
                    LQ 1RYHPEHU  DIWHU D PXOWLZHHN EHQFK WULDO ZKLFK KDG RFFXUUHG PDQ\
                    PRQWKV HDUOLHU  RQ D EUHDFK RI FRQWUDFW FODLP DJDLQVW QRQ'HEWRU HQWLWLHV LQ WKH
                    +LJKODQGFRPSOH[7KH8%6OLWLJDWLRQUHODWHGWRDFWLYLWLHVWKDWRFFXUUHGLQ
                    DQG7KHOLWLJDWLRQLQYROYLQJ8%6DQG+LJKODQGDQGDIILOLDWHVZDVSHQGLQJ
                    IRUPRUHWKDQDGHFDGH WKHUHKDYLQJEHHQQXPHURXVLQWHUORFXWRU\DSSHDOVGXULQJ
                    LWVKLVWRU\ 7KH'HEWRUDQG8%6UHFHQWO\DQQRXQFHGDQDJUHHPHQWLQSULQFLSOHIRU
                    DVHWWOHPHQWRIWKH8%6FODLP ZKLFKFDPHDIHZPRQWKVDIWHU%DQNUXSWF\&RXUW
                    RUGHUHG PHGLDWLRQ  ZKLFK ZLOO EH VXEMHFW WR D  PRWLRQ WR EH ILOHG ZLWK WKH
                    %DQNUXSWF\&RXUWRQDIXWXUHGDWH

           G      0HWD('LVFRYHU\ ³0HWD(´ 0HWD(LVD&RPPLWWHHPHPEHUWKDWLVDYHQGRU
                    ZKRKDSSHQHGWRVXSSO\OLWLJDWLRQDQGGLVFRYHU\UHODWHGVHUYLFHVWRWKH'HEWRURYHU
                    WKH\HDUV,WKDGXQSDLGLQYRLFHVRQWKH3HWLWLRQ'DWHRIPRUHWKDQ

  ,WLVIDLUWRVD\WKDWWKHPHPEHUVRIWKH&RPPLWWHHLQWKLVFDVHDOOKDYHZLOOVRIVWHHO7KH\IRXJKW

  KDUGEHIRUHDQGGXULQJWKLV&KDSWHU&DVH7KHPHPEHUVRIWKH&RPPLWWHHDOORIZKRPKDYH

  YROXQWHHUHG WR VHUYH RQ WKH &ODLPDQW 7UXVW 2YHUVLJKW %RDUG SRVWFRQILUPDWLRQ DUH KLJKO\

  VRSKLVWLFDWHG DQG KDYH KDG KLJKO\ VRSKLVWLFDWHG SURIHVVLRQDOV UHSUHVHQWLQJ WKHP  7KH\ KDYH

  UHSUHVHQWHGWKHLUFRQVWLWXHQF\LQWKLVFDVHDVILGXFLDULHVH[WUHPHO\ZHOO

                          2WKHU.H\&UHGLWRU&RQVWLWXHQWV,QDGGLWLRQWRWKH&RPPLWWHHPHPEHUV

  ZKRZHUHDOOHPEURLOHGLQ\HDUVRIOLWLJDWLRQZLWK'HEWRUDQGLWVDIILOLDWHVLQYDULRXVZD\VWKH

  'HEWRUKDVEHHQLQOLWLJDWLRQZLWK3DWULFN'DXJKHUW\DIRUPHUOLPLWHGSDUWQHUDQGHPSOR\HHRIWKH

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  SURRI RI FODLP LQ WKLV &KDSWHU  &DVH IRU  UHODWLQJ WR DOOHJHG EUHDFKHV RI

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  WKH'HEWRU7KH'HEWRUDQG0U'DXJKHUW\UHFHQWO\DQQRXQFHGDVHWWOHPHQWRI0U'DXJKHUW\¶V

  FODLPSXUVXDQWWRZKLFKKHZLOOUHFHLYHLQFDVKRQWKH(IIHFWLYH'DWHRIWKH3ODQDQ

  PLOOLRQJHQHUDOXQVHFXUHGFODLPDQGDPLOOLRQVXERUGLQDWHGFODLP VXEMHFWWRRWKHU

  GHWDLOVQRWUHOHYDQWIRUWKLVSXUSRVH $GGLWLRQDOO\HQWLWLHVFROOHFWLYHO\NQRZQDV³+DUERXU9HVW´

  LQYHVWHGPRUHWKDQPLOOLRQZLWKDQHQWLW\LQWKH+LJKODQGFRPSOH[DQGDVVHUWHGDPLOOLRQ

  SURRI RI FODLP DJDLQVW WKH 'HEWRU LQ WKLV FDVH DOOHJLQJ DPRQJ RWKHU WKLQJV IUDXG DQG 5,&2

  YLRODWLRQV+DUERXU9HVW¶VFODLPZDVVHWWOHGGXULQJWKHEDQNUXSWF\FDVHIRUDPLOOLRQJHQHUDO

  XQVHFXUHGFODLPDQGDPLOOLRQVXERUGLQDWHGFODLPDQGWKDWVHWWOHPHQWLVDOVREHLQJDSSHDOHG

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  RWKHU&ODLPVLQWKLV&KDSWHU&DVHDUH&ODLPVDVVHUWHGDJDLQVWWKH'HEWRUE\ D HQWLWLHVLQWKH

  +LJKODQGFRPSOH[²PRVWRIZKLFKHQWLWLHVWKH%DQNUXSWF\&RXUWILQGVWREHFRQWUROOHGE\0U

  'RQGHUR E HPSOR\HHVZKRFRQWHQGWKDWDUHHQWLWOHGWRODUJHERQXVHVRURWKHUW\SHVRIGHIHUUHG

  FRPSHQVDWLRQDQG F QXPHURXVODZILUPVWKDWZRUNHGIRUWKH'HEWRUSULRUWRWKH3HWLWLRQ'DWH

  DQGKDGRXWVWDQGLQJDPRXQWVGXHIRUWKHLUSUHSHWLWLRQVHUYLFHV

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  6WUXFWXUH<HWDQRWKHUUHDVRQWKLVLVQRW\RXUJDUGHQYDULHW\FKDSWHUFDVHLVLWVSRVWSHWLWLRQ

  FRUSRUDWHJRYHUQDQFHVWUXFWXUH,PPHGLDWHO\IURPLWVDSSRLQWPHQWWKH&RPPLWWHH¶VUHODWLRQVKLS

  ZLWKWKH'HEWRUZDVFRQWHQWLRXVDWEHVW)LUVWWKH&RPPLWWHHPRYHGIRUDFKDQJHRIYHQXHIURP



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  'HODZDUHWR'DOODV6HFRQGWKH&RPPLWWHH DQGODWHUWKH8QLWHG6WDWHV7UXVWHH H[SUHVVHGLWV

  WKHQGHVLUHIRUWKHDSSRLQWPHQWRIDFKDSWHUWUXVWHHGXHWRLWVFRQFHUQVRYHUDQGGLVWUXVWRI0U

  'RQGHUR KLV QXPHURXV FRQIOLFWV RI LQWHUHVW DQG KLV KLVWRU\ RI DOOHJHG PLVPDQDJHPHQW DQG

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  VSHQGLQJPDQ\ZHHNVXQGHUWKHWKUHDWRIWKHSRWHQWLDODSSRLQWPHQWRIDWUXVWHHWKH'HEWRUDQG

  &RPPLWWHHHQJDJHGLQVXEVWDQWLDODQGOHQJWK\QHJRWLDWLRQVUHVXOWLQJLQDFRUSRUDWHJRYHUQDQFH

  VHWWOHPHQWDSSURYHGE\WKH%DQNUXSWF\&RXUWRQ-DQXDU\ $VDUHVXOWRIWKLVVHWWOHPHQW

  DPRQJRWKHUWKLQJV0U'RQGHURUHOLQTXLVKHGFRQWURORIWKH'HEWRUDQGUHVLJQHGKLVSRVLWLRQVDV

  DQRIILFHURUGLUHFWRURIWKH'HEWRUDQGLWVJHQHUDOSDUWQHU6WUDQG$VQRWHGDERYH0U'RQGHUR

  DJUHHGWRWKLVVHWWOHPHQWSXUVXDQWDVWLSXODWLRQKHH[HFXWHG DQGKHDOVRDJUHHGQRWWRFDXVHDQ\

  5HODWHG(QWLW\ DVGHILQHGLQWKH6HWWOHPHQW0RWLRQ WRWHUPLQDWHDQ\DJUHHPHQWVZLWKWKH'HEWRU

  7KH-DQXDU\2UGHUDOVR D UHTXLUHGWKDWWKH%DQNUXSWF\&RXUWVHUYHDV³JDWHNHHSHU´SULRUWRWKH

  FRPPHQFHPHQW RI DQ\ OLWLJDWLRQ DJDLQVW WKH WKUHH LQGHSHQGHQW ERDUG PHPEHUV DSSRLQWHG WR

  RYHUVHH DQG OHDG WKH 'HEWRU¶V UHVWUXFWXULQJ LQ OLHX RI 0U 'RQGHUR DQG E  SURYLGHG IRU WKH

  H[FXOSDWLRQRIWKRVHERDUGPHPEHUVE\OLPLWLQJFODLPVVXEMHFWWRWKH³JDWHNHHSHU´SURYLVLRQWR

  WKRVHDOOHJLQJZLOOIXOPLVFRQGXFWDQGJURVVQHJOLJHQFH



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    7KLV RUGHU LV KHUHLQDIWHUUHIHUUHG WR DV WKH ³-DQXDU\  2UGHU´ DQG ZDV HQWHUHG E\ WKH &RXUW RQ -DQXDU\
  >'RFNHW1R@SXUVXDQWWRWKHMotion of the Debtor to Approve Settlement with Official Committee of Unsecured
  Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course >'RFNHW
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    See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
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                         $SSRLQWPHQW RI ,QGHSHQGHQW 'LUHFWRUV  $V SDUW RI WKH %DQNUXSWF\

  &RXUWDSSURYHGVHWWOHPHQWWKUHHHPLQHQWO\TXDOLILHGLQGHSHQGHQWGLUHFWRUVZHUHFKRVHQWROHDG

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  E\ WKH &RPPLWWHH  DQG 5HWLUHG %DQNUXSWF\-XGJH5XVVHOO1HOPV7KHVHWKUHHLQGLYLGXDOV DUH

  HDFK WHFKQLFDOO\ LQGHSHQGHQW GLUHFWRUV RI 6WUDQG 0U 'RQGHUR KDG SUHYLRXVO\ EHHQ WKH VROH

  GLUHFWRU RI 6WUDQG DQG WKXV WKH VROH SHUVRQ LQ XOWLPDWH FRQWURO RI WKH 'HEWRU   7KH WKUHH

  LQGHSHQGHQWERDUGPHPEHUV¶UHVXPHVDUHLQHYLGHQFH7KH%DQNUXSWF\&RXUWODWHUDSSURYHG0U

  6HHU\¶VDSSRLQWPHQWDVWKH'HEWRU¶V&KLHI ([HFXWLYH2IILFHU&KLHI5HVWUXFWXULQJ2IILFHUDQG

  )RUHLJQ 5HSUHVHQWDWLYH  6XIILFH LW WR VD\ WKDW WKLV VHWWOHPHQW DQG WKH DSSRLQWPHQW RI WKH

  LQGHSHQGHQW GLUHFWRUV FKDQJHG WKH HQWLUH WUDMHFWRU\ RI WKH FDVH DQG VDYHG WKH 'HEWRU IURP WKH

  DSSRLQWPHQWRIDWUXVWHH7KH%DQNUXSWF\&RXUWDQGWKH&RPPLWWHHHDFKWUXVWHGWKHLQGHSHQGHQW

  GLUHFWRUV7KH\ZHUHWKHULJKWVROXWLRQDWWKHULJKWWLPH%HFDXVHRIWKHXQLTXHFKDUDFWHURIWKH

  'HEWRU¶VEXVLQHVVWKH%DQNUXSWF\&RXUWEHOLHYHGWKHDSSRLQWPHQWRIWKUHHTXDOLILHGLQGHSHQGHQW

  GLUHFWRUVZDVDIDUEHWWHURXWFRPHIRUFUHGLWRUVWKDQWKHDSSRLQWPHQWRIDFRQYHQWLRQDOFKDSWHU

  WUXVWHH(DFKRIWKHLQGHSHQGHQWGLUHFWRUVEURXJKWXQLTXHTXDOLWLHVWRWKHWDEOH0U6HHU\LQ

  SDUWLFXODU NQHZ DQG KDG YDVW H[SHULHQFH DW SURPLQHQW ILUPV ZLWK KLJK\LHOG DQG GLVWUHVVHG

  LQYHVWLQJVLPLODUWRWKH'HEWRU¶VEXVLQHVV0U'XEHOKDG\HDUVRIH[SHULHQFHUHVWUXFWXULQJ

  ODUJHFRPSOH[EXVLQHVVHVDQGVHUYLQJRQERDUGVLQWKLVFRQWH[W$QG5HWLUHG-XGJH1HOPVKDGQRW

  RQO\YDVWEDQNUXSWF\H[SHULHQFHEXWVHHPHGSDUWLFXODUO\ZHOOVXLWHGWRKHOSWKH'HEWRUPDQHXYHU

  WKURXJKFRQIOLFWVDQGHWKLFDOTXDQGDULHV%\ZD\RIFRPSDULVRQLQWKHFKDSWHUFDVHRI$FLV

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  PXFKVPDOOHULQVL]HDQGVFRSHWKDQ+LJKODQG PDQDJLQJRQO\&/2V WKHFUHGLWRUVHOHFWHGD

  FKDSWHUWUXVWHHZKRZDVQRWRQWKHQRUPDOWUXVWHHURWDWLRQSDQHOLQWKLVGLVWULFWEXWUDWKHUZDV

  DQDWLRQDOO\NQRZQEDQNUXSWF\DWWRUQH\ZLWKPRUHWKDQ\HDUVRIODUJHFKDSWHUH[SHULHQFH

  :KLOHWKH$FLVFKDSWHUWUXVWHHSHUIRUPHGYDOLDQWO\KHZDVVXHGE\HQWLWLHVLQWKH+LJKODQG

  FRPSOH[VKRUWO\DIWHUKHZDVDSSRLQWHG ZKLFKWKH%DQNUXSWF\&RXUWKDGWRDGGUHVV 7KH$FLV

  WUXVWHHZDVDOVRXQDEOHWRSHUVXDGHWKH'HEWRUDQGLWVDIILOLDWHVWRDJUHHWRDQ\DFWLRQVWDNHQLQWKH

  FDVH DQG KH ILQDOO\ REWDLQHG FRQILUPDWLRQ RI $FLV¶ FKDSWHU  SODQ RYHU WKH REMHFWLRQV RI WKH

  'HEWRUDQGLWVDIILOLDWHVRQKLVIRXUWKDWWHPSW ZKLFKFRQILUPDWLRQZDVSURPSWO\DSSHDOHG 

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  LQ$FLVDQGWKH'HEWRU¶VFXOWXUHRIFRQVWDQWOLWLJDWLRQLWZDVQRWDVHDV\WRJHWVXFKKLJKO\TXDOLILHG

  SHUVRQVWRVHUYHDVLQGHSHQGHQWERDUGPHPEHUVDQGODWHUDVWKH'HEWRU¶V&KLHI([HFXWLYH2IILFHU

  DVLWZRXOGEHLQDQRUGLQDU\FKDSWHUFDVH7KHLQGHSHQGHQWERDUGPHPEHUVZHUHVWHSSLQJLQWR

  DPRUDVVRISUREOHPV1DWXUDOO\WKH\ZHUHZRUULHGDERXWJHWWLQJVXHGQRPDWWHUKRZGHIHQVLEOH

  WKHLU HIIRUWV²JLYHQ WKH OLWLJDWLRQ FXOWXUH WKDW HQYHORSHG +LJKODQG KLVWRULFDOO\  %DVHG RQ WKH

  UHFRUGRIWKLV&DVHDQGWKHSURFHHGLQJVLQWKH$FLVFKDSWHUFDVHLWVHHPHGDVWKRXJKHYHU\WKLQJ

  DOZD\VHQGHGLQOLWLJDWLRQDW+LJKODQG7KH%DQNUXSWF\&RXUWKHDUGFUHGLEOHWHVWLPRQ\WKDWQRQH

  RIWKHLQGHSHQGHQWGLUHFWRUVZRXOGKDYHWDNHQRQWKHUROHRILQGHSHQGHQWGLUHFWRUZLWKRXW  DQ

  DGHTXDWHGLUHFWRUVDQGRIILFHUV¶ ³' 2´ LQVXUDQFHSROLF\SURWHFWLQJWKHP  LQGHPQLILFDWLRQ

  IURP6WUDQGWKDWZRXOGEHJXDUDQWHHGE\WKH'HEWRU  H[FXOSDWLRQIRUPHUHQHJOLJHQFHFODLPV

  DQG  DJDWHNHHSHUSURYLVLRQSURKLELWLQJWKHFRPPHQFHPHQWRIOLWLJDWLRQDJDLQVWWKHLQGHSHQGHQW

  GLUHFWRUV ZLWKRXW WKH %DQNUXSWF\ &RXUW¶V SULRU DXWKRULW\  7KLV JDWHNHHSHU SURYLVLRQ ZDV DOVR



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  LQFOXGHGLQWKH%DQNUXSWF\&RXUW¶VRUGHUDXWKRUL]LQJWKHDSSRLQWPHQWRI0U6HHU\DVWKH'HEWRU¶V

  &KLHI ([HFXWLYH 2IILFHU &KLHI 5HVWUXFWXULQJ 2IILFHU DQG )RUHLJQ 5HSUHVHQWDWLYH HQWHUHG RQ

  -XO\    7KH JDWHNHHSHU SURYLVLRQV LQ ERWK WKH -DQXDU\  2UGHU DQG -XO\  2UGHU DUH

  SUHFLVHO\DQDORJRXVWRZKDWEDQNUXSWF\WUXVWHHVKDYHSXUVXDQWWRWKHVRFDOOHG³%DUWRQ'RFWULQH´

      ILUVWDUWLFXODWHGLQDQROG6XSUHPH&RXUWFDVHFDSWLRQHGBarton v. Barbour,86  

  7KH%DQNUXSWF\&RXUWDSSURYHGDOORIWKHVHSURWHFWLRQVLQWKH-DQXDU\2UGHUDQGWKH-XO\

  2UGHU DQG QR RQH DSSHDOHG HLWKHU RI WKRVH RUGHUV  $V QRWHG DERYH 0U 'RQGHUR VLJQHG WKH

  6WLSXODWLRQWKDWOHGWRWKHVHWWOHPHQWWKDWZDVDSSURYHGE\WKH-DQXDU\2UGHU7KH%DQNUXSWF\

  &RXUW ILQGV WKDW OLNH WKH &RPPLWWHH WKH LQGHSHQGHQW ERDUG PHPEHUV KDYH EHHQ UHVLOLHQW DQG

  XQZDYHULQJLQWKHLUHIIRUWVWRJHWWKHHQRUPRXVSUREOHPVLQWKLVFDVHVROYHG7KH\VHHPWRKDYH

  DW DOO WLPHV QHJRWLDWHG KDUG DQG LQ JRRG IDLWK ZKLFK FXOPLQDWHG LQ WKH SURSRVDO RI WKH 3ODQ

  FXUUHQWO\ EHIRUH WKH %DQNUXSWF\ &RXUW  $V QRWHG SUHYLRXVO\ WKH\ FRPSOHWHO\ FKDQJHG WKH

  WUDMHFWRU\RIWKLVFDVH

                         1RW<RXU*DUGHQ9DULHW\0HGLDWRUV$QGVWLOODQRWKHUUHDVRQZK\WKLV

  ZDVQRW\RXUJDUGHQYDULHW\FDVHZDVWKHPHGLDWLRQHIIRUW,QWKHVXPPHURIURXJKO\QLQH

  PRQWKVLQWRWKHFKDSWHUFDVHWKH%DQNUXSWF\&RXUWRUGHUHGPHGLDWLRQDPRQJWKH'HEWRU$FLV

  8%6WKH5HGHHPHU&RPPLWWHHDQG0U'RQGHUR7KH%DQNUXSWF\&RXUWVHOHFWHGFRPHGLDWRUV

  EHFDXVH PHGLDWLRQ DPRQJ WKHVH SDUWLHV VHHPHG OLNH VXFK D +HUFXOHDQ WDVN²HVSHFLDOO\ GXULQJ

  &29,'ZKHUHSHRSOHFRXOGQRWDOOEHLQWKHVDPHURRP7KRVHFRPHGLDWRUVZHUH5HWLUHG


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    See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
  Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
  Nunc Pro Tunc to March 15, 2020>'RFNHW1R@HQWHUHGRQ-XO\ WKH³-XO\2UGHU´ 


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  %DQNUXSWF\-XGJH$ODQ*URSSHUIURPWKH6RXWKHUQ'LVWULFWRI1HZ<RUNZKRKDGDGLVWLQJXLVKHG

  FDUHHUSUHVLGLQJRYHUFRPSOH[FKDSWHUFDVHVDQG0V6\OYLD0D\HUZKROLNHZLVHKDVKDGD

  GLVWLQJXLVKHGFDUHHUILUVWDVDSDUWQHUDWDSUHHPLQHQWODZILUPZRUNLQJRQFRPSOH[FKDSWHU

  FDVHV DQG VXEVHTXHQWO\ DV D PHGLDWRU DQG DUELWUDWRU LQ +RXVWRQ 7H[DV  $V QRWHG HDUOLHU WKH

  5HGHHPHU&RPPLWWHHDQG$FLVFODLPVZHUHVHWWOHGGXULQJWKHPHGLDWLRQ²ZKLFKVHHPHGQRWKLQJ

  VKRUWRIDPLUDFOHWRWKH%DQNUXSWF\&RXUW²DQGWKH8%6FODLPZDVVHWWOHGVHYHUDOPRQWKVODWHU

  DQGWKH%DQNUXSWF\&RXUWEHOLHYHVWKHJURXQGZRUNIRUWKDWXOWLPDWHVHWWOHPHQWZDVODLGRUDW

  OHDVW KHOSHG WKURXJK WKH PHGLDWLRQ  $QG DV HDUOLHU QRWHG RWKHU VLJQLILFDQW FODLPV KDYH EHHQ

  VHWWOHGGXULQJWKLVFDVHLQFOXGLQJWKRVHRI+DUERXU9HVW ZKRDVVHUWHGDPLOOLRQFODLP DQG

  3DWULFN 'DXJKHUW\ ZKR DVVHUWHG D  PLOOLRQ FODLP   7KH %DQNUXSWF\ &RXUW FDQQRW VWUHVV

  VWURQJO\HQRXJKWKDWWKHUHVROXWLRQRIWKHVHHQRUPRXVFODLPV²DQGWKHDFFHSWDQFHE\DOORIWKHVH

  FUHGLWRUVRIWKH3ODQWKDWLVQRZEHIRUHWKH%DQNUXSWF\&RXUW²VHHPVQRWKLQJVKRUWRIDPLUDFOH

  ,WZDVPRUHWKDQD\HDULQWKHPDNLQJ

                         1RW <RXU *DUGHQ 9DULHW\ 3ODQ 2EMHFWRUV 7KDW ,V 7KRVH 7KDW

  5HPDLQ )LQDOO\DZRUGDERXWWKHFXUUHQWUHPDLQLQJREMHFWRUVWRWKH3ODQEHIRUHWKH%DQNUXSWF\

  &RXUW2QFHDJDLQWKH%DQNUXSWF\&RXUWZLOOXVHWKHSKUDVH³QRW\RXUJDUGHQYDULHW\´ZKLFK

  SKUDVHDSSOLHVWRWKLVFDVHIRUPDQ\UHDVRQV2ULJLQDOO\WKHUHZHUHRYHUDGR]HQREMHFWLRQVILOHG

  WRWKH3ODQ7KH'HEWRUWKHQPDGHFHUWDLQDPHQGPHQWVRUPRGLILFDWLRQVWRWKH3ODQWRDGGUHVV

  VRPHRIWKHVHREMHFWLRQVQRQHRIZKLFKUHTXLUHIXUWKHUVROLFLWDWLRQRIWKH3ODQIRUUHDVRQVVHWIRUWK

  LQPRUHGHWDLOEHORZ7KHRQO\REMHFWRUVWRWKH3ODQOHIWDWWKHWLPHRIWKH&RQILUPDWLRQ+HDULQJ




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  ZHUH 0U 'RQGHUR >'RFNHW 1R @ DQG HQWLWLHV WKDW WKH %DQNUXSWF\ &RXUW ILQGV DUH RZQHG

  DQGRUFRQWUROOHGE\KLPDQGWKDWILOHGWKHIROORZLQJREMHFWLRQV

           D      Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    ILOHGE\*HW*RRG7UXVWDQG7KH'XJDER\,QYHVWPHQW7UXVW >'RFNHW1R@

           E      Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                    L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                    Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                    Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                    Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                    Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                    Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                    Estate Strategies Fund, NexPoint Strategic Opportunities Fund) >'RFNHW 1R
                    @

           F      $Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                    NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                    Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                    Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                    L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                    L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                    L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                    L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                    foregoing>'RFNHW1R@

           G      NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) >'RFNHW1R@DQG

           H      NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) >'RFNHW 1R @  7KH HQWLWLHV UHIHUUHG WR LQ L  WKURXJK Y  RI WKLV
                    SDUDJUDSKDUHKHUHLQDIWHUUHIHUUHGWRDVWKH³'RQGHUR5HODWHG(QWLWLHV´ 

                         4XHVWLRQDELOLW\ RI *RRG )DLWK DV WR 2XWVWDQGLQJ &RQILUPDWLRQ

  2EMHFWLRQV0U'RQGHURDQGWKH'RQGHUR5HODWHG(QWLWLHVWHFKQLFDOO\KDYHVWDQGLQJWRREMHFWWR

  WKH3ODQEXWWKHUHPRWHQHVVRIWKHLUHFRQRPLFLQWHUHVWVLVQRWHZRUWK\DQGWKH%DQNUXSWF\&RXUW



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  TXHVWLRQVWKHJRRGIDLWKRI0U'RQGHUR¶VDQGWKH'RQGHUR5HODWHG(QWLWLHV¶REMHFWLRQV,QIDFW

  WKH %DQNUXSWF\&RXUWKDVJRRGUHDVRQWREHOLHYHWKDWWKHVHSDUWLHVDUHQRWREMHFWLQJWRSURWHFW

  HFRQRPLFLQWHUHVWVWKH\KDYHLQWKH'HEWRUEXWWREHGLVUXSWRUV0U'RQGHURZDQWVKLVFRPSDQ\

  EDFN7KLVLVXQGHUVWDQGDEOHEXWLWLVQRWDJRRGIDLWKEDVLVWROREREMHFWLRQVWRWKH3ODQ$V

  GHWDLOHGEHORZWKH%DQNUXSWF\&RXUWKDVVORZHGGRZQSODQFRQILUPDWLRQPXOWLSOHWLPHVDQGXUJHG

  WKHSDUWLHVWRWDONWR0U'RQGHURLQDQDWWHPSWWRDUULYHDWZKDWWKHSDUWLHVKDYHUHSHDWHGO\UHIHUUHG

  WRDVD³JUDQGEDUJDLQ´WKHXOWLPDWHJRDOWRUHVROYHWKH'HEWRU¶VUHVWUXFWXULQJ7KH'HEWRUDQG

  WKH &RPPLWWHH UHSUHVHQW WKDW WKH\ KDYH FRPPXQLFDWHG ZLWK 0U 'RQGHUR UHJDUGLQJ D JUDQG

  EDUJDLQVHWWOHPHQWDQGWKH%DQNUXSWF\&RXUWEHOLHYHVWKDWWKH\KDYH

                         5HPRWH,QWHUHVWRI2XWVWDQGLQJ&RQILUPDWLRQ2EMHFWRUV7REHVSHFLILF

  DERXWWKHUHPRWHQHVVRI0U'RQGHUR¶VDQGWKH'RQGHUR5HODWHG(QWLWLHV¶LQWHUHVWVWKH%DQNUXSWF\

  &RXUWZLOODGGUHVVWKHPHDFKVHSDUDWHO\)LUVW0U'RQGHURKDVDSHQGLQJREMHFWLRQWRWKH3ODQ

  0U'RQGHUR¶VRQO\HFRQRPLFLQWHUHVWZLWKUHJDUGWRWKH'HEWRULVDQXQOLTXLGDWHGLQGHPQLILFDWLRQ

  FODLP DQGEDVHGRQHYHU\WKLQJWKH%DQNUXSWF\&RXUWKDVKHDUGKLVLQGHPQLILFDWLRQFODLPVZRXOG

  EHKLJKO\TXHVWLRQDEOHDWWKLVMXQFWXUH 0U'RQGHURRZQVQRHTXLW\LQWKH'HEWRUGLUHFWO\0U

  'RQGHURRZQVWKH'HEWRU¶VJHQHUDOSDUWQHU6WUDQGZKLFKLQWXUQRZQVDTXDUWHUSHUFHQWRIWKH

  WRWDO HTXLW\ LQ WKH 'HEWRU  6HFRQG D MRLQW REMHFWLRQ KDV EHHQ ILOHG E\ 7KH 'XJDER\ 7UXVW

      ³'XJDER\´ DQGWKH*HW*RRG7UXVW ³*HW*RRG´ 7KH'XJDER\7UXVWZDVFUHDWHGWRPDQDJH

  WKHDVVHWVRI0U'RQGHURDQGKLVIDPLO\DQGRZQVDOLPLWHGSDUWQHUVKLSLQWHUHVWLQWKH

  'HEWRUSee 'LVFORVXUH6WDWHPHQWDWQ7KH%DQNUXSWF\&RXUWLVQRWFOHDUZKDWHFRQRPLF

  LQWHUHVWWKH*HW*RRG7UXVWKDVEXWLWOLNHZLVHVHHPVWREHUHODWHGWR0U'RQGHUR*HW*RRG



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  ILOHGWKUHHSURRIVRIFODLPUHODWLQJWRDSHQGLQJIHGHUDOWD[DXGLWRIWKH'HEWRU¶VUHWXUQZKLFK

  WKH'HEWRUEHOLHYHVDULVHIURP*HW*RRG¶VHTXLW\VHFXULW\LQWHUHVWVDQGDUHVXEMHFWWRVXERUGLQDWLRQ

  DV VHW IRUWK LQ LWV &RQILUPDWLRQ %ULHI  'XJDER\ ILOHG WKUHH FODLPV DJDLQVW WKH 'HEWRU D  DQ

  DGPLQLVWUDWLYH FODLP UHODWLQJ WR WKH 'HEWRU¶V DOOHJHG SRVWSHWLWLRQ PDQDJHPHQW RI 0XOWL6WUDW

  &UHGLW)XQG/3 E DSUHSHWLWLRQFODLPDJDLQVWDVXEVLGLDU\RIWKH'HEWRUIRUZKLFKLWVHHNVWR

  SLHUFHWKHFRUSRUDWHYHLOHDFKRIZKLFKWKH'HEWRUPDLQWDLQVDUHIULYRORXVLQWKH&RQILUPDWLRQ

  %ULHI DQG F  D FODLP DULVLQJ IURP LWV HTXLW\ VHFXULW\ LQWHUHVW LQ WKH 'HEWRU ZKLFK WKH 'HEWRU

  DVVHUWV VKRXOG EH VXERUGLQDWHG  $QRWKHU JURXS RI REMHFWRUV WKDW KDV MRLQHG WRJHWKHU LQ RQH

  REMHFWLRQLVZKDWWKH%DQNUXSWF\&RXUWZLOOUHIHUWRDVWKH³+LJKODQG$GYLVRUVDQG)XQGV´See

  'RFNHW1R7KH%DQNUXSWF\&RXUWXQGHUVWDQGVWKH\DVVHUWGLVSXWHGDGPLQLVWUDWLYHH[SHQVH

  FODLPVDJDLQVWWKHHVWDWHWKDWZHUHILOHGVKRUWO\EHIRUHWKH&RQILUPDWLRQ+HDULQJRQ-DQXDU\

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  )XQGVWKDWWKH)XQGVKDYHLQGHSHQGHQWERDUGPHPEHUVWKDWUXQWKH)XQGVEXWWKH%DQNUXSWF\

  &RXUWZDVQRWFRQYLQFHGRIWKHLULQGHSHQGHQFHIURP0U'RQGHUREHFDXVHQRQHRIWKHVRFDOOHG

  LQGHSHQGHQWERDUGPHPEHUVKDYHHYHUWHVWLILHGEHIRUHWKH%DQNUXSWF\&RXUWDQGDOOKDYHEHHQ

  HQJDJHG ZLWK WKH +LJKODQG FRPSOH[ IRU PDQ\ \HDUV  1RWDEO\ WKH &RXUW TXHVWLRQV 0U 3RVW¶V

  FUHGLELOLW\EHFDXVHDIWHUPRUHWKDQ\HDUVRIVHUYLFHKHDEUXSWO\UHVLJQHGIURPWKH'HEWRULQ

  2FWREHUDWWKHH[DFWVDPHWLPHWKDW0U'RQGHURUHVLJQHGDWWKH%RDUGRI'LUHFWRUV¶UHTXHVW

  DQG KH LV FXUUHQWO\ HPSOR\HG E\ 0U 'RQGHUR  0RUHRYHU 'XVWLQ 1RUULV D ZLWQHVV LQ D SULRU

  SURFHHGLQJ ZKRVHWHVWLPRQ\ZDVPDGHSDUWRIWKHUHFRUGDWWKH&RQILUPDWLRQ+HDULQJ UHFHQWO\



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  WHVWLILHGRQEHKDOIRIWKH+LJKODQG$GYLVRUVDQG)XQGVLQDQRWKHUSURFHHGLQJWKDW0U'RQGHUR

  RZQHGDQGRUFRQWUROOHGWKHVHHQWLWLHV)LQDOO\YDULRXV1H[%DQN HQWLWLHVREMHFWHGWRWKH3ODQ

  7KH %DQNUXSWF\ &RXUW GRHV QRW EHOLHYH WKH\ KDYH OLTXLGDWHG FODLPV DJDLQVW WKH 'HEWRU  0U

  'RQGHURDSSHDUVWREHLQFRQWURORIWKHVHHQWLWLHVDVZHOO

                         %DFNJURXQG 5HJDUGLQJ 'RQGHUR 2EMHFWLQJ 3DUWLHV  7R EH FOHDU WKH

  %DQNUXSWF\ &RXUW KDV DOORZHG DOO WKHVH REMHFWRUV WR IXOO\ SUHVHQW DUJXPHQWV DQG HYLGHQFH LQ

  RSSRVLWLRQ WR FRQILUPDWLRQ HYHQ WKRXJK WKHLU HFRQRPLF LQWHUHVWV LQ WKH 'HEWRU DSSHDU WR EH

  H[WUHPHO\ UHPRWH DQG WKH %DQNUXSWF\ &RXUW TXHVWLRQV WKHLU JRRG IDLWK  6SHFLILFDOO\ WKH

  %DQNUXSWF\&RXUWFRQVLGHUVWKHPDOOWREHPDUFKLQJSXUVXDQWWRWKHRUGHUVRI0U'RQGHUR,Q

  WKHUHFHQWSDVW0U'RQGHURKDVEHHQVXEMHFWWRDWHPSRUDU\UHVWUDLQLQJRUGHUDQGSUHOLPLQDU\

  LQMXQFWLRQE\WKH%DQNUXSWF\&RXUWIRULQWHUIHULQJZLWK0U6HHU\¶VPDQDJHPHQWRIWKH'HEWRULQ

  VSHFLILFZD\VWKDWZHUHVXSSRUWHGE\HYLGHQFH$URXQGWKHWLPHWKDWWKLVDOOFDPHWROLJKWDQGWKH

  %DQNUXSWF\ &RXUW EHJDQ VHWWLQJ KHDULQJV RQ WKH DOOHJHG LQWHUIHUHQFH 0U 'RQGHUR¶V FRPSDQ\

  SKRQH ZKLFK KH KDG EHHQ DVNHG WR WXUQ LQ WR +LJKODQG P\VWHULRXVO\ ZHQW PLVVLQJ  7KH

  %DQNUXSWF\&RXUWPHUHO\PHQWLRQVWKLVLQWKLVFRQWH[WDVRQHRIPDQ\UHDVRQVWKDWWKH%DQNUXSWF\

  &RXUW KDV WR TXHVWLRQ WKH JRRG IDLWK RI 0U 'RQGHUR DQG KLV DIILOLDWHV LQ UDLVLQJ REMHFWLRQV WR

  FRQILUPDWLRQRIWKH3ODQ

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  'RQGHUR DQGWKH'RQGHUR5HODWHG(QWLWLHVWKHRQO\RWKHUSHQGLQJREMHFWLRQWRWKH3ODQLV WKH

  United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

  Reorganization >'RFNHW 1R @ ZKLFK REMHFWHG WR WKH 3ODQ¶V H[FXOSDWLRQ LQMXQFWLRQ DQG



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  'HEWRU UHOHDVH SURYLVLRQV  ,QMX[WDSRVLWLRQWRWKHVHSHQGLQJREMHFWLRQVWKH%DQNUXSWF\&RXUW

  QRWHVWKDWWKH'HEWRUUHVROYHGWKHIROORZLQJREMHFWLRQVWRWKH3ODQ

           D      CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation >'RFNHW 1R @  7KLV 2EMHFWLRQ KDV EHHQ
                    UHVROYHGSXUVXDQWWRPXWXDOO\DJUHHGODQJXDJHE\WKHSDUWLHVVHWIRUWKLQSDUDJUDSK
                    99RIWKH&RQILUPDWLRQ2UGHU

           E      Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P.>'RFNHW1R@7KLV2EMHFWLRQKDVEHHQ
                    UHVROYHGSXUVXDQWWRPXWXDOO\DJUHHGODQJXDJHE\WKHSDUWLHVVHWIRUWKLQSDUDJUDSK
                    44RIWKH&RQILUPDWLRQ2UGHU

           F      Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) >'RFNHW1R@7KLV2EMHFWLRQKDVEHHQUHVROYHGSXUVXDQWWR
                    PXWXDOO\DJUHHGODQJXDJHE\WKHSDUWLHVVHWIRUWKLQSDUDJUDSKDQGSDUDJUDSKV
                    55DQG66RIWKH&RQILUPDWLRQ2UGHU

           G      Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P.>'RFNHW1R@DQGWKH
                    DPHQGHG MRLQGHU ILOHG E\ 'DYLV 'HDGPDQ 3DXO .DXIIPDQ DQG 7RGG 7UDYHUV
                    >'RFNHW 1R @  7KLV 2EMHFWLRQ DQG WKH DPHQGHG MRLQGHU ZHUH UHVROYHG E\
                    DJUHHPHQWRIWKHSDUWLHVSXUVXDQWWRPRGLILFDWLRQVWRWKH3ODQILOHGE\WKH'HEWRU

           H      United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization>'RFNHW1R@7KLV2EMHFWLRQKDVEHHQUHVROYHGSXUVXDQWWR
                    PXWXDOO\DJUHHGODQJXDJHE\WKHSDUWLHVVHWIRUWKLQSDUDJUDSKV77DQG88RIWKH
                    &RQILUPDWLRQ2UGHUDQG

           I      Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization>'RFNHW1R@7KLVREMHFWLRQZDVUHVROYHGE\WKHSDUWLHV
                    SXUVXDQWWRWKHVHWWOHPHQWRI0U'DXJKHUW\¶VFODLPDQQRXQFHGRQWKHUHFRUGRIWKH
                    &RQILUPDWLRQ+HDULQJ

                         &DSLWDOL]HG7HUPV&DSLWDOL]HGWHUPVXVHGKHUHLQEXWQRWGHILQHGKHUHLQ

  VKDOO KDYH WKH UHVSHFWLYH PHDQLQJV DWWULEXWHG WR VXFK WHUPV LQ WKH 3ODQ DQG WKH 'LVFORVXUH

  6WDWHPHQWDVDSSOLFDEOH


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                         -XULVGLFWLRQDQG9HQXH7KH%DQNUXSWF\&RXUWKDVMXULVGLFWLRQRYHUWKH

  'HEWRU¶V &KDSWHU  &DVH SXUVXDQW WR  86&   DQG   7KLV LV D FRUH SURFHHGLQJ

  SXUVXDQWWR86& E  9HQXHRIWKLVSURFHHGLQJDQGWKLV&KDSWHU&DVHLVSURSHU

  LQWKLVGLVWULFWDQGLQWKH%DQNUXSWF\&RXUWSXUVXDQWWR86&DQG

                         &KDSWHU  3HWLWLRQ  2Q WKH 3HWLWLRQ 'DWH WKH 'HEWRU FRPPHQFHG D

  YROXQWDU\FDVHXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHLQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUW

  IRUWKH'LVWULFWRI'HODZDUHZKLFKFDVHZDVWUDQVIHUUHGWRWKH%DQNUXSWF\&RXUWRQ'HFHPEHU

  7KH'HEWRUFRQWLQXHVWRRSHUDWHLWVEXVLQHVVDQGPDQDJHLWVSURSHUW\DVGHEWRULQSRVVHVVLRQ

  SXUVXDQWWRVHFWLRQV D DQGRIWKH%DQNUXSWF\&RGH1RWUXVWHHRUH[DPLQHUKDVEHHQ

  DSSRLQWHG LQ WKLV &KDSWHU  &DVH  7KH 2IILFH RI WKH 8QLWHG 6WDWHV 7UXVWHH DSSRLQWHG WKH

  &RPPLWWHHRQ2FWREHU

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  LQWKLV&KDSWHU&DVHPDLQWDLQHGE\WKHFOHUNRIWKH%DQNUXSWF\&RXUWDQGWKHFRXUWDSSRLQWHG

  FODLPV DJHQW .XUW]PDQ &DUVRQ &RQVXOWDQWV //& ³.&&´  LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DOO

  SOHDGLQJVQRWLFHVDQGRWKHUGRFXPHQWVILOHGDOORUGHUVHQWHUHGDQGDOOHYLGHQFHDQGDUJXPHQWV

  PDGHSURIIHUHGRUDGGXFHGDWWKHKHDULQJVKHOGEHIRUHWKH%DQNUXSWF\&RXUWGXULQJWKLV&KDSWHU

   &DVH LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WKH KHDULQJ WR FRQVLGHU WKH DGHTXDF\ RI WKH 'LVFORVXUH

  6WDWHPHQWDQGWKH&RQILUPDWLRQ+HDULQJDVZHOODVDOOSOHDGLQJVQRWLFHVDQGRWKHUGRFXPHQWV

  ILOHGDOORUGHUVHQWHUHGDQGDOOHYLGHQFHDQGDUJXPHQWVPDGHSURIIHUHGRUDGGXFHGDWKHDULQJV

  KHOG EHIRUH WKH %DQNUXSWF\ &RXUW RU WKH 'LVWULFW &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI 7H[DV LQ




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  FRQQHFWLRQ ZLWK DQ DGYHUVDU\ SURFHHGLQJ RU DSSHOODWH SURFHHGLQJ UHVSHFWLYHO\ UHODWHG WR WKLV

  &KDSWHU&DVH

                         3ODQ 6XSSOHPHQW 'RFXPHQWV  3ULRU WR WKH &RQILUPDWLRQ +HDULQJ WKH

  'HEWRU ILOHG HDFK RI WKH 3ODQ 6XSSOHPHQWV  7KH 3ODQ 6XSSOHPHQWV FRQWDLQ DPRQJ RWKHU

  GRFXPHQWV WKH 5HWDLQHG &DXVHV RI $FWLRQWKH &ODLPDQW7UXVW$JUHHPHQWWKH/LWLJDWLRQ6XE

  7UXVW $JUHHPHQW WKH 6HQLRU (PSOR\HH 6WLSXODWLRQ WKH 5HODWHG (QWLW\ /LVW WKH 6FKHGXOH RI

  (PSOR\HHV WKH 5HRUJDQL]HG /LPLWHG 3DUWQHUVKLS $JUHHPHQW VXSSOHPHQWV WR WKH /LTXLGDWLRQ

  $QDO\VLV)LQDQFLDO3URMHFWLRQVWKH6FKHGXOHRI&RQWUDFWVDQG/HDVHVWREH$VVXPHGDQGWKHRWKHU

  3ODQ'RFXPHQWVVHWIRUWKWKHUHLQ FROOHFWLYHO\WKH³3ODQ6XSSOHPHQW'RFXPHQWV´ 

                         5HWDLQHG &DXVHV RI $FWLRQ $GHTXDWHO\ 3UHVHUYHG  7KH %DQNUXSWF\

  &RXUWILQGVWKDWWKHOLVWRI5HWDLQHG&DXVHVRI$FWLRQLQFOXGHGLQWKH3ODQ6XSSOHPHQWVVXIILFLHQWO\

  GHVFULEHVDOOSRWHQWLDO5HWDLQHG&DXVHVRI$FWLRQSURYLGHVDOOSHUVRQVZLWKDGHTXDWHQRWLFHRIDQ\

  &DXVHVRI$FWLRQ UHJDUGOHVVRI ZKHWKHUDQ\VSHFLILFFODLPWREHEURXJKW LQWKHIXWXUHLV OLVWHG

  WKHUHLQRUZKHWKHUDQ\VSHFLILFSRWHQWLDOGHIHQGDQWRURWKHUSDUW\LVOLVWHGWKHUHLQDQGVDWLVILHV

  DSSOLFDEOHODZLQDOOUHVSHFWVWRSUHVHUYHDOORIWKH5HWDLQHG&DXVHVRI$FWLRQ7KHGHILQLWLRQRI

  WKH&DXVHVRI$FWLRQDQG6FKHGXOHRI5HWDLQHG&DXVHVRI$FWLRQDQGWKHLULQFOXVLRQLQWKH3ODQ

  VSHFLILFDOO\DQGXQHTXLYRFDOO\SUHVHUYHWKH&DXVHVRI$FWLRQIRUWKHEHQHILWRIWKH5HRUJDQL]HG

  'HEWRUWKH&ODLPDQW7UXVWRUWKH/LWLJDWLRQ6XE7UXVWDVDSSOLFDEOH

                         3ODQ 0RGLILFDWLRQV $UH 1RQ0DWHULDO  ,Q DGGLWLRQ WR WKH 3ODQ

  6XSSOHPHQWVWKH'HEWRUPDGHFHUWDLQQRQPDWHULDOPRGLILFDWLRQVWRWKH3ODQZKLFKDUHUHIOHFWHG

  LQ L WKHRedline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



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  Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

  Management, L.P. (as Modified)ILOHGRQ)HEUXDU\>'RFNHW1R@ FROOHFWLYHO\WKH

  ³3ODQ0RGLILFDWLRQV´ 6HFWLRQ D RIWKH%DQNUXSWF\&RGHSURYLGHVWKDWDSODQSURSRQHQW

  PD\ PRGLI\ LWV SODQ DW DQ\ WLPH EHIRUH FRQILUPDWLRQ VR ORQJ DV VXFK PRGLILHG SODQ PHHWV WKH

  UHTXLUHPHQWVRIVHFWLRQVDQGRIWKH%DQNUXSWF\&RGH1RQHRIWKHPRGLILFDWLRQVVHW

  IRUWKLQWKH3ODQ6XSSOHPHQWVRUWKH3ODQ0RGLILFDWLRQVUHTXLUHDQ\IXUWKHUVROLFLWDWLRQSXUVXDQW

  WR VHFWLRQV   RU  RI WKH %DQNUXSWF\ &RGH DQG %DQNUXSWF\ 5XOH  EHFDXVH

  DPRQJRWKHUWKLQJVWKH\GRQRWPDWHULDOO\DGYHUVHO\FKDQJHWKHWUHDWPHQWRIWKHFODLPVRIDQ\

  FUHGLWRUV RU LQWHUHVW KROGHUV ZKR KDYH QRW DFFHSWHG LQ ZULWLQJ VXFK VXSSOHPHQWV DQG

  PRGLILFDWLRQV$PRQJRWKHUWKLQJVWKHUHZHUHFKDQJHVWRWKHSURMHFWLRQVWKDWWKH'HEWRUILOHG

  VKRUWO\EHIRUHWKH&RQILUPDWLRQ+HDULQJ ZKLFKLQFOXGHGSURMHFWHGGLVWULEXWLRQVWRFUHGLWRUVDQG

  D FRPSDULVRQ RI SURMHFWHG GLVWULEXWLRQV XQGHU WKH 3ODQ WR SRWHQWLDO GLVWULEXWLRQV XQGHU D

  K\SRWKHWLFDOFKDSWHUOLTXLGDWLRQ 7KH3ODQ6XSSOHPHQWVDQG3ODQ0RGLILFDWLRQVGLGQRWPLVOHDG

  RUSUHMXGLFHDQ\FUHGLWRUVRULQWHUHVWKROGHUVQRUGRWKH\UHTXLUHWKDW+ROGHUVRI&ODLPVRU(TXLW\

  ,QWHUHVWVEHDIIRUGHGDQRSSRUWXQLW\WRFKDQJHSUHYLRXVO\FDVWYRWHVWRDFFHSWRUUHMHFWWKH3ODQ

  6SHFLILFDOO\WKH$PHQGHG/LTXLGDWLRQ$QDO\VLV)LQDQFLDO3URMHFWLRQVILOHGRQ)HEUXDU\

  >'RFNHW1R@GRQRWFRQVWLWXWHDQ\PDWHULDODGYHUVHFKDQJHWRWKHWUHDWPHQWRIDQ\FUHGLWRUV

  RULQWHUHVWKROGHUVEXWUDWKHUVLPSO\XSGDWHWKHHVWLPDWHGGLVWULEXWLRQVEDVHGRQ&ODLPVWKDWZHUH

  VHWWOHG LQ WKH LQWHULP DQG SURYLGH XSGDWHG ILQDQFLDO GDWD  7KH ILOLQJ DQG QRWLFH RI WKH 3ODQ

  6XSSOHPHQWV DQG 3ODQ 0RGLILFDWLRQV ZHUH DSSURSULDWH DQG FRPSOLHG ZLWK WKH UHTXLUHPHQWV RI



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  VHFWLRQ D RIWKH%DQNUXSWF\&RGHDQGWKH%DQNUXSWF\5XOHVDQGQRRWKHUVROLFLWDWLRQRU

  GLVFORVXUHRUIXUWKHUQRWLFHLVRUVKDOOEHUHTXLUHG7KH3ODQ6XSSOHPHQWVDQG3ODQ0RGLILFDWLRQV

  HDFKEHFDPHSDUWRIWKH3ODQSXUVXDQWVHFWLRQ D RIWKH%DQNUXSWF\&RGH7KH'HEWRURU

  5HRUJDQL]HG 'HEWRU DV DSSOLFDEOH LV DXWKRUL]HG WR PRGLI\ WKH 3ODQ RU 3ODQ 6XSSOHPHQW

  'RFXPHQWVIROORZLQJHQWU\RIWKLV&RQILUPDWLRQ2UGHULQDPDQQHUFRQVLVWHQWZLWKVHFWLRQ E 

  RIWKH%DQNUXSWF\&RGHWKH3ODQDQGLIDSSOLFDEOHWKHWHUPVRIWKHDSSOLFDEOH3ODQ6XSSOHPHQW

  'RFXPHQW

                         1RWLFH RI 7UDQVPLWWDO 0DLOLQJ DQG 3XEOLFDWLRQ RI 0DWHULDOV  $V LV

  HYLGHQFHG E\ WKH 9RWLQJ &HUWLILFDWLRQV DQG WKH $IILGDYLWV RI 6HUYLFH DQG 3XEOLFDWLRQ WKH

  WUDQVPLWWDODQGVHUYLFHRIWKH3ODQWKH'LVFORVXUH6WDWHPHQW%DOORWVDQG&RQILUPDWLRQ+HDULQJ

  1RWLFHZHUHDGHTXDWHDQGVXIILFLHQWXQGHUWKHFLUFXPVWDQFHVDQGDOOSDUWLHVUHTXLUHGWREHJLYHQ

  QRWLFHRIWKH&RQILUPDWLRQ+HDULQJ LQFOXGLQJWKHGHDGOLQHIRUILOLQJDQGVHUYLQJREMHFWLRQVWRWKH

  FRQILUPDWLRQRIWKH3ODQ KDYHEHHQJLYHQGXHSURSHUWLPHO\DQGDGHTXDWHQRWLFHLQDFFRUGDQFH

  ZLWKWKH'LVFORVXUH6WDWHPHQW2UGHUDQGLQFRPSOLDQFHZLWKWKH%DQNUXSWF\&RGHWKH%DQNUXSWF\

  5XOHV WKH /RFDO 5XOHV DQG DSSOLFDEOH QRQEDQNUXSWF\ ODZ DQG VXFK SDUWLHV KDYH KDG DQ

  RSSRUWXQLW\WRDSSHDUDQGEHKHDUGZLWKUHVSHFWWKHUHWR1RRWKHURUIXUWKHUQRWLFHLVUHTXLUHG

  7KH SXEOLFDWLRQ RI WKH &RQILUPDWLRQ +HDULQJ 1RWLFH DV VHW IRUWK LQ WKH Notice of Affidavit of

  PublicationGDWHG'HFHPEHU>'RFNHW1R@FRPSOLHGZLWKWKH'LVFORVXUH6WDWHPHQW

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  GLVWULEXWHG DQG WDEXODWHG LQFOXGLQJ WKH WDEXODWLRQ DV VXEVHTXHQWO\ DPHQGHG WR UHIOHFW WKH

  VHWWOHPHQWRIFHUWDLQ&ODLPVWREH$OORZHGLQ&ODVVZHUHIDLUO\DQGSURSHUO\FRQGXFWHGDQG

  FRPSOLHGZLWKWKH'LVFORVXUH6WDWHPHQW2UGHUWKH%DQNUXSWF\&RGHWKH%DQNUXSWF\5XOHVDQG

  WKH/RFDO5XOHV

                         %DQNUXSWF\5XOH D ,QDFFRUGDQFHZLWK%DQNUXSWF\5XOH D 

  WKH3ODQLVGDWHGDQGLGHQWLILHVWKH'HEWRUDVWKHSURSRQHQWRIWKH3ODQ

                         3ODQ&RPSOLDQFHZLWK%DQNUXSWF\&RGH 86& D  $V

  VHWIRUWKEHORZWKH3ODQFRPSOLHVZLWKDOORIWKHDSSOLFDEOHSURYLVLRQVRIWKH%DQNUXSWF\&RGH

  WKHUHE\VDWLVI\LQJVHFWLRQ D  RIWKH%DQNUXSWF\&RGH

                         3URSHU&ODVVLILFDWLRQ 86& D  6HFWLRQRI

  WKH%DQNUXSWF\&RGHSURYLGHVWKDWDSODQPD\SODFHDFODLPRULQWHUHVWLQDSDUWLFXODUFODVVRQO\LI

  VXFKFODLPRULQWHUHVWLV VXEVWDQWLDOO\VLPLODUWRWKHRWKHUFODLPVRULQWHUHVWRIVXFKFODVV7KH

  &ODLPV DQG (TXLW\ ,QWHUHVWV SODFHG LQ HDFK &ODVV DUH VXEVWDQWLDOO\ VLPLODU WR RWKHU &ODLPV DQG

  (TXLW\,QWHUHVWVDVWKHFDVHPD\EHLQHDFKVXFK&ODVV9DOLGEXVLQHVVIDFWXDODQGOHJDOUHDVRQV

  H[LVWIRUVHSDUDWHO\FODVVLI\LQJWKHYDULRXV&ODVVHVRI&ODLPVDQG(TXLW\,QWHUHVWVFUHDWHGXQGHU

  WKH3ODQDQGVXFK&ODVVHVGRQRWXQIDLUO\GLVFULPLQDWHEHWZHHQ+ROGHUVRI&ODLPVDQG(TXLW\

  ,QWHUHVWV

                         &ODVVLILFDWLRQRI6HFXUHG&ODLPV&ODVV -HIIHULHV6HFXUHG&ODLP DQG

  &ODVV )URQWLHU6HFXUHG&ODLP HDFKFRQVWLWXWHVHSDUDWHVHFXUHGFODLPVKHOGE\-HIIHULHV//&

  DQG )URQWLHU 6WDWH %DQN UHVSHFWLYHO\ DQG LW LV SURSHU DQG FRQVLVWHQW ZLWK VHFWLRQ  RI WKH

  %DQNUXSWF\ &RGH WR VHSDUDWHO\ FODVVLI\ WKH FODLPV RI WKHVH VHFXUHG FUHGLWRUV  &ODVV  2WKHU



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  6HFXUHG&ODLPV FRQVLVWVRIRWKHUVHFXUHGFODLPV WRWKHH[WHQWDQ\H[LVW DJDLQVWWKH'HEWRUDUH

  QRW VXEVWDQWLDOO\ VLPLODU WR WKH 6HFXUHG &ODLPV LQ &ODVV  RU &ODVV  DQG DUH DOVR SURSHUO\

  VHSDUDWHO\FODVVLILHG

                         &ODVVLILFDWLRQ RI 3ULRULW\ &ODLPV  &ODVV  3ULRULW\ 1RQ7D[ &ODLPV 

  FRQVLVWVRI&ODLPVHQWLWOHGWRSULRULW\XQGHUVHFWLRQ D RWKHUWKDQ3ULRULW\7D[&ODLPVDQGDUH

  SURSHUO\VHSDUDWHO\FODVVLILHGIURPQRQSULRULW\XQVHFXUHGFODLPV&ODVV 5HWDLQHG(PSOR\HH

  &ODLPV FRQVLVWVRIWKHSRWHQWLDOFODLPVRIHPSOR\HHVZKRPD\EHUHWDLQHGE\WKH'HEWRURQWKH

  (IIHFWLYH'DWHZKLFKFODLPVZLOOEH5HLQVWDWHGXQGHUWKH3ODQ DUHQRWVXEVWDQWLDOO\VLPLODUWR

  RWKHU&ODLPVDJDLQVWWKH'HEWRUDQGDUHSURSHUO\FODVVLILHG

                         &ODVVLILFDWLRQRI8QVHFXUHG&ODLPV&ODVV 372&ODLPV FRQVLVWVVROHO\

  RIWKHFODLPVRIWKH'HEWRU¶VHPSOR\HHVIRUXQSDLGSDLGWLPHRIILQH[FHVVRIWKHVWDWXWRU\

  FDSDPRXQWXQGHUVHFWLRQV D  DQG D  RIWKH%DQNUXSWF\&RGHDQGDUHGLVVLPLODUIURP

  RWKHUXQVHFXUHGFODLPVLQ&ODVVDQG&ODVV&ODVV &RQYHQLHQFH&ODLPV DOORZVKROGHUVRI

  HOLJLEOHDQGOLTXLGDWHG&ODLPV EHORZDFHUWDLQWKUHVKROGGROODUDPRXQW WRUHFHLYHDFDVKSD\RXW

  RIWKHOHVVHURIRIWKH$OORZHGDPRXQWRIWKHFUHGLWRU¶V&ODLPRUVXFKKROGHU¶Vpro rataVKDUH

  RI WKH &RQYHQLHQFH &ODLPV &DVK 3RRO &ODVV  &RQYHQLHQFH &ODLPV  DUH SURYLGHG IRU

  DGPLQLVWUDWLYHFRQYHQLHQFHSXUSRVHVLQRUGHUWRDOORZFUHGLWRUVPRVWRIZKRPDUHHLWKHUWUDGH

  FUHGLWRUVRUKROGHUVRISURIHVVLRQDOFODLPVWRUHFHLYHWUHDWPHQWSURYLGHGXQGHU&ODVVLQOLHXRI

  WKHWUHDWPHQWRI&ODVV *HQHUDO8QVHFXUHG&ODLPV 7KH3ODQDOVRSURYLGHVIRUUHFLSURFDO³RSW

  RXW´PHFKDQLVPVWRDOORZKROGHUVRI&ODVV&ODLPVWRHOHFWWRUHFHLYHWKHWUHDWPHQWIRU&ODVV

  &ODLPV&ODVVFUHGLWRUVSULPDULO\FRQVWLWXWHWKHOLWLJDWLRQFODLPVRIWKH'HEWRU&ODVV&UHGLWRUV



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  ZLOO UHFHLYH &ODLPDQW 7UXVW ,QWHUHVWV ZKLFK ZLOO EH VDWLVILHG SXUVXDQW WR WKH WHUPV RI WKH 3ODQ

  &ODVVDOVRFRQWDLQVDQ³RSWRXW´PHFKDQLVPWRDOORZKROGHUVRIOLTXLGDWHG&ODVV&ODLPVDWRU

  EHORZDPLOOLRQWKUHVKROGWRHOHFWWRUHFHLYHWKHWUHDWPHQWRI&ODVV&RQYHQLHQFH&ODLPV7KH

  &ODLPVLQ&ODVV SULPDULO\WUDGHDQGSURIHVVLRQDO&ODLPVDJDLQVWWKH'HEWRU DUHQRWVXEVWDQWLDOO\

  VLPLODU WR WKH &ODLPV LQ &ODVV  SULPDULO\ WKH OLWLJDWLRQ &ODLPV DJDLQVW WKH 'HEWRU  DQG DUH

  DSSURSULDWHO\VHSDUDWHO\FODVVLILHG9DOLGEXVLQHVVUHDVRQVDOVRH[LVWWRFODVVLI\FUHGLWRUVLQ&ODVV

   VHSDUDWHO\ IURP FUHGLWRUV LQ &ODVV   &ODVV  FUHGLWRUV ODUJHO\ FRQVLVW RI OLTXLGDWHG WUDGH RU

  VHUYLFHSURYLGHUVWRWKH'HEWRU,QDGGLWLRQWKH&ODLPVRI&ODVVFUHGLWRUVDUHVPDOOUHODWLYHWR

  WKH ODUJH OLWLJDWLRQ FODLPV LQ &ODVV   )XUWKHUPRUH WKH &ODVV  &ODLPV ZHUH RYHUZKHOPLQJO\

  XQOLTXLGDWHGZKHQWKH3ODQZDVILOHG7KHQDWXUHRIWKH&ODVV&ODLPVDVEHLQJODUJHO\OLTXLGDWHG

  FUHDWHGDQH[SHFWDWLRQRIH[SHGLWHGSD\PHQWUHODWLYHWRWKHODUJHO\XQOLTXLGDWHG&ODLPVLQ&ODVV

  ZKLFKFRQVLVWVLQODUJHSDUWRISDUWLHVZKRKDYHEHHQHQJDJHGLQ\HDUVDQGLQVRPHFDVHVRYHU

  DGHFDGHRIOLWLJDWLRQZLWKWKH'HEWRU6HSDUDWHFODVVLILFDWLRQRI&ODVVDQG&ODVVFUHGLWRUVZDV

  WKH VXEMHFW RI VXEVWDQWLDO DUP¶VOHQJWK QHJRWLDWLRQV EHWZHHQ WKH 'HEWRU DQG WKH &RPPLWWHH WR

  DSSURSULDWHO\UHIOHFWWKHVHUHODWLYHGLIIHUHQFHV

                         &ODVVLILFDWLRQRI(TXLW\,QWHUHVWV7KH3ODQSURSHUO\VHSDUDWHO\FODVVLILHV

  WKH(TXLW\,QWHUHVWVLQ&ODVV &ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWV IURPWKH(TXLW\,QWHUHVWV

  LQ&ODVV &ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWV EHFDXVHWKH\UHSUHVHQWGLIIHUHQWW\SHVRIHTXLW\

  VHFXULW\LQWHUHVWVLQWKH'HEWRUDQGGLIIHUHQWSD\PHQWSULRULWLHV

                         (OLPLQDWLRQRI9DFDQW&ODVVHV6HFWLRQ,,,&RIWKH3ODQSURYLGHVIRUWKH

  HOLPLQDWLRQRI&ODVVHVWKDWGRQRWKDYHDWOHDVWRQHKROGHURID&ODLPRU(TXLW\,QWHUHVWWKDWLV



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  $OORZHGLQDQDPRXQWJUHDWHUWKDQ]HURIRUSXUSRVHVRIYRWLQJWRDFFHSWRUUHMHFWWKH3ODQDQGDUH

  GLVUHJDUGHG IRU SXUSRVHV RI GHWHUPLQLQJ ZKHWKHU WKH 3ODQ VDWLVILHV VHFWLRQ  D   RI WKH

  %DQNUXSWF\&RGHZLWKUHVSHFWWRVXFK&ODVV7KHSXUSRVHRIWKLVSURYLVLRQLVWRSURYLGHWKDWD

  &ODVVWKDWGRHVQRWKDYHYRWLQJPHPEHUVVKDOOQRWEHLQFOXGHGLQWKHWDEXODWLRQRIZKHWKHUWKDW

  &ODVV KDV DFFHSWHG RU UHMHFWHG WKH 3ODQ3XUVXDQWWRWKH9RWLQJ&HUWLILFDWLRQVWKHRQO\YRWLQJ

  &ODVV RI &ODLPV RU (TXLW\ ,QWHUHVWV WKDW GLG QRW KDYH DQ\ PHPEHUV LV &ODVV  5HWDLQHG

  (PSOR\HHV $VQRWHGDERYH&ODVVGRHVQRWKDYHDQ\YRWLQJPHPEHUVEHFDXVHDQ\SRWHQWLDO

  &ODLPVLQ&ODVVZRXOGQRWDULVHH[FHSWRQDFFRXQWRIDQ\FXUUHQWHPSOR\HHVRIWKH'HEWRUZKR

  PD\EHHPSOR\HGDVRIWKH(IIHFWLYH'DWHZKLFKLVFXUUHQWO\XQNQRZQ7KXVWKHHOLPLQDWLRQRI

  YDFDQW&ODVVHVSURYLGHGLQ$UWLFOH,,,&RIWKH3ODQGRHVQRWYLRODWHVHFWLRQRIWKH%DQNUXSWF\

  &RGH&ODVVLVSURSHUO\GLVUHJDUGHGIRUSXUSRVHVRIGHWHUPLQLQJZKHWKHURUQRWWKH3ODQKDV

  EHHQDFFHSWHGXQGHU%DQNUXSWF\&RGHVHFWLRQ D  EHFDXVHWKHUHDUHQRPHPEHUVLQWKDW

  &ODVV+RZHYHUWKH3ODQSURSHUO\SURYLGHVIRUWKHWUHDWPHQWRIDQ\&ODLPVWKDWPD\SRWHQWLDOO\

  EHFRPHPHPEHUVRI&ODVVDVRIWKH(IIHFWLYH'DWHLQDFFRUGDQFHZLWKWKHWHUPVRIWKH3ODQ7KH

  3ODQWKHUHIRUHVDWLVILHVVHFWLRQRIWKH%DQNUXSWF\&RGH

                         &ODVVLILFDWLRQRI&ODLPVDQG'HVLJQDWLRQRI1RQ&ODVVLILHG&ODLPV 

  86& D  6HFWLRQ D  RIWKH%DQNUXSWF\&RGHUHTXLUHVWKDWWKH3ODQ

  VSHFLI\WKHFODVVLILFDWLRQRIFODLPVDQGHTXLW\VHFXULW\LQWHUHVWVSXUVXDQWWRVHFWLRQRIWKH

  %DQNUXSWF\&RGHRWKHUWKDQFODLPVVSHFLILHGLQVHFWLRQV D   D  RU D  RIWKH

  %DQNUXSWF\&RGH,QDGGLWLRQWR$GPLQLVWUDWLYH&ODLPV3URIHVVLRQDO)HH&ODLPVDQG3ULRULW\

  7D[&ODLPVHDFKRIZKLFKQHHGQRWEHFODVVLILHGSXUVXDQWWRVHFWLRQ D  RIWKH%DQNUXSWF\



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  &RGHWKH3ODQGHVLJQDWHVHOHYHQ  &ODVVHVRI&ODLPVDQG(TXLW\,QWHUHVWV7KH3ODQVDWLVILHV

  VHFWLRQVDQG D  RIWKH%DQNUXSWF\&RGH

                         6SHFLILFDWLRQRI8QLPSDLUHG&ODVVHV 86& D  $UWLFOH,,,

  RI WKH 3ODQ VSHFLILHV WKDW HDFK RI &ODVV  -HIIHULHV 6HFXUHG &ODLP  &ODVV  2WKHU 6HFXUHG

  &ODLPV &ODVV 3ULRULW\1RQ7D[&ODLPV &ODVV 5HWDLQHG(PSOR\HH&ODLPV DQG&ODVV

      372&ODLPV DUH8QLPSDLUHGXQGHUWKH3ODQ7KXVWKHUHTXLUHPHQWRIVHFWLRQ D  RIWKH

  %DQNUXSWF\&RGHLVVDWLVILHG

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   D  $UWLFOH,,,RIWKH3ODQGHVLJQDWHVHDFKRI&ODVV )URQWLHU6HFXUHG&ODLP &ODVV

      &RQYHQLHQFH&ODLPV &ODVV *HQHUDO8QVHFXUHG&ODLPV &ODVV 6XERUGLQDWHG&ODLPV &ODVV

   &ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWV DQG&ODVV &ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWV 

  DV,PSDLUHGDQGVSHFLILHVWKHWUHDWPHQWRI&ODLPVDQG(TXLW\,QWHUHVWVLQVXFK&ODVVHV7KXVWKH

  UHTXLUHPHQWRIVHFWLRQ D  RIWKH%DQNUXSWF\&RGHLVVDWLVILHG

                         1R'LVFULPLQDWLRQ 86& D  7KH3ODQSURYLGHVIRUWKH

  VDPHWUHDWPHQWE\WKH3ODQSURSRQHQWIRUHDFK&ODLPRU(TXLW\,QWHUHVWLQHDFKUHVSHFWLYH&ODVV

  XQOHVVWKH+ROGHURIDSDUWLFXODU&ODLPRU(TXLW\,QWHUHVWKDVDJUHHGWRDOHVVIDYRUDEOHWUHDWPHQW

  RIVXFK&ODLPRU(TXLW\,QWHUHVW7KH3ODQVDWLVILHVWKLVUHTXLUHPHQWEHFDXVH+ROGHUVRI$OORZHG

  &ODLPVRU(TXLW\,QWHUHVWVLQHDFK&ODVVZLOOUHFHLYHWKHVDPHULJKWVDQGWUHDWPHQWDVRWKHU+ROGHUV

  RI$OORZHG&ODLPVRU(TXLW\,QWHUHVWVZLWKLQVXFKKROGHU¶VUHVSHFWLYHFODVVVXEMHFWRQO\WRWKH

  YROXQWDU\³RSWRXW´RSWLRQVDIIRUGHGWRPHPEHUVRI&ODVVDQG&ODVVLQDFFRUGDQFHZLWKWKH

  WHUPVRIWKH3ODQ7KXVWKHUHTXLUHPHQWRIVHFWLRQ D  RIWKH%DQNUXSWF\&RGHLVVDWLVILHG



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                         ,PSOHPHQWDWLRQRIWKH3ODQ 86& D  $UWLFOH,9RIWKH

  3ODQVHWVIRUWKWKHPHDQVIRULPSOHPHQWDWLRQRIWKH3ODQZKLFKLQFOXGHVEXWLVQRWOLPLWHGWRWKH

  HVWDEOLVKPHQWRI L WKH&ODLPDQW7UXVW LL WKH/LWLJDWLRQ6XE7UXVW LLL WKH5HRUJDQL]HG'HEWRU

  DQG LY 1HZ*3//&LQWKHPDQQHUVHWIRUWKLQWKH3ODQ'RFXPHQWVWKHIRUPVRIZKLFKDUH

  LQFOXGHGLQWKH3ODQ6XSSOHPHQWV

           D      7KH &ODLPDQW 7UXVW  7KH &ODLPDQW 7UXVW $JUHHPHQW SURYLGHV IRU WKH
                    PDQDJHPHQW RI WKH &ODLPDQW 7UXVW DV ZHOO DV WKH 5HRUJDQL]HG 'HEWRU ZLWK WKH
                    &ODLPDQW7UXVWVHUYLQJDVWKHPDQDJLQJPHPEHURI1HZ*3//& DZKROO\RZQHG
                    VXEVLGLDU\RIWKH&ODLPDQW7UXVWWKDWZLOOPDQDJHWKH5HRUJDQL]HG'HEWRUDVLWV
                    JHQHUDOSDUWQHU 7KH&ODLPDQW7UXVWWKH&ODLPDQW7UXVWHHWKHPDQDJHPHQWDQG
                    PRQHWL]DWLRQRIWKH&ODLPDQW7UXVW$VVHWVDQGWKHPDQDJHPHQWRIWKH5HRUJDQL]HG
                    'HEWRU WKURXJKWKH&ODLPDQW7UXVW¶VUROHDVPDQDJLQJPHPEHURI1HZ*3//& 
                    DQG WKH /LWLJDWLRQ 6XE7UXVW ZLOO DOO EH PDQDJHG DQG RYHUVHHQ E\ WKH &ODLPDQW
                    7UXVW2YHUVLJKW&RPPLWWHH$GGLWLRQDOO\WKH3ODQSURYLGHVIRUWKHWUDQVIHUWRWKH
                    &ODLPDQW7UXVWRIDOORIWKH'HEWRU¶VULJKWVWLWOHDQGLQWHUHVWLQDQGWRDOORIWKH
                    &ODLPDQW7UXVW$VVHWVLQDFFRUGDQFHZLWKVHFWLRQRIWKH%DQNUXSWF\&RGHDQG
                    IRUWKH&ODLPDQW7UXVW$VVHWVWRDXWRPDWLFDOO\YHVWLQWKH&ODLPDQW7UXVWIUHHDQG
                    FOHDURIDOO&ODLPV/LHQVHQFXPEUDQFHVRULQWHUHVWVVXEMHFWRQO\WRWKH&ODLPDQW
                    7UXVW,QWHUHVWVDQGWKH&ODLPDQW7UXVW([SHQVHVDVSURYLGHGIRULQWKH&ODLPDQW
                    7UXVW$JUHHPHQW7KH&ODLPDQW7UXVWZLOODGPLQLVWHUWKH&ODLPDQW7UXVW$VVHWVDV
                    SURYLGHGXQGHUWKH3ODQDQGWKH&ODLPDQW7UXVW$JUHHPHQWFRQWDLQHGLQWKH3ODQ
                    6XSSOHPHQWV

           E      7KH /LWLJDWLRQ 6XE7UXVW  7KH 3ODQ DQG WKH /LWLJDWLRQ 6XE7UXVW $JUHHPHQW
                    SURYLGHIRUWKHWUDQVIHUWRWKH/LWLJDWLRQ6XE7UXVWDOORIWKH&ODLPDQW7UXVW¶VULJKWV
                    WLWOHDQGLQWHUHVWLQDQGWRDOORIWKH(VWDWH&ODLPV DVWUDQVIHUUHGWRWKH&ODLPDQW
                    7UXVWE\WKH'HEWRU LQDFFRUGDQFHZLWKVHFWLRQRIWKH%DQNUXSWF\&RGHDQG
                    IRUWKH(VWDWH&ODLPVWRDXWRPDWLFDOO\YHVWLQWKH/LWLJDWLRQ6XE7UXVWIUHHDQGFOHDU
                    RIDOO&ODLPV/LHQVHQFXPEUDQFHVRULQWHUHVWVVXEMHFWRQO\WRWKH/LWLJDWLRQ6XE
                    7UXVW ,QWHUHVWV DQG WKH /LWLJDWLRQ 6XE7UXVW ([SHQVHV DV SURYLGHG IRU LQ WKH
                    /LWLJDWLRQ 6XE7UXVW $JUHHPHQW  7KH /LWLJDWLRQ 7UXVWHH LV FKDUJHG ZLWK
                    LQYHVWLJDWLQJSXUVXLQJDQGRWKHUZLVHUHVROYLQJDQ\(VWDWH&ODLPV LQFOXGLQJWKRVH
                    ZLWKUHVSHFWWRZKLFKWKH&RPPLWWHHKDVVWDQGLQJWRSXUVXHSULRUWRWKH(IIHFWLYH
                    'DWHSXUVXDQWWRWKH-DQXDU\2UGHU SXUVXDQWWRWKHWHUPVRIWKH/LWLJDWLRQ6XE
                    7UXVW$JUHHPHQWDQGWKH3ODQUHJDUGOHVVRIZKHWKHUDQ\OLWLJDWLRQZLWKUHVSHFWWR
                    DQ\ (VWDWH &ODLP ZDV FRPPHQFHG E\ WKH 'HEWRU RU WKH &RPPLWWHH SULRU WR WKH
                    (IIHFWLYH'DWH


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           F      7KH 5HRUJDQL]HG 'HEWRU  7KH 5HRUJDQL]HG 'HEWRU ZLOO DGPLQLVWHU WKH
                    5HRUJDQL]HG 'HEWRU $VVHWV ZKLFK LQFOXGHV PDQDJLQJ WKH ZLQG GRZQ RI WKH
                    0DQDJHG)XQGV

  7KHSUHFLVHWHUPVJRYHUQLQJWKHH[HFXWLRQRIWKHVHUHVWUXFWXULQJWUDQVDFWLRQVDUHVHWIRUWKLQJUHDWHU

  GHWDLO LQ WKH DSSOLFDEOH GHILQLWLYH GRFXPHQWV LQFOXGHG LQ WKH 3ODQ 6XSSOHPHQWV LQFOXGLQJ WKH

  &ODLPDQW 7UXVW $JUHHPHQW WKH /LWLJDWLRQ 6XE7UXVW $JUHHPHQW DQG WKH 6FKHGXOH RI 5HWDLQHG

  &DXVHVRI$FWLRQ7KH3ODQWRJHWKHUZLWKWKHGRFXPHQWVDQGIRUPVRIDJUHHPHQWLQFOXGHGLQWKH

  3ODQ6XSSOHPHQWVSURYLGHVDGHWDLOHGEOXHSULQWIRUWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH3ODQ7KH

  3ODQ¶VYDULRXVPHFKDQLVPVSURYLGHIRUWKH'HEWRU¶VFRQWLQXHGPDQDJHPHQWRILWVEXVLQHVVDVLW

  VHHNVWROLTXLGDWHWKH'HEWRU¶VDVVHWVZLQGGRZQLWVDIIDLUVDQGSD\WKH&ODLPVRIWKH'HEWRU¶V

  FUHGLWRUV8SRQIXOOSD\PHQWRI$OORZHG&ODLPVSOXVLQWHUHVWDVSURYLGHGLQWKH3ODQDQ\UHVLGXDO

  YDOXHZRXOGWKHQIORZWRWKHKROGHUVRI&ODVV &ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWV DQG

  &ODVV  &ODVV $ /LPLWHG 3DUWQHUVKLS ,QWHUHVWV   )LQDOO\ 0U 6HHU\ WHVWLILHG WKDW WKH 'HEWRU

  HQJDJHGLQVXEVWDQWLDODQGDUP¶VOHQJWKQHJRWLDWLRQVZLWKWKH&RPPLWWHHUHJDUGLQJWKH'HEWRU¶V

  SRVW(IIHFWLYH 'DWH FRUSRUDWH JRYHUQDQFH DV UHIOHFWHG LQ WKH 3ODQ  0U 6HHU\ WHVWLILHG WKDW KH

  EHOLHYHVWKHVHOHFWLRQRIWKH&ODLPDQW7UXVWHH/LWLJDWLRQ7UXVWHHDQGPHPEHUVRIWKH&ODLPDQW

  7UXVW2YHUVLJKW%RDUGDUHLQWKHEHVWLQWHUHVWVRIWKH'HEWRU¶VHFRQRPLFFRQVWLWXHQWV7KXVWKH

  UHTXLUHPHQWVRIVHFWLRQ D  RIWKH%DQNUXSWF\&RGHDUHVDWLVILHG

                         1RQ9RWLQJ(TXLW\6HFXULWLHV 86& D  7KH'HEWRULV

  QRWDFRUSRUDWLRQDQGWKHFKDUWHUGRFXPHQWVILOHGLQWKH3ODQ6XSSOHPHQWVRWKHUZLVHFRPSO\ZLWK

  VHFWLRQ D  RIWKH%DQNUXSWF\&RGH7KHUHIRUHWKHUHTXLUHPHQWRIVHFWLRQ D  RI

  WKH%DQNUXSWF\&RGHLVVDWLVILHG




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                         6HOHFWLRQRI2IILFHUVDQG'LUHFWRUV 86& D  $UWLFOH,9

  RI WKH 3ODQ SURYLGHV IRU WKH &ODLPDQW 7UXVW WR EH JRYHUQHG DQG DGPLQLVWHUHG E\ WKH &ODLPDQW

  7UXVWHH7KH&ODLPDQW7UXVWWKHPDQDJHPHQWRIWKH5HRUJDQL]HG'HEWRUDQGWKHPDQDJHPHQW

  DQGPRQHWL]DWLRQRIWKH&ODLPDQW7UXVW$VVHWVDQGWKH/LWLJDWLRQ6XE7UXVWZLOOEHPDQDJHGE\

  WKH&ODLPDQW7UXVW2YHUVLJKW%RDUG7KH&ODLPDQW7UXVW2YHUVLJKW%RDUGZLOOFRQVLVWRI  (ULF

  )HOWRQDVUHSUHVHQWDWLYHRIWKH5HGHHPHU&RPPLWWHH  -RVKXD7HUU\DVUHSUHVHQWDWLYHRI$FLV

       (OL]DEHWK.R]ORZVNLDVUHSUHVHQWDWLYHRI8%6  3DXO0F9R\DVUHSUHVHQWDWLYHRI0HWD(

  'LVFRYHU\ DQG   'DYLG 3DXNHU  )RXU RI WKH PHPEHUV RI WKH &ODLPDQW 7UXVW 2YHUVLJKW

  &RPPLWWHHDUHWKHKROGHUVRIVHYHUDORIWKHODUJHVW&ODLPVDJDLQVWWKH'HEWRUDQGRUDUHFXUUHQW

  PHPEHUVRIWKH&RPPLWWHH(DFKRIWKHVHFUHGLWRUVKDVDFWLYHO\SDUWLFLSDWHGLQWKH'HEWRU¶VFDVH

  ERWK WKURXJK WKHLU ILGXFLDU\ UROHV DV &RPPLWWHH PHPEHUV DQG LQ WKHLU LQGLYLGXDO FDSDFLWLHV DV

  FUHGLWRUV7KH\DUHWKHUHIRUHLQWLPDWHO\IDPLOLDUZLWKWKH'HEWRULWVEXVLQHVVDQGDVVHWV7KH

  ILIWK PHPEHU RI WKH &ODLPDQW 7UXVWHH 2YHUVLJKW %RDUG 'DYLG 3DXNHU LV D GLVLQWHUHVWHG

  UHVWUXFWXULQJ DGYLVRU DQG WXUQDURXQG PDQDJHU ZLWK PRUH WKDQ  \HDUV RI H[SHULHQFH DGYLVLQJ

  SXEOLFDQGSULYDWHFRPSDQLHVDQGWKHLULQYHVWRUVDQGKHKDVVXEVWDQWLDOH[SHULHQFHRYHUVHHLQJ

  DGYLVLQJRULQYHVWLJDWLQJWURXEOHGFRPSDQLHVLQWKHILQDQFLDOVHUYLFHVLQGXVWU\DQGKDVDGYLVHGRU

  PDQDJHGVXFKFRPSDQLHVRQEHKDOIRIERDUGVRUGLUHFWRUVFRXUWDSSRLQWHGWUXVWHHVH[DPLQHUVDQG

  VSHFLDOPDVWHUVJRYHUQPHQWDJHQFLHVDQGSULYDWHLQYHVWRUSDUWLHV7KHPHPEHUVRIWKH&ODLPDQW

  7UXVW2YHUVLJKW%RDUGZLOOVHUYHZLWKRXWFRPSHQVDWLRQH[FHSWIRU0U3DXNHUZKRZLOOUHFHLYH

  SD\PHQWRIIRUKLVILUVW\HDURIVHUYLFHDQGIRUVXEVHTXHQW\HDUV




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                         6HOHFWLRQRI7UXVWHHV7KH3ODQ6XSSOHPHQWVGLVFORVHWKDW0U6HHU\ZLOO

  VHUYHDVWKH&ODLPDQW7UXVWHHDQG0DUF.LUVFKQHUZLOOVHUYHDVWKH/LWLJDWLRQ7UXVWHH$VQRWHG

  DERYH0U6HHU\KDVVHUYHG DVDQ ,QGHSHQGHQW %RDUG PHPEHU VLQFH -DQXDU\  DQG DV WKH

  &KLHI([HFXWLYH2IILFHUDQG&KLHI5HVWUXFWXULQJ2IILFHUVLQFH-XO\DQGKHKDVH[WHQVLYH

  PDQDJHPHQWDQGUHVWUXFWXULQJH[SHULHQFHDVHYLGHQFHGIURPKLVFXUULFXOXPYLWDHZKLFKLVSDUWRI

  WKH UHFRUG  7KH HYLGHQFH VKRZV WKDW 0U 6HHU\ LV LQWLPDWHO\ IDPLOLDU ZLWK WKH 'HEWRU¶V

  RUJDQL]DWLRQDOVWUXFWXUHEXVLQHVVDQGDVVHWVDVZHOODVKRZ&ODLPVZLOOEHWUHDWHGXQGHUWKH3ODQ

  $FFRUGLQJO\LWLVUHDVRQDEOHDQGLQWKH(VWDWH¶VEHVWLQWHUHVWVWRFRQWLQXH0U6HHU\¶VHPSOR\PHQW

  SRVWHPHUJHQFH DV WKH &ODLPDQW 7UXVWHH  0U 6HHU\ XSRQ FRQVXOWDWLRQ ZLWK WKH &RPPLWWHH

  WHVWLILHGWKDWKHLQWHQGVWRHPSOR\DSSUR[LPDWHO\RIWKH'HEWRU¶VHPSOR\HHVWRHQDEOHKLPWR

  PDQDJHWKH'HEWRU¶VEXVLQHVVXQWLOWKH&ODLPDQW7UXVWHIIHFWLYHO\PRQHWL]HVLWVUHPDLQLQJDVVHWV

  LQVWHDGRIKLULQJDVXEVHUYLFHUWRDFFRPSOLVKWKRVHWDVNV0U6HHU\WHVWLILHGWKDWKHEHOLHYHVWKDW

  WKH'HEWRU¶VSRVWFRQILUPDWLRQEXVLQHVVFDQPRVWHIILFLHQWO\DQGFRVWHIIHFWLYHO\EHVXSSRUWHGE\

  D VXEVHW RIWKH 'HEWRU¶VFXUUHQW HPSOR\HHV ZKR ZLOOEH PDQDJHGLQWHUQDOO\0U6HHU\ VKDOO

  LQLWLDOO\EHSDLGSHUPRQWKIRUVHUYLFHVUHQGHUHGDIWHUWKH(IIHFWLYH'DWHDV&ODLPDQW

  7UXVWHHKRZHYHU0U6HHU\¶VORQJWHUPVDODU\DV&ODLPDQW7UXVWHHDQGWKHWHUPVRIDQ\ERQXVHV

  DQGVHYHUDQFHDUHVXEMHFWWRIXUWKHUQHJRWLDWLRQE\0U6HHU\DQGWKH&ODLPDQW7UXVW2YHUVLJKW

  %RDUG ZLWKLQ IRUW\ILYH   GD\V DIWHU WKH (IIHFWLYH 'DWH  7KH %DQNUXSWF\ &RXUW KDV DOVR

  UHYLHZHG0U.LUVFKQHU¶VFXUULFXOXPYLWDH0U.LUVFKQHUKDVEHHQSUDFWLFLQJODZVLQFHDQG

  KDVVXEVWDQWLDOH[SHULHQFHLQEDQNUXSWF\OLWLJDWLRQPDWWHUVSDUWLFXODUO\ZLWKUHVSHFWWRKLVSULRU

  H[SHULHQFH DV D OLWLJDWLRQ WUXVWHH IRU VHYHUDO OLWLJDWLRQ WUXVWV DV VHW IRUWK RQ WKH UHFRUG RI WKH



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  &RQILUPDWLRQ+HDULQJDQGLQWKH&RQILUPDWLRQ%ULHI0U.LUVFKQHUVKDOOEHSDLGSHU

  PRQWKIRUWKHILUVWWKUHHPRQWKVDQGSHUPRQWKWKHUHDIWHUSOXVDVXFFHVVIHHUHODWHGWR

  OLWLJDWLRQUHFRYHULHV7KH&RPPLWWHHDQGWKH'HEWRUKDGDUP¶VOHQJWKVQHJRWLDWLRQVUHJDUGLQJWKH

  SRVW(IIHFWLYH'DWHFRUSRUDWHJRYHUQDQFHVWUXFWXUHRIWKH5HRUJDQL]HG'HEWRUDQGEHOLHYHWKDWWKH

  VHOHFWLRQ RI WKH &ODLPDQW 7UXVWHH WKH /LWLJDWLRQ 7UXVWHH DQG WKH &ODLPDQW 7UXVW 2YHUVLJKW

  &RPPLWWHHDUHLQWKHEHVWLQWHUHVWVRIWKH'HEWRU¶VHFRQRPLFVWDNHKROGHUV6HFWLRQ D  RI

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  DSSOLFDEOHSURYLVLRQVRI WKH%DQNUXSWF\&RGHLQFOXGLQJVHFWLRQVDQG

   RI WKH %DQNUXSWF\ &RGH WKH %DQNUXSWF\ 5XOHV DQG WKH 'LVFORVXUH 6WDWHPHQW 2UGHU

  JRYHUQLQJ QRWLFH GLVFORVXUH DQG VROLFLWDWLRQ LQ FRQQHFWLRQ ZLWK WKH 3ODQ WKH 'LVFORVXUH

  6WDWHPHQW WKH 3ODQ 6XSSOHPHQWV DQG DOO RWKHUPDWWHUV FRQVLGHUHG E\ WKH %DQNUXSWF\ &RXUW LQ

  FRQQHFWLRQZLWKWKLV&KDSWHU&DVH

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  6WDWHPHQW2UGHU%HIRUHWKH'HEWRUVROLFLWHGYRWHVRQWKH3ODQWKH%DQNUXSWF\&RXUWHQWHUHG

  WKH'LVFORVXUH6WDWHPHQW2UGHU,QDFFRUGDQFHZLWKWKH'LVFORVXUH6WDWHPHQW2UGHUDQGHYLGHQFHG

  E\WKH$IILGDYLWVRI6HUYLFHDQG3XEOLFDWLRQWKH'HEWRUDSSURSULDWHO\VHUYHG L WKH6ROLFLWDWLRQ

  3DFNDJHV DVGHILQHGLQWKH'LVFORVXUH6WDWHPHQW2UGHU RQWKH+ROGHUVRI&ODLPVLQ&ODVVHV

  DQGDQG+ROGHUVRI(TXLW\,QWHUHVWVLQ&ODVVHVDQGZKRZHUHHQWLWOHGWRYRWHRQWKH3ODQ

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  &RQILUPDWLRQ+HDULQJ1RWLFHWRWKH+ROGHUVRI&ODLPVLQ&ODVVHVDQGZKRZHUHQRW

  HQWLWOHGWRYRWHRQWKH3ODQSXUVXDQWWRWKH'LVFORVXUH6WDWHPHQW2UGHU7KH'LVFORVXUH6WDWHPHQW

  2UGHUDSSURYHGWKHFRQWHQWVRIWKH6ROLFLWDWLRQ3DFNDJHVSURYLGHGWR+ROGHUVRI&ODLPVDQG(TXLW\

  ,QWHUHVWVHQWLWOHGWRYRWHRQWKH3ODQWKHQRWLFHVSURYLGHGWRSDUWLHVQRWHQWLWOHGWRYRWHRQWKH3ODQ

  DQGWKHGHDGOLQHVIRUYRWLQJRQDQGREMHFWLQJWRWKH3ODQ7KH'HEWRUDQG.&&HDFKFRPSOLHG

  ZLWKWKHFRQWHQWDQGGHOLYHU\UHTXLUHPHQWVRIWKH'LVFORVXUH6WDWHPHQW2UGHUWKHUHE\VDWLVI\LQJ

  VHFWLRQV D DQG E RIWKH%DQNUXSWF\&RGHDVHYLGHQFHGE\WKH$IILGDYLWVRI6HUYLFHDQG

  3XEOLFDWLRQ7KH'HEWRUDOVRVDWLVILHGVHFWLRQ F RIWKH%DQNUXSWF\&RGHZKLFKSURYLGHV

  WKDWWKHVDPHGLVFORVXUHVWDWHPHQWPXVWEHWUDQVPLWWHGWRHDFKKROGHURIDFODLPRULQWHUHVWLQD

  SDUWLFXODUFODVV7KH'HEWRUFDXVHGWKHVDPH'LVFORVXUH6WDWHPHQWWREHWUDQVPLWWHGWRDOOKROGHUV

  RI&ODLPVDQG(TXLW\,QWHUHVWVHQWLWOHGWRYRWHRQWKH3ODQ7KH'HEWRUKDVFRPSOLHGLQDOOUHVSHFWV

  ZLWK WKH VROLFLWDWLRQ UHTXLUHPHQWV RI VHFWLRQ  RI WKH %DQNUXSWF\ &RGH DQG WKH 'LVFORVXUH

  6WDWHPHQW2UGHU7KH%DQNUXSWF\&RXUWUHMHFWVWKHDUJXPHQWVRIWKH0U'RQGHURDQGFHUWDLQ

  'RQGHUR5HODWHG(QWLWLHVWKDWWKHFKDQJHVPDGHWRFHUWDLQDVVXPSWLRQVDQGSURMHFWLRQVIURPWKH

  /LTXLGDWLRQ $QDO\VLV DQQH[HG DV ([KLELW & WR WKH 'LVFORVXUH 6WDWHPHQW WKH ³/LTXLGDWLRQ

  $QDO\VLV´ WRWKH$PHQGHG/LTXLGDWLRQ$QDO\VLV)LQDQFLDO3URMHFWLRQVUHTXLUHUHVROLFLWDWLRQRIWKH

  3ODQ7KH%DQNUXSWF\&RXUWKHDUGFUHGLEOHWHVWLPRQ\IURP0U6HHU\UHJDUGLQJWKHFKDQJHVWR

  WKH/LTXLGDWLRQ$QDO\VLVDVUHIOHFWHGLQWKH$PHQGHG/LTXLGDWLRQ$QDO\VLV)LQDQFLDO3URMHFWLRQV

  %DVHGRQWKHUHFRUGLQFOXGLQJWKHWHVWLPRQ\RI0U6HHU\WKH%DQNUXSWF\&RXUWILQGVWKDWWKH

  FKDQJHV EHWZHHQ WKH /LTXLGDWLRQ $QDO\VLV DQG WKH $PHQGHG /LTXLGDWLRQ $QDO\VLV)LQDQFLDO

  3URMHFWLRQV GR QRW FRQVWLWXWH PDWHULDOO\ DGYHUVH FKDQJH WR WKH WUHDWPHQW RI &ODLPV RU (TXLW\



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  ,QWHUHVWV,QVWHDGWKHFKDQJHVVHUYHGWRXSGDWHWKHSURMHFWHGGLVWULEXWLRQVEDVHGRQ&ODLPVWKDW

  ZHUH VHWWOHG DIWHU WKH DSSURYDO RI WKH 'LVFORVXUH 6WDWHPHQW DQG WR RWKHUZLVH LQFRUSRUDWH PRUH

  UHFHQW ILQDQFLDO GDWD  6XFK FKDQJHV ZHUH HQWLUHO\ IRUHVHHDEOH JLYHQ WKH ODUJH DPRXQW RI

  XQOLTXLGDWHG &ODLPV DW WKH WLPH WKH 'LVFORVXUH 6WDWHPHQW ZDV DSSURYHG DQG WKH QDWXUH RI WKH

  'HEWRU¶VDVVHWV7KH%DQNUXSWF\&RXUWWKHUHIRUHILQGVWKDWKROGHUVRI&ODLPVDQG(TXLW\,QWHUHVWV

  ZHUHQRWPLVOHGRUSUHMXGLFHGE\WKH$PHQGHG/LTXLGDWLRQ$QDO\VLV)LQDQFLDO3URMHFWLRQVDQGWKH

  3ODQGRHVQRWQHHGWREHUHVROLFLWHG

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  IRUELGGHQE\ODZWKHUHE\VDWLVI\LQJVHFWLRQ D  RIWKH%DQNUXSWF\&RGH,QGHWHUPLQLQJ

  WKDWWKH3ODQKDVEHHQSURSRVHGLQJRRGIDLWKWKH%DQNUXSWF\&RXUWKDVH[DPLQHGWKHWRWDOLW\RI

  WKHFLUFXPVWDQFHVVXUURXQGLQJWKHILOLQJRIWKLV&KDSWHU&DVHWKH3ODQLWVHOIDQGWKHH[WHQVLYH

  XQUHEXWWHGWHVWLPRQ\RI0U6HHU\LQZKLFKKHGHVFULEHGWKHSURFHVVOHDGLQJWR3ODQ¶VIRUPXODWLRQ

  %DVHGRQWKHWRWDOLW\RIWKHFLUFXPVWDQFHVDQG0U6HHU\¶VWHVWLPRQ\WKH%DQNUXSWF\&RXUWILQGV

  WKDWWKH3ODQLVWKHUHVXOWRIH[WHQVLYHDUP¶VOHQJWKQHJRWLDWLRQVDPRQJWKH'HEWRUWKH&RPPLWWHH

  DQG NH\ VWDNHKROGHUV DQG SURPRWHV WKH REMHFWLYHV DQG SXUSRVHV RI WKH %DQNUXSWF\ &RGH

  6SHFLILFDOO\ WKH 'HEWRU¶V JRRG IDLWK LQ SURSRVLQJ WKH 3ODQ LV VXSSRUWHG E\ WKH IROORZLQJ IDFWV

  DGGXFHGE\0U6HHU\

           D      7KH ,QGHSHQGHQW %RDUG GHWHUPLQHG WKDW LW VKRXOG FRQVLGHU DOO SRWHQWLDO
                    UHVWUXFWXULQJ DOWHUQDWLYHV LQFOXGLQJ SXUVXLW RI D WUDGLWLRQDO UHVWUXFWXULQJ DQG WKH
                    FRQWLQXDWLRQRIWKH'HEWRU¶VEXVLQHVVDSRWHQWLDOVDOHRIWKH'HEWRU¶VDVVHWVLQRQH
                    RU PRUH WUDQVDFWLRQV DQ DVVHW PRQHWL]DWLRQ SODQ VLPLODU WR WKDW GHVFULEHG LQ WKH
                    3ODQ DQG D VRFDOOHG ³JUDQG EDUJDLQ´ SODQ WKDW ZRXOG LQYROYH 0U 'RQGHUR¶V
                    VSRQVRUVKLSRIDSODQZLWKDVXEVWDQWLDOHTXLW\LQIXVLRQ

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           E      7KH'HEWRUVXEVHTXHQWO\HQJDJHGLQDUP¶VOHQJWKJRRGIDLWKQHJRWLDWLRQVZLWKWKH
                    &RPPLWWHH RYHU DQ DVVHW PRQHWL]DWLRQ 3ODQ FRPPHQFLQJ LQ -XQH  ZKLFK
                    QHJRWLDWLRQVRFFXUUHGRYHUWKHQH[WVHYHUDOPRQWKV

           F      1HJRWLDWLRQVEHWZHHQWKH'HEWRUDQGWKH&RPPLWWHHZHUHRIWHQFRQWHQWLRXVRYHU
                    GLVSXWHVLQFOXGLQJEXWQRWOLPLWHGWRWKHSRVWFRQILUPDWLRQFRUSRUDWHJRYHUQDQFH
                    VWUXFWXUHDQGWKHVFRSHRIUHOHDVHVFRQWHPSODWHGE\WKH3ODQ

           G      :KLOHQHJRWLDWLRQVZLWKWKH&RPPLWWHHSURJUHVVHGWKH,QGHSHQGHQW%RDUGHQJDJHG
                    LQGLVFXVVLRQVZLWK0U'RQGHURUHJDUGLQJDSRWHQWLDO³JUDQGEDUJDLQ´SODQZKLFK
                    FRQWHPSODWHGDVLJQLILFDQWHTXLW\LQIXVLRQE\0U'RQGHURDQGZKLFK0U6HHU\
                    SHUVRQDOO\VSHQWKXQGUHGVRIKRXUVSXUVXLQJRYHUPDQ\PRQWKV

           H      2Q$XJXVWWKH%DQNUXSWF\&RXUWHQWHUHGWKHOrder Directing Mediation
                    >'RFNHW1R@SXUVXDQWWRZKLFKWKH%DQNUXSWF\&RXUWRUGHUHGWKH'HEWRUWKH
                    &RPPLWWHH 8%6 $FLV WKH 5HGHHPHU &RPPLWWHH DQG 0U 'RQGHUR LQWR
                    PHGLDWLRQ$VDUHVXOWRIWKLVPHGLDWLRQWKH'HEWRUQHJRWLDWHGWKHVHWWOHPHQWRI
                    WKHFODLPVRI$FLVDQG0U7HUU\ZKLFKWKH%DQNUXSWF\&RXUWDSSURYHGRQ2FWREHU
                    >'RFNHW1R@

           I      2Q $XJXVW   WKH 'HEWRU ILOHG LWV Chapter 11 Plan of 5HRUJDQL]DWLRQ of
                    Highland Capital Management, L.P >'RFNHW 1R @ WKH ³,QLWLDO 3ODQ´  DQG
                    UHODWHG GLVFORVXUH VWDWHPHQW WKH ³,QLWLDO 'LVFORVXUH 6WDWHPHQW´  ZKLFK ZHUH QRW
                    VXSSRUWHGE\HLWKHUWKH&RPPLWWHHRU0U'RQGHUR7KH,QGHSHQGHQW%RDUGILOHG
                    WKH ,QLWLDO 3ODQ DQG ,QLWLDO 'LVFORVXUH 6WDWHPHQW LQ RUGHU WR DFW DV D FDWDO\VW IRU
                    FRQWLQXHGGLVFXVVLRQVZLWKWKH&RPPLWWHHZKLOHLWVLPXOWDQHRXVO\ZRUNHGZLWK0U
                    'RQGHURRQWKH³JUDQGEDUJDLQ´SODQ

           J      7KH %DQNUXSWF\ &RXUW FRQGXFWHG D FRQWHVWHG KHDULQJ RQ WKH ,QLWLDO 'LVFORVXUH
                    6WDWHPHQW RQ 2FWREHU    7KH &RPPLWWHH DQG RWKHU SDUWLHV REMHFWHG WR
                    DSSURYDORIWKH'LVFORVXUH6WDWHPHQWDWWKH,QLWLDO'LVFORVXUH6WDWHPHQWKHDULQJ
                    ZKLFKZDVHYHQWXDOO\FRQWLQXHGWR1RYHPEHU

           K      )ROORZLQJ WKH ,QLWLDO 'LVFORVXUH 6WDWHPHQW KHDULQJ WKH 'HEWRU FRQWLQXHG WR
                    QHJRWLDWH ZLWK WKH &RPPLWWHH DQG XOWLPDWHO\ UHVROYHG WKH UHPDLQLQJ PDWHULDO
                    GLVSXWHVDQGOHGWRWKH%DQNUXSWF\&RXUW¶VDSSURYDORIWKH'LVFORVXUH6WDWHPHQWRQ
                    1RYHPEHU

           L      (YHQDIWHUREWDLQLQJWKH%DQNUXSWF\&RXUW¶VDSSURYDORIWKH'LVFORVXUH6WDWHPHQW
                    WKH'HEWRUDQGWKH&RPPLWWHHFRQWLQXHGWRQHJRWLDWHZLWK0U'RQGHURDQGWKH
                    &RPPLWWHHRYHUDSRWHQWLDO³SRWSODQ´DVDQDOWHUQDWLYHWRWKH3ODQRQILOHZLWKWKH
                    %DQNUXSWF\&RXUWEXWVXFKHIIRUWVZHUHXQVXFFHVVIXO7KLVKLVWRU\FRQFOXVLYHO\
                    GHPRQVWUDWHVWKDWWKH3ODQLVEHLQJSURSRVHGLQJRRGIDLWKZLWKLQWKHPHDQLQJRI
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  $UWLFOH ,,% RI WKH 3ODQ SURYLGHV WKDW 3URIHVVLRQDOV ZLOO ILOH DOO ILQDO UHTXHVWV IRU SD\PHQW RI

  3URIHVVLRQDO )HH &ODLPV QR ODWHU WKDQ  GD\V DIWHU WKH (IIHFWLYH 'DWH WKHUHE\ SURYLGLQJ DQ

  DGHTXDWHSHULRGRIWLPHIRULQWHUHVWHGSDUWLHVWRUHYLHZVXFKFODLPV7KHSURFHGXUHVVHWIRUWKLQ

  WKH 3ODQ IRU WKH %DQNUXSWF\ &RXUW¶V DSSURYDO RI WKH IHHV FRVWV DQG H[SHQVHV WR EH SDLG LQ

  FRQQHFWLRQZLWKWKLVFKDSWHU&DVHRULQFRQQHFWLRQZLWKWKH3ODQDQGLQFLGHQWWRWKLV&KDSWHU

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  RI WKH 3ODQ SURYLGHV IRU WKH DSSRLQWPHQW RI WKH &ODLPDQW 7UXVWHH /LWLJDWLRQ 7UXVWHH DQG WKH

  &ODLPDQW 7UXVW 2YHUVLJKW &RPPLWWHH DQG WKH PHPEHUV WKHUHWR  )RU WKH UHDVRQV PRUH IXOO\

  H[SODLQHG LQ SDUDJUDSKV  RI WKLV &RQILUPDWLRQ 2UGHU ZLWK UHVSHFW WR WKH UHTXLUHPHQW RI

  VHFWLRQ D  RIWKH%DQNUXSWF\&RGHWKH'HEWRUKDVGLVFORVHGWKHQDWXUHRIFRPSHQVDWLRQ

  RI DQ\ LQVLGHU WR EH HPSOR\HG RU UHWDLQHG E\ WKH 5HRUJDQL]HG 'HEWRU LI DSSOLFDEOH DQG

  FRPSHQVDWLRQIRUDQ\VXFKLQVLGHU7KHDSSRLQWPHQWRIVXFKLQGLYLGXDOVLVFRQVLVWHQWZLWKWKH

  LQWHUHVWVRI&ODLPVDQG(TXLW\,QWHUHVWVDQGZLWKSXEOLFSROLF\7KXVWKH3ODQVDWLVILHVVHFWLRQ

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  ,QWHUHVWLQVXFK,PSDLUHG&ODVVHVZLOOUHFHLYHRUUHWDLQSURSHUW\RIDYDOXHDVRIWKH(IIHFWLYH'DWH

  RI WKH 3ODQWKDWLVQRWOHVVWKDQWKH DPRXQWWKDWVXFK +ROGHUZRXOGVR UHFHLYHRU UHWDLQ LI WKH

  'HEWRUZHUHOLTXLGDWHGXQGHUFKDSWHURIWKH%DQNUXSWF\&RGH2Q2FWREHUWKH'HEWRU

  ILOHGWKH/LTXLGDWLRQ$QDO\VLV>'RFNHW@DVSUHSDUHGE\WKH'HEWRUZLWKWKHDVVLVWDQFHRILWV

  DGYLVRUVDQGZKLFKZDVDWWDFKHGDV([KLELW&WRWKH'LVFORVXUH6WDWHPHQW2Q-DQXDU\

  LQ DGYDQFH RI 0U 6HHU\¶V GHSRVLWLRQ LQ FRQQHFWLRQ ZLWK FRQILUPDWLRQ RI WKH 3ODQ WKH 'HEWRU

  SURYLGHG DQ XSGDWHG YHUVLRQ RI WKH /LTXLGDWLRQ $QDO\VLV WR WKH WKHQREMHFWRUV RI WKH 3ODQ

  LQFOXGLQJ0U'RQGHURDQGWKH'RQGHUR5HODWHG(QWLWLHV2Q)HEUXDU\WKH'HEWRUILOHG

  WKH $PHQGHG /LTXLGDWLRQ $QDO\VLV)LQDQFLDO 3URMHFWLRQV  7KH $PHQGHG /LTXLGDWLRQ

  $QDO\VLV)LQDQFLDO3URMHFWLRQVLQFOXGHGXSGDWHVWRWKH'HEWRU¶VSURMHFWHGDVVHWYDOXHVUHYHQXHV

  DQGH[SHQVHVWRUHIOHFW  WKHDFTXLVLWLRQRIDQLQWHUHVWLQDQHQWLW\NQRZQDV³+&/2)´WKDWWKH

  'HEWRUZLOODFTXLUHDVSDUWRILWVFRXUWDSSURYHGVHWWOHPHQWZLWK+DUERXU9HVWDQGWKDWZDVYDOXHG

  DWPLOOLRQ  DQLQFUHDVHLQWKHYDOXHRIFHUWDLQRIWKH'HEWRU¶VDVVHWVGXHWRFKDQJHVLQ

  PDUNHWFRQGLWLRQVDQGRWKHUIDFWRUV  H[SHFWHGUHYHQXHVDQGH[SHQVHVDULVLQJLQFRQQHFWLRQZLWK

  WKH 'HEWRU¶V FRQWLQXHG PDQDJHPHQW RIWKH&/2VSXUVXDQWWRPDQDJHPHQWDJUHHPHQWVWKDWWKH

  'HEWRUGHFLGHGWRUHWDLQ  LQFUHDVHVLQSURMHFWHGH[SHQVHVIRUKHDGFRXQW LQDGGLWLRQWRDGGLQJ

  WZR RU WKUHH HPSOR\HHV WR DVVLVW LQ WKH PDQDJHPHQW RI WKH &/2V WKH 'HEWRU DOVR LQFUHDVHG

  PRGHVWO\ WKH SURMHFWHG KHDGFRXQW DV D UHVXOW RI LWV GHFLVLRQ QRWWR HQJDJH D 6XE6HUYLFHU  DQG

  SURIHVVLRQDO IHHV DQG   DQ LQFUHDVH LQ SURMHFWHG UHFRYHULHV RQ QRWHV UHVXOWLQJ IURP WKH



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  DFFHOHUDWLRQ RI WHUP QRWHV RZHG WR WKH 'HEWRU E\ WKH IROORZLQJ 'RQGHUR 5HODWHG (QWLWLHV

  1H[3RLQW$GYLVRUV/3+LJKODQG&DSLWDO0DQDJHPHQW6HUYLFHV,QFDQG+&5(3DUWQHUV//&

      QND1H[3RLQW5HDO(VWDWH3DUWQHUV//& 8QGHUWKH3ODQDVRIWKH&RQILUPDWLRQ'DWH D &ODVV

  *HQHUDO8QVHFXUHG&UHGLWRUVDUHSURMHFWHGWRUHFHLYHRQDFFRXQWRIWKHLUFODLPVDQG E 

  &ODVV  *HQHUDO 8QVHFXUHG &UHGLWRUV DUH SURMHFWHG WR UHFHLYH DW OHDVW DSSUR[LPDWHO\  RQ

  DFFRXQWRIWKHLU&ODLPV8QGHUDK\SRWKHWLFDOFKDSWHUOLTXLGDWLRQDOOJHQHUDOXQVHFXUHGFUHGLWRUV

  DUHSURMHFWHGWRUHFHLYHDSSUR[LPDWHO\RQDFFRXQWRIWKHLU&ODLPV7KH%DQNUXSWF\&RXUW

  ILQGVWKDWWKHGLVWULEXWLRQVWKDW&ODVVDQG*HQHUDO8QVHFXUHG&UHGLWRUVDUHSURMHFWHGWRUHFHLYH

  XQGHUWKH3ODQVXEVWDQWLDOO\H[FHHGVWKDWZKLFKWKH\ZRXOGUHFHLYHXQGHUDFKDSWHUOLTXLGDWLRQ

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            D     7KHQDWXUHRIWKH'HEWRU¶VDVVHWVLVFRPSOH[&HUWDLQDVVHWVUHODWHWRFRPSOLFDWHG
                    UHDOHVWDWHVWUXFWXUHVDQGSULYDWHHTXLW\LQYHVWPHQWVLQRSHUDWLQJEXVLQHVVHV0U
                    6HHU\¶VH[WHQVLYHH[SHULHQFHZLWKWKH'HEWRUGXULQJWKHWKLUWHHQPRQWKVVLQFHKLV
                    DSSRLQWPHQW DV DQ ,QGHSHQGHQW 'LUHFWRU DQG ODWHU &KLHI ([HFXWLYH 2IILFHU DQG
                    &KLHI 5HVWUXFWXULQJ 2IILFHU SURYLGHV KLP ZLWK D VXEVWDQWLDO OHDUQLQJ FXUYH LQ
                    FRQQHFWLRQZLWKWKHGLVSRVLWLRQRIWKH'HEWRU¶VDVVHWVDQGDUHUHDVRQDEO\H[SHFWHG
                    WRUHVXOWLQKLPEHLQJDEOHWRUHDOL]HWHQVRIPLOOLRQVRIGROODUVPRUHYDOXHWKDQ
                    ZRXOGDFKDSWHUWUXVWHH

            E     $VVXPLQJ WKDW D K\SRWKHWLFDO FKDSWHU  WUXVWHH FRXOG HYHQ RSHUDWH WKH 'HEWRU¶V
                    EXVLQHVVXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHDQGKLUHWKHQHFHVVDU\SHUVRQQHO
                    ZLWK WKH UHOHYDQW NQRZOHGJH DQG H[SHULHQFH WR DVVLVW KLP RU KHU LQ VHOOLQJ WKH
                    'HEWRU¶VDVVHWVDFKDSWHUWUXVWHH ZRXOGOLNHO\ VHHNWRGLVSRVHRIWKH'HEWRU¶V
                    DVVHWVLQDIRUFHGVDOHOLTXLGDWLRQZKLFKZRXOGJHQHUDWHVXEVWDQWLDOO\OHVVYDOXHIRU
                    WKH'HEWRU¶VFUHGLWRUVWKDQWKHDVVHWPRQHWL]DWLRQSODQFRQWHPSODWHGE\WKH3ODQ

            F     $FKDSWHUWUXVWHHZRXOGEHXQOLNHO\WRUHWDLQWKH'HEWRU¶VH[LVWLQJSURIHVVLRQDOV
                    WRDVVLVWLQLWVHIIRUWVWRPRQHWL]HDVVHWVUHVXOWLQJLQGHOD\VLQFUHDVHGH[SHQVHV
                    DQGUHGXFHGDVVHW\LHOGVIRUWKHFKDSWHUHVWDWH



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            G     7KHFKDSWHUHVWDWHZRXOGEHXQOLNHO\WRPD[LPL]HYDOXHDVFRPSDUHGWRWKHDVVHW
                    PRQHWL]DWLRQSURFHVVFRQWHPSODWHGE\WKH3ODQEHFDXVHSRWHQWLDOEX\HUVDUHOLNHO\
                    WRSHUFHLYHDFKDSWHUWUXVWHHDVHQJDJLQJLQDTXLFNIRUFHG³ILUHVDOH´RIDVVHWV
                    DQG

            H     7KH 'HEWRU¶V HPSOR\HHV ZKR DUH YLWDO WR LWV HIIRUWV WR PD[LPXP YDOXH DQG
                    UHFRYHULHV IRU VWDNHKROGHUV PD\ EH XQZLOOLQJWR SURYLGH VHUYLFHV WR D FKDSWHU 
                    WUXVWHH

  )LQDOO\ WKHUH LV QR HYLGHQFH WR VXSSRUW WKH REMHFWRUV¶ DUJXPHQW WKDW WKH &ODLPDQW 7UXVW

  $JUHHPHQW¶VGLVFODLPHGOLDELOLW\IRURUGLQDU\QHJOLJHQFHE\WKH&ODLPDQW7UXVWHHFRPSDUHGWRD

  FKDSWHU  WUXVWHH¶VOLDELOLW\KDV DQ\ UHOHYDQFH WR FUHGLWRU UHFRYHULHVLQDK\SRWKHWLFDOFKDSWHU 

  OLTXLGDWLRQ7KXVVHFWLRQ D  RIWKH%DQNUXSWF\&RGHLVVDWLVILHG

                         $FFHSWDQFHE\&HUWDLQ&ODVVHV 86& D  &ODVVHV

  DQGDUH8QLPSDLUHGXQGHUWKH3ODQ&ODVV )URQWLHU6HFXUHG&ODLP &ODVV &RQYHQLHQFH

  &ODLPV DQG&ODVV 6XERUGLQDWHG&ODLPV KDYHHDFKYRWHGWRDFFHSWWKH3ODQLQDFFRUGDQFHZLWK

  WKH%DQNUXSWF\&RGHWKHUHE\VDWLVI\LQJVHFWLRQ D  DVWRWKRVH&ODVVHV+RZHYHU&ODVV

   *HQHUDO8QVHFXUHG&ODLPV &ODVV &ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWV DQG&ODVV

      &ODVV $ /LPLWHG 3DUWQHUVKLS ,QWHUHVWV  KDYH QRW DFFHSWHG WKH 3ODQ  $FFRUGLQJO\ VHFWLRQ

   D  RIWKH%DQNUXSWF\&RGHKDVQRWEHHQVDWLVILHG7KH3ODQKRZHYHULVVWLOOFRQILUPDEOH

  EHFDXVH LW VDWLVILHV WKH QRQFRQVHQVXDO FRQILUPDWLRQ SURYLVLRQV RI VHFWLRQ  E  DV VHW IRUWK

  EHORZ

                         7UHDWPHQW RI $GPLQLVWUDWLYH 3ULRULW\ 3ULRULW\ 7D[ &ODLPV DQG

  3URIHVVLRQDO )HH &ODLPV  86&   D    7KH WUHDWPHQW RI $GPLQLVWUDWLYH &ODLPV

  3ULRULW\&ODLPVDQG3URIHVVLRQDO)HH&ODLPVSXUVXDQWWR$UWLFOH,,,RIWKH3ODQDQGDVVHWIRUWK

  EHORZZLWKUHVSHFWWRWKHUHVROXWLRQRIWKHREMHFWLRQVILOHGE\WKH,QWHUQDO5HYHQXH6HUYLFHDQG



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  FHUWDLQ7H[DVWD[LQJDXWKRULWLHVVDWLVILHVWKHUHTXLUHPHQWVRIVHFWLRQV D  RIWKH%DQNUXSWF\

  &RGH

                         $FFHSWDQFH E\ ,PSDLUHG &ODVV  86&   D    &ODVV 

      )URQWLHU6HFXUHG&ODLPV DQG&ODVV &RQYHQLHQFH&ODLPV DUHHDFK,PSDLUHG&ODVVHVRI&ODLPV

  WKDW YRWHG WR DFFHSW WKH 3ODQ GHWHUPLQHGZLWKRXWLQFOXGLQJDQ\DFFHSWDQFHRIWKH3ODQE\ DQ\

  LQVLGHU7KHUHIRUHWKHUHTXLUHPHQWRIVHFWLRQ D  RIWKH%DQNUXSWF\&RGHLVVDWLVILHG

                         )HDVLELOLW\ 86& D  $UWLFOH,9RIWKH3ODQSURYLGHVIRU

  WKH LPSOHPHQWDWLRQ RI WKH 3ODQ WKURXJK WKH &ODLPDQW 7UXVW WKH /LWLJDWLRQ 6XE7UXVW DQG WKH

  5HRUJDQL]HG'HEWRU7KH3ODQSURYLGHVWKDWWKH&ODLPDQW7UXVWDPRQJRWKHUWKLQJVZLOOPRQHWL]H

  DQGGLVWULEXWHWKH'HEWRU¶VUHPDLQLQJDVVHWV7KH'LVFORVXUH6WDWHPHQWWKH$PHQGHG/LTXLGDWLRQ

  $QDO\VLV)LQDQFLDO 3URMHFWLRQV DQG WKH RWKHU HYLGHQFH SUHVHQWHG DW WKH &RQILUPDWLRQ +HDULQJ

  SURYLGHDUHDVRQDEOHSUREDELOLW\RIVXFFHVVWKDWWKH'HEWRUZLOOEHDEOHWRHIIHFWXDWHWKHSURYLVLRQV

  RIWKH3ODQ7KH3ODQFRQWHPSODWHVWKHHVWDEOLVKPHQWRIWKH&ODLPDQW7UXVWXSRQWKH(IIHFWLYH

  'DWHZKLFKZLOOPRQHWL]HWKH(VWDWH¶VDVVHWVIRUWKHEHQHILWRIFUHGLWRUV0U6HHU\WHVWLILHGWKDW

  WKH&ODVV)URQWLHU6HFXUHG&ODLPZLOOEHSDLGRYHUWLPHSXUVXDQWWRWKHWHUPVRIWKH1HZ)URQWLHU

  1RWHDQGWKH5HRUJDQL]HG'HEWRUZLOOKDYHVXIILFLHQWDVVHWVWRVDWLVI\LWVREOLJDWLRQVXQGHUWKLV

  QRWH7KH&ODLPVRIWKH+ROGHUVRI&ODVV&ODLPV DVZHOODVWKRVH&ODVVFUHGLWRUVZKRYDOLGO\

  RSWHG WR UHFHLYH WKH WUHDWPHQW RI &ODVV  &ODLPV  DUH H[SHFWHG WR EH VDWLVILHG VKRUWO\ DIWHU WKH

  (IIHFWLYH'DWH+ROGHUVRI&ODVV&ODLPV LQFOXGLQJDQ\KROGHUVRI&ODVV&ODLPVZKRRSWHGWR

  UHFHLYH WKH WUHDWPHQW SURYLGHG WR &ODVV  &ODLPV  DUH QRW JXDUDQWHHG DQ\ UHFRYHU\ DQG ZLOO




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  SHULRGLFDOO\ UHFHLYH SUR UDWD GLVWULEXWLRQV DV DVVHWV DUH PRQHWL]HG SXUVXDQW WR WKH 3ODQ DQG WKH

  &ODLPDQW7UXVW$JUHHPHQW7KXVVHFWLRQ D  RIWKH%DQNUXSWF\&RGHLVVDWLVILHG

                         3D\PHQW RI )HHV 86& D    $OO IHHV SD\DEOH XQGHU 

  86&KDYHEHHQSDLGRUZLOOEHSDLGRQRUEHIRUHWKH(IIHFWLYH'DWHSXUVXDQWWR$UWLFOH

  ;,,$RIWKH3ODQWKXVVDWLVI\LQJWKHUHTXLUHPHQWRIVHFWLRQ D  RIWKH%DQNUXSWF\&RGH

  7KH'HEWRUKDVDJUHHGWKDWWKH5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVWDQGWKH/LWLJDWLRQ6XE

  7UXVWVKDOOEHMRLQWO\DQGVHYHUDOO\OLDEOHIRUSD\PHQWRITXDUWHUO\IHHVWRWKH2IILFHRIWKH8QLWHG

  6WDWHV7UXVWHHSXUVXDQWWR86&WKURXJKWKHHQWU\RIWKH)LQDO'HFUHHIRUWKH'HEWRU

  RUWKHGLVPLVVDORUFRQYHUVLRQRIWKH&KDSWHU&DVH

                         5HWLUHH%HQHILWV7KH3ODQSURYLGHVIRUWKHDVVXPSWLRQRIWKH3HQVLRQ3ODQ

      WRWKHH[WHQWVXFK3HQVLRQ3ODQSURYLGHV³UHWLUHHEHQHILWV´DQGLVJRYHUQHGE\VHFWLRQRIWKH

  %DQNUXSWF\&RGH 7KXVWKH3ODQFRPSOLHVZLWKVHFWLRQ D  RIWKH%DQNUXSWF\&RGHWR

  WKHH[WHQWDSSOLFDEOH

                         0LVFHOODQHRXV 3URYLVLRQV  86&   D      6HFWLRQV

   D     RI WKH %DQNUXSWF\ &RGH DUH LQDSSOLFDEOH DV WKH 'HEWRU L  KDV QR GRPHVWLF

  VXSSRUWREOLJDWLRQV VHFWLRQ D   LL LVQRWDQLQGLYLGXDO VHFWLRQ D  DQG LLL 

  LVQRWDQRQSURILWFRUSRUDWLRQ VHFWLRQ D  

                         1R8QIDLU'LVFULPLQDWLRQ)DLUDQG(TXLWDEOH7UHDWPHQW 86&

   E 7KHFODVVLILFDWLRQDQGWUHDWPHQWRI&ODLPVDQG(TXLW\,QWHUHVWVLQ&ODVVHVDQG

  ZKLFKKDYHQRWDFFHSWHGWKH3ODQLVSURSHUSXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGHGRHV




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  QRWGLVFULPLQDWHXQIDLUO\DQGLVIDLUDQGHTXLWDEOHSXUVXDQWWRVHFWLRQ E  RIWKH%DQNUXSWF\

  &RGH

           D      &ODVV7KH3ODQLVIDLUDQGHTXLWDEOHZLWKUHVSHFWWR&ODVV*HQHUDO8QVHFXUHG
                    &ODLPV:KLOH(TXLW\,QWHUHVWVLQ&ODVVDQG&ODVVZLOOUHFHLYHDFRQWLQJHQW
                    LQWHUHVW LQ WKH &ODLPDQW 7UXVW XQGHU WKH 3ODQ WKH ³&RQWLQJHQW ,QWHUHVWV´  WKH
                    &RQWLQJHQW ,QWHUHVWV ZLOO QRW YHVW XQOHVV DQG XQWLO KROGHUV RI &ODVV  *HQHUDO
                    8QVHFXUHG&ODLPVDQG&ODVV6XERUGLQDWHG&ODLPVUHFHLYHGLVWULEXWLRQVHTXDOWR
                    RIWKHDPRXQWRIWKHLU$OORZHG&ODLPVSOXVLQWHUHVWDVSURYLGHGXQGHUWKH
                    3ODQ DQG &ODLPDQW 7UXVW $JUHHPHQW  $FFRUGLQJO\ DV WKH KROGHUV RI (TXLW\
                    ,QWHUHVWVWKDWDUHMXQLRUWRWKH&ODLPVLQ&ODVVDQG&ODVVZLOOQRWUHFHLYHRU
                    UHWDLQXQGHUWKH3ODQRQDFFRXQWRIVXFKMXQLRUFODLPLQWHUHVWDQ\SURSHUW\XQOHVV
                    DQGXQWLOWKH&ODLPVLQ&ODVVDQG&ODVVDUHSDLGLQIXOOSOXVDSSOLFDEOHLQWHUHVW
                    WKH3ODQLVIDLUDQGHTXLWDEOHZLWKUHVSHFWWRKROGHUVRI&ODVV*HQHUDO8QVHFXUHG
                    &ODLPVSXUVXDQWWRVHFWLRQ E  % RIWKH%DQNUXSWF\&RGHDQGWKHUHDVRQLQJ
                    RIIn re Introgen Therapuetics%5 %DQNU:'7H[ 

           E      &ODVVDQG&ODVV7KHUHDUHQR&ODLPVRU(TXLW\,QWHUHVWVMXQLRUWRWKH(TXLW\
                    ,QWHUHVWVLQ&ODVVDQG&ODVV(TXLW\,QWHUHVWVLQ&ODVVDQGZLOOQHLWKHU
                    UHFHLYHQRUUHWDLQDQ\SURSHUW\XQGHUWKH3ODQXQOHVV$OORZHG&ODLPVLQ&ODVV
                    DQG&ODVVDUHSDLGLQIXOOSOXVDSSOLFDEOHLQWHUHVWSXUVXDQWWRWKHWHUPVRIWKH3ODQ
                    DQG&ODLPDQW7UXVW$JUHHPHQW7KXVWKH3ODQGRHVQRWYLRODWHWKHDEVROXWHSULRULW\
                    UXOH ZLWK UHVSHFW WR &ODVVHV  DQG  SXUVXDQW WR %DQNUXSWF\ &RGH VHFWLRQ
                     E  & 7KH3ODQGRHVQRWGLVFULPLQDWHXQIDLUO\DVWR(TXLW\,QWHUHVWV$V
                    QRWHGDERYHVHSDUDWHFODVVLILFDWLRQRIWKH&ODVV%&3DUWQHUVKLS,QWHUHVWVIURPWKH
                    &ODVV $ 3DUWQHUVKLSV ,QWHUHVWV LV DSSURSULDWH EHFDXVH WKH\ FRQVWLWXWH GLIIHUHQW
                    FODVVHV RI HTXLW\ VHFXULW\ LQWHUHVWV LQ WKH 'HEWRU DQG HDFK DUH DSSURSULDWHO\
                    VHSDUDWHO\FODVVLILHGDQGWUHDWHG


  $FFRUGLQJO\WKH3ODQGRHVQRWYLRODWHWKHDEVROXWHSULRULW\UXOHGRHVQRWGLVFULPLQDWHXQIDLUO\

  DQG LV IDLU DQG HTXLWDEOH ZLWK UHVSHFW WR HDFK &ODVV WKDW KDV UHMHFWHG WKH 3ODQ  7KXV WKH 3ODQ

  VDWLVILHVWKHUHTXLUHPHQWVRIVHFWLRQ E RIWKH%DQNUXSWF\&RGHZLWKUHVSHFWWR&ODVVHV

  DQG




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                         2QO\2QH3ODQ 86& F 7KH3ODQLVWKHRQO\FKDSWHUSODQ

  FRQILUPHG LQWKLV&KDSWHU&DVH DQGWKH UHTXLUHPHQWVRIVHFWLRQ  F  RI WKH %DQNUXSWF\

  &RGHDUHWKHUHIRUHVDWLVILHG

                         3ULQFLSDO 3XUSRVH  86&   G   0U 6HHU\ WHVWLILHG WKDW WKH

  SULQFLSDOSXUSRVHRIWKH3ODQLVQHLWKHUWKHDYRLGDQFHRIWD[HVQRUWKHDYRLGDQFHRIWKHDSSOLFDWLRQ

  RI VHFWLRQ  RI WKH 6HFXULWLHV $FW RI  DQG QR JRYHUQPHQWDO XQLW KDV REMHFWHG WR WKH

  FRQILUPDWLRQRIWKH3ODQRQDQ\VXFKJURXQGV$FFRUGLQJO\VHFWLRQ G RIWKH%DQNUXSWF\

  &RGHLVLQDSSOLFDEOH

                         6DWLVIDFWLRQRI&RQILUPDWLRQ5HTXLUHPHQWV%DVHGXSRQWKHIRUHJRLQJ

  WKH3ODQVDWLVILHVWKHUHTXLUHPHQWVIRUFRQILUPDWLRQVHWIRUWKLQVHFWLRQRIWKH%DQNUXSWF\

  &RGHDQGVKRXOGEHFRQILUPHG

                         *RRG )DLWK 6ROLFLWDWLRQ  86&   H   7KH 'HEWRU WKH

  ,QGHSHQGHQW'LUHFWRUVDQGWKH'HEWRU¶VHPSOR\HHVDGYLVRUV3URIHVVLRQDOVDQGDJHQWVKDYHDFWHG

  LQJRRGIDLWKZLWKLQWKHPHDQLQJRIVHFWLRQ H RIWKH%DQNUXSWF\&RGHDQGLQFRPSOLDQFH

  ZLWKWKHDSSOLFDEOHSURYLVLRQVRIWKH%DQNUXSWF\&RGHDQG%DQNUXSWF\5XOHVLQFRQQHFWLRQZLWK

  DOO RI WKHLU UHVSHFWLYH DFWLYLWLHV UHODWLQJ WR WKH VROLFLWDWLRQ RI DFFHSWDQFHV RI WKH 3ODQ DQG WKHLU

  SDUWLFLSDWLRQ LQ WKH DFWLYLWLHV GHVFULEHG LQ VHFWLRQ  RI WKH %DQNUXSWF\ &RGH DQG WKH\ DUH

  HQWLWOHGWRWKHSURWHFWLRQVDIIRUGHGE\VHFWLRQ H RIWKH%DQNUXSWF\&RGH

                         'LVFKDUJH 86& G  7KH'HEWRULVHQWLWOHGWRDGLVFKDUJH

  RIGHEWVSXUVXDQWWRVHFWLRQ G  % RIWKH%DQNUXSWF\&RGH8QGHUWKH3ODQWKH&ODLPDQW

  7UXVWRU5HRUJDQL]HG'HEWRUDVDSSOLFDEOHZLOOFRQWLQXHWRPDQDJHIXQGVDQGFRQGXFWEXVLQHVV



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  LQWKHVDPHPDQQHUDVWKH'HEWRUGLGSULRUWR3ODQFRQILUPDWLRQZKLFKLQFOXGHVWKHPDQDJHPHQW

  RIWKH&/2V0XOWL6WUDW5HVWRUDWLRQ&DSLWDOWKH6HOHFW)XQGDQGWKH.RUHD)XQG$OWKRXJKWKH

  3ODQ SURMHFWV WKDW LW ZLOO WDNH DSSUR[LPDWHO\ WZR \HDUV WR PRQHWL]H WKH 'HEWRU¶V DVVHWV IRU IDLU

  YDOXH 0U 6HHU\ WHVWLILHG WKDW ZKLOH WKH 5HRUJDQL]HG 'HEWRU DQG &ODLPDQW 7UXVW ZLOO EH

  PRQHWL]LQJWKHLUDVVHWVWKHUHLVQRVSHFLILHGWLPHIUDPHE\ZKLFKWKLVSURFHVVPXVWFRQFOXGH0U

  6HHU\¶VFUHGLEOHWHVWLPRQ\GHPRQVWUDWHVWKDWWKH'HEWRUZLOOFRQWLQXHWRHQJDJHLQEXVLQHVVDIWHU

  FRQVXPPDWLRQRIWKH3ODQZLWKLQWKH PHDQLQJRI 6HFWLRQ  G  E DQGWKDWWKH'HEWRU LV

  HQWLWOHGWRDGLVFKDUJHSXUVXDQWWRVHFWLRQ G  RIWKH%DQNUXSWF\&RGH

                         5HWHQWLRQ RI -XULVGLFWLRQ  7KH %DQNUXSWF\ &RXUW PD\ SURSHUO\ UHWDLQ

  MXULVGLFWLRQ RYHU WKH PDWWHUV VHW IRUWK LQ $UWLFOH ;, RI WKH 3ODQ DQGRU VHFWLRQ  RI WKH

  %DQNUXSWF\&RGHWRWKHPD[LPXPH[WHQWXQGHUDSSOLFDEOHODZ

                         $GGLWLRQDO3ODQ3URYLVLRQV 86& E 7KH3ODQ¶VSURYLVLRQV

  DUHDSSURSULDWHLQWKHEHVWLQWHUHVWVRIWKH'HEWRUDQGLWV(VWDWHDQGFRQVLVWHQWZLWKWKHDSSOLFDEOH

  SURYLVLRQVRIWKH%DQNUXSWF\&RGH%DQNUXSWF\5XOHVDQG/RFDO5XOHV

                         ([HFXWRU\ &RQWUDFWV DQG 8QH[SLUHG /HDVHV  86&   E  

  7KH 'HEWRU KDV H[HUFLVHG UHDVRQDEOH EXVLQHVV MXGJPHQW ZLWK UHVSHFW WR WKH UHMHFWLRQ RI WKH

  ([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHVSXUVXDQWWKHWHUPVRIWKH3ODQDQGWKLV&RQILUPDWLRQ

  2UGHUDQGVXFKUHMHFWLRQVDUHMXVWLILHGDQGDSSURSULDWHLQWKLV&KDSWHU&DVH7KH'HEWRUDOVR

  ILOHGWKH/LVWRI$VVXPHG&RQWUDFWVZKLFKFRQWDLQQRWLFHVWRWKHDSSOLFDEOHFRXQWHUSDUWLHVWRWKH

  FRQWUDFWVVHWIRUWKRQ ([KLELW³))´WR3ODQ6XSSOHPHQWILOHGRQ)HEUXDU\>'RFNHW1R

  @ DQG ZKLFK H[KLELW VHWV IRUWK WKH OLVW RI H[HFXWRU\ FRQWUDFWV DQG XQH[SLUHG OHDVHV WR EH



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  DVVXPHGE\WKH'HEWRUSXUVXDQWWRWKH3ODQ FROOHFWLYHO\WKH³$VVXPHG&RQWUDFWV´ :LWKUHVSHFW

  WR WKH $VVXPHG &RQWUDFWV RQO\ RQH SDUW\ REMHFWHG WR WKH DVVXPSWLRQ RI DQ\ RI WKH $VVXPHG

  &RQWUDFWVEXWWKDWREMHFWLRQZDVZLWKGUDZQ $Q\PRGLILFDWLRQVDPHQGPHQWVVXSSOHPHQWVDQG

  UHVWDWHPHQWV WR WKH $VVXPHG &RQWUDFWV WKDW PD\ KDYH EHHQ H[HFXWHG E\ WKH 'HEWRU GXULQJ WKH

  &KDSWHU&DVHVKDOOQRWEHGHHPHGWRDOWHUWKHSUHSHWLWLRQQDWXUHRIWKH$VVXPHG&RQWUDFWVRU

  WKHYDOLGLW\SULRULW\RUDPRXQWRIDQ\&ODLPVWKDWPD\DULVHLQFRQQHFWLRQWKHUHZLWK$VVXPSWLRQ

  RIDQ\$VVXPHG&RQWUDFWSXUVXDQWWRWKH3ODQDQGIXOOSD\PHQWRIDQ\DSSOLFDEOH&XUHSXUVXDQW

  WRWKH3ODQVKDOOUHVXOWLQWKHIXOOUHOHDVHDQGVDWLVIDFWLRQRIDQ\&XUHV&ODLPVRUGHIDXOWVZKHWKHU

  PRQHWDU\ RU QRQPRQHWDU\ LQFOXGLQJ GHIDXOWV RI SURYLVLRQV UHVWULFWLQJ WKH FKDQJH LQ FRQWURO RU

  RZQHUVKLSLQWHUHVWFRPSRVLWLRQRURWKHUEDQNUXSWF\UHODWHGGHIDXOWVDULVLQJXQGHUDQ\DVVXPHG

  ([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHDWDQ\WLPHSULRUWRWKHHIIHFWLYHGDWHRIDVVXPSWLRQ

                         &RPSURPLVHVDQG6HWWOHPHQWV8QGHUDQGLQ&RQQHFWLRQZLWKWKH3ODQ

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  ZLWKWKH3ODQFRPSO\ZLWKWKHUHTXLUHPHQWVRIVHFWLRQ E  RIWKH%DQNUXSWF\&RGHDQG

  %DQNUXSWF\5XOH

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  'HEWRU 5HOHDVH ([FXOSDWLRQ DQG ,QMXQFWLRQ SURYLVLRQV SURYLGHG LQ WKH 3ODQ L  DUH ZLWKLQ WKH

  MXULVGLFWLRQ RI WKH %DQNUXSWF\ &RXUW XQGHU  86&   LL  DUH LQWHJUDO HOHPHQWV RI WKH

  WUDQVDFWLRQVLQFRUSRUDWHGLQWRWKH3ODQDQGLQH[WULFDEO\ERXQGZLWKWKHRWKHUSURYLVLRQVRIWKH

  3ODQ LLL FRQIHUPDWHULDOEHQHILWRQDQGDUHLQWKHEHVWLQWHUHVWVRIWKH'HEWRULWV(VWDWHDQGLWV
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   See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
  Amounts Proposed in Connection Therewith>'RFNHW1R@


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  FUHGLWRUV LY  DUH IDLU HTXLWDEOH DQG UHDVRQDEOH Y  DUH JLYHQ DQG PDGH DIWHU GXH QRWLFH DQG

  RSSRUWXQLW\ IRU KHDULQJ YL  VDWLVI\ WKH UHTXLUHPHQWV RI %DQNUXSWF\ 5XOH  DQG YLL  DUH

  FRQVLVWHQWZLWKWKH%DQNUXSWF\&RGHDQGRWKHUDSSOLFDEOHODZDQGDVVHWIRUWKEHORZ

                         'HEWRU5HOHDVH6HFWLRQ,;'RIWKH3ODQSURYLGHVIRUWKH'HEWRU¶VUHOHDVH

  RI WKH 'HEWRU¶V DQG (VWDWH¶V FODLPV DJDLQVW WKH 5HOHDVHG 3DUWLHV  5HOHDVHV E\ D GHEWRU DUH

  GLVFUHWLRQDU\DQGFDQEHSURYLGHGE\DGHEWRUWRSHUVRQVZKRKDYHSURYLGHGFRQVLGHUDWLRQWRWKH

  'HEWRUDQGLWVHVWDWHSXUVXDQWWRVHFWLRQ E  $ RIWKH%DQNUXSWF\&RGH&RQWUDU\WRWKH

  REMHFWLRQVUDLVHGE\0U'RQGHURDQGFHUWDLQRIWKH'RQGHUR5HODWHG(QWLWLHVWKH'HEWRU5HOHDVH

  LVDSSURSULDWHO\OLPLWHGWRUHOHDVHFODLPVKHOGE\WKH'HEWRUDQGGRHVQRWSXUSRUWWRUHOHDVHWKH

  FODLPVKHOGE\WKH&ODLPDQW7UXVW/LWLJDWLRQ6XE7UXVWRURWKHUWKLUGSDUWLHV7KH3ODQGRHVQRW

  SXUSRUWWRUHOHDVHDQ\FODLPVKHOGE\WKLUGSDUWLHVDQGWKH%DQNUXSWF\&RXUWILQGVWKDWWKH'HEWRU

  5HOHDVH LV QRW D ³GLVJXLVHG´ UHOHDVH RI DQ\ WKLUG SDUW\ FODLPV DV DVVHUWHG E\ FHUWDLQ REMHFWLQJ

  SDUWLHV7KHOLPLWHGVFRSHRIWKH'HEWRU5HOHDVHLQWKH3ODQZDVH[WHQVLYHO\QHJRWLDWHGZLWKWKH

  &RPPLWWHH SDUWLFXODUO\ ZLWK WKH UHVSHFW WR WKH 'HEWRU¶V FRQGLWLRQDO UHOHDVH RI FODLPV DJDLQVW

  HPSOR\HHVDVLGHQWLILHGLQWKH3ODQDQGWKH3ODQ¶VFRQGLWLRQVDQGWHUPVRIVXFKUHOHDVHV7KH

  3ODQGRHVQRWUHOHDVH L DQ\REOLJDWLRQVRIDQ\SDUW\XQGHUWKH3ODQRUDQ\GRFXPHQWLQVWUXPHQW

  RUDJUHHPHQWH[HFXWHGWRLPSOHPHQWWKH3ODQ LL WKHULJKWVRUREOLJDWLRQVRIDQ\FXUUHQWHPSOR\HH

  RIWKH'HEWRUXQGHUDQ\HPSOR\PHQWDJUHHPHQWRUSODQ LLL WKHULJKWVRIWKH'HEWRUZLWKUHVSHFW

  WRDQ\FRQILGHQWLDOLW\SURYLVLRQVRUFRYHQDQWVUHVWULFWLQJFRPSHWLWLRQLQIDYRURIWKH'HEWRUXQGHU

  DQ\HPSOR\PHQWDJUHHPHQWZLWKDFXUUHQWRUIRUPHUHPSOR\HHRIWKH'HEWRU LY DQ\$YRLGDQFH

  $FWLRQVRU Y DQ\&DXVHVRI$FWLRQDULVLQJIURPZLOOIXOPLVFRQGXFWFULPLQDOPLVFRQGXFWDFWXDO



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  IUDXGRUJURVVQHJOLJHQFHRIVXFKDSSOLFDEOH5HOHDVHG3DUW\DVGHWHUPLQHGE\)LQDO2UGHURIWKH

  %DQNUXSWF\&RXUWRUDQ\RWKHUFRXUWRIFRPSHWHQWMXULVGLFWLRQ7KH'HEWRU5HOHDVHDOVRFRQWDLQV

  FRQGLWLRQVWRVXFKUHOHDVHVDVVHWIRUWKLQ$UWLFOH;'RIWKH3ODQZLWKUHVSHFWWRHPSOR\HHV WKH

  ³5HOHDVH &RQGLWLRQV´   8QWLO WKH DQ HPSOR\HH VDWLVILHV WKH 5HOHDVH &RQGLWLRQV RU WKH 5HOHDVH

  &RQGLWLRQV RWKHUZLVH WHUPLQDWH DQ\ FODLPV DJDLQVW VXFK HPSOR\HH ZLOO EH WROOHG VR WKDW LI WKH

  5HOHDVH&RQGLWLRQVDUHQRWPHWWKH/LWLJDWLRQ7UXVWHHPD\SXUVXHFODLPVDJDLQVWDQHPSOR\HHDWD

  ODWHUGDWH7KHHYLGHQFHEHIRUHWKH%DQNUXSWF\&RXUWLQFOXGLQJEXWQRWOLPLWHGWR0U6HHU\¶V

  WHVWLPRQ\GHPRQVWUDWHVWKDWWKH'HEWRULVQRWDZDUHRIDQ\FODLPVDJDLQVWDQ\RIWKH5HOHDVHG

  3DUWLHVWKDWWKH5HOHDVHG3DUWLHVKDYHEHHQLQVWUXPHQWDOLQDVVLVWLQJWKH'HEWRU¶VHIIRUWVWRZDUG

  FRQILUPDWLRQ RI WKH 3ODQ DQG WKDW WKHUHIRUH WKH UHOHDVHV DUH D quid pro quo IRU WKH 5HOHDVHG

  3DUWLHV¶ VLJQLILFDQW FRQWULEXWLRQV WR D KLJKO\ FRPSOH[ DQG FRQWHQWLRXV UHVWUXFWXULQJ  7KH

  &RPPLWWHH ZKRVH PHPEHUV KROG DSSUR[LPDWHO\  PLOOLRQ LQ FODLPV DJDLQVW WKH (VWDWH LV

  KLJKO\VRSKLVWLFDWHGDQGLVUHSUHVHQWHGE\KLJKO\VRSKLVWLFDWHGSURIHVVLRQDOVDQGKDVDFWLYHO\DQG

  YLJRURXVO\ QHJRWLDWHG WKH WHUPV RI WKH 'HEWRU 5HOHDVH ZKLFK ZDV WKH VXEMHFW RI VLJQLILFDQW

  FRQWURYHUV\DWWKH,QLWLDO'LVFORVXUH6WDWHPHQWKHDULQJKHOGE\WKH%DQNUXSWF\&RXUWRQ2FWREHU

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  H[SODLQHGEHORZWKH([FXOSDWLRQ3URYLVLRQLVDSSURSULDWHXQGHUWKHXQLTXHFLUFXPVWDQFHVRIWKLV

  OLWLJLRXV&KDSWHU&DVHDQGFRQVLVWHQWZLWKDSSOLFDEOH)LIWK&LUFXLWSUHFHGHQW)LUVWZLWKUHVSHFW

  WRWKH,QGHSHQGHQW'LUHFWRUVWKHLUDJHQWVDQGWKHLUDGYLVRUVLQFOXGLQJDQ\HPSOR\HHVDFWLQJDW



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  WKHLU GLUHFWLRQ WKH %DQNUXSWF\ &RXUW ILQGV DQG FRQFOXGHV WKDW LW KDV DOUHDG\ H[FXOSDWHG WKHVH

  SDUWLHVIRUDFWVRWKHUWKDQZLOOIXOPLVFRQGXFWDQGJURVVQHJOLJHQFHSXUVXDQWWRWKH-DQXDU\2UGHU

  7KH-DQXDU\2UGHUZDVVSHFLILFDOO\DJUHHGWRE\0U'RQGHURZKRZDVLQFRQWURORIWKH'HEWRU

  XSXQWLOHQWU\RIWKH-DQXDU\2UGHU7KH-DQXDU\2UGHUZDVQRWDSSHDOHG,QDGGLWLRQWRWKH

  DSSRLQWPHQWRIWKH,QGHSHQGHQW'LUHFWRUVLQDQDOUHDG\FRQWHQWLRXVDQGOLWLJLRXVFDVHWKH-DQXDU\

  2UGHUVHWWKHVWDQGDUGRIFDUHIRUWKH,QGHSHQGHQW'LUHFWRUVDQGVSHFLILFDOO\H[FXOSDWHGWKHPIRU

  QHJOLJHQFH0U6HHU\DQG0U'XEHOHDFKWHVWLILHGWKDWWKH\KDGLQSXWLQWRWKHFRQWHQWVRIWKH

  -DQXDU\2UGHUDQGZRXOGQRWKDYHDJUHHGWRWKHLUDSSRLQWPHQWDV,QGHSHQGHQW'LUHFWRUVLIWKH

  -DQXDU\2UGHUGLGQRWLQFOXGHWKHSURWHFWLRQVVHWIRUWKLQSDUDJUDSKRIWKH-DQXDU\2UGHU

  3DUDJUDSK  RI WKH -DQXDU\  2UGHU   UHTXLUHV WKDW SDUWLHV ZLVKLQJ WR VXH WKH ,QGHSHQGHQW

  'LUHFWRUVRUWKHLUDJHQWVDQGDGYLVRUVPXVWILUVWVHHNDSSURYDOIURPWKH%DQNUXSWF\&RXUWEHIRUH

  GRLQJVR  VHWVWKHVWDQGDUGRIFDUHIRUWKH,QGHSHQGHQW'LUHFWRUVGXULQJWKH&KDSWHU&DVH

  DQG H[FXOSDWHG WKH ,QGHSHQGHQW 'LUHFWRUV IRU DFWV RWKHU WKDQ ZLOOIXO PLVFRQGXFW RU JURVV

  QHJOLJHQFH  RQO\SHUPLWVVXLWVDJDLQVWWKH,QGHSHQGHQW'LUHFWRUVWRSURFHHGIRUFRORUDEOHFODLPV

  RIZLOOIXOPLVFRQGXFWDQGJURVVQHJOLJHQFHXSRQRUGHURIWKH%DQNUXSWF\&RXUWDQG  GRHVQRW

  H[SLUHE\LWVWHUPV

                         ([LVWLQJ([FXOSDWLRQRI,QGHSHQGHQW'LUHFWRUV7KH%DQNUXSWF\&RXUW

  DOVRILQGVDQGFRQFOXGHVWKDWLWKDVDOUHDG\H[FXOSDWHG0U6HHU\DFWLQJLQWKHFDSDFLW\DV&KLHI

  ([HFXWLYH2IILFHUDQG&KLHI5HVWUXFWXULQJ2IILFHUSXUVXDQWWRWKH-XO\2UGHU7KH%DQNUXSWF\

  &RXUWFRQFOXGHVLWVSUHYLRXVDSSURYDORIWKHH[FXOSDWLRQRIWKH,QGHSHQGHQW'LUHFWRUVWKHLUDJHQWV

  DGYLVRUVDQGHPSOR\HHVZRUNLQJDWWKHLUGLUHFWLRQSXUVXDQWWRWKH-DQXDU\2UGHUDQGWKH&KLHI



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  ([HFXWLYH2IILFHUDQG&KLHI5HVWUXFWXULQJ2IILFHUSXUVXDQWWRWKH-XO\2UGHUFRQVWLWXWHVWKH

  ODZRIWKLVFDVHDQGDUHres judicataSXUVXDQWWRIn re Republic Supply Co. v. Shoaf)G

      WK&LU 7KH-DQXDU\2UGHUDQG-XO\2UGHUFDQQRWEHFROODWHUDOO\DWWDFNHGEDVHGRQ

  WKHREMHFWRUV¶REMHFWLRQWRWKHH[FXOSDWLRQRIWKH,QGHSHQGHQW'LUHFWRUVWKHLUDJHQWVDQGDGYLVRUV

  LQFOXGLQJDQ\HPSOR\HHVDFWLQJDWWKHLUGLUHFWLRQDVZHOODVWKH&KLHI([HFXWLYH2IILFHUDQG&KLHI

  5HVWUXFWXULQJ2IILFHUWKDWWKH%DQNUXSWF\&RXUWDOUHDG\DSSURYHGSXUVXDQWWRWKH-DQXDU\2UGHU

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  &RXUWDOVRILQGVDQGFRQFOXGHVWKDWWKH([FXOSDWLRQ3URYLVLRQLVFRQVLVWHQWZLWKDSSOLFDEOHODZ

  LQFOXGLQJIn re Pacific Lumber Co)G WK&LU IRUVHYHUDOUHDVRQV

            D     )LUVW WKH VWDWXWRU\ EDVLV IRU Pacific Lumber’V GHQLDO RI H[FXOSDWLRQ IRU FHUWDLQ
                    SDUWLHVRWKHUWKDQDFUHGLWRUV¶FRPPLWWHHDQGLWVPHPEHUVLVWKDWVHFWLRQ H RI
                    WKH%DQNUXSWF\&RGH³RQO\UHOHDVHVWKHGHEWRUQRWFROLDEOHWKLUGSDUWLHV´Pacific
                    Lumber  )G DW   +RZHYHU Pacific Lumber GRHV QRW SURKLELW DOO
                    H[FXOSDWLRQV XQGHU WKH %DQNUXSWF\ &RGH DQG WKH FRXUW LQ VXFK FDVH VSHFLILFDOO\
                    DSSURYHG WKH H[FXOSDWLRQV RI D FUHGLWRUV¶ FRPPLWWHH DQG LWV PHPEHUV RQ WKH
                    JURXQGVWKDW³86& F ZKLFKOLVWVWKHFUHGLWRUV¶FRPPLWWHH¶VSRZHUV
                    LPSOLHVFRPPLWWHHPHPEHUVKDYHTXDOLILHGLPPXQLW\IRUDFWLRQVZLWKLQWKHVFRSH
                    RIWKHLUGXWLHV«>,@IPHPEHUVRIWKHFRPPLWWHHFDQEHVXHGE\SHUVRQVXQKDSS\
                    ZLWKWKHFRPPLWWHH¶VSHUIRUPDQFHGXULQJWKHFDVHRUXQKDSS\ZLWKWKHRXWFRPHRI
                    WKH FDVH LW ZLOO EH H[WUHPHO\ GLIILFXOW WR ILQG PHPEHUV WR VHUYH RQ DQ RIILFLDO
                    FRPPLWWHH´Pacific Lumber)GDW TXRWLQJ/DZUHQFH3.LQJHWDO
                    &ROOLHU RQ %DQNUXSWF\  >@>E@ WK (G @   Pacific Lumber’s
                    UDWLRQDOH IRU SHUPLWWHG H[FXOSDWLRQ RI FUHGLWRUV¶ FRPPLWWHHV DQG WKHLU PHPEHUV
                     ZKLFK ZDV FOHDUO\ SROLF\EDVHG DQG EDVHG RQ D FUHGLWRUV¶ FRPPLWWHH TXDOLILHG
                    LPPXQLW\IORZLQJIURPWKHLUGXWLHVXQGHUVHFWLRQ F RIWKH%DQNUXSWF\&RGH
                    DQGWKHLUGLVLQWHUHVWHGQHVVDQGLPSRUWDQFHLQFKDSWHUFDVHV GRHVQRWSUHFOXGH
                    H[FXOSDWLRQWRRWKHUSDUWLHVLQDSDUWLFXODUFKDSWHUFDVHWKDWSHUIRUPVLPLODUUROHV
                    WR D FUHGLWRUV¶ FRPPLWWHH DQG LWV PHPEHUV  7KH ,QGHSHQGHQW 'LUHFWRUV DQG E\
                    H[WHQVLRQWKH&KLHI([HFXWLYH2IILFHUDQG&KLHI5HVWUXFWXULQJ2IILFHUZHUHQRW

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                    SDUWRIWKH'HEWRU¶VHQWHUSULVHSULRUWRWKHLUDSSRLQWPHQWE\WKH%DQNUXSWF\&RXUW
                    XQGHU WKH -DQXDU\  2UGHU  7KH %DQNUXSWF\ &RXUW DSSRLQWHG WKH ,QGHSHQGHQW
                    'LUHFWRUV LQ OLHX RI D FKDSWHU  WUXVWHH WR DGGUHVV ZKDW WKH %DQNUXSWF\ &RXUW
                    SHUFHLYHGDVVHULRXVFRQIOLFWVRILQWHUHVWDQGILGXFLDU\GXW\FRQFHUQVZLWKWKHWKHQ
                    H[LVWLQJPDQDJHPHQWSULRUWR-DQXDU\DVLGHQWLILHGE\WKH&RPPLWWHH,Q
                    DGGLWLRQWKH%DQNUXSWF\&RXUWILQGVWKDWWKH,QGHSHQGHQW'LUHFWRUVH[SHFWHGWREH
                    H[FXOSDWHG IURP FODLPV RI QHJOLJHQFH DQG ZRXOG OLNHO\ KDYH EHHQ XQZLOOLQJ WR
                    VHUYH LQ FRQWHQWLRXV FDVHVDEVHQWH[FXOSDWLRQ 7KHXQFRQWURYHUWHG WHVWLPRQ\RI
                    0U6HHU\DQG0U'XEHOGHPRQVWUDWHVWKDWWKH,QGHSHQGHQW'LUHFWRUVZRXOGQRW
                    KDYHDJUHHGWRDFFHSWWKHLUUROHVZLWKRXWWKHH[FXOSDWLRQDQGJDWHNHHSHUSURYLVLRQ
                    LQWKH-DQXDU\2UGHU0U'XEHODOVRWHVWLILHGDVWRWKHLQFUHDVLQJLPSRUWDQWUROH
                    WKDWLQGHSHQGHQWGLUHFWRUVDUHSOD\LQJLQFRPSOH[FKDSWHUUHVWUXFWXULQJVDQGWKDW
                    XQOHVVLQGHSHQGHQWGLUHFWRUVFRXOGEHDVVXUHGRIH[FXOSDWLRQIRUVLPSOHQHJOLJHQFH
                    LQFRQWHQWLRXVEDQNUXSWF\FDVHVWKH\ZRXOGEHUHOXFWDQWWRDFFHSWDSSRLQWPHQWLQ
                    FKDSWHUFDVHVZKLFKZRXOGDGYHUVHO\DIIHFWWKHFKDSWHUUHVWUXFWXULQJSURFHVV
                    7KH %DQNUXSWF\ &RXUW FRQFOXGHV WKDW WKH ,QGHSHQGHQW 'LUHFWRUV ZHUH DSSRLQWHG
                    XQGHUWKH-DQXDU\2UGHULQRUGHUWRDYRLGWKHDSSRLQWPHQWRIDFKDSWHUWUXVWHH
                    DQG DUH DQDORJRXV WR D FUHGLWRUV¶ FRPPLWWHH UDWKHU WKDQ DQ LQFXPEHQW ERDUG RI
                    GLUHFWRUV  7KH %DQNUXSWF\ &RXUW DOVR FRQFOXGHV WKDW LI LQGHSHQGHQW GLUHFWRUV
                    FDQQRWEHDVVXUHGRIH[FXOSDWLRQIRUVLPSOHQHJOLJHQFHLQFRQWHQWLRXVEDQNUXSWF\
                    FDVHVWKH\PD\QRWEHZLOOLQJWRVHUYHLQWKDWFDSDFLW\%DVHGXSRQWKHIRUHJRLQJ
                    WKH %DQNUXSWF\ &RXUW FRQFOXGHV WKDW Pacific Lumber’s SROLF\ RI H[FXOSDWLQJ
                    FUHGLWRUV¶ FRPPLWWHHV DQG WKHLU PHPEHUV IURP ³EHLQJ VXHG E\ SHUVRQV XQKDSS\
                    ZLWKWKHFRPPLWWHH¶VSHUIRUPDQFHGXULQJWKHFDVHRUXQKDSS\ZLWKWKHRXWFRPHRI
                    WKHFDVH´LVDSSOLFDEOHWRWKH,QGHSHQGHQW'LUHFWRUVLQWKLV&KDSWHU&DVH 

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                    SUHFOXGH WKH H[FXOSDWLRQ RI SDUWLHV LI WKHUH LV D VKRZLQJ WKDW ³FRVWV >WKDW@ WKH
                    UHOHDVHGSDUWLHVPLJKWLQFXUGHIHQGLQJDJDLQVWVXFKVXLWVDOOHJLQJVXFKQHJOLJHQFH
                    DUHOLNHO\WRVZDPSHLWKHUWKH([FXOSDWHG3DUWLHVRUWKHUHRUJDQL]DWLRQ´Pacific
                    LumbeU)GDW,IHYHUWKHUHZDVDULVNRIWKDWKDSSHQLQJLQDFKDSWHU
                    UHRUJDQL]DWLRQLWLVWKLVRQH0U6HHU\FUHGLEO\WHVWLILHGWKDW0U'RQGHURVWDWHG
                    RXWVLGHWKHFRXUWURRPWKDWLI0U'RQGHUR¶VSRWSODQGRHVQRWJHWDSSURYHGWKDW
                    0U'RQGHURZLOO³EXUQWKHSODFHGRZQ´7KH%DQNUXSWF\&RXUWFDQHDVLO\H[SHFW
                    WKDWWKHSURSRVHG([FXOSDWHG3DUWLHVPLJKWH[SHFWWRLQFXUFRVWVWKDWFRXOGVZDPS
                    WKHPDQGWKHUHRUJDQL]DWLRQEDVHGRQWKHSULRUOLWLJLRXVFRQGXFWRI0U'RQGHUR
                    DQGKLVFRQWUROOHGHQWLWLHVWKDWMXVWLI\WKHLULQFOXVLRQLQWKH([FXOSDWLRQ3URYLVLRQ




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   7KHVDPHUHDVRQLQJDSSOLHVWRWKHLQFOXVLRQRI6WUDQGLQWKH([FXOSDWLRQ3URYLVLRQEHFDXVH6WUDQGLVWKHJHQHUDO
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  LPSOHPHQW DQG HQIRUFH WKH 3ODQ¶V UHOHDVH GLVFKDUJH DQG UHOHDVH SURYLVLRQV WKH ³,QMXQFWLRQ

  3URYLVLRQ´ 7KH,QMXQFWLRQ3URYLVLRQLVQHFHVVDU\WRLPSOHPHQWWKHSURYLVLRQVLQWKH3ODQ0U

  6HHU\WHVWLILHGWKDWWKH&ODLPDQW7UXVWHHZLOOPRQHWL]HWKH'HEWRU¶VDVVHWVLQRUGHUWRPD[LPL]H

  WKHLUYDOXH,QRUGHUWRDFFRPSOLVKWKLVJRDOWKH&ODLPDQW7UXVWHHQHHGVWREHDEOHWRSXUVXHWKLV

  REMHFWLYH ZLWKRXW WKH LQWHUIHUHQFH DQG KDUDVVPHQW RI 0U 'RQGHUR DQG KLV UHODWHG HQWLWLHV

  LQFOXGLQJWKH'RQGHUR5HODWHG(QWLWLHV0U6HHU\DOVRWHVWLILHGWKDWLIWKH&ODLPDQW7UXVWZDV

  VXEMHFWWRLQWHUIHUHQFHE\0U'RQGHURLWZRXOGWDNHDGGLWLRQDOWLPHWRPRQHWL]HWKH'HEWRU¶V

  DVVHWV DQG WKRVH DVVHWV FRXOG EH PRQHWL]HG IRU OHVV PRQH\ WR WKH GHWULPHQW RI WKH 'HEWRU¶V

  FUHGLWRUV7KH%DQNUXSWF\&RXUWILQGVDQGFRQFOXGHVWKDWWKH,QMXQFWLRQ3URYLVLRQLVFRQVLVWHQW

  ZLWKDQGSHUPLVVLEOHXQGHU%DQNUXSWF\&RGHVHFWLRQV D  D   D DQG F DQG

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  3URYLVLRQFRQVWLWXWHVD³WKLUGSDUW\UHOHDVH´7KH,QMXQFWLRQ3URYLVLRQLVDSSURSULDWHXQGHUWKH

  FLUFXPVWDQFHV RI WKLV &KDSWHU  &DVH DQG FRPSOLHV ZLWK DSSOLFDEOH EDQNUXSWF\ ODZ  7KH

  %DQNUXSWF\&RXUWDOVRFRQFOXGHVWKDWWKHWHUPV³LPSOHPHQWDWLRQ´DQG³FRQVXPPDWLRQ´DUHQHLWKHU

  YDJXHQRUDPELJXRXV

                         *DWHNHHSHU 3URYLVLRQ  6HFWLRQ ,;) RI WKH 3ODQ FRQWDLQV D SURYLVLRQ

  FRQWDLQHGLQSDUDJUDSK$$RIWKLV&RQILUPDWLRQ2UGHUDQGZKLFKWKH'HEWRUKDVUHIHUUHGWRDVD

  JDWHNHHSHU SURYLVLRQ WKH ³*DWHNHHSHU 3URYLVLRQ´   7KH *DWHNHHSHU 3URYLVLRQ UHTXLUHV WKDW

  (QMRLQHG3DUWLHVILUVWVHHNDSSURYDORIWKH%DQNUXSWF\&RXUWEHIRUHWKH\PD\FRPPHQFHDQDFWLRQ

  DJDLQVW 3URWHFWHG 3DUWLHV  7KHUHDIWHU LI WKH %DQNUXSWF\ &RXUW GHWHUPLQHV WKDW WKH DFWLRQ LV



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  FRORUDEOHWKH%DQNUXSWF\&RXUWPD\LILWKDVMXULVGLFWLRQDGMXGLFDWHWKHDFWLRQ7KH%DQNUXSWF\

  &RXUWILQGVWKDWWKHLQFOXVLRQRIWKH*DWHNHHSHU3URYLVLRQLVFULWLFDOWRWKHHIIHFWLYHDQGHIILFLHQW

  DGPLQLVWUDWLRQ LPSOHPHQWDWLRQ DQG FRQVXPPDWLRQ RI WKH 3ODQ  7KH %DQNUXSWF\ &RXUW DOVR

  FRQFOXGHVWKDWWKH%DQNUXSWF\&RXUWKDVWKHVWDWXWRU\DXWKRULW\DVVHWIRUWKEHORZWRDSSURYHWKH

  *DWHNHHSHU3URYLVLRQ

                         )DFWXDO6XSSRUWIRU*DWHNHHSHU3URYLVLRQ7KHIDFWVVXSSRUWLQJWKHQHHG

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  WR WKH FRPPHQFHPHQW RI WKH 'HEWRU¶V EDQNUXSWF\ FDVH DQG ZKLOH XQGHU WKH GLUHFWLRQ RI 0U

  'RQGHURWKH'HEWRUKDGEHHQLQYROYHGLQDP\ULDGRIOLWLJDWLRQVRPHRIZKLFKKDGJRQHRQIRU

  \HDUVDQGLQVRPHFDVHVRYHUDGHFDGH6XEVWDQWLDOO\DOORIWKHFUHGLWRUVLQWKLVFDVHDUHHLWKHU

  SDUWLHV ZKR ZHUH HQJDJHG LQ OLWLJDWLRQ ZLWK WKH 'HEWRU SDUWLHV ZKR UHSUHVHQWHG WKH 'HEWRU LQ

  FRQQHFWLRQZLWKVXFKOLWLJDWLRQDQGKDGQRWEHHQSDLGRUWUDGHFUHGLWRUVZKRSURYLGHGOLWLJDWLRQ

  UHODWHG VHUYLFHV WR WKH 'HEWRU  'XULQJ WKH ODVW VHYHUDO PRQWKV 0U 'RQGHUR DQG WKH 'RQGHUR

  5HODWHG(QWLWLHVKDYHKDUDVVHGWKH'HEWRUZKLFKKDVUHVXOWHGLQIXUWKHUVXEVWDQWLDOFRVWO\DQG

  WLPHFRQVXPLQJ OLWLJDWLRQ IRU WKH 'HEWRU  6XFK OLWLJDWLRQ LQFOXGHV L  HQWU\ RI D WHPSRUDU\

  UHVWUDLQLQJ RUGHU DQG SUHOLPLQDU\ LQMXQFWLRQ DJDLQVW 0U 'RQGHUR >$GY 3URF 1R 

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  %DQNUXSWF\ &RXUW >$GY 3URF 1R 'RFNHW1R@ LLL DPRWLRQE\0U'RQGHUR¶V

  FRQWUROOHGLQYHVWRUVLQFHUWDLQ&/2VPDQDJHGE\WKH'HEWRUWKDWWKH%DQNUXSWF\&RXUWUHIHUUHGWR



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  DVIULYRORXVDQGDZDVWHRIWKH%DQNUXSWF\&RXUW¶VWLPH>'RFNHW1R@ZKLFKZDVGHQLHGE\

  WKH&RXUW>'RFNHW1R@ LY PXOWLSOHSODQFRQILUPDWLRQREMHFWLRQVIRFXVHGRQHQVXULQJWKH

  'RQGHUR5HODWHG(QWLWLHVEHDEOHWRFRQWLQXHWKHLUOLWLJDWLRQDJDLQVWWKH'HEWRUDQGLWVVXFFHVVRUV

  SRVWFRQILUPDWLRQ>'RFNHW1RVDQG@ Y REMHFWLRQVWR

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  %DQNUXSWF\&RXUW¶VRUGHUDSSURYLQJHDFKRIWKRVHVHWWOHPHQWV>'RFNHW1RVDQG@DQG

      YL DFRPSODLQWDQGLQMXQFWLRQVRXJKWDJDLQVW0U'RQGHUR¶VDIILOLDWHGHQWLWLHVWRSUHYHQWWKHP

  IURPYLRODWLQJWKH-DQXDU\2UGHUDQGHQWU\RIDUHVWUDLQLQJRUGHUDJDLQVWWKRVHHQWLWLHV>$GY3URF

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  FUHGLWRUVXSSRUWIRUKLVSODQSURSRVDODQGFRQVLVWHQWZLWKKLVFRPPHQWVDVVHWIRUWKLQ0U6HHU\¶V

  FUHGLEOHWHVWLPRQ\WKDWLI0U'RQGHUR¶VSODQSURSRVDOZDVQRWDFFHSWHGKHZRXOG³EXUQGRZQ

  WKHSODFH´7KH%DQNUXSWF\&RXUWFRQFOXGHVWKDWZLWKRXWDSSURSULDWHSURWHFWLRQVLQSODFHLQWKH

  IRUP RI WKH *DWHNHHSHU 3URYLVLRQ 0U 'RQGHUR DQG KLV UHODWHG HQWLWLHV ZLOO OLNHO\ FRPPHQFH

  OLWLJDWLRQDJDLQVWWKH3URWHFWHG3DUWLHVDIWHUWKH(IIHFWLYH'DWHDQGGRVRLQMXULVGLFWLRQVRWKHUWKDQ

  WKH%DQNUXSWF\&RXUWLQDQHIIRUWWRREWDLQDIRUXPZKLFK0U'RQGHURSHUFHLYHVZLOOEHPRUH

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  ZLOOLPSHGHHIIRUWVE\WKH&ODLPDQW7UXVWWRPRQHWL]HDVVHWVIRUWKHEHQHILWRIFUHGLWRUVDQGUHVXOW




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  LQORZHUGLVWULEXWLRQVWRFUHGLWRUVEHFDXVHRIFRVWVDQGGLVWUDFWLRQVXFKOLWLJDWLRQRUWKHWKUHDWVRI

  VXFKOLWLJDWLRQZRXOGFDXVH

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  &ODLPDQW7UXVW2YHUVLJKW%RDUGZLOOQRWEHDEOHWRREWDLQ' 2LQVXUDQFHWKHDEVHQFHRIZKLFK

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  FRYHUDJHDIWHUWKH(IIHFWLYH'DWHWKHRQO\RQHZLOOLQJWRGRVRZLWKRXWDQH[FOXVLRQIRUFODLPV

  DVVHUWHG E\ 0U 'RQGHUR DQG KLV DIILOLDWHV RWKHUZLVH UHTXLUHV WKDW WKLV 2UGHU DSSURYH WKH

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  DGPLQLVWUDWLRQ LPSOHPHQWDWLRQ DQG FRQVXPPDWLRQ RI WKH 3ODQ DQG LV DSSURSULDWH SXUVXDQW WR

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  DEXVH RI WKH FRXUW V\VWHP DQG SUHHPSW WKH XVH RI MXGLFLDO WLPH WKDW SURSHUO\ FRXOG EH XVHG WR

  FRQVLGHU WKH PHULWRULRXV FODLPV RI RWKHU OLWLJDQWV  $Q\ VXLW DJDLQVW D 3URWHFWHG 3DUW\ ZRXOG

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  3DUWLHVXQGHUWKH/LPLWHG3DUWQHUVKLS$JUHHPHQWZKLFKZLOOUHPDLQLQHIIHFWWKURXJKWKH(IIHFWLYH

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  6WUDQGWKH'HEWRUDQGHDFK,QGHSHQGHQW'LUHFWRUIROORZLQJWKH&RQILUPDWLRQ'DWHDVHDFKVXFK

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  DVSRVWFRQILUPDWLRQEDQNUXSWF\FRXUWMXULVGLFWLRQKDVEHHQLQWHUSUHWHGE\WKH)LIWK&LUFXLWXQGHU

  United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.))G

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  v. Schmidt)G WK&LU WKH%DQNUXSWF\&RXUW¶VMXULVGLFWLRQWRDFWDVD

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  ZKHWKHUWKH%DQNUXSWF\&RXUWZRXOGKDYHMXULVGLFWLRQWRDGMXGLFDWHDQ\FODLPLWILQGVFRORUDEOH

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  (PSOR\HH&ODLPDQW´ KDVDVVHUWHGFHUWDLQFODLPVIRUOLTXLGDWHGEXWXQSDLGERQXVDPRXQWVIRUWKH

  IROORZLQJSHULRGVDQGDVVHWIRUWKLQ([KLELW$WRWKDWFHUWDLQSenior Employees’

  Limited Objection to Debtor’s Fifth Amended Plan of Reorganization >'RFNHW 1R @ WKH

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                    DQGWLPHO\UHWXUQHGERWKRIVXFK%DOORWVYRWHGWRUHMHFWWKH3ODQDQGHOHFWHGWR
                    KDYHKLV&ODVV/LTXLGDWHG%RQXV&ODLPVWUHDWHGXQGHU&ODVVRIWKH3ODQVXEMHFW
                    WR WKH REMHFWLRQV DQG UHVHUYDWLRQV RI ULJKWV VHW IRUWK LQ WKH 6HQLRU (PSOR\HHV¶
                    2EMHFWLRQ,I0U(OOLQJWRQLVSHUPLWWHGWRHOHFW&ODVVWUHDWPHQWIRUKLV/LTXLGDWHG
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                    UHFHLYH&ODVV&RQYHQLHQFH&ODVVWUHDWPHQWIRUKLV/LTXLGDWHG%RQXV&ODLPV7KH
                    'HEWRUFRQWHQGHGWKDWQHLWKHU0U(OOLQJWRQRU0U/HYHQWRQZHUHHQWLWOHGWRHOHFW
                    WR UHFHLYH &ODVV  &RQYHQLHQFH &ODVV WUHDWPHQW RQ DFFRXQW RI WKHLU /LTXLGDWHG

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                    %RQXV &ODLPV XQGHU WKH WHUPV RI WKH 3ODQ WKH 'LVFORVXUH 6WDWHPHQW 2UGHU RU
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                    HIIRUW WR UHVROYH DOO LVVXHV UDLVHG LQ WKH 6HQLRU (PSOR\HH¶V 2EMHFWLRQ LQFOXGLQJ
                    ZKHWKHU RU QRW 0U (OOLQJWRQ DQG 0U /HYHQWRQ ZHUH HQWLWOHG WR &ODVV 
                    &RQYHQLHQFH&ODVVWUHDWPHQWRIWKHLU/LTXLGDWHG%RQXV&ODLPV$VDUHVXOWRIVXFK
                    QHJRWLDWLRQ WKH 'HEWRU 0U (OOLQJWRQ DQG 0U /HYHQWRQ KDYH DJUHHG WR WKH
                    VHWWOHPHQWGHVFULEHGLQ SDUDJUDSKV  H  WKURXJK  N  EHORZ DQGDSSURYHG DQG
                    HIIHFWXDWHGSXUVXDQWWRGHFUHWDOSDUDJUDSKV55WKURXJK66 WKH³6HQLRU(PSOR\HHV 
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                    &ODLPVZLOOEHHQWLWOHGWRUHFHLYHSD\PHQWLQDQDPRXQWHTXDOWRRIWKH
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                    &ODLPV EHFRPLQJ $OORZHG &ODLPV XQGHU WKH WHUPV RI WKH 3ODQ  8QGHU WKLV
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                    KLV&ODVV&RQYHQLHQFH&ODVV&ODLPZKHQDQGDV$OORZHGXQGHUWKH3ODQDQG0U
                    /HYHQWRQ ZRXOG EH HQWLWOHG WR UHFHLYH  RQ DFFRXQW RI KLV &ODVV 
                    &RQYHQLHQFH&ODVV&ODLPZKHQDQGDV$OORZHGXQGHUWKH3ODQ,IKRZHYHUDQ\
                    SDUW\ LQ LQWHUHVW REMHFWV WR WKH DOORZDQFH RI WKH 6HQLRU (PSOR\HH &ODLPDQW V
                    /LTXLGDWHG%RQXV&ODLPVDQGGRHVQRWSUHYDLOLQVXFKREMHFWLRQWKHQVXFK6HQLRU
                    (PSOR\HH&ODLPDQWZLOOEHHQWLWOHGWRDSD\PHQWLQDQDPRXQWHTXDOWRRIKLV
                    $OORZHG/LTXLGDWHG%RQXV&ODLPV VXEMHFWLQWKHFDVHRI0U(OOLQJWRQWRWKHFDS
                    LPSRVHGRQ&ODVV&ODLPV ,QDGGLWLRQXQGHU2SWLRQ$HDFKRI0U(OOLQJWRQ
                    DQG0U/HYHQWRQZRXOGUHWDLQWKHLUUHVSHFWLYHULJKWVWRDVVHUWWKDWWKH/LTXLGDWHG
                    %RQXV &ODLPV DUH HQWLWOHG WR EH WUHDWHG DV $GPLQLVWUDWLYH ([SHQVH &ODLPV DV
                    GHILQHGLQ$UWLFOH,%RIWKH3ODQLQZKLFKFDVHWKHKROGHURIVXFK/LTXLGDWHG
                    %RQXV &ODLPV ZRXOG EH HQWLWOHG WR SD\PHQW LQ IXOO RI WKH $OORZHG /LTXLGDWHG
                    %RQXV&ODLPV8QGHU2SWLRQ$SDUWLHVLQLQWHUHVWZRXOGUHWDLQWKHULJKWWRREMHFW
                    WR DQ\ PRWLRQ VHHNLQJ SD\PHQW RI WKH /LTXLGDWHG %RQXV $PRXQWV DV
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                    LQ0U/HYHQWRQ¶VFDVHZRXOGEH DQGVXFKSD\PHQWZRXOGEHWKH
                    VROHUHFRYHU\RQDFFRXQWRIVXFK$OORZHG/LTXLGDWHG%RQXV&ODLPV

           J      7KH'HEWRUPD\ZLWKWKHFRQVHQWRIWKH&RPPLWWHHHOHFW2SWLRQ%ZLWKUHVSHFWWR
                    D6HQLRU(PSOR\HH&ODLPDQWDWDQ\WLPHSULRUWRWKHRFFXUUHQFHRIWKH(IIHFWLYH
                    'DWH,IWKH'HEWRUGRHVQRWPDNHDQHOHFWLRQWKHQ2SWLRQ$ZLOODSSO\

           K      8QGHUHLWKHU2SWLRQ$RU2SWLRQ%0U(OOLQJWRQDQG0U/HYHQWRQZLOOUHWDLQDOO
                    WKHLUULJKWVZLWKUHVSHFWWRDOO&ODLPVRWKHUWKDQWKH/LTXLGDWHG%RQXV$PRXQWV
                    LQFOXGLQJEXWQRWOLPLWHGWRWKHLU&ODVV372&ODLPVRWKHUFODLPVDVVHUWHGDV
                    &ODVV  *HQHUDO 8QVHFXUHG &ODLPV WKH 6HQLRU (PSOR\HHV¶ FODLPV IRU
                    LQGHPQLILFDWLRQ DJDLQVW WKH 'HEWRU DQG DQ\ RWKHU FODLPV WKDW WKH\ PD\ DVVHUW
                    FRQVWLWXWH$GPLQLVWUDWLYH([SHQVH&ODLPVDQGDQ\RWKHUVXFK&ODLPVDUHVXEMHFW
                    WRWKHULJKWVRIDQ\SDUW\LQLQWHUHVWWRREMHFWWRVXFK&ODLPVDQGWKH'HEWRUUHVHUYHV
                    DQ\DOORILWVULJKWVDQGGHIHQVHVLQFRQQHFWLRQWKHUHZLWK

           L      6XEMHFWWRHQWU\RIWKLV&RQILUPDWLRQ2UGHUDQGDVVHWIRUWKDQGDQQRXQFHGRQWKH
                    UHFRUGDWWKHKHDULQJRQFRQILUPDWLRQRIWKH3ODQDQGQRSDUW\REMHFWLQJWKHUHWR
                    0U (OOLQJWRQ DQG 0U /HYHQWRQ DJUHHG WR FKDQJH WKH YRWHV LQ WKHLU UHVSHFWLYH
                    %DOORWV IURP UHMHFWLRQ WR DFFHSWDQFH RI WKH 3ODQ DQG WR ZLWKGUDZ WKH 6HQLRU
                    (PSOR\HHV¶2EMHFWLRQ

           M      7KH 6HQLRU (PSOR\HHV¶ 6HWWOHPHQW UHSUHVHQWV D YDOLG H[HUFLVH RI WKH 'HEWRU¶V
                    EXVLQHVV MXGJPHQW DQG VDWLVILHV WKH UHTXLUHPHQWV IRU D FRPSURPLVH XQGHU
                    %DQNUXSWF\5XOH D 

           N      )RU WKH DYRLGDQFH RI GRXEW QHLWKHU 0U /HYHQWRQ QRU 0U (OOLQJWRQ VKDOO EH D
                    5HOHDVHG3DUW\XQGHUWKH3ODQUHJDUGOHVVRIKRZWKH6HQLRU(PSOR\HH&ODLPDQWV¶
                    &ODLPVDUHWREHWUHDWHGKHUHXQGHU

           %DVHGXSRQWKHIRUHJRLQJILQGLQJVDQGXSRQWKHUHFRUGPDGHEHIRUHWKH%DQNUXSWF\&RXUW

  DWWKH&RQILUPDWLRQ+HDULQJDQGJRRGDQGVXIILFLHQWFDXVHDSSHDULQJWKHUHIRULWLVKHUHE\

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  3ODQ6XSSOHPHQWVDQG3ODQ0RGLILFDWLRQVDUHLQFRUSRUDWHGE\UHIHUHQFHLQWRDQGDUHDQLQWHJUDO

  SDUWRIWKLV&RQILUPDWLRQ2UGHU 

                       %      )LQGLQJVRI)DFWDQG&RQFOXVLRQVRI/DZ7KHILQGLQJVRIIDFWDQGWKH

  FRQFOXVLRQV RI ODZ VHW IRUWK LQ WKLV &RQILUPDWLRQ 2UGHU DQG RQ WKH UHFRUG RI WKH &RQILUPDWLRQ

  +HDULQJFRQVWLWXWHILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZLQDFFRUGDQFHZLWK%DQNUXSWF\5XOH

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  FRQFOXVLRQRIODZDQQRXQFHGE\WKH%DQNUXSWF\&RXUWDWWKH&RQILUPDWLRQ+HDULQJLQUHODWLRQWR

  FRQILUPDWLRQRIWKH3ODQDUHKHUHE\LQFRUSRUDWHGLQWRWKLV&RQILUPDWLRQ2UGHU7RWKHH[WHQWWKDW

  DQ\RIWKHIROORZLQJFRQVWLWXWHVILQGLQJVRIIDFWRUFRQFOXVLRQVRIODZWKH\DUHDGRSWHGDVVXFK

  7R WKH H[WHQW DQ\ ILQGLQJV RI IDFW RU FRQFOXVLRQV RI ODZ VHW IRUWK LQ WKLV &RQILUPDWLRQ 2UGHU

      LQFOXGLQJDQ\ILQGLQJVRIIDFWRUFRQFOXVLRQVRIODZDQQRXQFHGE\WKH%DQNUXSWF\&RXUWDWWKH

  &RQILUPDWLRQ+HDULQJDQGLQFRUSRUDWHGKHUHLQ FRQVWLWXWHVDQRUGHURIWKH%DQNUXSWF\&RXUWDQG

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                       &      2EMHFWLRQV$Q\UHVROXWLRQRUGLVSRVLWLRQRIREMHFWLRQVWRFRQILUPDWLRQRI

  WKH 3ODQ RU RWKHUZLVH UXOHG XSRQ E\ WKH %DQNUXSWF\ &RXUW RQ WKH UHFRUG RI WKH &RQILUPDWLRQ

  +HDULQJ LV KHUHE\ LQFRUSRUDWHG E\ UHIHUHQFH  $OO REMHFWLRQV DQG DOO UHVHUYDWLRQV RI ULJKWV

  SHUWDLQLQJ WR FRQILUPDWLRQ RI WKH 3ODQ WKDW KDYH QRW EHHQ ZLWKGUDZQ ZDLYHG RU VHWWOHG DUH

  RYHUUXOHGRQWKHPHULWVH[FHSWDVRWKHUZLVHVSHFLILFDOO\SURYLGHGLQWKLV&RQILUPDWLRQ2UGHU

                       '      3ODQ 6XSSOHPHQWV DQG 3ODQ 0RGLILFDWLRQV  7KH ILOLQJ ZLWK WKH

  %DQNUXSWF\ &RXUW RI WKH 3ODQ 6XSSOHPHQWV DQG WKH 3ODQ 0RGLILFDWLRQV FRQVWLWXWHV GXH DQG

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  VXIILFLHQWQRWLFHWKHUHRI$FFRUGLQJO\SXUVXDQWWRVHFWLRQ D RIWKH%DQNUXSWF\&RGHDQG

  %DQNUXSWF\5XOHWKH3ODQ0RGLILFDWLRQVDQGWKH3ODQ6XSSOHPHQWVGRQRWUHTXLUHDGGLWLRQDO

  GLVFORVXUHXQGHUVHFWLRQRIWKH%DQNUXSWF\&RGHRUUHVROLFLWDWLRQRIYRWHVXQGHUVHFWLRQ

  RIWKH%DQNUXSWF\&RGHQRUGRWKH\UHTXLUHWKDW+ROGHUVRI&ODLPVRU(TXLW\,QWHUHVWVEHDIIRUGHG

  DQ RSSRUWXQLW\ WR FKDQJH SUHYLRXVO\ FDVW DFFHSWDQFHV RU UHMHFWLRQV RI WKH 3ODQ  7KH 3ODQ

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  WRDFFHSWWKH3ODQ RUZKRPDUHFRQFOXVLYHO\SUHVXPHGWRDFFHSWWKH3ODQ DUHGHHPHGWRKDYH

  DFFHSWHGWKH3ODQDVPRGLILHGE\WKH3ODQ0RGLILFDWLRQV1RKROGHURID&ODLPVKDOOEHSHUPLWWHG

  WRFKDQJHLWVYRWHDVDFRQVHTXHQFHRIWKH3ODQ0RGLILFDWLRQV

                    )      9HVWLQJ RI $VVHWV LQ WKH 5HRUJDQL]HG 'HEWRU  ([FHSW DV RWKHUZLVH

  SURYLGHGLQWKH3ODQRUWKLV&RQILUPDWLRQ2UGHURQRUDIWHUWKH(IIHFWLYH'DWHDOO5HRUJDQL]HG

  'HEWRU$VVHWVZLOOYHVWLQWKH5HRUJDQL]HG'HEWRUIUHHDQGFOHDURIDOO/LHQV&ODLPVFKDUJHVRU

  RWKHUHQFXPEUDQFHVSXUVXDQWWRVHFWLRQ F RIWKH%DQNUXSWF\&RGHH[FHSWZLWKUHVSHFWWR

  VXFK/LHQV&ODLPVFKDUJHVDQGRWKHUHQFXPEUDQFHVWKDWDUHVSHFLILFDOO\SUHVHUYHGXQGHUWKH3ODQ

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  UHSUHVHQWDWLYHRIWKH(VWDWHDSSRLQWHGSXUVXDQWWRVHFWLRQ E  % RIWKH%DQNUXSWF\&RGH

  ZLWKUHVSHFWWRWKH5HRUJDQL]HG'HEWRU$VVHWV

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  LQFOXGLQJ DOO DFWLRQV LQ FRQQHFWLRQ ZLWK WKH &ODLPDQW 7UXVW $JUHHPHQW WKH 6HQLRU (PSOR\HH

  6WLSXODWLRQ WKH 1HZ *3 //& 'RFXPHQWV WKH 1HZ )URQWLHU 1RWH WKH 5HRUJDQL]HG /LPLWHG

  3DUWQHUVKLS$JUHHPHQWWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDQGWKHRWKHU3ODQ'RFXPHQWVDUH

  DXWKRUL]HG WR EH WDNHQ RQ SULRU WR RU DIWHU WKH (IIHFWLYH 'DWH DV DSSOLFDEOH XQGHU WKLV

  &RQILUPDWLRQ2UGHUZLWKRXWIXUWKHUDSSOLFDWLRQWRRURUGHURIWKH%DQNUXSWF\&RXUWRUIXUWKHU

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  ZLWKWKHHIIHFWWKDWVXFKDFWLRQVKDGEHHQWDNHQE\XQDQLPRXVDFWLRQRIVXFKSDUWLHV

                    +      5HVWUXFWXULQJ 7UDQVDFWLRQV  7KH 'HEWRU RU 5HRUJDQL]HG 'HEWRU DV

  DSSOLFDEOHDUHDXWKRUL]HGWRHQWHULQWRDQGHIIHFWXDWHWKH5HVWUXFWXULQJSURYLGHGXQGHUWKH3ODQ

  LQFOXGLQJZLWKRXWOLPLWDWLRQWKHHQWU\LQWRDQGFRQVXPPDWLRQRIWKHWUDQVDFWLRQVFRQWHPSODWHG

  E\WKH&ODLPDQW7UXVW$JUHHPHQWWKH6HQLRU(PSOR\HH6WLSXODWLRQWKH1HZ*3//&'RFXPHQWV

  WKH1HZ)URQWLHU1RWHWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQWWKH/LWLJDWLRQ6XE7UXVW

  $JUHHPHQW DQG WKH RWKHU 3ODQ 'RFXPHQWV DQG PD\ WDNH DQ\ DFWLRQV DV PD\ EH QHFHVVDU\ RU

  DSSURSULDWHWRHIIHFWDFRUSRUDWHUHVWUXFWXULQJRILWVEXVLQHVVRUDFRUSRUDWHUHVWUXFWXULQJRIWKH

  RYHUDOOFRUSRUDWHVWUXFWXUHRIWKH5HRUJDQL]HG'HEWRUDVDQGWRWKHH[WHQWSURYLGHGLQWKH3ODQ

  $Q\ WUDQVIHUV RI DVVHWV RU HTXLW\ LQWHUHVWV HIIHFWHG RU DQ\ REOLJDWLRQV LQFXUUHG WKURXJK WKH

  5HVWUXFWXULQJ SXUVXDQW WR WKH 3ODQ DUH KHUHE\ DSSURYHG DQG VKDOO QRW FRQVWLWXWH IUDXGXOHQW

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                    ,      3UHVHUYDWLRQ RI &DXVHV RI $FWLRQ  8QOHVV D &DXVH RI $FWLRQ DJDLQVW D

  +ROGHURID&ODLPRUDQ(TXLW\,QWHUHVWRURWKHU(QWLW\LVH[SUHVVO\ZDLYHGUHOLQTXLVKHGUHOHDVHG

  FRPSURPLVHG RU VHWWOHG LQ WKH 3ODQ RU DQ\ )LQDO 2UGHU LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WKLV

  &RQILUPDWLRQ 2UGHU  VXFK &DXVH RI $FWLRQ LV H[SUHVVO\ UHVHUYHG IRU ODWHU DGMXGLFDWLRQ E\ WKH

  5HRUJDQL]HG 'HEWRU WKH /LWLJDWLRQ 6XE7UXVW RU WKH &ODLPDQW 7UXVW DV DSSOLFDEOH LQFOXGLQJ

  ZLWKRXW OLPLWDWLRQ &DXVHV RI $FWLRQ QRW VSHFLILFDOO\ LGHQWLILHG RU RI ZKLFK WKH 'HEWRU PD\

  SUHVHQWO\ EH XQDZDUH RU WKDW PD\ DULVH RU H[LVW E\ UHDVRQ RI DGGLWLRQDO IDFWV RU FLUFXPVWDQFHV

  XQNQRZQWRWKH'HEWRUDWWKLVWLPHRUIDFWVRUFLUFXPVWDQFHVWKDWPD\FKDQJHRUEHGLIIHUHQWIURP

  WKRVHWKH'HEWRUQRZEHOLHYHVWRH[LVW DQGWKHUHIRUHQRSUHFOXVLRQGRFWULQHLQFOXGLQJZLWKRXW

  OLPLWDWLRQ WKH GRFWULQHV RI res judicata FROODWHUDO HVWRSSHO LVVXH SUHFOXVLRQ FODLP SUHFOXVLRQ

  ZDLYHUHVWRSSHO MXGLFLDOHTXLWDEOHRURWKHUZLVH RUODFKHVZLOODSSO\WRVXFK&DXVHVRI$FWLRQDV

  D FRQVHTXHQFH RI WKH FRQILUPDWLRQ HIIHFWLYHQHVV RU FRQVXPPDWLRQ RI WKH 3ODQ EDVHG RQ WKH

  'LVFORVXUH6WDWHPHQWWKH3ODQRUWKLV&RQILUPDWLRQ2UGHUH[FHSWZKHUHVXFK&DXVHVRI$FWLRQ

  KDYHEHHQH[SUHVVO\UHOHDVHGLQWKH3ODQRUDQ\RWKHU)LQDO2UGHU LQFOXGLQJZLWKRXWOLPLWDWLRQ

  WKLV&RQILUPDWLRQ2UGHU ,QDGGLWLRQWKHULJKWRIWKH5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVWRU

  WKH/LWLJDWLRQ6XE7UXVWWRSXUVXHRUDGRSWDQ\FODLPVDOOHJHGLQDQ\ODZVXLWLQZKLFKWKH'HEWRU

  LVDSODLQWLIIGHIHQGDQWRUDQLQWHUHVWHGSDUW\DJDLQVWDQ\(QWLW\LQFOXGLQJZLWKRXWOLPLWDWLRQWKH

  SODLQWLIIVRUFRGHIHQGDQWVLQVXFKODZVXLWVLVH[SUHVVO\UHVHUYHG

                    -      ,QGHSHQGHQW %RDUG RI 'LUHFWRUV RI 6WUDQG  7KH WHUPV RI WKH FXUUHQW

  ,QGHSHQGHQW'LUHFWRUVVKDOOH[SLUHRQWKH(IIHFWLYH'DWHZLWKRXWWKHQHHGIRUDQ\IXUWKHURURWKHU

  DFWLRQ E\ DQ\ RI WKH ,QGHSHQGHQW 'LUHFWRUV  )RU DYRLGDQFH RI GRXEW WKH $VVXPHG &RQWUDFWV



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  LQFOXGHWKHIndemnification and Guaranty Agreement between Highland Capital Management,

  Strand Advisors, Inc. and James Seery WKH Indemnification and Guaranty Agreement between

  Highland Capital Management, Strand Advisors, Inc. and John DubelDQGIndemnification and

  Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

  NelmsDQGVKDOOHDFKUHPDLQLQIXOOIRUFHDQGHIIHFWQRWZLWKVWDQGLQJWKHH[SLUDWLRQRIWKHWHUPVRI

  DQ\,QGHSHQGHQW'LUHFWRUV

                    .      &DQFHOODWLRQ RI (TXLW\ ,QWHUHVWV DQG ,VVXDQFH RI 1HZ 3DUWQHUVKLS

  ,QWHUHVWV2QWKH(IIHFWLYH'DWHDOO&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWVLQFOXGLQJWKH&ODVV$

  /LPLWHG 3DUWQHUVKLS ,QWHUHVWV KHOG E\ 6WUDQG DV JHQHUDO SDUWQHU DQG &ODVV %& /LPLWHG

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  &ODLPV DJDLQVW WKH 'HEWRU RQ DFFRXQW RI RU EDVHG XSRQ VXFK &ODVV $ /LPLWHG 3DUWQHUVKLS

  ,QWHUHVWVDQG&ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWVVKDOOEHGHHPHGDVFDQFHOOHGUHOHDVHGDQG

  GLVFKDUJHGLQFOXGLQJDOOREOLJDWLRQVRUGXWLHVE\WKH'HEWRUUHODWLQJWRWKH(TXLW\,QWHUHVWVLQDQ\

  RIWKH'HEWRU¶VIRUPDWLRQGRFXPHQWVLQFOXGLQJWKH/LPLWHG3DUWQHUVKLS$JUHHPHQW$VRIWKH

  (IIHFWLYH 'DWH DQG SXUVXDQW WR WKH 3ODQ QHZ &ODVV $ /LPLWHG 3DUWQHUVKLS ,QWHUHVWV LQ WKH

  5HRUJDQL]HG'HEWRUZLOOEHLVVXHGWRWKH&ODLPDQW7UXVWDQG1HZ*3//&7KH&ODLPDQW7UXVW

  DVOLPLWHGSDUWQHUZLOOUDWLI\1HZ*3//&¶VDSSRLQWPHQWDVJHQHUDOSDUWQHURIWKH5HRUJDQL]HG

  'HEWRU DQG RQ DQG IROORZLQJ WKH (IIHFWLYH 'DWH WKH &ODLPDQW 7UXVW ZLOO EH WKH 5HRUJDQL]HG

  'HEWRU¶VOLPLWHGSDUWQHUDQG1HZ*3//&ZLOOEHLWVJHQHUDOSDUWQHU7KH&ODLPDQW7UXVWDV

  OLPLWHG SDUWQHU DQG 1HZ *3 //& DV JHQHUDO SDUWQHU ZLOO H[HFXWH WKH 5HRUJDQL]HG /LPLWHG

  3DUWQHUVKLS$JUHHPHQWZKLFKZLOODPHQGDQGUHVWDWHLQDOOUHVSHFWVWKH'HEWRU¶VFXUUHQW/LPLWHG



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  3DUWQHUVKLS$JUHHPHQW)ROORZLQJWKH(IIHFWLYH'DWHWKH5HRUJDQL]HG'HEWRUZLOOEHPDQDJHG

  FRQVLVWHQWZLWKWKHWHUPVRIWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQWE\1HZ*3//&

  7KHVROHPDQDJLQJPHPEHURI1HZ*3//&ZLOOEHWKH&ODLPDQW7UXVWDQGWKH&ODLPDQW7UXVWHH

  ZLOOEHWKHVROHRIILFHURI1HZ*3//&RQWKH(IIHFWLYH'DWH

                    /      7UDQVIHURI$VVHWVWR&ODLPDQW7UXVW2QRUSULRUWRWKH(IIHFWLYH'DWH

  WKH'HEWRUVKDOOLUUHYRFDEO\WUDQVIHUDQGVKDOOEHGHHPHGWRKDYHLUUHYRFDEO\WUDQVIHUUHGWRWKH

  &ODLPDQW7UXVWDOORILWVULJKWVWLWOHDQGLQWHUHVWLQDQGWRDOORIWKH&ODLPDQW7UXVW$VVHWVDQGLQ

  DFFRUGDQFH ZLWK VHFWLRQ  RI WKH %DQNUXSWF\ &RGH WKH &ODLPDQW 7UXVW $VVHWV VKDOO

  DXWRPDWLFDOO\ YHVW LQ WKH &ODLPDQW 7UXVW IUHH DQG FOHDU RI DOO&ODLPV /LHQV HQFXPEUDQFHV RU

  LQWHUHVWVVXEMHFWRQO\WRWKH&ODLPDQW7UXVW,QWHUHVWVDQGWKH&ODLPDQW7UXVW([SHQVHVDVSURYLGHG

  IRULQWKH&ODLPDQW7UXVW$JUHHPHQWDQGVXFKWUDQVIHUVKDOOEHH[HPSWIURPDQ\VWDPSUHDOHVWDWH

  WUDQVIHUPRUWJDJHIURPDQ\VWDPSWUDQVIHUUHSRUWLQJVDOHVXVHRURWKHUVLPLODUWD[)ROORZLQJ

  WKH(IIHFWLYH'DWHWKH&ODLPDQW7UXVWZLOODGPLQLVWHUWKH&ODLPDQW7UXVW$VVHWVSXUVXDQWWRWKH

  3ODQDQGWKH&ODLPDQW7UXVW$JUHHPHQW

                    0      7UDQVIHURI(VWDWH&ODLPVWR/LWLJDWLRQ6XE7UXVW2QRUSULRUWRWKH

  (IIHFWLYH 'DWH WKH &ODLPDQW 7UXVW VKDOO LUUHYRFDEO\ WUDQVIHU DQG VKDOO EH GHHPHG WR KDYH

  LUUHYRFDEO\ WUDQVIHUUHG WR WKH /LWLJDWLRQ 6XE7UXVW DOO RI WKH &ODLPDQW 7UXVW¶V ULJKWV WLWOH DQG

  LQWHUHVWLQDQGWRDOORIWKH(VWDWH&ODLPVDVVXFFHVVRULQLQWHUHVWWRWKH'HEWRUDQGLQDFFRUGDQFH

  ZLWK VHFWLRQ  RI WKH %DQNUXSWF\ &RGH WKH (VWDWH &ODLPV VKDOO DXWRPDWLFDOO\ YHVW LQ WKH

  /LWLJDWLRQ6XE7UXVWIUHHDQGFOHDURIDOO&ODLPV/LHQVHQFXPEUDQFHVRULQWHUHVWVVXEMHFWRQO\WR

  WKH/LWLJDWLRQ6XE7UXVW,QWHUHVWVDQG/LWLJDWLRQ6XE7UXVW([SHQVHV7KH/LWLJDWLRQ7UXVWHHZLOO



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  EHDXWKRUL]HGWRLQYHVWLJDWHSXUVXHDQGRWKHUZLVHUHVROYHWKH(VWDWH&ODLPVSXUVXDQWWRWKHWHUPV

  RIWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDQGWKH3ODQLQFOXGLQJDVVXFFHVVRULQLQWHUHVWWRWKH'HEWRU

  RU &RPPLWWHHDVDSSOLFDEOHLQDQ\OLWLJDWLRQFRPPHQFHGSULRUWRWKH(IIHFWLYH'DWHLQZKLFK

  (VWDWH&ODLPVDUHDVVHUWHG

                    1      &RPSURPLVHRI&RQWURYHUVLHV,QFRQVLGHUDWLRQIRUWKHGLVWULEXWLRQVDQG

  RWKHUEHQHILWVLQFOXGLQJUHOHDVHVSURYLGHGXQGHUWKH3ODQWKHSURYLVLRQVRIWKH3ODQFRQVWLWXWHD

  JRRGIDLWKFRPSURPLVHDQGVHWWOHPHQWRIDOO&ODLPV(TXLW\,QWHUHVWVDQGFRQWURYHUVLHVUHVROYHG

  XQGHUWKH3ODQDQGWKHHQWU\RIWKLV&RQILUPDWLRQ2UGHUFRQVWLWXWHVDSSURYDORIVXFKFRPSURPLVH

  DQGVHWWOHPHQWXQGHU%DQNUXSWF\5XOH

                    2      2EMHFWLRQVWR&ODLPV7KH&ODLPV2EMHFWLRQ'HDGOLQHVKDOOEHWKHGDWH

  WKDWLVGD\VDIWHUWKH(IIHFWLYH'DWHprovided, howeverWKDWWKH&ODLPV2EMHFWLRQ'HDGOLQH

  PD\EHH[WHQGHGE\WKH%DQNUXSWF\&RXUWXSRQDPRWLRQE\WKH&ODLPDQW7UXVWHHDQGDVRWKHUZLVH

  SURYLGHGXQGHUWKH3ODQ

                    3      $VVXPSWLRQ RI &RQWUDFWV DQG /HDVHV  (IIHFWLYH DV RI WKH GDWH RI WKLV

  &RQILUPDWLRQ2UGHUHDFKRIWKH$VVXPHG&RQWDFWVVKDOOEHDVVXPHGE\WKH'HEWRUZLWKRXWWKH

  QHHGIRUDQ\IXUWKHUQRWLFHWRRUDFWLRQRUGHURUDSSURYDORIWKH%DQNUXSWF\&RXUWXQGHUVHFWLRQ

  RIWKH%DQNUXSWF\&RGHDQGWKHSD\PHQWRI&XUHVLIDQ\VKDOOEHSDLGLQDFFRUGDQFHZLWKWKH

  3ODQ  (DFK $VVXPHG &RQWUDFW VKDOO LQFOXGH DOO PRGLILFDWLRQV DPHQGPHQWV VXSSOHPHQWV

  UHVWDWHPHQWVRURWKHUDJUHHPHQWVUHODWHGWKHUHWRDQGDOOULJKWVUHODWHGWKHUHWRLIDQ\LQFOXGLQJ

  DOOHDVHPHQWVOLFHQVHVSHUPLWVULJKWVSULYLOHJHVLPPXQLWLHVRSWLRQVULJKWVRIILUVWUHIXVDODQG

  DQ\ RWKHU LQWHUHVWV  0RGLILFDWLRQV DPHQGPHQWV VXSSOHPHQWV DQG UHVWDWHPHQWV WR DQ\ RI WKH



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  $VVXPHG&RQWUDFWVWKDWKDYHEHHQH[HFXWHGE\WKH'HEWRUGXULQJWKH&KDSWHU&DVHVKDOOQRW

  EHGHHPHGWRDOWHUWKHSUHSHWLWLRQQDWXUHRIVXFK$VVXPHG&RQWUDFWVRUWKHYDOLGLW\SULRULW\RU

  DPRXQW RI DQ\ &ODLPV WKDW PD\ DULVH LQ FRQQHFWLRQ WKHUHZLWK  $VVXPSWLRQ RI WKH $VVXPHG

  &RQWUDFWVSXUVXDQWWR$UWLFOH9$RIWKH3ODQDQGIXOOSD\PHQWRIDQ\DSSOLFDEOH&XUHSXUVXDQWWR

  WKH3ODQVKDOOUHVXOWLQWKHIXOOUHOHDVHDQGVDWLVIDFWLRQRIDQ\&XUHV&ODLPVRUGHIDXOWVZKHWKHU

  PRQHWDU\ RU QRQPRQHWDU\ LQFOXGLQJ GHIDXOWV RI SURYLVLRQV UHVWULFWLQJ WKH FKDQJH LQ FRQWURO RU

  RZQHUVKLSLQWHUHVWFRPSRVLWLRQRURWKHUEDQNUXSWF\UHODWHGGHIDXOWVDULVLQJXQGHUDQ\$VVXPHG

  &RQWUDFWV

                    4      5HMHFWLRQRI&RQWUDFWVDQG/HDVHV8QOHVVSUHYLRXVO\DVVXPHGGXULQJWKH

  SHQGHQF\ RI WKH &KDSWHU  &DVH RU SXUVXDQW WR WKH 3ODQ DOO RWKHU ([HFXWRU\ &RQWUDFWV DQG

  8QH[SLUHG/HDVHVDUHUHMHFWHGDVRIWKHGDWHRIWKHHQWU\RIWKLV&RQILUPDWLRQ2UGHUDQGSXUVXDQW

  WR WKH WHUPV RI WKH 3ODQ  7R WKH H[WHQW WKDW DQ\ SDUW\ DVVHUWV DQ\ GDPDJHV UHVXOWLQJ IURP WKH

  UHMHFWLRQRIDQ\([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHVXFKFODLPPXVWEHILOHGZLWKLQWKLUW\

       GD\VIROORZLQJHQWU\RIWKLV&RQILUPDWLRQ2UGHURUVXFKFODLPZLOOEHIRUHYHUEDUUHGDQG

  GLVDOORZHGDJDLQVWWKH5HRUJDQL]HG'HEWRU

                    5      $VVXPSWLRQRI,VVXHU([HFXWRU\&RQWUDFWV2QWKH&RQILUPDWLRQ'DWH

  WKH 'HEWRU ZLOO DVVXPH WKH DJUHHPHQWV VHW IRUWK RQ ([KLELW % KHUHWR FROOHFWLYHO\ WKH ³,VVXHU

  ([HFXWRU\&RQWUDFWV´ SXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGHDQG$UWLFOH9RIWKH3ODQ

  ,Q IXOO DQG FRPSOHWH VDWLVIDFWLRQ RI LWV REOLJDWLRQ WR FXUH RXWVWDQGLQJ GHIDXOWV XQGHU VHFWLRQ

   E  RIWKH%DQNUXSWF\&RGHWKH'HEWRURUDVDSSOLFDEOHDQ\VXFFHVVRUPDQDJHUXQGHUWKH




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  ,VVXHU ([HFXWRU\ &RQWUDFWV FROOHFWLYHO\ WKH ³3RUWIROLR 0DQDJHU´  ZLOO SD\ WR WKH ,VVXHUV  D

  FXPXODWLYHDPRXQWRI WKH³&XUH$PRXQW´ DVIROORZV

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                    VXFKSD\PHQWSDLGGLUHFWO\WR6FKXOWH5RWK =DEHO//3 ³65=´ LQWKHDPRXQWRI
                    -RQHV:DONHU//3 ³-:´ LQWKHDPRXQWRIDQG0DSOHV
                    *URXS ³0DSOHV´DQGFROOHFWLYHO\ZLWK65=DQG-:WKH³,VVXHUV¶&RXQVHO´ LQWKH
                    DPRXQW RI  DV UHLPEXUVHPHQW IRU WKH DWWRUQH\¶V IHHV DQG RWKHU OHJDO
                    H[SHQVHVLQFXUUHGE\WKH,VVXHUVLQFRQQHFWLRQZLWKWKH'HEWRU¶VEDQNUXSWF\FDVH
                    DQG

           E       LQ IRXU HTXDO TXDUWHUO\ SD\PHQWV RI  HDFK D ³3D\PHQW´ 
                    ZKLFKDPRXQWVVKDOOEHSDLGWR65=LQWKHDPRXQWRI-:LQWKHDPRXQW
                    RI  DQG 0DSOHV LQ WKH DPRXQW RI  DV DGGLWLRQDO
                    UHLPEXUVHPHQW IRU WKH DWWRUQH\¶V IHHV DQG RWKHU OHJDO H[SHQVHV LQFXUUHG E\ WKH
                    ,VVXHUVLQFRQQHFWLRQZLWKWKH'HEWRU¶VEDQNUXSWF\FDVH L IURPDQ\PDQDJHPHQW
                    IHHVDFWXDOO\SDLGWRWKH3RUWIROLR0DQDJHUXQGHUWKH,VVXHU([HFXWRU\&RQWUDFWV
                     WKH³0DQDJHPHQW)HHV´ DQG LL RQWKHGDWH V 0DQDJHPHQW)HHVDUHUHTXLUHGWR
                    EH SDLG XQGHU WKH ,VVXHU ([HFXWRU\ &RQWUDFWV WKH ³3D\PHQW 'DWHV´  DQG VXFK
                    REOLJDWLRQ VKDOO EH FRQVLGHUHG DQ LUUHYRFDEOH GLUHFWLRQ IURP WKH 'HEWRU DQG WKH
                    %DQNUXSWF\&RXUWWRWKHUHOHYDQW&/27UXVWHHWRSD\RQHDFK3D\PHQW'DWHWKH
                    3D\PHQW WR ,VVXHUV¶ &RXQVHO DOORFDWHG LQ WKH SURSRUWLRQ VHW IRUWK LQ VXFK
                    DJUHHPHQWprovided, however,WKDW [ LIWKH0DQDJHPHQW)HHVDUHLQVXIILFLHQWWR
                    PDNHDQ\3D\PHQWLQ IXOORQD3D\PHQW 'DWHVXFKVKRUWIDOOLQDGGLWLRQ WRDQ\
                    RWKHUDPRXQWVGXHKHUHXQGHUVKDOOEHSDLGRXWRIWKH0DQDJHPHQW)HHVRZHGRQ
                    WKH IROORZLQJ 3D\PHQW 'DWH DQG \  QRWKLQJ KHUHLQ VKDOO OLPLW HLWKHU 'HEWRU¶V
                    OLDELOLW\ WR SD\ WKH DPRXQWV VHW IRUWK KHUHLQ QRU WKH UHFRXUVH RI WKH ,VVXHUV RU
                    ,VVXHUV¶&RXQVHOWRWKH'HEWRULQWKHHYHQWRIDQ\IDLOXUHWRPDNHDQ\3D\PHQW

                    6      5HOHDVHRI,VVXHU&ODLPV(IIHFWLYHDVRIWKH&RQILUPDWLRQ'DWHDQGWR

  WKHPD[LPXPH[WHQWSHUPLWWHGE\ODZHDFK,VVXHURQEHKDOIRILWVHOIDQGHDFKRILWVFXUUHQWDQG

  IRUPHU DGYLVRUV WUXVWHHV GLUHFWRUV RIILFHUV PDQDJHUV PHPEHUV SDUWQHUV HPSOR\HHV

  EHQHILFLDULHVVKDUHKROGHUVDJHQWVSDUWLFLSDQWVVXEVLGLDULHVSDUHQWVVXFFHVVRUVGHVLJQHHVDQG
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    7KH³,VVXHUV´DUH%UHQWZRRG&/2/WG*OHQHDJOHV&/2/WG*UHHQEULDU&/2/WG+LJKODQG&/2
  /WG+LJKODQG/HJDF\/LPLWHG+LJKODQG/RDQ)XQGLQJ9/WG+LJKODQG3DUN&'2,/WG3DP&DSLWDO)XQGLQJ
  /35RFNZDOO&'2,,/WG5RFNZDOO&'2/WG6RXWKIRUN&/2/WG6WUDWIRUG&/2/WG:HVWFKHVWHU&/2/WG
  $EHUGHHQ/RDQ)XQGLQJ/WG(DVWODQG&/2/WG*UD\VRQ&/2/WG+LJKODQG&UHGLW2SSRUWXQLWLHV&'2/WG
  -DVSHU&/2/WG/LEHUW\&D\PDQ+ROGLQJV/WG/LEHUW\&/2/WG5HG5LYHU&/2/WG9DOKDOOD&/2/WG


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  DVVLJQVKHUHE\IRUHYHUILQDOO\IXOO\XQFRQGLWLRQDOO\DQGFRPSOHWHO\UHOHDVHVUHOLHYHVDFTXLWV

  UHPLVHV DQG H[RQHUDWHV DQG FRYHQDQWV QHYHU WR VXH L  WKH 'HEWRU DQG LL  WKH 3URIHVVLRQDOV

  UHWDLQHGE\WKH'HEWRUDQGWKH&RPPLWWHHLQWKH&KDSWHU&DVHWKH,QGHSHQGHQW'LUHFWRUVWKH

  &(2&52 DQGZLWKUHVSHFWWRWKH3HUVRQVOLVWHGLQWKLVVXEVHFWLRQ LL VXFK3HUVRQ¶V5HODWHG

  3HUVRQV FROOHFWLYHO\ WKH ³'HEWRU 5HOHDVHG 3DUWLHV´  IRU DQG IURP DQ\ DQG DOO FODLPV GHEWV

  OLDELOLWLHV GHPDQGV REOLJDWLRQV SURPLVHV DFWV DJUHHPHQWV OLHQV ORVVHV FRVWV DQG H[SHQVHV

      LQFOXGLQJZLWKRXWOLPLWDWLRQDWWRUQH\¶VIHHVDQGUHODWHGFRVWV GDPDJHVLQMXULHVVXLWVDFWLRQV

  DQG FDXVHV RI DFWLRQ RI ZKDWHYHU NLQG RU QDWXUH ZKHWKHU NQRZQ RU XQNQRZQ VXVSHFWHG RU

  XQVXVSHFWHGPDWXUHGRUXQPDWXUHGOLTXLGDWHGRUXQOLTXLGDWHGFRQWLQJHQWRUIL[HGDWODZRULQ

  HTXLW\VWDWXWRU\RURWKHUZLVHLQFOXGLQJZLWKRXWOLPLWDWLRQDQ\FODLPVGHIHQVHVDQGDIILUPDWLYH

  GHIHQVHVZKHWKHUNQRZQRUXQNQRZQLQFOXGLQJZLWKRXWOLPLWDWLRQWKRVHZKLFKZHUHRUFRXOG

  KDYHEHHQDVVHUWHGLQLQFRQQHFWLRQZLWKRUZLWKUHVSHFWWRWKH%DQNUXSWF\&DVH FROOHFWLYHO\WKH

  ³,VVXHU5HOHDVHG&ODLPV´ 

                    7      5HOHDVHRI'HEWRU&ODLPVDJDLQVW,VVXHU5HOHDVHG3DUWLHV8SRQHQWU\

  RIWKLV2UGHUDQGWRWKHPD[LPXPH[WHQWSHUPLWWHGE\ODZWKH'HEWRUKHUHE\IRUHYHUILQDOO\

  IXOO\ XQFRQGLWLRQDOO\ DQG FRPSOHWHO\ UHOHDVHV UHOLHYHV DFTXLWV UHPLVHV DQG H[RQHUDWHV DQG

  FRYHQDQWV QHYHU WR VXH > L  HDFK ,VVXHU DQG LL  :HQG\ (EDQNV LLL  <XQ =KHQJ LY  /DXUD

  &KLVKROP Y 0RUD*RGGDUG YL 6WDF\%RGGHQ YLL 6X]DQ0HUUHQ YLLL 6FRWW'DNHUV L[ 6DPLW

  *KRVK [ ,QGHUMLW6LQJK [L (OOHQ&KULVWLDQ [LL $QGUHZ'HDQ [LLL %HWV\0RUWHO [LY 'DYLG

  +RJDQ [Y &OHYHODQG6WHZDUW [YL 5DFKDHO5DQNLQ [YLL 2WHOLD6FRWW [YLLL 0DUWLQ&RXFK

      [[ )HURQD%DUWOH\'DYLV [[L &KDUORWWH&ORHWH [[LL &KULVWLQD0F/HDQ [[LLL .DUHQ(OOHUEH



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      [[LY *HQQLH.D\%LJRUG [[Y (YHUW%UXQHNUHHI [[YLL (YDQ&KDUOHV%XUWWRQ FROOHFWLYHO\

  WKH ³,VVXHU 5HOHDVHG 3DUWLHV´ @ IRU DQG IURP DQ\ DQG DOO FODLPV GHEWV OLDELOLWLHV GHPDQGV

  REOLJDWLRQV SURPLVHV DFWV DJUHHPHQWV OLHQV ORVVHV FRVWV DQG H[SHQVHV LQFOXGLQJ ZLWKRXW

  OLPLWDWLRQDWWRUQH\¶VIHHVDQGUHODWHGFRVWV GDPDJHVLQMXULHVVXLWVDFWLRQVDQGFDXVHVRIDFWLRQ

  RIZKDWHYHUNLQGRUQDWXUHZKHWKHUNQRZQRUXQNQRZQVXVSHFWHGRUXQVXVSHFWHGPDWXUHGRU

  XQPDWXUHG OLTXLGDWHG RU XQOLTXLGDWHG FRQWLQJHQW RU IL[HG DW ODZ RU LQ HTXLW\ VWDWXWRU\ RU

  RWKHUZLVHLQFOXGLQJZLWKRXWOLPLWDWLRQDQ\FODLPVGHIHQVHVDQGDIILUPDWLYHGHIHQVHVZKHWKHU

  NQRZQRUXQNQRZQZKLFKZHUHRUFRXOGKDYHEHHQDVVHUWHGLQLQFRQQHFWLRQZLWKRUZLWKUHVSHFW

  WR WKH %DQNUXSWF\ &DVH FROOHFWLYHO\ WKH ³'HEWRU 5HOHDVHG &ODLPV´  provided, however, WKDW

  QRWZLWKVWDQGLQJ DQ\WKLQJ KHUHLQ WR WKH FRQWUDU\ WKH UHOHDVH FRQWDLQHG KHUHLQ ZLOO DSSO\ WR WKH

  ,VVXHU 5HOHDVHG 3DUWLHV VHW IRUWK LQ VXEVHFWLRQ LL  DERYH RQO\ ZLWK UHVSHFW WR 'HEWRU 5HOHDVHG

  &ODLPVDULVLQJIURPRUUHODWLQJWRWKH,VVXHU([HFXWRU\&RQWUDFWV1RWZLWKVWDQGLQJDQ\WKLQJLQ

  WKLV2UGHUWRWKHFRQWUDU\WKHUHOHDVHVVHWIRUWKLQSDUDJUDSKV6DQG7KHUHRIZLOOQRWDSSO\ZLWK

  UHVSHFWWRWKHGXWLHVULJKWVRUREOLJDWLRQVRIWKH'HEWRURUDQ\,VVXHUKHUHXQGHU

                    8      $XWKRUL]DWLRQWR&RQVXPPDWH7KH'HEWRULVDXWKRUL]HGWRFRQVXPPDWH

  WKH 3ODQ DIWHU WKH HQWU\ RI WKLV &RQILUPDWLRQ 2UGHU VXEMHFW WR VDWLVIDFWLRQ RU ZDLYHU RI WKH

  FRQGLWLRQVSUHFHGHQWWRWKH(IIHFWLYH'DWHRIWKH3ODQVHWIRUWKLQ$UWLFOH9,,,$RIWKH3ODQ7KH

  3ODQVKDOOQRWEHFRPHHIIHFWLYHXQOHVVDQGXQWLOWKHFRQGLWLRQVVHWIRUWKLQ$UWLFOH9,,,$RIWKH

  3ODQKDYHEHHQVDWLVILHGRURWKHUZLVHZDLYHGSXUVXDQWWR$UWLFOH9,,,%RIWKH3ODQ

                    9      3URIHVVLRQDO&RPSHQVDWLRQ$OOUHTXHVWVIRUSD\PHQWRI3URIHVVLRQDO)HH

  &ODLPVIRUVHUYLFHVUHQGHUHGDQGUHLPEXUVHPHQWRIH[SHQVHVLQFXUUHGSULRUWRWKH(IIHFWLYH'DWH



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  PXVWEHILOHGQRODWHUWKDQVL[W\  GD\VDIWHUWKH(IIHFWLYH'DWH7KH%DQNUXSWF\&RXUWVKDOO

  GHWHUPLQHWKH$OORZHGDPRXQWVRIVXFK3URIHVVLRQDO)HH&ODLPVDIWHUQRWLFHDQGDQRSSRUWXQLW\

  IRU KHDULQJ LQ DFFRUGDQFH ZLWK WKH SURFHGXUHV HVWDEOLVKHG E\ WKH %DQNUXSWF\ &RGH DQG WKH

  %DQNUXSWF\&RXUW7KH'HEWRUVKDOOIXQGWKH3URIHVVLRQDO)HH5HVHUYHDVSURYLGHGXQGHUWKH3ODQ

  7KH5HRUJDQL]HG'HEWRUVKDOOSD\3URIHVVLRQDO)HH&ODLPVLQ&DVKLQWKHDPRXQWVWKH%DQNUXSWF\

  &RXUWDOORZV7KH'HEWRULVDXWKRUL]HGWRSD\WKHSUH(IIHFWLYH 'DWH IHHV DQG H[SHQVHV RI DOO

  RUGLQDU\ FRXUVH SURIHVVLRQDOV LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV ZLWKRXW WKH QHHG IRU IXUWKHU

  %DQNUXSWF\ &RXUW RUGHU RU DSSURYDO  )URP DQG DIWHU WKH (IIHFWLYH 'DWH DQ\ UHTXLUHPHQW WKDW

  3URIHVVLRQDOVFRPSO\ZLWKVHFWLRQVWKURXJKDQG LIDSSOLFDEOH RIWKH%DQNUXSWF\

  &RGHLQVHHNLQJUHWHQWLRQRUFRPSHQVDWLRQIRUVHUYLFHVUHQGHUHGDIWHUVXFKGDWHVKDOOWHUPLQDWH

  DQG WKH 5HRUJDQL]HG 'HEWRU RU &ODLPDQW 7UXVWHH DV DSSOLFDEOH PD\ HPSOR\ DQG SD\ DQ\

  3URIHVVLRQDORU(QWLW\HPSOR\HGLQWKHRUGLQDU\FRXUVHRIWKH'HEWRU¶VEXVLQHVVZLWKRXWDQ\IXUWKHU

  QRWLFHWRRUDFWLRQRUGHURUDSSURYDORIWKH%DQNUXSWF\&RXUW

                    :      5HOHDVH ([FXOSDWLRQ 'LVFKDUJH DQG ,QMXQFWLRQ 3URYLVLRQV  7KH

  IROORZLQJUHOHDVHH[FXOSDWLRQGLVFKDUJHDQGLQMXQFWLRQSURYLVLRQVVHWIRUWKLQWKH3ODQDUH

  DSSURYHGDQGDXWKRUL]HGLQWKHLUHQWLUHW\DQGVXFKSURYLVLRQVDUHHIIHFWLYHDQGELQGLQJRQ

  DOOSDUWLHVDQG(QWLWLHVWRWKHH[WHQWSURYLGHGWKHUHLQ

                    ;      'LVFKDUJHRI&ODLPVDQG7HUPLQDWLRQRI,QWHUHVWV7RWKHIXOOHVWH[WHQW

  SURYLGHGXQGHUVHFWLRQ G  $  DQGRWKHUDSSOLFDEOHSURYLVLRQVRIWKH%DQNUXSWF\&RGH

  H[FHSWDVRWKHUZLVHH[SUHVVO\SURYLGHGE\WKH3ODQRUWKLV&RQILUPDWLRQ2UGHUDOOFRQVLGHUDWLRQ

  GLVWULEXWHG XQGHU WKH 3ODQ ZLOO EH LQ H[FKDQJH IRU DQG LQ FRPSOHWH VDWLVIDFWLRQ VHWWOHPHQW



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  GLVFKDUJHDQGUHOHDVHRIDOO&ODLPVDQG(TXLW\,QWHUHVWVRIDQ\NLQGRUQDWXUHZKDWVRHYHUDJDLQVW

  WKH'HEWRURUDQ\RILWV$VVHWVRUSURSHUWLHVDQGUHJDUGOHVVRIZKHWKHUDQ\SURSHUW\ZLOOKDYHEHHQ

  GLVWULEXWHGRUUHWDLQHGSXUVXDQWWRWKH3ODQRQDFFRXQWRIVXFK&ODLPVRU(TXLW\,QWHUHVWV([FHSW

  DVRWKHUZLVHH[SUHVVO\SURYLGHGE\WKH3ODQRUWKLV&RQILUPDWLRQ2UGHUXSRQWKH(IIHFWLYH'DWH

  WKH'HEWRUDQGLWV(VWDWHZLOOEHGHHPHGGLVFKDUJHGDQGUHOHDVHGXQGHUDQGWRWKHIXOOHVWH[WHQW

  SURYLGHG XQGHU VHFWLRQ  G  $  DQG RWKHU DSSOLFDEOH SURYLVLRQV RI WKH %DQNUXSWF\ &RGH

  IURPDQ\DQGDOO&ODLPVDQG(TXLW\,QWHUHVWVRIDQ\NLQGRUQDWXUHZKDWVRHYHULQFOXGLQJEXWQRW

  OLPLWHGWRGHPDQGVDQGOLDELOLWLHVWKDWDURVHEHIRUHWKH&RQILUPDWLRQ'DWHDQGDOOGHEWVRIWKH

  NLQGVSHFLILHGLQVHFWLRQ J  K RU L RIWKH%DQNUXSWF\&RGH

                    <      ([FXOSDWLRQ  6XEMHFWLQDOOUHVSHFWVWR$UWLFOH ;,,'RIWKH3ODQWR WKH

  PD[LPXPH[WHQWSHUPLWWHGE\DSSOLFDEOHODZQR([FXOSDWHG3DUW\ZLOOKDYHRULQFXUDQGHDFK

  ([FXOSDWHG 3DUW\ LV KHUHE\ H[FXOSDWHG IURP DQ\ FODLP REOLJDWLRQ VXLW MXGJPHQW GDPDJH

  GHPDQGGHEWULJKW&DXVHRI$FWLRQUHPHG\ORVVDQGOLDELOLW\IRUFRQGXFWRFFXUULQJRQRUDIWHU

  WKH3HWLWLRQ'DWHLQFRQQHFWLRQZLWKRUDULVLQJRXWRI L WKHILOLQJDQGDGPLQLVWUDWLRQRIWKH&KDSWHU

  &DVH LL WKHQHJRWLDWLRQDQGSXUVXLWRIWKH'LVFORVXUH6WDWHPHQWWKH3ODQRUWKHVROLFLWDWLRQ

  RIYRWHVIRURUFRQILUPDWLRQRIWKH3ODQ LLL WKHIXQGLQJRUFRQVXPPDWLRQRIWKH3ODQ LQFOXGLQJ

  WKH3ODQ6XSSOHPHQW RUDQ\UHODWHGDJUHHPHQWVLQVWUXPHQWVRURWKHUGRFXPHQWVWKHVROLFLWDWLRQ

  RIYRWHVRQWKH3ODQWKHRIIHULVVXDQFHDQG3ODQ'LVWULEXWLRQRIDQ\VHFXULWLHVLVVXHGRUWREH

  LVVXHG SXUVXDQW WR WKH 3ODQ LQFOXGLQJ WKH &ODLPDQW 7UXVW ,QWHUHVWV ZKHWKHU RU QRW VXFK 3ODQ

  'LVWULEXWLRQVRFFXUIROORZLQJWKH(IIHFWLYH'DWH LY WKHLPSOHPHQWDWLRQRIWKH3ODQDQG Y DQ\

  QHJRWLDWLRQV WUDQVDFWLRQV DQG GRFXPHQWDWLRQ LQ FRQQHFWLRQ ZLWK WKH IRUHJRLQJ FODXVHV L  Y 



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  provided, howeverWKHIRUHJRLQJZLOOQRWDSSO\WR D DQ\DFWVRURPLVVLRQVRIDQ([FXOSDWHG3DUW\

  DULVLQJ RXW RI RU UHODWHG WR DFWV RU RPLVVLRQV WKDW FRQVWLWXWH EDG IDLWK IUDXG JURVV QHJOLJHQFH

  FULPLQDOPLVFRQGXFWRUZLOOIXOPLVFRQGXFWRU E 6WUDQGRUDQ\(PSOR\HHRWKHUWKDQZLWKUHVSHFW

  WRDFWLRQVWDNHQE\VXFK(QWLWLHVIURPWKHGDWHRIDSSRLQWPHQWRIWKH,QGHSHQGHQW'LUHFWRUVWKURXJK

  WKH(IIHFWLYH'DWH7KH3ODQ¶VH[FXOSDWLRQVKDOOEHLQDGGLWLRQWRDQGQRWLQOLPLWDWLRQRIDOORWKHU

  UHOHDVHVLQGHPQLWLHVH[FXOSDWLRQVDQ\RWKHUDSSOLFDEOHODZRUUXOHVRUDQ\RWKHUSURYLVLRQVRI

  WKH3ODQLQFOXGLQJ$UWLFOH,9&RIWKH3ODQSURWHFWLQJVXFK([FXOSDWHG3DUWLHVIURPOLDELOLW\

                    =      5HOHDVHVE\WKH'HEWRU2QDQGDIWHUWKH(IIHFWLYH'DWHHDFK5HOHDVHG

  3DUW\LVGHHPHGWREHKHUHE\FRQFOXVLYHO\DEVROXWHO\XQFRQGLWLRQDOO\LUUHYRFDEO\DQGIRUHYHU

  UHOHDVHGDQGGLVFKDUJHGE\WKH'HEWRUDQGWKH(VWDWHLQHDFKFDVHRQEHKDOIRIWKHPVHOYHVDQG

  WKHLUUHVSHFWLYHVXFFHVVRUVDVVLJQVDQGUHSUHVHQWDWLYHVLQFOXGLQJEXWQRWOLPLWHGWRWKH&ODLPDQW

  7UXVWDQGWKH/LWLJDWLRQ6XE7UXVWIURPDQ\DQGDOO&DXVHVRI$FWLRQLQFOXGLQJDQ\GHULYDWLYH

  FODLPV DVVHUWHG RQ EHKDOI RI WKH 'HEWRU ZKHWKHU NQRZQ RU XQNQRZQ IRUHVHHQ RU XQIRUHVHHQ

  PDWXUHGRUXQPDWXUHGH[LVWLQJRUKHUHDIWHUDULVLQJLQODZHTXLW\FRQWUDFWWRUWRURWKHUZLVHWKDW

  WKH 'HEWRURUWKH(VWDWHZRXOGKDYHEHHQOHJDOO\HQWLWOHGWR DVVHUW LQ WKHLU RZQ ULJKW ZKHWKHU

  LQGLYLGXDOO\RUFROOHFWLYHO\ RURQEHKDOIRIWKHKROGHURIDQ\&ODLPDJDLQVWRU,QWHUHVWLQD'HEWRU

  RURWKHU3HUVRQ1RWZLWKVWDQGLQJDQ\WKLQJFRQWDLQHGKHUHLQWRWKHFRQWUDU\WKHIRUHJRLQJUHOHDVH

  GRHVQRWUHOHDVH L DQ\REOLJDWLRQVRIDQ\SDUW\XQGHUWKH3ODQRUDQ\GRFXPHQWLQVWUXPHQWRU

  DJUHHPHQWH[HFXWHGWRLPSOHPHQWWKH3ODQ LL WKHULJKWVRUREOLJDWLRQVRIDQ\FXUUHQWHPSOR\HH

  RIWKH'HEWRUXQGHUDQ\HPSOR\PHQWDJUHHPHQWRUSODQ LLL WKHULJKWVRIWKH'HEWRUZLWKUHVSHFW

  WRDQ\FRQILGHQWLDOLW\SURYLVLRQVRUFRYHQDQWVUHVWULFWLQJFRPSHWLWLRQLQIDYRURIWKH'HEWRUXQGHU



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  DQ\HPSOR\PHQWDJUHHPHQWZLWKDFXUUHQWRUIRUPHUHPSOR\HHRIWKH'HEWRU LY DQ\$YRLGDQFH

  $FWLRQVRU Y DQ\&DXVHVRI$FWLRQDULVLQJIURPZLOOIXOPLVFRQGXFWFULPLQDOPLVFRQGXFWDFWXDO

  IUDXGRUJURVVQHJOLJHQFHRIVXFKDSSOLFDEOH5HOHDVHG3DUW\DVGHWHUPLQHGE\)LQDO2UGHURIWKH

  %DQNUXSWF\&RXUWRUDQ\RWKHUFRXUWRIFRPSHWHQWMXULVGLFWLRQ

                    $$     ,QMXQFWLRQ  8SRQ HQWU\ RI WKLV &RQILUPDWLRQ 2UGHU DOO (QMRLQHG

  3DUWLHVDUHDQGVKDOOEHSHUPDQHQWO\HQMRLQHGRQDQGDIWHUWKH(IIHFWLYH'DWHIURPWDNLQJ

  DQ\DFWLRQVWRLQWHUIHUHZLWKWKHLPSOHPHQWDWLRQRUFRQVXPPDWLRQRIWKH3ODQ([FHSWDV

  H[SUHVVO\ SURYLGHG LQ WKH 3ODQ WKLV &RQILUPDWLRQ 2UGHU RU D VHSDUDWH RUGHU RI WKH

  %DQNUXSWF\&RXUWDOO(QMRLQHG3DUWLHVDUHDQGVKDOOEHSHUPDQHQWO\HQMRLQHGRQDQGDIWHU

  WKH (IIHFWLYH 'DWH ZLWK UHVSHFW WR DQ\ &ODLPV DQG (TXLW\ ,QWHUHVWV IURP GLUHFWO\ RU

  LQGLUHFWO\ L  FRPPHQFLQJ FRQGXFWLQJ RU FRQWLQXLQJ LQ DQ\ PDQQHU DQ\ VXLW DFWLRQ RU

  RWKHUSURFHHGLQJRIDQ\NLQG LQFOXGLQJDQ\SURFHHGLQJLQDMXGLFLDODUELWUDODGPLQLVWUDWLYH

  RURWKHUIRUXP DJDLQVWRUDIIHFWLQJWKH'HEWRURUWKHSURSHUW\RIWKH'HEWRU LL HQIRUFLQJ

  OHY\LQJ DWWDFKLQJ LQFOXGLQJ DQ\ SUHMXGJPHQW DWWDFKPHQW  FROOHFWLQJ RU RWKHUZLVH

  UHFRYHULQJHQIRUFLQJRUDWWHPSWLQJWRUHFRYHURUHQIRUFHE\DQ\PDQQHURUPHDQVDQ\

  MXGJPHQW DZDUGGHFUHHRURUGHUDJDLQVWWKH'HEWRURUWKHSURSHUW\ RI WKH 'HEWRU LLL 

  FUHDWLQJ SHUIHFWLQJ RU RWKHUZLVH HQIRUFLQJ LQ DQ\ PDQQHU DQ\ VHFXULW\ LQWHUHVW OLHQ RU

  HQFXPEUDQFHRIDQ\NLQGDJDLQVWWKH'HEWRURUWKHSURSHUW\RIWKH'HEWRU LY DVVHUWLQJDQ\

  ULJKW RI VHWRII GLUHFWO\ RU LQGLUHFWO\ DJDLQVW DQ\ REOLJDWLRQ GXH WR WKH 'HEWRU RU DJDLQVW

  SURSHUW\RULQWHUHVWVLQSURSHUW\RIWKH'HEWRUH[FHSWWRWKHOLPLWHGH[WHQWSHUPLWWHGXQGHU

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  LQDQ\SODFHZKDWVRHYHUWKDWGRHVQRWFRQIRUPWRRUFRPSO\ZLWKWKHSURYLVLRQVRIWKH3ODQ

  7KHLQMXQFWLRQVVHWIRUWKLQWKH3ODQDQGWKLV&RQILUPDWLRQ2UGHUVKDOOH[WHQGWRDQGDSSO\

  WR DQ\ DFW RI WKH W\SH VHW IRUWK LQ DQ\ RI FODXVHV L  Y  RI WKH LPPHGLDWHO\ SUHFHGLQJ

  SDUDJUDSK DJDLQVW DQ\ VXFFHVVRUV RI WKH 'HEWRU LQFOXGLQJ EXW QRW OLPLWHG WR WKH

  5HRUJDQL]HG'HEWRUWKH/LWLJDWLRQ6XE7UXVWDQGWKH&ODLPDQW7UXVWDQGWKHLUUHVSHFWLYH

  SURSHUW\DQGLQWHUHVWVLQSURSHUW\6XEMHFWLQDOOUHVSHFWVWR$UWLFOH;,,'RIWKH3ODQQR

  (QMRLQHG3DUW\PD\FRPPHQFHRUSXUVXHDFODLPRUFDXVHRIDFWLRQRIDQ\NLQGDJDLQVWDQ\

  3URWHFWHG3DUW\WKDWDURVHRUDULVHVIURPRULVUHODWHGWRWKH&KDSWHU&DVHWKHQHJRWLDWLRQ

  RIWKH3ODQWKHDGPLQLVWUDWLRQRIWKH3ODQRUSURSHUW\WREHGLVWULEXWHGXQGHUWKH3ODQWKH

  ZLQGGRZQRIWKHEXVLQHVVRIWKH'HEWRURU5HRUJDQL]HG'HEWRUWKHDGPLQLVWUDWLRQRIWKH

  &ODLPDQW 7UXVW RU WKH /LWLJDWLRQ 6XE7UXVW RU WKH WUDQVDFWLRQV LQ IXUWKHUDQFH RI WKH

  IRUHJRLQJ ZLWKRXW WKH %DQNUXSWF\ &RXUW L ILUVWGHWHUPLQLQJDIWHU QRWLFHDQGDKHDULQJ

  WKDWVXFKFODLPRUFDXVHRIDFWLRQUHSUHVHQWVDFRORUDEOHFODLPRIDQ\NLQGLQFOXGLQJEXW

  QRWOLPLWHGWRQHJOLJHQFHEDGIDLWKFULPLQDOPLVFRQGXFWZLOOIXOPLVFRQGXFWIUDXGRUJURVV

  QHJOLJHQFHDJDLQVWD3URWHFWHG3DUW\DQG LL VSHFLILFDOO\DXWKRUL]LQJVXFK(QMRLQHG3DUW\WR

  EULQJVXFKFODLPRUFDXVHRIDFWLRQDJDLQVWDQ\VXFK3URWHFWHG3DUW\provided, howeverWKH

  IRUHJRLQJZLOOQRWDSSO\WRDFODLPRUFDXVHRIDFWLRQDJDLQVW6WUDQGRUDJDLQVWDQ\(PSOR\HH

  RWKHUWKDQZLWKUHVSHFWWRDFWLRQVWDNHQUHVSHFWLYHO\E\6WUDQGRUE\VXFK(PSOR\HHIURP

  WKH GDWH RI DSSRLQWPHQW RI WKH ,QGHSHQGHQW 'LUHFWRUV WKURXJK WKH (IIHFWLYH 'DWH  7KH

  %DQNUXSWF\&RXUWZLOOKDYHVROHDQGH[FOXVLYHMXULVGLFWLRQWRGHWHUPLQHZKHWKHUDFODLPRU

  FDXVHRIDFWLRQLVFRORUDEOHDQGRQO\WRWKHH[WHQWOHJDOO\SHUPLVVLEOHDQGDVSURYLGHGIRULQ



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  $UWLFOH;,RIWKH3ODQVKDOOKDYHMXULVGLFWLRQWRDGMXGLFDWHWKHXQGHUO\LQJFRORUDEOHFODLPRU

  FDXVHRIDFWLRQ

                    %%     'XUDWLRQ RI ,QMXQFWLRQ DQG 6WD\V  8QOHVV RWKHUZLVH SURYLGHG LQ WKH

  3ODQ LQ WKLV &RQILUPDWLRQ 2UGHU RU LQ D )LQDO 2UGHU RI WKH %DQNUXSWF\ &RXUW L  DOO

  LQMXQFWLRQV DQG VWD\V HQWHUHG GXULQJ WKH &KDSWHU  &DVH DQG LQ H[LVWHQFH RQ WKH

  &RQILUPDWLRQ'DWHVKDOOUHPDLQLQIXOOIRUFHDQGHIIHFWLQDFFRUGDQFHZLWKWKHLUWHUPVDQG

      LL WKHDXWRPDWLFVWD\DULVLQJXQGHUVHFWLRQRIWKH%DQNUXSWF\&RGHVKDOOUHPDLQLQIXOO

  IRUFHDQGHIIHFWVXEMHFWWR6HFWLRQ F RIWKH%DQNUXSWF\&RGHDQGWRWKHH[WHQWQHFHVVDU\

  LIWKH'HEWRUGRHVQRWUHFHLYHDGLVFKDUJHWKH%DQNUXSWF\&RXUWZLOOHQWHUDQHTXLYDOHQW

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  SURYLGHGLQWKH3ODQLQWKLV&RQILUPDWLRQ2UGHURULQD)LQDO2UGHURIWKH%DQNUXSWF\&RXUWHDFK

  RI WKH Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

  Bankruptcy Court on January 9, 2020>'RFNHW1R@DQGOrder Approving the Debtor’s Motion

  Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

  as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

  Tunc to March 15, 2020>'RFNHW1R@HQWHUHGRQ-XO\VKDOOUHPDLQLQIXOOIRUFHDQG

  HIIHFWIURPWKH&RQILUPDWLRQ'DWHDQGIROORZLQJWKH(IIHFWLYH'DWH

                    ''     1R*RYHUQPHQWDO5HOHDVHV 1RWKLQJLQWKLV&RQILUPDWLRQ2UGHURU WKH

  3ODQVKDOOHIIHFWDUHOHDVHRIDQ\FODLPE\WKH8QLWHG6WDWHV*RYHUQPHQWRUDQ\RILWVDJHQFLHVRU



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  DQ\VWDWHDQGORFDODXWKRULW\ZKDWVRHYHULQFOXGLQJZLWKRXWOLPLWDWLRQDQ\FODLPDULVLQJXQGHUWKH

  ,QWHUQDO5HYHQXH&RGHWKHHQYLURQPHQWDOODZVRUDQ\FULPLQDOODZVRIWKH8QLWHG6WDWHVRUDQ\

  VWDWHDQGORFDODXWKRULW\DJDLQVWDQ\SDUW\RUSHUVRQQRUVKDOODQ\WKLQJLQWKLV&RQILUPDWLRQ2UGHU

  RUWKH3ODQHQMRLQWKH8QLWHG6WDWHVRUDQ\VWDWHRUORFDODXWKRULW\IURPEULQJLQJDQ\FODLPVXLW

  DFWLRQRURWKHUSURFHHGLQJVDJDLQVWDQ\SDUW\RUSHUVRQIRUDQ\OLDELOLW\RIVXFKSHUVRQVZKDWHYHU

  LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\FODLPVXLWRUDFWLRQDULVLQJXQGHUWKH,QWHUQDO5HYHQXH&RGH

  WKHHQYLURQPHQWDOODZVRUDQ\FULPLQDOODZVRIWKH8QLWHG6WDWHVRUDQ\VWDWHDQGORFDODXWKRULW\

  DJDLQVWVXFKSHUVRQVQRUVKDOODQ\WKLQJLQWKLV&RQILUPDWLRQ2UGHURUWKH3ODQH[FXOSDWHDQ\SDUW\

  RUSHUVRQIURPDQ\OLDELOLW\WRWKH8QLWHG6WDWHV*RYHUQPHQWRUDQ\RILWVDJHQFLHVRUDQ\VWDWH

  DQGORFDODXWKRULW\ZKDWVRHYHULQFOXGLQJDQ\OLDELOLWLHVDULVLQJXQGHUWKH,QWHUQDO5HYHQXH&RGH

  WKHHQYLURQPHQWDOODZVRUDQ\FULPLQDOODZVRIWKH8QLWHG6WDWHVRUDQ\VWDWHDQGORFDODXWKRULW\

  DJDLQVWDQ\SDUW\RUSHUVRQ

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  RWKHU3HUVRQ RISURSHUW\XQGHUWKH3ODQRUSXUVXDQWWR D WKHLVVXDQFHGLVWULEXWLRQWUDQVIHURU

  H[FKDQJHRIDQ\GHEWHTXLW\VHFXULW\RURWKHULQWHUHVWLQWKH'HEWRURUWKH5HRUJDQL]HG'HEWRU

      E  WKH 5HVWUXFWXULQJ WUDQVDFWLRQV SXUVXDQW WR WKH 3ODQ F  WKH FUHDWLRQ PRGLILFDWLRQ

  FRQVROLGDWLRQWHUPLQDWLRQUHILQDQFLQJDQGRUUHFRUGLQJRIDQ\PRUWJDJHGHHGRIWUXVWRURWKHU

  VHFXULW\LQWHUHVWRUWKHVHFXULQJRIDGGLWLRQDOLQGHEWHGQHVVE\VXFKRURWKHUPHDQV G WKHPDNLQJ

  DVVLJQPHQWRUUHFRUGLQJRIDQ\OHDVHRUVXEOHDVHRU H WKHPDNLQJGHOLYHU\RUUHFRUGLQJRIDQ\

  GHHG RU RWKHU LQVWUXPHQW RI WUDQVIHU XQGHU LQ IXUWKHUDQFH RI RU LQ FRQQHFWLRQ ZLWK WKH 3ODQ



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  LQFOXGLQJ DQ\ GHHGV ELOOV RI VDOH DVVLJQPHQWV RU RWKHU LQVWUXPHQW RI WUDQVIHU H[HFXWHG LQ

  FRQQHFWLRQZLWKDQ\WUDQVDFWLRQDULVLQJRXWRIFRQWHPSODWHGE\RULQDQ\ZD\UHODWHGWRWKH3ODQ

  VKDOO QRW EH VXEMHFW WR DQ\ GRFXPHQW UHFRUGLQJ WD[ VWDPS WD[ FRQYH\DQFH IHH LQWDQJLEOHV RU

  VLPLODUWD[PRUWJDJHWD[UHDOHVWDWHWUDQVIHUWD[PRUWJDJHUHFRUGLQJWD[8QLIRUP&RPPHUFLDO

  &RGHILOLQJRUUHFRUGLQJIHHUHJXODWRU\ILOLQJRUUHFRUGLQJIHHRURWKHUVLPLODUWD[RUJRYHUQPHQWDO

  DVVHVVPHQWWRWKHIXOOHVWH[WHQWFRQWHPSODWHGE\VHFWLRQ D RIWKH%DQNUXSWF\&RGHDQGXSRQ

  HQWU\RIWKLV&RQILUPDWLRQ2UGHUWKHDSSURSULDWHVWDWHRUORFDOJRYHUQPHQWDORIILFLDOVRUDJHQWV

  VKDOOIRUHJRWKHFROOHFWLRQRIDQ\VXFKWD[RUJRYHUQPHQWDODVVHVVPHQWDQGDFFHSWIRUILOLQJDQG

  UHFRUGDWLRQRIDQ\RIWKHIRUHJRLQJLQVWUXPHQWVRURWKHUGRFXPHQWVZLWKRXWWKHSD\PHQWRIDQ\

  VXFKWD[UHFRUGDWLRQIHHRUJRYHUQPHQWDODVVHVVPHQW

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  SXUSRVHRIHYLGHQFLQJDULJKWWRDGLVWULEXWLRQXQGHUWKH3ODQDQGH[FHSWDVRWKHUZLVHVHWIRUWKLQ

  WKH3ODQRUDVRWKHUZLVHSURYLGHGLQWKLV&RQILUPDWLRQ2UGHURQWKH(IIHFWLYH'DWHDOODJUHHPHQWV

  LQVWUXPHQWV6HFXULWLHVDQGRWKHUGRFXPHQWVHYLGHQFLQJDQ\SUHSHWLWLRQ&ODLPRU(TXLW\,QWHUHVW

  DQGDQ\ULJKWVRIDQ\+ROGHULQUHVSHFWWKHUHRIVKDOOEHGHHPHGFDQFHOOHGGLVFKDUJHGDQGRIQR

  IRUFH RU HIIHFW  7KH KROGHUV RI RU SDUWLHV WR VXFK FDQFHOOHG LQVWUXPHQWV 6HFXULWLHV DQG RWKHU

  GRFXPHQWDWLRQZLOOKDYHQRULJKWVDULVLQJIURPRUUHODWHGWRVXFKLQVWUXPHQWV6HFXULWLHVRURWKHU

  GRFXPHQWDWLRQRUWKHFDQFHOODWLRQWKHUHRIH[FHSWWKHULJKWVSURYLGHGIRUSXUVXDQWWRWKH3ODQDQG

  WKH REOLJDWLRQV RI WKH 'HEWRU WKHUHXQGHU RU LQ DQ\ ZD\ UHODWHG WKHUHWR ZLOO EH IXOO\ UHOHDVHG

  WHUPLQDWHG H[WLQJXLVKHG DQG GLVFKDUJHG LQ HDFK FDVH ZLWKRXW IXUWKHU QRWLFH WR RU RUGHU RI WKH




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  %DQNUXSWF\&RXUWDFWRUDFWLRQXQGHUDSSOLFDEOHODZUHJXODWLRQRUGHURUUXOHRUDQ\UHTXLUHPHQW

  RIIXUWKHUDFWLRQYRWHRURWKHUDSSURYDORUDXWKRUL]DWLRQE\DQ\3HUVRQ

                    ** 'RFXPHQWV 0RUWJDJHV DQG ,QVWUXPHQWV  (DFK IHGHUDO VWDWH

  FRPPRQZHDOWKORFDOIRUHLJQRURWKHUJRYHUQPHQWDODJHQF\LVDXWKRUL]HGWRDFFHSWDQ\DQGDOO

  GRFXPHQWV PRUWJDJHV DQG LQVWUXPHQWV QHFHVVDU\ RU DSSURSULDWH WR HIIHFWXDWH LPSOHPHQW RU

  FRQVXPPDWHWKH3ODQLQFOXGLQJWKH5HVWUXFWXULQJWUDQVDFWLRQVFRQWHPSODWHGXQGHUWKH3ODQDQG

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  ULJKWVWRUHYRNHRUZLWKGUDZRUWRDOWHUDPHQGRUPRGLI\PDWHULDOO\WKH3ODQRQHRUPRUHWLPHV

  DIWHU&RQILUPDWLRQDQGWRWKHH[WHQWQHFHVVDU\PD\LQLWLDWHSURFHHGLQJVLQWKH%DQNUXSWF\&RXUW

  WR VR DOWHU DPHQG RU PRGLI\ WKH 3ODQ RU UHPHG\ DQ\ GHIHFW RU RPLVVLRQ RU UHFRQFLOH DQ\

  LQFRQVLVWHQFLHVLQWKH3ODQRUWKLV&RQILUPDWLRQ2UGHULQVXFKPDQQHUDVPD\EHQHFHVVDU\WR

  FDUU\ RXW WKH SXUSRVHV DQG LQWHQW RI WKH 3ODQ  $Q\ VXFK PRGLILFDWLRQ RU VXSSOHPHQW VKDOO EH

  FRQVLGHUHGDPRGLILFDWLRQRIWKH3ODQDQGVKDOOEHPDGHLQDFFRUGDQFHZLWK$UWLFOH;,,%RIWKH

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  2UGHUWKH3ODQDQGUHODWHGGRFXPHQWVRUDQ\DPHQGPHQWVRUPRGLILFDWLRQVWKHUHWRVKDOODSSO\

  DQGEHHQIRUFHDEOHQRWZLWKVWDQGLQJDQ\RWKHUZLVHDSSOLFDEOHQRQEDQNUXSWF\ODZ

                    --     *RYHUQPHQWDO$SSURYDOV1RW5HTXLUHG7KLV&RQILUPDWLRQ2UGHUVKDOO

  FRQVWLWXWHDOODSSURYDOVDQGFRQVHQWVUHTXLUHGLIDQ\E\WKHODZVUXOHVRUUHJXODWLRQVRIDQ\VWDWH



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  IHGHUDO RU RWKHU JRYHUQPHQWDO DXWKRULW\ ZLWK UHVSHFW WR WKH GLVVHPLQDWLRQ LPSOHPHQWDWLRQ RU

  FRQVXPPDWLRQ RI WKH 3ODQ DQG WKH 'LVFORVXUH 6WDWHPHQW DQ\ FHUWLILFDWLRQV GRFXPHQWV

  LQVWUXPHQWV RU DJUHHPHQWV DQG DQ\ DPHQGPHQWV RU PRGLILFDWLRQV WKHUHWR DQG DQ\ RWKHU DFWV

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                    .. 1RWLFH RI (IIHFWLYH 'DWH  $V VRRQ DV UHDVRQDEO\ SUDFWLFDEOH DIWHU WKH

  (IIHFWLYH'DWHWKH5HRUJDQL]HG'HEWRUVKDOOILOHQRWLFHRIWKH(IIHFWLYH'DWHDQGVKDOOVHUYHD

  FRS\RIWKHVDPHRQDOO+ROGHUVRI&ODLPVDQG(TXLW\,QWHUHVWVDQGDOOSDUWLHVZKRKDYHILOHGZLWK

  WKH%DQNUXSWF\&RXUWUHTXHVWVWRUHFHLYHQRWLFHVLQDFFRUGDQFHZLWK%DQNUXSWF\5XOHVDQG

   F 1RWZLWKVWDQGLQJWKHDERYHQRQRWLFHRI&RQILUPDWLRQRU&RQVXPPDWLRQRUVHUYLFHRI

  DQ\NLQGVKDOOEHUHTXLUHGWREHPDLOHGRUPDGHXSRQDQ\(QWLW\WRZKRPWKH'HEWRUPDLOHGQRWLFH

  RI WKH &RQILUPDWLRQ +HDULQJ EXW UHFHLYHG VXFK QRWLFH UHWXUQHG PDUNHG ³XQGHOLYHUDEOH DV

  DGGUHVVHG´³PRYHGOHIWQRIRUZDUGLQJDGGUHVV´RU³IRUZDUGLQJRUGHUH[SLUHG´RUVLPLODUUHDVRQ

  XQOHVV WKH 'HEWRU KDV EHHQ LQIRUPHG LQ ZULWLQJ E\ VXFK (QWLW\ RU LV RWKHUZLVH DZDUH RI WKDW

  (QWLW\¶V QHZ DGGUHVV 7KH DERYHUHIHUHQFHG QRWLFHV DUH DGHTXDWH XQGHU WKH SDUWLFXODU

  FLUFXPVWDQFHVRIWKLV&KDSWHU&DVHDQGQRRWKHURUIXUWKHUQRWLFHLVQHFHVVDU\

                    //     6XEVWDQWLDO &RQVXPPDWLRQ  2Q WKH (IIHFWLYH 'DWH WKH 3ODQ VKDOO EH

  GHHPHGWREHVXEVWDQWLDOO\FRQVXPPDWHGXQGHUVHFWLRQVDQGRIWKH%DQNUXSWF\&RGH

                    00 :DLYHURI6WD\)RUJRRGFDXVHVKRZQWKHVWD\RIWKLV&RQILUPDWLRQ2UGHU

  SURYLGHGE\DQ\%DQNUXSWF\5XOHLVZDLYHGDQGWKLV&RQILUPDWLRQ2UGHUVKDOOEHHIIHFWLYHDQG

  HQIRUFHDEOHLPPHGLDWHO\XSRQLWVHQWU\E\WKH%DQNUXSWF\&RXUW




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                    11     5HIHUHQFHVWRDQG2PLVVLRQVRI3ODQ3URYLVLRQV5HIHUHQFHVWRDUWLFOHV

  VHFWLRQV DQG SURYLVLRQV RI WKH 3ODQ DUHLQVHUWHG IRUFRQYHQLHQFHRIUHIHUHQFHRQO\ DQGDUH QRW

  LQWHQGHGWREHDSDUWRIRUWRDIIHFWWKHLQWHUSUHWDWLRQRIWKH3ODQ7KHIDLOXUHWRVSHFLILFDOO\LQFOXGH

  RUWRUHIHUWRDQ\SDUWLFXODUDUWLFOHVHFWLRQRUSURYLVLRQRIWKH3ODQLQWKLV&RQILUPDWLRQ2UGHU

  VKDOOQRWGLPLQLVKRULPSDLUWKHHIIHFWLYHQHVVRIVXFKDUWLFOHVHFWLRQRUSURYLVLRQLWEHLQJWKH

  LQWHQW RI WKH %DQNUXSWF\ &RXUW WKDW WKH 3ODQ EH FRQILUPHG LQ LWV HQWLUHW\ H[FHSW DV H[SUHVVO\

  PRGLILHGKHUHLQDQGLQFRUSRUDWHGKHUHLQE\WKLVUHIHUHQFH

                    22 +HDGLQJV+HDGLQJVXWLOL]HGKHUHLQDUHIRUFRQYHQLHQFHDQGUHIHUHQFHRQO\

  DQGGRQRWFRQVWLWXWHDSDUWRIWKH3ODQRUWKLV&RQILUPDWLRQ2UGHUIRUDQ\RWKHUSXUSRVH

                    33     (IIHFWRI&RQIOLFW7KLV&RQILUPDWLRQ2UGHUVXSHUVHGHVDQ\%DQNUXSWF\

  &RXUWRUGHULVVXHGSULRUWRWKH&RQILUPDWLRQ'DWHWKDWPD\EHLQFRQVLVWHQWZLWKWKLV&RQILUPDWLRQ

  2UGHU  ,I WKHUH LV DQ\ LQFRQVLVWHQF\ EHWZHHQ WKH WHUPV RI WKH 3ODQ DQG WKH WHUPV RI WKLV

  &RQILUPDWLRQ 2UGHU WKH WHUPV RI WKLV &RQILUPDWLRQ 2UGHU JRYHUQ DQG FRQWURO  ,I WKHUH LV DQ\

  LQFRQVLVWHQF\EHWZHHQWKHWHUPVRIWKLV&RQILUPDWLRQ2UGHUDQGWKHWHUPVRIDILQDOH[HFXWHG3ODQ

  6XSSOHPHQW'RFXPHQWWKHWHUPVRIWKHILQDOH[HFXWHG3ODQ6XSSOHPHQW'RFXPHQWZLOOJRYHUQ

  DQGFRQWURO

                    44 5HVROXWLRQ RI 2EMHFWLRQ RI 7H[DV 7D[LQJ $XWKRULWLHV  'DOODV &RXQW\

  .DXIPDQ &RXQW\ &LW\ RI $OOHQ $OOHQ ,6' DQG &LW\ RI 5LFKDUGVRQ FROOHFWLYHO\ WKH ³7D[

  $XWKRULWLHV´ DVVHUWWKDWWKH\DUHWKHKROGHUVRISUHSHWLWLRQDQGDGPLQLVWUDWLYHH[SHQVHFODLPVIRU

    DQG  DG YDORUHP UHDO DQG EXVLQHVV SHUVRQDO SURSHUW\ WD[HV  7KH DG YDORUHP

  SURSHUW\WD[HVIRUWD[\HDUVKDOOEHSDLGLQDFFRUGDQFHZLWKDQGWRWKHH[WHQWUHTXLUHGXQGHU



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  DSSOLFDEOHQRQEDQNUXSWF\ODZ,QWKHHYHQWWKHWD[HVDUHSDLGDIWHU)HEUXDU\WKH

  7D[$XWKRULWLHVPD\DVVHUWDQ\ULJKWVDQGDPRXQWVWKH\FODLPDUHRZHGZLWKUHVSHFWWRSHQDOWLHV

  DQGLQWHUHVWWKDWKDYHDFFUXHGWKURXJKWKHGDWHRISD\PHQWDQGWKH'HEWRUDQG5HRUJDQL]HG'HEWRU

  UHVHUYHDQ\DOOULJKWVDQGGHIHQVHVLQFRQQHFWLRQWKHUHZLWK

           D      7KH'HEWRU5HRUJDQL]HG'HEWRUVKDOOSD\DOODPRXQWVRZHGWRWKH7D[$XWKRULWLHV
                    IRUWD[\HDULQDFFRUGDQFHZLWKDQGWRWKHH[WHQWUHTXLUHGXQGHUDSSOLFDEOH
                    QRQEDQNUXSWF\ODZ7KH7D[$XWKRULWLHVVKDOOQRWEHUHTXLUHGWRILOHDQGVHUYHDQ
                    DGPLQLVWUDWLYHH[SHQVHFODLPDQGUHTXHVWIRUSD\PHQWDVDFRQGLWLRQRIDOORZDQFH
                    RIWKHLUDGPLQLVWUDWLYHH[SHQVHFODLPVSXUVXDQWWR86&6HFWLRQ E  ' 
                    :LWK UHJDUG WR \HDU  DG YDORUHP SURSHUW\ WD[HV WKH 7D[ $XWKRULWLHV ZLOO
                    UHFHLYHSD\PHQWRIWKHLUSUHSHWLWLRQFODLPVZLWKLQGD\VRIWKH(IIHFWLYH'DWHRI
                    WKH 3ODQ  7KH SD\PHQW ZLOO LQFOXGH LQWHUHVW IURP WKH 3HWLWLRQ 'DWH WKURXJK WKH
                    (IIHFWLYH 'DWH DQG IURP WKH (IIHFWLYH 'DWH WKURXJK SD\PHQW LQ IXOO DW WKH VWDWH
                    VWDWXWRU\UDWHSXUVXDQWWR86&6HFWLRQV E DQGLIDSSOLFDEOH
                    VXEMHFW WR DOO RI WKH 'HEWRU¶V DQG 5HRUJDQL]HG 'HEWRU¶V ULJKWV DQG GHIHQVHV LQ
                    FRQQHFWLRQ WKHUHZLWK 1RWZLWKVWDQGLQJ DQ\ RWKHU SURYLVLRQ LQ WKH 3ODQ WKH 7D[
                    $XWKRULWLHV VKDOO L  UHWDLQ WKH OLHQV WKDW VHFXUH DOO SUHSHWLWLRQ DQG SRVWSHWLWLRQ
                    DPRXQWVXOWLPDWHO\RZHGWRWKHPLIDQ\DVZHOODV LL WKHVWDWHODZSULRULW\RI
                    WKRVHOLHQVXQWLOWKHFODLPVDUHSDLGLQIXOO

           E      7KH 7D[ $XWKRULWLHV¶ SUHSHWLWLRQ FODLPV DQG WKHLU DGPLQLVWUDWLYH H[SHQVH FODLPV
                    VKDOOQRWEHGLVFKDUJHGXQWLOVXFKWLPHDVWKHDPRXQWVRZHGDUHSDLGLQIXOO,QWKH
                    HYHQW RI D GHIDXOW DVVHUWHG E\ WKH 7D[LQJ $XWKRULWLHV WKH 7D[ $XWKRULWLHV VKDOO
                    SURYLGHQRWLFH'HEWRURU5HRUJDQL]HG'HEWRUDVDSSOLFDEOHDQGPD\GHPDQGFXUH
                    RIDQ\VXFKDVVHUWHGGHIDXOW6XEMHFWWRDOORILWVULJKWVDQGGHIHQVHVWKH'HEWRURU
                    5HRUJDQL]HG'HEWRUVKDOOKDYHILIWHHQ  GD\VIURPWKHGDWHRIWKHQRWLFHWRFXUH
                    WKHGHIDXOW,IWKHDOOHJHGGHIDXOWLVQRWFXUHGWKH7D[$XWKRULWLHVPD\H[HUFLVH
                    DQ\ RI WKHLU UHVSHFWLYH ULJKWV XQGHU DSSOLFDEOH ODZ DQG SXUVXH FROOHFWLRQ RI DOO
                    DPRXQWVRZHGSXUVXDQWWRVWDWHODZRXWVLGHRIWKH%DQNUXSWF\&RXUWVXEMHFWLQDOO
                    UHVSHFWVWRWKH'HEWRU¶VDQG5HRUJDQL]HG'HEWRU¶VDSSOLFDEOHULJKWVDQGGHIHQVHV
                    7KH'HEWRU5HRUJDQL]HG'HEWRUVKDOOEHHQWLWOHGWRDQ\QRWLFHVRIGHIDXOWUHTXLUHG
                    XQGHUDSSOLFDEOHQRQEDQNUXSWF\ODZDQGHDFKRIWKH7D[LQJ$XWKRULWLHVWKH'HEWRU
                    DQG WKH 5HRUJDQL]HG 'HEWRU UHVHUYH DQ\ DQG DOO RI WKHLU UHVSHFWLYH ULJKWV DQG
                    GHIHQVHVLQFRQQHFWLRQWKHUHZLWK7KH'HEWRU¶VDQG5HRUJDQL]HG'HEWRU¶VULJKWV
                    DQG GHIHQVHV XQGHU 7H[DV /DZ DQG WKH %DQNUXSWF\ &RGH ZLWK UHVSHFW WR WKLV
                    SURYLVLRQRIWKH&RQILUPDWLRQ2UGHULQFOXGLQJWKHLUULJKWWRGLVSXWHRUREMHFWWRWKH
                    7D[$XWKRULWLHV¶&ODLPVDQGOLHQVDUHIXOO\SUHVHUYHG



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                    55     5HVROXWLRQ RI 2EMHFWLRQV RI 6FRWW (OOLQJWRQ DQG ,VDDF /HYHQWRQ

  3XUVXDQW WR %DQNUXSWF\ 5XOH  D  WKH 6HQLRU (PSOR\HHV¶ 6HWWOHPHQW LV DSSURYHG LQ DOO

  UHVSHFWV7KH'HEWRUPD\RQO\ZLWKWKHFRQVHQWRIWKH&RPPLWWHHHOHFW2SWLRQ%IRUD6HQLRU

  (PSOR\HH &ODLPDQW E\ ZULWWHQ QRWLFH WR VXFK 6HQLRU (PSOR\HH &ODLPDQW RQ RU EHIRUH WKH

  RFFXUUHQFHRIWKH(IIHFWLYH'DWH,IWKH'HEWRUGRHVQRWHOHFW2SWLRQ%WKHQ2SWLRQ$ZLOOJRYHUQ

  WKHWUHDWPHQWRIWKH/LTXLGDWHG%RQXV&ODLPV

           D      1RWZLWKVWDQGLQJ DQ\ ODQJXDJH LQ WKH 3ODQ WKH 'LVFORVXUH 6WDWHPHQW RU WKLV
                    &RQILUPDWLRQ2UGHUWRWKHFRQWUDU\LI2SWLRQ$DSSOLHVWRWKH/LTXLGDWHG%RQXV
                    &ODLPVRID6HQLRU(PSOR\HH&ODLPDQWWKHQWKH/LTXLGDWHG%RQXV&ODLPVRIVXFK
                    6HQLRU(PSOR\HH&ODLPDQWZLOOUHFHLYHWKHWUHDWPHQWGHVFULEHGLQSDUDJUDSK H 
                    KHUHRI DQG LI WKH 'HEWRU WLPHO\ HOHFWV 2SWLRQ % ZLWK UHVSHFW WR WKH /LTXLGDWHG
                    %RQXV&ODLPVRID6HQLRU(PSOR\HH&ODLPDQWWKHQWKH/LTXLGDWHG%RQXV&ODLPV
                    RIVXFK6HQLRU(PSOR\HHZLOOUHFHLYHWKHWUHDWPHQWGHVFULEHGLQSDUDJUDSK I 
                    KHUHRI

           E      7KH 6HQLRU (PSOR\HHV¶ 6HWWOHPHQW LV KHUHE\ DSSURYHG ZLWKRXW SUHMXGLFH WR WKH
                    UHVSHFWLYHULJKWVRI0U(OOLQJWRQDQG0U/HYHQWRQWRDVVHUWDOOWKHLUUHPDLQLQJ
                    &ODLPVDJDLQVWWKH'HEWRU¶VHVWDWHLQFOXGLQJEXWQRWOLPLWHGWRWKHLU&ODVV372
                    &ODLPVWKHLUUHPDLQLQJ&ODVV*HQHUDO8QVHFXUHG&ODLPVDQ\LQGHPQLILFDWLRQ
                    FODLPVDQGDQ\$GPLQLVWUDWLYH([SHQVH&ODLPVWKDWWKH\PD\DVVHUWDQGLVZLWKRXW
                    SUHMXGLFHWRWKHULJKWVRIDQ\SDUW\LQLQWHUHVWWRREMHFWWRDQ\VXFK&ODLPV

           F      3XUVXDQW WR %DQNUXSWF\ 5XOH  D  0U (OOLQJWRQ DQG 0U /HYHQWRQ ZHUH
                    SHUPLWWHGWRFKDQJHWKHLUYRWHVRQWKH3ODQ$FFRUGLQJO\0U(OOLQJWRQ¶VYRWHVRQ
                    KLV%DOORWVLQ&ODVVDQG&ODVVRIWKH3ODQZHUHFKDQJHGIURPDUHMHFWLRQRIWKH
                    3ODQWRDFFHSWDQFHRIWKH3ODQDQG0U/HYHQWRQ¶VYRWHVRQKLV%DOORWVLQ&ODVV
                    DQG&ODVVRIWKH3ODQZHUHFKDQJHGIURPUHMHFWLRQVRIWKH3ODQWRDFFHSWDQFHVRI
                    WKH3ODQ

           G      7KH6HQLRU(PSOR\HHV¶2EMHFWLRQLVGHHPHGZLWKGUDZQ

                    66     1R 5HOHDVH RI &ODLPV $JDLQVW 6HQLRU (PSOR\HH &ODLPDQWV  )RU WKH

  DYRLGDQFHRIGRXEWWKH6HQLRU(PSOR\HHV¶6HWWOHPHQWDVDSSURYHGKHUHLQVKDOOQRWDQGVKDOOQRW

  EHGHHPHGWRUHOHDVHDQ\&ODLPVRU&DXVHVRI$FWLRQKHOGE\WKH'HEWRUDJDLQVWHLWKHU6HQLRU


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  (PSOR\HH&ODLPDQWQRUVKDOOHLWKHU6HQLRU(PSOR\HH&ODLPDQWEHRUEHGHHPHGWREHD³5HOHDVHG

  3DUW\´XQGHUWKH3ODQ

                    77     5HVROXWLRQRI2EMHFWLRQRI,QWHUQDO5HYHQXH6HUYLFH1RWZLWKVWDQGLQJ

  DQ\RWKHUSURYLVLRQRUWHUPRIWKH3ODQRU&RQILUPDWLRQ2UGHUWKHIROORZLQJ'HIDXOW3URYLVLRQ

  VKDOOFRQWURODVWRWKH8QLWHG6WDWHVRI$PHULFD,QWHUQDO5HYHQXH6HUYLFH ³,56´ DQGDOORILWV

  FODLPVLQFOXGLQJDQ\DGPLQLVWUDWLYHFODLP WKH³,56&ODLP´ 

            D 1RWZLWKVWDQGLQJDQ\RWKHUSURYLVLRQLQWKH3ODQLIWKH'HEWRUWKH5HRUJDQL]HG'HEWRU
           RUDQ\VXFFHVVRULQLQWHUHVWIDLOVWRSD\ZKHQGXHDQ\SD\PHQWUHTXLUHGWREHPDGHRQ
           IHGHUDOWD[HVWKH,56&ODLPRURWKHUSD\PHQWUHTXLUHGWREHPDGHWRWKH,56XQGHUWKH
           WHUPVDQGSURYLVLRQVRIWKLV3ODQWKH&RQILUPDWLRQ2UGHURUWKH,QWHUQDO5HYHQXH&RGH
            86& RUIDLOVWRWLPHO\ILOHDQ\UHTXLUHGIHGHUDOWD[UHWXUQRULIDQ\RWKHUHYHQWRI
           GHIDXOW DV VHW IRUWK LQ WKH 3ODQ RFFXUV WKH ,56 VKDOO EH HQWLWOHG WR JLYH WKH 'HEWRU WKH
           5HRUJDQL]HG'HEWRUDQGRUDQ\VXFFHVVRULQLQWHUHVWDQGWKHLUFRXQVHORIUHFRUGE\8QLWHG
           6WDWHV&HUWLILHG0DLOZULWWHQQRWLFHRIWKHIDLOXUHDQGRUGHIDXOWZLWKGHPDQGWKDWLWEH
           FXUHGDQGLIWKHIDLOXUHDQGRUGHIDXOWLVQRWFXUHGZLWKLQGD\VRIWKHGDWHRIVDLGQRWLFH
           DQGGHPDQGWKHQWKHIROORZLQJVKDOODSSO\WRWKH,56
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                          7KHDGPLQLVWUDWLYHFROOHFWLRQSRZHUVDQGWKHULJKWVRIWKH,56VKDOO
                    EHUHLQVWDWHGDVWKH\H[LVWHGSULRUWRWKHILOLQJRIWKHEDQNUXSWF\SHWLWLRQ
                    LQFOXGLQJEXWQRWOLPLWHGWRWKHDVVHVVPHQWRIWD[HVWKHILOLQJRIDQRWLFH
                    RI )HGHUDO WD[ OLHQ DQG WKH SRZHUV RI OHY\ VHL]XUH DQG FROOHFWLRQ DV
                    SURYLGHGXQGHUWKH,QWHUQDO5HYHQXH&RGH
                    
                          7KHDXWRPDWLFVWD\RI86&DQGDQ\LQMXQFWLRQRIWKH
                    3ODQRULQWKH&RQILUPDWLRQ2UGHUVKDOOZLWKUHJDUGWRWKH,56RQO\OLIWRU
                    WHUPLQDWHZLWKRXWIXUWKHUQRWLFHRUKHDULQJE\WKH%DQNUXSWF\&RXUWDQG
                    WKHHQWLUHSUHSHWLWLRQOLDELOLW\ RZHG WR WKH ,56 WRJHWKHU ZLWKDQ\XQSDLG
                    SRVWSHWLWLRQWD[OLDELOLWLHVPD\EHFRPHGXHDQGSD\DEOHLPPHGLDWHO\DQG
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                           7KH,56VKDOOKDYHWKHULJKWWRSURFHHGWRFROOHFWIURPWKH'HEWRU
                    WKH5HRUJDQL]HG'HEWRURUDQ\VXFFHVVRULQLQWHUHVWDQ\RIWKHSUHSHWLWLRQ
                    WD[ OLDELOLWLHV DQG UHODWHG SHQDOWLHV DQG LQWHUHVW WKURXJK DGPLQLVWUDWLYH RU
                    MXGLFLDOFROOHFWLRQSURFHGXUHVDYDLODEOHXQGHUWKH8QLWHG6WDWHV&RGHDVLI
                    QREDQNUXSWF\SHWLWLRQKDGEHHQILOHGDQGDVLIQRSODQKDGEHHQFRQILUPHG

            E ,IWKH,56GHFODUHVWKH'HEWRUWKH5HRUJDQL]HG'HEWRURUDQ\VXFFHVVRULQLQWHUHVWWR
           EHLQGHIDXOWRIWKH'HEWRU¶VWKH5HRUJDQL]HG'HEWRU¶VDQGRUDQ\VXFFHVVRULQLQWHUHVW¶V
           REOLJDWLRQV XQGHU WKH 3ODQ WKHQ HQWLUH SUHSHWLWLRQ OLDELOLW\ RI DQ ,56¶ $OORZHG &ODLP
           WRJHWKHU ZLWK DQ\ XQSDLG SRVWSHWLWLRQ WD[ OLDELOLWLHV VKDOO EHFRPH GXH DQG SD\DEOH

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           LPPHGLDWHO\ XSRQ ZULWWHQ GHPDQG WR WKH 'HEWRU 5HRUJDQL]HG 'HEWRU DQGRU DQ\
           VXFFHVVRULQLQWHUHVW  )DLOXUH RI WKH ,56 WR GHFODUH D IDLOXUH DQGRU GHIDXOW GRHV QRW
           FRQVWLWXWHDZDLYHUE\WKH8QLWHG6WDWHVRULWVDJHQF\WKH,56RIWKHULJKWWRGHFODUHWKDW
           WKH'HEWRU5HRUJDQL]HG'HEWRUDQGRUDQ\VXFFHVVRULQLQWHUHVWLVLQGHIDXOW

            F 7KH,56VKDOORQO\EHUHTXLUHGWRVHQGWZRQRWLFHVRIIDLOXUHDQGRUGHIDXOWDQGXSRQ
           WKHWKLUGHYHQWRIDIDLOXUHDQGRUGHIDXOWWKH,56VKDOOEHHQWLWOHGWRSURFHHGDVVHWRXWLQ
           SDUDJUDSKV     DQGRU   KHUHLQ DERYH ZLWKRXW IXUWKHU QRWLFH WR WKH 'HEWRU WKH
           5HRUJDQL]HG 'HEWRU RU DQ\ VXFFHVVRU LQ LQWHUHVW RU LWV FRXQVHO  7KH FROOHFWLRQ VWDWXWH
           H[SLUDWLRQ GDWH IRU DOO XQSDLG IHGHUDO WD[ OLDELOLWLHV VKDOO EH H[WHQGHG SXUVXDQW WR QRQ
           EDQNUXSWF\ODZ

            G 7KH,QWHUQDO5HYHQXH6HUYLFHVKDOOQRWEHERXQGE\DQ\UHOHDVHSURYLVLRQVLQWKH3ODQ
           WKDWZRXOGUHOHDVHDQ\OLDELOLW\RIWKHUHVSRQVLEOHSHUVRQVRIWKH'HEWRUWKH5HRUJDQL]HG
           'HEWRUDQGRUDQ\VXFFHVVRULQLQWHUHVWWRWKH,567KH,QWHUQDO5HYHQXH6HUYLFHPD\
           WDNHVXFKDFWLRQVDVLWGHHPVQHFHVVDU\WRDVVHVVDQ\OLDELOLW\WKDWPD\EHGXHDQGRZLQJ
           E\WKHUHVSRQVLEOHSHUVRQVRIWKH'HEWRUWKH5HRUJDQL]HG'HEWRUDQGRUDQ\VXFFHVVRULQ
           LQWHUHVWWRWKH,QWHUQDO5HYHQXH6HUYLFH

            H 1RWKLQJFRQWDLQHGLQWKH3ODQRUWKH&RQILUPDWLRQ2UGHUVKDOOEHGHHPHGWREHDZDLYHU
           RUUHOLQTXLVKPHQWRIDQ\ULJKWVFODLPVFDXVHVRIDFWLRQULJKWVRIVHWRIIRUUHFRXSPHQW
           ULJKWVWRDSSHDOWD[DVVHVVPHQWV RU RWKHU OHJDORU HTXLWDEOHGHIHQVHVWKDWWKH'HEWRU RU
           5HRUJDQL]HG'HEWRUKDYHXQGHUQRQEDQNUXSWF\ODZLQFRQQHFWLRQZLWKDQ\FODLPOLDELOLW\
           RUFDXVHRIDFWLRQRIWKH8QLWHG6WDWHVDQGLWVDJHQF\WKH,QWHUQDO5HYHQXH6HUYLFH

            I 7KHWHUP³DQ\SD\PHQWUHTXLUHGWREHPDGHRQIHGHUDOWD[HV´DVXVHGKHUHLQDERYHLV
           GHILQHGDVDQ\SD\PHQWRUGHSRVLWUHTXLUHGE\WKH,QWHUQDO5HYHQXH&RGHWREHPDGHE\
           WKH'HEWRUIURPDQGDIWHUWKH&RQILUPDWLRQ'DWHRUWKH5HRUJDQL]HG'HEWRUDQGRUDQ\
           VXFFHVVRULQLQWHUHVWIURPDQGDIWHUWKH(IIHFWLYH'DWHWRWKHGDWHWKH,56&ODLPLVWRJHWKHU
           ZLWK LQWHUHVW SDLG LQ IXOO  7KH WHUP ³DQ\ UHTXLUHG WD[ UHWXUQ´ DV XVHG KHUHLQ DERYH LV
           GHILQHGDVDQ\WD[UHWXUQRUUHSRUWUHTXLUHGE\WKH,QWHUQDO5HYHQXH&RGHWREHPDGHE\
           WKH'HEWRUIURPDQGDIWHUWKH&RQILUPDWLRQ'DWHRUWKH5HRUJDQL]HG'HEWRUDQGRUDQ\
           VXFFHVVRULQLQWHUHVWIURPDQGDIWHUWKH(IIHFWLYH'DWHWRWKHGDWHWKH,56&ODLPLVWRJHWKHU
           ZLWKLQWHUHVWSDLGLQIXOO

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  SURRIRIFODLPZLOOQRWEHGHHPHGIL[HGIRUSXUSRVHVRI6HFWLRQRIWKH%DQNUXSWF\&RGHDQG

  PD\EHDPHQGHGLQRUGHUWRUHIOHFWWKH,56¶DVVHVVPHQWRIWKH'HEWRU¶VXQSDLGSULRULW\DQGJHQHUDO

  XQVHFXUHGWD[HVSHQDOWLHVDQGLQWHUHVW




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                    99     &/2 +ROGFR /WG 6HWWOHPHQW   1RWZLWKVWDQGLQJ DQ\WKLQJ FRQWDLQHG

  KHUHLQWRWKHFRQWUDU\QRWKLQJLQWKLV2UGHULVRULVLQWHQGHGWRVXSHUVHGHWKHULJKWVDQGREOLJDWLRQV

  RIHLWKHUWKH'HEWRURU&/2+ROGFRFRQWDLQHGLQWKDWFHUWDLQSettlement Agreement between CLO

  Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021>'RFNHW1R

  @ WKH³&/2+6HWWOHPHQW$JUHHPHQW´ ,QWKHHYHQWRIDQ\FRQIOLFWEHWZHHQWKHWHUPVRIWKLV

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  $JUHHPHQWZLOOJRYHUQ

                    :: 5HWHQWLRQRI-XULVGLFWLRQ7KH%DQNUXSWF\&RXUWPD\SURSHUO\DQGXSRQ

  WKH(IIHFWLYH'DWHVKDOOWRWKHPD[LPXPH[WHQWSHUPLWWHGXQGHUDSSOLFDEOHODZUHWDLQMXULVGLFWLRQ

  RYHUDOOPDWWHUVDULVLQJRXWRIDQGUHODWHGWRWKLV&KDSWHU&DVHLQFOXGLQJWKHPDWWHUVVHWIRUWK

  LQ$UWLFOH;,RIWKH3ODQDQGVHFWLRQRIWKH%DQNUXSWF\&RGH

                    ;;     3D\PHQW RI 6WDWXWRU\ )HHV )LOLQJ RI 4XDUWHUO\ 5HSRUWV  $OO IHHV

  SD\DEOH SXUVXDQW WR  86&   VKDOO EH SDLG RQ RU EHIRUH WKH (IIHFWLYH 'DWH  7KH

  5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVWDQGWKH/LWLJDWLRQ6XE7UXVWVKDOOEHMRLQWO\DQGVHYHUDOO\

  OLDEOHIRUSD\PHQWRITXDUWHUO\IHHVWRWKH2IILFHRIWKH8QLWHG6WDWHV7UXVWHHSXUVXDQWWR86&

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  EHUHTXLUHGWRILOHDQ\SURRIVRIFODLPZLWKUHVSHFWWRTXDUWHUO\IHHVSD\DEOHSXUVXDQWWR86&

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  GLVVROYHDQGWKHPHPEHUVRIWKH&RPPLWWHHDQGWKH&RPPLWWHH¶V3URIHVVLRQDOVZLOOFHDVHWRKDYH



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  DQ\ UROH DULVLQJ IURP RU UHODWLQJ WR WKH &KDSWHU  &DVH H[FHSW LQ FRQQHFWLRQ ZLWK ILQDO IHH

  DSSOLFDWLRQVRI3URIHVVLRQDOVIRUVHUYLFHVUHQGHUHGSULRUWRWKH(IIHFWLYH'DWH LQFOXGLQJWKHULJKW

  WRREMHFWWKHUHWR 1RWZLWKVWDQGLQJWKHIRUHJRLQJDQ\&RPPLWWHHPHPEHURU3URIHVVLRQDOPD\

  VHUYHIROORZLQJWKH(IIHFWLYH'DWHZLWKUHVSHFWWRWKH&ODLPDQW7UXVW2YHUVLJKW%RDUGRU/LWLJDWLRQ

  6XE7UXVW  7KH 3URIHVVLRQDOV UHWDLQHG E\ WKH &RPPLWWHH DQG WKH PHPEHUV WKHUHRI ZLOO QRW EH

  HQWLWOHGWRDVVHUWDQ\IHHFODLPVIRUDQ\VHUYLFHVUHQGHUHGWRWKH&RPPLWWHHRUH[SHQVHVLQFXUUHG

  LQWKHVHUYLFHRIWKH&RPPLWWHHDIWHUWKH(IIHFWLYH'DWHH[FHSWIRUUHDVRQDEOHIHHVIRUVHUYLFHV

  UHQGHUHG DQG DFWXDO DQG QHFHVVDU\ FRVWV LQFXUUHG LQ FRQQHFWLRQ ZLWK DQ\ DSSOLFDWLRQV IRU

  DOORZDQFHRI3URIHVVLRQDO)HHVSHQGLQJRQWKH(IIHFWLYH'DWHRUILOHGDQGVHUYHGDIWHUWKH(IIHFWLYH

  'DWHSXUVXDQWWRWKH3ODQ1RWKLQJLQWKH3ODQVKDOOSURKLELWRUOLPLWWKHDELOLW\RIWKH'HEWRU¶VRU

  &RPPLWWHH¶V3URIHVVLRQDOVWRUHSUHVHQWHLWKHURIWKH7UXVWHHVRUWREHFRPSHQVDWHGRUUHLPEXUVHG

  SHUWKH3ODQWKH&ODLPDQW7UXVW$JUHHPHQWDQGRU/LWLJDWLRQ6XE7UXVWLQFRQQHFWLRQZLWKVXFK

  UHSUHVHQWDWLRQ

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  'HEWRUDVDSSOLFDEOHVKDOOKDYHQRREOLJDWLRQWRILOHZLWKWKH%DQNUXSWF\&RXUWRUVHUYHRQDQ\

  SDUWLHVUHSRUWVWKDWWKH'HEWRURU5HRUJDQL]HG'HEWRUDVDSSOLFDEOHZHUHREOLJDWHGWRILOHXQGHU

  WKH%DQNUXSWF\&RGHRUDFRXUWRUGHULQFOXGLQJPRQWKO\RSHUDWLQJUHSRUWV HYHQIRUWKRVHSHULRGV

  IRU ZKLFK D PRQWKO\ RSHUDWLQJ UHSRUWZDVQRWILOHGEHIRUHWKH(IIHFWLYH 'DWH RUGLQDU\FRXUVH

  SURIHVVLRQDOUHSRUWVUHSRUWVWRDQ\SDUWLHVRWKHUZLVHUHTXLUHGXQGHUWKH³ILUVW´DQG³VHFRQG´GD\

  RUGHUVHQWHUHGLQWKLV&KDSWHU&DVH LQFOXGLQJDQ\FDVKFROODWHUDOILQDQFLQJRUGHUVHQWHUHGLQ

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  WKH 'HEWRU RU 5HRUJDQL]HG 'HEWRU DV DSSOLFDEOH ZLOO FRPSO\ ZLWK WKH 86 7UXVWHH¶V SRVW

  FRQILUPDWLRQUHSRUWLQJUHTXLUHPHQWV
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          %      6XPPDU\RI&ODVVLILFDWLRQDQG7UHDWPHQWRI&ODVVLILHG&ODLPVDQG
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          +      &ODVVLILFDWLRQDQG7UHDWPHQWRI&ODLPVDQG(TXLW\,QWHUHVWV

          ,      6SHFLDO3URYLVLRQ*RYHUQLQJ8QLPSDLUHG&ODLPV

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                     ,VVXDQFHRI1HZ3DUWQHUVKLS,QWHUHVWV

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                        7UDQVIHURI5HRUJDQL]HG'HEWRU$VVHWV

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        )   &DQFHOODWLRQRI1RWHV&HUWLILFDWHVDQG,QVWUXPHQWV



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            *       &DQFHOODWLRQRI([LVWLQJ,QVWUXPHQWV*RYHUQLQJ6HFXULW\,QWHUHVWV

            +       &RQWURO3URYLVLRQV

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            .       +LJKODQG&DSLWDO0DQDJHPHQW/35HWLUHPHQW3ODQDQG7UXVW

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            $       $VVXPSWLRQ$VVLJQPHQWRU5HMHFWLRQRI([HFXWRU\&RQWUDFWVDQG
                      8QH[SLUHG/HDVHV

            %       &ODLPV%DVHGRQ5HMHFWLRQRI([HFXWRU\&RQWUDFWVRU8QH[SLUHG
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            &       &XUHRI'HIDXOWVIRU$VVXPHGRU$VVLJQHG([HFXWRU\&RQWUDFWVDQG
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  RI RSHUDWLRQV KLVWRULFDO ILQDQFLDO LQIRUPDWLRQ SURMHFWLRQV DQG DVVHWV DQG IRU D VXPPDU\ DQG
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  LQFRUSRUDWHG LQWR DQG DUH D SDUW RI WKLV 3ODQ DV LI VHW IRUWK LQ IXOO KHUHLQ  6XEMHFW WR WKH RWKHU
  SURYLVLRQVRIWKLV3ODQDQGLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVVHWIRUWKLQVHFWLRQRIWKH
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  KHUHLQWKDWLVQRWRWKHUZLVHGHILQHGEXWWKDWLVXVHGLQWKH%DQNUXSWF\&RGHRUWKH%DQNUXSWF\
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  PHDQLQJVZKHQXVHGLQFDSLWDOL]HGIRUPKHUHLQ

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  QHFHVVDU\FRVWVDQGH[SHQVHVLQFXUUHGDIWHUWKH3HWLWLRQ'DWHDQGWKURXJKWKH(IIHFWLYH'DWHRI
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  $GPLQLVWUDWLYH ([SHQVH &ODLP provided, however, WKDW WKH $GPLQLVWUDWLYH ([SHQVH &ODLPV
  2EMHFWLRQ 'HDGOLQHPD\EHH[WHQGHGE\WKH%DQNUXSWF\&RXUWXSRQ D PRWLRQ E\ WKH&ODLPDQW
  7UXVWHH

                         ³Affiliate´RIDQ\3HUVRQPHDQVDQ\(QWLW\WKDWZLWKUHVSHFWWRVXFK3HUVRQ
  HLWKHU L LV DQ ³DIILOLDWH´ DV GHILQHG LQ VHFWLRQ   RI WKH %DQNUXSWF\ &RGH RU LL LV DQ
  ³DIILOLDWH´ DV GHILQHG LQ 5XOH  RI WKH 6HFXULWLHV $FW RI  RU LLL GLUHFWO\ RU LQGLUHFWO\
  WKURXJKRQHRUPRUHLQWHUPHGLDULHVFRQWUROVLVFRQWUROOHGE\RULVXQGHUFRPPRQFRQWUROZLWK
  VXFK3HUVRQ)RUWKHSXUSRVHVRIWKLVGHILQLWLRQWKHWHUP³FRQWURO´ LQFOXGLQJZLWKRXWOLPLWDWLRQ
  WKHWHUPV³FRQWUROOHGE\´DQG³XQGHUFRPPRQFRQWUROZLWK´ PHDQVWKHSRVVHVVLRQGLUHFWO\RU
  LQGLUHFWO\RIWKHSRZHUWRGLUHFWRUFDXVHWKHGLUHFWLRQLQDQ\UHVSHFWRIWKHPDQDJHPHQWRUSROLFLHV
  RID3HUVRQZKHWKHUWKURXJKWKHRZQHUVKLSRIYRWLQJVHFXULWLHVE\FRQWUDFWRURWKHUZLVH

                      ³Allowed´PHDQVZLWKUHVSHFWWRDQ\&ODLPH[FHSWDVRWKHUZLVHSURYLGHG
  LQWKH3ODQ D DQ\&ODLPWKDWLVHYLGHQFHGE\D3URRIRI&ODLPWKDWKDVEHHQWLPHO\)LOHGE\WKH
  %DU'DWHRUWKDWLVQRWUHTXLUHGWREHHYLGHQFHGE\D)LOHG3URRIRI&ODLPXQGHUWKH%DQNUXSWF\


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 &RGHRUD)LQDO2UGHU E D&ODLPWKDWLVOLVWHGLQWKH6FKHGXOHVDVQRWFRQWLQJHQWQRWXQOLTXLGDWHG
 DQG QRW GLVSXWHG DQG IRU ZKLFK QR 3URRIRI&ODLPKDVEHHQWLPHO\ILOHG F D&ODLP$OORZHG
 SXUVXDQWWRWKH3ODQRUDQRUGHURIWKH%DQNUXSWF\&RXUWWKDWLVQRWVWD\HGSHQGLQJDSSHDORU G 
 D &ODLP WKDW LV QRW 'LVSXWHG LQFOXGLQJ IRU ZKLFK D 3URRI RI &ODLP KDV EHHQ WLPHO\ ILOHG LQ D
 OLTXLGDWHG DQG QRQFRQWLQJHQW DPRXQW WKDW KDV QRW EHHQ REMHFWHG WR E\ WKH &ODLPV 2EMHFWLRQ
 'HDGOLQHRUDVWRZKLFKDQ\VXFKREMHFWLRQKDVEHHQRYHUUXOHGE\)LQDO2UGHU provided, however,
 WKDWZLWKUHVSHFWWRD&ODLPGHVFULEHGLQFODXVHV D DQG E DERYHVXFK&ODLPVKDOOEHFRQVLGHUHG
 $OORZHGRQO\LIDQGWRWKHH[WHQWWKDWZLWKUHVSHFWWRVXFK&ODLPQRREMHFWLRQWRWKHDOORZDQFH
 WKHUHRIKDVEHHQLQWHUSRVHGZLWKLQWKHDSSOLFDEOHSHULRGRIWLPHIL[HGE\WKH3ODQWKH%DQNUXSWF\
 &RGHWKH%DQNUXSWF\5XOHVRUWKH%DQNUXSWF\&RXUWRUVXFKDQREMHFWLRQLVVRLQWHUSRVHGDQG
 WKH&ODLPVKDOOKDYHEHHQ$OORZHGDVVHWIRUWKDERYH

                     ³Allowed Claim or Equity Interest´PHDQVD&ODLPRUDQ(TXLW\,QWHUHVWRI
 WKHW\SHWKDWKDVEHHQ$OORZHG

                      ³Assets´ PHDQV DOO RI WKH ULJKWV WLWOHV DQG LQWHUHVW RI WKH 'HEWRU
 5HRUJDQL]HG'HEWRURU&ODLPDQW7UXVWLQDQGWRSURSHUW\RIZKDWHYHUW\SHRUQDWXUHLQFOXGLQJ
 ZLWKRXW OLPLWDWLRQ UHDO SHUVRQDO PL[HG LQWHOOHFWXDO WDQJLEOH DQG LQWDQJLEOH SURSHUW\ WKH
 'HEWRU¶VERRNVDQGUHFRUGVDQGWKH&DXVHVRI$FWLRQ

                     ³Available Cash´PHDQVDQ\&DVKLQH[FHVVRIWKHDPRXQWQHHGHGIRUWKH
 &ODLPDQW7UXVWDQG5HRUJDQL]HG'HEWRUWRPDLQWDLQEXVLQHVVRSHUDWLRQVDVGHWHUPLQHGLQWKHVROH
 GLVFUHWLRQRIWKH&ODLPDQW7UXVWHH

                  ³Avoidance Actions´PHDQVDQ\DQGDOODYRLGDQFHUHFRYHU\VXERUGLQDWLRQ
 RURWKHUDFWLRQVRUUHPHGLHVWKDWPD\EHEURXJKWE\DQGRQEHKDOIRIWKH'HEWRURULWV(VWDWHXQGHU
 WKH%DQNUXSWF\&RGHRUDSSOLFDEOHQRQEDQNUXSWF\ODZLQFOXGLQJZLWKRXWOLPLWDWLRQDFWLRQVRU
 UHPHGLHVDULVLQJXQGHUVHFWLRQVDQGRIWKH%DQNUXSWF\&RGHRUXQGHU
 VLPLODUVWDWHRUIHGHUDOVWDWXWHVDQGFRPPRQODZLQFOXGLQJIUDXGXOHQWWUDQVIHUODZV

                 ³Ballot´ PHDQV WKH IRUP V  GLVWULEXWHG WR KROGHUV RI ,PSDLUHG &ODLPV RU
 (TXLW\,QWHUHVWVHQWLWOHGWRYRWHRQWKH3ODQRQZKLFKWRLQGLFDWHWKHLUDFFHSWDQFHRUUHMHFWLRQRI
 WKH3ODQ

                ³Bankruptcy Code´ PHDQV WLWOH  RI WKH 8QLWHG 6WDWHV &RGH  86&
 DVDPHQGHGIURPWLPHWRWLPHDQGDVDSSOLFDEOHWRWKH&KDSWHU&DVH

                 ³Bankruptcy Court´ PHDQV WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH
 1RUWKHUQ 'LVWULFW RI 7H[DV 'DOODV 'LYLVLRQ RU DQ\ RWKHU FRXUW KDYLQJ MXULVGLFWLRQ RYHU WKH
 &KDSWHU&DVH

                  ³Bankruptcy Rules´PHDQVWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHDQG
 WKH/RFDO5XOHVRI%DQNUXSWF\3UDFWLFHDQG3URFHGXUHRIWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRU
 WKH1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQLQHDFKFDVHDVDPHQGHGIURPWLPHWRWLPHDQGDV
 DSSOLFDEOHWRWKH&KDSWHU&DVH




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                  ³Bar Date´PHDQVWKHDSSOLFDEOHGHDGOLQHVVHWE\WKH%DQNUXSWF\&RXUWIRU
 WKHILOLQJRI3URRIVRI&ODLPDJDLQVWWKH'HEWRUDVVHWIRUWKLQWKH%DU'DWH2UGHUZKLFKGHDGOLQHV
 PD\EHRUKDYHEHHQH[WHQGHGIRUFHUWDLQ&ODLPDQWVE\RUGHURIWKH%DQNUXSWF\&RXUW

                ³Bar Date Order´PHDQVWKHOrder (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof >',@

                 ³Business Day´ PHDQV DQ\ GD\ RWKHU WKDQ D 6DWXUGD\ 6XQGD\ RU ³OHJDO
 KROLGD\´ DVGHILQHGLQ%DQNUXSWF\5XOH D 

                 ³Cash´ PHDQV WKH OHJDO WHQGHU RI WKH 8QLWHG 6WDWHV RI $PHULFD RU WKH
 HTXLYDOHQWWKHUHRI

                  ³Causes of Action´PHDQVDQ\DFWLRQFODLPFURVVFODLPWKLUGSDUW\FODLP
 FDXVH RI DFWLRQ FRQWURYHUV\ GHPDQG ULJKW /LHQ LQGHPQLW\ FRQWULEXWLRQ JXDUDQW\ VXLW
 REOLJDWLRQOLDELOLW\GHEWGDPDJHMXGJPHQWDFFRXQWGHIHQVHUHPHG\RIIVHWSRZHUSULYLOHJH
 OLFHQVHDQGIUDQFKLVHRIDQ\NLQGRUFKDUDFWHUZKDWVRHYHULQHDFKFDVHZKHWKHUNQRZQXQNQRZQ
 FRQWLQJHQW RU QRQFRQWLQJHQW PDWXUHG RU XQPDWXUHG VXVSHFWHG RU XQVXVSHFWHG OLTXLGDWHG RU
 XQOLTXLGDWHGGLVSXWHGRUXQGLVSXWHGIRUHVHHQRUXQIRUHVHHQGLUHFWRULQGLUHFWFKRDWHRULQFKRDWH
 VHFXUHGRUXQVHFXUHGDVVHUWDEOHGLUHFWO\RUGHULYDWLYHO\ LQFOXGLQJZLWKRXWOLPLWDWLRQXQGHUDOWHU
 HJRWKHRULHV ZKHWKHUDULVLQJEHIRUHRQRUDIWHUWKH3HWLWLRQ'DWHLQFRQWUDFWRULQWRUWLQODZRU
 LQHTXLW\RUSXUVXDQWWRDQ\RWKHUWKHRU\RIODZ)RUWKHDYRLGDQFHRIGRXEW&DXVHRI$FWLRQ
 LQFOXGHVZLWKRXWOLPLWDWLRQ D DQ\ULJKWRIVHWRIIFRXQWHUFODLPRUUHFRXSPHQWDQGDQ\FODLPIRU
 EUHDFKRIFRQWUDFWRUIRUEUHDFKRIGXWLHVLPSRVHGE\ODZRULQHTXLW\ E WKHULJKWWRREMHFWWR
 &ODLPVRU(TXLW\,QWHUHVWV F DQ\FODLPSXUVXDQWWRVHFWLRQRUFKDSWHURIWKH%DQNUXSWF\
 &RGH G DQ\FODLPRUGHIHQVHLQFOXGLQJIUDXGPLVWDNHGXUHVVDQGXVXU\DQGDQ\RWKHUGHIHQVHV
 VHWIRUWKLQVHFWLRQRIWKH%DQNUXSWF\&RGH H DQ\FODLPVXQGHUDQ\VWDWHRUIRUHLJQODZ
 LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\IUDXGXOHQWWUDQVIHURUVLPLODUFODLPV I WKH$YRLGDQFH$FWLRQV
 DQG J WKH(VWDWH&ODLPV7KH&DXVHVRI$FWLRQLQFOXGHZLWKRXWOLPLWDWLRQWKH&DXVHVRI$FWLRQ
 EHORQJLQJWRWKH'HEWRU¶V(VWDWHOLVWHGRQWKHVFKHGXOHRI&DXVHVRI$FWLRQWREHILOHGZLWKWKH
 3ODQ6XSSOHPHQW

                  ³CEO/CRO´PHDQV-DPHV36HHU\-UWKH'HEWRU¶VFKLHIH[HFXWLYHRIILFHU
 DQGFKLHIUHVWUXFWXULQJRIILFHU

                   ³Chapter 11 Case´ PHDQV WKH 'HEWRU¶V FDVH XQGHU FKDSWHU  RI WKH
 %DQNUXSWF\ &RGH FRPPHQFHG RQ WKH 3HWLWLRQ 'DWH LQ WKH 'HODZDUH %DQNUXSWF\ &RXUW DQG
 WUDQVIHUUHG WR WKH %DQNUXSWF\ &RXUW RQ 'HFHPEHU   DQG VW\OHG In re Highland Capital
 Management, L.P.&DVH1RVJM

                ³Claim´PHDQVDQ\³FODLP´DJDLQVWWKH'HEWRUDVGHILQHGLQVHFWLRQ  
 RIWKH%DQNUXSWF\&RGH

               ³Claims Objection Deadline´ PHDQV WKH GDWH WKDW LV  GD\V DIWHU WKH
 &RQILUPDWLRQ'DWHprovided, however,WKH&ODLPV2EMHFWLRQ'HDGOLQHPD\EHH[WHQGHGE\WKH
 %DQNUXSWF\&RXUWXSRQDPRWLRQE\WKH&ODLPDQW7UXVWHH




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                 ³Claimant Trust´PHDQVWKHWUXVWHVWDEOLVKHGIRUWKHEHQHILWRIWKH&ODLPDQW
 7UXVW %HQHILFLDULHV RQ WKH (IIHFWLYH 'DWH LQ DFFRUGDQFH ZLWK WKH WHUPV RI WKLV 3ODQ DQG WKH
 &ODLPDQW7UXVW$JUHHPHQW

               ³Claimant Trust Agreement´ PHDQV WKH DJUHHPHQW )LOHG LQ WKH 3ODQ
 6XSSOHPHQWHVWDEOLVKLQJDQGGHOLQHDWLQJWKHWHUPVDQGFRQGLWLRQVRIWKH&ODLPDQW7UXVW

                   ³Claimant Trust Assets´ PHDQV L  RWKHU WKDQ WKH 5HRUJDQL]HG 'HEWRU
 $VVHWV ZKLFKDUHH[SUHVVO\H[FOXGHGIURPWKLVGHILQLWLRQ DOORWKHU$VVHWVRIWKH(VWDWHLQFOXGLQJ
 EXWQRWOLPLWHGWRDOO&DXVHVRI$FWLRQ$YDLODEOH&DVKDQ\SURFHHGVUHDOL]HGRUUHFHLYHGIURP
 VXFK$VVHWVDOOULJKWVRIVHWRIIUHFRXSPHQWDQGRWKHUGHIHQVHVZLWKUHVSHFWUHODWLQJWRRUDULVLQJ
 IURPVXFK$VVHWV LL DQ\$VVHWVWUDQVIHUUHGE\WKH5HRUJDQL]HG'HEWRUWRWKH&ODLPDQW7UXVWRQ
 RUDIWHUWKH(IIHFWLYH'DWH LLL WKHOLPLWHGSDUWQHUVKLSLQWHUHVWVLQWKH5HRUJDQL]HG'HEWRUDQG
  LY WKHRZQHUVKLSLQWHUHVWVLQ1HZ*3//&)RUWKHDYRLGDQFHRIGRXEWDQ\&DXVHVRI$FWLRQ
 WKDWIRU DQ\UHDVRQDUH QRWFDSDEOHRI EHLQJ WUDQVIHUUHG WR WKH&ODLPDQW7UXVWVKDOOFRQVWLWXWH
 5HRUJDQL]HG'HEWRU$VVHWV

                  ³Claimant Trust Beneficiaries´ PHDQV WKH +ROGHUV RI $OORZHG *HQHUDO
 8QVHFXUHG &ODLPV +ROGHUV RI $OORZHG 6XERUGLQDWHG &ODLPV LQFOXGLQJ XSRQ $OORZDQFH
 'LVSXWHG *HQHUDO 8QVHFXUHG &ODLPV DQG 'LVSXWHG 6XERUGLQDWHG &ODLPV WKDW EHFRPH $OORZHG
 IROORZLQJWKH(IIHFWLYH'DWHDQGRQO\XSRQFHUWLILFDWLRQE\WKH&ODLPDQW7UXVWHHWKDWWKH+ROGHUV
 RIVXFK&ODLPVKDYHEHHQSDLGLQGHIHDVLEO\LQIXOOSOXVWRWKHH[WHQWDOO$OORZHGXQVHFXUHG&ODLPV
 H[FOXGLQJ6XERUGLQDWHG&ODLPVKDYHEHHQSDLGLQIXOOSRVWSHWLWLRQLQWHUHVWIURPWKH3HWLWLRQ'DWH
 DWWKH)HGHUDO-XGJPHQW5DWHLQDFFRUGDQFHZLWKWKHWHUPVDQGFRQGLWLRQVVHWIRUWKLQWKH&ODLPDQW
 7UXVW$JUHHPHQWDQGDOO'LVSXWHG&ODLPVLQ&ODVVDQG&ODVVKDYHEHHQUHVROYHG+ROGHUVRI
 $OORZHG &ODVV %& /LPLWHG 3DUWQHUVKLS ,QWHUHVWV DQG +ROGHUV RI $OORZHG &ODVV $ /LPLWHG
 3DUWQHUVKLS,QWHUHVWV

                   ³Claimant Trustee´PHDQV-DPHV36HHU\-UWKH'HEWRU¶VFKLHIH[HFXWLYH
 RIILFHUDQGFKLHIUHVWUXFWXULQJRIILFHURUVXFKRWKHU3HUVRQLGHQWLILHGLQWKH3ODQ6XSSOHPHQWZKR
 ZLOODFWDVWKHWUXVWHHRIWKH&ODLPDQW7UXVWLQDFFRUGDQFHZLWKWKH3ODQWKH&RQILUPDWLRQ2UGHU
 DQG&ODLPDQW7UXVW$JUHHPHQWRUDQ\UHSODFHPHQWWUXVWHHSXUVXDQWWR DQGLQDFFRUGDQFHZLWK 
 WKH&ODLPDQW7UXVW$JUHHPHQW7KH&ODLPDQW7UXVWHHVKDOOEHUHVSRQVLEOHIRUDPRQJRWKHUWKLQJV
 PRQHWL]LQJWKH(VWDWH¶VLQYHVWPHQWDVVHWVUHVROYLQJ&ODLPV RWKHUWKDQWKRVH&ODLPVDVVLJQHGWR
 WKH/LWLJDWLRQ6XE7UXVWIRUUHVROXWLRQ DQGDVWKHVROHRIILFHURI1HZ*3//&ZLQGLQJGRZQ
 WKH5HRUJDQL]HG'HEWRU¶VEXVLQHVVRSHUDWLRQV

                 ³Claimant Trust Expenses´PHDQVDOOUHDVRQDEOHOHJDODQGRWKHUUHDVRQDEOH
 SURIHVVLRQDOIHHVFRVWVDQGH[SHQVHVLQFXUUHGE\WKH7UXVWHHVRQDFFRXQWRIDGPLQLVWUDWLRQRIWKH
 &ODLPDQW7UXVWLQFOXGLQJDQ\UHDVRQDEOHDGPLQLVWUDWLYHIHHVDQGH[SHQVHVUHDVRQDEOHDWWRUQH\V¶
 IHHV DQG H[SHQVHV UHDVRQDEOH LQVXUDQFH FRVWV WD[HV UHDVRQDEOH HVFURZ H[SHQVHV DQG RWKHU
 H[SHQVHV

                  ³Claimant Trust Interests´ PHDQV WKH QRQWUDQVIHUDEOH LQWHUHVWV LQ WKH
 &ODLPDQW7UXVWWKDWDUHLVVXHGWRWKH&ODLPDQW7UXVW%HQHILFLDULHVSXUVXDQWWRWKLV3ODQprovided
 however+ROGHUVRI&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWV&ODVV%/LPLWHG3DUWQHUVKLS,QWHUHVWV
 DQG &ODVV & /LPLWHG 3DUWQHUVKLS ,QWHUHVWV ZLOO QRW EH GHHPHG WR KROG &ODLPDQW 7UXVW ,QWHUHVWV



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 XQOHVV DQG XQWLO WKH &RQWLQJHQW &ODLPDQW 7UXVW ,QWHUHVWV GLVWULEXWHG WR VXFK +ROGHUV YHVW LQ
 DFFRUGDQFHZLWKWKHWHUPVRIWKLV3ODQDQGWKH&ODLPDQW7UXVW$JUHHPHQW

                  ³Claimant Trust Oversight Committee´ PHDQV WKH FRPPLWWHH RI ILYH
 3HUVRQV HVWDEOLVKHG SXUVXDQW WR $57,&/( ,9 RI WKLV 3ODQ WR RYHUVHH WKH &ODLPDQW 7UXVWHH¶V
 SHUIRUPDQFHRILWVGXWLHVDQGRWKHUZLVHVHUYHWKHIXQFWLRQVGHVFULEHGLQWKLV3ODQDQGWKH&ODLPDQW
 7UXVW$JUHHPHQW

                ³Class´PHDQVDFDWHJRU\RI+ROGHUVRI&ODLPVRU(TXLW\,QWHUHVWVDVVHW
 IRUWKLQ$57,&/(,,,KHUHRISXUVXDQWWRVHFWLRQ D RIWKH%DQNUXSWF\&RGH

                  ³Class A Limited Partnership Interest´ PHDQV WKH &ODVV $ /LPLWHG
 3DUWQHUVKLS ,QWHUHVWV DV GHILQHG LQ WKH /LPLWHG 3DUWQHUVKLS $JUHHPHQW KHOG E\ 7KH 'XJDER\
 ,QYHVWPHQW 7UXVW 0DUN DQG 3DPHOD 2NDGD )DPLO\ 7UXVW ± ([HPSW 7UXVW  0DUN DQG 3DPHOD
 2NDGD±([HPSW'HVFHQGDQWV¶7UXVWDQG0DUN.L\RVKL2NDGDDQGWKH*HQHUDO3DUWQHU,QWHUHVW

                 ³Class B Limited Partnership Interest´ PHDQV WKH &ODVV % /LPLWHG
 3DUWQHUVKLS,QWHUHVWVDVGHILQHGLQWKH/LPLWHG3DUWQHUVKLS$JUHHPHQWKHOGE\+XQWHU0RXQWDLQ
 ,QYHVWPHQW7UXVW

                ³Class B/C Limited Partnership Interests´PHDQVFROOHFWLYHO\WKH&ODVV%
 /LPLWHG3DUWQHUVKLSDQG&ODVV&/LPLWHG3DUWQHUVKLS,QWHUHVWV

                 ³Class C Limited Partnership Interest´ PHDQV WKH &ODVV & /LPLWHG
 3DUWQHUVKLS,QWHUHVWVDVGHILQHGLQWKH/LPLWHG3DUWQHUVKLS$JUHHPHQWKHOGE\+XQWHU0RXQWDLQ
 ,QYHVWPHQW7UXVW

                  ³Committee´ PHDQV WKH 2IILFLDO &RPPLWWHH RI 8QVHFXUHG &UHGLWRUV
 DSSRLQWHGE\WKH867UXVWHHSXUVXDQWWR86& D  RQ2FWREHU>',@
 FRQVLVWLQJ RI L  WKH 5HGHHPHU &RPPLWWHH RI +LJKODQG &UXVDGHU )XQG LL  0HWDH 'LVFRYHU\
  LLL 8%6DQG LY $FLV

                 ³Confirmation Date´PHDQVWKHGDWHRQZKLFKWKHFOHUNRIWKH%DQNUXSWF\
 &RXUWHQWHUVWKH&RQILUPDWLRQ2UGHURQWKHGRFNHWRIWKH%DQNUXSWF\&RXUW

                 ³Confirmation Hearing´PHDQVWKHKHDULQJKHOGE\WKH%DQNUXSWF\&RXUW
 SXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGHWRFRQVLGHUFRQILUPDWLRQRIWKLV3ODQDVVXFK
 KHDULQJPD\EHDGMRXUQHGRUFRQWLQXHGIURPWLPHWRWLPH

                 ³Confirmation Order´PHDQVWKHRUGHURIWKH%DQNUXSWF\&RXUWFRQILUPLQJ
 WKLV3ODQSXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGH

                   “Convenience Claim” PHDQV DQ\ SUHSHWLWLRQ OLTXLGDWHG DQG XQVHFXUHG
 &ODLPDJDLQVWWKH'HEWRUWKDWDVRIWKH&RQILUPDWLRQ'DWHLVOHVVWKDQRUHTXDOWRRU
 DQ\*HQHUDO8QVHFXUHG&ODLPWKDWPDNHVWKH&RQYHQLHQFH&ODVV(OHFWLRQ)RUWKHDYRLGDQFHRI
 GRXEWWKH5HGXFHG(PSOR\HH&ODLPVZLOOEH&RQYHQLHQFH&ODLPV




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                  ³Convenience Claim Pool´ PHDQV WKH  LQ &DVK WKDW VKDOO EH
 DYDLODEOH XSRQ WKH (IIHFWLYH 'DWH IRUGLVWULEXWLRQWR+ROGHUVRI&RQYHQLHQFH&ODLPVXQGHUWKH
 3ODQDVVHWIRUWKKHUHLQ$Q\&DVKUHPDLQLQJLQWKH&RQYHQLHQFH&ODLP3RRODIWHUDOOGLVWULEXWLRQV
 RQDFFRXQWRI&RQYHQLHQFH&ODLPVKDYHEHHQPDGHZLOOEHWUDQVIHUUHGWRWKH&ODLPDQW7UXVWDQG
 DGPLQLVWHUHGDVD&ODLPDQW7UXVW$VVHW

                  ³Convenience Class Election´PHDQVWKHRSWLRQSURYLGHGWRHDFK+ROGHURI
 D*HQHUDO8QVHFXUHG&ODLPWKDWLVDOLTXLGDWHG&ODLPDVRIWKH&RQILUPDWLRQ'DWHRQWKHLU%DOORW
 WRHOHFWWRUHGXFHWKHLUFODLPWRDQGUHFHLYHWKHWUHDWPHQWSURYLGHGWR&RQYHQLHQFH
 &ODLPV

                   ³Contingent Claimant Trust Interests”PHDQVWKHFRQWLQJHQW&ODLPDQW7UXVW
 ,QWHUHVWVWREHGLVWULEXWHGWR+ROGHUVRI&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWV+ROGHUVRI&ODVV%
 /LPLWHG3DUWQHUVKLS,QWHUHVWVDQG+ROGHUVRI&ODVV&/LPLWHG3DUWQHUVKLS,QWHUHVWVLQDFFRUGDQFH
 ZLWK WKLV 3ODQ WKH ULJKWV RI ZKLFK VKDOO QRW YHVW DQG FRQVHTXHQWO\ FRQYHUW WR &ODLPDQW 7UXVW
 ,QWHUHVWVXQOHVVDQGXQWLOWKH&ODLPDQW7UXVWHH)LOHVDFHUWLILFDWLRQWKDWDOOKROGHUVRI$OORZHG
 *HQHUDO 8QVHFXUHG &ODLPV KDYH EHHQ SDLG LQGHIHDVLEO\ LQ IXOO SOXV WR WKH H[WHQW DOO $OORZHG
 XQVHFXUHG&ODLPVH[FOXGLQJ6XERUGLQDWHG&ODLPVKDYHEHHQSDLGLQIXOODOODFFUXHGDQGXQSDLG
 SRVWSHWLWLRQLQWHUHVWIURPWKH3HWLWLRQ'DWHDWWKH)HGHUDO-XGJPHQW5DWHDQGDOO'LVSXWHG&ODLPV
 LQ&ODVVDQG&ODVVKDYHEHHQUHVROYHG$VVHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQWWKH
 &RQWLQJHQW &ODLPDQW 7UXVW ,QWHUHVWV GLVWULEXWHG WR WKH +ROGHUV RI &ODVV $ /LPLWHG 3DUWQHUVKLS
 ,QWHUHVWVZLOOEHVXERUGLQDWHGWRWKH&RQWLQJHQW&ODLPDQW7UXVW,QWHUHVWVGLVWULEXWHGWRWKH+ROGHUV
 RI&ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWV

                ³Debtor´ PHDQV +LJKODQG &DSLWDO 0DQDJHPHQW /3 LQ LWV FDSDFLW\ DV
 GHEWRUDQGGHEWRULQSRVVHVVLRQLQWKH&KDSWHU&DVH

                   “Delaware Bankruptcy Court”PHDQVWKH8QLWHG6WDWHV%DQNUXSWF\&RXUW
 IRUWKH'LVWULFWRI'HODZDUH

                 ³Disclosure Statement´ PHDQV WKDW FHUWDLQ Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization DV DPHQGHG VXSSOHPHQWHG RU
 PRGLILHGIURPWLPHWRWLPHZKLFKGHVFULEHVWKLV3ODQLQFOXGLQJDOOH[KLELWVDQGVFKHGXOHVWKHUHWR
 DQGUHIHUHQFHVWKHUHLQWKDWUHODWHWRWKLV3ODQ

                 ³Disputed´ PHDQVZLWKUHVSHFWWRDQ\&ODLPRU(TXLW\,QWHUHVWDQ\&ODLP
 RU(TXLW\,QWHUHVWWKDWLVQRW\HW$OORZHG

                   ³DisputedClaims Reserve´PHDQVWKHDSSURSULDWHUHVHUYH V RUDFFRXQW V 
 WR EH HVWDEOLVKHG RQ WKH ,QLWLDO 'LVWULEXWLRQ 'DWH DQG PDLQWDLQHG E\ WKH &ODLPDQW 7UXVWHH IRU
 GLVWULEXWLRQVRQDFFRXQWRI'LVSXWHG&ODLPVWKDWPD\VXEVHTXHQWO\EHFRPHDQ$OORZHG&ODLP

                 ³Disputed Claims Reserve Amount´PHDQVIRUSXUSRVHVRIGHWHUPLQLQJWKH
 'LVSXWHG&ODLPV5HVHUYHWKH&DVKWKDWZRXOGKDYHRWKHUZLVHEHHQGLVWULEXWHGWRD+ROGHURID
 'LVSXWHG&ODLPDWWKHWLPHDQ\GLVWULEXWLRQVRI&DVKDUHPDGHWRWKH+ROGHUVRI$OORZHG&ODLPV
 7KHDPRXQWRIWKH'LVSXWHG&ODLPXSRQZKLFKWKH'LVSXWHG&ODLPV5HVHUYHLVFDOFXODWHGVKDOO
 EH D WKHDPRXQWVHWIRUWKRQHLWKHUWKH6FKHGXOHVRUWKHILOHG3URRIRI&ODLPDVDSSOLFDEOH E 
 WKHDPRXQWDJUHHGWRE\WKH+ROGHURIWKH'LVSXWHG&ODLPDQGWKH&ODLPDQW7UXVWHHRU5HRUJDQL]HG


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 'HEWRU DV DSSOLFDEOH F  WKH DPRXQW RUGHUHG E\ WKH %DQNUXSWF\ &RXUW LI LW HQWHUV DQ RUGHU
 GLVDOORZLQJLQZKROHRULQSDUWD'LVSXWHG&ODLPRU G DVRWKHUZLVHRUGHUHGE\WKH%DQNUXSWF\
 &RXUWLQFOXGLQJDQRUGHUHVWLPDWLQJWKH'LVSXWHG&ODLP

                ³Distribution Agent´PHDQVWKH&ODLPDQW7UXVWHHRUDQ\SDUW\GHVLJQDWHG
 E\WKH&ODLPDQW7UXVWHHWRVHUYHDVGLVWULEXWLRQDJHQWXQGHUWKLV3ODQ

                  ³Distribution Date´PHDQVWKHGDWHRUGDWHVGHWHUPLQHGE\WKH5HRUJDQL]HG
 'HEWRURUWKH&ODLPDQW7UXVWHHDVDSSOLFDEOHRQRUDIWHUWKH,QLWLDO'LVWULEXWLRQ'DWHXSRQZKLFK
 WKH'LVWULEXWLRQ$JHQWVKDOOPDNHGLVWULEXWLRQVWRKROGHUVRI$OORZHG&ODLPVDQG,QWHUHVWVHQWLWOHG
 WRUHFHLYHGLVWULEXWLRQVXQGHUWKH3ODQ

                 ³Distribution Record Date´PHDQVWKHGDWHIRUGHWHUPLQLQJZKLFK+ROGHUV
 RI&ODLPVDQG(TXLW\,QWHUHVWVDUHHOLJLEOHWRUHFHLYHGLVWULEXWLRQVKHUHXQGHUZKLFKGDWHVKDOOEH
 WKH(IIHFWLYH'DWHRUVXFKODWHUGDWHGHWHUPLQHGE\WKH%DQNUXSWF\&RXUW

                 ³Effective Date´PHDQVWKH%XVLQHVV'D\WKDWWKLV3ODQEHFRPHVHIIHFWLYH
 DVSURYLGHGLQ$57,&/(9,,,KHUHRI

                     ³Employees´ PHDQV WKH HPSOR\HHV RI WKH 'HEWRU VHW IRUWK LQ WKH 3ODQ
 6XSSOHPHQW

                  ³Enjoined Parties´PHDQV L DOO(QWLWLHVZKRKDYHKHOGKROGRUPD\KROG
 &ODLPVDJDLQVWRU(TXLW\,QWHUHVWVLQWKH'HEWRU ZKHWKHURUQRWSURRIRIVXFK&ODLPVRU(TXLW\
 ,QWHUHVWVKDVEHHQILOHGDQGZKHWKHURUQRWVXFK(QWLWLHVYRWHLQIDYRURIDJDLQVWRUDEVWDLQIURP
 YRWLQJRQWKH3ODQRUDUHSUHVXPHGWRKDYHDFFHSWHGRUGHHPHGWRKDYHUHMHFWHGWKH3ODQ  LL 
 -DPHV'RQGHUR ³'RQGHUR´  LLL DQ\(QWLW\WKDWKDVDSSHDUHGDQGRUILOHGDQ\PRWLRQREMHFWLRQ
 RURWKHUSOHDGLQJLQWKLV&KDSWHU&DVHUHJDUGOHVVRIWKHFDSDFLW\LQZKLFKVXFK(QWLW\DSSHDUHG
 DQGDQ\RWKHUSDUW\LQLQWHUHVW LY DQ\5HODWHG(QWLW\DQG Y WKH5HODWHG3HUVRQVRIHDFKRIWKH
 IRUHJRLQJ

                ³Entity´PHDQVDQ\³HQWLW\´DVGHILQHGLQVHFWLRQ  RIWKH%DQNUXSWF\
 &RGHDQGDOVRLQFOXGHVDQ\3HUVRQRUDQ\RWKHUHQWLW\

                  ³Equity Interest´ PHDQV DQ\ (TXLW\ 6HFXULW\ LQ WKH 'HEWRU LQFOXGLQJ
 ZLWKRXWOLPLWDWLRQDOOLVVXHGXQLVVXHGDXWKRUL]HGRURXWVWDQGLQJSDUWQHUVKLSLQWHUHVWVVKDUHVRI
 VWRFNRUOLPLWHGFRPSDQ\LQWHUHVWVWKH&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWVWKH&ODVV%/LPLWHG
 3DUWQHUVKLS,QWHUHVWVDQGWKH&ODVV&/LPLWHG3DUWQHUVKLS,QWHUHVWV

                ³Equity Security´PHDQVDQ³HTXLW\VHFXULW\´DVGHILQHGLQVHFWLRQ  
 RIWKH%DQNUXSWF\&RGH

                 ³Estate´ PHDQV WKH EDQNUXSWF\ HVWDWH RI WKH 'HEWRU FUHDWHG E\ YLUWXH RI
 VHFWLRQRIWKH%DQNUXSWF\&RGHXSRQWKHFRPPHQFHPHQWRIWKH&KDSWHU&DVH

                ³Estate Claims´KDVWKHPHDQLQJJLYHQWRLWLQ([KLELW$WRWKHNotice of
 Final Term Sheet>',@




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                   ³Exculpated Parties´PHDQVFROOHFWLYHO\ L WKH'HEWRUDQGLWVVXFFHVVRUV
 DQGDVVLJQV LL WKH(PSOR\HHV LLL 6WUDQG LY WKH,QGHSHQGHQW'LUHFWRUV Y WKH&RPPLWWHH
  YL WKHPHPEHUVRIWKH&RPPLWWHH LQWKHLURIILFLDOFDSDFLWLHV  YLL WKH3URIHVVLRQDOVUHWDLQHGE\
 WKH'HEWRUDQGWKH&RPPLWWHHLQWKH&KDSWHU&DVH YLLL WKH&(2&52DQG L[ WKH5HODWHG
 3HUVRQVRIHDFKRIWKHSDUWLHVOLVWHGLQ LY WKURXJK YLLL provided, however,WKDWIRUWKHDYRLGDQFH
 RI GRXEW QRQH RI -DPHV 'RQGHUR 0DUN 2NDGD 1H[3RLQW $GYLVRUV /3 DQG DQ\ RI LWV
 VXEVLGLDULHV DQG PDQDJHG HQWLWLHV  WKH &KDULWDEOH 'RQRU $GYLVHG )XQG /3 DQG DQ\ RI LWV
 VXEVLGLDULHVLQFOXGLQJ&/2+ROGFR/WGDQGPDQDJHGHQWLWLHV +LJKODQG&/2)XQGLQJ/WG
  DQGDQ\RILWVVXEVLGLDULHVPHPEHUVDQGPDQDJHGHQWLWLHV +LJKODQG&DSLWDO0DQDJHPHQW)XQG
 $GYLVRUV/3 DQGDQ\RILWVVXEVLGLDULHVDQGPDQDJHGHQWLWLHV 1H[%DQN66% DQGDQ\RILWV
 VXEVLGLDULHV  WKH +XQWHU 0RXQWDLQ ,QYHVWPHQW 7UXVW RU DQ\ WUXVWHH DFWLQJ IRU WKH WUXVW  WKH
 'XJDER\,QYHVWPHQW7UXVW RUDQ\WUXVWHHDFWLQJIRUWKHWUXVW RU*UDQW6FRWWLVLQFOXGHGLQWKH
 WHUP³([FXOSDWHG3DUW\´

                  ³Executory Contract´PHDQVDFRQWUDFWWRZKLFKWKH'HEWRULVDSDUW\WKDW
 LVVXEMHFWWRDVVXPSWLRQRUUHMHFWLRQXQGHUVHFWLRQVRURIWKH%DQNUXSWF\&RGH

                 ³Exhibit´PHDQVDQH[KLELWDQQH[HGKHUHWRRUWRWKH'LVFORVXUH6WDWHPHQW
  DVVXFKH[KLELWVDUHDPHQGHGPRGLILHGRURWKHUZLVHVXSSOHPHQWHGIURPWLPHWRWLPH ZKLFKDUH
 LQFRUSRUDWHGE\UHIHUHQFHKHUHLQ

                ³Federal Judgment Rate´PHDQVWKHSRVWMXGJPHQWLQWHUHVWUDWHVHWIRUWKLQ
 86&DVRIWKH(IIHFWLYH'DWH

                  ³File´RU³Filed´RU³Filing´PHDQVILOHILOHGRUILOLQJZLWKWKH%DQNUXSWF\
 &RXUWRULWVDXWKRUL]HGGHVLJQHHLQWKH&KDSWHU&DVH

                    ³Final Order´PHDQVDQRUGHURUMXGJPHQWRIWKH%DQNUXSWF\&RXUWZKLFK
 LVLQIXOOIRUFHDQGHIIHFWDQGDVWRZKLFKWKHWLPHWRDSSHDOSHWLWLRQIRUcertiorariRUPRYHIRUD
 QHZWULDOUHDUJXPHQWRUUHKHDULQJKDVH[SLUHGDQGDVWRZKLFKQRDSSHDOSHWLWLRQIRUcertiorari
 RURWKHUSURFHHGLQJVIRUDQHZWULDOUHDUJXPHQWRUUHKHDULQJVKDOOWKHQEHSHQGLQJRUDVWRZKLFK
 DQ\ ULJKW WR DSSHDO SHWLWLRQ IRU certiorari QHZ WULDO UHDUJXPHQW RU UHKHDULQJ VKDOO KDYH EHHQ
 ZDLYHGLQZULWLQJLQIRUPDQGVXEVWDQFHVDWLVIDFWRU\WRWKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH
 &ODLPDQW 7UXVWHH DV DSSOLFDEOH RU LQ WKH HYHQW WKDW DQ DSSHDO ZULW RI certiorari QHZ WULDO
 UHDUJXPHQWRUUHKHDULQJWKHUHRIKDVEHHQVRXJKWVXFKRUGHURIWKH%DQNUXSWF\&RXUWVKDOOKDYH
 EHHQGHWHUPLQHGE\WKHKLJKHVWFRXUWWRZKLFKVXFKRUGHUZDVDSSHDOHGRUcertiorariQHZWULDO
 UHDUJXPHQWRUUHKHDULQJVKDOOKDYHEHHQGHQLHGDQGWKHWLPHWRWDNHDQ\IXUWKHUDSSHDOSHWLWLRQ
 IRU certiorari RU PRYH IRU D QHZ WULDO UHDUJXPHQW RU UHKHDULQJ VKDOO KDYH H[SLUHG provided,
 howeverWKDWWKHSRVVLELOLW\WKDWDPRWLRQXQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH
 RUDQ\DQDORJRXVUXOHXQGHUWKH%DQNUXSWF\5XOHVPD\EH)LOHGZLWKUHVSHFWWRVXFKRUGHUVKDOO
 QRWSUHFOXGHVXFKRUGHUIURPEHLQJD)LQDO2UGHU

                 ³Frontier Secured Claim´PHDQVWKHORDQIURP)URQWLHU6WDWH%DQNWRWKH
 'HEWRULQWKHSULQFLSDODPRXQWRIPDGHSXUVXDQWWRWKDWFHUWDLQ)LUVW$PHQGHGDQG
 5HVWDWHG/RDQ$JUHHPHQWGDWHG0DUFK




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                 ³General Partner Interest´PHDQVWKH&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVW
 KHOGE\6WUDQGDVWKH'HEWRU¶VJHQHUDOSDUWQHU

                  ³General Unsecured Claim´ PHDQV DQ\ SUHSHWLWLRQ &ODLP DJDLQVW WKH
 'HEWRUWKDWLVQRW6HFXUHGDQGLVQRWDDQ D $GPLQLVWUDWLYH([SHQVH&ODLP E 3URIHVVLRQDO)HH
 &ODLP F 3ULRULW\7D[&ODLP G 3ULRULW\1RQ7D[&ODLPRU H &RQYHQLHQFH&ODLP

                ³Governmental Unit´ PHDQV D ³JRYHUQPHQWDO XQLW´ DV GHILQHG LQ
 VHFWLRQ  RIWKH%DQNUXSWF\&RGH

               ³GUC Election´ PHDQV WKH RSWLRQ SURYLGHG WR HDFK +ROGHU RI D
 &RQYHQLHQFH&ODLPRQWKHLU%DOORWWRHOHFWWRUHFHLYHWKHWUHDWPHQWSURYLGHGWR*HQHUDO8QVHFXUHG
 &ODLPV

                      ³Holder´PHDQVDQ(QWLW\KROGLQJD&ODLPDJDLQVWRU(TXLW\,QWHUHVWLQWKH
 'HEWRU

                ³Impaired´PHDQVZKHQXVHGLQUHIHUHQFHWRD&ODLPRU(TXLW\,QWHUHVWD
 &ODLPRU(TXLW\,QWHUHVWWKDWLVLPSDLUHGZLWKLQWKHPHDQLQJRIVHFWLRQRIWKH%DQNUXSWF\
 &RGH

                   ³Independent Directors´ PHDQV -RKQ 6 'XEHO -DPHV 3 6HHU\ -U DQG
 5XVVHOO 1HOPV WKH LQGHSHQGHQW GLUHFWRUV RI 6WUDQG DSSRLQWHG RQ -DQXDU\   DQG DQ\
 DGGLWLRQDO RU UHSODFHPHQW GLUHFWRUV RI 6WUDQG DSSRLQWHG DIWHU -DQXDU\   EXW SULRU WR WKH
 (IIHFWLYH'DWH

                ³Initial Distribution Date´ PHDQV VXEMHFW WR WKH ³7UHDWPHQW´ VHFWLRQV LQ
 $57,&/(,,,KHUHRIWKHGDWHWKDWLVRQRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH(IIHFWLYH
 'DWHZKHQGLVWULEXWLRQVXQGHUWKLV3ODQVKDOOFRPPHQFHWR+ROGHUVRI$OORZHG&ODLPVDQG(TXLW\
 ,QWHUHVWV

                   ³Insurance Policies´PHDQVDOOLQVXUDQFHSROLFLHVPDLQWDLQHGE\WKH'HEWRU
 DVRIWKH3HWLWLRQ'DWH

                 ³Jefferies Secured Claim´ PHDQV DQ\ &ODLP LQ IDYRU RI -HIIHULHV //&
 DULVLQJXQGHUWKDWFHUWDLQ3ULPH%URNHUDJH&XVWRPHU$JUHHPHQWGDWHG0D\EHWZHHQ
 WKH 'HEWRU DQG -HIIHULHV //& WKDW LV VHFXUHG E\ WKH DVVHWV LI DQ\ PDLQWDLQHG LQ WKH SULPH
 EURNHUDJHDFFRXQWFUHDWHGE\VXFK3ULPH%URNHUDJH&XVWRPHU$JUHHPHQW

                  ³Lien´PHDQVD³OLHQ´DVGHILQHGLQVHFWLRQ  RIWKH%DQNUXSWF\&RGH
 DQGZLWKUHVSHFWWR DQ\DVVHWLQFOXGHVZLWKRXWOLPLWDWLRQDQ\PRUWJDJHOLHQSOHGJHFKDUJH
 VHFXULW\LQWHUHVWRURWKHUHQFXPEUDQFHRIDQ\NLQGRUDQ\RWKHUW\SHRISUHIHUHQWLDODUUDQJHPHQW
 WKDWKDVWKHSUDFWLFDOHIIHFWRIFUHDWLQJDVHFXULW\LQWHUHVWLQUHVSHFWRIVXFKDVVHW

                ³Limited Partnership Agreement´PHDQVWKDWFHUWDLQ)RXUWK$PHQGHGDQG
 5HVWDWHG $JUHHPHQW RI /LPLWHG 3DUWQHUVKLS RI +LJKODQG &DSLWDO 0DQDJHPHQW /3 GDWHG
 'HFHPEHUDVDPHQGHG




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                 ³Litigation Sub-Trust´PHDQVWKHVXEWUXVWHVWDEOLVKHGZLWKLQWKH&ODLPDQW
 7UXVWRUDVDZKROO\±RZQHGVXEVLGLDU\RIWKH&ODLPDQW7UXVWRQWKH(IIHFWLYH'DWHLQHDFKFDVH
 LQDFFRUGDQFHZLWKWKHWHUPVDQGFRQGLWLRQVVHWIRUWKLQWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDQG
 &ODLPDQW 7UXVW $JUHHPHQW  $V VHW IRUWKLQWKH /LWLJDWLRQ6XE7UXVW$JUHHPHQWWKH/LWLJDWLRQ
 6XE7UXVWVKDOOKROGWKH&ODLPDQW7UXVW$VVHWVWKDWDUH(VWDWH&ODLPV

               ³Litigation Sub-Trust Agreement´ PHDQV WKH DJUHHPHQW ILOHG LQ WKH 3ODQ
 6XSSOHPHQWHVWDEOLVKLQJDQGGHOLQHDWLQJWKHWHUPVDQGFRQGLWLRQVRIWKH/LWLJDWLRQ6XE7UXVW

                  ³Litigation Trustee´ PHDQV WKH WUXVWHH DSSRLQWHG E\ WKH &RPPLWWHH DQG
 UHDVRQDEO\ DFFHSWDEOH WR WKH 'HEWRU ZKR VKDOO EH UHVSRQVLEOH IRU LQYHVWLJDWLQJ OLWLJDWLQJ DQG
 VHWWOLQJWKH(VWDWH&ODLPVIRUWKHEHQHILWRIWKH&ODLPDQW7UXVWLQDFFRUGDQFHZLWKWKHWHUPVDQG
 FRQGLWLRQVVHWIRUWKLQWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQW

                ³Managed Funds´ PHDQV +LJKODQG 0XOWL6WUDWHJ\ &UHGLW )XQG /3
 +LJKODQG 5HVWRUDWLRQ &DSLWDO 3DUWQHUV /3 DQG DQ\ RWKHU LQYHVWPHQW YHKLFOH PDQDJHG E\ WKH
 'HEWRUSXUVXDQWWRDQ([HFXWRU\&RQWUDFWDVVXPHGSXUVXDQWWRWKLV3ODQ

                ³New Frontier Note´ PHDQV WKDW SURPLVVRU\ QRWH WR EH SURYLGHG WR WKH
 $OORZHG +ROGHUV RI &ODVV  &ODLPV XQGHU WKLV 3ODQ DQG DQ\ RWKHU GRFXPHQWV RU VHFXULW\
 DJUHHPHQWVVHFXULQJWKHREOLJDWLRQVWKHUHXQGHU

                 ³New GP LLC´PHDQVDOLPLWHGOLDELOLW\FRPSDQ\LQFRUSRUDWHGLQWKH6WDWH
 RI 'HODZDUH SXUVXDQW WR WKH 1HZ *3 //& 'RFXPHQWV WR VHUYH DV WKH JHQHUDO SDUWQHU RI WKH
 5HRUJDQL]HG'HEWRURQWKH(IIHFWLYH'DWH

                 ³New GP LLC Documents´ PHDQV WKH FKDUWHU RSHUDWLQJ DJUHHPHQW DQG
 RWKHUIRUPDWLRQDOGRFXPHQWVRI1HZ*3//&

                 ³Ordinary Course Professionals Order´PHDQVWKDWFHUWDLQOrder Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 >',@

                 ³Other Unsecured Claim´ PHDQV DQ\ 6HFXUHG &ODLP RWKHU WKDQ WKH
 -HIIHULHV6HFXUHG&ODLPDQGWKH)URQWLHU6HFXUHG&ODLP

                   “Person´PHDQVD³SHUVRQ´DVGHILQHGLQVHFWLRQ  RIWKH%DQNUXSWF\
 &RGHDQGDOVRLQFOXGHVDQ\QDWXUDOSHUVRQLQGLYLGXDOFRUSRUDWLRQFRPSDQ\JHQHUDORUOLPLWHG
 SDUWQHUVKLS OLPLWHG OLDELOLW\ FRPSDQ\ XQLQFRUSRUDWHG RUJDQL]DWLRQ ILUP WUXVW HVWDWH EXVLQHVV
 WUXVW DVVRFLDWLRQ MRLQW VWRFN FRPSDQ\ MRLQW YHQWXUH JRYHUQPHQW JRYHUQPHQWDO DJHQF\
 *RYHUQPHQWDO 8QLW RU DQ\ VXEGLYLVLRQ WKHUHRI WKH 8QLWHG 6WDWHV 7UXVWHH RU DQ\ RWKHU HQWLW\
 ZKHWKHUDFWLQJLQDQLQGLYLGXDOILGXFLDU\RURWKHUFDSDFLW\

                     ³3HWLWLRQ Date´PHDQV2FWREHU

                ³Plan´ PHDQV WKLV Debtor’s Fifth Amended Chapter 11 Plan of
 ReorganizationLQFOXGLQJWKH([KLELWVDQGWKH3ODQ'RFXPHQWVDQGDOOVXSSOHPHQWVDSSHQGLFHV



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 DQGVFKHGXOHVWKHUHWRHLWKHULQLWVSUHVHQWIRUPRUDVWKHVDPHPD\EHDOWHUHGDPHQGHGPRGLILHG
 RURWKHUZLVHVXSSOHPHQWHGIURPWLPHWRWLPH

                ³Plan Distribution´PHDQVWKHSD\PHQWRUGLVWULEXWLRQRIFRQVLGHUDWLRQWR
 +ROGHUVRI$OORZHG&ODLPVDQG$OORZHG(TXLW\,QWHUHVWVXQGHUWKLV3ODQ

                 ³Plan Documents´PHDQVDQ\RIWKHGRFXPHQWVRWKHUWKDQWKLV3ODQEXW
 LQFOXGLQJZLWKRXWOLPLWDWLRQWKHGRFXPHQWVWREHILOHGZLWKWKH3ODQ6XSSOHPHQWWREHH[HFXWHG
 GHOLYHUHGDVVXPHGRUSHUIRUPHGLQFRQQHFWLRQZLWKWKHRFFXUUHQFHRIWKH(IIHFWLYH'DWHDQGDV
 PD\EHPRGLILHGFRQVLVWHQWZLWKWKHWHUPVKHUHRIZLWKWKHFRQVHQWRIWKH&RPPLWWHH

                  ³Plan Supplement´ PHDQV WKH DQFLOODU\ GRFXPHQWV QHFHVVDU\ IRU WKH
 LPSOHPHQWDWLRQDQGHIIHFWXDWLRQRIWKH3ODQLQFOXGLQJZLWKRXWOLPLWDWLRQ L WKHIRUPRI&ODLPDQW
 7UXVW$JUHHPHQW LL WKHIRUPVRI1HZ*3//&'RFXPHQWV LLL WKHIRUPRI5HRUJDQL]HG/LPLWHG
 3DUWQHUVKLS $JUHHPHQW LY  WKH 6XE6HUYLFHU $JUHHPHQW LI DSSOLFDEOH  Y  WKH LGHQWLW\ RI WKH
 LQLWLDOPHPEHUVRIWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH YL WKHIRUPRI/LWLJDWLRQ6XE7UXVW
 $JUHHPHQW YLL WKHVFKHGXOHRIUHWDLQHG&DXVHVRI$FWLRQ YLLL WKH1HZ)URQWLHU1RWH L[ WKH
 VFKHGXOHRI(PSOR\HHV [ WKHIRUPRI6HQLRU(PSOR\HH6WLSXODWLRQDQG [L WKHVFKHGXOHRI
 ([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHVWREHDVVXPHGSXUVXDQWWRWKLV3ODQZKLFKLQHDFK
 FDVHZLOOEHLQIRUPDQGVXEVWDQFHUHDVRQDEO\DFFHSWDEOHWRWKH'HEWRUDQGWKH&RPPLWWHH

                 ³Priority Non-Tax Claim´ PHDQV D &ODLP HQWLWOHG WR SULRULW\ SXUVXDQW WR
 VHFWLRQ D RIWKH%DQNUXSWF\&RGHLQFOXGLQJDQ\&ODLPVIRUSDLGWLPHRIIHQWLWOHGWRSULRULW\
 XQGHU VHFWLRQ  D   RI WKH %DQNUXSWF\ &RGH RWKHU WKDQ D 3ULRULW\ 7D[ &ODLP RU DQ
 $GPLQLVWUDWLYH&ODLP

                 ³Pro Rata´PHDQVWKHSURSRUWLRQWKDW D WKH$OORZHGDPRXQWRID&ODLPRU
 (TXLW\,QWHUHVWLQDSDUWLFXODU&ODVVEHDUVWR E WKHDJJUHJDWH$OORZHGDPRXQWRIDOO&ODLPVRU
 (TXLW\,QWHUHVWVLQVXFK&ODVV

                 ³Professional´ PHDQV D DQ\ (QWLW\ HPSOR\HG LQ WKH &KDSWHU &DVH
 SXUVXDQWWRVHFWLRQRURIWKH%DQNUXSWF\&RGHRURWKHUZLVHDQG E DQ\(QWLW\
 VHHNLQJ FRPSHQVDWLRQ RU UHLPEXUVHPHQW RI H[SHQVHV LQ FRQQHFWLRQ ZLWK WKH &KDSWHU &DVH
 SXUVXDQWWRVHFWLRQV E  E  DQGRIWKH%DQNUXSWF\&RGH

                   ³Professional Fee Claim´PHDQVD&ODLPXQGHUVHFWLRQV D 
   RU  RI WKH %DQNUXSWF\ &RGH ZLWK UHVSHFW WR D SDUWLFXODU 3URIHVVLRQDO IRU
 FRPSHQVDWLRQIRUVHUYLFHVUHQGHUHGRUUHLPEXUVHPHQWRIFRVWVH[SHQVHVRURWKHUFKDUJHVLQFXUUHG
 DIWHUWKH3HWLWLRQ'DWHDQGSULRUWRDQGLQFOXGLQJWKH(IIHFWLYH'DWH

                ³Professional Fee Claims Bar Date´PHDQVZLWKUHVSHFWWR3URIHVVLRQDO)HH
 &ODLPVWKH%XVLQHVV'D\ZKLFKLVVL[W\  GD\VDIWHUWKH(IIHFWLYH'DWHRUVXFKRWKHUGDWHDV
 DSSURYHGE\RUGHURIWKH%DQNUXSWF\&RXUW

                 ³Professional Fee Claims Objection Deadline´PHDQVZLWKUHVSHFWWRDQ\
 3URIHVVLRQDO )HH &ODLP WKLUW\   GD\V DIWHU WKH WLPHO\ )LOLQJ RI WKH DSSOLFDEOH UHTXHVW IRU
 SD\PHQWRIVXFK3URIHVVLRQDO)HH&ODLP



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                 ³Professional Fee Reserve´PHDQVWKHUHVHUYHHVWDEOLVKHGDQGIXQGHGE\
 WKH&ODLPDQW7UXVWHHSXUVXDQWWKLV3ODQWRSURYLGHVXIILFLHQWIXQGVWRVDWLVI\LQIXOOXQSDLG$OORZHG
 3URIHVVLRQDO)HH&ODLPV

                 ³Proof of Claim´PHDQVDZULWWHQSURRIRI&ODLPRU(TXLW\,QWHUHVW)LOHG
 DJDLQVWWKH'HEWRULQWKH&KDSWHU&DVH

                  ³Priority Tax Claim´PHDQVDQ\&ODLPRID*RYHUQPHQWDO8QLWRIWKHNLQG
 VSHFLILHGLQVHFWLRQ D  RIWKH%DQNUXSWF\&RGH

                  ³Protected Parties´PHDQVFROOHFWLYHO\ L WKH 'HEWRUDQGLWVVXFFHVVRUV
 DQG DVVLJQV GLUHFW DQG LQGLUHFW PDMRULW\RZQHG VXEVLGLDULHV DQG WKH 0DQDJHG )XQGV LL  WKH
 (PSOR\HHV LLL  6WUDQG LY  WKH 5HRUJDQL]HG 'HEWRU Y  WKH ,QGHSHQGHQW 'LUHFWRUV YL  WKH
 &RPPLWWHH YLL WKHPHPEHUVRIWKH&RPPLWWHH LQWKHLURIILFLDOFDSDFLWLHV  YLLL WKH&ODLPDQW
 7UXVW L[ WKH&ODLPDQW7UXVWHH [ WKH/LWLJDWLRQ6XE7UXVW [L WKH/LWLJDWLRQ7UXVWHH [LL WKH
 PHPEHUVRIWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH LQWKHLURIILFLDOFDSDFLWLHV  [LLL 1HZ*3
 //& [LY WKH3URIHVVLRQDOVUHWDLQHGE\WKH'HEWRUDQGWKH&RPPLWWHHLQWKH&KDSWHU&DVH
  [Y WKH&(2&52DQG [YL WKH5HODWHG3HUVRQVRIHDFKRIWKHSDUWLHVOLVWHGLQ LY WKURXJK [Y 
 provided, however, WKDW IRU WKH DYRLGDQFH RI GRXEW QRQH RI -DPHV 'RQGHUR 0DUN 2NDGD
 1H[3RLQW$GYLVRUV/3 DQGDQ\RILWVVXEVLGLDULHVDQGPDQDJHGHQWLWLHV WKH&KDULWDEOH'RQRU
 $GYLVHG )XQG /3 DQG DQ\ RI LWV VXEVLGLDULHV LQFOXGLQJ &/2 +ROGFR /WG DQG PDQDJHG
 HQWLWLHV  +LJKODQG &/2 )XQGLQJ /WG DQG DQ\ RI LWV VXEVLGLDULHV PHPEHUV DQG PDQDJHG
 HQWLWLHV  1H[%DQN 66% DQG DQ\ RI LWV VXEVLGLDULHV  +LJKODQG &DSLWDO 0DQDJHPHQW )XQG
 $GYLVRUV/3 DQGDQ\RILWVVXEVLGLDULHVDQGPDQDJHGHQWLWLHV WKH+XQWHU0RXQWDLQ,QYHVWPHQW
 7UXVW RUDQ\WUXVWHHDFWLQJIRUWKHWUXVW WKH'XJDER\,QYHVWPHQW7UXVW RUDQ\WUXVWHHDFWLQJIRU
 WKHWUXVW RU*UDQW6FRWWLVLQFOXGHGLQWKHWHUP³3URWHFWHG3DUW\´

                ³PTO Claims´PHDQVDQ\&ODLPIRUSDLGWLPHRIILQIDYRURIDQ\'HEWRU
 HPSOR\HHLQH[FHVVRIWKHDPRXQWWKDWZRXOGTXDOLI\DVD3ULRULW\1RQ7D[&ODLPXQGHUVHFWLRQ
  D  RIWKH%DQNUXSWF\&RGH

                  ³Reduced Employee Claims´KDVWKHPHDQLQJVHWIRUWKLQ$57,&/(,;'

                     ³Reinstated´ PHDQV ZLWK UHVSHFW WR DQ\ &ODLP RU (TXLW\ ,QWHUHVW D 
 OHDYLQJXQDOWHUHGWKHOHJDOHTXLWDEOHDQGFRQWUDFWXDOULJKWVWRZKLFKD&ODLPHQWLWOHVWKH+ROGHU
 RIVXFK&ODLPRU(TXLW\,QWHUHVWLQDFFRUGDQFHZLWKVHFWLRQRIWKH%DQNUXSWF\&RGHRU E 
 QRWZLWKVWDQGLQJDQ\FRQWUDFWXDOSURYLVLRQRUDSSOLFDEOHODZWKDWHQWLWOHVWKH+ROGHURIVXFK&ODLP
 RU(TXLW\,QWHUHVWWRGHPDQGRUUHFHLYHDFFHOHUDWHGSD\PHQWRIVXFK&ODLPRU(TXLW\,QWHUHVWDIWHU
 WKHRFFXUUHQFHRIDGHIDXOW L FXULQJDQ\VXFKGHIDXOWWKDWRFFXUUHGEHIRUHRUDIWHUWKH3HWLWLRQ
 'DWHRWKHUWKDQDGHIDXOWRIDNLQGVSHFLILHGLQVHFWLRQ E  RIWKH%DQNUXSWF\&RGHRURID
 NLQGWKDWVHFWLRQ E  RIWKH%DQNUXSWF\&RGHH[SUHVVO\GRHVQRWUHTXLUHWREHFXUHG LL 
 UHLQVWDWLQJ WKH PDWXULW\ RI VXFK &ODLP RU (TXLW\ ,QWHUHVW DV VXFK PDWXULW\ H[LVWHG EHIRUH VXFK
 GHIDXOW LLL FRPSHQVDWLQJWKH+ROGHURIVXFK&ODLPRU(TXLW\,QWHUHVWIRUDQ\GDPDJHVLQFXUUHG
 DV D UHVXOW RI DQ\ UHDVRQDEOH UHOLDQFH E\ VXFK +ROGHU RQ VXFK FRQWUDFWXDO SURYLVLRQ RU VXFK
 DSSOLFDEOH ODZ LY  LI VXFK &ODLP RU (TXLW\ ,QWHUHVW DULVHV IURP DQ\ IDLOXUH WR SHUIRUP D
 QRQPRQHWDU\REOLJDWLRQRWKHUWKDQDGHIDXOWDULVLQJIURPIDLOXUHWRRSHUDWHDQRQUHVLGHQWLDOUHDO
 SURSHUW\OHDVHVXEMHFWWRVHFWLRQ E  $ RIWKH%DQNUXSWF\&RGHFRPSHQVDWLQJWKH+ROGHU



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 RIVXFK&ODLPRU(TXLW\,QWHUHVW RWKHUWKDQDQ\'HEWRURUDQLQVLGHURIDQ\'HEWRU IRUDQ\DFWXDO
 SHFXQLDU\ORVVLQFXUUHGE\VXFK+ROGHUDVDUHVXOWRIVXFKIDLOXUHDQG Y QRWRWKHUZLVHDOWHULQJ
 WKHOHJDOHTXLWDEOHRUFRQWUDFWXDOULJKWVWRZKLFKVXFK&ODLPHQWLWOHVWKH+ROGHURIVXFK&ODLP

                  ³RejectionClaim´PHDQVDQ\&ODLPIRUPRQHWDU\GDPDJHVDVDUHVXOWRI
 WKHUHMHFWLRQRIDQH[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHSXUVXDQWWRWKH&RQILUPDWLRQ2UGHU

                   ³Related Entity´PHDQVZLWKRXWGXSOLFDWLRQ D 'RQGHUR E 0DUN2NDGD
  ³2NDGD´  F *UDQW6FRWW ³6FRWW´  G +XQWHU&RYLW] ³&RYLW]´  H DQ\HQWLW\RUSHUVRQWKDW
 ZDV DQ LQVLGHU RI WKH 'HEWRU RQ RU EHIRUH WKH 3HWLWLRQ 'DWH XQGHU 6HFWLRQ    RI WKH
 %DQNUXSWF\ &RGH LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\ HQWLW\ RU SHUVRQ WKDW ZDV D QRQVWDWXWRU\
 LQVLGHU I  DQ\HQWLW\WKDWDIWHUWKH(IIHFWLYH'DWHLVDQLQVLGHURU$IILOLDWHRIRQHRUPRUHRI
 'RQGHUR2NDGD6FRWW&RYLW]RUDQ\RIWKHLUUHVSHFWLYHLQVLGHUVRU$IILOLDWHVLQFOXGLQJZLWKRXW
 OLPLWDWLRQ7KH'XJDER\,QYHVWPHQW7UXVW J WKH+XQWHU0RXQWDLQ,QYHVWPHQW7UXVWDQGDQ\RI
 LWVGLUHFWRULQGLUHFWSDUHQWV K WKH&KDULWDEOH'RQRU$GYLVHG)XQG/3DQGDQ\RILWVGLUHFWRU
 LQGLUHFWVXEVLGLDULHVDQG L $IILOLDWHVRIWKH'HEWRUDQGDQ\RWKHU(QWLWLHVOLVWHGRQWKH5HODWHG
 (QWLW\/LVW

                  ³Related Entity List´ PHDQV WKDW OLVW RI (QWLWLHV ILOHG ZLWK WKH 3ODQ
 6XSSOHPHQW

                  ³Related Persons´ PHDQV ZLWK UHVSHFW WR DQ\ 3HUVRQ VXFK 3HUVRQ¶V
 SUHGHFHVVRUVVXFFHVVRUVDVVLJQV ZKHWKHUE\RSHUDWLRQRIODZRURWKHUZLVH DQGHDFKRIWKHLU
 UHVSHFWLYHSUHVHQWIXWXUHRUIRUPHURIILFHUVGLUHFWRUVHPSOR\HHVPDQDJHUVPDQDJLQJPHPEHUV
 PHPEHUV ILQDQFLDO DGYLVRUV DWWRUQH\V DFFRXQWDQWV LQYHVWPHQW EDQNHUV FRQVXOWDQWV
 SURIHVVLRQDOV DGYLVRUV VKDUHKROGHUV SULQFLSDOV SDUWQHUV VXEVLGLDULHV GLYLVLRQV PDQDJHPHQW
 FRPSDQLHVKHLUVDJHQWVDQGRWKHUUHSUHVHQWDWLYHVLQHDFKFDVHVROHO\LQWKHLUFDSDFLW\DVVXFK

                   ³Released Parties´PHDQVFROOHFWLYHO\ L WKH,QGHSHQGHQW'LUHFWRUV LL 
 6WUDQG VROHO\IURPWKHGDWHRIWKHDSSRLQWPHQWRIWKH,QGHSHQGHQW'LUHFWRUVWKURXJKWKH(IIHFWLYH
 'DWH  LLL WKH&(2&52 LY WKH&RPPLWWHH Y WKHPHPEHUVRIWKH&RPPLWWHH LQWKHLURIILFLDO
 FDSDFLWLHV  YL  WKH 3URIHVVLRQDOV UHWDLQHG E\ WKH 'HEWRU DQG WKH &RPPLWWHH LQ WKH &KDSWHU 
 &DVHDQG YLL WKH(PSOR\HHV

                 ³Reorganized Debtor´ PHDQV WKH 'HEWRU DV UHRUJDQL]HG SXUVXDQW WR WKLV
 3ODQRQDQGDIWHUWKH(IIHFWLYH'DWH

                  ³Reorganized Debtor Assets´ PHDQV DQ\ OLPLWHG DQG JHQHUDO SDUWQHUVKLS
 LQWHUHVWVKHOGE\WKH'HEWRUWKHPDQDJHPHQWRIWKH0DQDJHG)XQGVDQGWKRVH&DXVHVRI$FWLRQ
  LQFOXGLQJZLWKRXWOLPLWDWLRQFODLPVIRUEUHDFKRIILGXFLDU\GXW\ WKDWIRUDQ\UHDVRQDUHQRW
 FDSDEOH RI EHLQJ WUDQVIHUUHG WR WKH &ODLPDQW 7UXVW  )RU WKH DYRLGDQFH RI GRXEW ³5HRUJDQL]HG
 'HEWRU$VVHWV´LQFOXGHVDQ\SDUWQHUVKLSLQWHUHVWVRUVKDUHVRI0DQDJHG)XQGVKHOGE\WKH'HEWRU
 EXWGRHVQRWLQFOXGHWKHXQGHUO\LQJSRUWIROLRDVVHWVKHOGE\WKH0DQDJHG)XQGV

                 ³Reorganized Limited Partnership Agreement´ PHDQV WKDW FHUWDLQ )LIWK
 $PHQGHGDQG5HVWDWHG$JUHHPHQWRI/LPLWHG3DUWQHUVKLSRI+LJKODQG&DSLWDO0DQDJHPHQW/3
 E\DQGDPRQJWKH&ODLPDQW7UXVWDVOLPLWHGSDUWQHUDQG1HZ*3//&DVJHQHUDOSDUWQHU)LOHG
 ZLWKWKH3ODQ6XSSOHPHQW


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                 ³Restructuring´PHDQVWKHUHVWUXFWXULQJRIWKH'HEWRUWKHSULQFLSDOWHUPV
 RIZKLFKDUHVHWIRUWKLQWKLV3ODQDQGWKH'LVFORVXUH6WDWHPHQW

                 ³Retained Employee Claim´PHDQVDQ\&ODLPILOHGE\DFXUUHQWHPSOR\HH
 RIWKH'HEWRUZKRZLOOEHHPSOR\HGE\WKH5HRUJDQL]HG'HEWRUXSRQWKH(IIHFWLYH'DWH

                  ³Schedules´ PHDQV WKH VFKHGXOHV RI $VVHWV DQG OLDELOLWLHV VWDWHPHQWV RI
 ILQDQFLDO DIIDLUV OLVWV RI +ROGHUV RI &ODLPV DQG (TXLW\ ,QWHUHVWV DQG DOO DPHQGPHQWV RU
 VXSSOHPHQWVWKHUHWR)LOHGE\WKH'HEWRUZLWKWKH%DQNUXSWF\&RXUW>',@

                   ³Secured´ PHDQV ZKHQ UHIHUULQJ WR D &ODLP D  VHFXUHG E\ D /LHQ RQ
 SURSHUW\ LQ ZKLFK WKH 'HEWRU¶V (VWDWH KDV DQ LQWHUHVW ZKLFK /LHQ LV YDOLG SHUIHFWHG DQG
 HQIRUFHDEOHSXUVXDQWWRDSSOLFDEOHODZRUE\UHDVRQRID%DQNUXSWF\&RXUWRUGHURUWKDWLVVXEMHFW
 WRVHWRIISXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGHWRWKHH[WHQWRIWKHYDOXHRIWKHFUHGLWRU¶V
 LQWHUHVWLQWKHLQWHUHVWRIWKH'HEWRU¶V(VWDWHLQVXFKSURSHUW\RUWRWKHH[WHQWRIWKHDPRXQWVXEMHFW
 WRVHWRIIDVDSSOLFDEOHDVGHWHUPLQHGSXUVXDQWWRVHFWLRQ D RIWKH%DQNUXSWF\&RGHRU E 
 $OORZHGSXUVXDQWWRWKH3ODQDVD6HFXUHG&ODLP

                ³Security´ RU ³security´ PHDQV DQ\ VHFXULW\ DV VXFK WHUP LV GHILQHG LQ
 VHFWLRQ  RIWKH%DQNUXSWF\&RGH

               ³Senior Employees´PHDQVWKHVHQLRUHPSOR\HHVRIWKH'HEWRU)LOHGLQWKH
 3ODQ6XSSOHPHQW

               ³Senior Employee Stipulation´ PHDQV WKH DJUHHPHQWV ILOHG LQ WKH 3ODQ
 6XSSOHPHQWEHWZHHQHDFK6HQLRU(PSOR\HHDQGWKH'HEWRU

                   ³Stamp or Similar Tax´ PHDQV DQ\ VWDPS WD[ UHFRUGLQJ WD[ SHUVRQDO
 SURSHUW\WD[FRQYH\DQFHIHHLQWDQJLEOHVRUVLPLODUWD[UHDOHVWDWHWUDQVIHUWD[VDOHVWD[XVHWD[
 WUDQVDFWLRQSULYLOHJHWD[ LQFOXGLQJZLWKRXWOLPLWDWLRQVXFKWD[HVRQSULPHFRQWUDFWLQJDQGRZQHU
 EXLOGHU VDOHV  SULYLOHJH WD[HV LQFOXGLQJ ZLWKRXW OLPLWDWLRQ SULYLOHJH WD[HV RQ FRQVWUXFWLRQ
 FRQWUDFWLQJ ZLWK UHJDUG WR VSHFXODWLYH EXLOGHUV DQG RZQHU EXLOGHUV  DQG RWKHU VLPLODU WD[HV
 LPSRVHGRUDVVHVVHGE\DQ\*RYHUQPHQWDO8QLW

                  ³Statutory Fees´PHDQVIHHVSD\DEOHSXUVXDQWWR86&

                  ³Strand´PHDQV6WUDQG$GYLVRUV,QFWKH'HEWRU¶VJHQHUDOSDUWQHU

                 ³Sub-Servicer´ PHDQV D WKLUGSDUW\ VHOHFWHG E\ WKH &ODLPDQW 7UXVWHH WR
 VHUYLFHRUVXEVHUYLFHWKH5HRUJDQL]HG'HEWRU$VVHWV

                 ³Sub-Servicer Agreement´PHDQVWKHDJUHHPHQWWKDWPD\EHHQWHUHGLQWR
 SURYLGLQJIRUWKHVHUYLFLQJRIWKH5HRUJDQL]HG'HEWRU$VVHWVE\WKH6XE6HUYLFHU

                 ³Subordinated Claim´ PHDQV DQ\ &ODLP WKDW LV VXERUGLQDWHG WR WKH
 &RQYHQLHQFH &ODLPV DQG *HQHUDO 8QVHFXUHG &ODLPV SXUVXDQW WR DQ RUGHU HQWHUHG E\ WKH
 %DQNUXSWF\&RXUW LQFOXGLQJDQ\RWKHUFRXUWKDYLQJMXULVGLFWLRQRYHUWKH&KDSWHU&DVH DIWHU
 QRWLFHDQGDKHDULQJ



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                  ³Subordinated Claimant Trust Interests´PHDQVWKH&ODLPDQW7UXVW,QWHUHVWV
 WREHGLVWULEXWHGWR+ROGHUVRI$OORZHG6XERUGLQDWHG&ODLPVXQGHUWKH3ODQZKLFKVXFKLQWHUHVWV
 VKDOOEHVXERUGLQDWHGLQULJKWDQGSULRULW\WRWKH&ODLPDQW7UXVW,QWHUHVWVGLVWULEXWHGWR+ROGHUVRI
 $OORZHG*HQHUDO8QVHFXUHG&ODLPVDVSURYLGHGLQWKH&ODLPDQW7UXVW$JUHHPHQW

                ³Trust Distribution´ PHDQV WKH WUDQVIHU RI &DVK RU RWKHU SURSHUW\ E\ WKH
 &ODLPDQW7UXVWHHWRWKH&ODLPDQW7UXVW%HQHILFLDULHV

                  ³Trustees´ PHDQV FROOHFWLYHO\ WKH &ODLPDQW 7UXVWHH DQG /LWLJDWLRQ
 7UXVWHH

                  ³UBS´ PHDQV FROOHFWLYHO\ 8%6 6HFXULWLHV //& DQG 8%6 $* /RQGRQ
 %UDQFK

                 ³Unexpired Lease´ PHDQV D OHDVH WR ZKLFK WKH 'HEWRU LV D SDUW\ WKDW LV
 VXEMHFWWRDVVXPSWLRQRUUHMHFWLRQXQGHUVHFWLRQRIWKH%DQNUXSWF\&RGH

                  ³Unimpaired´PHDQVZLWKUHVSHFWWRD&ODVVRI&ODLPVRU(TXLW\,QWHUHVWV
 WKDWLVQRWLPSDLUHGZLWKLQWKHPHDQLQJRIVHFWLRQRIWKH%DQNUXSWF\&RGH

                    ³VotingDeadline´PHDQVWKHGDWHDQGWLPHE\ZKLFKDOO%DOORWVWRDFFHSW
 RU UHMHFW WKH 3ODQ PXVW EH UHFHLYHG LQ RUGHU WR EH FRXQWHG XQGHU WKH XQGHU WKH 2UGHU RI WKH
 %DQNUXSWF\ &RXUW DSSURYLQJ WKH 'LVFORVXUH 6WDWHPHQW DV FRQWDLQLQJ DGHTXDWH LQIRUPDWLRQ
 SXUVXDQW WR VHFWLRQ  D  RI WKH %DQNUXSWF\ &RGH DQG DXWKRUL]LQJ WKH 'HEWRU WR VROLFLW
 DFFHSWDQFHVRIWKH3ODQ

                  ³VotingRecordDate´PHDQV1RYHPEHU

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                 $'0,1,675$7,9((;3(16(6$1'35,25,7<7$;&/$,06

 $     $GPLQLVWUDWLYH([SHQVH&ODLPV

         2QWKHODWHURIWKH(IIHFWLYH'DWHRUWKHGDWHRQZKLFKDQ$GPLQLVWUDWLYH([SHQVH&ODLP
 EHFRPHVDQ$OORZHG$GPLQLVWUDWLYH([SHQVH&ODLPRULQHDFKVXFKFDVHDVVRRQDVSUDFWLFDEOH
 WKHUHDIWHUHDFK+ROGHURIDQ$OORZHG$GPLQLVWUDWLYH([SHQVH&ODLP RWKHUWKDQ3URIHVVLRQDO)HH
 &ODLPV ZLOOUHFHLYHLQIXOOVDWLVIDFWLRQVHWWOHPHQWGLVFKDUJHDQGUHOHDVHRIDQGLQH[FKDQJHIRU
 VXFK$OORZHG$GPLQLVWUDWLYH([SHQVH&ODLPHLWKHU L SD\PHQWLQIXOOLQ$YDLODEOH&DVKIRUWKH
 XQSDLGSRUWLRQRIVXFK$OORZHG$GPLQLVWUDWLYH([SHQVH&ODLPRU LL VXFKRWKHUOHVVIDYRUDEOH
 WUHDWPHQWDVDJUHHGWRLQZULWLQJE\WKH'HEWRURUWKH5HRUJDQL]HG'HEWRUDVDSSOLFDEOHDQGVXFK
 +ROGHU provided, however, WKDW $GPLQLVWUDWLYH ([SHQVH &ODLPV LQFXUUHG E\ WKH 'HEWRU LQ WKH
 RUGLQDU\FRXUVHRIEXVLQHVVPD\EHSDLGLQWKHRUGLQDU\FRXUVHRIEXVLQHVVLQWKHGLVFUHWLRQRIWKH
 'HEWRULQDFFRUGDQFHZLWKVXFKDSSOLFDEOHWHUPVDQGFRQGLWLRQVUHODWLQJWKHUHWRZLWKRXWIXUWKHU
 QRWLFHWRRURUGHURIWKH%DQNUXSWF\&RXUW$OOVWDWXWRU\IHHVSD\DEOHXQGHU86& D 
 VKDOOEHSDLGDVVXFKIHHVEHFRPHGXH

        ,IDQ$GPLQLVWUDWLYH([SHQVH&ODLP RWKHUWKDQD3URIHVVLRQDO)HH&ODLP LVQRWSDLGE\
 WKH'HEWRULQWKHRUGLQDU\FRXUVHWKH+ROGHURIVXFK$GPLQLVWUDWLYH([SHQVH&ODLPPXVW)LOHRQ



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 RU EHIRUH WKH DSSOLFDEOH $GPLQLVWUDWLYH ([SHQVH &ODLPV %DU 'DWH DQG VHUYH RQ WKH 'HEWRU RU
 5HRUJDQL]HG'HEWRUDVDSSOLFDEOHDQGVXFKRWKHU(QWLWLHVZKRDUHGHVLJQDWHGE\WKH%DQNUXSWF\
 5XOHVWKH&RQILUPDWLRQ2UGHURURWKHURUGHURIWKH%DQNUXSWF\&RXUWDQDSSOLFDWLRQIRUDOORZDQFH
 DQGSD\PHQWRIVXFK$GPLQLVWUDWLYH([SHQVH&ODLP

         2EMHFWLRQVWRDQ\$GPLQLVWUDWLYH([SHQVH&ODLP RWKHUWKDQD3URIHVVLRQDO)HH&ODLP 
 PXVWEH)LOHGDQGVHUYHGRQWKH'HEWRURUWKH5HRUJDQL]HG'HEWRUDVDSSOLFDEOHDQGWKHSDUW\
 DVVHUWLQJVXFK$GPLQLVWUDWLYH([SHQVH&ODLPE\WKH$GPLQLVWUDWLYH([SHQVH&ODLPV2EMHFWLRQ
 'HDGOLQH

 %     3URIHVVLRQDO)HH&ODLPV

         3URIHVVLRQDOV RU RWKHU (QWLWLHV DVVHUWLQJ D 3URIHVVLRQDO )HH &ODLP IRU VHUYLFHV UHQGHUHG
 WKURXJKWKH(IIHFWLYH'DWHPXVWVXEPLWIHHDSSOLFDWLRQVXQGHUVHFWLRQV
  E  RU  RI WKH %DQNUXSWF\ &RGH DQG XSRQ HQWU\ RI DQ RUGHU RI WKH %DQNUXSWF\ &RXUW
 JUDQWLQJVXFKIHHDSSOLFDWLRQVVXFK3URIHVVLRQDO)HH&ODLPVKDOOSURPSWO\EHSDLGLQ&DVKLQIXOO
 WRWKHH[WHQWSURYLGHGLQVXFKRUGHU

         3URIHVVLRQDOVRURWKHU(QWLWLHVDVVHUWLQJD3URIHVVLRQDO)HH&ODLPIRUVHUYLFHVUHQGHUHGRQ
 RUSULRUWRWKH(IIHFWLYH'DWHPXVW)LOHRQRUEHIRUHWKH3URIHVVLRQDO)HH&ODLPV%DU'DWHDQG
 VHUYH RQ WKH 'HEWRU RU 5HRUJDQL]HG 'HEWRU DV DSSOLFDEOH DQG VXFK RWKHU (QWLWLHV ZKR DUH
 GHVLJQDWHG DV UHTXLULQJ VXFK QRWLFH E\ WKH %DQNUXSWF\ 5XOHV WKH &RQILUPDWLRQ 2UGHU RU RWKHU
 RUGHURIWKH%DQNUXSWF\&RXUWDQDSSOLFDWLRQIRUILQDODOORZDQFHRIVXFK3URIHVVLRQDO)HH&ODLP

         2EMHFWLRQV WR DQ\ 3URIHVVLRQDO )HH &ODLP PXVW EH )LOHG DQG VHUYHG RQ WKH 'HEWRU RU
 5HRUJDQL]HG 'HEWRU DV DSSOLFDEOH DQG WKH SDUW\ DVVHUWLQJ WKH 3URIHVVLRQDO )HH &ODLP E\ WKH
 3URIHVVLRQDO)HH&ODLP2EMHFWLRQ'HDGOLQH(DFK+ROGHURIDQ$OORZHG3URIHVVLRQDO)HH&ODLP
 ZLOOEHSDLGE\WKH'HEWRURUWKH&ODLPDQW7UXVWDVDSSOLFDEOHLQ&DVKZLWKLQWHQ  %XVLQHVV
 'D\VRIHQWU\RIWKHRUGHUDSSURYLQJVXFK$OORZHG3URIHVVLRQDO)HH&ODLP

         2QWKH(IIHFWLYH'DWHWKH&ODLPDQW7UXVWHHVKDOOHVWDEOLVKWKH3URIHVVLRQDO)HH5HVHUYH
 7KH 3URIHVVLRQDO )HH 5HVHUYH VKDOO YHVW LQ WKH &ODLPDQW 7UXVW DQG VKDOO EH PDLQWDLQHG E\ WKH
 &ODLPDQW7UXVWHHLQDFFRUGDQFHZLWKWKH3ODQDQG&ODLPDQW7UXVW$JUHHPHQW7KH&ODLPDQW7UXVW
 VKDOOIXQGWKH3URIHVVLRQDO)HH5HVHUYHRQWKH(IIHFWLYH'DWHLQDQHVWLPDWHGDPRXQWGHWHUPLQHG
 E\WKH'HEWRULQJRRGIDLWKSULRUWRWKH&RQILUPDWLRQ'DWHDQGWKDWDSSUR[LPDWHVWKHWRWDOSURMHFWHG
 DPRXQWRIXQSDLG3URIHVVLRQDO)HH&ODLPVRQWKH(IIHFWLYH'DWH)ROORZLQJWKHSD\PHQWRIDOO
 $OORZHG 3URIHVVLRQDO )HH &ODLPV DQ\ H[FHVV IXQGV LQ WKH 3URIHVVLRQDO )HH 5HVHUYH VKDOO EH
 UHOHDVHG WR WKH &ODLPDQW 7UXVW WR EH XVHG IRU RWKHU SXUSRVHV FRQVLVWHQW ZLWK WKH 3ODQ DQG WKH
 &ODLPDQW7UXVW$JUHHPHQW

 &     3ULRULW\7D[&ODLPV

         2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKHODWHURI L WKH,QLWLDO'LVWULEXWLRQ'DWHLI
 VXFK3ULRULW\7D[&ODLPLVDQ$OORZHG3ULRULW\7D[&ODLPDVRIWKH(IIHFWLYH'DWHRU LL WKHGDWH
 RQZKLFKVXFK3ULRULW\7D[&ODLPEHFRPHVDQ$OORZHG3ULRULW\7D[&ODLPHDFK+ROGHURIDQ
 $OORZHG3ULRULW\7D[&ODLPZLOOUHFHLYHLQIXOOVDWLVIDFWLRQVHWWOHPHQWGLVFKDUJHDQGUHOHDVHRI
 DQGLQH[FKDQJHIRUVXFK$OORZHG3ULRULW\7D[&ODLPDWWKHHOHFWLRQRIWKH'HEWRU D &DVKLQ
 DQDPRXQWRIDWRWDOYDOXHDVRIWKH(IIHFWLYH'DWHRIWKH3ODQHTXDOWRWKHDPRXQWRIVXFK$OORZHG


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 3ULRULW\7D[&ODLPLQDFFRUGDQFHZLWKVHFWLRQ D  & RIWKH%DQNUXSWF\&RGHRU E LI
 SDLG RYHU WLPH SD\PHQW RI VXFK $OORZHG 3ULRULW\ 7D[ &ODLP LQ DFFRUGDQFH ZLWK VHFWLRQ
  D  & RIWKH%DQNUXSWF\&RGHRU F VXFKRWKHUOHVVIDYRUDEOHWUHDWPHQWDVDJUHHGWRLQ
 ZULWLQJE\WKH'HEWRUDQGVXFK+ROGHU3D\PHQWRIVWDWXWRU\IHHVGXHSXUVXDQWWR86&
  D  ZLOOEHPDGHDWDOODSSURSULDWHWLPHVXQWLOWKHHQWU\RIDILQDOGHFUHHprovided, however
 WKDWWKH'HEWRUPD\SUHSD\DQ\RUDOOVXFK&ODLPVDWDQ\WLPHZLWKRXWSUHPLXPRUSHQDOW\

                                        $57,&/(,,,
                             &/$66,),&$7,21$1'75($70(172)
                           &/$66,),('&/$,06$1'(48,7<,17(5(676

 $       6XPPDU\

         $OO&ODLPVDQG(TXLW\,QWHUHVWVH[FHSW$GPLQLVWUDWLYH([SHQVH&ODLPVDQG3ULRULW\7D[
 &ODLPVDUHFODVVLILHGLQWKH&ODVVHVVHWIRUWKEHORZ,QDFFRUGDQFHZLWKVHFWLRQ D  RIWKH
 %DQNUXSWF\ &RGH $GPLQLVWUDWLYH ([SHQVH &ODLPV DQG 3ULRULW\ 7D[ &ODLPV KDYH QRW EHHQ
 FODVVLILHG

         7KH FDWHJRULHV RI &ODLPV DQG (TXLW\ ,QWHUHVWV OLVWHG EHORZ FODVVLI\ &ODLPV DQG (TXLW\
 ,QWHUHVWVIRUDOOSXUSRVHVLQFOXGLQJZLWKRXWOLPLWDWLRQFRQILUPDWLRQDQGGLVWULEXWLRQSXUVXDQWWR
 WKH3ODQDQGSXUVXDQWWRVHFWLRQVDQG D  RIWKH%DQNUXSWF\&RGH7KH3ODQGHHPV
 D&ODLPRU(TXLW\,QWHUHVWWREHFODVVLILHGLQDSDUWLFXODU&ODVVRQO\WRWKHH[WHQWWKDWWKH&ODLPRU
 (TXLW\,QWHUHVWTXDOLILHV ZLWKLQWKHGHVFULSWLRQRIWKDW&ODVVDQGZLOOEHGHHPHGFODVVLILHGLQD
 GLIIHUHQW&ODVVWRWKHH[WHQWWKDWDQ\UHPDLQGHURIVXFK&ODLPRU(TXLW\,QWHUHVWTXDOLILHVZLWKLQ
 WKHGHVFULSWLRQRIVXFKGLIIHUHQW&ODVV$&ODLPRU(TXLW\,QWHUHVWLVLQDSDUWLFXODU&ODVVRQO\WR
 WKHH[WHQWWKDWDQ\VXFK&ODLPRU(TXLW\,QWHUHVWLV$OORZHGLQWKDW&ODVVDQGKDVQRWEHHQSDLG
 UHOHDVHGRURWKHUZLVHVHWWOHG LQHDFKFDVHE\WKH'HEWRURUDQ\RWKHU(QWLW\ SULRUWRWKH(IIHFWLYH
 'DWH

 %       6XPPDU\RI&ODVVLILFDWLRQDQG7UHDWPHQWRI&ODVVLILHG&ODLPVDQG(TXLW\,QWHUHVWV

     &ODVV   &ODLP                                           6WDWXV          9RWLQJ5LJKWV
             -HIIHULHV6HFXUHG&ODLP                         8QLPSDLUHG      'HHPHGWR$FFHSW
             )URQWLHU6HFXUHG&ODLP                          ,PSDLUHG        (QWLWOHGWR9RWH
             2WKHU6HFXUHG&ODLPV                            8QLPSDLUHG      'HHPHGWR$FFHSW
             3ULRULW\1RQ7D[&ODLP                          8QLPSDLUHG      'HHPHGWR$FFHSW
             5HWDLQHG(PSOR\HH&ODLP                         8QLPSDLUHG      'HHPHGWR$FFHSW
             372&ODLPV                                      8QLPSDLUHG      'HHPHGWR$FFHSW
             &RQYHQLHQFH&ODLPV                              ,PSDLUHG        (QWLWOHGWR9RWH
             *HQHUDO8QVHFXUHG&ODLPV                        ,PSDLUHG        (QWLWOHGWR9RWH
             6XERUGLQDWHG&ODLPV                             ,PSDLUHG        (QWLWOHGWR9RWH
            &ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVWV        ,PSDLUHG        (QWLWOHGWR9RWH
            &ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWV          ,PSDLUHG        (QWLWOHGWR9RWH




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 &     (OLPLQDWLRQRI9DFDQW&ODVVHV

         $Q\&ODVVWKDWDVRIWKHFRPPHQFHPHQWRIWKH&RQILUPDWLRQ+HDULQJGRHVQRWKDYHDW
 OHDVWRQH+ROGHURID&ODLPRU(TXLW\,QWHUHVWWKDWLV$OORZHGLQDQDPRXQWJUHDWHUWKDQ]HURIRU
 YRWLQJ SXUSRVHV VKDOO EH FRQVLGHUHG YDFDQW GHHPHG HOLPLQDWHG IURP WKH 3ODQ IRU SXUSRVHV RI
 YRWLQJWRDFFHSWRUUHMHFWWKH3ODQDQGGLVUHJDUGHGIRUSXUSRVHVRIGHWHUPLQLQJZKHWKHUWKH3ODQ
 VDWLVILHVVHFWLRQ D  RIWKH%DQNUXSWF\&RGHZLWKUHVSHFWWRVXFK&ODVV

 '     ,PSDLUHG9RWLQJ&ODVVHV

        &ODLPVDQG(TXLW\,QWHUHVWVLQ&ODVVDQG&ODVVWKURXJK&ODVVDUH,PSDLUHGE\WKH
 3ODQDQGRQO\WKH+ROGHUVRI&ODLPVRU(TXLW\,QWHUHVWVLQWKRVH&ODVVHVDUHHQWLWOHGWRYRWHWR
 DFFHSWRUUHMHFWWKH3ODQ

 (     8QLPSDLUHG1RQ9RWLQJ&ODVVHV

        &ODLPV LQ &ODVV  DQG &ODVV  WKURXJK &ODVV  DUH 8QLPSDLUHG E\ WKH 3ODQ DQG VXFK
 +ROGHUVDUHGHHPHGWRKDYHDFFHSWHGWKH3ODQDQGDUHWKHUHIRUHQRWHQWLWOHGWRYRWHRQWKH3ODQ

 )     ,PSDLUHG1RQ9RWLQJ&ODVVHV

        7KHUHDUHQR&ODVVHVXQGHUWKH 3ODQ WKDW ZLOO QRW UHFHLYH RU UHWDLQDQ\SURSHUW\DQG QR
 &ODVVHVDUHGHHPHGWRUHMHFWWKH3ODQ

 *     &UDPGRZQ

         ,IDQ\&ODVVRI&ODLPVRU(TXLW\,QWHUHVWVLVGHHPHGWRUHMHFWWKLV3ODQRUGRHVQRWYRWHWR
 DFFHSWWKLV3ODQWKH'HEWRUPD\ L VHHNFRQILUPDWLRQRIWKLV3ODQXQGHUVHFWLRQ E RIWKH
 %DQNUXSWF\&RGHRU LL DPHQGRUPRGLI\WKLV3ODQLQDFFRUGDQFHZLWKWKHWHUPVKHUHRIDQGWKH
 %DQNUXSWF\&RGH,IDFRQWURYHUV\DULVHVDVWRZKHWKHUDQ\&ODLPVRU(TXLW\,QWHUHVWVRUDQ\
 FODVVRI&ODLPVRU(TXLW\,QWHUHVWVDUH,PSDLUHGWKH%DQNUXSWF\&RXUWVKDOODIWHUQRWLFHDQGD
 KHDULQJGHWHUPLQHVXFKFRQWURYHUV\RQRUEHIRUHWKH&RQILUPDWLRQ'DWH

 +     &ODVVLILFDWLRQDQG7UHDWPHQWRI&ODLPVDQG(TXLW\,QWHUHVWV

              Class 1 – Jefferies Secured Claim

                 x      Classification&ODVVFRQVLVWVRIWKH-HIIHULHV6HFXUHG&ODLP

                 x      Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH(IIHFWLYH'DWH
                         HDFK+ROGHURIDQ$OORZHG&ODVV&ODLPZLOOUHFHLYHLQIXOOVDWLVIDFWLRQ
                         VHWWOHPHQW GLVFKDUJH DQG UHOHDVH RI DQG LQ H[FKDQJH IRU VXFK $OORZHG
                         &ODVV&ODLPDWWKHHOHFWLRQRIWKH'HEWRU $ &DVKHTXDOWRWKHDPRXQW
                         RIVXFK$OORZHG&ODVV&ODLP % VXFKRWKHUOHVVIDYRUDEOHWUHDWPHQWDV
                         WRZKLFKWKH'HEWRU DQGWKH+ROGHURIVXFK$OORZHG&ODVV&ODLPZLOO
                         KDYH DJUHHG XSRQ LQ ZULWLQJ RU &  VXFK RWKHU WUHDWPHQW UHQGHULQJ VXFK
                         &ODLP8QLPSDLUHG(DFK+ROGHURIDQ$OORZHG&ODVV&ODLPZLOOUHWDLQ
                         WKH/LHQVVHFXULQJLWV$OORZHG&ODVV&ODLPDVRIWKH(IIHFWLYH'DWHXQWLO



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                      IXOODQGILQDOSD\PHQWRIVXFK$OORZHG&ODVV&ODLPLVPDGHDVSURYLGHG
                      KHUHLQ

               x     Impairment and Voting&ODVVLV8QLPSDLUHGDQGWKH+ROGHUVRI&ODVV
                      &ODLPV DUH FRQFOXVLYHO\ GHHPHG WR KDYH DFFHSWHG WKLV 3ODQ SXUVXDQW WR
                      VHFWLRQ I RIWKH%DQNUXSWF\&RGH7KHUHIRUHWKH+ROGHUVRI&ODVV
                      &ODLPVDUHQRWHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQDQGZLOOQRWEH
                      VROLFLWHG

            Class 2 – Frontier Secured Claim

               x     Classification&ODVVFRQVLVWVRIWKH)URQWLHU6HFXUHG&ODLP

               x     Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH(IIHFWLYH'DWH
                      HDFK+ROGHURIDQ$OORZHG&ODVV&ODLPZLOOUHFHLYHLQIXOOVDWLVIDFWLRQ
                      VHWWOHPHQW GLVFKDUJH DQG UHOHDVH RI DQG LQ H[FKDQJH IRU VXFK $OORZHG
                      &ODVV  &ODLP  $  &DVK LQ DQ DPRXQW HTXDO WR DOO DFFUXHG EXW XQSDLG
                      LQWHUHVWRQWKH)URQWLHU&ODLPWKURXJKDQGLQFOXGLQJWKH(IIHFWLYH'DWHDQG
                       % WKH1HZ)URQWLHU1RWH7KH+ROGHURIDQ$OORZHG&ODVV&ODLPZLOO
                      UHWDLQWKH/LHQVVHFXULQJLWV$OORZHG&ODVV&ODLPDVRIWKH(IIHFWLYH'DWH
                      XQWLO IXOO DQG ILQDO SD\PHQW RI VXFK $OORZHG &ODVV  &ODLP LV PDGH DV
                      SURYLGHGKHUHLQ

               x     Impairment and Voting&ODVVLV,PSDLUHGDQGWKH+ROGHUVRI&ODVV
                      &ODLPVDUHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQ

            Class 3 – Other Secured Claims

               x     Classification&ODVVFRQVLVWVRIWKH2WKHU6HFXUHG&ODLPV

               x     Allowance and Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH
                      ODWHURI L WKH,QLWLDO'LVWULEXWLRQ'DWHLIVXFK&ODVV&ODLPLV$OORZHGRQ
                      WKH(IIHFWLYH'DWHRU LL WKHGDWHRQZKLFKVXFK&ODVV&ODLPEHFRPHVDQ
                      $OORZHG &ODVV  &ODLP HDFK +ROGHU RI DQ $OORZHG &ODVV  &ODLP ZLOO
                      UHFHLYH LQ IXOO VDWLVIDFWLRQ VHWWOHPHQW GLVFKDUJH DQG UHOHDVH RI DQG LQ
                      H[FKDQJHIRULWV$OORZHG&ODLP&ODLPDWWKHRSWLRQRIWKH'HEWRURU
                      IROORZLQJWKH(IIHFWLYH'DWHWKH5HRUJDQL]HG'HEWRURU&ODLPDQW7UXVWHH
                      DVDSSOLFDEOH L &DVKHTXDOWRVXFK$OORZHG2WKHU6HFXUHG&ODLP LL WKH
                      FROODWHUDO VHFXULQJ LWV $OORZHG 2WKHU 6HFXUHG &ODLP SOXV SRVWSHWLWLRQ
                      LQWHUHVW WR WKH H[WHQWUHTXLUHGXQGHU%DQNUXSWF\ &RGH6HFWLRQ E  RU
                       LLL VXFKRWKHUWUHDWPHQWUHQGHULQJVXFK&ODLP8QLPSDLUHG

               x     Impairment and Voting&ODVVLV8QLPSDLUHGDQGWKH+ROGHUVRI&ODVV
                      &ODLPV DUH FRQFOXVLYHO\ GHHPHG WR KDYH DFFHSWHG WKLV 3ODQ SXUVXDQW WR
                      VHFWLRQ I RIWKH%DQNUXSWF\&RGH7KHUHIRUHWKH+ROGHUVRI&ODVV
                      &ODLPVDUHQRWHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQDQGZLOOQRWEH
                      VROLFLWHG



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            Class 4 – Priority Non-Tax Claims

               x     Classification&ODVVFRQVLVWVRIWKH3ULRULW\1RQ7D[&ODLPV

               x     Allowance and Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH
                      ODWHURI L WKH,QLWLDO'LVWULEXWLRQ'DWHLIVXFK&ODVV&ODLPLV$OORZHGRQ
                      WKH(IIHFWLYH'DWHRU LL WKHGDWHRQZKLFKVXFK&ODVV&ODLPEHFRPHVDQ
                      $OORZHG &ODVV  &ODLP HDFK +ROGHU RI DQ $OORZHG &ODVV  &ODLP ZLOO
                      UHFHLYH LQ IXOO VDWLVIDFWLRQ VHWWOHPHQW GLVFKDUJH DQG UHOHDVH RI DQG LQ
                      H[FKDQJHIRULWV$OORZHG&ODLP&ODLP&DVKHTXDOWRWKHDPRXQWRIVXFK
                      $OORZHG&ODVV&ODLP

               x     Impairment and Voting&ODVVLV8QLPSDLUHGDQGWKH+ROGHUVRI&ODVV
                      &ODLPV DUH FRQFOXVLYHO\ GHHPHG WR KDYH DFFHSWHG WKLV 3ODQ SXUVXDQW WR
                      VHFWLRQ I RIWKH%DQNUXSWF\&RGH7KHUHIRUHWKH+ROGHUVRI&ODVV
                      &ODLPVDUHQRWHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQDQGZLOOQRWEH
                      VROLFLWHG

            Class 5 – Retained Employee Claims

               x     Classification&ODVVFRQVLVWVRIWKH5HWDLQHG(PSOR\HH&ODLPV

               x     Allowance and Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH
                      (IIHFWLYH'DWHHDFK$OORZHG&ODVV&ODLPZLOOEH5HLQVWDWHG

               x     Impairment and Voting&ODVVLV8QLPSDLUHGDQGWKH+ROGHUVRI&ODVV
                      &ODLPV DUH FRQFOXVLYHO\ GHHPHG WR KDYH DFFHSWHG WKLV 3ODQ SXUVXDQW WR
                      VHFWLRQ I RIWKH%DQNUXSWF\&RGH7KHUHIRUHWKH+ROGHUVRI&ODVV
                      &ODLPVDUHQRWHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQDQGZLOOQRWEH
                      VROLFLWHG

            Class 6 – PTO Claims

               x     Classification&ODVVFRQVLVWVRIWKH372&ODLPV

               x     Allowance and Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH
                      ODWHURI L WKH,QLWLDO'LVWULEXWLRQ'DWHLIVXFK&ODVV&ODLPLV$OORZHGRQ
                      WKH(IIHFWLYH'DWHRU LL WKHGDWHRQZKLFKVXFK&ODVV&ODLPEHFRPHVDQ
                      $OORZHG &ODVV  &ODLP HDFK +ROGHU RI DQ $OORZHG &ODVV  &ODLP ZLOO
                      UHFHLYH LQ IXOO VDWLVIDFWLRQ VHWWOHPHQW GLVFKDUJH DQG UHOHDVH RI DQG LQ
                      H[FKDQJHIRULWV$OORZHG&ODLP&ODLP&DVKHTXDOWRWKHDPRXQWRIVXFK
                      $OORZHG&ODVV&ODLP

               x     Impairment and Voting&ODVVLV8QLPSDLUHGDQGWKH+ROGHUVRI&ODVV
                      &ODLPV DUH FRQFOXVLYHO\ GHHPHG WR KDYH DFFHSWHG WKLV 3ODQ SXUVXDQW WR
                      VHFWLRQ I RIWKH%DQNUXSWF\&RGH7KHUHIRUHWKH+ROGHUVRI&ODVV




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                     &ODLPVDUHQRWHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQDQGZLOOQRWEH
                     VROLFLWHG

            Class 7 – Convenience Claims

               x    Classification&ODVVFRQVLVWVRIWKH&RQYHQLHQFH&ODLPV

               x    Allowance and Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH
                     ODWHURI L WKH,QLWLDO'LVWULEXWLRQ'DWHLIVXFK&ODVV&ODLPLV$OORZHGRQ
                     WKH(IIHFWLYH'DWHRU LL WKHGDWHRQZKLFKVXFK&ODVV&ODLPEHFRPHVDQ
                     $OORZHG &ODVV  &ODLP HDFK +ROGHU RI DQ $OORZHG &ODVV  &ODLP ZLOO
                     UHFHLYH LQ IXOO VDWLVIDFWLRQ VHWWOHPHQW GLVFKDUJH DQG UHOHDVH RI DQG LQ
                     H[FKDQJH IRU LWV $OORZHG &ODVV  &ODLP   WKH WUHDWPHQW SURYLGHG WR
                     $OORZHG+ROGHUVRI&ODVV*HQHUDO8QVHFXUHG&ODLPVLIWKH+ROGHURIVXFK
                     &ODVV&ODLPPDNHVWKH*8&(OHFWLRQRU  DQDPRXQWLQ&DVKHTXDOWR
                     WKHOHVVHURI D RIWKH$OORZHGDPRXQWRIVXFK+ROGHU¶V&ODVV&ODLP
                     RU E VXFK+ROGHU¶V3UR5DWDVKDUHRIWKH&RQYHQLHQFH&ODLPV&DVK3RRO

               x    Impairment and Voting&ODVVLV,PSDLUHGDQGWKH+ROGHUVRI&ODVV
                     &ODLPVDUHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQ

            Class 8 – General Unsecured Claims

               x    Classification&ODVVFRQVLVWVRIWKH*HQHUDO8QVHFXUHG&ODLPV

               x    Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH(IIHFWLYH'DWH
                     HDFK+ROGHURIDQ$OORZHG&ODVV&ODLPLQIXOOVDWLVIDFWLRQVHWWOHPHQW
                     GLVFKDUJHDQGUHOHDVHRIDQGLQH[FKDQJHIRUVXFK&ODLPVKDOOUHFHLYH L 
                     LWV 3UR 5DWD VKDUH RI WKH &ODLPDQW 7UXVW ,QWHUHVWV LL  VXFK RWKHU OHVV
                     IDYRUDEOHWUHDWPHQWDVWRZKLFKVXFK+ROGHUDQGWKH&ODLPDQW7UXVWHHVKDOO
                     KDYH DJUHHG XSRQ LQ ZULWLQJ RU LLL  WKH WUHDWPHQW SURYLGHG WR $OORZHG
                     +ROGHUV RI &ODVV  &RQYHQLHQFH &ODLPV LI WKH +ROGHU RI VXFK &ODVV 
                     *HQHUDO8QVHFXUHG&ODLPLVHOLJLEOHDQGPDNHVDYDOLG&RQYHQLHQFH&ODVV
                     (OHFWLRQ

                     1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\KHUHLQDIWHUWKH(IIHFWLYH'DWH
                     DQGVXEMHFWWRWKHRWKHUSURYLVLRQVRIWKLV3ODQWKH'HEWRUWKH5HRUJDQL]HG
                     'HEWRUDQGWKH&ODLPDQW7UXVWDVDSSOLFDEOHZLOOKDYHDQGZLOOUHWDLQDQ\
                     DQGDOOULJKWVDQGGHIHQVHVXQGHUEDQNUXSWF\RUQRQEDQNUXSWF\ODZWKDWWKH
                     'HEWRU KDG ZLWK UHVSHFW WR DQ\ *HQHUDO 8QVHFXUHG &ODLP H[FHSW ZLWK
                     UHVSHFW WR DQ\ *HQHUDO 8QVHFXUHG &ODLP $OORZHG E\ )LQDO 2UGHU RI WKH
                     %DQNUXSWF\&RXUW

               x    Impairment and Voting&ODVVLV,PSDLUHGDQGWKH+ROGHUVRI&ODVV
                     &ODLPVDUHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQ




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             Class 9 – Subordinated Claims

                x     Classification&ODVVFRQVLVWVRIWKH6XERUGLQDWHG&ODLPV

                       Treatment2QWKH(IIHFWLYH'DWH+ROGHUVRI6XERUGLQDWHG&ODLPVVKDOO
                       UHFHLYHHLWKHU L WKHLU3UR5DWDVKDUHRIWKH6XERUGLQDWHG&ODLPDQW7UXVW
                       ,QWHUHVWVRU LL VXFKRWKHUOHVVIDYRUDEOHWUHDWPHQWDVWRZKLFKVXFK+ROGHU
                       DQGWKH&ODLPDQW7UXVWHHPD\DJUHHXSRQLQZULWLQJ

                       
                       1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\KHUHLQDIWHUWKH(IIHFWLYH'DWH
                       DQGVXEMHFWWRWKHRWKHUSURYLVLRQVRIWKLV3ODQWKH'HEWRUWKH5HRUJDQL]HG
                       'HEWRUDQGWKH&ODLPDQW7UXVWDVDSSOLFDEOHZLOOKDYHDQGZLOOUHWDLQDQ\
                       DQGDOOULJKWVDQGGHIHQVHVXQGHUEDQNUXSWF\RUQRQEDQNUXSWF\ODZWKDWWKH
                       'HEWRUKDGZLWKUHVSHFWWRDQ\6XERUGLQDWHG&ODLPH[FHSWZLWKUHVSHFWWR
                       DQ\6XERUGLQDWHG&ODLP$OORZHGE\)LQDO2UGHURIWKH%DQNUXSWF\&RXUW

                x     Impairment and Voting&ODVVLV,PSDLUHGDQGWKH+ROGHUVRI&ODVV
                       &ODLPVDUHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQ

            Class 10 – Class B/C Limited Partnership Interests

                x     Classification  &ODVV  FRQVLVWV RI WKH &ODVV %& /LPLWHG 3DUWQHUVKLS
                       ,QWHUHVWV

                x     Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH(IIHFWLYH'DWH
                       HDFK+ROGHURIDQ$OORZHG&ODVV&ODLPLQIXOOVDWLVIDFWLRQVHWWOHPHQW
                       GLVFKDUJHDQGUHOHDVHRIDQGLQH[FKDQJHIRUVXFK&ODLPVKDOOUHFHLYH L 
                       LWV3UR5DWDVKDUHRIWKH&RQWLQJHQW&ODLPDQW7UXVW,QWHUHVWVRU LL  VXFK
                       RWKHUOHVV IDYRUDEOHWUHDWPHQWDVWR ZKLFKVXFK +ROGHU DQGWKH&ODLPDQW
                       7UXVWHHVKDOOKDYHDJUHHGXSRQLQZULWLQJ

                       1RWZLWKVWDQGLQJDQ\WKLQJ WR WKH FRQWUDU\ KHUHLQ DIWHUWKH (IIHFWLYH'DWH
                       DQGVXEMHFWWRWKHRWKHUSURYLVLRQVRIWKLV3ODQWKH'HEWRUWKH5HRUJDQL]HG
                       'HEWRUDQGWKH&ODLPDQW7UXVWDVDSSOLFDEOHZLOOKDYHDQGZLOOUHWDLQDQ\
                       DQGDOOULJKWVDQGGHIHQVHVXQGHUEDQNUXSWF\RUQRQEDQNUXSWF\ODZWKDWWKH
                       'HEWRU KDG ZLWK UHVSHFW WR DQ\ &ODVV %& /LPLWHG 3DUWQHUVKLS ,QWHUHVW
                       &ODLPH[FHSWZLWKUHVSHFWWRDQ\&ODVV%&/LPLWHG3DUWQHUVKLS,QWHUHVW
                       &ODLP$OORZHGE\)LQDO2UGHURIWKH%DQNUXSWF\&RXUW

                x     Impairment and Voting&ODVVLV,PSDLUHGDQGWKH+ROGHUVRI&ODVV
                       &ODLPVDUHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQ

            Class 11 – Class A Limited Partnership Interests

                x     Classification  &ODVV  FRQVLVWV RI WKH &ODVV $ /LPLWHG 3DUWQHUVKLS
                       ,QWHUHVWV



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                 x      Treatment2QRUDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUWKH(IIHFWLYH'DWH
                         HDFK+ROGHURIDQ$OORZHG&ODVV&ODLPLQIXOOVDWLVIDFWLRQVHWWOHPHQW
                         GLVFKDUJHDQGUHOHDVHRIDQGLQH[FKDQJHIRUVXFK&ODLPVKDOOUHFHLYH L 
                         LWV3UR5DWDVKDUHRIWKH&RQWLQJHQW&ODLPDQW7UXVW,QWHUHVWVRU LL  VXFK
                         RWKHUOHVV IDYRUDEOHWUHDWPHQWDVWR ZKLFKVXFK +ROGHU DQGWKH&ODLPDQW
                         7UXVWHHVKDOOKDYHDJUHHGXSRQLQZULWLQJ

                         1RWZLWKVWDQGLQJDQ\WKLQJ WR WKH FRQWUDU\ KHUHLQ DIWHUWKH (IIHFWLYH'DWH
                         DQGVXEMHFWWRWKHRWKHUSURYLVLRQVRIWKLV3ODQWKH'HEWRUWKH5HRUJDQL]HG
                         'HEWRUDQGWKH&ODLPDQW7UXVWDVDSSOLFDEOHZLOOKDYHDQGZLOOUHWDLQDQ\
                         DQGDOOULJKWVDQGGHIHQVHVXQGHUEDQNUXSWF\RUQRQEDQNUXSWF\ODZWKDWWKH
                         'HEWRUKDGZLWKUHVSHFWWRDQ\&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWH[FHSW
                         ZLWKUHVSHFWWRDQ\&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVW$OORZHGE\)LQDO
                         2UGHURIWKH%DQNUXSWF\&RXUW

                 x      Impairment and Voting&ODVVLV,PSDLUHGDQGWKH+ROGHUVRI&ODVV
                         &ODLPVDUHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWWKLV3ODQ

 ,     6SHFLDO3URYLVLRQ*RYHUQLQJ8QLPSDLUHG&ODLPV

         ([FHSWDVRWKHUZLVHSURYLGHGLQWKH3ODQQRWKLQJXQGHUWKH3ODQZLOODIIHFWWKH'HEWRU¶V
 ULJKWVLQUHVSHFWRIDQ\8QLPSDLUHG&ODLPVLQFOXGLQJZLWKRXWOLPLWDWLRQDOOULJKWVLQUHVSHFWRI
 OHJDODQGHTXLWDEOHGHIHQVHVWRRUVHWRIIVRUUHFRXSPHQWVDJDLQVWDQ\VXFK8QLPSDLUHG&ODLPV

 -     6XERUGLQDWHG&ODLPV

         7KHDOORZDQFHFODVVLILFDWLRQDQGWUHDWPHQWRIDOO&ODLPVXQGHUWKH3ODQVKDOOWDNHLQWR
 DFFRXQWDQGFRQIRUPWRWKHFRQWUDFWXDOOHJDODQGHTXLWDEOHVXERUGLQDWLRQULJKWVUHODWLQJWKHUHWR
 ZKHWKHU DULVLQJ XQGHU JHQHUDO SULQFLSOHV RI HTXLWDEOH VXERUGLQDWLRQ VHFWLRQ  E  RI WKH
 %DQNUXSWF\ &RGHRURWKHUZLVH8SRQZULWWHQQRWLFHDQGKHDULQJ WKH 'HEWRU WKH 5HRUJDQL]HG
 'HEWRUDQGWKH&ODLPDQW7UXVWHHUHVHUYHWKHULJKWWRVHHNHQWU\RIDQRUGHUE\WKH%DQNUXSWF\
 &RXUW WR UHFODVVLI\ RU WR VXERUGLQDWH DQ\ &ODLP LQ DFFRUGDQFH ZLWK DQ\ FRQWUDFWXDO OHJDO RU
 HTXLWDEOHVXERUGLQDWLRQUHODWLQJWKHUHWRDQGWKHWUHDWPHQWDIIRUGHGDQ\&ODLPXQGHUWKH3ODQWKDW
 EHFRPHVDVXERUGLQDWHG&ODLPDWDQ\WLPHVKDOOEHPRGLILHGWRUHIOHFWVXFKVXERUGLQDWLRQ

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 $     6XPPDU\

       $V GLVFXVVHG LQ WKH 'LVFORVXUH6WDWHPHQWWKH 3ODQ ZLOOEH LPSOHPHQWHGWKURXJK L WKH
 &ODLPDQW7UXVW LL WKH/LWLJDWLRQ6XE7UXVWDQG LLL WKH5HRUJDQL]HG'HEWRU

         2Q WKH (IIHFWLYH 'DWH DOO &ODVV $ /LPLWHG 3DUWQHUVKLS ,QWHUHVWV LQFOXGLQJ WKH &ODVV $
 /LPLWHG 3DUWQHUVKLS ,QWHUHVWV KHOG E\ 6WUDQG DV JHQHUDO SDUWQHU DQG &ODVV %& /LPLWHG
 3DUWQHUVKLSVLQWKH'HEWRUZLOOEHFDQFHOOHGDQGQHZ&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWVLQWKH
 5HRUJDQL]HG'HEWRUZLOOEHLVVXHGWRWKH&ODLPDQW7UXVWDQG1HZ*3//&±DQHZO\FKDUWHUHG
 OLPLWHGOLDELOLW\FRPSDQ\ZKROO\RZQHGE\WKH&ODLPDQW7UXVW7KH&ODLPDQW7UXVWDVOLPLWHG


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 SDUWQHUZLOOUDWLI\1HZ*3//&¶VDSSRLQWPHQWDVJHQHUDOSDUWQHURIWKH5HRUJDQL]HG'HEWRUDQG
 RQDQGIROORZLQJWKH(IIHFWLYH'DWHWKH&ODLPDQW7UXVWZLOOEHWKH5HRUJDQL]HG'HEWRU¶VOLPLWHG
 SDUWQHUDQG1HZ*3//&ZLOOEHLWVJHQHUDOSDUWQHU7KH&ODLPDQW7UXVWDVOLPLWHGSDUWQHUDQG
 1HZ*3//&DVJHQHUDOSDUWQHUZLOOH[HFXWHWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQW
 ZKLFKZLOODPHQGDQGUHVWDWHLQDOOUHVSHFWVWKH'HEWRU¶VFXUUHQW/LPLWHG3DUWQHUVKLS$JUHHPHQW
 )ROORZLQJWKH(IIHFWLYH'DWHWKH5HRUJDQL]HG'HEWRUZLOOEHPDQDJHGFRQVLVWHQWZLWKWKHWHUPV
 RIWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQWE\1HZ*3//&7KHVROHPDQDJLQJPHPEHU
 RI1HZ*3//&ZLOOEHWKH&ODLPDQW7UXVWDQGWKH&ODLPDQW7UXVWHHZLOOEHWKHVROHRIILFHURI
 1HZ*3//&RQWKH(IIHFWLYH'DWH

          )ROORZLQJWKH(IIHFWLYH'DWHWKH&ODLPDQW7UXVWZLOODGPLQLVWHUWKH&ODLPDQW7UXVW$VVHWV
 SXUVXDQWWRWKLV3ODQDQGWKH&ODLPDQW7UXVW$JUHHPHQWDQGWKH/LWLJDWLRQ7UXVWHHZLOOSXUVXHLI
 DSSOLFDEOHWKH(VWDWH&ODLPVSXUVXDQWWRWKHWHUPVRIWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDQGWKH
 3ODQ7KH5HRUJDQL]HG'HEWRUZLOODGPLQLVWHUWKH5HRUJDQL]HG'HEWRU$VVHWVDQGLIQHHGHGZLWK
 WKHXWLOL]DWLRQRID6XE6HUYLFHUZKLFKDGPLQLVWUDWLRQZLOOLQFOXGHDPRQJRWKHUWKLQJVPDQDJLQJ
 WKHZLQGGRZQRIWKH0DQDJHG)XQGV

         $OWKRXJKWKH5HRUJDQL]HG'HEWRUZLOOPDQDJHWKHZLQGGRZQRIWKH0DQDJHG)XQGVLWLV
 FXUUHQWO\DQWLFLSDWHGWKDWQHLWKHUWKH5HRUJDQL]HG'HEWRUQRUWKH&ODLPDQW7UXVWZLOODVVXPHRU
 DVVXPHDQGDVVLJQWKHFRQWUDFWVEHWZHHQWKH'HEWRUDQGFHUWDLQ5HODWHG(QWLWLHVSXUVXDQWWRZKLFK
 WKH 'HEWRU SURYLGHV VKDUHG VHUYLFHV DQG VXEDGYLVRU\ VHUYLFHV WR WKRVH 5HODWHG (QWLWLHV  7KH
 'HEWRUEHOLHYHVWKDWWKHFRQWLQXHGSURYLVLRQRIWKHVHUYLFHVXQGHUVXFKFRQWUDFWVZLOOQRWEHFRVW
 HIIHFWLYH

         7KH5HRUJDQL]HG'HEWRUZLOOGLVWULEXWHDOOSURFHHGVIURPWKHZLQGGRZQWRWKH&ODLPDQW
 7UXVWDVLWVOLPLWHGSDUWQHUDQG1HZ*3//&DVLWVJHQHUDOSDUWQHULQHDFKFDVHLQDFFRUGDQFH
 ZLWKWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQW6XFKSURFHHGVDORQJZLWKWKHSURFHHGVRI
 WKH&ODLPDQW7UXVW$VVHWVZLOOXOWLPDWHO\EHGLVWULEXWHGWRWKH&ODLPDQW7UXVW%HQHILFLDULHVDVVHW
 IRUWKLQWKLV3ODQDQGWKH&ODLPDQW7UXVW$JUHHPHQW

 %     7KH&ODLPDQW7UXVW 

               Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          2QRUSULRUWRWKH(IIHFWLYH'DWHWKH'HEWRUDQGWKH&ODLPDQW7UXVWHHVKDOOH[HFXWHWKH
 &ODLPDQW7UXVW$JUHHPHQWDQGVKDOOWDNHDOOVWHSVQHFHVVDU\WRHVWDEOLVKWKH&ODLPDQW7UXVWDQG
 WKH/LWLJDWLRQ6XE7UXVWLQDFFRUGDQFHZLWKWKH3ODQLQHDFKFDVHIRUWKHEHQHILWRIWKH&ODLPDQW
 7UXVW%HQHILFLDULHV$GGLWLRQDOO\RQRUSULRUWRWKH(IIHFWLYH'DWHWKH'HEWRUVKDOOLUUHYRFDEO\
 WUDQVIHUDQGVKDOOEHGHHPHGWRKDYHLUUHYRFDEO\WUDQVIHUUHGWRWKH&ODLPDQW7UXVWDOORILWVULJKWV
 WLWOHDQGLQWHUHVWLQDQGWRDOORIWKH&ODLPDQW7UXVW$VVHWVDQGLQDFFRUGDQFHZLWKVHFWLRQ
 RIWKH%DQNUXSWF\&RGHWKH&ODLPDQW7UXVW$VVHWVVKDOODXWRPDWLFDOO\YHVWLQWKH&ODLPDQW7UXVW
 IUHHDQGFOHDURIDOO&ODLPV/LHQVHQFXPEUDQFHVRULQWHUHVWVVXEMHFWRQO\WRWKH&ODLPDQW7UXVW
 ,QWHUHVWVDQGWKH&ODLPDQW7UXVW([SHQVHVDVSURYLGHGIRULQWKH&ODLPDQW7UXVW$JUHHPHQWDQG

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  ,QWKHHYHQWRIDFRQIOLFWEHWZHHQWKHWHUPVRIWKLVVXPPDU\DQGWKHWHUPVRIWKH&ODLPDQW7UXVW$JUHHPHQWDQGWKH
 /LWLJDWLRQ6XE7UXVW$JUHHPHQWWKHWHUPVRIWKH&ODLPDQW7UXVW$JUHHPHQWRUWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQW
 DVDSSOLFDEOHVKDOOFRQWURO



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 VXFK WUDQVIHU VKDOO EH H[HPSW IURP DQ\ VWDPS UHDO HVWDWH WUDQVIHU PRUWJDJH IURP DQ\ VWDPS
 WUDQVIHUUHSRUWLQJVDOHVXVHRURWKHUVLPLODUWD[

         7KH&ODLPDQW7UXVWHHVKDOOEHWKHH[FOXVLYHWUXVWHHRIWKH&ODLPDQW7UXVW$VVHWVH[FOXGLQJ
 WKH(VWDWH&ODLPVDQGWKH/LWLJDWLRQ7UXVWHHVKDOOEHWKHH[FOXVLYHWUXVWHHZLWKUHVSHFWWRWKH(VWDWH
 &ODLPVLQHDFKFDVHIRUSXUSRVHVRI86& E DQG86& E  DVZHOODV
 WKH UHSUHVHQWDWLYH RI WKH (VWDWH DSSRLQWHG SXUVXDQW WR VHFWLRQ  E  %  RI WKH %DQNUXSWF\
 &RGHZLWKUHVSHFWWRWKH&ODLPDQW7UXVW$VVHWV7KH&ODLPDQW7UXVWHHVKDOODOVREHUHVSRQVLEOH
 IRUUHVROYLQJDOO&ODLPVDQG(TXLW\,QWHUHVWVLQ&ODVVWKURXJK&ODVVXQGHUWKHVXSHUYLVLRQRI
 WKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH

         2Q WKH (IIHFWLYH 'DWH WKH &ODLPDQW 7UXVWHH DQG /LWLJDWLRQ 7UXVWHH VKDOO H[HFXWH WKH
 /LWLJDWLRQ6XE7UXVW$JUHHPHQWDQGVKDOOWDNHDOOVWHSVQHFHVVDU\WRHVWDEOLVKWKH/LWLJDWLRQ6XE
 7UXVW8SRQWKHFUHDWLRQRIWKH/LWLJDWLRQ6XE7UXVWWKH&ODLPDQW7UXVWVKDOOLUUHYRFDEO\WUDQVIHU
 DQGDVVLJQWRWKH/LWLJDWLRQ6XE7UXVWWKH(VWDWH&ODLPV7KH&ODLPDQW7UXVWVKDOOEHJRYHUQHG
 E\WKH&ODLPDQW7UXVW$JUHHPHQWDQGDGPLQLVWHUHGE\WKH&ODLPDQW7UXVWHH7KHSRZHUVULJKWV
 DQGUHVSRQVLELOLWLHVRIWKH&ODLPDQW7UXVWHHVKDOOEHVSHFLILHGLQWKH&ODLPDQW7UXVW$JUHHPHQW
 DQGVKDOOLQFOXGHWKHDXWKRULW\DQGUHVSRQVLELOLW\WRDPRQJRWKHUWKLQJVWDNHWKHDFWLRQVVHWIRUWK
 LQWKLV$57,&/(,9VXEMHFWWRDQ\UHTXLUHGUHSRUWLQJWRWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH
 DVPD\EHVHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQW7KH&ODLPDQW7UXVWVKDOOKROGDQGGLVWULEXWH
 WKH&ODLPDQW7UXVW$VVHWV LQFOXGLQJWKHSURFHHGVIURPWKH(VWDWH&ODLPVLIDQ\ LQDFFRUGDQFH
 ZLWK WKH SURYLVLRQVRIWKH3ODQDQGWKH &ODLPDQW7UXVW $JUHHPHQWprovidedWKDWWKH&ODLPDQW
 7UXVW2YHUVLJKW&RPPLWWHHPD\GLUHFWWKH&ODLPDQW7UXVWWRUHVHUYH&DVKIURPGLVWULEXWLRQVDV
 QHFHVVDU\ WR IXQG WKH &ODLPDQW 7UXVW DQG /LWLJDWLRQ 6XE7UXVW  2WKHU ULJKWV DQG GXWLHV RI WKH
 &ODLPDQW7UXVWHHDQGWKH&ODLPDQW7UXVW%HQHILFLDULHVVKDOOEHDVVHWIRUWKLQWKH&ODLPDQW7UXVW
 $JUHHPHQW$IWHUWKH(IIHFWLYH'DWHQHLWKHUWKH'HEWRUQRUWKH5HRUJDQL]HG'HEWRUVKDOOKDYH
 DQ\LQWHUHVWLQWKH&ODLPDQW7UXVW$VVHWV

         7KH/LWLJDWLRQ6XE7UXVWVKDOOEHJRYHUQHGE\WKH/LWLJDWLRQ6XE7UXVW$JUHHPHQW DQG
 DGPLQLVWHUHGE\WKH/LWLJDWLRQ7UXVWHH7KHSRZHUVULJKWVDQGUHVSRQVLELOLWLHVRIWKH/LWLJDWLRQ
 7UXVWHHVKDOOEHVSHFLILHGLQWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDQGVKDOOLQFOXGHWKHDXWKRULW\
 DQGUHVSRQVLELOLW\WRDPRQJRWKHUWKLQJVWDNHWKHDFWLRQVVHWIRUWKLQWKLV$57,&/(,9VXEMHFW
 WRDQ\UHTXLUHGUHSRUWLQJDVPD\EHVHWIRUWKLQWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQW7KH/LWLJDWLRQ
 6XE7UXVWVKDOOLQYHVWLJDWHSURVHFXWHVHWWOHRURWKHUZLVHUHVROYHWKH(VWDWH&ODLPVLQDFFRUGDQFH
 ZLWKWKHSURYLVLRQVRIWKH3ODQDQGWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDQGVKDOOGLVWULEXWHWKH
 SURFHHGVWKHUHIURPWRWKH&ODLPDQW7UXVWIRUGLVWULEXWLRQ2WKHUULJKWVDQGGXWLHVRIWKH/LWLJDWLRQ
 7UXVWHHVKDOOEHDVVHWIRUWKLQWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQW

              Claimant Trust Oversight Committee

         7KH &ODLPDQW 7UXVW WKH &ODLPDQW 7UXVWHH WKH PDQDJHPHQW DQG PRQHWL]DWLRQ RI WKH
 &ODLPDQW 7UXVW $VVHWV DQG WKH PDQDJHPHQW RI WKH 5HRUJDQL]HG 'HEWRU WKURXJK WKH &ODLPDQW
 7UXVW¶VUROHDVPDQDJLQJPHPEHURI1HZ*3//& DQGWKH/LWLJDWLRQ6XE7UXVWZLOOEHRYHUVHHQ
 E\WKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHHVXEMHFWWRWKHWHUPVRIWKH&ODLPDQW7UXVW$JUHHPHQW
 DQGWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQWDVDSSOLFDEOH




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          7KH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHHZLOOLQLWLDOO\FRQVLVWRIILYHPHPEHUV)RXURI
 WKH ILYH PHPEHUV ZLOO EH UHSUHVHQWDWLYHV RI WKH PHPEHUV RI WKH &RPPLWWHH  L  WKH 5HGHHPHU
 &RPPLWWHHRI+LJKODQG&UXVDGHU)XQG LL 8%6 LLL $FLVDQG LY 0HWDH'LVFRYHU\7KHILIWK
 PHPEHU ZLOO EH DQ LQGHSHQGHQW QDWXUDO 3HUVRQ FKRVHQ E\ WKH &RPPLWWHH DQG UHDVRQDEO\
 DFFHSWDEOH WR WKH 'HEWRU  7KH PHPEHUV RI WKH &ODLPDQW 7UXVW 2YHUVLJKW &RPPLWWHH PD\ EH
 UHSODFHGDVVHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQW7KHLGHQWLW\RIWKHPHPEHUVRIWKH&ODLPDQW
 7UXVW2YHUVLJKW&RPPLWWHHZLOOEHGLVFORVHGLQWKH3ODQ6XSSOHPHQW

        $VVHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQWLQQRHYHQWZLOODQ\PHPEHURIWKH&ODLPDQW
 7UXVW2YHUVLJKW&RPPLWWHHZLWKD&ODLPDJDLQVWWKH(VWDWHEHHQWLWOHGWRYRWHRSLQHRURWKHUZLVH
 EHLQYROYHGLQDQ\PDWWHUVUHODWHGWRVXFKPHPEHU¶V&ODLP

         7KHLQGHSHQGHQWPHPEHU V RIWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHHPD\EHHQWLWOHG
 WRFRPSHQVDWLRQIRUWKHLUVHUYLFHVDVVHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQW$Q\PHPEHURI
 WKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHHPD\EHUHPRYHGDQGVXFFHVVRUFKRVHQLQWKHPDQQHU
 VHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQW

              Purpose of the Claimant Trust.

         7KH&ODLPDQW7UXVWVKDOOEHHVWDEOLVKHGIRUWKHSXUSRVHRI L PDQDJLQJDQGPRQHWL]LQJ
 WKH&ODLPDQW7UXVW$VVHWVVXEMHFWWRWKHWHUPVRIWKH&ODLPDQW7UXVW$JUHHPHQWDQGWKHRYHUVLJKW
 RIWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH LL VHUYLQJDVWKHOLPLWHGSDUWQHURIDQGKROGLQJWKH
 OLPLWHG SDUWQHUVKLS LQWHUHVWV LQ WKH 5HRUJDQL]HG 'HEWRU LLL  VHUYLQJ DV WKH VROH PHPEHU DQG
 PDQDJHURI1HZ*3//&WKH5HRUJDQL]HG'HEWRU¶VJHQHUDOSDUWQHU LY LQLWVFDSDFLW\DVWKHVROH
 PHPEHU DQG PDQDJHU RI 1HZ *3 //& RYHUVHHLQJ WKH PDQDJHPHQW DQG PRQHWL]DWLRQ RI WKH
 5HRUJDQL]HG 'HEWRU $VVHWV SXUVXDQW WR WKH WHUPV RI WKH 5HRUJDQL]HG /LPLWHG 3DUWQHUVKLS
 $JUHHPHQWDQG Y DGPLQLVWHULQJWKH'LVSXWHG&ODLPV5HVHUYHDQGVHUYLQJDV'LVWULEXWLRQ$JHQW
 ZLWKUHVSHFWWR'LVSXWHG&ODLPVLQ&ODVVRU&ODVV

          ,QLWVPDQDJHPHQWRIWKH&ODLPDQW7UXVW$VVHWVWKH&ODLPDQW7UXVWZLOODOVRUHFRQFLOHDQG
 REMHFW WR WKH *HQHUDO 8QVHFXUHG &ODLPV 6XERUGLQDWHG &ODLPV &ODVV %& /LPLWHG 3DUWQHUVKLS
 ,QWHUHVWVDQG&ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWVDVSURYLGHGIRULQWKLV3ODQDQGWKH&ODLPDQW
 7UXVW$JUHHPHQWDQGPDNH7UXVW'LVWULEXWLRQVWRWKH&ODLPDQW7UXVW%HQHILFLDULHVLQDFFRUGDQFH
 ZLWK7UHDVXU\5HJXODWLRQVHFWLRQ G ZLWKQRREMHFWLYHWRFRQWLQXHRUHQJDJHLQWKH
 FRQGXFWRIDWUDGHRUEXVLQHVV

         7KHSXUSRVHRIWKH5HRUJDQL]HG'HEWRULVGLVFXVVHGDWJUHDWHUOHQJWKLQ$57,&/(,9&

              Purpose of the Litigation Sub-Trust.

         7KH/LWLJDWLRQ6XE7UXVWVKDOOEHHVWDEOLVKHGIRUWKHSXUSRVHRILQYHVWLJDWLQJSURVHFXWLQJ
 VHWWOLQJRURWKHUZLVHUHVROYLQJWKH(VWDWH&ODLPV$Q\SURFHHGVWKHUHIURPVKDOOEHGLVWULEXWHGE\
 WKH/LWLJDWLRQ6XE7UXVWWRWKH&ODLPDQW7UXVWIRUGLVWULEXWLRQWRWKH&ODLPDQW7UXVW%HQHILFLDULHV
 SXUVXDQWWRWKHWHUPVRIWKH&ODLPDQW7UXVW$JUHHPHQW

              Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         7KH&ODLPDQW7UXVW$JUHHPHQWJHQHUDOO\ZLOOSURYLGHIRUDPRQJRWKHUWKLQJV


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              L     WKHSD\PHQWRIWKH&ODLPDQW7UXVW([SHQVHV

              LL    WKHSD\PHQWRIRWKHUUHDVRQDEOHH[SHQVHVRIWKH&ODLPDQW7UXVW

             LLL  WKHUHWHQWLRQRIHPSOR\HHVFRXQVHODFFRXQWDQWVILQDQFLDODGYLVRUVRURWKHU
 SURIHVVLRQDOVDQGWKHSD\PHQWRIWKHLUUHDVRQDEOHFRPSHQVDWLRQ

             LY  WKH LQYHVWPHQW RI &DVK E\ WKH &ODLPDQW 7UXVWHH ZLWKLQ FHUWDLQ OLPLWDWLRQV
 LQFOXGLQJWKRVHVSHFLILHGLQWKH3ODQ

              Y     WKHRUGHUO\PRQHWL]DWLRQRIWKH&ODLPDQW7UXVW$VVHWV

              YL  OLWLJDWLRQ RI DQ\ &DXVHV RI $FWLRQ ZKLFK PD\ LQFOXGH WKH SURVHFXWLRQ
 VHWWOHPHQW DEDQGRQPHQW RU GLVPLVVDO RI DQ\ VXFK &DXVHV RI $FWLRQ VXEMHFW WR UHSRUWLQJ DQG
 RYHUVLJKWE\WKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH

              YLL  WKH UHVROXWLRQ RI &ODLPV DQG (TXLW\ ,QWHUHVWV LQ &ODVV  WKURXJK &ODVV 
 VXEMHFWWRUHSRUWLQJDQGRYHUVLJKWE\WKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH

             YLLL  WKHDGPLQLVWUDWLRQRIWKH'LVSXWHG&ODLPV5HVHUYHDQGGLVWULEXWLRQVWREHPDGH
 WKHUHIURPDQG

             L[  WKHPDQDJHPHQWRIWKH5HRUJDQL]HG'HEWRULQFOXGLQJWKHXWLOL]DWLRQRID6XE
 6HUYLFHUZLWKWKH&ODLPDQW7UXVWVHUYLQJDVWKHPDQDJLQJPHPEHURI1HZ*3//&

         ([FHSWDVRWKHUZLVHRUGHUHGE\WKH%DQNUXSWF\&RXUWWKH&ODLPDQW7UXVW([SHQVHVVKDOO
 EHSDLGIURPWKH&ODLPDQW7UXVW$VVHWVLQDFFRUGDQFHZLWKWKH3ODQDQG&ODLPDQW7UXVW$JUHHPHQW
 7KH &ODLPDQW 7UXVWHH PD\ HVWDEOLVK D UHVHUYH IRU WKH SD\PHQW RI &ODLPDQW 7UXVW ([SHQVH
  LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\UHVHUYHIRUSRWHQWLDOLQGHPQLILFDWLRQFODLPVDVDXWKRUL]HGDQG
 SURYLGHGXQGHUWKH&ODLPDQW7UXVW$JUHHPHQW DQGVKDOOSHULRGLFDOO\UHSOHQLVKVXFKUHVHUYHDV
 QHFHVVDU\

          ,QIXUWKHUDQFHRIDQGFRQVLVWHQWZLWKWKHSXUSRVHRIWKH&ODLPDQW7UXVWDQGWKH3ODQWKH
 7UXVWHHV IRUWKHEHQHILW RIWKH&ODLPDQW 7UXVWVKDOOVXEMHFW WR UHSRUWLQJ DQG RYHUVLJKWE\ WKH
 &ODLPDQW7UXVW2YHUVLJKW&RPPLWWHHDVVHWIRUWKLQWKH&ODLPDQW7UXVW$JUHHPHQW L KROGWKH
 &ODLPDQW7UXVW$VVHWVIRUWKHEHQHILWRIWKH&ODLPDQW7UXVW%HQHILFLDULHV LL PDNH'LVWULEXWLRQV
 WRWKH&ODLPDQW7UXVW%HQHILFLDULHVDVSURYLGHGKHUHLQDQGLQWKH&ODLPDQW7UXVW$JUHHPHQWDQG
  LLL  KDYH WKH VROH SRZHU DQG DXWKRULW\ WR SURVHFXWH DQG UHVROYH DQ\ &DXVHV RI $FWLRQ DQG
 REMHFWLRQVWR&ODLPVDQG(TXLW\,QWHUHVWV RWKHUWKDQWKRVHDVVLJQHGWRWKH/LWLJDWLRQ6XE7UXVW 
 ZLWKRXWDSSURYDORIWKH%DQNUXSWF\&RXUW([FHSWDVRWKHUZLVHSURYLGHGLQWKH&ODLPDQW7UXVW
 $JUHHPHQWWKH&ODLPDQW7UXVWHHVKDOOEHUHVSRQVLEOHIRUDOOGHFLVLRQVDQGGXWLHVZLWKUHVSHFWWR
 WKH&ODLPDQW7UXVWDQGWKH&ODLPDQW7UXVW$VVHWVprovided, however,WKDWWKHSURVHFXWLRQDQG
 UHVROXWLRQRIDQ\(VWDWH&ODLPVLQFOXGHGLQWKH&ODLPDQW7UXVW$VVHWVVKDOOEHWKHUHVSRQVLELOLW\
 RIWKH/LWLJDWLRQ7UXVWHH7KH/LWLJDWLRQ6XE7UXVW$JUHHPHQWJHQHUDOO\ZLOOSURYLGHIRUDPRQJ
 RWKHUWKLQJV

              L     WKHSD\PHQWRIRWKHUUHDVRQDEOHH[SHQVHVRIWKH/LWLJDWLRQ6XE7UXVW




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             LL    WKH UHWHQWLRQ RI HPSOR\HHVFRXQVHODFFRXQWDQWVILQDQFLDODGYLVRUVRURWKHU
 SURIHVVLRQDOVDQGWKHSD\PHQWRIWKHLUUHDVRQDEOHFRPSHQVDWLRQDQG

             LLL  WKH LQYHVWLJDWLRQ DQG SURVHFXWLRQ RI (VWDWH &ODLPV ZKLFK PD\ LQFOXGH WKH
 SURVHFXWLRQVHWWOHPHQWDEDQGRQPHQWRUGLVPLVVDORIDQ\VXFK(VWDWH&ODLPVVXEMHFWWRUHSRUWLQJ
 DQGRYHUVLJKWDVVHWIRUWKLQWKH/LWLJDWLRQ6XE7UXVW$JUHHPHQW

         7KH7UXVWHHVRQEHKDOIRIWKH&ODLPDQW7UXVWDQG/LWLJDWLRQ6XE7UXVWDVDSSOLFDEOHPD\
 HDFKHPSOR\ZLWKRXWIXUWKHURUGHURIWKH%DQNUXSWF\&RXUWHPSOR\HHVDQGRWKHUSURIHVVLRQDOV
  LQFOXGLQJWKRVHSUHYLRXVO\UHWDLQHGE\WKH'HEWRUDQGWKH&RPPLWWHH WRDVVLVWLQFDUU\LQJRXWWKH
 7UXVWHHV¶GXWLHVKHUHXQGHUDQGPD\FRPSHQVDWHDQGUHLPEXUVHWKHUHDVRQDEOHH[SHQVHVRIWKHVH
 SURIHVVLRQDOVZLWKRXWIXUWKHU2UGHURIWKH%DQNUXSWF\&RXUWIURPWKH&ODLPDQW7UXVW$VVHWVLQ
 DFFRUGDQFHZLWKWKH3ODQDQGWKH&ODLPDQW7UXVW$JUHHPHQW

        7KH &ODLPDQW 7UXVW $JUHHPHQW DQG /LWLJDWLRQ 6XE7UXVW $JUHHPHQW PD\ LQFOXGH
 UHDVRQDEOHDQGFXVWRPDU\SURYLVLRQVWKDWDOORZIRULQGHPQLILFDWLRQE\WKH&ODLPDQW7UXVWLQIDYRU
 RIWKH&ODLPDQW7UXVWHH/LWLJDWLRQ7UXVWHHDQGWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHH$Q\
 VXFKLQGHPQLILFDWLRQVKDOOEHWKHVROHUHVSRQVLELOLW\RIWKH&ODLPDQW7UXVWDQGSD\DEOHVROHO\IURP
 WKH&ODLPDQW7UXVW$VVHWV

              Compensation and Duties of Trustees.

       7KH VDOLHQW WHUPV RI HDFK 7UXVWHH¶V HPSOR\PHQW LQFOXGLQJ VXFK 7UXVWHH¶V GXWLHV DQG
 FRPSHQVDWLRQ VKDOO EH VHW IRUWK LQ WKH &ODLPDQW 7UXVW $JUHHPHQW DQG WKH /LWLJDWLRQ 6XE7UXVW
 $JUHHPHQWDVDSSURSULDWH7KH7UXVWHHVVKDOOHDFKEHHQWLWOHGWRUHDVRQDEOHFRPSHQVDWLRQLQDQ
 DPRXQWFRQVLVWHQWZLWKWKDWRIVLPLODUIXQFWLRQDULHVLQVLPLODUW\SHVRIEDQNUXSWF\FDVHV

              Cooperation of Debtor and Reorganized Debtor.

          7RHIIHFWLYHO\LQYHVWLJDWHSURVHFXWHFRPSURPLVHDQGRUVHWWOHWKH&ODLPVDQGRU&DXVHV
 RI$FWLRQWKDWFRQVWLWXWH&ODLPDQW7UXVW$VVHWV LQFOXGLQJ(VWDWH&ODLPV WKH&ODLPDQW7UXVWHH
 /LWLJDWLRQ7UXVWHHDQGHDFKRIWKHLUSURIHVVLRQDOVPD\UHTXLUHUHDVRQDEOHDFFHVVWRWKH'HEWRU¶V
 DQG 5HRUJDQL]HG 'HEWRU¶V GRFXPHQWV LQIRUPDWLRQ DQG ZRUN SURGXFW UHODWLQJ WR WKH &ODLPDQW
 7UXVW$VVHWV$FFRUGLQJO\WKH'HEWRUDQGWKH5HRUJDQL]HG'HEWRUDVDSSOLFDEOHVKDOOUHDVRQDEO\
 FRRSHUDWHZLWKWKH&ODLPDQW7UXVWHHDQG/LWLJDWLRQ7UXVWHHDVDSSOLFDEOHLQWKHLUSURVHFXWLRQRI
 &DXVHV RI $FWLRQ DQG LQ SURYLGLQJ WKH &ODLPDQW 7UXVWHH DQG /LWLJDWLRQ 7UXVWHH ZLWK FRSLHV RI
 GRFXPHQWVDQGLQIRUPDWLRQLQWKH'HEWRU¶VSRVVHVVLRQFXVWRG\RUFRQWURORQWKH(IIHFWLYH'DWH
 WKDWHLWKHU7UXVWHHLQGLFDWHVUHODWHVWRWKH(VWDWH&ODLPVRURWKHU&DXVHVRI$FWLRQ

          7KH'HEWRUDQG5HRUJDQL]HG'HEWRUVKDOOSUHVHUYHDOOUHFRUGVGRFXPHQWVRUZRUNSURGXFW
  LQFOXGLQJDOOHOHFWURQLFUHFRUGVGRFXPHQWVRUZRUNSURGXFW UHODWHGWRWKH&ODLPVDQG&DXVHVRI
 $FWLRQLQFOXGLQJ(VWDWH&ODLPVXQWLOWKHHDUOLHURI D WKHGLVVROXWLRQRIWKH5HRUJDQL]HG'HEWRU
 RU E WHUPLQDWLRQRIWKH&ODLPDQW7UXVWDQG/LWLJDWLRQ6XE7UXVW

              United States Federal Income Tax Treatment of the Claimant Trust.

         8QOHVVWKH,56UHTXLUHVRWKHUZLVHIRUDOO8QLWHG6WDWHVIHGHUDOLQFRPHWD[SXUSRVHVWKH
 SDUWLHVVKDOOWUHDWWKHWUDQVIHURIWKH&ODLPDQW7UXVW$VVHWVWRWKH&ODLPDQW7UXVWDV D DWUDQVIHU


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 RIWKH&ODLPDQW7UXVW$VVHWV RWKHUWKDQWKHDPRXQWVVHWDVLGHLQWKH'LVSXWHG&ODLPV5HVHUYHLI
 WKH&ODLPDQW7UXVWHHPDNHVWKHHOHFWLRQGHVFULEHGLQ6HFWLRQEHORZ GLUHFWO\WRWKHDSSOLFDEOH
 &ODLPDQW7UXVW%HQHILFLDULHVIROORZHGE\ E WKHWUDQVIHUE\WKHVXFK&ODLPDQW7UXVW%HQHILFLDULHV
 WRWKH&ODLPDQW7UXVWRIVXFK&ODLPDQW7UXVW$VVHWVLQH[FKDQJHIRUWKH&ODLPDQW7UXVW,QWHUHVWV
 $FFRUGLQJO\WKHDSSOLFDEOH&ODLPDQW7UXVW%HQHILFLDULHVVKDOOEHWUHDWHGIRU8QLWHG6WDWHVIHGHUDO
 LQFRPHWD[SXUSRVHVDVWKHJUDQWRUVDQGRZQHUVRIWKHLUUHVSHFWLYHVKDUHRIWKH&ODLPDQW7UXVW
 $VVHWV7KHIRUHJRLQJWUHDWPHQWVKDOODOVRDSSO\WRWKHH[WHQWSHUPLWWHGE\DSSOLFDEOHODZIRU
 VWDWHDQGORFDOLQFRPHWD[SXUSRVHV

              Tax Reporting.

          D 7KH&ODLPDQW7UXVWHHVKDOOILOHWD[UHWXUQVIRUWKH&ODLPDQW7UXVWWUHDWLQJWKH&ODLPDQW
 7UXVWDVDJUDQWRUWUXVWSXUVXDQWWR7UHDVXU\5HJXODWLRQVHFWLRQ D 7KH&ODLPDQW7UXVWHH
 PD\ILOH DQHOHFWLRQSXUVXDQWWR7UHDVXU\5HJXODWLRQ% F WRWUHDWWKH'LVSXWHG&ODLPV
 5HVHUYHDVDGLVSXWHGRZQHUVKLSIXQGLQZKLFKFDVHWKH&ODLPDQW7UXVWHHZLOOILOHIHGHUDOLQFRPH
 WD[UHWXUQVDQGSD\WD[HVIRUWKH'LVSXWHG&ODLPV5HVHUYHDVDVHSDUDWHWD[DEOHHQWLW\

         E  7KH &ODLPDQW 7UXVWHH VKDOO EH UHVSRQVLEOH IRU SD\PHQW RXW RI WKH &ODLPDQW 7UXVW
 $VVHWVRIDQ\WD[HVLPSRVHGRQWKH&ODLPDQW7UXVWRULWVDVVHWV

          F 7KH&ODLPDQW7UXVWHHVKDOOGHWHUPLQHWKHIDLUPDUNHWYDOXHRIWKH&ODLPDQW7UXVW$VVHWV
 DVRIWKH(IIHFWLYH'DWHDQGQRWLI\WKHDSSOLFDEOH&ODLPDQW7UXVW%HQHILFLDULHVRIVXFKYDOXDWLRQ
 DQGVXFKYDOXDWLRQVKDOOEHXVHGFRQVLVWHQWO\IRUDOOIHGHUDOLQFRPHWD[SXUSRVHV

         G 7KH&ODLPDQW7UXVWHHVKDOOGLVWULEXWHVXFKWD[LQIRUPDWLRQWRWKHDSSOLFDEOH&ODLPDQW
 7UXVW%HQHILFLDULHVDVWKH&ODLPDQW7UXVWHHGHWHUPLQHVLVUHTXLUHGE\DSSOLFDEOHODZ

             Claimant Trust Assets.

          7KH&ODLPDQW7UXVWHHVKDOOKDYHWKHH[FOXVLYHULJKWRQEHKDOIRIWKH&ODLPDQW7UXVWWR
 LQVWLWXWHILOHSURVHFXWHHQIRUFHDEDQGRQVHWWOHFRPSURPLVHUHOHDVHRUZLWKGUDZDQ\DQGDOO
 &DXVHVRI$FWLRQLQFOXGHGLQWKH&ODLPDQW7UXVW$VVHWV H[FHSWIRUWKH(VWDWH&ODLPV ZLWKRXWDQ\
 IXUWKHURUGHURIWKH%DQNUXSWF\&RXUWDQGWKH&ODLPDQW7UXVWHHVKDOOKDYHWKHH[FOXVLYHULJKWRQ
 EHKDOIRIWKH&ODLPDQW7UXVWWRVHOOOLTXLGDWHRURWKHUZLVHPRQHWL]HDOO&ODLPDQW7UXVW$VVHWV
 H[FHSWDVRWKHUZLVHSURYLGHGLQWKLV3ODQRULQWKH&ODLPDQW7UXVW$JUHHPHQWZLWKRXWDQ\IXUWKHU
 RUGHURIWKH%DQNUXSWF\&RXUW1RWZLWKVWDQGLQJDQ\WKLQJKHUHLQWRWKHFRQWUDU\WKH/LWLJDWLRQ
 7UXVWHH VKDOO KDYH WKH H[FOXVLYH ULJKW WR LQVWLWXWH ILOH SURVHFXWH HQIRUFH DEDQGRQ VHWWOH
 FRPSURPLVHUHOHDVHRUZLWKGUDZDQ\DQGDOO(VWDWH&ODLPVLQFOXGHGLQWKH&ODLPDQW7UXVW$VVHWV
 ZLWKRXWDQ\IXUWKHURUGHURIWKH%DQNUXSWF\&RXUW

          )URPDQGDIWHUWKH(IIHFWLYH'DWHWKH7UXVWHHVLQDFFRUGDQFHZLWKVHFWLRQ E  DQG
    RI WKH %DQNUXSWF\ &RGH DQG RQ EHKDOI RI WKH &ODLPDQW 7UXVW VKDOO HDFK VHUYH DV D
 UHSUHVHQWDWLYHRIWKH(VWDWHZLWKUHVSHFWWRDQ\DQGDOO&ODLPDQW7UXVW$VVHWVLQFOXGLQJWKH&DXVHV
 RI$FWLRQDQG(VWDWH&ODLPVDVDSSURSULDWHDQGVKDOOUHWDLQDQGSRVVHVVWKHULJKWWR D FRPPHQFH
 SXUVXHVHWWOHFRPSURPLVHRUDEDQGRQDVDSSURSULDWHDQ\DQGDOO&DXVHVRI$FWLRQLQDQ\FRXUW
 RURWKHUWULEXQDODQG E VHOOOLTXLGDWHRURWKHUZLVHPRQHWL]HDOO&ODLPDQW7UXVW$VVHWV




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             Claimant Trust Expenses.

        )URP DQG DIWHU WKH (IIHFWLYH 'DWH WKH &ODLPDQW 7UXVW VKDOO LQ WKH RUGLQDU\ FRXUVH RI
 EXVLQHVVDQGZLWKRXWWKHQHFHVVLW\RIDQ\DSSURYDOE\WKH%DQNUXSWF\&RXUWSD\WKHUHDVRQDEOH
 SURIHVVLRQDOIHHVDQGH[SHQVHVLQFXUUHGE\WKH&ODLPDQW7UXVWWKH/LWLJDWLRQ6XE7UXVWDQGDQ\
 SURIHVVLRQDOV UHWDLQHG E\ VXFK SDUWLHV DQG HQWLWLHV IURP WKH &ODLPDQW 7UXVW $VVHWV H[FHSW DV
 RWKHUZLVHSURYLGHGLQWKH&ODLPDQW7UXVW$JUHHPHQW

             Trust Distributions to Claimant Trust Beneficiaries.

        7KH&ODLPDQW7UXVWHHLQLWVGLVFUHWLRQPD\PDNH7UXVW'LVWULEXWLRQVWRWKH&ODLPDQW7UXVW
 %HQHILFLDULHVDWDQ\WLPHDQGRUXVHWKH&ODLPDQW7UXVW$VVHWVRUSURFHHGVWKHUHRIprovidedWKDW
 VXFK7UXVW'LVWULEXWLRQVRUXVHLVRWKHUZLVHSHUPLWWHGXQGHUWKHWHUPVRIWKH3ODQWKH&ODLPDQW
 7UXVW$JUHHPHQWDQGDSSOLFDEOHODZ

             Cash Investments.

         :LWKWKHFRQVHQWRIWKH&ODLPDQW7UXVW2YHUVLJKW&RPPLWWHHWKH&ODLPDQW7UXVWHHPD\
 LQYHVW&DVK LQFOXGLQJDQ\HDUQLQJVWKHUHRQRUSURFHHGVWKHUHIURP LQDPDQQHUFRQVLVWHQWZLWK
 WKH WHUPV RI WKH &ODLPDQW 7UXVW $JUHHPHQW provided, however, WKDW VXFK LQYHVWPHQWV DUH
 LQYHVWPHQWV SHUPLWWHG WR EH PDGH E\ D ³OLTXLGDWLQJ WUXVW´ ZLWKLQ WKH PHDQLQJ RI 7UHDVXU\
 5HJXODWLRQVHFWLRQ G DVUHIOHFWHGWKHUHLQRUXQGHUDSSOLFDEOH,56JXLGHOLQHVUXOLQJV
 RURWKHUFRQWUROOLQJDXWKRULWLHV

             Dissolution of the Claimant Trust and Litigation Sub-Trust.

         7KH 7UXVWHHV DQG WKH &ODLPDQW 7UXVW DQG /LWLJDWLRQ 6XE7UXVW VKDOO EH GLVFKDUJHG RU
 GLVVROYHGDVWKHFDVHPD\EHDWVXFKWLPHDV D WKH/LWLJDWLRQ7UXVWHHGHWHUPLQHVWKDWWKHSXUVXLW
 RI(VWDWH&ODLPVLVQRWOLNHO\WR\LHOGVXIILFLHQWDGGLWLRQDOSURFHHGVWRMXVWLI\IXUWKHUSXUVXLWRI
 VXFK(VWDWH&ODLPV E WKH&ODLPDQW7UXVWHHGHWHUPLQHVWKDWWKHSXUVXLWRI&DXVHVRI$FWLRQ RWKHU
 WKDQ(VWDWH&ODLPV LVQRWOLNHO\WR\LHOGVXIILFLHQWDGGLWLRQDOSURFHHGVWRMXVWLI\IXUWKHUSXUVXLWRI
 VXFK &DXVHV RI $FWLRQ F  WKH &ODPDQW 7UXVWHH GHWHUPLQHV WKDW WKH SXUVXLW RI VDOHV RI RWKHU
 &ODLPDQW7UXVW$VVHWVLVQRWOLNHO\WR\LHOGVXIILFLHQWDGGLWLRQDOSURFHHGVWRMXVWLI\IXUWKHUSXUVXLW
 RIVXFKVDOHVRI&ODLPDQW7UXVW$VVHWV G DOOREMHFWLRQVWR'LVSXWHG&ODLPVDQG(TXLW\,QWHUHVWV
 DUHIXOO\UHVROYHG H WKH5HRUJDQL]HG'HEWRULVGLVVROYHGDQG I DOO'LVWULEXWLRQVUHTXLUHGWREH
 PDGHE\WKH&ODLPDQW7UXVWHHWRWKH&ODLPDQW7UXVW%HQHILFLDULHVXQGHUWKH3ODQKDYHEHHQPDGH
 EXWLQQRHYHQWVKDOOWKH&ODLPDQW7UXVWEHGLVVROYHGODWHUWKDQWKUHH\HDUVIURPWKH(IIHFWLYH'DWH
 XQOHVVWKH%DQNUXSWF\&RXUWXSRQPRWLRQPDGHZLWKLQWKHVL[PRQWKSHULRGEHIRUHVXFKWKLUG
 DQQLYHUVDU\ DQGLQWKHHYHQWRIIXUWKHUH[WHQVLRQE\RUGHURIWKH%DQNUXSWF\&RXUWXSRQPRWLRQ
 PDGHDWOHDVWVL[PRQWKVEHIRUHWKHHQGRIWKHSUHFHGLQJH[WHQVLRQ GHWHUPLQHVWKDWDIL[HGSHULRG
 H[WHQVLRQ QRWWRH[FHHGWZR\HDUVWRJHWKHUZLWKDQ\SULRUH[WHQVLRQVZLWKRXWDIDYRUDEOHOHWWHU
 UXOLQJIURPWKH,QWHUQDO5HYHQXH6HUYLFHRUDQRSLQLRQRIFRXQVHOWKDWDQ\IXUWKHUH[WHQVLRQZRXOG
 QRWDGYHUVHO\DIIHFWWKHVWDWXVRIWKH&ODLPDQW7UXVWDVDOLTXLGDWLQJWUXVWIRUIHGHUDOLQFRPHWD[
 SXUSRVHV LVQHFHVVDU\WRIDFLOLWDWHRUFRPSOHWHWKHUHFRYHU\RQDQGOLTXLGDWLRQRIWKH&ODLPDQW
 7UXVW$VVHWVprovided, however,WKDWHDFKH[WHQVLRQPXVWEHDSSURYHGXSRQDILQGLQJWKDWWKH
 H[WHQVLRQLVQHFHVVDU\WRIDFLOLWDWHRUFRPSOHWHWKHUHFRYHU\RQDQGOLTXLGDWLRQRIWKH&ODLPDQW
 7UXVW$VVHWVE\WKH%DQNUXSWF\&RXUWZLWKLQPRQWKVRIWKHEHJLQQLQJRIWKHH[WHQGHGWHUPDQG



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 QRH[WHQVLRQWRJHWKHUZLWKDQ\SULRUH[WHQVLRQVVKDOOH[FHHGWKUHH\HDUVZLWKRXWDIDYRUDEOHOHWWHU
 UXOLQJIURPWKH,QWHUQDO5HYHQXH6HUYLFHRUDQRSLQLRQRIFRXQVHOWKDWDQ\IXUWKHUH[WHQVLRQZRXOG
 QRWDGYHUVHO\DIIHFWWKHVWDWXVRIWKH&ODLPDQW7UXVWDVDOLTXLGDWLQJWUXVWIRUIHGHUDOLQFRPHWD[
 SXUSRVHV

         8SRQGLVVROXWLRQRIWKH&ODLPDQW7UXVWDQGSXUVXDQWWRWKH&ODLPDQW7UXVW$JUHHPHQW
 DQ\UHPDLQLQJ&ODLPDQW7UXVW$VVHWVWKDWH[FHHGWKHDPRXQWVUHTXLUHGWREHSDLGXQGHUWKH3ODQ
 ZLOOEHWUDQVIHUUHG LQWKHVROHGLVFUHWLRQRIWKH&ODLPDQW7UXVWHH LQ&DVKRULQNLQGWRWKH+ROGHUV
 RIWKH&ODLPDQW7UXVW,QWHUHVWVDVSURYLGHGLQWKH&ODLPDQW7UXVW$JUHHPHQW

 &     7KH5HRUJDQL]HG'HEWRU

              Corporate Existence

        7KH 'HEWRU ZLOO FRQWLQXH WR H[LVW DIWHU WKH (IIHFWLYH 'DWH ZLWK DOO RI WKH SRZHUV RI
 SDUWQHUVKLSV SXUVXDQW WR WKH ODZ RI WKH 6WDWH RI 'HODZDUH DQG DV VHW IRUWK LQ WKH 5HRUJDQL]HG
 /LPLWHG3DUWQHUVKLS$JUHHPHQW

              Cancellation of Equity Interests and Release

         2QWKH(IIHFWLYH'DWH L DOOSUHSHWLWLRQ(TXLW\,QWHUHVWVLQFOXGLQJWKH&ODVV$/LPLWHG
 3DUWQHUVKLS ,QWHUHVWV DQG WKH &ODVV %& /LPLWHG 3DUWQHUVKLS ,QWHUHVWV LQ WKH 'HEWRU VKDOO EH
 FDQFHOHGDQG LL DOOREOLJDWLRQVRUGHEWVRZHGE\RU&ODLPVDJDLQVWWKH'HEWRURQDFFRXQWRIRU
 EDVHG XSRQ WKH ,QWHUHVWV VKDOO EH GHHPHG DV FDQFHOOHG UHOHDVHG DQG GLVFKDUJHG LQFOXGLQJ DOO
 REOLJDWLRQVRUGXWLHVE\WKH'HEWRUUHODWLQJWRWKH(TXLW\,QWHUHVWVLQDQ\RIWKH'HEWRU¶VIRUPDWLRQ
 GRFXPHQWVLQFOXGLQJWKH/LPLWHG3DUWQHUVKLS$JUHHPHQW

              Issuance of New Partnership Interests

         2QWKH(IIHFWLYH'DWHWKH'HEWRURUWKH5HRUJDQL]HG'HEWRUDVDSSOLFDEOHZLOOLVVXHQHZ
 &ODVV$/LPLWHG3DUWQHUVKLS,QWHUHVWVWR L WKH&ODLPDQW7UXVWDVOLPLWHGSDUWQHUDQG LL 1HZ
 *3//&DVJHQHUDOSDUWQHUDQGZLOODGPLW D WKH&ODLPDQW7UXVWDVWKHOLPLWHGSDUWQHURIWKH
 5HRUJDQL]HG'HEWRUDQG E 1HZ*3//&DVWKHJHQHUDOSDUWQHURIWKH5HRUJDQL]HG'HEWRU7KH
 &ODLPDQW7UXVWDVOLPLWHGSDUWQHUZLOOUDWLI\1HZ*3//&¶VDSSRLQWPHQWDVJHQHUDOSDUWQHURI
 WKH5HRUJDQL]HG'HEWRU$OVRRQWKH(IIHFWLYH'DWHWKH&ODLPDQW7UXVWDVOLPLWHGSDUWQHUDQG
 1HZ*3//&DVJHQHUDOSDUWQHUZLOOH[HFXWHWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQW
 DQG UHFHLYH SDUWQHUVKLS LQWHUHVWV LQ WKH 5HRUJDQL]HG 'HEWRU FRQVLVWHQW ZLWK WKH WHUPV RI WKH
 5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQW

         7KH 5HRUJDQL]HG /LPLWHG 3DUWQHUVKLS $JUHHPHQW GRHV QRW SURYLGH IRU DQG VSHFLILFDOO\
 GLVFODLPV WKH LQGHPQLILFDWLRQ REOLJDWLRQV XQGHU WKH /LPLWHG 3DUWQHUVKLS $JUHHPHQW LQFOXGLQJ
 DQ\VXFKLQGHPQLILFDWLRQREOLJDWLRQVWKDWDFFUXHGRUDURVHRUFRXOGKDYHEHHQEURXJKWSULRUWRWKH
 (IIHFWLYH 'DWH  $Q\ LQGHPQLILFDWLRQ &ODLPV XQGHU WKH /LPLWHG 3DUWQHUVKLS $JUHHPHQW WKDW
 DFFUXHGDURVHRUFRXOGKDYHEHHQILOHGSULRUWRWKH(IIHFWLYH'DWHZLOOEHUHVROYHGWKURXJKWKH
 &ODLPV UHVROXWLRQ SURFHVV SURYLGHG WKDW D &ODLP LV SURSHUO\ ILOHG LQ DFFRUGDQFH ZLWK WKH
 %DQNUXSWF\&RGHWKH3ODQRUWKH%DU'DWH2UGHU(DFKRIWKH'HEWRUWKH5HRUJDQL]HG'HEWRU
 WKH &ODLPDQW 7UXVW DQG WKH /LWLJDWLRQ 6XE7UXVW UHVHUYH DOO ULJKWV ZLWK UHVSHFW WR DQ\ VXFK
 LQGHPQLILFDWLRQ&ODLPV


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              Management of the Reorganized Debtor

          6XEMHFW WR DQG FRQVLVWHQW ZLWK WKH WHUPV RI WKH 5HRUJDQL]HG /LPLWHG 3DUWQHUVKLS
 $JUHHPHQWWKH5HRUJDQL]HG'HEWRUVKDOOEHPDQDJHGE\LWVJHQHUDOSDUWQHU1HZ*3//&7KH
 LQLWLDORIILFHUVDQGHPSOR\HHVRIWKH5HRUJDQL]HG'HEWRUVKDOOEHVHOHFWHGE\WKH&ODLPDQW7UXVWHH
 7KH5HRUJDQL]HG'HEWRUPD\LQLWVGLVFUHWLRQDOVRXWLOL]HD6XE6HUYLFHULQDGGLWLRQWRRULQOLHX
 RIWKHUHWHQWLRQRIRIILFHUVDQGHPSOR\HHV

         $VVHWIRUWKLQWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQW1HZ*3//&ZLOOUHFHLYH
 DIHHIRUPDQDJLQJWKH5HRUJDQL]HG'HEWRU$OWKRXJK1HZ*3//&ZLOOEHDOLPLWHGOLDELOLW\
 FRPSDQ\LWZLOOHOHFWWREHWUHDWHGDVD&&RUSRUDWLRQIRUWD[SXUSRVHV7KHUHIRUH1HZ*3//&
  DQG DQ\ WD[DEOH LQFRPH DWWULEXWDEOH WR LW  ZLOO EH VXEMHFW WR FRUSRUDWH LQFRPH WD[DWLRQ RQ D
 VWDQGDORQHEDVLVZKLFKPD\UHGXFHWKHUHWXUQWR&ODLPDQWV

              Vesting of Assets in the Reorganized Debtor

         ([FHSW DV RWKHUZLVH SURYLGHG LQ WKLV 3ODQ RU WKH &RQILUPDWLRQ 2UGHU RQ RU DIWHU WKH
 (IIHFWLYH'DWHDOO5HRUJDQL]HG'HEWRU$VVHWVZLOOYHVWLQWKH5HRUJDQL]HG'HEWRUIUHHDQGFOHDU
 RIDOO/LHQV&ODLPVFKDUJHVRURWKHUHQFXPEUDQFHVSXUVXDQWWRVHFWLRQ F RIWKH%DQNUXSWF\
 &RGH H[FHSW ZLWK UHVSHFW WR VXFK /LHQV &ODLPV FKDUJHV DQG RWKHU HQFXPEUDQFHV WKDW DUH
 VSHFLILFDOO\SUHVHUYHGXQGHUWKLV3ODQXSRQWKH(IIHFWLYH'DWH

         7KH5HRUJDQL]HG'HEWRUVKDOOEHWKHH[FOXVLYHWUXVWHHRIWKH5HRUJDQL]HG'HEWRU$VVHWV
 IRUSXUSRVHVRI86& E DQG86& E  DVZHOODVWKHUHSUHVHQWDWLYHRI
 WKH(VWDWHDSSRLQWHGSXUVXDQWWRVHFWLRQ E  % RIWKH%DQNUXSWF\&RGHZLWKUHVSHFWWRWKH
 5HRUJDQL]HG'HEWRU$VVHWV

              Purpose of the Reorganized Debtor

         ([FHSW DV PD\ EH RWKHUZLVH SURYLGHG LQ WKLV 3ODQ RU WKH &RQILUPDWLRQ 2UGHU WKH
 5HRUJDQL]HG'HEWRUZLOOFRQWLQXHWRPDQDJHWKH5HRUJDQL]HG'HEWRU$VVHWV ZKLFKVKDOOLQFOXGH
 IRUWKHDYRLGDQFHRIGRXEWVHUYLQJDVWKHLQYHVWPHQWPDQDJHURIWKH0DQDJHG)XQGV DQGPD\
 XVHDFTXLUHRUGLVSRVHRIWKH5HRUJDQL]HG'HEWRU$VVHWVDQGFRPSURPLVHRUVHWWOHDQ\&ODLPV
 ZLWKUHVSHFWWRWKH5HRUJDQL]HG'HEWRU$VVHWVZLWKRXWVXSHUYLVLRQRUDSSURYDOE\WKH%DQNUXSWF\
 &RXUWDQGIUHHRIDQ\UHVWULFWLRQVRIWKH%DQNUXSWF\&RGHRU%DQNUXSWF\5XOHV7KH5HRUJDQL]HG
 'HEWRUVKDOORYHUVHHWKHUHVROXWLRQRI&ODLPVLQ&ODVVWKURXJK&ODVV

         :LWKRXWOLPLWLQJWKHIRUHJRLQJWKH5HRUJDQL]HG'HEWRUZLOOSD\WKHFKDUJHVWKDWLWLQFXUV
 DIWHUWKH(IIHFWLYH'DWHIRU3URIHVVLRQDOV¶IHHVGLVEXUVHPHQWVH[SHQVHVRUUHODWHGVXSSRUWVHUYLFHV
  LQFOXGLQJ UHDVRQDEOH IHHV UHODWLQJ WR WKH SUHSDUDWLRQ RI 3URIHVVLRQDO IHH DSSOLFDWLRQV  LQ WKH
 RUGLQDU\FRXUVHRIEXVLQHVVDQGZLWKRXWDSSOLFDWLRQRUQRWLFHWRRURUGHURIWKH%DQNUXSWF\&RXUW

              Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                 Reorganized Debtor Assets

         $Q\SURFHHGVUHFHLYHGE\WKH5HRUJDQL]HG'HEWRUZLOOEHGLVWULEXWHGWRWKH&ODLPDQW7UXVW
 DVOLPLWHGSDUWQHUDQG1HZ*3//&DVJHQHUDOSDUWQHULQWKHPDQQHUVHWIRUWKLQWKH5HRUJDQL]HG
 /LPLWHG3DUWQHUVKLS$JUHHPHQW$VVHWIRUWKLQWKH5HRUJDQL]HG/LPLWHG3DUWQHUVKLS$JUHHPHQW


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 WKH 5HRUJDQL]HG 'HEWRU PD\ IURP WLPH WR WLPH GLVWULEXWH 5HRUJDQL]HG 'HEWRU $VVHWV WR WKH
 &ODLPDQW7UXVWHLWKHULQ&DVKRULQNLQGLQFOXGLQJWRLQVWLWXWHWKHZLQGGRZQDQGGLVVROXWLRQRI
 WKH 5HRUJDQL]HG 'HEWRU  $Q\ DVVHWV GLVWULEXWHG WR WKH &ODLPDQW 7UXVW ZLOO EH L  GHHPHG
 WUDQVIHUUHGLQDOOUHVSHFWVDVIRUWKLQ$57,&/(,9% LL GHHPHG&ODLPDQW7UXVW$VVHWVDQG
  LLL DGPLQLVWHUHGDV&ODLPDQW7UXVW$VVHWV

 '     &RPSDQ\$FWLRQ

         (DFKRIWKH'HEWRUWKH5HRUJDQL]HG'HEWRUDQGWKH7UXVWHHVDVDSSOLFDEOHPD\WDNHDQ\
 DQGDOODFWLRQVWRH[HFXWHGHOLYHU)LOHRUUHFRUGVXFKFRQWUDFWVLQVWUXPHQWVUHOHDVHVDQGRWKHU
 DJUHHPHQWVRUGRFXPHQWVDQGWDNHVXFKDFWLRQVDVPD\EHQHFHVVDU\RUDSSURSULDWHWRHIIHFWXDWH
 DQGLPSOHPHQWWKHSURYLVLRQVRIWKLV3ODQWKH&ODLPDQW7UXVW$JUHHPHQWWKH5HRUJDQL]HG/LPLWHG
 3DUWQHUVKLS $JUHHPHQW RU WKH 1HZ *3//&'RFXPHQWVDVDSSOLFDEOHLQWKHQDPHRIDQGRQ
 EHKDOI RI WKH 'HEWRU WKH 5HRUJDQL]HG 'HEWRU RU WKH 7UXVWHHV DV DSSOLFDEOH DQG LQ HDFK FDVH
 ZLWKRXW IXUWKHUQRWLFHWRRURUGHURIWKH%DQNUXSWF\&RXUWDFWRUDFWLRQ XQGHUDSSOLFDEOHODZ
 UHJXODWLRQ RUGHU RU UXOH RU DQ\ UHTXLUHPHQW RI IXUWKHU DFWLRQ YRWH RU RWKHU DSSURYDO RU
 DXWKRUL]DWLRQ E\ WKH VHFXULW\ KROGHUV RIILFHUV RU GLUHFWRUV RI WKH 'HEWRU RU WKH 5HRUJDQL]HG
 'HEWRUDVDSSOLFDEOHRUE\DQ\RWKHU3HUVRQ

          3ULRUWRRQRUDIWHUWKH(IIHFWLYH'DWH DVDSSURSULDWH DOOPDWWHUVSURYLGHGIRUSXUVXDQW
 WR WKLV 3ODQ WKDW ZRXOG RWKHUZLVH UHTXLUH DSSURYDO RI WKH VWRFNKROGHUV SDUWQHUV GLUHFWRUV
 PDQDJHUVRUPHPEHUVRIWKH'HEWRUDQ\5HODWHG(QWLW\RUDQ\$IILOLDWHWKHUHRI DVRISULRUWR
 WKH(IIHFWLYH'DWH ZLOOEHGHHPHGWRKDYHEHHQVRDSSURYHGDQGZLOOEHLQHIIHFWSULRUWRRQRU
 DIWHUWKH(IIHFWLYH'DWH DVDSSURSULDWH SXUVXDQWWRDSSOLFDEOHODZDQGZLWKRXWDQ\UHTXLUHPHQW
 RIIXUWKHUDFWLRQE\WKHVWRFNKROGHUVSDUWQHUVGLUHFWRUVPDQDJHUVRUPHPEHUVRIVXFK3HUVRQV
 RUWKHQHHGIRUDQ\DSSURYDOVDXWKRUL]DWLRQVDFWLRQVRUFRQVHQWVRIDQ\3HUVRQ

         $OOPDWWHUVSURYLGHGIRULQWKLV3ODQLQYROYLQJWKHOHJDORUFRUSRUDWHVWUXFWXUHRIWKH'HEWRU
 WKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWDVDSSOLFDEOHDQGDQ\OHJDORUFRUSRUDWHDFWLRQ
 UHTXLUHGE\WKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWDVDSSOLFDEOHLQFRQQHFWLRQ
 ZLWKWKLV3ODQZLOOEHGHHPHGWRKDYHRFFXUUHGDQGZLOOEHLQIXOOIRUFHDQGHIIHFWLQDOOUHVSHFWV
 LQ HDFK FDVH ZLWKRXW IXUWKHU QRWLFH WR RU RUGHU RI WKH %DQNUXSWF\ &RXUW DFW RU DFWLRQ XQGHU
 DSSOLFDEOH ODZ UHJXODWLRQ RUGHU RU UXOH RU DQ\ UHTXLUHPHQW RI IXUWKHU DFWLRQ YRWH RU RWKHU
 DSSURYDORUDXWKRUL]DWLRQE\WKHVHFXULW\KROGHUVSDUWQHUVGLUHFWRUVPDQDJHUVRUPHPEHUVRIWKH
 'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWDVDSSOLFDEOHRUE\DQ\RWKHU3HUVRQ2Q
 WKH (IIHFWLYH 'DWH WKH DSSURSULDWH RIILFHUV RI WKH 'HEWRU DQG WKH 5HRUJDQL]HG 'HEWRU DV
 DSSOLFDEOHDVZHOODVWKH7UXVWHHVDUHDXWKRUL]HGWRLVVXHH[HFXWHGHOLYHUDQGFRQVXPPDWHWKH
 WUDQVDFWLRQV FRQWHPSODWHG E\ WKH FRQWUDFWV DJUHHPHQWV GRFXPHQWV JXDUDQWHHV SOHGJHV
 FRQVHQWVVHFXULWLHVFHUWLILFDWHVUHVROXWLRQVDQGLQVWUXPHQWVFRQWHPSODWHGE\RUGHVFULEHGLQWKLV
 3ODQ LQ WKH QDPH RI DQG RQ EHKDOI RI WKH 'HEWRU DQG WKH 5HRUJDQL]HG 'HEWRU DV ZHOO DV WKH
 7UXVWHHVLQHDFKFDVHZLWKRXWIXUWKHUQRWLFHWRRURUGHURIWKH%DQNUXSWF\&RXUWDFWRUDFWLRQ
 XQGHUDSSOLFDEOHODZUHJXODWLRQRUGHURUUXOHRUDQ\UHTXLUHPHQWRIIXUWKHUDFWLRQYRWHRURWKHU
 DSSURYDORUDXWKRUL]DWLRQE\DQ\3HUVRQ7KHDSSURSULDWHRIILFHURIWKH'HEWRUWKH5HRUJDQL]HG
 'HEWRUDVZHOODVWKH7UXVWHHVZLOOEHDXWKRUL]HGWRFHUWLI\RUDWWHVWWRDQ\RIWKHIRUHJRLQJDFWLRQV




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 (     5HOHDVHRI/LHQV&ODLPVDQG(TXLW\,QWHUHVWV

          ([FHSWDVRWKHUZLVHSURYLGHGLQWKH3ODQRULQDQ\FRQWUDFWLQVWUXPHQWUHOHDVHRURWKHU
 DJUHHPHQWRUGRFXPHQWHQWHUHGLQWRRUGHOLYHUHGLQFRQQHFWLRQZLWKWKH3ODQIURPDQGDIWHUWKH
 (IIHFWLYH'DWHDQGFRQFXUUHQWO\ZLWKWKHDSSOLFDEOHGLVWULEXWLRQVPDGHSXUVXDQWWRWKH3ODQDOO
 /LHQV&ODLPV(TXLW\,QWHUHVWVPRUWJDJHVGHHGVRIWUXVWRURWKHUVHFXULW\LQWHUHVWVDJDLQVWWKH
 SURSHUW\RIWKH(VWDWHZLOOEHIXOO\UHOHDVHGWHUPLQDWHGH[WLQJXLVKHGDQGGLVFKDUJHGLQHDFKFDVH
 ZLWKRXW IXUWKHUQRWLFHWRRURUGHURIWKH%DQNUXSWF\&RXUWDFWRUDFWLRQ XQGHUDSSOLFDEOHODZ
 UHJXODWLRQRUGHURUUXOHRUWKHYRWHFRQVHQWDXWKRUL]DWLRQRUDSSURYDORIDQ\(QWLW\$Q\(QWLW\
 KROGLQJVXFK/LHQVRU(TXLW\,QWHUHVWVH[WLQJXLVKHGSXUVXDQWWRWKHSULRUVHQWHQFHZLOOSXUVXDQW
 WR VHFWLRQ  RI WKH %DQNUXSWF\ &RGH SURPSWO\ H[HFXWH DQG GHOLYHU WR WKH 'HEWRU WKH
 5HRUJDQL]HG 'HEWRU RU WKH &ODLPDQW 7UXVWHH DV DSSOLFDEOH VXFK LQVWUXPHQWV RI WHUPLQDWLRQ
 UHOHDVHVDWLVIDFWLRQDQGRUDVVLJQPHQW LQUHFRUGDEOHIRUP DVPD\EHUHDVRQDEO\UHTXHVWHGE\WKH
 'HEWRU WKH 5HRUJDQL]HG 'HEWRU RU WKH &ODLPDQW 7UXVWHH DV DSSOLFDEOH  )RU WKH DYRLGDQFH RI
 GRXEWWKLVVHFWLRQLVLQDGGLWLRQWRDQGVKDOOQRWEHUHDGWROLPLWLQDQ\UHVSHFWV$57,&/(,9&

 )     &DQFHOODWLRQRI1RWHV&HUWLILFDWHVDQG,QVWUXPHQWV

         ([FHSWIRUWKHSXUSRVHRIHYLGHQFLQJDULJKWWRDGLVWULEXWLRQXQGHUWKLV3ODQDQGH[FHSWDV
 RWKHUZLVHVHWIRUWKLQWKLV3ODQRQWKH(IIHFWLYH'DWHDOODJUHHPHQWVLQVWUXPHQWV6HFXULWLHVDQG
 RWKHUGRFXPHQWVHYLGHQFLQJDQ\SUHSHWLWLRQ&ODLPRU(TXLW\,QWHUHVWDQGDQ\ULJKWVRIDQ\+ROGHU
 LQUHVSHFWWKHUHRIVKDOOEHGHHPHGFDQFHOOHGGLVFKDUJHGDQGRIQRIRUFHRUHIIHFW7KHKROGHUVRI
 RUSDUWLHVWRVXFKFDQFHOOHGLQVWUXPHQWV6HFXULWLHVDQGRWKHUGRFXPHQWDWLRQZLOOKDYHQRULJKWV
 DULVLQJIURPRUUHODWHGWRVXFKLQVWUXPHQWV6HFXULWLHVRURWKHUGRFXPHQWDWLRQRUWKHFDQFHOODWLRQ
 WKHUHRI H[FHSW WKH ULJKWV SURYLGHG IRU SXUVXDQW WR WKLV 3ODQ DQG WKH REOLJDWLRQV RI WKH 'HEWRU
 WKHUHXQGHU RU LQ DQ\ ZD\ UHODWHG WKHUHWR ZLOO EH IXOO\ UHOHDVHG WHUPLQDWHG H[WLQJXLVKHG DQG
 GLVFKDUJHGLQHDFKFDVHZLWKRXWIXUWKHUQRWLFHWRRURUGHURIWKH%DQNUXSWF\&RXUWDFWRUDFWLRQ
 XQGHUDSSOLFDEOHODZUHJXODWLRQRUGHURUUXOHRUDQ\UHTXLUHPHQWRIIXUWKHUDFWLRQYRWHRURWKHU
 DSSURYDORUDXWKRUL]DWLRQE\DQ\3HUVRQ)RUWKHDYRLGDQFHRIGRXEWWKLVVHFWLRQLVLQDGGLWLRQWR
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         7KHGRFXPHQWVLIDQ\WREH)LOHGDVSDUWRIWKH3ODQ'RFXPHQWVLQFOXGLQJDQ\GRFXPHQWV
 ILOHG ZLWK WKH 3ODQ 6XSSOHPHQW DQG DQ\ DPHQGPHQWV UHVWDWHPHQWV VXSSOHPHQWV RU RWKHU
 PRGLILFDWLRQVWRVXFKGRFXPHQWVDQGDQ\FRQVHQWVZDLYHUVRURWKHUGHYLDWLRQVXQGHURUIURP
 DQ\VXFKGRFXPHQWVVKDOOEHLQFRUSRUDWHGKHUHLQE\WKLVUHIHUHQFH LQFOXGLQJWRWKHDSSOLFDEOH
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 &RPPLWWHHFDQQRWDJUHHDVWRWKHIRUPDQGFRQWHQWRIVXFK3ODQ'RFXPHQWVWKH\LQWHQGWRVXEPLW
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 3HQVLRQ3ODQDQGVKDOOFRPSO\ZLWKDOODSSOLFDEOHVWDWXWRU\SURYLVLRQVRI(5,6$DQGWKH,QWHUQDO
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 5HRUJDQL]HG'HEWRUDQGHDFKRILWVFRQWUROOHGJURXSPHPEHUVZLOOEHUHVSRQVLEOHIRUWKHOLDELOLWLHV
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         1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ RI WKH 3ODQ WKH &RQILUPDWLRQ 2UGHU RU WKH %DQNUXSWF\
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 WKH %DQNUXSWF\ &RGH VKDOO EH FRQVWUXHG DV GLVFKDUJLQJ UHOHDVLQJ H[FXOSDWLQJ RU UHOLHYLQJ WKH
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 UHVSRQVLELOLW\LIDQ\ZLWKUHVSHFWWRWKH 3HQVLRQ 3ODQ XQGHU DQ\ODZJRYHUQPHQWDOSROLF\RU
 UHJXODWRU\ SURYLVLRQ 3%*& DQG WKH 3HQVLRQ 3ODQ VKDOO QRW EH HQMRLQHG RU SUHFOXGHG IURP
 HQIRUFLQJ VXFK OLDELOLW\ RU UHVSRQVLELOLW\ DJDLQVW DQ\ SHUVRQ RU HQWLW\ DV D UHVXOW RI DQ\ RI WKH
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 E\WKH'HEWRUSXUVXDQWWRWKLV3ODQRQRUSULRUWRWKH&RQILUPDWLRQ'DWH LL SUHYLRXVO\H[SLUHGRU
 WHUPLQDWHGSXUVXDQWWRLWVRZQWHUPVRUE\DJUHHPHQWRIWKHSDUWLHVWKHUHWR LLL LVWKHVXEMHFWRID
 PRWLRQWRDVVXPHILOHGE\WKH'HEWRURQRUEHIRUHWKH&RQILUPDWLRQ'DWH LY FRQWDLQVDFKDQJH
 RI FRQWURO RU VLPLODU SURYLVLRQ WKDW ZRXOG EH WULJJHUHG E\ WKH &KDSWHU  &DVH XQOHVV VXFK
 SURYLVLRQKDVEHHQLUUHYRFDEO\ZDLYHG RU Y LVVSHFLILFDOO\GHVLJQDWHGDVDFRQWUDFWRUOHDVHWR
 EHDVVXPHGLQWKH3ODQRUWKH3ODQ6XSSOHPHQWRQWKH&RQILUPDWLRQ'DWHHDFK([HFXWRU\&RQWUDFW
 DQG8QH[SLUHG/HDVHVKDOOEHGHHPHGUHMHFWHGSXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGH
 ZLWKRXWWKHQHHGIRUDQ\IXUWKHUQRWLFHWRRUDFWLRQRUGHURUDSSURYDORIWKH%DQNUXSWF\&RXUW
 XQOHVVVXFK([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHLVOLVWHGLQWKH3ODQ6XSSOHPHQW

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 6XSSOHPHQWLQRUGHUWRDGGRUUHPRYHDFRQWUDFWRUOHDVHIURPWKHOLVWRIFRQWUDFWVWREHDVVXPHG
 RU LL DVVLJQ VXEMHFWWRDSSOLFDEOHODZ DQ\([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHDVGHWHUPLQHG
 E\WKH'HEWRULQFRQVXOWDWLRQZLWKWKH&RPPLWWHHRUWKH5HRUJDQL]HG'HEWRUDVDSSOLFDEOH

         7KH&RQILUPDWLRQ2UGHUZLOOFRQVWLWXWHDQRUGHURIWKH%DQNUXSWF\&RXUWDSSURYLQJWKH
 DERYHGHVFULEHGDVVXPSWLRQVUHMHFWLRQVDQGDVVXPSWLRQVDQGDVVLJQPHQWV([FHSWDVRWKHUZLVH
 SURYLGHG KHUHLQ RU DJUHHG WR E\ WKH 'HEWRU DQG WKH DSSOLFDEOH FRXQWHUSDUW\ HDFK DVVXPHG
 ([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHVKDOOLQFOXGHDOOPRGLILFDWLRQVDPHQGPHQWVVXSSOHPHQWV
 UHVWDWHPHQWV RU RWKHU DJUHHPHQWV UHODWHG WKHUHWR DQG DOO ULJKWV UHODWHG WKHUHWR  0RGLILFDWLRQV
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 DOWHUWKHSUHSHWLWLRQQDWXUHRIWKH([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHRUWKHYDOLGLW\SULRULW\
 RUDPRXQWRIDQ\&ODLPVWKDWPD\DULVHLQ FRQQHFWLRQWKHUHZLWK7RWKHH[WHQWDSSOLFDEOHQR
 FKDQJH RI FRQWURO RU VLPLODU SURYLVLRQ  ZLOO EH GHHPHG WR RFFXU XQGHU DQ\ VXFK ([HFXWRU\
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         ,IFHUWDLQEXWQRWDOORIDFRQWUDFWFRXQWHUSDUW\¶V([HFXWRU\&RQWUDFWVDQGRU8QH[SLUHG
 /HDVHVDUHUHMHFWHGSXUVXDQWWRWKH3ODQWKH&RQILUPDWLRQ2UGHUVKDOOEHDGHWHUPLQDWLRQWKDWVXFK
 FRXQWHUSDUW\¶V([HFXWRU\&RQWUDFWVDQGRU8QH[SLUHG/HDVHVWKDWDUHEHLQJDVVXPHGSXUVXDQWWR
 WKH3ODQDUHVHYHUDEOHDJUHHPHQWVWKDWDUHQRWLQWHJUDWHGZLWKWKRVH([HFXWRU\&RQWUDFWVDQGRU
 8QH[SLUHG /HDVHV WKDW DUH EHLQJ UHMHFWHG SXUVXDQW WR WKH 3ODQ  3DUWLHV VHHNLQJ WR FRQWHVW WKLV
 ILQGLQJ ZLWK UHVSHFW WR WKHLU ([HFXWRU\ &RQWUDFWV DQGRU 8QH[SLUHG /HDVHV PXVW ILOH D WLPHO\
 REMHFWLRQWRWKH3ODQRQWKHJURXQGVWKDWWKHLUDJUHHPHQWVDUHLQWHJUDWHGDQGQRWVHYHUDEOHDQG
 DQ\VXFKGLVSXWHVKDOOEHUHVROYHGE\WKH%DQNUXSWF\&RXUWDWWKH&RQILUPDWLRQ+HDULQJ WRWKH
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 FHUWDLQ UHDO SURSHUW\ OHDVH ZLWK &UHVFHQW 7& ,QYHVWRUV /3 ³/DQGORUG´  IRU WKH 'HEWRU¶V
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 Unexpired Nonresidential Real Property Lease>'RFNHW1R@

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 %DQNUXSWF\&RGHE\WKH'HEWRUXSRQDVVXPSWLRQRUDVVLJQPHQWWKHUHRIE\SD\PHQWRIWKHGHIDXOW
 DPRXQWLQ&DVKDVDQGZKHQGXHLQWKHRUGLQDU\FRXUVHRURQVXFKRWKHUWHUPVDVWKHSDUWLHVWR
 VXFK([HFXWRU\&RQWUDFWVPD\RWKHUZLVHDJUHH7KH'HEWRUPD\VHUYHDQRWLFHRQWKH&RPPLWWHH
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 'HEWRU¶V RU 5HRUJDQL]HG 'HEWRU¶V LQWHQWLRQ WR DVVXPH RU DVVLJQ WKH ([HFXWRU\ &RQWUDFW RU
 8QH[SLUHG/HDVHLQFRQQHFWLRQZLWKWKLV3ODQDQGVHWWLQJIRUWKWKHSURSRVHGFXUHDPRXQW LIDQ\ 

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         $VVXPSWLRQRUDVVLJQPHQWRIDQ\([HFXWRU\&RQWUDFWRU8QH[SLUHG/HDVHSXUVXDQWWRWKH
 3ODQRURWKHUZLVHDQGIXOOSD\PHQWRIDQ\DSSOLFDEOHFXUHDPRXQWVSXUVXDQWWRWKLV$57,&/(9&
 VKDOOUHVXOWLQWKHIXOOUHOHDVHDQGVDWLVIDFWLRQRIDQ\FXUHDPRXQWV&ODLPVRUGHIDXOWVZKHWKHU
 PRQHWDU\ RU QRQPRQHWDU\ LQFOXGLQJ GHIDXOWV RI SURYLVLRQV UHVWULFWLQJ WKH FKDQJH LQ FRQWURO RU
 RZQHUVKLSLQWHUHVWFRPSRVLWLRQRURWKHUEDQNUXSWF\UHODWHGGHIDXOWVDULVLQJXQGHUDQ\DVVXPHGRU
 DVVLJQHG ([HFXWRU\ &RQWUDFW RU 8QH[SLUHG /HDVH DW DQ\ WLPH SULRU WR WKH HIIHFWLYH GDWH RI
 DVVXPSWLRQ RU DVVLJQPHQW  $Q\ DQG DOO 3URRIV RI &ODLP EDVHG XSRQ ([HFXWRU\ &RQWUDFWV RU
 8QH[SLUHG/HDVHVWKDWKDYHEHHQDVVXPHGRUDVVLJQHGLQWKH&KDSWHU&DVHLQFOXGLQJSXUVXDQW
 WRWKH&RQILUPDWLRQ2UGHUDQGIRUZKLFKDQ\FXUHDPRXQWVKDYHEHHQIXOO\SDLGSXUVXDQWWRWKLV
 $57,&/(9&VKDOOEHGHHPHGGLVDOORZHGDQGH[SXQJHGDVRIWKH&RQILUPDWLRQ'DWHZLWKRXW
 WKH QHHG IRU DQ\ REMHFWLRQ WKHUHWR RU DQ\ IXUWKHU QRWLFH WR RU DFWLRQ RUGHU RU DSSURYDO RI WKH
 %DQNUXSWF\&RXUW



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          ([FHSWDVRWKHUZLVHSURYLGHGLQWKLV3ODQRQWKH(IIHFWLYH'DWHRUDVVRRQDVUHDVRQDEO\
 SUDFWLFDEOHWKHUHDIWHU RULID&ODLPLVQRWDQ$OORZHG&ODLPRU(TXLW\,QWHUHVWRQWKH(IIHFWLYH
 'DWHRQWKHGDWHWKDWVXFK&ODLPRU(TXLW\,QWHUHVWEHFRPHVDQ$OORZHG&ODLPRU(TXLW\,QWHUHVW
 RU DV VRRQ DV UHDVRQDEO\ SUDFWLFDEOH WKHUHDIWHU  HDFK +ROGHU RI DQ $OORZHG &ODLP RU (TXLW\
 ,QWHUHVWDJDLQVWWKH'HEWRUVKDOOUHFHLYHWKHIXOODPRXQWRIWKHGLVWULEXWLRQVWKDWWKLV3ODQSURYLGHV
 IRU$OORZHG&ODLPVRU$OORZHG(TXLW\,QWHUHVWVLQWKHDSSOLFDEOH&ODVVDQGLQWKHPDQQHUSURYLGHG
 KHUHLQ,IDQ\SD\PHQWRUDFWXQGHUWKLV3ODQLVUHTXLUHGWREHPDGHRUSHUIRUPHGRQDGDWHWKDWLV
 QRWRQD%XVLQHVV'D\WKHQWKHPDNLQJRIVXFKSD\PHQWRUWKHSHUIRUPDQFHRIVXFKDFWPD\EH
 FRPSOHWHGRQWKHQH[WVXFFHHGLQJ%XVLQHVV'D\EXWVKDOOEHGHHPHGWRKDYHEHHQFRPSOHWHGDV
 RIWKHUHTXLUHGGDWH,IDQGWRWKHH[WHQWWKHUHDUH'LVSXWHG&ODLPVRU(TXLW\,QWHUHVWVGLVWULEXWLRQV
 RQ DFFRXQW RI DQ\ VXFK 'LVSXWHG &ODLPV RU (TXLW\ ,QWHUHVWV VKDOO EH PDGH SXUVXDQW WR WKH
 SURYLVLRQVSURYLGHGLQWKLV3ODQ([FHSWDVRWKHUZLVHSURYLGHGLQWKLV3ODQ+ROGHUVRI&ODLPVDQG
 (TXLW\,QWHUHVWVVKDOOQRWEHHQWLWOHGWRLQWHUHVWGLYLGHQGVRUDFFUXDOVRQWKHGLVWULEXWLRQVSURYLGHG
 IRUWKHUHLQUHJDUGOHVVRIZKHWKHUGLVWULEXWLRQVDUHGHOLYHUHGRQRUDWDQ\WLPHDIWHUWKH(IIHFWLYH
 'DWH

           8SRQWKH(IIHFWLYH'DWHDOO&ODLPVDQG(TXLW\,QWHUHVWVDJDLQVWWKH'HEWRUVKDOOEHGHHPHG
 IL[HGDQGDGMXVWHGSXUVXDQWWRWKLV3ODQDQGQRQHRIWKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH
 &ODLPDQW7UXVWZLOOKDYHOLDELOLW\RQDFFRXQWRIDQ\&ODLPVRU(TXLW\,QWHUHVWVH[FHSWDVVHWIRUWK
 LQ WKLV 3ODQ DQG LQ WKH &RQILUPDWLRQ 2UGHU  $OO SD\PHQWV DQG DOO GLVWULEXWLRQV PDGH E\ WKH
 'LVWULEXWLRQ$JHQWXQGHUWKLV3ODQVKDOOEHLQIXOODQGILQDOVDWLVIDFWLRQVHWWOHPHQWDQGUHOHDVHRI
 DOO&ODLPVDQG(TXLW\,QWHUHVWVDJDLQVWWKH'HEWRUDQGWKH5HRUJDQL]HG'HEWRU

         $WWKHFORVHRIEXVLQHVVRQWKH'LVWULEXWLRQ5HFRUG'DWHWKHWUDQVIHUOHGJHUVIRUWKH&ODLPV
 DJDLQVWWKH'HEWRUDQGWKH(TXLW\,QWHUHVWVLQWKH'HEWRUVKDOOEHFORVHGDQGWKHUHVKDOOEHQR
 IXUWKHU FKDQJHV LQ WKH UHFRUG KROGHUV RI VXFK &ODLPV DQG (TXLW\ ,QWHUHVWV  7KH 'HEWRU WKH
 5HRUJDQL]HG'HEWRUWKH7UXVWHHVDQGWKH'LVWULEXWLRQ$JHQWDQGHDFKRIWKHLUUHVSHFWLYHDJHQWV
 VXFFHVVRUVDQGDVVLJQVVKDOOKDYHQRREOLJDWLRQWRUHFRJQL]HWKHWUDQVIHURIDQ\&ODLPVDJDLQVWWKH
 'HEWRURU(TXLW\,QWHUHVWVLQWKH'HEWRURFFXUULQJDIWHUWKH'LVWULEXWLRQ5HFRUG'DWHDQGVKDOOEH
 HQWLWOHGLQVWHDGWRUHFRJQL]HDQGGHDOIRUDOOSXUSRVHVKHUHXQGHUZLWKRQO\WKRVHUHFRUGKROGHUV
 VWDWHG RQ WKH WUDQVIHU OHGJHUV DV RI WKH FORVH RI EXVLQHVV RQ WKH 'LVWULEXWLRQ 5HFRUG 'DWH
 LUUHVSHFWLYHRIWKHQXPEHURIGLVWULEXWLRQVWREHPDGHXQGHUWKLV3ODQWRVXFK3HUVRQVRUWKHGDWH
 RIVXFKGLVWULEXWLRQV

 %     'LVWULEXWLRQ$JHQW

        ([FHSWDVSURYLGHGKHUHLQDOOGLVWULEXWLRQVXQGHUWKLV3ODQVKDOOEHPDGHE\WKH&ODLPDQW
 7UXVWHHDV'LVWULEXWLRQ$JHQWRUE\VXFKRWKHU(QWLW\GHVLJQDWHGE\WKH&ODLPDQW7UXVWHHDVD
 'LVWULEXWLRQ $JHQW RQ WKH (IIHFWLYH 'DWH RU WKHUHDIWHU  7KH 5HRUJDQL]HG 'HEWRU ZLOO EH WKH
 'LVWULEXWLRQ$JHQWZLWKUHVSHFWWR&ODLPVLQ&ODVVWKURXJK&ODVV




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         7KH&ODLPDQW7UXVWHHRUVXFKRWKHU(QWLW\GHVLJQDWHGE\WKH&ODLPDQW7UXVWHHWREHWKH
 'LVWULEXWLRQ $JHQW VKDOO QRW EH UHTXLUHG WR JLYH DQ\ ERQG RU VXUHW\ RU RWKHU VHFXULW\ IRU WKH
 SHUIRUPDQFH RI VXFK 'LVWULEXWLRQ $JHQW¶V GXWLHV XQOHVV RWKHUZLVH RUGHUHG E\ WKH %DQNUXSWF\
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         7KH 'LVWULEXWLRQ $JHQW VKDOO EH HPSRZHUHG WR D  HIIHFW DOO DFWLRQV DQG H[HFXWH DOO
 DJUHHPHQWV LQVWUXPHQWV DQG RWKHU GRFXPHQWV QHFHVVDU\ WR SHUIRUP LWV GXWLHV XQGHU WKLV 3ODQ
  E PDNH DOO GLVWULEXWLRQV FRQWHPSODWHG KHUHE\ F  HPSOR\ SURIHVVLRQDOV WR UHSUHVHQW LW ZLWK
 UHVSHFW WR LWV UHVSRQVLELOLWLHV DQG G  H[HUFLVH VXFK RWKHU SRZHUV DV PD\ EH YHVWHG LQ WKH
 'LVWULEXWLRQ$JHQWE\RUGHURIWKH%DQNUXSWF\&RXUWSXUVXDQWWRWKLV3ODQRUDVGHHPHGE\WKH
 'LVWULEXWLRQ$JHQWWREHQHFHVVDU\DQGSURSHUWRLPSOHPHQWWKHSURYLVLRQVKHUHRI

         7KH'LVWULEXWLRQ$JHQWVKDOOQRWKDYHDQ\REOLJDWLRQWRPDNHDSDUWLFXODUGLVWULEXWLRQWRD
 VSHFLILF+ROGHURIDQ$OORZHG&ODLPLIVXFK+ROGHULVDOVRWKH+ROGHURID'LVSXWHG&ODLP

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        'LVWULEXWLRQVRI&DVKPD\EHPDGHE\ZLUHWUDQVIHUIURPDGRPHVWLFEDQNH[FHSWWKDW&DVK
 SD\PHQWV PDGH WR IRUHLJQ FUHGLWRUV PD\ EH PDGH LQ VXFK IXQGV DQG E\ VXFK PHDQV DV WKH
 'LVWULEXWLRQ$JHQWGHWHUPLQHVDUHQHFHVVDU\RUFXVWRPDU\LQDSDUWLFXODUIRUHLJQMXULVGLFWLRQ

 '     'LVSXWHG&ODLPV5HVHUYH

        2QRUSULRUWRWKH,QLWLDO'LVWULEXWLRQ'DWHWKH&ODLPDQW7UXVWHHVKDOOHVWDEOLVKIXQGDQG
 PDLQWDLQWKH'LVSXWHG&ODLPV5HVHUYH V LQWKHDSSURSULDWH'LVSXWHG&ODLPV5HVHUYH$PRXQWVRQ
 DFFRXQWRIDQ\'LVSXWHG&ODLPV

 (     'LVWULEXWLRQVIURPWKH'LVSXWHG&ODLPV5HVHUYH

           7KH'LVSXWHG&ODLPV5HVHUYHVKDOODWDOOWLPHVKROG&DVKLQDQDPRXQWQROHVVWKDQWKH
 'LVSXWHG&ODLPV5HVHUYH$PRXQW7RWKHH[WHQWD'LVSXWHG&ODLPEHFRPHVDQ$OORZHG&ODLP
 SXUVXDQW WR WKH WHUPV RI WKLV 3ODQ ZLWKLQ  GD\V RI WKH GDWH RQ ZKLFK VXFK 'LVSXWHG &ODLP
 EHFRPHVDQ$OORZHG&ODLPSXUVXDQWWRWKHWHUPVRIWKLV3ODQWKH&ODLPDQW7UXVWHHVKDOOGLVWULEXWH
 IURPWKH'LVSXWHG&ODLPV5HVHUYHWRWKH+ROGHUWKHUHRIDQ\SULRUGLVWULEXWLRQVLQ&DVKWKDWZRXOG
 KDYHEHHQPDGHWRVXFK$OORZHG&ODLPLILWKDGEHHQ$OORZHGDVRIWKH(IIHFWLYH'DWH)RUWKH
 DYRLGDQFH RI GRXEW HDFK +ROGHU RI D 'LVSXWHG &ODLP WKDW VXEVHTXHQWO\ EHFRPHV DQ $OORZHG
 &ODLPZLOODOVRUHFHLYHLWV3UR5DWDVKDUHRIWKH&ODLPDQW7UXVW,QWHUHVWV,IXSRQWKHUHVROXWLRQ
 RI DOO 'LVSXWHG &ODLPV DQ\ &DVK UHPDLQV LQ WKH 'LVSXWHG &ODLPV 5HVHUYH VXFK &DVK VKDOO EH
 WUDQVIHUUHGWRWKH&ODLPDQW7UXVWDQGEHGHHPHGD&ODLPDQW7UXVW$VVHW

 )     5RXQGLQJRI3D\PHQWV

         :KHQHYHUWKLV3ODQZRXOGRWKHUZLVHFDOOIRUZLWKUHVSHFWWRDSDUWLFXODU3HUVRQSD\PHQW
 RIDIUDFWLRQRIDGROODUWKHDFWXDOSD\PHQWRUGLVWULEXWLRQVKDOOUHIOHFWDURXQGLQJRIVXFKIUDFWLRQ
 WRWKHQHDUHVWZKROHGROODU XSRUGRZQ ZLWKKDOIGROODUVEHLQJURXQGHGGRZQ7RWKHH[WHQWWKDW
 &DVK WR EH GLVWULEXWHG XQGHU WKLV 3ODQ UHPDLQV XQGLVWULEXWHG DV D UHVXOW RI WKH DIRUHPHQWLRQHG
 URXQGLQJVXFK&DVKRUVWRFNVKDOOEHWUHDWHGDV³8QFODLPHG3URSHUW\´XQGHUWKLV3ODQ




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 *     De Minimis'LVWULEXWLRQ

          ([FHSWDVWRDQ\$OORZHG&ODLPWKDWLV8QLPSDLUHGXQGHUWKLV3ODQQRQHRIWKH'HEWRU
 WKH 5HRUJDQL]HG 'HEWRU RU WKH 'LVWULEXWLRQ $JHQW VKDOO KDYH DQ\ REOLJDWLRQ WR PDNH DQ\ 3ODQ
 'LVWULEXWLRQVZLWKDYDOXHRIOHVVWKDQXQOHVVDZULWWHQUHTXHVWWKHUHIRULVUHFHLYHGE\WKH
 'LVWULEXWLRQ$JHQWIURPWKHUHOHYDQWUHFLSLHQWDWWKHDGGUHVVHVVHWIRUWKLQ$57,&/(9,-KHUHRI
 ZLWKLQGD\VDIWHUWKHODWHURIWKH L (IIHFWLYH'DWHDQG LL WKHGDWHVXFK&ODLPEHFRPHVDQ
 $OORZHG&ODLPDe minimisGLVWULEXWLRQVIRUZKLFKQRVXFKUHTXHVWLVWLPHO\UHFHLYHGVKDOOUHYHUW
 WR WKH &ODLPDQW 7UXVW  8SRQ VXFK UHYHUVLRQ WKH UHOHYDQW $OORZHG &ODLP DQG DQ\ &ODLP RQ
 DFFRXQWRIPLVVHGGLVWULEXWLRQV VKDOOEHDXWRPDWLFDOO\GHHPHGVDWLVILHGGLVFKDUJHGDQGIRUHYHU
 EDUUHGQRWZLWKVWDQGLQJDQ\IHGHUDORUVWDWHHVFKHDWODZVWRWKHFRQWUDU\

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           ([FHSWDVRWKHUZLVHDJUHHGE\WKH+ROGHURIDSDUWLFXODU&ODLPRUDVSURYLGHGLQWKLV3ODQ
 DOO GLVWULEXWLRQV VKDOO EH PDGH SXUVXDQW WR WKH WHUPV RI WKLV 3ODQ DQG WKH &RQILUPDWLRQ 2UGHU
 ([FHSWDVRWKHUZLVHSURYLGHGLQWKLV3ODQGLVWULEXWLRQVWRDQ\+ROGHURIDQ$OORZHG&ODLPVKDOO
 WRWKHH[WHQWDSSOLFDEOHEHDOORFDWHGILUVWWRWKHSULQFLSDODPRXQWRIDQ\VXFK$OORZHG&ODLPDV
 GHWHUPLQHGIRU86IHGHUDOLQFRPHWD[SXUSRVHVDQGWKHQWRWKHH[WHQWWKHFRQVLGHUDWLRQH[FHHGV
 VXFKDPRXQWWRWKHUHPDLQGHURIVXFK&ODLPFRPSULVLQJDFFUXHGEXWXQSDLGLQWHUHVWLIDQ\ EXW
 VROHO\WRWKHH[WHQWWKDWLQWHUHVWLVDQDOORZDEOHSRUWLRQRIVXFK$OORZHG&ODLP 

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         7KH 'LVWULEXWLRQ $JHQW VKDOO PDNH DOO GLVWULEXWLRQV RI &DVK RU RWKHU SURSHUW\ UHTXLUHG
 XQGHUWKLV3ODQXQOHVVWKLV3ODQVSHFLILFDOO\SURYLGHVRWKHUZLVH$OO&DVKDQGRWKHUSURSHUW\KHOG
 E\ WKH 'HEWRU WKH 5HRUJDQL]HG 'HEWRU RU WKH &ODLPDQW 7UXVW DV DSSOLFDEOH IRU XOWLPDWH
 GLVWULEXWLRQXQGHUWKLV3ODQVKDOOQRWEHVXEMHFWWRDQ\FODLPE\DQ\3HUVRQ

 -     $GGUHVVIRU'HOLYHU\RI'LVWULEXWLRQV

         'LVWULEXWLRQVWR+ROGHUVRI$OORZHG&ODLPVWRWKHH[WHQWSURYLGHG IRUXQGHUWKLV3ODQ
 VKDOOEHPDGH  DWWKHDGGUHVVHVVHWIRUWKLQDQ\ZULWWHQQRWLFHVRIDGGUHVVFKDQJHGHOLYHUHGWR
 WKH'HEWRUDQGWKH'LVWULEXWLRQ$JHQW  DWWKHDGGUHVVVHWIRUWKRQDQ\3URRIVRI&ODLP)LOHGE\
 VXFK+ROGHUV WRWKHH[WHQWVXFK3URRIVRI&ODLPDUH)LOHGLQWKH&KDSWHU&DVH   RU  DW
 WKHDGGUHVVHVLQWKH'HEWRU¶VERRNVDQGUHFRUGV

         ,IWKHUHLVDQ\FRQIOLFWRUGLVFUHSDQF\EHWZHHQWKHDGGUHVVHVVHWIRUWKLQ  WKURXJK  LQ
 WKHIRUHJRLQJVHQWHQFHWKHQ L WKHDGGUHVVLQ6HFWLRQ  VKDOOFRQWURO LL LI  GRHVQRWDSSO\
 WKHDGGUHVVLQ  VKDOOFRQWURODQG LLL LI  GRHVQRWDSSO\WKHDGGUHVVLQ  VKDOOFRQWURO

 .     8QGHOLYHUDEOH'LVWULEXWLRQVDQG8QFODLPHG3URSHUW\

         ,I WKH GLVWULEXWLRQ WR WKH +ROGHU RI DQ\ $OORZHG &ODLP LV UHWXUQHG WR WKH 5HRUJDQL]HG
 'HEWRURUWKH&ODLPDQW7UXVWDVXQGHOLYHUDEOHQRIXUWKHUGLVWULEXWLRQVKDOOEHPDGHWRVXFK+ROGHU
 DQG'LVWULEXWLRQ$JHQWVKDOOQRWKDYHDQ\REOLJDWLRQWRPDNHDQ\IXUWKHUGLVWULEXWLRQWRWKH+ROGHU
 XQOHVVDQGXQWLOWKH'LVWULEXWLRQ$JHQWLVQRWLILHGLQZULWLQJRIVXFK+ROGHU¶VWKHQFXUUHQWDGGUHVV




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         $Q\ (QWLW\ WKDW IDLOV WR FODLP DQ\ &DVK ZLWKLQ VL[ PRQWKV IURPWKH GDWH XSRQ ZKLFK D
 GLVWULEXWLRQLVILUVWPDGHWRVXFK(QWLW\VKDOOIRUIHLWDOOULJKWVWRDQ\GLVWULEXWLRQXQGHUWKLV3ODQ
 DQG VXFK &DVK VKDOO WKHUHDIWHU EH GHHPHG DQ &ODLPDQW 7UXVW $VVHW LQ DOO UHVSHFWV DQG IRU DOO
 SXUSRVHV(QWLWLHVWKDWIDLOWRFODLP&DVKVKDOOIRUIHLWWKHLUULJKWVWKHUHWRDQGVKDOOKDYHQRFODLP
 ZKDWVRHYHUDJDLQVWWKH'HEWRU¶V(VWDWHWKH5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVWRUDJDLQVW
 DQ\+ROGHURIDQ$OORZHG&ODLPWRZKRPGLVWULEXWLRQVDUHPDGHE\WKH'LVWULEXWLRQ$JHQW

 /     :LWKKROGLQJ7D[HV

         ,QFRQQHFWLRQZLWKWKLV3ODQWRWKHH[WHQWDSSOLFDEOHWKH'LVWULEXWLRQ$JHQWVKDOOFRPSO\
 ZLWKDOOWD[ZLWKKROGLQJDQGUHSRUWLQJUHTXLUHPHQWVLPSRVHGRQWKHPE\DQ\*RYHUQPHQWDO8QLW
 DQGDOOGLVWULEXWLRQVPDGHSXUVXDQWWRWKLV3ODQVKDOOEHVXEMHFWWRVXFKZLWKKROGLQJDQGUHSRUWLQJ
 UHTXLUHPHQWV7KH'LVWULEXWLRQ$JHQWVKDOOEHHQWLWOHGWRGHGXFWDQ\86IHGHUDOVWDWHRUORFDO
 ZLWKKROGLQJWD[HVIURPDQ\&DVKSD\PHQWVPDGHZLWKUHVSHFWWR$OORZHG&ODLPVDVDSSURSULDWH
 $VDFRQGLWLRQWRUHFHLYLQJDQ\GLVWULEXWLRQXQGHUWKLV3ODQWKH'LVWULEXWLRQ$JHQWPD\UHTXLUH
 WKDWWKH+ROGHURIDQ$OORZHG&ODLPHQWLWOHGWRUHFHLYHDGLVWULEXWLRQSXUVXDQWWRWKLV3ODQSURYLGH
 VXFK+ROGHU¶VWD[SD\HULGHQWLILFDWLRQQXPEHUDQGVXFKRWKHULQIRUPDWLRQDQGFHUWLILFDWLRQDVPD\
 EH GHHPHG QHFHVVDU\ IRU WKH 'LVWULEXWLRQ $JHQW WR FRPSO\ ZLWK DSSOLFDEOH WD[ UHSRUWLQJ DQG
 ZLWKKROGLQJODZV,ID+ROGHUIDLOVWRFRPSO\ZLWKVXFKDUHTXHVWZLWKLQRQH\HDUVXFKGLVWULEXWLRQ
 VKDOOEHGHHPHGDQXQFODLPHGGLVWULEXWLRQ$Q\DPRXQWVZLWKKHOGSXUVXDQWKHUHWRVKDOOEHGHHPHG
 WRKDYHEHHQGLVWULEXWHGWRDQGUHFHLYHGE\WKHDSSOLFDEOHUHFLSLHQWIRUDOOSXUSRVHVRIWKLV3ODQ

 0     6HWRIIV

         7KH'LVWULEXWLRQ$JHQWPD\WRWKHH[WHQWSHUPLWWHGXQGHUDSSOLFDEOHODZVHWRIIDJDLQVW
 DQ\ $OORZHG &ODLP DQG DQ\ GLVWULEXWLRQVWREH PDGHSXUVXDQWWRWKLV3ODQRQ DFFRXQWRIVXFK
 $OORZHG &ODLP WKH FODLPV ULJKWV DQG FDXVHV RI DFWLRQ RI DQ\ QDWXUH WKDW WKH 'HEWRU WKH
 5HRUJDQL]HG'HEWRURUWKH'LVWULEXWLRQ$JHQWPD\KROGDJDLQVWWKH+ROGHURIVXFK$OORZHG&ODLP
 WKDWDUHQRWRWKHUZLVHZDLYHGUHOHDVHGRUFRPSURPLVHGLQDFFRUGDQFHZLWKWKLV3ODQprovided,
 howeverWKDWQHLWKHUVXFKDVHWRIIQRUWKHDOORZDQFHRIDQ\&ODLPKHUHXQGHUVKDOOFRQVWLWXWHD
 ZDLYHU RU UHOHDVHE\WKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHRIDQ\ VXFK
 FODLPVULJKWVDQGFDXVHVRIDFWLRQWKDWWKH'HEWRUWKH5HRUJDQL]HG'HEWRURU&ODLPDQW7UXVWHH
 SRVVHVVHVDJDLQVWVXFK+ROGHU$Q\+ROGHURIDQ$OORZHG&ODLPVXEMHFWWRVXFKVHWRIIUHVHUYHV
 WKHULJKWWRFKDOOHQJHDQ\VXFKVHWRIILQWKH%DQNUXSWF\&RXUWRUDQ\RWKHUFRXUWZLWKMXULVGLFWLRQ
 ZLWKUHVSHFWWRVXFKFKDOOHQJH

 1     6XUUHQGHURI&DQFHOOHG,QVWUXPHQWVRU6HFXULWLHV

        $VDFRQGLWLRQSUHFHGHQWWRUHFHLYLQJDQ\GLVWULEXWLRQSXUVXDQWWRWKLV3ODQRQDFFRXQWRI
 DQ$OORZHG&ODLPHYLGHQFHGE\QHJRWLDEOHLQVWUXPHQWVVHFXULWLHVRUQRWHVFDQFHOHGSXUVXDQWWR
 $57,&/( ,9 RI WKLV 3ODQ WKH +ROGHU RI VXFK &ODLP ZLOO WHQGHU WKH DSSOLFDEOH QHJRWLDEOH
 LQVWUXPHQWV VHFXULWLHV RU QRWHV HYLGHQFLQJ VXFK &ODLP RU D VZRUQ DIILGDYLW LGHQWLI\LQJ WKH
 QHJRWLDEOHLQVWUXPHQWVVHFXULWLHVRUQRWHVIRUPHUO\KHOGE\VXFK+ROGHUDQGFHUWLI\LQJWKDWWKH\
 KDYHEHHQORVW WRWKH'LVWULEXWLRQ$JHQWXQOHVVZDLYHGLQZULWLQJE\WKH'LVWULEXWLRQ$JHQW




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 2     /RVW6WROHQ0XWLODWHGRU'HVWUR\HG6HFXULWLHV

          ,QDGGLWLRQWRDQ\UHTXLUHPHQWVXQGHUDQ\DSSOLFDEOHDJUHHPHQWDQGDSSOLFDEOHODZDQ\
 +ROGHURID&ODLPRU(TXLW\,QWHUHVWHYLGHQFHGE\DVHFXULW\RUQRWHWKDWKDVEHHQORVWVWROHQ
 PXWLODWHGRUGHVWUR\HGZLOOLQOLHXRIVXUUHQGHULQJVXFKVHFXULW\RUQRWHWRWKHH[WHQWUHTXLUHGE\
 WKLV3ODQGHOLYHUWRWKH'LVWULEXWLRQ$JHQW L HYLGHQFHUHDVRQDEO\VDWLVIDFWRU\WRWKH'LVWULEXWLRQ
 $JHQWRIVXFKORVVWKHIWPXWLODWLRQRUGHVWUXFWLRQDQG LL VXFKVHFXULW\RULQGHPQLW\DVPD\EH
 UHTXLUHGE\WKH'LVWULEXWLRQ$JHQWWRKROGVXFKSDUW\KDUPOHVVIURPDQ\GDPDJHVOLDELOLWLHVRU
 FRVWV LQFXUUHG LQ WUHDWLQJ VXFK LQGLYLGXDO DV D +ROGHU RI DQ $OORZHG &ODLP RU (TXLW\ ,QWHUHVW
 8SRQFRPSOLDQFHZLWK$57,&/(9,2RIWKLV3ODQDVGHWHUPLQHGE\WKH'LVWULEXWLRQ$JHQWE\D
 +ROGHURID&ODLPHYLGHQFHGE\DVHFXULW\RUQRWHVXFK+ROGHUZLOOIRUDOOSXUSRVHVXQGHUWKLV
 3ODQEHGHHPHGWRKDYHVXUUHQGHUHGVXFKVHFXULW\RUQRWHWRWKH'LVWULEXWLRQ$JHQW

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                         352&('85(6)255(62/9,1*&217,1*(17
                           81/,48,'$7('$1'',6387('&/$,06

 $     )LOLQJRI3URRIVRI&ODLP

        8QOHVVVXFK&ODLPDSSHDUHGLQWKH6FKHGXOHVDQGLVQRWOLVWHGDVGLVSXWHGFRQWLQJHQWRU
 XQOLTXLGDWHG RU VXFK &ODLP KDV RWKHUZLVH EHHQ $OORZHG RU SDLG HDFK +ROGHU RI D &ODLP ZDV
 UHTXLUHGWRILOHD3URRIRI&ODLPRQRUSULRUWRWKH%DU'DWH

 %     'LVSXWHG&ODLPV

          )ROORZLQJWKH(IIHFWLYH'DWHHDFKRIWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDV
 DSSOLFDEOHPD\)LOHZLWKWKH%DQNUXSWF\&RXUWDQREMHFWLRQWRWKHDOORZDQFHRIDQ\'LVSXWHG
 &ODLP RU 'LVSXWHG (TXLW\ ,QWHUHVW UHTXHVW WKH %DQNUXSWF\ &RXUW VXERUGLQDWH DQ\ &ODLPV WR
 6XERUGLQDWHG&ODLPVRUDQ\RWKHUDSSURSULDWHPRWLRQRUDGYHUVDU\SURFHHGLQJZLWKUHVSHFWWRWKH
 IRUHJRLQJE\WKH&ODLPV2EMHFWLRQ'HDGOLQHRUDWWKHGLVFUHWLRQRIWKH5HRUJDQL]HG'HEWRURU
 &ODLPDQW7UXVWHHDVDSSOLFDEOHFRPSURPLVHGVHWWOHGZLWKGUHZRUUHVROYHGZLWKRXWIXUWKHURUGHU
 RI WKH %DQNUXSWF\ &RXUW DQG LL  XQOHVV RWKHUZLVH SURYLGHG LQ WKH &RQILUPDWLRQ 2UGHU WKH
 5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWDVDSSOLFDEOHDUHDXWKRUL]HGWRVHWWOHRUZLWKGUDZDQ\
 REMHFWLRQV WR DQ\ 'LVSXWHG &ODLP RU 'LVSXWHG (TXLW\ ,QWHUHVWV IROORZLQJ WKH (IIHFWLYH 'DWH
 ZLWKRXWIXUWKHUQRWLFHWRFUHGLWRUV RWKHUWKDQWKH(QWLW\KROGLQJVXFK'LVSXWHG&ODLPRU'LVSXWHG
 (TXLW\,QWHUHVW RUDXWKRUL]DWLRQRIWKH%DQNUXSWF\&RXUWLQZKLFKHYHQWVXFK&ODLPRU(TXLW\
 ,QWHUHVWVKDOOEHGHHPHGWREHDQ$OORZHG&ODLPRU(TXLW\,QWHUHVWLQWKHDPRXQWFRPSURPLVHG
 IRUSXUSRVHVRIWKLV3ODQ

 &     3URFHGXUHV5HJDUGLQJ'LVSXWHG&ODLPVRU'LVSXWHG(TXLW\,QWHUHVWV

         1R SD\PHQW RU RWKHU GLVWULEXWLRQ RU WUHDWPHQW VKDOO EH PDGH RQ DFFRXQW RI D 'LVSXWHG
 &ODLPRU'LVSXWHG(TXLW\,QWHUHVWXQOHVVDQGXQWLOVXFK'LVSXWHG&ODLPRU'LVSXWHG(TXLW\,QWHUHVW
 EHFRPHVDQ$OORZHG&ODLPRU(TXLW\,QWHUHVWVDQGWKHDPRXQWRIVXFK$OORZHG&ODLPRU(TXLW\
 ,QWHUHVWDVDSSOLFDEOHLVGHWHUPLQHGE\RUGHURIWKH%DQNUXSWF\&RXUWRUE\VWLSXODWLRQEHWZHHQ
 WKH5HRUJDQL]HG'HEWRURU&ODLPDQW7UXVWDVDSSOLFDEOHDQGWKH+ROGHURIWKH&ODLPRU(TXLW\
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 '     $OORZDQFHRI&ODLPVDQG(TXLW\,QWHUHVWV

         )ROORZLQJWKHGDWHRQZKLFKD'LVSXWHG&ODLPRU'LVSXWHG(TXLW\,QWHUHVWEHFRPHVDQ
 $OORZHG&ODLPRU(TXLW\,QWHUHVWDIWHUWKH'LVWULEXWLRQ'DWHWKH'LVWULEXWLRQ$JHQWVKDOOPDNHD
 GLVWULEXWLRQWRWKH+ROGHURIVXFK$OORZHG&ODLPRU(TXLW\,QWHUHVWLQDFFRUGDQFHZLWKWKH3ODQ

              Allowance of Claims

         $IWHUWKH(IIHFWLYH'DWHDQGVXEMHFWWRWKHRWKHUSURYLVLRQVRIWKLV3ODQWKH5HRUJDQL]HG
 'HEWRU RU WKH &ODLPDQW 7UXVW DV DSSOLFDEOH ZLOO KDYH DQG ZLOO UHWDLQ DQ\ DQG DOO ULJKWV DQG
 GHIHQVHVXQGHUEDQNUXSWF\RUQRQEDQNUXSWF\ODZWKDWWKH'HEWRUKDGZLWKUHVSHFWWRDQ\&ODLP
 ([FHSWDVH[SUHVVO\SURYLGHGLQWKLV3ODQRULQDQ\RUGHUHQWHUHGLQWKH&KDSWHU&DVHSULRUWR
 WKH (IIHFWLYH 'DWH LQFOXGLQJ ZLWKRXWOLPLWDWLRQWKH&RQILUPDWLRQ 2UGHU  QR &ODLP RU (TXLW\
 ,QWHUHVWZLOOEHFRPHDQ$OORZHG&ODLPRU(TXLW\,QWHUHVWXQOHVVDQGXQWLOVXFK&ODLPRU(TXLW\
 ,QWHUHVWLVGHHPHG$OORZHGXQGHUWKLV3ODQRUWKH%DQNUXSWF\&RGHRUWKH%DQNUXSWF\&RXUWKDV
 HQWHUHGDQRUGHULQFOXGLQJZLWKRXWOLPLWDWLRQWKH&RQILUPDWLRQ2UGHULQWKH&KDSWHU&DVH
 DOORZLQJVXFK&ODLPRU(TXLW\,QWHUHVW

              Estimation

          6XEMHFWWRWKHRWKHUSURYLVLRQVRIWKLV3ODQWKH'HEWRUSULRUWRWKH(IIHFWLYH'DWHDQGWKH
 5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDVDSSOLFDEOHDIWHUWKH(IIHFWLYH'DWHPD\DWDQ\
 WLPH UHTXHVW WKDW WKH %DQNUXSWF\ &RXUW HVWLPDWH D  DQ\ 'LVSXWHG &ODLP RU 'LVSXWHG (TXLW\
 ,QWHUHVW SXUVXDQW WR DSSOLFDEOH ODZ DQG LQ DFFRUGDQFH ZLWK WKLV 3ODQ DQG E  DQ\ FRQWLQJHQW RU
 XQOLTXLGDWHG&ODLPSXUVXDQWWRDSSOLFDEOHODZLQFOXGLQJZLWKRXWOLPLWDWLRQVHFWLRQ F RIWKH
 %DQNUXSWF\&RGHDQGWKH%DQNUXSWF\&RXUWZLOOUHWDLQMXULVGLFWLRQXQGHU86&DQG
 WRHVWLPDWHDQ\'LVSXWHG&ODLPRU'LVSXWHG(TXLW\,QWHUHVWFRQWLQJHQW&ODLPRUXQOLTXLGDWHG
 &ODLPLQFOXGLQJGXULQJWKHOLWLJDWLRQFRQFHUQLQJDQ\REMHFWLRQWRDQ\&ODLPRU(TXLW\,QWHUHVWRU
 GXULQJ WKH SHQGHQF\ RI DQ\ DSSHDO UHODWLQJ WR DQ\ VXFK REMHFWLRQ  $OO RI WKH DIRUHPHQWLRQHG
 REMHFWLRQHVWLPDWLRQDQGUHVROXWLRQSURFHGXUHVDUHFXPXODWLYHDQGQRWH[FOXVLYHRIRQHDQRWKHU
 &ODLPVRU(TXLW\,QWHUHVWVPD\EHHVWLPDWHGDQGVXEVHTXHQWO\FRPSURPLVHGVHWWOHGZLWKGUDZQ
 RUUHVROYHGE\DQ\PHFKDQLVPDSSURYHGE\WKH%DQNUXSWF\&RXUW7KHULJKWVDQGREMHFWLRQVRI
 DOOSDUWLHVDUHUHVHUYHGLQFRQQHFWLRQZLWKDQ\VXFKHVWLPDWLRQSURFHHGLQJ

              Disallowance of Claims

         $Q\&ODLPVRU(TXLW\,QWHUHVWVKHOGE\(QWLWLHVIURPZKLFKSURSHUW\LVUHFRYHUDEOHXQGHU
 VHFWLRQV    RU  RI WKH %DQNUXSWF\ &RGH RU WKDW DUH D WUDQVIHUHH RI D WUDQVIHU
 DYRLGDEOH XQGHU VHFWLRQV  I   K       RU  D  RI WKH %DQNUXSWF\
 &RGHVKDOOEHGHHPHGGLVDOORZHGSXUVXDQWWRVHFWLRQ G RIWKH%DQNUXSWF\&RGHDQGKROGHUV
 RIVXFK&ODLPVRU,QWHUHVWVPD\QRWUHFHLYHDQ\GLVWULEXWLRQVRQDFFRXQWRIVXFK&ODLPVRU,QWHUHVWV
 XQWLOVXFKWLPHDVVXFK&DXVHVRI$FWLRQDJDLQVWWKDW(QWLW\KDYHEHHQVHWWOHGRUD%DQNUXSWF\
 &RXUW2UGHUZLWKUHVSHFWWKHUHWRKDVEHHQHQWHUHGDQGDOOVXPVGXHLIDQ\WRWKH5HRUJDQL]HG
 'HEWRURUWKH&ODLPDQW7UXVWDVDSSOLFDEOHE\WKDW(QWLW\KDYHEHHQWXUQHGRYHURUSDLGWRWKH
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 :,7+287 $1< )857+(5 127,&(7225 $&7,21 25'(5 25$33529$/ 2)
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        7KH(IIHFWLYH'DWHRIWKLV3ODQZLOOEHFRQGLWLRQHGXSRQWKHVDWLVIDFWLRQRUZDLYHUE\WKH
 'HEWRU DQGWRWKHH[WHQWVXFKFRQGLWLRQUHTXLUHVWKHFRQVHQWRIWKH&RPPLWWHHWKHFRQVHQWRIWKH
 &RPPLWWHH ZLWK VXFK FRQVHQW QRW WR EH XQUHDVRQDEO\ ZLWKKHOG  SXUVXDQW WR WKH SURYLVLRQV RI
 $57,&/(9,,,%RIWKLV3ODQRIWKHIROORZLQJ

         x 7KLV3ODQDQGWKH3ODQ'RFXPHQWVLQFOXGLQJWKH&ODLPDQW7UXVW$JUHHPHQWDQGWKH
            5HRUJDQL]HG /LPLWHG 3DUWQHUVKLS $JUHHPHQW DQG DOO VFKHGXOHV GRFXPHQWV
            VXSSOHPHQWV DQG H[KLELWV WR WKLV 3ODQ VKDOO KDYH EHHQ )LOHG LQ IRUP DQG VXEVWDQFH
            UHDVRQDEO\DFFHSWDEOHWRWKH'HEWRUDQGWKH&RPPLWWHH

         x 7KH &RQILUPDWLRQ 2UGHU VKDOO KDYH EHFRPH D )LQDO 2UGHU DQG VKDOO EH LQ IRUP DQG
            VXEVWDQFHUHDVRQDEO\DFFHSWDEOHWRWKH'HEWRUDQGWKH&RPPLWWHH7KH&RQILUPDWLRQ
            2UGHUVKDOOSURYLGHWKDWDPRQJRWKHUWKLQJV L WKH'HEWRUWKH5HRUJDQL]HG'HEWRU
            WKH &ODLPDQW 7UXVWHH RU WKH /LWLJDWLRQ 7UXVWHH DUH DXWKRUL]HG WR WDNH DOO DFWLRQV
            QHFHVVDU\RUDSSURSULDWHWR HIIHFWXDWH DQG FRQVXPPDWH WKLV3ODQLQFOXGLQJZLWKRXW
            OLPLWDWLRQ D  HQWHULQJ LQWR LPSOHPHQWLQJ HIIHFWXDWLQJ DQG FRQVXPPDWLQJ WKH
            FRQWUDFWV LQVWUXPHQWV UHOHDVHV DQG RWKHU DJUHHPHQWV RU GRFXPHQWV FUHDWHG LQ
            FRQQHFWLRQZLWKRUGHVFULEHGLQWKLV3ODQ E DVVXPLQJWKH([HFXWRU\&RQWUDFWVDQG
            8QH[SLUHG/HDVHVVHWIRUWKLQ WKH3ODQ 6XSSOHPHQW F  PDNLQJ DOOGLVWULEXWLRQV DQG
            LVVXDQFHVDVUHTXLUHGXQGHUWKLV3ODQDQG G HQWHULQJLQWRDQ\WUDQVDFWLRQVDVVHWIRUWK
            LQWKH3ODQ'RFXPHQWV LL WKHSURYLVLRQVRIWKH&RQILUPDWLRQ2UGHUDQGWKLV3ODQDUH
            QRQVHYHUDEOH DQG PXWXDOO\ GHSHQGHQW LLL  WKH LPSOHPHQWDWLRQ RI WKLV 3ODQ LQ
            DFFRUGDQFHZLWKLWVWHUPVLVDXWKRUL]HG LY SXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\
            &RGHWKHGHOLYHU\RIDQ\GHHGRURWKHULQVWUXPHQWRUWUDQVIHURUGHULQIXUWKHUDQFHRI
            RU LQ FRQQHFWLRQ ZLWK WKLV 3ODQ LQFOXGLQJ DQ\ GHHGV ELOOV RI VDOH RU DVVLJQPHQWV
            H[HFXWHGLQFRQQHFWLRQZLWKDQ\GLVSRVLWLRQRUWUDQVIHURI$VVHWVFRQWHPSODWHGXQGHU
            WKLV3ODQVKDOOQRWEHVXEMHFWWRDQ\6WDPSRU6LPLODU7D[DQG Y WKHYHVWLQJRIWKH
            &ODLPDQW7UXVW$VVHWVLQWKH&ODLPDQW7UXVWDQGWKH5HRUJDQL]HG'HEWRU$VVHWVLQWKH
            5HRUJDQL]HG'HEWRULQHDFKFDVHDVRIWKH(IIHFWLYH'DWHIUHHDQGFOHDURIOLHQVDQG
            FODLPVWRWKHIXOOHVWH[WHQWSHUPLVVLEOHXQGHUDSSOLFDEOHODZSXUVXDQWWRVHFWLRQ F 
            RIWKH%DQNUXSWF\&RGHH[FHSWZLWKUHVSHFWWRVXFK/LHQV&ODLPVFKDUJHVDQGRWKHU
            HQFXPEUDQFHVWKDWDUHVSHFLILFDOO\SUHVHUYHGXQGHUWKLV3ODQXSRQWKH(IIHFWLYH'DWH

         x $OO GRFXPHQWV DQG DJUHHPHQWV QHFHVVDU\ WR LPSOHPHQW WKLV 3ODQ LQFOXGLQJ ZLWKRXW
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             $JUHHPHQW DQG WKH 1HZ *3 //& 'RFXPHQWV LQ HDFK FDVH LQ IRUP DQG VXEVWDQFH
             UHDVRQDEO\DFFHSWDEOHWRWKH'HEWRUDQGWKH&RPPLWWHHVKDOOKDYH D EHHQWHQGHUHG
             IRUGHOLYHU\DQG E EHHQHIIHFWHGE\H[HFXWHGE\RURWKHUZLVHGHHPHGELQGLQJXSRQ
             DOO(QWLWLHVSDUW\WKHUHWRDQGVKDOOEHLQIXOOIRUFHDQGHIIHFW$OOFRQGLWLRQVSUHFHGHQW
             WRVXFKGRFXPHQWVDQGDJUHHPHQWVVKDOOKDYHEHHQVDWLVILHGRUZDLYHGSXUVXDQWWRWKH
             WHUPVRIVXFKGRFXPHQWVRUDJUHHPHQWV

         x $OO DXWKRUL]DWLRQV FRQVHQWV DFWLRQV GRFXPHQWV DSSURYDOV LQFOXGLQJ DQ\
            JRYHUQPHQWDODSSURYDOV FHUWLILFDWHVDQGDJUHHPHQWVQHFHVVDU\WRLPSOHPHQWWKLV3ODQ
            LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WKH 5HRUJDQL]HG /LPLWHG 3DUWQHUVKLS $JUHHPHQW WKH
            &ODLPDQW 7UXVW $JUHHPHQW DQG WKH 1HZ *3 //& 'RFXPHQWV VKDOO KDYH EHHQ
            REWDLQHGHIIHFWHGRUH[HFXWHGDQGGHOLYHUHGWRWKHUHTXLUHGSDUWLHVDQGWRWKHH[WHQW
            UHTXLUHGILOHGZLWKWKHDSSOLFDEOHJRYHUQPHQWDOXQLWVLQDFFRUGDQFHZLWKDSSOLFDEOH
            ODZVDQGDQ\DSSOLFDEOHZDLWLQJSHULRGVVKDOOKDYHH[SLUHGZLWKRXWDQ\DFWLRQEHLQJ
            WDNHQ RU WKUHDWHQHG E\ DQ\ FRPSHWHQW DXWKRULW\ WKDW ZRXOG UHVWUDLQ RU SUHYHQW
            HIIHFWLYHQHVVRUFRQVXPPDWLRQRIWKH5HVWUXFWXULQJ

         x 7KH'HEWRUVKDOOKDYHREWDLQHGDSSOLFDEOHGLUHFWRUV¶DQGRIILFHUV¶LQVXUDQFHFRYHUDJH
            WKDWLVDFFHSWDEOHWRHDFKRIWKH'HEWRUWKH&RPPLWWHHWKH&ODLPDQW7UXVW2YHUVLJKW
            &RPPLWWHHWKH&ODLPDQW7UXVWHHDQGWKH/LWLJDWLRQ7UXVWHH

         x 7KH 3URIHVVLRQDO )HH 5HVHUYH VKDOO EH IXQGHG SXUVXDQW WR WKLV 3ODQ LQ DQ DPRXQW
            GHWHUPLQHGE\WKH'HEWRULQJRRGIDLWK

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          7KHFRQGLWLRQVWRHIIHFWLYHQHVVRIWKLV3ODQVHWIRUWKLQWKLV$57,&/(9,,, RWKHUWKDQWKDW
 WKH&RQILUPDWLRQ2UGHUVKDOOKDYHEHHQHQWHUHG PD\EHZDLYHGLQZKROHRULQSDUWE\WKH'HEWRU
  DQG WR WKH H[WHQW VXFK FRQGLWLRQ UHTXLUHV WKH FRQVHQW RI WKH &RPPLWWHH WKH FRQVHQW RI WKH
 &RPPLWWHH ZLWKRXWQRWLFHOHDYHRURUGHURIWKH%DQNUXSWF\&RXUWRUDQ\IRUPDODFWLRQRWKHU
 WKDQSURFHHGLQJWRFRQILUPRUHIIHFWXDWHWKLV3ODQ7KHIDLOXUHWRVDWLVI\RUZDLYHDFRQGLWLRQWR
 WKH(IIHFWLYH'DWHPD\EHDVVHUWHGE\WKH'HEWRUUHJDUGOHVVRIWKHFLUFXPVWDQFHVJLYLQJULVHWRWKH
 IDLOXUHRIVXFKFRQGLWLRQWREHVDWLVILHG7KHIDLOXUHRIWKH'HEWRUWRH[HUFLVHDQ\RIWKHIRUHJRLQJ
 ULJKWVZLOOQRWEHGHHPHGDZDLYHURIDQ\RWKHUULJKWVDQGHDFKULJKWZLOOEHGHHPHGDQRQJRLQJ
 ULJKWWKDWPD\EH DVVHUWHGDWDQ\WLPHE\WKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW
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         2QWKH(IIHFWLYH'DWHWKH&RPPLWWHHZLOOGLVVROYHDQGWKHPHPEHUVRIWKH&RPPLWWHH
 DQG WKH &RPPLWWHH¶V 3URIHVVLRQDOV ZLOO FHDVH WR KDYH DQ\ UROH DULVLQJ IURP RU UHODWLQJ WR WKH
 &KDSWHU  &DVH H[FHSW LQ FRQQHFWLRQ ZLWK ILQDO IHH DSSOLFDWLRQV RI 3URIHVVLRQDOV IRU VHUYLFHV
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 UHWDLQHGE\WKH&RPPLWWHHDQGWKHPHPEHUVWKHUHRIZLOOQRWEHHQWLWOHGWRDVVHUWDQ\IHHFODLPV
 IRUDQ\VHUYLFHVUHQGHUHGWRWKH&RPPLWWHHRUH[SHQVHVLQFXUUHGLQWKHVHUYLFHRIWKH&RPPLWWHH
 DIWHUWKH(IIHFWLYH'DWHH[FHSWIRUUHDVRQDEOHIHHVIRUVHUYLFHVUHQGHUHGDQGDFWXDODQGQHFHVVDU\
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 WKH(IIHFWLYH'DWHRUILOHGDQGVHUYHGDIWHUWKH(IIHFWLYH'DWHSXUVXDQWWRWKH3ODQ1RWKLQJLQWKH
 3ODQVKDOOSURKLELWRUOLPLWWKHDELOLW\RIWKH'HEWRU¶VRU&RPPLWWHH¶V3URIHVVLRQDOVWRUHSUHVHQW
 HLWKHURIWKH7UXVWHHVRUWREHFRPSHQVDWHGRUUHLPEXUVHGSHUWKH3ODQDQGWKH&ODLPDQW7UXVW
 $JUHHPHQWLQFRQQHFWLRQZLWKVXFKUHSUHVHQWDWLRQ

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         1RWZLWKVWDQGLQJ DQ\WKLQJ FRQWDLQHG LQ WKH 3ODQ WR WKH FRQWUDU\ WKH DOORZDQFH
 FODVVLILFDWLRQ DQG WUHDWPHQW RI DOO $OORZHG &ODLPV DQG (TXLW\ ,QWHUHVWV DQG WKHLU UHVSHFWLYH
 GLVWULEXWLRQVDQGWUHDWPHQWVXQGHUWKH3ODQVKDOOWDNHLQWRDFFRXQWWKHUHODWLYHSULRULW\DQGULJKWV
 RIWKH&ODLPVDQGWKH(TXLW\,QWHUHVWVLQHDFK&ODVVLQFRQQHFWLRQZLWKDQ\FRQWUDFWXDOOHJDODQG
 HTXLWDEOHVXERUGLQDWLRQULJKWVUHODWLQJWKHUHWRZKHWKHUDULVLQJXQGHUJHQHUDOSULQFLSOHVRIHTXLWDEOH
 VXERUGLQDWLRQVHFWLRQRIWKH%DQNUXSWF\&RGHRURWKHUZLVH

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         7RWKHIXOOHVWH[WHQWSURYLGHGXQGHUVHFWLRQ G  $ DQGRWKHUDSSOLFDEOHSURYLVLRQV
 RIWKH%DQNUXSWF\&RGHH[FHSWDVRWKHUZLVHH[SUHVVO\SURYLGHGE\WKLV3ODQRUWKH&RQILUPDWLRQ
 2UGHU DOO FRQVLGHUDWLRQ GLVWULEXWHG XQGHU WKLV 3ODQ ZLOO EH LQ H[FKDQJH IRU DQG LQ FRPSOHWH
 VDWLVIDFWLRQVHWWOHPHQWGLVFKDUJHDQGUHOHDVHRIDOO&ODLPVDQG(TXLW\,QWHUHVWVRIDQ\NLQGRU
 QDWXUHZKDWVRHYHUDJDLQVWWKH'HEWRURUDQ\RILWV$VVHWVRUSURSHUWLHVDQGUHJDUGOHVVRIZKHWKHU
 DQ\SURSHUW\ZLOOKDYHEHHQGLVWULEXWHGRUUHWDLQHGSXUVXDQWWRWKLV3ODQRQDFFRXQWRIVXFK&ODLPV
 RU (TXLW\ ,QWHUHVWV  ([FHSW DV RWKHUZLVH H[SUHVVO\ SURYLGHG E\ WKLV 3ODQ RU WKH &RQILUPDWLRQ
 2UGHUXSRQWKH(IIHFWLYH'DWHWKH'HEWRUDQGLWV(VWDWHZLOOEHGHHPHGGLVFKDUJHGDQGUHOHDVHG
 XQGHU DQG WR WKH IXOOHVW H[WHQW SURYLGHG XQGHU VHFWLRQ  G  $  DQG RWKHU DSSOLFDEOH
 SURYLVLRQVRIWKH%DQNUXSWF\&RGHIURPDQ\DQGDOO&ODLPVDQG(TXLW\,QWHUHVWVRIDQ\NLQGRU
 QDWXUH ZKDWVRHYHU LQFOXGLQJ EXW QRW OLPLWHG WR GHPDQGV DQG OLDELOLWLHV WKDW DURVH EHIRUH WKH
 &RQILUPDWLRQ'DWHDQGDOOGHEWVRIWKHNLQGVSHFLILHGLQVHFWLRQ J  K RU L RIWKH
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         6XEMHFWLQDOOUHVSHFWVWR$57,&/(;,,'RIWKLV3ODQWRWKHPD[LPXPH[WHQWSHUPLWWHG
 E\DSSOLFDEOHODZQR([FXOSDWHG3DUW\ZLOOKDYHRULQFXUDQGHDFK([FXOSDWHG3DUW\LVKHUHE\
 H[FXOSDWHG IURP DQ\ FODLP REOLJDWLRQ VXLW MXGJPHQW GDPDJH GHPDQG GHEW ULJKW &DXVH RI
 $FWLRQUHPHG\ORVVDQGOLDELOLW\IRUFRQGXFWRFFXUULQJRQRUDIWHUWKH3HWLWLRQ'DWHLQFRQQHFWLRQ
 ZLWKRUDULVLQJRXWRI L WKHILOLQJDQGDGPLQLVWUDWLRQRIWKH&KDSWHU&DVH LL WKHQHJRWLDWLRQ
 DQGSXUVXLWRIWKH'LVFORVXUH6WDWHPHQWWKH3ODQRUWKHVROLFLWDWLRQRIYRWHVIRURUFRQILUPDWLRQ
 RIWKH3ODQ LLL WKHIXQGLQJRUFRQVXPPDWLRQRIWKH3ODQ LQFOXGLQJWKH3ODQ6XSSOHPHQW RUDQ\
 UHODWHGDJUHHPHQWVLQVWUXPHQWVRURWKHUGRFXPHQWVWKHVROLFLWDWLRQRIYRWHVRQWKH3ODQWKHRIIHU
 LVVXDQFH DQG 3ODQ 'LVWULEXWLRQ RI DQ\ VHFXULWLHV LVVXHG RU WR EH LVVXHG SXUVXDQW WR WKH 3ODQ
 LQFOXGLQJWKH&ODLPDQW7UXVW,QWHUHVWVZKHWKHURUQRWVXFK3ODQ'LVWULEXWLRQVRFFXUIROORZLQJWKH
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 RU RPLVVLRQV WKDW FRQVWLWXWH EDG IDLWK IUDXG JURVV QHJOLJHQFH FULPLQDO PLVFRQGXFW RU ZLOOIXO
 PLVFRQGXFWRU E 6WUDQGRUDQ\(PSOR\HHRWKHUWKDQZLWKUHVSHFWWRDFWLRQVWDNHQE\VXFK(QWLWLHV
 IURP WKH GDWH RI DSSRLQWPHQW RI WKH ,QGHSHQGHQW 'LUHFWRUV WKURXJK WKH (IIHFWLYH 'DWH  7KLV
 H[FXOSDWLRQ VKDOO EH LQ DGGLWLRQ WR DQG QRW LQ OLPLWDWLRQ RI DOO RWKHU UHOHDVHV LQGHPQLWLHV
 H[FXOSDWLRQV DQ\ RWKHU DSSOLFDEOH ODZ RU UXOHV RU DQ\ RWKHU SURYLVLRQV RI WKLV 3ODQ LQFOXGLQJ
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 DEVROXWHO\XQFRQGLWLRQDOO\LUUHYRFDEO\DQGIRUHYHUUHOHDVHGDQGGLVFKDUJHGE\WKH'HEWRUDQG
 WKH (VWDWH LQ HDFK FDVH RQ EHKDOI RI WKHPVHOYHV DQG WKHLU UHVSHFWLYH VXFFHVVRUV DVVLJQV DQG
 UHSUHVHQWDWLYHVLQFOXGLQJEXWQRWOLPLWHGWRWKH&ODLPDQW7UXVWDQGWKH/LWLJDWLRQ6XE7UXVWIURP
 DQ\DQGDOO&DXVHVRI$FWLRQLQFOXGLQJDQ\GHULYDWLYHFODLPVDVVHUWHGRQEHKDOIRIWKH'HEWRU
 ZKHWKHUNQRZQRUXQNQRZQIRUHVHHQRUXQIRUHVHHQPDWXUHGRUXQPDWXUHGH[LVWLQJRUKHUHDIWHU
 DULVLQJLQODZHTXLW\FRQWUDFWWRUWRURWKHUZLVHWKDWWKH'HEWRURUWKH(VWDWHZRXOGKDYHEHHQ
 OHJDOO\HQWLWOHGWRDVVHUWLQWKHLURZQULJKW ZKHWKHULQGLYLGXDOO\RUFROOHFWLYHO\ RURQEHKDOIRI
 WKHKROGHURIDQ\&ODLPDJDLQVWRU,QWHUHVWLQD'HEWRURURWKHU3HUVRQ

         1RWZLWKVWDQGLQJDQ\WKLQJFRQWDLQHGKHUHLQWRWKHFRQWUDU\WKHIRUHJRLQJUHOHDVHGRHVQRW
 UHOHDVH L DQ\REOLJDWLRQVRIDQ\SDUW\XQGHUWKH3ODQRUDQ\GRFXPHQWLQVWUXPHQWRUDJUHHPHQW
 H[HFXWHGWRLPSOHPHQWWKH3ODQ LL WKHULJKWVRUREOLJDWLRQVRIDQ\FXUUHQWHPSOR\HHRIWKH'HEWRU
 XQGHU DQ\ HPSOR\PHQW DJUHHPHQW RU SODQ LLL  WKH ULJKWV RI WKH 'HEWRU ZLWK UHVSHFW WR DQ\
 FRQILGHQWLDOLW\SURYLVLRQVRUFRYHQDQWVUHVWULFWLQJFRPSHWLWLRQLQIDYRURIWKH'HEWRUXQGHUDQ\
 HPSOR\PHQW DJUHHPHQW ZLWK D FXUUHQW RU IRUPHU HPSOR\HH RI WKH 'HEWRU LY  DQ\ $YRLGDQFH
 $FWLRQVRU Y DQ\&DXVHVRI$FWLRQDULVLQJIURPZLOOIXOPLVFRQGXFWFULPLQDOPLVFRQGXFWDFWXDO
 IUDXGRUJURVVQHJOLJHQFHRIVXFKDSSOLFDEOH5HOHDVHG3DUW\DVGHWHUPLQHGE\)LQDO2UGHURIWKH
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          1RWZLWKVWDQGLQJ DQ\WKLQJ KHUHLQ WR WKH FRQWUDU\ DQ\ UHOHDVH SURYLGHG SXUVXDQW WR WKLV
 $57,&/(,;' L ZLWKUHVSHFWWRD6HQLRU(PSOR\HHLVFRQGLWLRQHGLQDOOUHVSHFWVRQ D VXFK
 6HQLRU(PSOR\HHH[HFXWLQJD6HQLRU(PSOR\HH6WLSXODWLRQRQRUSULRUWRWKH(IIHFWLYH'DWHDQG
  E WKHUHGXFWLRQRIVXFK6HQLRU(PSOR\HH¶V$OORZHG&ODLPDVVHWIRUWKLQWKH6HQLRU(PSOR\HH
 6WLSXODWLRQ VXFKDPRXQWWKH³5HGXFHG(PSOR\HH&ODLP´ DQG LL ZLWKUHVSHFWWRDQ\(PSOR\HH
 LQFOXGLQJD6HQLRU(PSOR\HHVKDOOEHGHHPHGQXOODQGYRLGDQGRIQRIRUFHDQGHIIHFW  LIWKHUH
 LV PRUH WKDQ RQH PHPEHU RI WKH &ODLPDQW 7UXVW 2YHUVLJKW &RPPLWWHH ZKR GRHV QRW UHSUHVHQW
 HQWLWLHVKROGLQJD'LVSXWHGRU$OORZHG&ODLP WKH³,QGHSHQGHQW0HPEHUV´ WKH&ODLPDQW7UXVWHH
 DQGWKH,QGHSHQGHQW0HPEHUVE\PDMRULW\YRWHGHWHUPLQHRU  LIWKHUHLVRQO\RQH,QGHSHQGHQW
 0HPEHUWKH,QGHSHQGHQW0HPEHUDIWHUGLVFXVVLRQZLWKWKH&ODLPDQW7UXVWHHGHWHUPLQHV LQHDFK
 FDVH DIWHU GLVFXVVLQJ ZLWK WKH IXOO &ODLPDQW 7UXVW 2YHUVLJKW &RPPLWWHH  WKDW VXFK (PSOR\HH
  UHJDUGOHVVRIZKHWKHUWKH(PSOR\HHLVWKHQFXUUHQWO\HPSOR\HGE\WKH'HEWRUWKH5HRUJDQL]HG
 'HEWRURUWKH&ODLPDQW7UXVWHH 

         x VXHVDWWHPSWVWRVXHRUWKUHDWHQVRUZRUNVZLWKRUDVVLVWVDQ\HQWLW\RUSHUVRQWRVXH
            DWWHPSWWRVXHRUWKUHDWHQWKH5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVWWKH/LWLJDWLRQ




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               6XE7UXVWRUDQ\RIWKHLUUHVSHFWLYHHPSOR\HHVRUDJHQWVRUDQ\5HOHDVHG3DUW\RQRU
               LQFRQQHFWLRQZLWKDQ\FODLPRUFDXVHRIDFWLRQDULVLQJSULRUWRWKH(IIHFWLYH'DWH

         x KDVWDNHQDQ\DFWLRQWKDWLPSDLUVRUKDUPVWKHYDOXHRIWKH&ODLPDQW7UXVW$VVHWVRU
            WKH5HRUJDQL]HG'HEWRU$VVHWVRU

         x     [ XSRQWKHUHTXHVWRIWKH&ODLPDQW7UXVWHHKDVIDLOHGWRSURYLGHUHDVRQDEOHDVVLVWDQFH
               LQJRRGIDLWKWRWKH&ODLPDQW7UXVWHHRUWKH5HRUJDQL]HG'HEWRUZLWKUHVSHFWWR  WKH
               PRQHWL]DWLRQRIWKH&ODLPDQW7UXVW$VVHWVRU5HRUJDQL]HG'HEWRU$VVHWVDVDSSOLFDEOH
               RU  WKHUHVROXWLRQRI&ODLPVRU \ KDVWDNHQDQ\DFWLRQWKDWLPSHGHVRUIUXVWUDWHV
               WKH&ODLPDQW7UXVWHHRUWKH5HRUJDQL]HG'HEWRUZLWKUHVSHFWWRDQ\RIWKHIRUHJRLQJ

 Provided, however,WKDWWKHUHOHDVHSURYLGHGSXUVXDQWWRWKLV$57,&/(,;'ZLOOYHVWDQGWKH
 (PSOR\HH ZLOO EH LQGHIHDVLEO\ UHOHDVHG SXUVXDQW WR WKLV $57,&/( ,;' LI VXFK (PSOR\HH¶V
 UHOHDVHKDVQRWEHHQGHHPHGQXOODQGYRLGDQGRIQRIRUFHDQGHIIHFWRQRUSULRUWRWKHGDWHWKDWLV
 WKHGDWHRIGLVVROXWLRQRIWKH&ODLPDQW7UXVWSXUVXDQWWRWKH&ODLPDQW7UXVW$JUHHPHQW

       %\ H[HFXWLQJ WKH 6HQLRU (PSOR\HH 6WLSXODWLRQ HPERG\LQJ WKLV UHOHDVH HDFK 6HQLRU
 (PSOR\HHDFNQRZOHGJHVDQGDJUHHVZLWKRXWOLPLWDWLRQWRWKHWHUPVRIWKLVUHOHDVHDQGWKHWROOLQJ
 DJUHHPHQWFRQWDLQHGLQWKH6HQLRU(PSOR\HH6WLSXODWLRQ

          7KHSURYLVLRQVRIWKLVUHOHDVHDQGWKHH[HFXWLRQRID6HQLRU(PSOR\HH6WLSXODWLRQZLOOQRW
 LQ DQ\ ZD\ SUHYHQW RU OLPLW DQ\ (PSOR\HH IURP L  SURVHFXWLQJ LWV &ODLPV LI DQ\ DJDLQVW WKH
 'HEWRU¶V(VWDWH LL GHIHQGLQJKLPRUKHUVHOIDJDLQVWDQ\FODLPVRUFDXVHVRIDFWLRQEURXJKWDJDLQVW
 WKH(PSOR\HHE\DWKLUGSDUW\RU LLL DVVLVWLQJRWKHUSHUVRQVLQGHIHQGLQJWKHPVHOYHVIURPDQ\
 (VWDWH&ODLPVEURXJKWE\WKH/LWLJDWLRQ7UXVWHH EXWRQO\ZLWKUHVSHFWWR(VWDWH&ODLPVEURXJKW
 E\WKH/LWLJDWLRQ7UXVWHHDQGQRWFROOHFWLRQRURWKHUDFWLRQVEURXJKWE\WKH&ODLPDQW7UXVWHH 

 (     3UHVHUYDWLRQRI5LJKWVRI$FWLRQ

               Maintenance of Causes of Action

          ([FHSWDVRWKHUZLVHSURYLGHGLQWKLV3ODQDIWHUWKH(IIHFWLYH'DWHWKH5HRUJDQL]HG'HEWRU
 RUWKH&ODLPDQW7UXVWZLOOUHWDLQDOOULJKWVWRFRPPHQFHSXUVXHOLWLJDWHRUVHWWOHDVDSSURSULDWH
 DQ\DQGDOO&DXVHVRI$FWLRQLQFOXGHGLQWKH5HRUJDQL]HG'HEWRU$VVHWVRU&ODLPDQW7UXVW$VVHWV
 DVDSSOLFDEOHZKHWKHUH[LVWLQJDVRIWKH3HWLWLRQ'DWHRUWKHUHDIWHUDULVLQJLQDQ\FRXUWRURWKHU
 WULEXQDOLQFOXGLQJZLWKRXWOLPLWDWLRQLQDQDGYHUVDU\SURFHHGLQJ)LOHGLQWKH&KDSWHU&DVH
 DQGDVWKHVXFFHVVRUVLQLQWHUHVWWRWKH'HEWRUDQGWKH(VWDWHPD\DQGZLOOKDYHWKHH[FOXVLYH
 ULJKW WR HQIRUFH VXH RQ VHWWOH FRPSURPLVH WUDQVIHU RU DVVLJQ RU GHFOLQH WR GR DQ\ RI WKH
 IRUHJRLQJ DQ\RUDOORIWKH&DXVHVRI$FWLRQZLWKRXWQRWLFHWRRUDSSURYDOIURPWKH%DQNUXSWF\
 &RXUW

               Preservation of All Causes of Action Not Expressly Settled or Released

          8QOHVVD&DXVHRI$FWLRQDJDLQVWD+ROGHURID&ODLPRUDQ(TXLW\,QWHUHVWRURWKHU(QWLW\
 LVH[SUHVVO\ZDLYHGUHOLQTXLVKHGUHOHDVHGFRPSURPLVHGRUVHWWOHGLQWKLV3ODQRUDQ\)LQDO2UGHU
  LQFOXGLQJZLWKRXWOLPLWDWLRQWKH&RQILUPDWLRQ2UGHU VXFK&DXVHRI$FWLRQLVH[SUHVVO\UHVHUYHG
 IRU ODWHU DGMXGLFDWLRQ E\ WKH 5HRUJDQL]HG 'HEWRU RU &ODLPDQW 7UXVW DV DSSOLFDEOH LQFOXGLQJ


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 ZLWKRXW OLPLWDWLRQ &DXVHV RI $FWLRQ QRW VSHFLILFDOO\ LGHQWLILHG RU RI ZKLFK WKH 'HEWRU PD\
 SUHVHQWO\ EH XQDZDUH RU WKDW PD\ DULVH RU H[LVW E\ UHDVRQ RI DGGLWLRQDO IDFWV RU FLUFXPVWDQFHV
 XQNQRZQWRWKH'HEWRUDWWKLVWLPHRUIDFWVRUFLUFXPVWDQFHVWKDWPD\FKDQJHRUEHGLIIHUHQWIURP
 WKRVHWKH'HEWRUQRZEHOLHYHVWRH[LVW DQGWKHUHIRUHQRSUHFOXVLRQGRFWULQHLQFOXGLQJZLWKRXW
 OLPLWDWLRQ WKH GRFWULQHV RI UHV MXGLFDWD FROODWHUDO HVWRSSHO LVVXH SUHFOXVLRQ FODLP SUHFOXVLRQ
 ZDLYHUHVWRSSHO MXGLFLDOHTXLWDEOHRURWKHUZLVH RUODFKHVZLOODSSO\WRVXFK&DXVHVRI$FWLRQDV
 D FRQVHTXHQFH RI WKH FRQILUPDWLRQ HIIHFWLYHQHVV RU FRQVXPPDWLRQ RI WKLV 3ODQ EDVHG RQ WKH
 'LVFORVXUH6WDWHPHQWWKLV3ODQRUWKH&RQILUPDWLRQ2UGHUH[FHSWZKHUHVXFK&DXVHVRI$FWLRQ
 KDYHEHHQH[SUHVVO\UHOHDVHGLQWKLV3ODQRUDQ\RWKHU)LQDO2UGHU LQFOXGLQJZLWKRXWOLPLWDWLRQ
 WKH&RQILUPDWLRQ2UGHU ,QDGGLWLRQWKHULJKWRIWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVW
 WRSXUVXHRUDGRSWDQ\FODLPVDOOHJHGLQDQ\ODZVXLWLQZKLFKWKH'HEWRULVDSODLQWLIIGHIHQGDQW
 RU DQ LQWHUHVWHG SDUW\ DJDLQVW DQ\ (QWLW\ LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WKH SODLQWLIIV RU FR
 GHIHQGDQWVLQVXFKODZVXLWVLVH[SUHVVO\UHVHUYHG

 )     ,QMXQFWLRQ

        8SRQ HQWU\ RI WKH &RQILUPDWLRQ 2UGHU DOO (QMRLQHG 3DUWLHV DUH DQG VKDOO EH
 SHUPDQHQWO\HQMRLQHGRQDQGDIWHUWKH(IIHFWLYH'DWHIURPWDNLQJDQ\DFWLRQVWRLQWHUIHUH
 ZLWKWKHLPSOHPHQWDWLRQRUFRQVXPPDWLRQRIWKH3ODQ

         ([FHSWDVH[SUHVVO\SURYLGHGLQWKH3ODQWKH&RQILUPDWLRQ2UGHURUDVHSDUDWHRUGHU
 RIWKH%DQNUXSWF\&RXUWDOO(QMRLQHG3DUWLHVDUHDQGVKDOOEHSHUPDQHQWO\HQMRLQHGRQDQG
 DIWHUWKH(IIHFWLYH'DWHZLWKUHVSHFWWRDQ\&ODLPVDQG(TXLW\,QWHUHVWVIURPGLUHFWO\RU
 LQGLUHFWO\ L FRPPHQFLQJFRQGXFWLQJRUFRQWLQXLQJLQDQ\PDQQHUDQ\VXLWDFWLRQRURWKHU
 SURFHHGLQJRIDQ\NLQG LQFOXGLQJDQ\SURFHHGLQJLQDMXGLFLDODUELWUDODGPLQLVWUDWLYHRU
 RWKHUIRUXP DJDLQVWRUDIIHFWLQJWKH'HEWRURUWKHSURSHUW\RIWKH'HEWRU LL HQIRUFLQJ
 OHY\LQJ DWWDFKLQJ LQFOXGLQJ DQ\ SUHMXGJPHQW DWWDFKPHQW  FROOHFWLQJ RU RWKHUZLVH
 UHFRYHULQJHQIRUFLQJRUDWWHPSWLQJWRUHFRYHURUHQIRUFHE\DQ\PDQQHURUPHDQVDQ\
 MXGJPHQWDZDUGGHFUHHRURUGHUDJDLQVWWKH'HEWRURUWKHSURSHUW\ RI WKH'HEWRU LLL 
 FUHDWLQJ SHUIHFWLQJ RU RWKHUZLVH HQIRUFLQJ LQ DQ\ PDQQHU DQ\ VHFXULW\ LQWHUHVW OLHQ RU
 HQFXPEUDQFHRIDQ\NLQGDJDLQVWWKH'HEWRURUWKHSURSHUW\RIWKH'HEWRU LY DVVHUWLQJDQ\
 ULJKW RI VHWRII GLUHFWO\ RU LQGLUHFWO\ DJDLQVW DQ\ REOLJDWLRQ GXH WR WKH 'HEWRU RU DJDLQVW
 SURSHUW\RULQWHUHVWVLQSURSHUW\RIWKH'HEWRUH[FHSWWRWKHOLPLWHGH[WHQWSHUPLWWHGXQGHU
 6HFWLRQVDQGRIWKH%DQNUXSWF\&RGHDQG Y DFWLQJRUSURFHHGLQJLQDQ\PDQQHU
 LQDQ\SODFHZKDWVRHYHUWKDWGRHVQRWFRQIRUPWRRUFRPSO\ZLWKWKHSURYLVLRQVRIWKH3ODQ

          7KHLQMXQFWLRQVVHWIRUWKKHUHLQVKDOOH[WHQGWRDQGDSSO\WRDQ\DFWRIWKHW\SHVHW
 IRUWKLQDQ\RIFODXVHV L  Y RIWKHLPPHGLDWHO\SUHFHGLQJSDUDJUDSKDJDLQVWDQ\VXFFHVVRUV
 RI WKH 'HEWRU LQFOXGLQJ EXW QRW OLPLWHG WR WKH 5HRUJDQL]HG 'HEWRU WKH /LWLJDWLRQ 6XE
 7UXVWDQGWKH&ODLPDQW7UXVWDQGWKHLUUHVSHFWLYHSURSHUW\DQGLQWHUHVWVLQSURSHUW\

        6XEMHFW LQ DOO UHVSHFWV WR $57,&/( ;,,' QR (QMRLQHG 3DUW\ PD\ FRPPHQFH RU
 SXUVXHDFODLPRUFDXVHRIDFWLRQRIDQ\NLQGDJDLQVWDQ\3URWHFWHG3DUW\WKDWDURVHRUDULVHV
 IURPRULVUHODWHGWRWKH&KDSWHU&DVHWKHQHJRWLDWLRQRIWKH3ODQWKHDGPLQLVWUDWLRQRI
 WKH3ODQRUSURSHUW\WREHGLVWULEXWHGXQGHUWKH3ODQWKHZLQGGRZQRIWKHEXVLQHVVRIWKH
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 6XE7UXVWRUWKHWUDQVDFWLRQVLQIXUWKHUDQFHRIWKHIRUHJRLQJZLWKRXWWKH%DQNUXSWF\&RXUW



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 DFRORUDEOHFODLPRIDQ\NLQGLQFOXGLQJEXWQRWOLPLWHGWRQHJOLJHQFHEDGIDLWKFULPLQDO
 PLVFRQGXFWZLOOIXOPLVFRQGXFWIUDXGRUJURVVQHJOLJHQFHDJDLQVWD3URWHFWHG3DUW\DQG LL 
 VSHFLILFDOO\DXWKRUL]LQJVXFK(QMRLQHG3DUW\WREULQJVXFKFODLPRUFDXVHRIDFWLRQDJDLQVW
 DQ\VXFK3URWHFWHG3DUW\provided, however,WKHIRUHJRLQJZLOOQRWDSSO\WRDFODLPRUFDXVH
 RIDFWLRQDJDLQVW6WUDQGRUDJDLQVWDQ\(PSOR\HHRWKHUWKDQZLWKUHVSHFWWRDFWLRQVWDNHQ
 UHVSHFWLYHO\ E\ 6WUDQG RU E\ VXFK (PSOR\HH IURP WKH GDWH RI DSSRLQWPHQW RI WKH
 ,QGHSHQGHQW'LUHFWRUVWKURXJKWKH(IIHFWLYH'DWH7KH%DQNUXSWF\&RXUWZLOOKDYHVROHDQG
 H[FOXVLYHMXULVGLFWLRQWRGHWHUPLQHZKHWKHUDFODLPRUFDXVHRIDFWLRQLVFRORUDEOHDQGRQO\
 WRWKHH[WHQWOHJDOO\SHUPLVVLEOHDQGDVSURYLGHGIRULQ$57,&/(;,VKDOOKDYHMXULVGLFWLRQ
 WRDGMXGLFDWHWKHXQGHUO\LQJFRORUDEOHFODLPRUFDXVHRIDFWLRQ

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 LQD)LQDO2UGHURIWKH%DQNUXSWF\&RXUW L DOOLQMXQFWLRQVDQGVWD\VHQWHUHGGXULQJWKH
 &KDSWHU&DVHDQGLQH[LVWHQFHRQWKH&RQILUPDWLRQ'DWHVKDOOUHPDLQLQIXOOIRUFHDQG
 HIIHFWLQDFFRUGDQFHZLWKWKHLUWHUPVDQG LL WKHDXWRPDWLFVWD\DULVLQJXQGHUVHFWLRQ
 RIWKH%DQNUXSWF\&RGHVKDOOUHPDLQLQIXOOIRUFHDQGHIIHFWVXEMHFWWR6HFWLRQ F RIWKH
 %DQNUXSWF\&RGHDQGWRWKHH[WHQWQHFHVVDU\LIWKH'HEWRUGRHVQRWUHFHLYHDGLVFKDUJHWKH
 &RXUWZLOOHQWHUDQHTXLYDOHQWRUGHUXQGHU6HFWLRQ

 +     &RQWLQXDQFHRI-DQXDU\2UGHU

        8QOHVVRWKHUZLVHSURYLGHGLQWKLV3ODQLQWKH&RQILUPDWLRQ2UGHURULQD)LQDO2UGHURI
 WKH%DQNUXSWF\&RXUWWKHUHVWULFWLRQVVHWIRUWKLQSDUDJUDSKVDQGRIWKHOrder Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course HQWHUHG E\ WKH %DQNUXSWF\ &RXUW RQ
 -DQXDU\>',@VKDOOUHPDLQLQIXOOIRUFHDQGHIIHFWIROORZLQJWKH(IIHFWLYH'DWH

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         2QWKH(IIHFWLYH'DWHDQGHIIHFWLYHDVRIWKH(IIHFWLYH'DWHWKH3ODQLQFOXGLQJZLWKRXW
 OLPLWDWLRQWKHSURYLVLRQVLQ$57,&/(,;ZLOOELQGDQGZLOOEHGHHPHGELQGLQJXSRQDOO+ROGHUV
 RI&ODLPVDJDLQVWDQG(TXLW\,QWHUHVWVLQWKH'HEWRUDQGVXFK+ROGHU¶VUHVSHFWLYHVXFFHVVRUVDQG
 DVVLJQVWRWKHPD[LPXPH[WHQWSHUPLWWHGE\DSSOLFDEOHODZQRWZLWKVWDQGLQJZKHWKHURUQRWVXFK
 +ROGHUZLOOUHFHLYHRUUHWDLQDQ\SURSHUW\RULQWHUHVWLQSURSHUW\XQGHUWKH3ODQ$OO&ODLPVDQG
 'HEWV VKDOO EH IL[HG DQG DGMXVWHG SXUVXDQW WR WKLV 3ODQ 7KH 3ODQ VKDOO DOVR ELQG DQ\ WD[LQJ
 DXWKRULW\UHFRUGHURIGHHGVRUVLPLODURIILFLDOIRUDQ\FRXQW\VWDWH*RYHUQPHQWDO8QLWRUSDULVK
 LQZKLFKDQ\LQVWUXPHQWUHODWHGWRWKH3ODQRUUHODWHGWRDQ\WUDQVDFWLRQFRQWHPSODWHGWKHUHE\LV
 WREHUHFRUGHGZLWKUHVSHFWWRQD\WD[HVRIWKHNLQGVSHFLILHGLQ%DQNUXSWF\&RGHVHFWLRQ D 




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          3XUVXDQWWRVHFWLRQVDQGRIWKH%DQNUXSWF\&RGHDQGQRWZLWKVWDQGLQJWKHHQWU\
 RIWKH&RQILUPDWLRQ2UGHUDQGWKHRFFXUUHQFHRIWKH(IIHFWLYH'DWHWKH%DQNUXSWF\&RXUWVKDOO
 DIWHU WKH (IIHFWLYH'DWHUHWDLQVXFKMXULVGLFWLRQRYHUWKH&KDSWHU&DVHDQGDOO(QWLWLHV ZLWK
 UHVSHFWWRDOOPDWWHUVUHODWHGWRWKH&KDSWHU&DVHWKH5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVW
 DQGWKLV3ODQWRWKHPD[LPXPH[WHQWOHJDOO\SHUPLVVLEOHLQFOXGLQJZLWKRXWOLPLWDWLRQMXULVGLFWLRQ
 WR

         x DOORZ GLVDOORZ GHWHUPLQH OLTXLGDWH FODVVLI\ HVWLPDWH RU HVWDEOLVK WKH SULRULW\
            VHFXUHGXQVHFXUHGRUVXERUGLQDWHGVWDWXVRIDQ\&ODLPRU(TXLW\,QWHUHVWLQFOXGLQJ
            ZLWKRXW OLPLWDWLRQ WKH UHVROXWLRQ RI DQ\ UHTXHVW IRU SD\PHQW RI DQ\ $GPLQLVWUDWLYH
            ([SHQVH&ODLPDQGWKHUHVROXWLRQRIDQ\DQGDOOREMHFWLRQVWRWKHDOORZDQFHRUSULRULW\
            RIDQ\&ODLPRU(TXLW\,QWHUHVW

         x JUDQW RU GHQ\ DQ\ DSSOLFDWLRQV IRU DOORZDQFH RI FRPSHQVDWLRQ RU UHLPEXUVHPHQW RI
            H[SHQVHVDXWKRUL]HGSXUVXDQWWRWKH%DQNUXSWF\&RGHRUWKLV3ODQIRUSHULRGVHQGLQJ
            RQRUEHIRUHWKH(IIHFWLYH'DWHprovidedhoweverWKDWIURPDQGDIWHUWKH(IIHFWLYH
            'DWHWKH5HRUJDQL]HG'HEWRUVKDOOSD\3URIHVVLRQDOVLQWKHRUGLQDU\FRXUVHRIEXVLQHVV
            IRUDQ\ZRUNSHUIRUPHGDIWHUWKH(IIHFWLYH'DWHVXEMHFWWRWKHWHUPVRIWKLV3ODQDQG
            WKH&RQILUPDWLRQ2UGHUDQGVXFKSD\PHQWVKDOOQRWEHVXEMHFWWRWKHDSSURYDORIWKH
            %DQNUXSWF\&RXUW

         x UHVROYHDQ\PDWWHUVUHODWHGWRWKHDVVXPSWLRQDVVLJQPHQWRUUHMHFWLRQRIDQ\([HFXWRU\
            &RQWUDFWRU8QH[SLUHG/HDVHWRZKLFKWKH'HEWRULVSDUW\RUZLWKUHVSHFWWRZKLFKWKH
            'HEWRU5HRUJDQL]HG'HEWRURU&ODLPDQW7UXVWPD\EHOLDEOHDQGWRDGMXGLFDWHDQGLI
            QHFHVVDU\OLTXLGDWHDQ\&ODLPVDULVLQJWKHUHIURPLQFOXGLQJZLWKRXWOLPLWDWLRQDQ\
            GLVSXWHUHJDUGLQJZKHWKHUDFRQWUDFWRUOHDVHLVRUZDVH[HFXWRU\RUH[SLUHG

         x PDNHDQ\GHWHUPLQDWLRQZLWKUHVSHFWWRDFODLPRUFDXVHRIDFWLRQDJDLQVWD3URWHFWHG
            3DUW\DVVHWIRUWKLQ$57,&/(,;

         x UHVROYHDQ\FODLPRUFDXVHRIDFWLRQDJDLQVWDQ([FXOSDWHG3DUW\ RU 3URWHFWHG 3DUW\
            DULVLQJ IURP RU UHODWHG WR WKH &KDSWHU  &DVH WKH QHJRWLDWLRQ RI WKLV 3ODQ WKH
            DGPLQLVWUDWLRQRIWKH3ODQRUSURSHUW\WREHGLVWULEXWHGXQGHUWKH3ODQWKHZLQGGRZQ
            RIWKHEXVLQHVVRIWKH'HEWRURU5HRUJDQL]HG'HEWRURUWKHWUDQVDFWLRQVLQIXUWKHUDQFH
            RIWKHIRUHJRLQJ

         x LIUHTXHVWHGE\WKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDXWKRUL]HDSSURYH
            DQGDOORZDQ\VDOHGLVSRVLWLRQDVVLJQPHQWRURWKHUWUDQVIHURIWKH5HRUJDQL]HG'HEWRU
            $VVHWV RU &ODLPDQW 7UXVW $VVHWV LQFOXGLQJ DQ\ EUHDNXS FRPSHQVDWLRQ RU H[SHQVH
            UHLPEXUVHPHQWWKDWPD\EHUHTXHVWHGE\DSXUFKDVHUWKHUHRI; provided, howeverWKDW
            QHLWKHUWKH5HRUJDQL]HG'HEWRUQRUWKH&ODLPDQW7UXVWHHVKDOOEHUHTXLUHGWRVHHNVXFK
            DXWKRULW\RUDSSURYDOIURPWKH%DQNUXSWF\&RXUWXQOHVVRWKHUZLVHVSHFLILFDOO\UHTXLUHG
            E\WKLV3ODQRUWKH&RQILUPDWLRQ2UGHU




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         x LIUHTXHVWHGE\WKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDXWKRUL]HDSSURYH
            DQG DOORZ DQ\ ERUURZLQJ RU WKH LQFXUUHQFH RI LQGHEWHGQHVV ZKHWKHU VHFXUHG RU
            XQVHFXUHG E\ WKH 5HRUJDQL]HG 'HEWRU RU &ODLPDQW 7UXVW provided, however WKDW
            QHLWKHUWKH5HRUJDQL]HG'HEWRUQRUWKH&ODLPDQW7UXVWHHVKDOOEHUHTXLUHGWRVHHNVXFK
            DXWKRULW\RUDSSURYDOIURPWKH%DQNUXSWF\&RXUWXQOHVVRWKHUZLVHVSHFLILFDOO\UHTXLUHG
            E\WKLV3ODQRUWKH&RQILUPDWLRQ2UGHU

         x UHVROYHDQ\LVVXHVUHODWHGWRDQ\PDWWHUVDGMXGLFDWHGLQWKH&KDSWHU&DVH

         x HQVXUHWKDWGLVWULEXWLRQVWR+ROGHUVRI$OORZHG&ODLPVDQG$OORZHG(TXLW\,QWHUHVWV
            DUHDFFRPSOLVKHGSXUVXDQWWRWKHSURYLVLRQVRIWKLV3ODQ

         x GHFLGH RU UHVROYH DQ\ PRWLRQVDGYHUVDU\SURFHHGLQJVFRQWHVWHG RUOLWLJDWHGPDWWHUV
            DQGDQ\RWKHU&DXVHVRI$FWLRQ LQFOXGLQJ(VWDWH&ODLPV WKDWDUHSHQGLQJDVRIWKH
            (IIHFWLYH 'DWH RU WKDW PD\ EH FRPPHQFHG LQ WKH IXWXUH LQFOXGLQJ DSSURYDO RI DQ\
            VHWWOHPHQWVFRPSURPLVHVRURWKHUUHVROXWLRQVDVPD\EHUHTXHVWHGE\WKH'HEWRUWKH
            5HRUJDQL]HG 'HEWRU WKH &ODLPDQW 7UXVWHH RU WKH /LWLJDWLRQ 7UXVWHH ZKHWKHU XQGHU
            %DQNUXSWF\5XOHRURWKHUZLVHDQGJUDQWRUGHQ\DQ\DSSOLFDWLRQVLQYROYLQJWKH
            'HEWRU WKDW PD\ EH SHQGLQJ RQ WKH (IIHFWLYH 'DWH RU LQVWLWXWHG E\ WKH 5HRUJDQL]HG
            'HEWRUWKH&ODLPDQW7UXVWHHRU/LWLJDWLRQ7UXVWHHDIWHUWKH(IIHFWLYH'DWHSURYLGHG
            WKDW WKH 5HRUJDQL]HG 'HEWRU WKH &ODLPDQW 7UXVWHH DQG WKH /LWLJDWLRQ 7UXVWHH VKDOO
            UHVHUYHWKHULJKWWRFRPPHQFHDFWLRQVLQDOODSSURSULDWHIRUXPVDQGMXULVGLFWLRQV

         x HQWHU VXFK RUGHUV DV PD\ EH QHFHVVDU\ RU DSSURSULDWH WR LPSOHPHQW HIIHFWXDWH RU
            FRQVXPPDWHWKHSURYLVLRQVRIWKLV3ODQWKH3ODQ'RFXPHQWVDQGDOORWKHUFRQWUDFWV
            LQVWUXPHQWVUHOHDVHVDQGRWKHUDJUHHPHQWVRUGRFXPHQWVDGRSWHGLQFRQQHFWLRQZLWK
            WKLV3ODQWKH3ODQ'RFXPHQWVRUWKH'LVFORVXUH6WDWHPHQW

         x UHVROYHDQ\FDVHVFRQWURYHUVLHVVXLWVRUGLVSXWHVWKDWPD\DULVHLQFRQQHFWLRQZLWKWKH
            LPSOHPHQWDWLRQ HIIHFWLYHQHVV FRQVXPPDWLRQ LQWHUSUHWDWLRQ RU HQIRUFHPHQW RI WKLV
            3ODQRUDQ\(QWLW\¶VREOLJDWLRQVLQFXUUHGLQFRQQHFWLRQZLWKWKLV3ODQ

         x LVVXHLQMXQFWLRQVDQGHQIRUFHWKHPHQWHUDQGLPSOHPHQWRWKHURUGHUVRUWDNHVXFKRWKHU
            DFWLRQVDVPD\EHQHFHVVDU\RUDSSURSULDWHWRUHVWUDLQLQWHUIHUHQFHE\DQ\(QWLW\ZLWK
            LPSOHPHQWDWLRQHIIHFWLYHQHVVFRQVXPPDWLRQRUHQIRUFHPHQWRIWKLV3ODQH[FHSWDV
            RWKHUZLVHSURYLGHGLQWKLV3ODQ

         x HQIRUFHWKHWHUPVDQGFRQGLWLRQVRIWKLV3ODQDQGWKH&RQILUPDWLRQ2UGHU

         x UHVROYH DQ\ FDVHV FRQWURYHUVLHV VXLWV RU GLVSXWHV ZLWK UHVSHFW WR WKH UHOHDVH
            H[FXOSDWLRQ LQGHPQLILFDWLRQ DQG RWKHU SURYLVLRQV FRQWDLQHG KHUHLQ DQG HQWHU VXFK
            RUGHUVRUWDNHVXFKRWKHUVDFWLRQVDVPD\EHQHFHVVDU\RUDSSURSULDWHWRLPSOHPHQWRU
            HQIRUFHDOOVXFKUHOHDVHVLQMXQFWLRQVDQGRWKHUSURYLVLRQV

         x HQWHUDQGLPSOHPHQWVXFKRUGHUVRUWDNHVXFKRWKHUVDFWLRQVDVPD\EHQHFHVVDU\RU
            DSSURSULDWH LI WKH &RQILUPDWLRQ 2UGHU LV PRGLILHG VWD\HG UHYHUVHG UHYRNHG RU
            YDFDWHG



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         x UHVROYHDQ\RWKHUPDWWHUVWKDWPD\DULVHLQFRQQHFWLRQZLWKRUUHODWHWRWKLV3ODQWKH
            'LVFORVXUH6WDWHPHQWWKH&RQILUPDWLRQ2UGHUWKH3ODQ'RFXPHQWVRUDQ\FRQWUDFW
            LQVWUXPHQWUHOHDVHLQGHQWXUHRURWKHUDJUHHPHQWRUGRFXPHQWDGRSWHGLQFRQQHFWLRQ
            ZLWKWKLV3ODQRUWKH'LVFORVXUH6WDWHPHQWDQG

         x HQWHUDQRUGHUFRQFOXGLQJRUFORVLQJWKH&KDSWHU&DVHDIWHUWKH(IIHFWLYH'DWH

                                         $57,&/(;,,
                                    0,6&(//$1(2863529,6,216

 $     3D\PHQWRI6WDWXWRU\)HHVDQG)LOLQJRI5HSRUWV

          $OORXWVWDQGLQJ6WDWXWRU\)HHVVKDOOEHSDLGRQWKH(IIHFWLYH'DWH$OOVXFKIHHVSD\DEOH
 DQG DOO VXFK IHHV WKDW EHFRPH GXH DQG SD\DEOH DIWHU WKH (IIHFWLYH 'DWH VKDOO EH SDLG E\ WKH
 5HRUJDQL]HG'HEWRUZKHQGXHRUDVVRRQWKHUHDIWHUDVSUDFWLFDEOHXQWLOWKH&KDSWHU&DVHLV
 FORVHGFRQYHUWHGRUGLVPLVVHG7KH&ODLPDQW7UXVWHHVKDOO)LOHDOOTXDUWHUO\UHSRUWVGXHSULRUWR
 WKH(IIHFWLYH'DWHZKHQWKH\EHFRPHGXHLQDIRUPUHDVRQDEO\DFFHSWDEOHWRWKH867UXVWHH
 $IWHU WKH (IIHFWLYH 'DWH WKH &ODLPDQW 7UXVWHH VKDOO )LOH ZLWK WKH %DQNUXSWF\ &RXUW TXDUWHUO\
 UHSRUWV ZKHQ WKH\ EHFRPH GXH LQ D IRUP UHDVRQDEO\ DFFHSWDEOH WR WKH 86 7UXVWHH  7KH
 5HRUJDQL]HG'HEWRUVKDOOUHPDLQREOLJDWHGWRSD\6WDWXWRU\)HHVWRWKH2IILFHRIWKH867UXVWHH
 XQWLOWKHHDUOLHVWRIWKH'HEWRU¶VFDVHEHLQJFORVHGGLVPLVVHGRUFRQYHUWHGWRDFDVHXQGHUFKDSWHU
 RIWKH%DQNUXSWF\&RGH

 %     0RGLILFDWLRQRI3ODQ

         (IIHFWLYHDVRIWKHGDWHKHUHRIDQGVXEMHFWWRWKHOLPLWDWLRQVDQGULJKWVFRQWDLQHGLQWKLV
 3ODQ  D  WKH 'HEWRU UHVHUYHV WKH ULJKW LQ DFFRUGDQFH ZLWK WKH %DQNUXSWF\ &RGH DQG WKH
 %DQNUXSWF\5XOHVWRDPHQGRUPRGLI\WKLV3ODQSULRUWRWKHHQWU\RIWKH&RQILUPDWLRQ2UGHUZLWK
 WKHFRQVHQWRIWKH&RPPLWWHHVXFKFRQVHQWQRWWREHXQUHDVRQDEO\ZLWKKHOGDQG E DIWHUWKHHQWU\
 RIWKH&RQILUPDWLRQ2UGHUWKH'HEWRUPD\DIWHUQRWLFHDQGKHDULQJDQGHQWU\RIDQRUGHURIWKH
 %DQNUXSWF\ &RXUW DPHQG RU PRGLI\ WKLV 3ODQ LQ DFFRUGDQFH ZLWK VHFWLRQ  E  RI WKH
 %DQNUXSWF\&RGHRUUHPHG\DQ\GHIHFWRURPLVVLRQRUUHFRQFLOHDQ\LQFRQVLVWHQF\LQWKLV3ODQLQ
 VXFKPDQQHUDVPD\EHQHFHVVDU\WRFDUU\RXWWKHSXUSRVHDQGLQWHQWRIWKLV3ODQ

 &     5HYRFDWLRQRI3ODQ

         7KH'HEWRUUHVHUYHVWKHULJKWWRUHYRNHRUZLWKGUDZWKLV3ODQSULRUWRWKH&RQILUPDWLRQ
 'DWHDQGWR)LOHDVXEVHTXHQWFKDSWHUSODQZLWKWKHFRQVHQWRIWKH&RPPLWWHH,IWKH'HEWRU
 UHYRNHVRUZLWKGUDZVWKLV3ODQSULRUWRWKH&RQILUPDWLRQ'DWHWKHQ L WKLV3ODQVKDOOEHQXOODQG
 YRLG LQ DOO UHVSHFWV LL  DQ\ VHWWOHPHQW RU FRPSURPLVH HPERGLHG LQ WKLV 3ODQ DVVXPSWLRQ RI
 ([HFXWRU\&RQWUDFWVRU8QH[SLUHG/HDVHVHIIHFWHGE\WKLV3ODQDQGDQ\GRFXPHQWRUDJUHHPHQW
 H[HFXWHGSXUVXDQWKHUHWRVKDOOEHGHHPHGQXOODQGYRLGH[FHSWDVPD\EHVHWIRUWKLQDVHSDUDWH
 RUGHUHQWHUHGE\WKH%DQNUXSWF\&RXUWDQG LLL QRWKLQJFRQWDLQHGLQWKLV3ODQVKDOO D FRQVWLWXWH
 DZDLYHURUUHOHDVHRIDQ\&ODLPVE\RUDJDLQVWRUDQ\(TXLW\,QWHUHVWVLQWKH'HEWRURUDQ\RWKHU
 (QWLW\ E SUHMXGLFHLQDQ\PDQQHUWKHULJKWVRIWKH'HEWRURUDQ\RWKHU(QWLW\RU F FRQVWLWXWH
 DQDGPLVVLRQDFNQRZOHGJHPHQWRIIHURUXQGHUWDNLQJRIDQ\VRUWE\WKH'HEWRURUDQ\RWKHU(QWLW\




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 '     2EOLJDWLRQV1RW&KDQJHG

         1RWZLWKVWDQGLQJ DQ\WKLQJ LQ WKLV 3ODQ WR WKH FRQWUDU\ QRWKLQJ KHUHLQ ZLOO DIIHFW RU
 RWKHUZLVHOLPLWRUUHOHDVHDQ\QRQ'HEWRU(QWLW\¶V LQFOXGLQJDQ\([FXOSDWHG3DUW\¶V GXWLHVRU
 REOLJDWLRQV LQFOXGLQJ DQ\ FRQWUDFWXDO DQG LQGHPQLILFDWLRQ REOLJDWLRQV WR WKH 'HEWRU WKH
 5HRUJDQL]HG'HEWRURUDQ\RWKHU(QWLW\ZKHWKHUDULVLQJXQGHUFRQWUDFWVWDWXWHRURWKHUZLVH

 (     (QWLUH$JUHHPHQW

        ([FHSW DV RWKHUZLVH GHVFULEHG KHUHLQ WKLV 3ODQ VXSHUVHGHV DOO SUHYLRXV DQG
 FRQWHPSRUDQHRXV QHJRWLDWLRQV SURPLVHV FRYHQDQWV DJUHHPHQWV XQGHUVWDQGLQJV DQG
 UHSUHVHQWDWLRQVRQVXFKVXEMHFWVDOORIZKLFKKDYHEHFRPHPHUJHGDQGLQWHJUDWHGLQWRWKLV3ODQ

 )     &ORVLQJRI&KDSWHU&DVH

         7KH &ODLPDQW 7UXVWHH VKDOO DIWHU WKH (IIHFWLYH 'DWH DQG SURPSWO\ DIWHU WKH IXOO
 DGPLQLVWUDWLRQRIWKH&KDSWHU&DVH)LOHZLWKWKH%DQNUXSWF\&RXUWDOOGRFXPHQWVUHTXLUHGE\
 %DQNUXSWF\5XOHDQGDQ\DSSOLFDEOHRUGHURIWKH%DQNUXSWF\&RXUWWRFORVHWKH&KDSWHU
 &DVH

 *     6XFFHVVRUVDQG$VVLJQV

         7KLV3ODQVKDOOEHELQGLQJXSRQDQGLQXUHWRWKHEHQHILWRIWKH'HEWRUDQGLWVVXFFHVVRUV
 DQGDVVLJQVLQFOXGLQJZLWKRXWOLPLWDWLRQWKH5HRUJDQL]HG'HEWRUDQGWKH&ODLPDQW7UXVWHH7KH
 ULJKWVEHQHILWVDQGREOLJDWLRQVRIDQ\3HUVRQRU(QWLW\QDPHGRUUHIHUUHGWRLQWKLV3ODQVKDOOEH
 ELQGLQJRQDQGVKDOOLQXUHWRWKHEHQHILWRIDQ\KHLUH[HFXWRUDGPLQLVWUDWRUVXFFHVVRURUDVVLJQ
 RIVXFK3HUVRQRU(QWLW\

 +     5HVHUYDWLRQRI5LJKWV

         ([FHSWDVH[SUHVVO\VHWIRUWKKHUHLQWKLV3ODQVKDOOKDYHQRIRUFHRUHIIHFWXQOHVVDQGXQWLO
 WKH%DQNUXSWF\&RXUWHQWHUVWKH&RQILUPDWLRQ2UGHUDQGWKH(IIHFWLYH'DWHRFFXUV1HLWKHUWKH
 ILOLQJRIWKLV3ODQDQ\VWDWHPHQWRUSURYLVLRQFRQWDLQHGKHUHLQQRUWKHWDNLQJRIDQ\DFWLRQE\WKH
 'HEWRUWKH5HRUJDQL]HG'HEWRUWKH&ODLPDQW7UXVWHHRUDQ\RWKHU(QWLW\ZLWKUHVSHFWWRWKLV3ODQ
 VKDOOEHRUVKDOOEHGHHPHGWREHDQDGPLVVLRQRU ZDLYHU RI DQ\ULJKWVRI  WKH'HEWRU WKH
 5HRUJDQL]HG 'HEWRU RU WKH &ODLPDQW 7UXVWHH ZLWK UHVSHFW WR WKH +ROGHUV RI &ODLPV RU (TXLW\
 ,QWHUHVWVRURWKHU(QWLW\RU  DQ\+ROGHURID&ODLPRUDQ(TXLW\,QWHUHVWRURWKHU(QWLW\SULRUWR
 WKH(IIHFWLYH'DWH

         1HLWKHUWKHH[FOXVLRQRULQFOXVLRQE\WKH'HEWRURIDQ\FRQWUDFWRUOHDVHRQDQ\H[KLELW
 VFKHGXOHRURWKHUDQQH[WRWKLV3ODQRULQWKH3ODQ'RFXPHQWVQRUDQ\WKLQJFRQWDLQHGLQWKLV3ODQ
 ZLOOFRQVWLWXWHDQDGPLVVLRQE\WKH'HEWRUWKDWDQ\VXFKFRQWUDFWRUOHDVHLVRULVQRWDQH[HFXWRU\
 FRQWUDFW RU OHDVH RU WKDW WKH 'HEWRU WKH 5HRUJDQL]HG 'HEWRU WKH &ODLPDQW 7UXVWHH RU WKHLU
 UHVSHFWLYH$IILOLDWHVKDVDQ\OLDELOLW\WKHUHXQGHU

        ([FHSW DV H[SOLFLWO\ SURYLGHG LQ WKLV 3ODQ QRWKLQJ KHUHLQ VKDOO ZDLYH H[FXVH OLPLW
 GLPLQLVKRURWKHUZLVHDOWHUDQ\RIWKHGHIHQVHVFODLPV&DXVHVRI$FWLRQRURWKHUULJKWVRIWKH




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 'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHXQGHUDQ\H[HFXWRU\RUQRQH[HFXWRU\
 FRQWUDFW

        1RWKLQJ LQ WKLV 3ODQ ZLOO LQFUHDVH DXJPHQW RU DGG WR DQ\ RI WKH GXWLHV REOLJDWLRQV
 UHVSRQVLELOLWLHVRUOLDELOLWLHVRIWKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDV
 DSSOLFDEOHXQGHUDQ\H[HFXWRU\RUQRQH[HFXWRU\FRQWUDFWRUOHDVH

         ,IWKHUHLVDGLVSXWHUHJDUGLQJZKHWKHUDFRQWUDFWRUOHDVHLVRUZDVH[HFXWRU\DWWKHWLPHRI
 LWVDVVXPSWLRQXQGHUWKLV3ODQWKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDV
 DSSOLFDEOHVKDOOKDYHWKLUW\  GD\VIROORZLQJHQWU\RID)LQDO2UGHUUHVROYLQJVXFKGLVSXWHWR
 DOWHUWKHLUWUHDWPHQWRIVXFKFRQWUDFW

 ,     )XUWKHU$VVXUDQFHV

         7KH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH&ODLPDQW7UXVWHHDVDSSOLFDEOHDOO+ROGHUVRI
 &ODLPVDQG(TXLW\,QWHUHVWVUHFHLYLQJGLVWULEXWLRQVKHUHXQGHUDQGDOORWKHU(QWLWLHVVKDOOIURP
 WLPHWRWLPHSUHSDUHH[HFXWHDQGGHOLYHUDQ\DJUHHPHQWVRUGRFXPHQWVDQGWDNHDQ\RWKHUDFWLRQV
 DV PD\ EH QHFHVVDU\ RU DGYLVDEOH WR HIIHFWXDWH WKH SURYLVLRQV DQG LQWHQW RI WKLV 3ODQ RU WKH
 &RQILUPDWLRQ2UGHU2QRUEHIRUHWKH(IIHFWLYH'DWHWKH'HEWRUVKDOO)LOHZLWKWKH%DQNUXSWF\
 &RXUWDOODJUHHPHQWVDQGRWKHUGRFXPHQWVWKDWPD\EHQHFHVVDU\RUDSSURSULDWHWRHIIHFWXDWHDQG
 IXUWKHUHYLGHQFHWKHWHUPVDQGFRQGLWLRQVKHUHRI

 -     6HYHUDELOLW\

          ,ISULRUWRWKH&RQILUPDWLRQ'DWHDQ\WHUPRUSURYLVLRQRIWKLV3ODQLVGHWHUPLQHGE\WKH
 %DQNUXSWF\&RXUWWREHLQYDOLGYRLGRUXQHQIRUFHDEOHWKH%DQNUXSWF\&RXUWZLOOKDYHWKHSRZHU
 WRDOWHUDQGLQWHUSUHWVXFKWHUPRUSURYLVLRQWRPDNHLWYDOLGRUHQIRUFHDEOHWRWKHPD[LPXPH[WHQW
 SUDFWLFDEOHFRQVLVWHQWZLWKWKHRULJLQDOSXUSRVHRIWKHWHUPRUSURYLVLRQKHOGWREHLQYDOLGYRLG
 RU XQHQIRUFHDEOH DQG VXFK WHUP RU SURYLVLRQ ZLOO WKHQ EH DSSOLFDEOH DV DOWHUHG RU LQWHUSUHWHG
 1RWZLWKVWDQGLQJ DQ\ VXFK KROGLQJ DOWHUDWLRQ RU LQWHUSUHWDWLRQ WKH UHPDLQGHU RI WKH WHUPV DQG
 SURYLVLRQVRIWKLV3ODQZLOOUHPDLQLQIXOOIRUFHDQGHIIHFWDQGZLOOLQQRZD\EHDIIHFWHGLPSDLUHG
 RU LQYDOLGDWHG E\ VXFK KROGLQJ DOWHUDWLRQ RU LQWHUSUHWDWLRQ  7KH &RQILUPDWLRQ 2UGHU ZLOO
 FRQVWLWXWHDMXGLFLDOGHWHUPLQDWLRQDQGZLOOSURYLGHWKDWHDFKWHUPDQGSURYLVLRQRIWKLV3ODQDVLW
 PD\KDYHEHHQDOWHUHGRULQWHUSUHWHGLQDFFRUGDQFHZLWKWKHIRUHJRLQJLVYDOLGDQGHQIRUFHDEOH
 SXUVXDQWWRLWVWHUPV

 .     6HUYLFHRI'RFXPHQWV

         $OOQRWLFHVUHTXHVWVDQGGHPDQGVWRRUXSRQWKH'HEWRUWKH5HRUJDQL]HG'HEWRURUWKH
 &ODLPDQW 7UXVWHH WR EH HIIHFWLYH VKDOO EH LQ ZULWLQJ DQG XQOHVV RWKHUZLVH H[SUHVVO\ SURYLGHG
 KHUHLQVKDOOEHGHHPHGWRKDYHEHHQGXO\JLYHQRUPDGHZKHQDFWXDOO\GHOLYHUHGDGGUHVVHGDV
 IROORZV

                 ,IWRWKH&ODLPDQW7UXVW

                 +LJKODQG&ODLPDQW7UXVW
                 FR+LJKODQG&DSLWDO0DQDJHPHQW/3
                 &UHVFHQW&RXUW6XLWH


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                 'DOODV7H[DV
                 $WWHQWLRQ-DPHV36HHU\-U
                 
                 ,IWRWKH'HEWRU

                 +LJKODQG&DSLWDO0DQDJHPHQW/3
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                 'DOODV7H[DV
                 $WWHQWLRQ-DPHV36HHU\-U
                 
                 ZLWKFRSLHVWR

                 3DFKXOVNL6WDQJ=LHKO -RQHV//3
                 6DQWD0RQLFD%OYGWK)ORRU
                 /RV$QJHOHV&$
                 7HOHSKRQH  
                 )DFVLPLOH  
                 $WWQ -HIIUH\13RPHUDQW](VT
                       ,UD'.KDUDVFK(VT
                       *UHJRU\9'HPR(VT

                 ,IWRWKH5HRUJDQL]HG'HEWRU

                 +LJKODQG&DSLWDO0DQDJHPHQW/3
                 &UHVFHQW&RXUW6XLWH
                 'DOODV7H[DV
                 $WWHQWLRQ-DPHV36HHU\-U
                 ZLWKFRSLHVWR

                 3DFKXOVNL6WDQJ=LHKO -RQHV//3
                 6DQWD0RQLFD%OYGWK)ORRU
                 /RV$QJHOHV&$
                 $WWQ -HIIUH\13RPHUDQW](VT
                       ,UD'.KDUDVFK(VT
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 /     ([HPSWLRQ IURP &HUWDLQ 7UDQVIHU 7D[HV 3XUVXDQW WR 6HFWLRQ D  RI WKH
         %DQNUXSWF\&RGH

         7RWKHH[WHQWSHUPLWWHGE\DSSOLFDEOHODZSXUVXDQWWRVHFWLRQ D RIWKH%DQNUXSWF\
 &RGHDQ\WUDQVIHUVRISURSHUW\SXUVXDQWKHUHWRVKDOOQRWEHVXEMHFWWRDQ\6WDPSRU6LPLODU7D[
 RU JRYHUQPHQWDO DVVHVVPHQW LQ WKH 8QLWHG 6WDWHV DQG WKH &RQILUPDWLRQ 2UGHU VKDOO GLUHFW WKH
 DSSURSULDWHIHGHUDOVWDWHRUORFDOJRYHUQPHQWDORIILFLDOVRUDJHQWVRUWD[LQJDXWKRULW\WRIRUHJRWKH
 FROOHFWLRQRIDQ\VXFK6WDPSRU6LPLODU7D[RUJRYHUQPHQWDODVVHVVPHQWDQGWRDFFHSWIRUILOLQJ
 DQGUHFRUGDWLRQLQVWUXPHQWVRURWKHUGRFXPHQWVSXUVXDQWWRVXFKWUDQVIHUVRISURSHUW\ZLWKRXWWKH
 SD\PHQW RI DQ\ VXFK 6WDPS RU 6LPLODU 7D[ RU JRYHUQPHQWDO DVVHVVPHQW  6XFK H[HPSWLRQ
 VSHFLILFDOO\DSSOLHVZLWKRXWOLPLWDWLRQWR L DOODFWLRQVDJUHHPHQWVDQGGRFXPHQWVQHFHVVDU\WR



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 HYLGHQFHDQGLPSOHPHQWWKHSURYLVLRQVRIDQGWKHGLVWULEXWLRQVWREHPDGHXQGHUWKLV3ODQ LL WKH
 PDLQWHQDQFHRUFUHDWLRQRIVHFXULW\RUDQ\/LHQDVFRQWHPSODWHGE\WKLV3ODQDQG LLL DVVLJQPHQWV
 VDOHVRUWUDQVIHUVH[HFXWHGLQFRQQHFWLRQZLWKDQ\WUDQVDFWLRQRFFXUULQJXQGHUWKLV3ODQ

 0       *RYHUQLQJ/DZ

             ([FHSWWRWKHH[WHQWWKDWWKH%DQNUXSWF\&RGHWKH%DQNUXSWF\5XOHVRURWKHUIHGHUDO
     ODZLVDSSOLFDEOHRUWRWKHH[WHQWWKDWDQH[KLELWRUVFKHGXOHWRWKLV3ODQSURYLGHVRWKHUZLVHWKH
     ULJKWVDQGREOLJDWLRQVDULVLQJXQGHUWKLV3ODQVKDOOEHJRYHUQHGE\DQGFRQVWUXHGDQGHQIRUFHG
     LQDFFRUGDQFHZLWKWKHODZVRI7H[DVZLWKRXWJLYLQJHIIHFWWRWKHSULQFLSOHVRIFRQIOLFWVRIODZ
     RI VXFK MXULVGLFWLRQ provided, however, WKDW FRUSRUDWH JRYHUQDQFH PDWWHUV UHODWLQJ WR WKH
     'HEWRUWKH5HRUJDQL]HG'HEWRU1HZ*3//&RUWKH&ODLPDQW7UXVWDVDSSOLFDEOHVKDOOEH
     JRYHUQHGE\WKHODZVRIWKHVWDWHRIRUJDQL]DWLRQRIWKH'HEWRUWKH5HRUJDQL]HG'HEWRU1HZ
     *3//&RUWKH&ODLPDQW7UXVWHHDVDSSOLFDEOH

 1       7D[5HSRUWLQJDQG&RPSOLDQFH

         7KH 'HEWRU LV KHUHE\ DXWKRUL]HG WR UHTXHVW DQ H[SHGLWHG GHWHUPLQDWLRQ XQGHU
 VHFWLRQ E RIWKH%DQNUXSWF\&RGHRIWKHWD[OLDELOLW\RIWKH'HEWRULVIRUDOOWD[DEOHSHULRGV
 HQGLQJDIWHUWKH3HWLWLRQ'DWHWKURXJKDQGLQFOXGLQJWKH(IIHFWLYH'DWH

 2       ([KLELWVDQG6FKHGXOHV

      $OO H[KLELWV DQG VFKHGXOHV WR WKLV 3ODQ LI DQ\ LQFOXGLQJ WKH ([KLELWV DQG WKH 3ODQ
 'RFXPHQWVDUHLQFRUSRUDWHGDQGDUHDSDUWRIWKLV3ODQDVLIVHWIRUWKLQIXOOKHUHLQ

 3       &RQWUROOLQJ'RFXPHQW

         ,QWKHHYHQWRIDQLQFRQVLVWHQF\EHWZHHQWKLV3ODQDQGDQ\RWKHULQVWUXPHQWRUGRFXPHQW
 FUHDWHGRUH[HFXWHGSXUVXDQWWRWKLV3ODQRUEHWZHHQWKLV3ODQDQGWKH'LVFORVXUH6WDWHPHQWWKLV
 3ODQVKDOOFRQWURO7KHSURYLVLRQVRIWKLV3ODQWKH'LVFORVXUH6WDWHPHQWDQGDQ\3ODQ'RFXPHQW
 RQWKHRQHKDQGDQGRIWKH&RQILUPDWLRQ2UGHURQWKHRWKHUKDQGVKDOOEHFRQVWUXHGLQDPDQQHU
 FRQVLVWHQWZLWKHDFKRWKHUVRDVWRHIIHFWXDWHWKHSXUSRVHVRIHDFKprovided, howeverWKDWLIWKHUH
 LV GHWHUPLQHG WR EH DQ\ LQFRQVLVWHQF\ EHWZHHQ DQ\ SURYLVLRQ RI WKLV 3ODQ WKH 'LVFORVXUH
 6WDWHPHQWDQGDQ\3ODQ'RFXPHQWRQWKHRQHKDQGDQGDQ\SURYLVLRQRIWKH&RQILUPDWLRQ2UGHU
 RQWKHRWKHUKDQGWKDWFDQQRWEHVRUHFRQFLOHGWKHQVROHO\WRWKHH[WHQWRIVXFKLQFRQVLVWHQF\
 WKH SURYLVLRQV RI WKH &RQILUPDWLRQ 2UGHU VKDOO JRYHUQ DQG DQ\ VXFK SURYLVLRQV RI WKH
 &RQILUPDWLRQ2UGHUVKDOOEHGHHPHGDPRGLILFDWLRQRIWKLV3ODQWKH'LVFORVXUH6WDWHPHQWDQGWKH
 3ODQ'RFXPHQWVDVDSSOLFDEOH

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                                     ([KLELW%
     6FKHGXOHRI&/20DQDJHPHQW$JUHHPHQWVDQG5HODWHG&RQWUDFWVWR%H$VVXPHG

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           6FKHGXOHRI&/20DQDJHPHQW$JUHHPHQWVDQG5HODWHG&RQWUDFWVWR%H$VVXPHG

      6HUYLFLQJ $JUHHPHQW GDWHG 'HFHPEHU   E\ DQG DPRQJ *UHHQEULDU &/2 /WG
         DQG+LJKODQG&DSLWDO0DQDJHPHQW/3
      ,QYHVWPHQW0DQDJHPHQW$JUHHPHQWGDWHG1RYHPEHUE\DQGEHWZHHQ/RQJKRUQ
         &UHGLW)XQGLQJ//&DQG+LJKODQG&DSLWDO0DQDJHPHQW/3 DVDPHQGHG 
      5HIHUHQFH 3RUWIROLR 0DQDJHPHQW $JUHHPHQW GDWHG $XJXVW   E\ DQG EHWZHHQ
         +LJKODQG&DSLWDO0DQDJHPHQW/3DQG9DOKDOOD&/2/WG
      &ROODWHUDO6HUYLFLQJ$JUHHPHQWGDWHG'HFHPEHUE\DQGDPRQJ+LJKODQG3DUN
         &'2,/WGDQG+LJKODQG&DSLWDO0DQDJHPHQW/3
      3RUWIROLR0DQDJHPHQW$JUHHPHQWGDWHG0DUFKE\DQGDPRQJ6RXWKIRUN&/2
         /WGDQG+LJKODQG&DSLWDO0DQDJHPHQW/3
      $PHQGHGDQG5HVWDWHG3RUWIROLR0DQDJHPHQW$JUHHPHQWGDWHG1RYHPEHUE\
         DQGDPRQJ-DVSDU&/2/WGDQG+LJKODQG&DSLWDO0DQDJHPHQW/3
      6HUYLFLQJ $JUHHPHQW GDWHG 0D\   E\ DQG DPRQJ :HVWFKHVWHU &/2 /WG DQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3
      6HUYLFLQJ $JUHHPHQW GDWHG 0D\   E\ DQG DPRQJ 5RFNZDOO &'2 /WG DQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3 DVDPHQGHG 
      3RUWIROLR 0DQDJHPHQW $JUHHPHQW GDWHG 'HFHPEHU   E\ DQG EHWZHHQ /LEHUW\
         &/2/WGDQG+LJKODQG&DSLWDO0DQDJHPHQW/3
     6HUYLFLQJ $JUHHPHQW GDWHG 0DUFK   E\ DQG DPRQJ $EHUGHHQ /RDQ )XQGLQJ
         /WGDQG+LJKODQG&DSLWDO0DQDJHPHQW/3
     6HUYLFLQJ $JUHHPHQW GDWHG 0D\   E\ DQG DPRQJ 5RFNZDOO &'2 ,, /WG DQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3
     &ROODWHUDO0DQDJHPHQW$JUHHPHQWE\DQGEHWZHHQ+LJKODQG/RDQ)XQGLQJ9/WGDQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3GDWHG$XJXVW
     &ROODWHUDO 0DQDJHPHQW $JUHHPHQW GDWHG $XJXVW   E\ DQG EHWZHHQ +LJKODQG
         /HJDF\/LPLWHGDQG+LJKODQG&DSLWDO0DQDJHPHQW/3
     6HUYLFLQJ$JUHHPHQWGDWHG1RYHPEHUE\DQGDPRQJ*UD\VRQ&/2/WGDQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3 DVDPHQGHG 
     6HUYLFLQJ $JUHHPHQW GDWHG 2FWREHU   E\ DQG DPRQJ 6WUDWIRUG &/2 /WG DQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3
     6HUYLFLQJ $JUHHPHQW GDWHG $XJXVW   E\ DQG DPRQJ 5HG 5LYHU &/2 /WG DQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3 DVDPHQGHG 
     6HUYLFLQJ $JUHHPHQW GDWHG 'HFHPEHU   E\ DQG DPRQJ %UHQWZRRG &/2 /WG
         DQG+LJKODQG&DSLWDO0DQDJHPHQW/3
     6HUYLFLQJ $JUHHPHQW GDWHG 0DUFK   E\ DQG DPRQJ (DVWODQG &/2 /WG DQG
         +LJKODQG&DSLWDO0DQDJHPHQW/3



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                     IN THE UNITED STATES BANKRUPTCY COURT
  1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
  2
                                      )   Case No. 19-34054-sgj-11
  3   In Re:                          )   Chapter 11
                                      )
  4   HIGHLAND CAPITAL                )   Dallas, Texas
      MANAGEMENT, L.P.,               )   Monday, February 8, 2021
  5                                   )   9:00 a.m. Docket
                Debtor.               )
  6                                   )   BENCH RULING ON CONFIRMATION
                                      )   HEARING [1808] AND AGREED
  7                                   )   MOTION TO ASSUME [1624]
                                      )
  8
                           TRANSCRIPT OF PROCEEDINGS
  9               BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                        UNITED STATES BANKRUPTCY JUDGE.
 10
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 11
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                                      New Orleans, LA 70130
 25                                   (504) 299-3300




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  9                                   UNITED STATES BANKRUPTCY COURT
                                      1100 Commerce Street, 12th Floor
 10                                   Dallas, TX 75242
                                      (214) 753-2062
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      Transcribed by:                 Kathy Rehling
 12                                   311 Paradise Cove
                                      Shady Shores, TX 76208
 13                                   (972) 786-3063
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             Proceedings recorded by electronic sound recording;
 25             transcript produced by transcription service.




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  1              DALLAS, TEXAS - FEBRUARY 8, 2021 - 9:08 A.M.

  2              THE COURT:     Please be seated.

  3        (Beeping.)

  4              THE COURT:    Someone needs to turn off their whatever.

  5        All right.    Good morning.    This is Judge Jernigan, and we

  6   have scheduled today a bench ruling regarding the Debtor's

  7   plan that we had a confirmation trial on last week.         This is

  8   Highland Capital Management, LP, Case No. 19-34054.

  9        Let me first make sure we've got Debtor's counsel on the

 10   line.    Do we have --

 11              MR. POMERANTZ:    Yes.

 12              THE COURT:    -- Mr. Pomerantz?

 13              MR. POMERANTZ:    Yes, Your Honor.    Good morning, Your

 14   Honor.    Jeff Pomerantz; Pachulski Stang Ziehl & Jones; on

 15   behalf of the Debtor.

 16              THE COURT:    Okay.   Good morning.   Do we have the

 17   Creditors' Committee on the phone?

 18              MR. CLEMENTE:    Good morning, Your Honor.      Matthew

 19   Clemente of Sidley Austin on behalf of the Creditors'

 20   Committee.

 21              THE COURT:    Good morning.    All right.   We had various

 22   Objectors.    Do we have Mr. Dondero's counsel on the phone?

 23              MR. LYNN:     Yes, Your Honor.   Michael Lynn, together

 24   with John Bonds and Bryan Assink, for Jim Dondero.

 25              THE COURT:    Good morning.   For the Trusts, the




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  1   Dugaboy and Get Good Trusts, do we have Mr. Draper?

  2              MR. DRAPER:    Yes.   Douglas Draper is on the line,

  3   Your Honor.

  4              THE COURT:    Good morning.   Now, for what I'll call

  5   the Funds and Advisor Objectors, do we have Mr. Rukavina and

  6   your crew on the line?

  7              MR. RUKAVINA:    Davor Rukavina.    And Lee Hogewood is

  8   also on the line.

  9              THE COURT:    All right.   Good morning to you.     All

 10   right.    And we had objections pending from the U.S. Trustee as

 11   well.    Do we have the U.S. Trustee on the line?

 12        (No response.)

 13              THE COURT:    All right.   If you're appearing, you're

 14   on mute.    We're not hearing you.

 15        All right.    Well, we have lots of other folks.       I don't

 16   mean to be neglectful of them, but we're going to get on with

 17   the ruling this morning.      This is going to take a while.      This

 18   is a complex matter, so it should take a while.

 19        All right.    Before the Court, of course, for consideration

 20   is the Debtor's Fifth Amended Plan, first filed on November

 21   24, 2020, as later modified on or around January 22, 2021,

 22   with more amendments filed on or around February 1, 2021.             The

 23   Court will hereinafter refer to this as the "Plan."

 24        The parties refer to the Plan as a monetization plan

 25   because it involves the gradual wind-down of the Debtor's




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  1   assets and certain of its funds over time, with the

  2   Reorganized Debtor continuing to manage certain other funds

  3   for a while, under strict governance and monitoring, and a

  4   Claimants Trust will receive the proceeds of that process,

  5   with the creditors receiving an interest in that trust.          There

  6   is also anticipated to be Litigation Sub-Trust established for

  7   the purpose of pursuing certain avoidance or other causes of

  8   action for the benefit of creditors.

  9          The recovery for general unsecured creditors is estimated

 10   now at 71 percent.

 11          The Plan was accepted by 99.8 percent of the dollar amount

 12   of voting creditors in Class 8, the general unsecured class,

 13   but as to numerosity, a majority of the class of general

 14   unsecured creditors did not vote in favor of the plan.

 15   Specifically, 27 claimants voted no and 17 claimants voted

 16   yes.    All but one of the rejecting ballots were cast by

 17   employees who, according to the Debtor, are unlikely to have

 18   allowed claims because they are asserted for bonuses or other

 19   compensation that will not become due.

 20          Meanwhile, in a convenience class, Class 7, of general

 21   unsecured claims under one million dollars, one hundred

 22   percent of the 16 claimants who chose to vote in that class

 23   chose to accept the Plan.

 24          Because of the rejecting votes in Class 8, and because of

 25   certain objections to the Plan, the Court heard two full days




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  1   of evidence, considering testimony from five witnesses and

  2   thousands of pages of documentary evidence, in considering

  3   whether to confirm the Plan pursuant to Sections 1129(a) and

  4   (b) of the Bankruptcy Code.

  5        The Court finds and concludes that the Plan meets all of

  6   the relevant requirements of Sections 1123, 1124, and 1129 of

  7   the Code, and other applicable provisions of the Bankruptcy

  8   Code, but is issuing this detailed ruling to address certain

  9   pending objections to the Plan, including but not limited to

 10   objections regarding certain Exculpations, Releases, Plan

 11   Injunctions, and Gatekeeping Provisions of the Plan.

 12        The Court reserves the right to amend or supplement this

 13   oral ruling in more detailed findings of fact, conclusions of

 14   law, and an Order.

 15        First, by way of introduction, this case is not your

 16   garden-variety Chapter 11 case.      Highland Capital Management,

 17   LP is a multibillion dollar global investment advisor,

 18   registered with the SEC pursuant to the Investment Advisers

 19   Act of 1940.    It was founded in 1993 by James Dondero and Mark

 20   Okada.   Mr. Okada resigned from his role with Highland prior

 21   to the bankruptcy case being filed.       Mr. Dondero was in

 22   control of the Debtor as of the day it filed bankruptcy, but

 23   agreed to relinquish control of it on or about January 9,

 24   2020, pursuant to an agreement reached with the Official

 25   Unsecured Creditors' Committee, which will be described later.




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  1        Although Mr. Dondero remained on as an unpaid employee and

  2   portfolio manager with the Debtor after January 9, 2020, his

  3   employment with the Debtor terminated on October 9, 2020.             Mr.

  4   Dondero continues to work for and essentially control numerous

  5   nondebtor companies in the Highland complex of companies.

  6        The Debtor is headquartered in Dallas, Texas.        As of the

  7   October 2019 petition date, the Debtor employed approximately

  8   76 employees.

  9        Pursuant to various contractual arrangements, the Debtor

 10   provides money management and advisory services for billions

 11   of dollars of assets, including CLOs and other investments.

 12   Some of these assets are managed pursuant to shared services

 13   agreements with a variety of affiliated entities, including

 14   other affiliated registered investment advisors.         In fact,

 15   there are approximately 2,000 entities in the Byzantine

 16   complex of companies under the Highland umbrella.

 17        None of these affiliates of Highland filed for Chapter 11

 18   protection.    Most, but not all, of these entities are not

 19   subsidiaries, direct or indirect, of Highland.         And certain

 20   parties in the case preferred not to use the term "affiliates"

 21   when referring to them.     Thus, the Court will frequently refer

 22   loosely to the so-called, in air quotes, "Highland complex of

 23   companies" when referring to the Highland enterprise.         That's

 24   a term many of the lawyers in the case use.

 25        Many of the companies are offshore entities, organized in




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  1   such faraway jurisdictions as the Cayman Islands and Guernsey.

  2          The Debtor is privately owned 99.5 percent by an entity

  3   called Hunter Mountain Investment Trust; 0.1866 percent by the

  4   Dugaboy Investment Trust, a trust created to manage the assets

  5   of Mr. Dondero and his family; 0.0627 percent by Mark Okada,

  6   personally and through family trusts; and 0.25 percent by

  7   Strand Advisors, Inc., the general partner.

  8          The Debtor's primary means of generating revenue has

  9   historically been from fees collected for the management and

 10   advisory services provided to funds that it manages, plus fees

 11   generated for services provided to its affiliates.

 12          For additional liquidity, the Debtor, prior to the

 13   petition date, would sell liquid securities in the ordinary

 14   course, primarily through a brokerage account at Jefferies,

 15   LLC.    The Debtor would also, from time to time, sell assets at

 16   nondebtor subsidiaries and distribute those proceeds to the

 17   Debtor in the ordinary course of business.

 18          The Debtor's current CEO, James Seery, credibly testified

 19   that the Debtor was "run at a deficient for a long time and

 20   then would sell assets or defer employee compensation to cover

 21   its deficits."    This Court cannot help but wonder if that was

 22   necessitated because of enormous litigation fees and expenses

 23   that Highland was constantly incurring due to its culture of

 24   litigation, as further addressed hereafter.

 25          Highland and this case are not garden-variety for so many




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  1   reasons.   One is the creditor constituency.       Highland did not

  2   file bankruptcy because of some of the typical reasons a large

  3   company files Chapter 11.      For example, it did not have a

  4   large asset-based secured lender with whom it was in default.

  5   It only had relatively insignificant secured indebtedness

  6   owing to Jefferies, with whom it had a brokerage account, and

  7   one other entity called Frontier State Bank.

  8        Highland did not have problems with trade vendors or

  9   landlords.    It did not suffer any type of catastrophic

 10   business calamity.     In fact, it filed Chapter 11 six months

 11   before the COVID-19 pandemic was declared.        The Debtor filed

 12   Chapter 11 due to a myriad of massive unrelated business

 13   litigation claims that it was facing, many of which had

 14   finally become liquidated or were about to become liquidated

 15   after a decade or more of contentious litigation in multiple

 16   fora all over the world.

 17        The Unsecured Creditors' Committee in this case has

 18   referred to the Debtor under its former chief executive, Mr.

 19   Dondero, as a serial litigator.      This Court agrees with that

 20   description.    By way of example, the members of the Creditors'

 21   Committee and their history of litigation with the Debtor and

 22   others in the Highland complex are as follows:

 23        First, the Redeemer Committee of the Highland Crusader

 24   Fund, which I'll call the Redeemer Committee.        This Creditors'

 25   Committee member obtained an arbitration award against the




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  1   Debtor of more than $190 million, inclusive of interest,

  2   approximately five months before the petition date from a

  3   panel of the American Arbitration Association.         It was on the

  4   verge of having that award confirmed by the Delaware Chancery

  5   Court immediately prior to the petition date, after years of

  6   disputes that started in late 2008 and included legal

  7   proceedings in Bermuda.     This creditor's claim was settled

  8   during the bankruptcy case in the amount of approximately

  9   $137.7 million.    The Court is omitting various details and

 10   aspects of that settlement.

 11        The second Creditors' Committee member, Acis Capital

 12   Management, LP, which was formerly in the Highland complex of

 13   companies but was not affiliated with Highland as of the

 14   petition date.    This UCC member and its now-owner, Josh Terry,

 15   were involved in litigation with Highland dating back to 2016.

 16   Acis was forced into an involuntary bankruptcy in the

 17   Bankruptcy Court for the Northern District of Texas, Dallas

 18   Division, by Josh Terry, who was a former Highland portfolio

 19   manager, in 2018 after Josh Terry obtained an approximately $8

 20   million arbitration award and judgment against Acis that was

 21   issued by a state court in Dallas County, Texas.         Josh Terry

 22   was ultimately awarded the equity ownership of Acis by the

 23   Dallas Bankruptcy Court in the Acis bankruptcy case.

 24        Acis subsequently asserted a multimillion dollar claim

 25   against Highland in the Dallas Bankruptcy Court for Highland's




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  1   alleged denuding of Acis in fraud of its creditors, primarily

  2   Josh Terry.

  3        The litigation involving Acis and Mr. Terry dates back to

  4   mid-2016, and has continued on, with numerous appeals of

  5   bankruptcy court orders, including one appeal still pending at

  6   the United States Court of Appeals for the Fifth Circuit.

  7        There was also litigation involving Josh Terry and Acis in

  8   the Royal Court of the Island of Guernsey and in a court in

  9   New York.

 10        The Acis claim was settled during this bankruptcy case in

 11   court-ordered mediation for approximately $23 million.          Other

 12   aspects and details of this settlement are being omitted.

 13        Now, the third Creditors' Committee member, UBS

 14   Securities.    It's a creditor who filed a proof of claim in the

 15   amount of $1,039,000,000 in the Highland case.         Yes, over one

 16   billion dollars.    The UBS claim was based on the amount of a

 17   judgment that UBS received from a New York state court in 2020

 18   after a multi-week bench trial which had occurred many months

 19   earlier on a breach of contract claim against other entities

 20   in the Highland complex.      UBS alleged that the Debtor should

 21   be liable for the judgment.      The UBS litigation related to

 22   activities that occurred in 2008.       The litigation involving

 23   UBS and Highland and its affiliates was pending for more than

 24   a decade, there having been numerous interlocutory appeals

 25   during its history.




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  1        The Debtor and UBS recently announced a settlement of the

  2   UBS claim, which came a few months after court-ordered

  3   mediation.    The settlement is in the amount of $50 million as

  4   a general unsecured claim, $25 million as a subordinated

  5   claim, and $18 million of cash coming from a nondebtor entity

  6   in the Highland complex known as Multistrat.        Other aspects of

  7   this settlement are being omitted.

  8        The fourth and last Creditors' Committee member is Meta-e

  9   Discovery.    It is a vendor who happened to supply litigation

 10   and discovery-related services to the Debtor over the years.

 11   It had unpaid invoices on the petition date of more than

 12   $779,000.

 13        It is fair to say that the members of the Creditors'

 14   Committee in this case all have wills of steel.         They fought

 15   hard before and during the bankruptcy case.        The members of

 16   the Creditors' Committee are highly sophisticated and have had

 17   highly sophisticated professionals representing them.         They

 18   have represented their constituency in this case as

 19   fiduciaries extremely well.

 20        In addition to these Creditors Committee members, who were

 21   all embroiled in years of litigation with Highland and its

 22   affiliates in various ways, the Debtor has been in litigation

 23   with Patrick Daugherty, a former limited partner and employee

 24   of Highland, for many years in both Delaware and Texas state

 25   courts.   Patrick Daugherty filed a proof of claim for "at




                                                                       App. 467
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  1   least $37.4 million" relating to alleged breached employment-

  2   related agreements and for the tort of defamation arising from

  3   a 2017 press release posted by the Debtor.

  4        The Debtor and Patrick Daugherty recently announced a

  5   settlement of the Patrick Daugherty claim in the amount of

  6   $750,000 cash on the effective date, an $8.25 million general

  7   unsecured claim, and a $2.75 million subordinated claim.

  8   Other aspects and details of this settlement are being

  9   omitted.

 10        Additionally, an entity known as HarbourVest, who invested

 11   more than $70 million with an entity in the Highland complex,

 12   asserted a $300 million proof of claim against Highland,

 13   alleging, among other things, fraud and RICO violations.          The

 14   HarbourVest claim was settled during the bankruptcy case for a

 15   $45 million general unsecured claim and a $35 million junior

 16   claim.

 17        Other than these claims just described, most of the other

 18   claims in this case are claims asserted against the Debtor by

 19   other entities in the Highland complex, most of which entities

 20   the Court finds to be controlled by Mr. Dondero; claims of

 21   employees who believe that they are entitled to large bonuses

 22   or other types of deferred compensation; and claims of

 23   numerous law firms that did work for Highland and were unpaid

 24   for amounts due to them on the petition date.

 25        Yet another reason this is not your garden-variety Chapter




                                                                       App. 468
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  1   11 case is its postpetition corporate governance structure.

  2   Highland filed bankruptcy October 16, 2019.        Contentiousness

  3   with the Creditors' Committee began immediately, with first

  4   the Committee's request for a change of venue from Delaware to

  5   Dallas, and then a desire by the Committee and the U.S.

  6   Trustee for a Chapter 11 or 7 trustee to be appointed due to

  7   concerns over and distrust of Mr. Dondero and his numerous

  8   conflicts of interest and alleged mismanagement or worse.

  9        After many weeks of the threat of a trustee lingering, the

 10   Debtor and the Creditors' Committee negotiated and the Court

 11   approved a corporate governance settlement on January 9, 2020

 12   that resulted in Mr. Dondero no longer being an officer or

 13   director of the Debtor or of its general partner, Strand.

 14        As part of the court-approved settlement, three eminently-

 15   qualified Independent Directors were chosen by the Creditors'

 16   Committee and engaged to lead Highland through its Chapter 11

 17   case.   They were James Seery, John Dubel, and Retired

 18   Bankruptcy Judge Russell Nelms.      They were technically the

 19   Independent Directors of Strand, the general partner of the

 20   Debtor.   Mr. Dondero had previously been the sole director of

 21   Strand, and thus the sole person in ultimate control of the

 22   Debtor.

 23        The three independent board members' resumes are in

 24   evidence.   James Seery eventually was named CEO of the Debtor.

 25   Suffice it to say that this changed the entire trajectory of




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  1   the case.   This saved the Debtor from a trustee.        The Court

  2   trusted the new directors.      The Creditors' Committee trusted

  3   them.   They were the right solution at the right time.

  4        Because of the unique character of the Debtor's business,

  5   the Court believed this solution was far better than a

  6   conventional Chapter 7 or 11 trustee.       Mr. Seery, in

  7   particular, knew and had vast experience at prominent firms

  8   with high-yield and distressed investing similar to the

  9   Debtor's business.     Mr. Dubel had 40 years of experience

 10   restructuring large, complex businesses and serving on their

 11   boards of directors in this context.       And Retired Judge Nelms

 12   had not only vast bankruptcy experience but seemed

 13   particularly well-suited to help the Debtor maneuver through

 14   conflicts and ethical quandaries.

 15        By way of comparison, in the Chapter 11 case of Acis, the

 16   former affiliate of Highland that this Court presided over two

 17   or three years ago, which company was much smaller in size and

 18   scope than Highland, managing only five or six CLOs, a Chapter

 19   11 trustee was elected by the creditors that was not on the

 20   normal rotation panel for trustees in this district, but

 21   rather was a nationally-known bankruptcy attorney with more

 22   than 45 years of large Chapter 11 case experience.         This

 23   Chapter 11 trustee performed valiantly, but was sued by

 24   entities in the Highland complex shortly after he was

 25   appointed, which this Court had to address.        The Acis trustee




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  1   could not get Highland and its affiliates to agree to any

  2   actions taken in the case, and he finally obtained

  3   confirmation of a plan over Highland and its affiliates'

  4   objections in his fourth attempted plan, which confirmation

  5   then was promptly appealed by Highland and its affiliates.

  6        Suffice it to say it was not easy to get such highly-

  7   qualified persons to serve as independent board members and

  8   CEO of this Debtor.     They were stepping into a morass of

  9   problems.   Naturally, they were worried about getting sued, no

 10   matter how defensible their efforts might be, given the

 11   litigation culture that enveloped Highland historically.          It

 12   seemed as though everything always ended in litigation at

 13   Highland.

 14        The Court heard credible testimony that none of them would

 15   have taken on the role of Independent Director without a good

 16   D&O insurance policy protecting them, without indemnification

 17   from Strand, guaranteed by the Debtor; without exculpation for

 18   mere negligence claims; and without a gatekeeper provision,

 19   such that the Independent Directors could not be sued without

 20   the bankruptcy court, as a gatekeeper, giving a potential

 21   plaintiff permission to sue.

 22        With regard to the gatekeeper provision, this was

 23   precisely analogous to what bankruptcy trustees have pursuant

 24   to the so-called "Barton Doctrine," which was first

 25   articulated in an old U.S. Supreme Court case.




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  1         The Bankruptcy Court approved all of these protections in

  2   a January 9, 2020 order.      No one appealed that order.     And Mr.

  3   Dondero signed the settlement agreement that was approved by

  4   that order.

  5         An interesting fact about the D&O policy came out in

  6   credible testimony at the confirmation hearing.         Mr. Dubel and

  7   an insurance broker from Aon, named Marc Tauber, both credibly

  8   testified that the gatekeeper provision was needed because of

  9   the so-called, and I quote, "Dondero Exclusion" in the

 10   insurance marketplace.

 11         Specifically, the D&O insurers in the marketplace did not

 12   want to cover litigation claims that might be brought against

 13   the Independent Directors by Mr. Dondero because the

 14   marketplace of D&O insurers are aware of Mr. Dondero's

 15   litigiousness.    The insurers would not have issued a D&O

 16   policy to the Independent Directors without either the

 17   gatekeeping provision or a "Dondero Exclusion" being in the

 18   policy.

 19         Thus, the gatekeeper provision was part of the January 9,

 20   2020 settlement.    There was a sound business justification for

 21   it.   It was reasonable and necessary.      It was consistent with

 22   the Barton Doctrine in an extremely analogous situation --

 23   i.e., the independent board members were analogous to a three-

 24   headed trustee in this case, if you will.        Mr. Dondero signed

 25   off on it.    And, again, no one ever appealed the order




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  1   approving it.

  2        The Court finds that, like the Creditors' Committee, the

  3   independent board members here have been resilient and

  4   unwavering in their efforts to get the enormous problems in

  5   this case solved.     They seem to have at all times negotiated

  6   hard and with good faith.      As noted previously, they changed

  7   the entire trajectory of this case.

  8        Still another reason why this was not your garden-variety

  9   case was the mediation effort.      In summer of 2020, roughly

 10   nine months into the Chapter 11 case, this Court ordered

 11   mediation among the Debtor, Acis, UBS, the Redeemer Committee,

 12   and Mr. Dondero.    The Court selected co-mediators, since this

 13   seemed like such a Herculean task, especially during COVID-19,

 14   where people could not all be in the same room.         Those co-

 15   mediators were Retired Bankruptcy Judge Allan Gropper from the

 16   Southern District of New York, who had a distinguished career

 17   presiding over complex Chapter 11 cases, and Ms. Sylvia Mayer,

 18   who likewise has had a distinguished career, first as a

 19   partner in a preeminent law firm working on complex Chapter 11

 20   cases, and subsequently as a mediator and arbitrator in

 21   Houston, Texas.

 22        As noted earlier, the Acis claim was settled during the

 23   mediation, which seemed nothing short of a miracle to this

 24   Court, and the UBS claim was settled many months later, and

 25   this Court believes the groundwork for that ultimate




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  1   settlement was laid, or at least helped, through the

  2   mediation.    And as earlier noted, other enormous claims have

  3   been settled during this case, including that of the Redeemer

  4   Committee, who, again, had asserted approximately or close to

  5   a $200 million claim; HarbourVest, who asserted a $300 million

  6   claim; and Patrick Daugherty, who asserted close to a $40

  7   million claim.

  8        This Court cannot stress strongly enough that the

  9   resolution of these enormous claims and the acceptance of all

 10   of these creditors of the Plan that is now before the Court

 11   seems nothing short of a miracle.       It was more than a year in

 12   the making.

 13        Finally, a word about the current remaining Objectors to

 14   the Plan before the Court.      Once again, the Court will use the

 15   phrase "not garden-variety."      Originally, there were over one

 16   dozen objections filed to this Plan.       The Debtor has made

 17   various amendments or modifications to the Plan to address

 18   some of these objections.      The Court finds that none of these

 19   modifications require further solicitation, pursuant to

 20   Sections 1125, 1126, 1127 of the Code, or Bankruptcy Rule

 21   3019, because, among other things, they do not materially

 22   adversely change the treatment of the claims of any creditor

 23   or interest holder who has not accepted in writing the

 24   modifications.

 25        Among other things, there were changes to the projections




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  1   that the Debtor filed shortly before the confirmation hearing

  2   that, among other things, show the estimated distribution to

  3   creditors and compare plan treatment to a likely disbursement

  4   in a Chapter 7.

  5          These do not constitute a materially adverse change to the

  6   treatment of any creditors or interest holders.          They merely

  7   update likely distributions based on claims that have now been

  8   settled, and they've otherwise incorporated more recent

  9   financial data.    This happens often before confirmation

 10   hearings.    The Court finds that it did not mislead or

 11   prejudice any creditors or interest holders, and certainly

 12   there was no need to resolicit the Plan.

 13          The only Objectors to the Plan left at this time were Mr.

 14   Dondero and entities that the Court finds are controlled by

 15   him.    The standing of these entities to object to the Plan

 16   exists, but the remoteness of their economic interest is

 17   noteworthy, and the Court questions the good faith of the

 18   Objectors.    In fact, the Court has good reason to believe that

 19   these parties are not objecting to protect economic interests

 20   they have in the Debtor, but to be disruptors.

 21          Mr. Dondero wants his company back.     This is

 22   understandable.    But it's not a good faith basis to lob

 23   objections to the Plan.     The Court has slowed down

 24   confirmation multiple times on the current Plan and urged the

 25   parties to talk to Mr. Dondero.      The parties represent that




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  1   they have, and the Court believes that they have.

  2        Now, to be specific about the remoteness of the objectors'

  3   interests, the Court will address them each separately.

  4   First, Mr. Dondero has a pending objection.        Mr. Dondero's

  5   only economic interest with regard to the Debtor at this point

  6   is an unliquidated indemnification claim.        And based on

  7   everything this Court has heard, his indemnification claim

  8   will be highly questionable at this juncture.

  9        Second, a joint objection has been filed by the Dugaboy

 10   Trust and the Get Good Trust.      As for the Dugaboy Trust, it

 11   was created to manage the assets of Mr. Dondero and his

 12   family, and it owns a 0.1866 percent limited partnership

 13   interest in the Debtor.     The Court is not clear what economic

 14   interest the Get Good Trust has, but it likewise seems to be

 15   related to Mr. Dondero, and it has been represented to the

 16   Court numerous times that the trustee is Mr. Dondero's college

 17   roommate.

 18        Another group of Objectors that has joined together in one

 19   objection is what the Court will refer to as the Highland and

 20   NexPoint Advisors and Funds.      The Court understands they

 21   assert disputed administrative expense claims against the

 22   estate.   While the evidence presented was that they have

 23   independent board members that run these companies, the Court

 24   was not convinced of their independence from Mr. Dondero.

 25   None of the so-called independent board members of these




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  1   entities have ever testified before the Court.         Moreover, they

  2   have all been engaged with the Highland complex for many

  3   years.

  4        The witness who testified on these Objectors' behalves at

  5   confirmation, Mr. Jason Post, their chief compliance officer,

  6   resigned from Highland after more than twelve years in October

  7   2020, at the same time that Mr. Dondero resigned or was

  8   terminated by Highland.     And a prior witness recently for

  9   these entities whose testimony was made part of the record at

 10   the confirmation hearing essentially testified that Mr.

 11   Dondero controlled these entities.

 12        Finally, various NexBank entities objected to the Plan.

 13   The Court does not believe they have liquidated claims.          Mr.

 14   Dondero appears to be in control of these entities as well.

 15        To be clear, the Court has allowed all of these objectors

 16   to fully present arguments and evidence in opposition to

 17   confirmation, even though their economic interests in the

 18   Debtor appear to be extremely remote and the Court questions

 19   their good faith.     Specifically on that latter point, the

 20   Court considers them all to be marching pursuant to the orders

 21   of Mr. Dondero.

 22        In the recent past, Mr. Dondero has been subject to a TRO

 23   and preliminary injunction by the Bankruptcy Court for

 24   interfering with the current CEO's management of the Debtor in

 25   specific ways that were supported by evidence.         Around the




                                                                       App. 477
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  1   time that this all came to light and the Court began setting

  2   hearings on the alleged interference, Mr. Dondero's company

  3   phone supplied to him by Highland, which he had been asked to

  4   turn in, mysteriously went missing.       The Court merely mentions

  5   this in this context as one of many reasons that the Court has

  6   to question the good faith of Mr. Dondero and his affiliated

  7   objectors.

  8        The only other pending objection besides these objections

  9   of the Dondero and Dondero-controlled entities is an objection

 10   of the United States Trustee pertaining to the release,

 11   exculpation, and injunction provisions in the Plan.

 12        In juxtaposition to these pending objections, the Court

 13   notes that the Debtor has resolved earlier-filed objections to

 14   the Plan filed by the IRS, Patrick Daugherty, CLO Holdco,

 15   Ltd., numerous local taxing authorities, and certain current

 16   and former senior-level employees of the Debtor.

 17        With that rather detailed factual background addressed,

 18   because certainly context matters here, the Court now

 19   addresses what it considers the only serious objections raised

 20   in connection with confirmation.       Specifically, the Plan

 21   contain certain releases, exculpation, plan injunctions, and a

 22   gatekeeper provision which are obviously not fully consensual,

 23   since there are objections.      Certainly, these provisions are

 24   mostly consensual when you consider that parties with hundreds

 25   of millions of dollars' worth of legitimate claims have not




                                                                       App. 478
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  1   objected to them.

  2        First, a word about plan releases generally, since the

  3   Objectors at times seem to gloss over, in this Court's view,

  4   relevant distinctions, and seem to refer to the plan releases

  5   in this Plan and the exculpations and the plan injunctions all

  6   as impermissible third-party releases, when, in fact, they are

  7   not, per se.

  8        It has, without a doubt, become quite commonplace in

  9   complex Chapter 11 bankruptcy cases to have three categories

 10   of releases in plans.     These three types are as follows.

 11        First, Debtor Releases.     A debtor release involves a

 12   release by the debtor and its bankruptcy estate of claims

 13   against nondebtor third-parties.       For example, a release may

 14   be granted in favor of creditors, directors, officers,

 15   employees, professionals who participated in the bankruptcy

 16   process.   This is the least-controversial type of release

 17   because the debtor is extinguishing its own claims, which are

 18   property of the estate, that a debtor has authority to utilize

 19   or not, pursuant to Sections 541 and 363 of the Bankruptcy

 20   Code.

 21        Authority for a debtor release pursuant to a plan arises

 22   out of Section 1123(b)(3)(A), which indicates that a plan may

 23   provide for "the settlement or adjustment of any claim or

 24   interest belonging to the debtor or to the estate."

 25        In this context, it would appear that the only analysis




                                                                       App. 479
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  1   required is to determine whether the release or settlement of

  2   the claim is an exercise of reasonable business judgment on

  3   that part of the debtor, is it fair and equitable, is it in

  4   the best interest of the estate, given all the relevant facts

  5   and circumstances?     Also relevant is whether there's

  6   consideration given of some sort by the releasees.

  7        Now, the second type of very commonplace Chapter 11 plan

  8   release is an exculpation.      Chapter 11 plans also very often

  9   have these exculpation provisions, and they're something much

 10   narrower in scope and time than a full-fledged release.          An

 11   exculpation provision is more like a shield for a certain

 12   subset of key actors in the case for their acts during and in

 13   connection with the case, which acts may have been merely

 14   negligent.

 15        Specifically, a plan may absolve certain actors -- usually

 16   estate fiduciaries -- such as an Official Unsecured Creditors'

 17   Committee and its members, Committee professionals, sometimes

 18   Debtor professionals, senior management, officers and

 19   directors of the Debtor, from any liability for postpetition

 20   negligent conduct -- i.e., conduct which occurred during the

 21   administration of the Chapter 11 case and in the negotiation,

 22   drafting, and implementation of a plan.        An exculpation

 23   provision typically excludes gross negligence and willful

 24   misconduct.    It is usually worded in a passive voice, so it

 25   may seem a little unclear as to whether it is actually a




                                                                       App. 480
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  1   release and by whom.

  2        In any event, the rationale is that parties who actively

  3   participate in a court-approved process -- often, court-

  4   approved transactions by court order -- should receive

  5   protection for their work.      Otherwise, who would want to work

  6   in such a messy, contentious situation, only to be sued for

  7   alleged negligence for less-than-perfect end results?

  8        Chapter 11 end results are not always pretty.        One could

  9   argue that these exculpation provisions, though, are much ado

 10   about nothing.    Why?   For one thing, again, the shield is only

 11   as to negligent conduct.      There is no shield for other

 12   problematic conduct, such as gross negligence or willful

 13   misconduct.

 14        Second, in many situations, any claims or causes of action

 15   that might arise will belong to the Debtor or its estate.

 16   Thus, they would already be released pursuant to a debtor

 17   release.

 18        Additionally, there is case law stating that, where a

 19   claim is brought against an estate professional whose fees

 20   have already been approved in a final fee application, any

 21   claims are barred by res judicata.       Thus, exculpated

 22   professionals would only have potential exposure for a very

 23   short window of time, until final fee applications.

 24        Additionally, certain case law in Texas makes clear that

 25   an attorney generally does not owe any duties to persons other




                                                                       App. 481
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  1   than his own client.

  2        All of this suggests that the shield of a typical

  3   exculpation provision may rarely become useful or needed.

  4        Moving now to the third type of release, a true third-

  5   party release, Chapter 11 plans also sometimes contain third-

  6   party releases.    A true third-party release involves the

  7   release of claims held by nondebtor third parties against

  8   other nondebtor third parties, and there is often no

  9   limitation on the scope and time of the claims released.

 10        This is the most heavily scrutinized of the three types of

 11   plan releases.    Much of the case authority focuses on whether

 12   a third-party release is consensual or not in analyzing their

 13   propriety and/or enforceability.

 14        In Highland, there are no third-party releases.         Rather,

 15   there are debtor releases and exculpations.        There also happen

 16   to be plan injunctions and gatekeeper provisions that have

 17   been challenged.    The Objectors argue that these provisions

 18   violate the Fifth Circuit's opinion in Pacific Lumber or are

 19   otherwise beyond the jurisdiction or authority of the

 20   bankruptcy court.     These arguments are now addressed.

 21        First, the debtor release is found at Article IX.D of the

 22   Plan.   The language, in pertinent part, reads as follows.         "On

 23   and after the effective date, each Released Party is deemed to

 24   be hereby conclusively, absolutely, unconditionally,

 25   irrevocably, and forever released and discharged by the Debtor




                                                                       App. 482
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  1   and the Estate, in each case on behalf of themselves and their

  2   respective successors, assigns, and representatives, including

  3   but not limited to the Claimant Trust and the Litigation Sub-

  4   Trust, from any and all causes of action, including any

  5   derivative claims, asserted on behalf of the Debtor, whether

  6   known or unknown, foreseen or unforeseen, matured or

  7   unmatured, existing or hereafter arising, in law, equity,

  8   contract, tort, or otherwise, that the Debtor or the Estate

  9   would have been legally entitled to assert in their own right,

 10   whether individually or collectively, or on behalf of the

 11   holder of any claim against, or interest in, a debtor or other

 12   person."

 13         There are certain exceptions discussed, and then Released

 14   Parties are defined at Definition 113 of the Plan collectively

 15   as:   the Independent Directors; Strand, solely from the date

 16   of the appointment of the Independent Directors through the

 17   effective date; the CEO/CRO; the Committee, the members of the

 18   Committee, in their official capacities; the professionals

 19   retained by the Debtor and the Committee in the Chapter 11

 20   case; and the employees.      This is a defined term in the Plan

 21   Supplement and does not include certain employees.

 22         To be clear, these are not third-party releases such as

 23   addressed in the Pacific Lumber case.       These are the Debtor's

 24   and/or the bankruptcy estate's causes of action that are

 25   proposed to be released.      Releases by a debtor are




                                                                       App. 483
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  1   discretionary and can be provided by a debtor to persons who

  2   have provided consideration to the debtor and the estate.

  3   Section 1123(b)(3)(A) of the Bankruptcy Code permits this.

  4        The evidence here supported the notion that these releases

  5   are a quid pro quo for the Released Parties' significant

  6   contributions to a highly complex and contentious

  7   restructuring.    The Debtor is releasing its own claims.        Some

  8   of the Released Parties would have indemnification rights

  9   against the Debtor.     And the Debtor's CEO, James Seery,

 10   credibly testified that he does not believe any claims exist

 11   as to the Released Parties.      The Court approves the Debtor

 12   releases and overrules the objections to them.

 13        Next, the exculpations appear at Article IX.C of the Plan

 14   and provide as follows:     Subject in all respects to Article

 15   XII.D of the Plan, to the maximum extent permitted by

 16   applicable law, no Exculpated Party will have or incur, and

 17   each Exculpated Party is hereby exculpated from, any claim,

 18   obligation, suit, judgment, damage, demand, debt, right, cause

 19   of action, remedy, loss, and liability for conduct occurring

 20   on or after the petition date in connection with or arising

 21   out of the filing and administration of the Chapter 11 case,

 22   the negotiation and pursuit of a disclosure statement, the

 23   Plan, or the solicitation of votes for or confirmation of the

 24   Plan, the funding or consummation of the Plan, or any related

 25   agreements, instruments, et cetera, et cetera, whether or not




                                                                       App. 484
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  1   such Plan distributions occur following the effective date,

  2   the implementation of the Plan, and any negotiation,

  3   transactions, and documentation in connection with the

  4   foregoing clauses, provided, however, the foregoing will not

  5   apply to any acts or omissions of any Exculpated Party arising

  6   out of or related to acts or omissions that constitute bad

  7   faith, fraud, gross negligence, criminal misconduct, or

  8   willful misconduct; or Strand or any employee other than with

  9   respect to actions taken by such entities from the date of

 10   appointment of the Independent Directors through the effective

 11   date.

 12        Exculpated Parties are later defined at Section -- or,

 13   earlier defined at Section 62 of the Plan, Definition No. 62

 14   of the Plan, as later limited by the Debtor, as announced in

 15   the confirmation hearing.      And so these are the Exculpated

 16   Parties:   the Debtor and its successors and assigns; the

 17   employees, certain employees, as defined; Strand; the

 18   Independent Directors; the Committee, the members of the

 19   Committee, in their official capacities; the professionals

 20   retained by the Debtor and the Committee in the Chapter 11

 21   case; the CEO and CRO; and the related persons as to each of

 22   these parties listed in Part (iv) through (viii) above;

 23   provided, for the avoidance of doubt, and it goes on to say

 24   Dondero, Mark Okada, and various others aren't Exculpated

 25   Parties.




                                                                       App. 485
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  1        Now, as earlier mentioned, the Objectors argue that

  2   Pacific Lumber, 584 F.3d 229, a Fifth Circuit case from 2009,

  3   categorically rejects the permissibility of nonconsensual

  4   exculpations as well as third-party releases in a Chapter 11

  5   plan.   So the Court is going to take a deep dive into that

  6   assertion.

  7        In Pacific Lumber, the Fifth Circuit reviewed on appeal

  8   numerous challenges to a confirmed plan of affiliated debtors

  9   known as Palco and Scopac and four subsidiaries.          The debtor

 10   Palco owned and operated the sawmill, a power plant, and even

 11   a town called Scotia, California.       The debtor Scopac owned

 12   timberlands.    A creditor, a secured creditor called Marathon

 13   had a claim against Palco's assets.       Marathon estimated

 14   Palco's assets were worth $110 million.        Its claim was $160

 15   million.   Meanwhile, other parties had large secured claims

 16   against the other debtor, Scopac.

 17        The plan that the bankruptcy court confirmed, which was on

 18   appeal to the Fifth Circuit, was filed by both the secured

 19   creditor Marathon and a joint plan proponent called MRC.          MRC

 20   was a competitor of the debtor Palco.       The Marathon/MRC plan

 21   proposed to dissolve all the debtors, cancel intercompany

 22   debts, and create two new entities, Townco and Newco.          Almost

 23   all of the debtor Palco's assets, including the town of

 24   Scotia, California, would be transferred to Townco.         The

 25   timberlands and other assets, including the sawmill, would be




                                                                        App. 486
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  1   placed in Newco.

  2          Marathon and MRC proposed to contribute $580 million to

  3   Newco to pay claims against Scopac.       And Marathon would

  4   convert its secured claim against Palco's assets into equity,

  5   giving it full ownership of Townco, a 15 percent stake in

  6   Newco, and a new note for the sawmill's working capital.          MRC

  7   would own the other 80 percent of Newco and would manage and

  8   run the company.

  9          An indenture trustee for the secured indebtedness against

 10   Scopac -- which, by the way, had also been a plan proponent of

 11   a competing plan -- appealed the confirmation order, raising

 12   eight distinct issues on appeal.       One of the eight issues

 13   pertained to what the Fifth Circuit referred to as a

 14   "nondebtor exculpation and release clause."        This issue is

 15   discussed on the last two pages of a very lengthy opinion.

 16          While the complained-of provision is not quoted verbatim

 17   in the Pacific Lumber opinion, it appears to have been a

 18   typical exculpation clause.      Not a third-party release; a

 19   typical exculpation clause.      The Fifth Circuit stated, "The

 20   plan releases MRC, Marathon, Newco, Townco, and the Unsecured

 21   Creditors' Committee, and their personnel, from liability,

 22   other than for willful and gross negligence related to

 23   proposing, implementing, and administering the plan" at Page

 24   251.

 25          The Fifth Circuit held that "the nondebtor releases must




                                                                       App. 487
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  1   be struck except with respect to the Creditors' Committee and

  2   its members."

  3        Footnote 26 of the opinion also states that the appellants

  4   had "not briefed why Newco and Townco or their officers and

  5   directors should not be released," and so "we do not analyze

  6   their position."    Rather, the Fifth Circuit merely analyzed

  7   why the exculpation provision was not permissible as to the

  8   two plan proponents, MRC and Marathon.

  9        Thus, the Court views Pacific Lumber as being a holding

 10   that squarely addressed the propriety of two plan proponents,

 11   a secured lender and a third-party competitor purchaser of the

 12   Debtors, obtaining nonconsensual exculpation in the plan.

 13   However, its reasoning certainly cannot be ignored, strongly

 14   suggesting it would not be inclined to approve an exculpation

 15   for any party other than a Creditors' Committee or its

 16   members.

 17        As far as the Fifth Circuit's reasoning, it relied on

 18   Bankruptcy Code Section 524(e) for striking down the

 19   exculpations, stating, "The law states, however, that

 20   discharge of a debt of the debtor does not affect the

 21   liability of any other entity on such debt."        Page 251.    The

 22   opinion suggests that MRC and Marathon may have tried to argue

 23   that 524(e) did not apply to their exculpations because MRC

 24   and Marathon were not liable as co-obligors in any way on any

 25   of the debtor's debt.




                                                                       App. 488
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  1        The Fifth Circuit seemed dismissive of this argument,

  2   stating as follows, "MRC/Marathon insist the release clause is

  3   part of their bargain because, without the clause, neither

  4   company would have been willing to provide the plan's

  5   financing.    Nothing in the records suggests that MRC/Marathon,

  6   the Committee, or the Debtor's officers and directors were co-

  7   liable for the Debtor's prepetition debts.        Instead, the

  8   bargain the proponents claim to have purchased is exculpation

  9   from any negligence that occurred during the course of the

 10   case.   Any costs the released parties might incur defending

 11   against suits alleging such negligence are unlikely to swamp

 12   either of these parties or the consummated reorganization.             We

 13   see little equitable about protecting the released nondebtors

 14   from negligence suits arising out of the reorganization."

 15        The Court goes on to note that, in a variety of cases,

 16   that releases have been approved, but these cases "seem

 17   broadly to foreclose nonconsensual nondebtor releases and

 18   permanent injunctions."

 19        The Court then adds at Footnote 27 that the Fifth Circuit

 20   in the past did not set aside challenged plan releases that

 21   were in final nonappealable orders and were the subject of

 22   collateral attack much later, citing its famous Republic

 23   Supply v. Shoaf case, where the Fifth Circuit ruled that res

 24   judicata barred a debtor from bringing a claim that was

 25   specifically and expressly released by a confirmed




                                                                       App. 489
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  1   reorganization plan because the debtor -- the objector failed

  2   to object to the release at confirmation.

  3        The Fifth Circuit in Pacific Lumber also noted that the

  4   Bankruptcy Code permits bankruptcy courts to enjoin third-

  5   party asbestos claims under certain circumstances, 524(g),

  6   which the Court said suggests nondebtor releases are most

  7   appropriate as a method to channel mass tort claims towards a

  8   specific pool of assets, citing numerous cases, including

  9   Johns-Manville.

 10        In reach its holding, the Fifth Circuit saw no reason to

 11   uphold exculpation to the plan proponents MRC and Marathon,

 12   seeming to find it inconsistent with 524(e) under the facts at

 13   bar, but the Court did uphold exculpation for the Creditors'

 14   Committee and its members, stating, "We agree, however, with

 15   courts that have held that 1103(c) under the Code, which lists

 16   the Creditors' Committee's powers, implies Committee members

 17   have qualified immunity for actions within the scope of their

 18   duties."   Numerous cites.     "The Creditors' Committee and its

 19   members are the only disinterested volunteers among the

 20   parties sought to be released here.       The scope of protection,

 21   which does not insulate them from willful and gross

 22   negligence, is adequate."

 23        Thus, the Court held that the exculpation provisions in

 24   Pacific Lumber must be struck except with regard to the

 25   Creditors' Committee and its members.




                                                                       App. 490
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  1        Now, after all of that, this Court believes the following

  2   can be gleaned from Pacific Lumber.       First, the Fifth Circuit

  3   hinted that consensual exculpations and/or consensual

  4   nondebtor third-party releases are permissible.         The Court

  5   was, of course, dealing with nonconsensual exculpations in

  6   Pacific Lumber.    In this regard, I note Page 252, where the

  7   Court cited various prior Fifth Circuit authority and then

  8   stated, "These cases seem broadly to foreclose nonconsensual

  9   nondebtor releases and permanent injunctions."

 10        The second thing that can be gleaned from Pacific Lumber:

 11   The Fifth Circuit hinted that nondebtor releases may be

 12   permissible in cases involving global settlements of mass

 13   claims against the debtors and co-liable parties.         The Court,

 14   of course, referred to 524(g), but various other cases which

 15   approved nondebtor releases where mass claims were channeled

 16   to a specific pool of assets.

 17        Third, the Fifth Circuit outright held that exculpations

 18   from negligence for a Creditors' Committee and its members are

 19   permissible because the concept is both consistent with

 20   1103(c), "which implies Committee members have qualified

 21   immunity for actions within the scope of their duties," and a

 22   good policy result, since "if members of the Committee can be

 23   sued by persons unhappy with the outcome of the case, it will

 24   be extremely difficult to find members to serve on an official

 25   committee."




                                                                       App. 491
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  1        Fourth, the Fifth Circuit recognized in Pacific Lumber

  2   that res judicata may bar complaints regarding an

  3   impermissible plan release, citing to its earlier Republic

  4   Supply v. Shoaf opinion.

  5        Now, being ever-mindful of the Fifth Circuit's words in

  6   Pacific Lumber, this Court cannot help but wonder about at

  7   least three things.

  8        First, did the Fifth Circuit leave open the door that

  9   facts/equities might sometimes justify approval of an

 10   exculpation for a person other than a Creditors' Committee and

 11   its members?    For example, the Fifth Circuit stated, in

 12   referring to the plan proponents Marathon and MRC, that "Any

 13   costs the released parties might incur defending against suits

 14   alleging such negligence are unlikely to swamp either of these

 15   parties or the consummated reorganization."        Here, this Court

 16   can easily expect the proposed exculpated parties to incur

 17   costs that could swamp them and the reorganization based on

 18   the past litigious conduct of Mr. Dondero and his controlled

 19   entities.   Do these words of the Fifth Circuit hint that

 20   equities/economics might sometimes justify an exculpation?

 21        Second, did the Fifth Circuit's rationale for permitted

 22   exculpations to Creditors' Committee and their members, which

 23   was clearly policy-based, based on their implied qualified

 24   immunity flowing from their duties in Section 1103 and their

 25   disinterestedness, and the importance of their role in a




                                                                       App. 492
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  1   Chapter 11 case, did this rationale leave open the door to

  2   sometimes permitting exculpations to other parties in a

  3   particular Chapter 11 case besides Creditors' Committees and

  4   their members?    For example, in a situation such as the

  5   Highland case, in which Independent Directors, brought in to

  6   avoid a trustee, are more like a Creditors' Committee than an

  7   incumbent board of directors.

  8        Third, the Fifth Circuit's sole statutory basis was

  9   Section 524(e).    This Court would humbly submit that this is a

 10   statute dealing with prepetition liability in which some

 11   nondebtor is liable with the Debtor.       Exculpation is a concept

 12   dealing with postpetition liability.

 13        The Ninth Circuit recently, in a case called Blixseth v.

 14   Credit Suisse, 961 F.3d 1074 (9th Cir. 2020), approved the

 15   validity of an exculpation clause incorporated into a

 16   confirmed Chapter 11 plan that purported to absolve certain

 17   nondebtor parties that were "closely involved" in drafting the

 18   plan.   They were the largest secured creditor, a purchaser,

 19   and an individual who was an indirect owner of certain of the

 20   debtor companies.     The exculpation was from any negligence,

 21   liability, for "any act or omission in connection with,

 22   related to, or arising out of the Chapter 11 cases."

 23        By the time the appeal was before the Ninth Circuit, the

 24   only issue was the propriety of the exculpation clause as to

 25   the large secured creditor, which was also a plan proponent,




                                                                       App. 493
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  1   since all the other exculpated parties had settled with the

  2   appellant.

  3        The Court, in determining that the exculpation clause was

  4   permissible as to the secured lender, concluded that Section

  5   524(e) "does not bar a narrow exculpation clause of the kind

  6   here at issue -- that is, one focused on actions of various

  7   participants in the plan approval process and relating only to

  8   that process," Page 1082.      Why?   Because "Section 524(e)

  9   establishes that discharge of a debt of the debtor does not

 10   affect the liability of any other entity on such debt."          In

 11   other words, the discharge in no way affects the liability of

 12   any other entity for the discharged debt.        By its terms,

 13   524(e) prevents a bankruptcy court from extinguishing claims

 14   of creditors against nondebtors over the very discharged debt

 15   through the bankruptcy proceedings.

 16        The Court went on to explicitly disagree with Pacific

 17   Lumber in its analysis of 524(e), reiterating that an

 18   exculpation clause covers only liabilities arising from the

 19   bankruptcy proceedings and not of any of the debtor's

 20   discharged debt.    Footnote 7, Page 1085.

 21        Ultimately, the Court held that under Section 105(a),

 22   which empowers a bankruptcy court to issue any order, process,

 23   or judgment that is necessary or appropriate to carry out the

 24   provisions of Chapter 11 and Section 1123, which establishes

 25   the appropriate content of the bankruptcy plan, under these




                                                                       App. 494
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  1   sections, the bankruptcy court had authority to approve an

  2   exculpation clause intended to trim subsequent litigation over

  3   acts taken during the bankruptcy proceedings and so render the

  4   plan viable.

  5        This Court concludes that, just as the Fifth Circuit left

  6   open the door for consensual exculpations and releases in

  7   Pacific Lumber, just as it left open the door for consensual

  8   exculpations and releases in Pacific Lumber, its dicta

  9   suggests that an exculpation might be permissible if there is

 10   a showing that "costs that the released parties might incur

 11   defending against suits alleging such negligence are likely to

 12   swamp either the Exculpated Parties or the reorganization."

 13   Again, that was a quote from the Fifth Circuit.

 14        If ever there were a risk of that happening in a Chapter

 15   11 reorganization, it is this one.       The Debtor's current CEO

 16   credibly testified that Mr. Dondero has said outside the

 17   courtroom that if Mr. Dondero's own pot plan does not get

 18   approved, that he will "burn the place down."        Here, this

 19   Court can easily expect the proposed exculpated parties might

 20   expect to incur costs that could swamp them and the

 21   reorganization process based on the past litigious conduct of

 22   Mr. Dondero and his controlled entities.

 23        Additionally, this Court concludes that the Fifth

 24   Circuit's rationale in Pacific Lumber for permitted

 25   exculpations to Creditors' Committees and their members, which




                                                                        App. 495
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  1   was clearly policy-based based on their implied qualified

  2   immunity flowing from Section 1103 and their importance in a

  3   Chapter 11 case, leaves the door open to sometimes permitting

  4   exculpations to other parties in a particular Chapter 11 case

  5   besides a UCC and its members.

  6        Again, if there was ever such a case, the Court believes

  7   it is this one, in which Independent Directors were brought in

  8   to avoid a trustee and are much more like a Creditors'

  9   Committee than an incumbent board of directors.         While,

 10   admittedly, there are a few exculpated parties here proposed

 11   beyond the independent board, such as certain employees, it

 12   would appear that no one is invulnerable to a lawsuit here if

 13   past is prologue in this Highland saga.

 14        The Creditors' Committee was initially not keen on

 15   exculpations for certain employees.       However, Mr. Seery

 16   credibly testified that there was a contentious arm's-length

 17   negotiation over this and that he needs these employees to

 18   preserve value implementing the Plan.       Mr. Dondero has shown

 19   no hesitancy to litigate with former employees in the past, to

 20   the nth degree, and there is every reason to believe he would

 21   again in the future, if able.

 22        Finally, in this situation, in the case at bar, we would

 23   appear to have a Shoaf reason to approve the exculpations.

 24   The January 9, 2020 order of this Court, Docket Entry 339,

 25   which approved the independent board and an ongoing corporate




                                                                       App. 496
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  1   governance structure for this case, and which is incorporated

  2   into the Plan at Article IX.H, provided as follows:         "No

  3   entity may commence or pursue a claim or cause of action of

  4   any kind against any Independent Director, any Independent

  5   Director's agents, or any Independent Director's advisors

  6   relating in any way to the Independent Director's role as an

  7   Independent Director of Strand without the Court (1) first

  8   determining, after notice, that such claim or cause of action

  9   represents a colorable claim of willful misconduct or gross

 10   negligence against Independent Director, any Independent

 11   Director's agents, or any Independent Director's advisors; and

 12   (2) specifically authorizing such entity to bring such a

 13   claim.   The Court will have sole jurisdiction to adjudicate

 14   any claim for which approval of the Court to commence or

 15   pursue has been granted."

 16        This was both an exculpation from negligence as to the

 17   Independent Directors and their agents and advisors, as well

 18   as a gatekeeping provision.      This Court believes that this

 19   provision basically approved an exculpation for the

 20   Independent Directors way back on January 9, 2020 for their

 21   postpetition conduct that might be negligent.        And this is the

 22   law of the case and has res judicata preclusive effect now.

 23        Thus, as to the three Independent Directors, as well as

 24   the other named parties in the January 9, 2020 order, their

 25   agents, their advisors, we have a situation that fits within




                                                                        App. 497
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  1   Republic Supply v. Shoaf, and we fit within the exception

  2   articulated in Pacific Lumber.

  3        The Court reserves the right to supplement these findings

  4   and conclusions as to the exculpations, but based on the

  5   foregoing, they are approved and the objections are overruled.

  6        Now, turning to the Plan objection, it appears at Article

  7   IX.F of the Plan and provides, in pertinent part, as follows:

  8   Upon entry of the confirmation order, all enjoined parties are

  9   and shall be permanently enjoined on and after the effective

 10   date from taking any action to interfere with the

 11   implementation or consummation of the Plan.        Except as

 12   expressly provided in the Plan, the confirmation order, or a

 13   separate order of the Bankruptcy Court, all Enjoined Parties

 14   are and shall be permanently enjoined on and after the

 15   effective date, with respect to any claims and interests, from

 16   directly or indirectly -- and then commencing, conducting,

 17   continuing any suit, action, proceeding of any kind, and

 18   numerous other acts of that vein.

 19        The injunction set forth herein shall extend to and apply

 20   to any act of the type set forth in any of the causes above

 21   against any successors to the Debtor, including but not

 22   limited to the Reorganized Debtor, the Litigation Sub-Trust,

 23   and the Claimant Trust, and their respective property and

 24   interests in property.

 25        Plan injunctions like this are commonplace and




                                                                       App. 498
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  1   appropriate.    They are entirely consistent with and

  2   permissible under Bankruptcy Code Sections 1123(a)(5),

  3   1123(a)(6), 1141(a) and (c), and 1142, as well as Bankruptcy

  4   Rule 3016(c), which articulates the form that a plan

  5   injunction must be set forth in a plan.

  6        The Court finds the objections to the Plan Injunctions to

  7   be unfounded, and they are thus overruled without much

  8   discussion here.

  9        Now, lastly, the Gatekeeper Provision.        It appears at

 10   Paragraph 4 of Article IX.F of the Plan and provides, in

 11   pertinent part, "Subject in all respects to Article XII.D, no

 12   Enjoined Party may commence or pursue a claim or cause of

 13   action of any kind against any Protected Party that arose or

 14   arises from or is related to the Chapter 11 case, the

 15   negotiation of the Plan, the administration of the Plan, or

 16   property to be distributed under the Plan, the wind-down of

 17   the business of the Debtor or Reorganized Debtor, the

 18   administration of the Claimant Trust or the Litigation Sub-

 19   Trust, or the transactions in furtherance of the foregoing,

 20   without the Bankruptcy Court (1) first determining, after

 21   notice and a hearing, that such claim or cause of action

 22   represents a colorable claim of any kind, including but not

 23   limited to negligence, bad faith, criminal misconduct and

 24   willful misconduct, fraud, or gross negligence against a

 25   Protected Party; and (2) specifically authorizing such




                                                                       App. 499
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  1   Enjoined Party to bring such claim or cause of action against

  2   such Protected Party, provided, however, that the foregoing

  3   will not apply to a claim or cause of action against Strand or

  4   against any employee other than with respect to actions taken,

  5   respectively, by Strand or any such employee from the date of

  6   appointment of the Independent Directors through the effective

  7   date.   The Bankruptcy Court will have sole and exclusive

  8   jurisdiction to determine whether a claim or cause of action

  9   is colorable and, only to the extent legally permissible and

 10   as provided for in Article XI, shall have jurisdiction to

 11   adjudicate the underlying colorable claim or cause of action."

 12        This gatekeeper provision appears necessary and reasonable

 13   in light of the litigiousness of Mr. Dondero and his

 14   controlled entities that has been described at length herein.

 15   Provisions similar to this have been approved in this district

 16   in the Pilgrim's Pride case and the CHC Helicopter case.          The

 17   provision is within the spirit of the Supreme Court's Barton

 18   Doctrine.   And it appears consistent with the notion of a pre-

 19   filing injunction to deter vexatious litigants that has been

 20   approved by the Fifth Circuit in such cases as Baum v. Blue

 21   Moon Ventures, 513 F.3d 181, and in the In re Carroll case,

 22   850 F.3d 811, which arose out of a bankruptcy pre-filing

 23   injunction.

 24        The Fifth Circuit, in fact, noted in the Carroll case that

 25   federal courts have authority to enjoin vexatious litigants




                                                                       App. 500
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  1   under the All Writs Act, 28 U.S.C. § 1651.        And additionally,

  2   under the Bankruptcy Code, a bankruptcy court can issue any

  3   order, including a civil contempt order, necessary or

  4   appropriate to carry out the provisions of the Code, citing,

  5   of course, 105 of the Bankruptcy Code.

  6        The Fifth Circuit stated that, when considering whether to

  7   enjoin future filings against a vexatious litigant, a

  8   bankruptcy court must consider the circumstances of the case,

  9   including four factors:     (1)   the party's history of

 10   litigation; in particular, whether he has filed vexatious,

 11   harassing, or duplicative lawsuits; (2) whether the party had

 12   a good faith basis for pursuing the litigation, or perhaps

 13   intended to harass; (3) the extent of the burden on the courts

 14   and other parties resulting from the party's filings; and (4)

 15   the adequacy of alternatives.

 16        In the Baum case, the Fifth Circuit stated that the

 17   traditional standards for injunctive relief -- i.e.,

 18   irreparable harm and inadequate remedy at law -- do not apply

 19   to the issuance of an injunction against a vexatious litigant.

 20        Here, although I have not been asked to declare Mr.

 21   Dondero and his affiliated entities as vexatious litigants per

 22   se, it is certainly not beyond the pale to find that his long

 23   history with regard to the major creditors in this case has

 24   strayed into that possible realm, and thus this Court is

 25   justified in approving this provision.




                                                                       App. 501
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  1        One of the Objectors' lawyers stated very eloquently in

  2   closing argument, in opposing the plan injunction and

  3   gatekeeping provisions, that "Even a serial killer has

  4   constitutional rights," suggesting that these provisions would

  5   deprive Mr. Dondero and his controlled entities of fundamental

  6   rights or due process somehow.      But to paraphrase the district

  7   court in the Carroll case, no one, rich or poor, is entitled

  8   to abuse the judicial process.      There exists no constitutional

  9   right of access to the courts to prosecute actions that are

 10   frivolous or malicious.     The Plan injunction and gatekeeper

 11   provisions in Highland's plan simply set forth a way for this

 12   Court to use its tools, its inherent powers, to avoid abuse of

 13   the court system, protect the implementation of the Plan, and

 14   preempt the use of judicial time that properly could be used

 15   to consider the meritorious claims of other litigants.

 16        Accordingly, the Objectors' objections to this provision

 17   are overruled.

 18        As earlier stated, this Court reserves the right to alter

 19   or supplement this ruling in a written order.        In this regard,

 20   the Court directs Debtor's counsel -- I hope you are still

 21   awake; it's been a long time -- the Court directs Debtor's

 22   counsel to submit a form of order.       And specifically, I assume

 23   that you've already prepared or have been in the process of

 24   preparing a set of findings of fact, conclusions of law, and

 25   confirmation order that tracks the confirmation evidence and




                                                                       App. 502
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  1   recites conclusions of law that the Plan complies with all the

  2   various provisions of Section 1123, 1129, and other applicable

  3   Code provisions.

  4        What I want you to do is take this bench ruling and add it

  5   to what you've prepared.      And what I mean is, as you can tell,

  6   I've been reading:     I will have my courtroom deputy email to

  7   you all a copy of what I just read.       I'll have her obviously

  8   copy the Debtor's counsel, Creditors' Committee, Dondero and

  9   the other Objectors, copy them on this written document she's

 10   going to send out.     And, again, I want you to kind of meld it

 11   into what you've already been preparing.

 12        Obviously, I did not address in this oral ruling every

 13   provision of 1129(a) and (b).      I did not address every 1123

 14   objection.    I did not even address every single objection of

 15   the Objectors.    But, again, any objection I've not

 16   specifically addressed today is overruled.

 17        The briefing, I should say, that the Debtor submitted,

 18   there was a Memorandum of Law in Support of Confirmation filed

 19   on January 22nd.    There was also a reply brief, a hundred

 20   pages or so, separately filed, replying to all the objections.

 21   I don't disagree with anything that was in that.         So, again,

 22   to the extent you want to send me conclusions of law that are

 23   along the lines of that briefing, I would consider that.

 24        And so what I thought is you'll send me the melded

 25   document and I will edit it if I see fit.        I recognize this




                                                                       App. 503
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  1   may take a few days, so I don't give you a strict timetable,

  2   just hopefully it won't take too many days.

  3        All right.    Is there anyone out there -- Mr. Pomerantz,

  4   you had to go to jury duty, except I can't believe --

  5              MR. POMERANTZ:    No, I --

  6              THE COURT:   I can't believe you were called, but are

  7   you there?

  8              MR. POMERANTZ:    Your Honor, I am here.     I was luckily

  9   excused, because I probably wouldn't have made it.

 10        Your Honor, one just comment I'd make.       You referred to

 11   the January 9th order.      You didn't refer to the CEO order,

 12   which is your order July 16th, which had the same gatekeeper

 13   provision.    I assume that was the same analysis?

 14              THE COURT:   That was an oversight.      Same analysis.

 15   And that's exactly why I said I reserve the right to

 16   supplement or amend, because I know there had to be places

 17   like that where I omitted to mention something important.

 18              MR. POMERANTZ:    But thank you, Your Honor, for your

 19   thoughtful ruling, and we will certainly incorporate your

 20   materials into the order that we're working on and get it to

 21   you when we can.    But we appreciate it on behalf of the

 22   Debtor.   We know this took a lot of time and a lot of effort.

 23   Hopefully, you got a chance to still watch the Super Bowl

 24   yesterday.

 25              THE COURT:   Well, when I saw that Tom Brady was going




                                                                       App. 504
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  1   to win, I turned it off.

  2        I'm sorry.    That's terrible.    You know, my law clerk, my

  3   law clerk that you can't see, Nate, he is from Ann Arbor,

  4   Michigan, University of Michigan, and he almost cried when I

  5   said I didn't like Tom Brady the other day.         So, I apologize.

  6              MR. POMERANTZ:    Your Honor, one other comment.       We

  7   had our motion to assume our nonresidential real property

  8   lease that was also on.     It got missed in all the fanfare, but

  9   it was -- it has been unopposed and essentially done pursuant

 10   to stipulation.    So we'd like to submit an order on that as

 11   well.

 12              THE COURT:   Okay.   I have seen that, and I approve it

 13   under 365.    You may submit the order.     Okay.    Thank you.

 14              MR. POMERANTZ:    Thank you, Your Honor.

 15              THE CLERK:   All rise.

 16        (Proceedings concluded at 10:35 a.m.)

 17                                   --oOo--

 18

 19

 20                                CERTIFICATE

 21        I certify that the foregoing is a correct transcript from
      the electronic sound recording of the proceedings in the
 22   above-entitled matter.
 23     /s/ Kathy Rehling                                    02/09/2021

 24   ______________________________________              ________________
      Kathy Rehling, CETD-444                                 Date
 25   Certified Electronic Court Transcriber




                                                                        App. 505
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Reorganization of Highland Capital Management, L.P. (as Modified) and (ii) Granting Related

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WKHDebtor’s Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as

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the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified)

and (ii) Granting Related Relief>GRFNHWQR@ WKH³&RQILUPDWLRQ2UGHU´ 

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                   )XQG1H[3RLQW&DSLWDO,QFDQG1H[3RLQW6WUDWHJLF2SSRUWXQLWLHV)XQGRQ0DUFK

                   DWGRFNHWQR

          LLL     WKHQRWLFHRIDSSHDOILOHGE\-DPHV'RQGHURRQ0DUFKDWGRFNHWQR

                   DQG

          LY      WKHQRWLFHRIDSSHDOILOHGE\*HW*RRG7UXVWDQG7KH'XJDER\,QYHVWPHQW7UXVWRQ

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         +DYLQJ FRQVLGHUHG WKH0RWLRQ FRQFOXGLQJWKDW WKH &RXUW KDV FRUHMXULVGLFWLRQ RYHU WKH

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WKHUHE\DUHWKH3DUWLHVWRWKH0RWLRQDQGEDVHGRQWKH3DUWLHVMRLQWFHUWLILFDWLRQDQGUHTXHVWDV

SURYLGHGIRULQ86& G  % DQGEDVHGDOVRRQWKH&RXUW¶VDJUHHPHQWZLWKWKHIDFWXDO

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         25'(5('WKDWWKH$SSHDOVRIWKH&RQILUPDWLRQ2UGHUDUHFHUWLILHGIRUGLUHFWDSSHDOWR

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